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                UNITED STATES COURT OF INTERNATIONAL TRADE
               BEFORE:   THE HONORABLE CLAIRE R. KELLY, JUDGE
                         THE HONORABLE GARY S. KATZMANN, JUDGE
                         THE HONORABLE JANE A. RESTANI, SR. JUDGE

                                     )
TRANSPACIFIC STEEL LLC,              )
                                     )
            Plaintiff,               )
                                     )
      v.
                                     )
                                     )
THE UNITED STATES; DONALD J. TRUMP,
                                     )
IN HIS OFFICIAL CAPACITY AS
                                     )
PRESIDENT OF THE UNITED STATES;
                                     )
UNITED STATES CUSTOMS AND BORDER
                                     )
PROTECTION; KEVIN K. MCALEENAN, IN
                                     )                      Court No. 19- 00009
HIS OFFICIAL CAPACITY AS
                                     )
COMMISSIONER OF U.S. CUSTOMS AND
                                     )
BORDER PROTECTION; UNITED STATES
                                     )
DEPARTMENT OF COMMERCE; AND
                                     )
WILBUR L. ROSS, JR., IN HIS OFFICIAL
                                     )
CAPACITY AS SECRETARY OF
                                     )
COMMERCE,
                                     )
                                     )
             Defendants.
                                     )

 PLAINTIFF TRANSPACIFIC STEEL LLC {CONSENT} MOTION TO AMEND THE
                           COMPLAINT

       Pursuant to Rule 15(a)(2) of the Rules of the United States Court of International Trade,

Plaintiff Transpacific Steel LLC ( “Transpacific Steel” or “Plaintiff”), respectfully moves to

amend its complaint, originally filed on January 17, 2019, ECF No. 6 to recognize the

withdrawal of MedTrade Inc. (“MedTrade”) and A.G. Royce Metal Marketing LLC (doing

business as Concrete Reinforcing Products) (“A.G. Royce”) from this proceeding. A copy of the

proposed Amended Complaint is attached as Exhibit 1.


       On March 29, 2019, counsel for Plaintiffs MedTrade Inc., Transpacific Steel LLC and

A.G. Royce Metal Marketing LLC (doing business as Concrete Reinforcing Products), filed a


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Notice of Dismissal with respect to Plaintiffs MedTrade and A.G. Royce, ECF No. 15. Plaintiff

Transpacific Steel LLC intends to continue with its appeal.


       According to Rule 15(a)(2) of the Rules of this Court, a party may amend its pleading

with the consent of the opposing party or with leave of the Court. The opposing party to this

action consents to Plaintiff’s motion to amend the complaint. Specifically, on March 29, 2019,

Tara K. Hogan, counsel for Defendant, consented to this amendment to Transpacific Steel’s

complaint.


       For the reasons set forth above, Transpacific Steel respectfully requests that this Court

grant Plaintiff’s Consent Motion to Amend the Complaint and order that Transpacific Steel’s

Amended Complaint shall be deemed filed as of this date.


                                             /s/ Matthew Nolan
                                             Matthew Nolan
                                             Nancy A. Noonan
                                             Diana Dimitriuc Quaia
                                             Aman Kakar
                                             Andrew Jaxa-Debicki

                                             ARENT FOX LLP
                                             1717 K Street, NW
                                             Washington, DC 20006-5344
                                             202-857-6013
                                             Counsel to Transpacific Steel LLC

Dated: April 1, 2019




                                                2

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                UNITED STATES COURT OF INTERNATIONAL TRADE
               BEFORE:   THE HONORABLE CLAIRE R. KELLY, JUDGE
                         THE HONORABLE GARY S. KATZMANN, JUDGE
                         THE HONORABLE JANE A. RESTANI, SR. JUDGE

                                     )
TRANSPACIFIC STEEL LLC,              )
                                     )
            Plaintiff,               )
                                     )
      v.
                                     )
                                     )
THE UNITED STATES; DONALD J. TRUMP,
                                     )
IN HIS OFFICIAL CAPACITY AS
                                     )
PRESIDENT OF THE UNITED STATES;
                                     )
UNITED STATES CUSTOMS AND BORDER
                                     )
PROTECTION; KEVIN K. MCALEENAN, IN
                                     )                     Court No. 19- 00009
HIS OFFICIAL CAPACITY AS
                                     )
COMMISSIONER OF U.S. CUSTOMS AND
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BORDER PROTECTION; UNITED STATES
                                     )
DEPARTMENT OF COMMERCE; AND
                                     )
WILBUR L. ROSS, JR., IN HIS OFFICIAL
                                     )
CAPACITY AS SECRETARY OF
                                     )
COMMERCE,
                                     )
                                     )
             Defendants.
                                     )

                                             ORDER

        Upon consideration of Plaintiff Transpacific Steel Ltd.’s Consent Motion to Amend its

Complaint, and all other pertinent papers, it is hereby:

        ORDERED that Transpacific’s Steel Ltd.’s Motion is granted; and it is further

        ORDERED that Transpacific’s Steel Ltd.’s Amended Complaint is deemed filed as of

this date.

        SO ORDERED.



Dated: __________________, 2019                            __________________________
       New York, New York                                  Judge




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                        EXHIBIT 1
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                UNITED STATES COURT OF INTERNATIONAL TRADE
               BEFORE:   THE HONORABLE CLAIRE R. KELLY, JUDGE
                         THE HONORABLE GARY S. KATZMANN, JUDGE
                         THE HONORABLE JANE A. RESTANI, SR. JUDGE

                                     )
TRANSPACIFIC STEEL LLC,              )
                                     )
            Plaintiff,               )
                                     )
      v.
                                     )
                                     )
THE UNITED STATES; DONALD J. TRUMP,
                                     )
IN HIS OFFICIAL CAPACITY AS
                                     )
PRESIDENT OF THE UNITED STATES;
                                     )
UNITED STATES CUSTOMS AND BORDER
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PROTECTION; KEVIN K. MCALEENAN, IN
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HIS OFFICIAL CAPACITY AS
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COMMISSIONER OF U.S. CUSTOMS AND
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BORDER PROTECTION; UNITED STATES
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DEPARTMENT OF COMMERCE; AND
                                     )
WILBUR L. ROSS, JR., IN HIS OFFICIAL
                                     )
CAPACITY AS SECRETARY OF
                                     )
COMMERCE,
                                     )
                                     )
             Defendants.
                                     )
                                     )
                                     )

                                   AMENDED COMPLAINT

       Pursuant to Rule 3(a)(3) of the Rules of the United States Court of International Trade,

Plaintiff Transpacific Steel LLC ( “Plaintiff”), by and through its undersigned attorneys, brings

this action and alleges and states as follows:


                                           SUMMARY

       1.      On March 8, 2018, President Donald J. Trump issued a proclamation titled

“Adjusting Imports of Steel Into the United States,” Proclamation No. 9705, imposing 25% ad

valorem tariffs on U.S. imports of certain steel products pursuant to Section 232 of the Trade

Expansion Act of 1962, as amended (19 U.S.C. § 1862). See 83 Fed. Reg. 11625, 11625 (Mar.

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15, 2018) (“First Steel Proclamation”) (attached as Exhibit 1). Section 232 of the Trade

Expansion Act of 1962 (“Section 232”) authorizes the President to impose restrictions on certain

imports following an investigation that concludes that the targeted products are being imported

into the United States “in such quantities or under such circumstances as to threaten to impair the

national security.” 19 U.S.C. § 1862 (c)(1)(A).

       2.      On August 10, 2018, the President issued a new Proclamation titled “Adjusting

Imports of Steel Into the United States,” Proclamation 9772, imposing a 50% ad valorem duty on

steel articles imported from Turkey, effective as of August 13, 2018. See Adjusting Imports of

Steel Into the United States, Proclamation 9772 of August 10, 2018, 83 Fed. Reg. 40429 (Aug.

15, 2018) (“Steel Proclamation on Turkey” or “Fifth Steel Proclamation”) (attached as Exhibit

2). Unlike the March 8, 2018 proclamation, which addressed steel imports globally, the Steel

Proclamation on Turkey had the effect of doubling the tariffs on steel articles from Turkey alone,

while tariffs on all other steel imports from worldwide sources remained unchanged. Acting

pursuant to the Steel Proclamation on Turkey, U.S. Customs and Border Protection is requiring

Plaintiff to pay a 50% ad valorem duty on steel articles imported from Turkey.

       3.      This appeal challenges the Steel Proclamation on Turkey and Defendants’ actions

in adopting and enforcing the proclamation as unconstitutional and contrary to the statute, 19

U.S.C. § 1862. The doubling of the tariffs on imports of steel articles from Turkey is inflicting

economic and competitive harm on Plaintiff who is an importer of steel products from Turkey

and is responsible for the payment of the Section 232 tariffs on its imports. First, the President’s

action doubling the tariffs on steel imports from Turkey violates Section 232, which requires a

nexus to a national security purpose, and is therefore an action outside the statutory authority

delegated to the President by the United States Congress. Second, the statute, 19 U.S.C.

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§ 1862(b) and (c), prescribes a process and certain timelines that must be followed before any

actions to adjust imports may be taken. By doubling the tariffs on steel imports from Turkey

overnight without following the procedures laid out in the statute, the Steel Proclamation on

Turkey contravenes the statutory mandate while divesting Plaintiff of the benefits of the

administrative process to which the statute entitles them. Third, the Steel Proclamation on

Turkey is unconstitutional because it violates equal protection of the laws as guaranteed by the

Fifth Amendment’s due process clause. The proclamation creates an arbitrary distinction

between importers of steel products from Turkey and importers of steel products from all other

sources. Establishing a false distinction between importers of steel from Turkey and importers of

steel from all other sources and selectively imposing additional tariffs on the basis of that

distinction does not meet the standard of pursuing a legitimate government purpose employing

rational means. Fourth, the Steel Proclamation on Turkey is unconstitutional because it violates

the Fifth Amendment’s due process clause.

       4.      Because the Steel Proclamation on Turkey is unconstitutional and contrary to the

laws of the United States, Plaintiff seeks a Judgment that the Proclamation doubling tariffs on

steel imports from Turkey is unlawful, that Defendants be permanently enjoined from

implementing or otherwise giving effect to such proclamation and that U.S. Customs and Border

Protection be ordered to issue refunds to Plaintiff for any tariffs paid on its imports as a result of

such proclamation.

                                          JURISDICTION

       5.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1581(i)(2)

and (4) and 28 U.S.C. § 2631.

       6.      Section 1581 provides that

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                the Court of International Trade shall have exclusive jurisdiction of any
                civil action commenced against the United States, its agencies, or its
                officers, that arises out of any law of the United States providing for . . .
                tariffs, duties, fees, or other taxes on the importation of merchandize for
                reasons other than the raising of revenue,

28 U.S.C. § 1581(i)(2), and “administration and enforcement with respect to the matters referred

to in paragraphs (1)-(3) of this subsection and subsections (a)-(h) of this section.” Id.

§ 1581(i)(4).

       7.       The President’s action of doubling the tariffs on steel imports from Turkey is

subject to judicial review due to the statutory limitations imposed by Section 232, 19 U.S.C.

§ 1862, to determine whether there has been “a clear misconstruction of the governing statute, a

significant procedural violation, or action outside delegated authority.” Silfab Solar, Inc. v.

United States, 892 F.3d 1340, 1346 (Fed. Cir. 2018); Maple Leaf Fish Co. v. United States, 762

F.2d 86, 89 (Fed. Cir. 1985).

       8.       Section 232 of the Trade Expansion Act of 1962 is a law, “providing for . . .

tariffs, duties, fees, or other taxes on the importation of merchandise for reasons other than the

raising of revenue,” as well as for “administration and enforcement with respect to” such tariffs,

duties and fees. Id. §§ 1581(i)(2) and (4). Therefore, this matter involves administration and

enforcement of matters referred to in, inter alia, 28 U.S.C. §§ 1581(i)(2) and (4). The Steel

Proclamation on Turkey does not constitute a determination reviewable under this Court’s

jurisdiction established at 28 U.S.C. § 1581(a)-(h). Accordingly, the Court has subject matter

jurisdiction of this action under 28 U.S.C. § 1581(i) and may order the relief requested pursuant

to 28 U.S.C. § 2643.

       9.       Plaintiff also challenges the constitutionality of the Steel Proclamation on Turkey

doubling of the Section 232 tariffs on imports of steel products from Turkey alone. Plaintiff

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further challenges the actions taken by Defendants in the administration and enforcement of the

Steel Proclamation on Turkey. The actions taken by U.S. Customs and Border Protection in the

administration and enforcement of the doubled Section 232 tariffs on steel imports from Turkey

represent final agency action as such imports continue to be subject to the 50% ad valorem duty

since August 13, 2018.

                                            PARTIES



       10.     Plaintiff Transpacific Steel LLC (“Transpacific”) is a Limited Liability Company

organized under the laws of Delaware with its principal place of business in Austin, Texas.

Transpacific is a U.S. importer of steel products from several countries, including Turkey.

Transpacific purchased approximately 10,653 MT of steel products from Turkey in 2017 and

approximately 17,000 MT of steel products in 2018 for delivery into Puerto Rico, prior to

imposition of the Section 232 tariffs. Since the imposition of the 50% tariffs on steel imports

from Turkey, Transpacific has not contracted to purchase steel from Turkey for entry through

Puerto Rico or any other U.S. destination port because the doubled rate has placed steel imports

from Turkey at a competitive disadvantage as compared to all other sources. The 11,430 MT of

steel products from Turkey previously contracted for and purchased before March 23, 2018 that

have been shipped to Puerto Rico will be entered subject to the 50% tariff rate. This steel was

purchased for delivery to Puerto Rico in response to increased demand for steel products for

rebuilding in the aftermath of Hurricanes Irma and Maria. A Declaration setting forth these facts

in more detail is provided at Exhibit 3.




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       11.     The defendant United States of America is the federal government to which the

Section 232 tariff increases are being paid and is the statutory defendant under sections

1581(i)(2) and (4).

       12.     Defendant Donald J. Trump is the President of the United States. He issued the

Steel Proclamation on Turkey that is the subject of this Complaint.

       13.     Defendant United States Customs and Border Protection (“CBP”) is the agency

that administers and enforces the tariffs imposed under Section 232, including the 50% tariffs

ordered pursuant to the Steel Proclamation on Turkey.

       14.     Defendant Kevin K. McAleenan is the Commissioner of United States Customs

and Border Protection. He is sued in his official capacity only.

       15.     Defendant United States Department of Commerce (“Commerce”) is the agency

responsible for initiating and conducting an investigation under Section 232 and for providing

findings and recommendations to the President of the United States.

       16.     Defendant Wilbur L. Ross, Jr. is the Secretary of the United States Department of

Commerce. He is sued in his official capacity only.

                                           STANDING

       17.     Plaintiff has standing to bring this action pursuant to 28 U.S.C. § 2631(i), which

states that “[a]ny civil action of which the Court of International Trade has jurisdiction, other

than an action specified in subsections (a)-(h), may be commenced in the court by any person

adversely affected or aggrieved by agency action within the meaning of section 702 of title 5.”

       18.     Plaintiff’s action arises under Section 232, 19 U.S.C. § 1862, as the President has

acted beyond his statutory authority, the Constitution of the United States and Section 702 of the

Administrative Procedure Act (“APA”), 5 U.S.C. § 702. Section 702 states that “[a] person

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suffering legal wrong because of agency action, or adversely affected or aggrieved by agency

action within the meaning of a relevant statute, is entitled to judicial review thereof.” In an action

under Section 702 of the APA, “the reviewing court shall . . . (2) hold unlawful and set aside

agency action, findings, and conclusions found to be – (A) arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law . . . [and] (C) in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right . . . .” 5 U.S.C. §§ 706(2)(A), (C).

        19.     Plaintiff has standing to challenge the Defendants’ unlawful acts in adopting and

implementing the Steel Proclamation on Turkey imposing a 50% tariff on steel products

imported from Turkey but not from any other country. Plaintiff is an importer of steel products

from Turkey whose imports are covered by the Steel Proclamation on Turkey and who is

responsible for the payment of the 50% tariffs on its imports of steel products from Turkey.

Therefore, Plaintiff is a “person” adversely affected or aggrieved by agency action – in this

instance the imposition of additional tariffs on steel imports from Turkey alone – within the

meaning of 5 U.S.C. § 702. Plaintiff is in the zone of interests to be protected or regulated by the

statute or constitutional guarantees in question, and it is suffering injury caused by the unlawful

imposition of tariffs through the Steel Proclamation on Turkey.

                                TIMELINESS OF THIS ACTION

        20.     An action under 28 U.S.C. §1581(i) must be commenced within two years after

the cause of action first accrues. 28 U.S.C. § 2636(i).

        21.     Plaintiff is commencing this action under 28 U.S.C. § 1581(i) by concurrently

filing a summons and complaint within two years after the cause of action first accrued. The

claims asserted by Plaintiff accrued at the earliest on August 13, 2018, the effective date of the



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President’s Steel Proclamation on Turkey. See 83 Fed. Reg. at 40431 (para 7), Exhibit 2. This

action is therefore timely filed.

                                    STATEMENT OF FACTS

I.      SECTION 232 OF THE TRADE EXPANSION ACT OF 1962

        22.     President Trump cited his authority under Section 232 of the Trade Expansion Act

of 1962, codified at 19 U.S.C. § 1862, in imposing the steel tariffs.

        23.     Section 232, titled “Safeguarding National Security,” authorizes the President,

upon a “finding” that “an article is being imported into the United States in such quantities or

under such circumstances as to threaten to impair the national security,” to take action “to adjust

the imports of the article and its derivatives so that such imports will not threaten to impair the

national security.” 19 U.S.C. § 1862(c)(1)(A)(ii).

        24.     The process for initiating a Section 232 action begins with a request for such an

investigation. The Secretary of the United States Department of Commerce (“Secretary of

Commerce”) “shall immediately initiate an appropriate investigation to determine the effects on

the national security of imports of [an] article” after a request from “the head of any department

or agency, upon application of an interested party” or on the Secretary’s “own motion.” Id.

§ 1862(b)(1)(A). Commerce’s Bureau of Industry and Security (“BIS”) conducts Section 232

investigations in accordance with the federal regulations codified at 15 C.F.R. part 705.

        25.     Section 232 requires that the Secretary of Commerce conduct the investigation in

consultation with the Secretary of the Department of Defense (“Secretary of Defense”) and other

U.S. officials, as appropriate, to determine the effects of the specified imports on the national

security. Specifically, the Secretary of Commerce shall “immediately provide notice to the

Secretary of Defense of any investigation,” shall “consult with the Secretary of Defense

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regarding the methodological and policy questions raised in any investigation,” and if

appropriate, shall “hold public hearings or otherwise afford interested parties an opportunity to

present information and advice . . . .” 19 U.S.C. §§ 1862(b)(1)(B), (b)(2)(A).

       26.     The “Secretary of Defense shall provide the Secretary [of Commerce] an

assessment of the defense requirements of any article” under investigation. Id. § 1862(b)(2)(B).

       27.     Within 270 days after initiating an investigation, the Secretary of Commerce

“shall submit to the President” and publish in the Federal Register “a report on the findings of

such investigation with respect to the effect of the importation of such article in such quantities

or under such circumstances upon the national security and, based on such findings, the

recommendations of the Secretary for action or inaction under th[e] section.” Id.

§ 1862(b)(3)(A).

       28.     The Secretary of Commerce’s report triggers a duty of the President to act. Within

ninety days, the President must “determine whether the President concurs with the finding of the

Secretary . . . .” Id. § 1862(c)(1)(A). The President may implement the recommendations

contained in the Secretary of Commerce’s report, take other actions or refrain from taking action.

       29.     If the President concurs with the Secretary of Commerce that action is necessary,

the President must “determine the nature and duration of the action that, in the judgment of the

President, must be taken to adjust the imports of the article and its derivatives so that such

imports will not threaten to impair the national security.” Id. § 1862(c)(1)(A)(ii).

       30.     After making a decision, the President has 15 days to implement the action. Id.

§ 1862(c)(1)(B). An “action” under Section 232 may involve either “quantitative methods i.e.,

quotas” or “monetary methods i.e., license fees” or tariffs. Fed. Energy Admin. v. Algonquin

SNG, Inc., 426 U.S. 548, 561 (1976).

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       31.     Alternatively, the President may choose, as “the action taken by the President

under [Section 232(c)(1)],” to “negotiat[e] . . . an agreement which limits or restricts the

importation into, or the exportation to, the United States of the article that threatens to impair

national security . . . .” 19 U.S.C. § 1862(c)(3)(A)(i). If the President chooses to pursue the

negotiation of that kind of article-specific agreement, and either “no such agreement is entered

into” within 180 days or an agreement is entered into but “is not being carried out or is

ineffective,” then the President “shall take such other actions as the President deems necessary to

adjust the imports of such article so that such imports will not threaten to impair the national

security.” Id. § 1862(c)(3)(A).

       32.     The President “shall submit to the Congress a written statement of the reasons”

explaining his decision “[b]y no later than the date that is 30 days after the date on which the

President makes any determinations.” Id. § 1862(c)(2).

       33.     Although Section 232 does not include a definition of “national security,” it

includes a non-exclusive list of factors that the Secretary of Commerce and the President “shall .

. . give consideration to,” including:

       domestic production needed for projected national defense requirements, the
       capacity of domestic industries to meet such requirements, existing and
       anticipated availabilities of the human resources, products, raw materials, and
       other supplies and services essential to the national defense, the requirements of
       growth of such industries and such supplies and services including the investment,
       exploration, and development necessary to assure such growth, and the
       importation of goods in terms of their quantities, availabilities, character, and use.
       ...

Id. § 1862(d). Additionally, the Secretary of Commerce and the President

       shall further recognize the close relation of the economic welfare of the Nation to
       our national security, and shall take into consideration the impact of foreign
       competition on the economic welfare of individual domestic industries[,] . . .
       without excluding other factors, in determining whether such weakening of our
       internal economy may impair the national security.
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Id.

II.     COMMERCE’S INVESTIGATION UNDER SECTION 232

        34.    On April 19, 2017, Secretary of Commerce Wilbur Ross initiated an investigation

into the effects of steel imports on the United States’ national security. On April 20, 2018, the

President instructed Commerce to give priority to the investigation into the national security

threats posed by imports of steel and to complete the investigation by June 2017.1 As part of the

investigation, Commerce collected written public comments, held a public hearing, and

consulted with the Secretary of Defense.2

        35.    On January 11, 2018, Commerce submitted a report to the President containing its

findings and recommendations on steel imports.3

        36.    Commerce explained that it analyzed the impact of steel imports using a broad

definition of “national security,” to include not only the term “national defense” but also to

“include[] the ‘general security and welfare of certain industries, beyond those necessary to

satisfy national defense requirements, which are critical to minimum operations of the economy

and government.’” Steel Report at 1, 13-15, Exhibit 4 (quoting Dep’t of Commerce, Bureau of




1
  Memorandum on Steel Imports and Threats to National Security (U.S. President, April 20,
2017) available at https://www.gpo.gov/fdsys/pkg/DCPD-201700259/pdf/DCPD-
201700259.pdf.
2
  Notice Request for Public Comments and Public Hearing on Section 232 National Security
Investigation of Imports of Steel, 82 Fed. Reg. 19205 (BIS April 26, 2017); see also Notice of
Request for Public Comments and Public Hearing on Section 232 National Security
Investigation of Imports of Aluminum, 82 Fed. Reg. 21509 (BIS May 9, 2017).
3
  Dep’t of Commerce, Bureau of Indus. & Sec. (BIS), The Effect of Imports of Steel on the
National Security (Jan. 11, 2018) (“Steel Report”), available at
https://www.commerce.gov/sites/commerce.gov/files/the_effect_of_imports_of_steel_on_the_na
tional_security_-_with_redactions_-_20180111.pdf (attached as Exhibit 4).

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Export Admin., The Effect of Imports of Iron Ore and Semi-Finished Steel on the National

Security at 5 (Oct. 2001) (“2001 Report”), attached as Exhibit 5).4

        37.    Commerce stated that its definition of the term “national security” is consistent

with the 2001 Report, which explains that the term ‘national security’ can be interpreted more

broadly to include the general security and welfare of certain industries, beyond those necessary

to satisfy national defense requirements that are critical to the minimum operations of the

economy and government. ” Steel Report at 13, Exhibit 4 (quoting 2001 Report at 5, Exhibit 5).

        38.    The Steel Report observed that the United States’ domestic steel industry was in

decline; that shrinking “capacity utilization rates” were deterring capital investment; and that

foreign imports had contributed to the falloffs in domestic production. Steel Report at 3-5,

Exhibit 4. The Steel Report concluded, “the present quantities and circumstance of steel imports

are ‘weakening our internal economy’ and threaten to impair the national security as defined in

Section 232.” Id. at 5.

        39.    Commerce identified global excess steel capacity as a circumstance that

contributes to the “weakening of our internal economy” that “threaten[s] to impair” the national

security as defined in Section 232. Id. at 5, 16. It explained that “U.S. steel production capacity

has remained flat since 2001, while other steel producing nations have increased their production

capacity, with China alone able to produce as much steel as the rest of the world combined.” Id.

at 52. The Steel Report did not identify any excess capacity with respect to Turkey.

        40.     Commerce recommended that the President take immediate action to adjust the

level of these imports through quotas or tariffs.” Id. at 58-61. Commerce recommended three


4
 Available at https://www.bis.doc.gov/index.php/documents/section-232-investigations/81-iron-
ore-and-semi-finished-steel-2001/file.

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alternative actions, each of which had the stated objective of enabling the U.S. steel industry to

operate at an 80% or better average capacity utilization rate. Id. at 6-9. Option one was the

imposition of a global quota equal to 63% of the 2017 import level of all imported steel products.

Id. at 7-8. Option two was a global 24% tariff on imports of all imported steel products. Id. at 8.

Option three was a 53% tariff on all imported steel products from twelve countries (Brazil, South

Korea, Russia, Turkey, India, Vietnam, China, Thailand, South Africa, Egypt, Malaysia, and

Costa Rica), with all other countries being limited to 100% of their 2017 import volumes. Id. at

8-9.

        41.    On February 18, 2018, the Secretary of Defense sent a letter to Commerce

providing its position on the recommendations contained in the Steel Report.5 The Secretary of

Defense conveyed that in his view, “U.S. military requirements for steel and aluminum each only

represent about three percent of U.S. production” and “[t]herefore, DoD does not believe that the

findings in the reports [by Commerce] impact the ability of DoD programs to acquire the steel or

aluminum necessary to meet national defense requirements.” Steel/Aluminum Policy

Recommendations Resp. at 1, Exhibit 6.

        42.    The Secretary of Defense also shared that it “continues to be concerned about the

negative impact on our key allies” of “the recommended options within the reports.” Id.




5
  Memorandum from Sec’y of Def. to Sec’y of Commerce, re: Response to Steel and Aluminum
Policy Recommendations (Feb. 18, 2018) (“Steel/Aluminum Policy Recommendations Resp.”)
(attached as Exhibit 6).

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III.   THE SECTION 232 STEEL PROCLAMATIONS

       43.     On March 8, 2018, President Trump issued Proclamation No. 9705, First Steel

Proclamation which imposed a 25% ad valorem tariff on steel articles imported from all

countries, except Canada and Mexico. See 83 Fed. Reg. at 11626 (para. 8) (Exhibit 1).

       44.     Proclamation 9705 stated “that Canada and Mexico present a special case” given

their “shared commitment [with the United States] to support[ ] each other in addressing national

security concerns.” Id. at 11626 (para. 10). Accordingly, the President “determined that the

necessary and appropriate means to address the threat to national security posed by imports of

steel articles from Canada and Mexico is to continue ongoing discussions with these countries”

and exempt them “from the tariff, at least at this time.” Id.

       45.     The new 25% steel tariffs were scheduled to take effect as to all countries other

than Canada and Mexico on March 23, 2018.

       46.     On March 22, 2018, President Trump issued Proclamation No. 9711 which

expanded the list of countries exempted from the tariffs beyond Canada and Mexico to include

“the Commonwealth of Australia (‘Australia’), the Argentine Republic (‘Argentina’), the

Republic of Korea (‘South Korea’), the Federative Republic of Brazil (‘Brazil’), and the

European Union (‘EU’).” See Adjusting Imports of Steel Into the United States, Proclamation No.

9711 of Mar. 22, 2018, 83 Fed. Reg. 13361, 13361 (para. 4) (Mar. 28, 2018) (“Second Steel

Proclamation”) (attached as Exhibit 7).

       47.     The March 22, 2018 proclamation made the country exemptions temporary,

including for Canada and Mexico. It stated that on May 1, 2018, all of “the countries listed as

excepted” would be subject to the 25% steel, unless the President were to “determine by further

proclamation that the United States has reached a satisfactory alternative means to remove the

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threatened impairment to the national security by imports” of that country. Id. at 13362 (para.

11). In the interim, President Trump instructed that “ongoing discussions” with the temporarily-

exempted countries “continue,” so that other “measures to reduce excess . . . production” abroad

and “increase domestic capacity utilization” in the United States could be agreed upon. Id. at

13362 (para. 10).

       48.     On April 30, 2018, President Trump issued Proclamation No. 9740, extending the

period of reprieve for Canada, Mexico, and the EU for an additional 30 days. Adjusting Imports

of Steel Into the United States, Proclamation No. 9740 of April 30, 2018, 83 Fed. Reg. 20683

(May 7, 2018) (“Third Steel Proclamation”) (attached as Exhibit 8). The Section 232 tariffs

were scheduled to take effect as to Canada, Mexico, and the EU on June 1, 2018, unless the

President were to “determine by further proclamation that the United States has reached a

satisfactory alternative means to remove the threatened impairment to the national security by

imports” from those countries. Id. at 20684 (para. 7).

       49.     Argentina, Australia, Brazil, and South Korea received different treatment in the

Third Steel Proclamation. For Argentina, Australia, and Brazil, the proclamation noted that the

United States had “agreed in principle” on “satisfactory alternative means” to address steel that

would allay the United States’ concerns, and that the President was therefore “extend[ing] the

temporary exemption” for these countries, with no set expiration date, “in order to finalize the

details of these satisfactory alternative means.” Id. (para. 5). South Korea was removed entirely

and indefinitely from the 25% steel tariff. Id. at 20683-84 (para. 4). The Third Steel

Proclamation announced that the United States and South Korea had “successfully” “agreed on a

range of measures” to address the level of steel imports that would sufficiently “address South



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Korea’s contribution to the threatened impairment to [the United States’] national security.” Id.

at 20683 (para. 4).

       50.     On May 31, 2018, President Trump amended the steel proclamations a fourth

time. Adjusting Imports of Steel Into the United States, Proclamation No. 9759 of May 31, 2018,

83 Fed. Reg. 25857 (June 5, 2018) (“Fourth Steel Proclamation”) (attached as Exhibit 9). The

May 31 proclamation directed that the new tariffs would apply to imported steel articles from

Canada, Mexico, and the EU, beginning on June 1, 2018. Id.

       51.     The Fourth Steel Proclamation exempted Argentina, Australia, and Brazil from

the steel tariff because these countries had “agreed on a range of measures” addressing steel

imports into the United States that the President determined would “provide effective, long-term

alternative means to address these countries’ contribution to the threatened impairment to our

national security.” Id. at 25857-58 (paras. 4 & 5).

       52.     On August 10, 2018 at 5:47 AM, the President released the following statement

on Twitter: “I have just authorized a doubling of Tariffs on Steel and Aluminum with respect to

Turkey as their currency, the Turkish Lira, slides rapidly downward against our very strong

Dollar! Aluminum will now be 20% and Steel 50%. Our relations with Turkey are not good at

this time!” See Exhibit 10.

       53.     On the same day, the President issued the Steel Proclamation on Turkey imposing

a 50% ad valorem tariff on steel articles imported from Turkey. See Exhibit 2. The Steel

Proclamation on Turkey raised the tariffs on steel articles from Turkey only and did not raise the

tariffs on imports from other countries. The increased tariffs on imports of steel articles from

Turkey went into effect on August 13, 2018. Steel Proclamation on Turkey, 83 Fed. Reg. at



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40429 (para. 6), Exhibit 2. To date, the President has not issued a proclamation imposing 20%

tariffs on aluminum from Turkey.

        54.     In justifying the increase in tariffs to 50% on Turkey alone, the President

explained that “while capacity utilization in the domestic steel industry has improved, it is still

below the target capacity utilization level the Secretary recommended in his report.” Id. at 40429

(para. 4). The President further noted that “it is necessary and appropriate in light of our national

security interests to adjust the tariff imposed by previous proclamations” because the imports

have not declined as much as anticipated and because the capacity utilization has not increased to

the target level. Id. (para. 5).

        55.     The President explained that in the Steel Report, “[T]he Secretary recommended

that I consider applying a higher tariff to a list of specific countries should I determine that all

countries should not be subject to the same tariff. One of the countries on that list was the

Republic of Turkey (Turkey).” Id. (para. 6). In order to further reduce imports of steel articles

and increase domestic capacity utilization, the President “determined that it is necessary and

appropriate to impose a 50% ad valorem tariff on steel articles imported from Turkey.” Id. The

President further explained that the Secretary of Commerce “has advised me that this adjustment

will be a significant step toward ensuring the viability of the domestic steel industry.” Id.

        56.     On August 29, 2018, the President issued Proclamation No. 9777 to provide

potential relief to certain steel importers. Adjusting Imports of Steel Into the United States,

Proclamation No. 9777 of August 29, 2018, 83 Fed. Reg. 45025 (Sept. 4, 2018) (the “Sixth Steel

Proclamation”) (attached as Exhibit 11). In the Sixth Steel Proclamation, the President provided

some relief from quantitative limitations set forth in the Third Steel Proclamation and Fourth

Steel Proclamation.

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IV.    U.S. IMPORTS OF TURKISH STEEL ARTICLES

       57.     Based on public tariff and trade data compiled and aggregated from Commerce

and the U.S. International Trade Commission websites, total import volumes from Turkey of

affected steel products under Section 232 totaled 1,568,645 MT from January –July 2017. This

compares with imports from Turkey of 654,339 MT for January –July 2018. The import volumes

from Turkey were reduced over 58.29% between interim 2017 and 2018 as demonstrated in the

import charts provided at Exhibit 12.

       58.     Based on tariff and trade data compiled and aggregated from Commerce and the

U.S. International Trade Commission websites, total import volumes from Turkey of affected

steel products under Section 232 totaled 879,287 MT from March through June 2017. This

compares with 409,810 MT during the period March – June 2018, the period during which 25%

Section 232 tariffs were in effect, but prior to imposition of the 50% tariffs. The Turkish import

volumes were reduced over 53% during the interim period when Section 232 tariffs were in

effect, relative to 2017. See Exhibit 12.

       59.     Commerce’s own publications show a significant decrease in steel imports from

Turkey in 2018. The Department of Commerce, International Trade Administration, published its

Global Steel Trade Monitor report in June 2018 which discusses “Trends in Imports from Top

Sources.” Global Steel Trade Monitor, Steel Imports Report: United States at 3 (June 2018)

(“Global Steel Trade Monitor”) (attached at Exhibit 13). In relevant part, the report states,

       [b]etween YTD 2017 [Jan- March] and YTD 2018, imports increased from five of
       the United State’ top 10 import source countries. Imports from Germany showed
       the largest volume increase in YTD 2018, up 29 percent, followed by Mexico
       (14%), Canada (7%), South Korea (6%), and China (5%). Some of the countries
       which the United States had decreases in imports from were Turkey (-59%),
       Russia (-10%), and Taiwan (-10%).

Id.
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        60.    The June 2018 Global Steel Trade Monitor report also lists the top 10 sources of

steel imports, “Imports by Top Source,” in order: Canada (20%), Brazil (13%), South Korea

(11%), Mexico (11%), Russia (7%), Japan (5%), Turkey (4%), Germany (3%), Taiwan (3%),

and China (2%). Id.

        61.    The Steel Report published by Commerce in the Section 232 investigation,

estimated that U.S. steel production capacity in 2017 was approximately 113.3 million MT, with

production at 81.9 million MT, for a capacity utilization rate of 72.3%. Steel Report at 7, Exhibit

4. According to the report, “[u]tilization rates of 80 percent or greater are necessary to sustain

adequate profitability and continued capital investment, research and development, and

workforce enhancement in the steel sector.” Id. at 4.

        62.    Therefore, in order to reach the stated capacity utilization rate of 80% or higher,

U.S. steel production would have to increase from 81.9 million MT to a minimum of 90.6 MT, or

8.7 + million MT. Id. at 7. As noted above, based on publicly available data, 2017 import

volumes from Turkey of steel products covered by the Section 232 measure totaled 1,990,337

MT. Turkish Import Volumes, attached as Exhibit 12. The total volume of Turkish steel imports

in 2017 is less than 23% of the total increase in U.S. production necessary to meet the minimum

80% capacity utilization target stated in the Steel Report.

        63.    Nor is Turkey expanding its steelmaking capacity and posing an increased threat

to U.S. interests as a results of excess steel capacity. The OECD’s steelmaking capacity database,

relied upon by Commerce in the Steel Report,6 indicates that steelmaking capacity in Turkey has


6
  Steel Report at 51-53, Exhibit 4. OECD data on global steelmaking capacity and by country,
are attached at Exhibit 14, OECD, Dir. for Science, Tech. & Innovation Steel Comm., Capacity
Developments in the World Steel Industry, DSTI/SC(2017)2/Final (Aug. 7, 2017) data on global
steelmaking capacity and OECD, Recent developments in steelmaking capacity,

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been generally flat since 2012, with a slight decrease in 2017. Steel Report at 41 & 47, Exhibit

4; see also Turkish Import Volumes, Exhibit 12.

       64.        In sum, Commerce’s own data show that under no scenario could the doubling of

the Section 232 tariffs on imports of steel products from Turkey contribute significantly to the

stated goal of the measure to increase domestic capacity utilization to 80%. Prior to imposition of

the 50% tariffs, Turkish imports had already declined over 50% in 2018 when compared to 2017,

more than any other country subject to the 232 tariffs. The 25% tariff had more than addressed

any national security concerns or goals with respect to a single country. The added 25% tariffs

on a very low import volume from Turkey that was already subject to 25% tariffs could have no

more but a negligible impact, if any, on domestic capacity utilization. Therefore, the doubling of

the tariffs on Turkish imports was neither necessary, nor could it advance any legitimate national

security needs.

                                    STATEMENT OF CLAIMS

                                              COUNT I

       65.        Plaintiff incorporates by reference paragraphs 1-64 of this Complaint.

       66.        The Constitution, Article I, Section 8 enumerates many of the legislative powers

conferred on Congress. Clause 1 of Section 8 grants Congress the power “To lay and collect

Taxes, Duties, Imposts and Excises” and Clause 3 of Section 8 empowers Congress to “regulate

Commerce with foreign Nations.” Thus, in the scheme of allocated powers established by the

Constitution, Section 232 represents a delegation to the Executive by Congress of authority to

exercise certain powers that otherwise are exclusively within the province of Congress.



DSTI/SC(2018)2/Final (2018).

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        67.     Because Section 232 authority has been delegated to the President by Congress, it

is inherently limited. It must be exercised as Congress directs and only for the purpose mandated

by Congress. Any discretion afforded the President under Section 232 is not and cannot be

without limits. See, e.g., Mistretta v. United States, 488 U.S. 361, 371-373 (1989).

        68.     Section 232 authorizes the President to take action to “adjust” the imports of an

article and its derivatives based on a finding that the article “is being imported into the United

States in such quantities or under such circumstances as to threaten to impair the national

security.” 19 U.S.C. § 1862(c)(1)(A). The statute requires that any action to adjust imports taken

by the President pursuant to Section 232 must be consistent with the purpose of protecting or

furthering the national security.

        69.     The Steel Report states that the terms “national security” and “national defense”

in Section 232 are understood to include the general security and welfare of certain industries

that are deemed critical to the nation’s economic well-being, as well as to meeting its defense

needs. The Steel Report concluded that the national security requires a viable domestic steel

industry, which it defined as one operating at an 80% or better average capacity utilization rate,

and found that foreign imports were a significant contributor to the industry’s declining

production. Steel Report at 6. As set forth in the Steel Report and in the six steel proclamations to

date, the alleged national security objective sought under Section 232 is the preservation of a

viable domestic steel industry, with its viability defined in terms of its capacity utilization rate.

The Section 232 adjustments or means chosen to achieve that purpose include tariff and other

restrictions on foreign steel imports.

        70.     The Steel Proclamation on Turkey stated that in order to further reduce imports of

steel and thereby increase domestic capacity utilization it was necessary and appropriate to

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double the existing Section 232 tariff on imports of steel from Turkey to a rate of 50% ad

valorem. Steel Proclamation on Turkey at 40429 (para. 6), Exhibit 2. However, the facts do not

support the contention that doubling the Section 232 tariffs on Turkey serves the proclaimed

national security purpose of increasing the domestic steel industry’s capacity utilization rate.

There is, in fact, no nexus between the President’s action and achievement of the national

security purpose, as defined by the President, that the action is asserted to promote.

       71.     19 U.S.C. § 1862(d) sets forth factors that the President and the Secretary must

consider in determining whether and how to adjust imports. Section 1862(d) states that “in the

light of the requirements of national security and without excluding other relevant factors” the

President must consider the capacity of domestic industries to meet projected national defense

requirements and “the importation of goods in terms of their quantities, availabilities, character,

and use” as they affect the capacity of the United States to meet national security requirements.

       72.     The President’s Twitter statement that the relationship between the United States

and Turkey are “not good” and the relevant trade figures available at the time demonstrate that

the President’s action to double the tariff on imports of steel from Turkey is based upon

considerations unrelated to the factors required by Section 1862(d). The President’s action is,

therefore, not in accordance with the statute.

       73.     Neither the Steel Report nor the trade data support the declaration in the Steel

Proclamation on Turkey that imposing a 50% tariff on Turkey alone would lead to the desired

increase in the domestic industry’s capacity utilization. None of the alternative adjustments to

imports proposed in the Steel Report support the proposition that action only against Turkey

would be sufficient to achieve the reduction in imports to a level that would serve to promote

higher domestic capacity utilization. The trade data clearly shows that elimination of all imports

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from Turkey and their replacement by domestic production would not by itself be enough to

bring the domestic industry’s capacity utilization rate to the target level.

       74.       Prior to imposition of the 50% tariffs, Turkish imports had already declined over

50% in 2018 as compared with 2017, more than for any other country subject to the Section 232

tariffs. The additional 25% tariff on rapidly declining volumes of imports from Turkey already

subject to 25% tariffs could have no more than a negligible effect, if any, on achieving the goal

of reducing imports in order to promote domestic capacity utilization. Thus, the doubling of the

tariffs on Turkish imports was neither necessary nor appropriate to advancing the national

security purpose proclaimed to underlie the President’s actions pursuant to Section 232 to adjust

steel imports.

       75.       The absence of a nexus between the President’s action and carrying out the

national security purpose of the statute mandated by Congress means that the President has acted

outside the bounds of the authority delegated to him by Congress under Section 232.

Accordingly, that action must be nullified as not in accordance with the authority delegated to

the President by Congress under Section 232.

                                             COUNT II

       76.       Plaintiff incorporates by reference paragraphs 1-64 of this Complaint.

       77.       A presidential action may be set aside if the President’s action involves “a clear

misconstruction of the governing statute, a significant procedural violation, or action outside

delegated authority.” Silfab Solar, Inc. v. United States, 892 F.3d 1340, 1346 (Fed. Cir. 2018);

Maple Leaf Fish Co. v. United States, 762 F.2d 86, 89 (Fed. Cir. 1985); Motion Systems Corp. v.

Bush, 437 F.3d 1356, 1361 (Fed. Cir. 2006) (en banc) (stating that courts may consider whether

the President has violated an explicit statutory mandate).

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       78.     Subsections (b) and (c) of Section 232, 19 U.S.C. § 1862(b)-(c), establish a

process that must be followed before any actions to adjust imports may be taken. As discussed in

the factual section of this complaint, among other procedural protections, the process devised by

Congress in Section 232 includes an investigation by the Secretary of Commerce, consultation

with the Secretary of Defense, a report on the findings of the investigation with respect to the

effects of the targeted imports on national security and, if appropriate, a public comment and

hearing process. Section 232 also requires that any actions to adjust imports must be consistent

with the purpose of protecting or furthering the national security.

       79.     This statutory process was not followed with respect to the Steel Proclamation on

Turkey. There was no investigation, report or consultation to determine the effect on the national

security of imports from Turkey prior to the issuance of the challenged proclamation to support

the doubling of the tariffs on steel imports from that country alone. Unlike the First Steel

Proclamation on global steel imports, there was no opportunity for interested parties to present

information with respect to the national security impact of imports from Turkey. While

Defendants may have sought to follow the statutory process laid out by Section 232 with respect

to the initial Section 232 Proclamations affecting global steel imports, that process was not

followed prior to the proclamation doubling the steel tariffs on Turkey.

       80.     In violation of the statutory requirements, the Steel Proclamation on Turkey

imposed additional tariffs on imports from Turkey without following the procedures prescribed

by Congress in the Trade Expansion Act of 1962, as amended. Failure to comply with the

procedural requirements of Section 232 prior to issuing the Steel Proclamation on Turkey

represents a serious procedural violation and has denied Plaintiff and similarly situated importers



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the benefit of the protection of their interests that inclusion of those requirements in the statute

was intended to provide.

                                            COUNT III

       81.      Plaintiff incorporates by reference paragraphs 1-64 of this Complaint.

       82.     The Steel Proclamation on Turkey, on its face, violates the Equal Protection

Doctrine of the U.S. Constitution by impermissibly discriminating between similarly situated

domestic importers and selectively imposing an additional burden only on certain of those

importers who import steel products from Turkey.

       83.     The equal protection of the laws of the United States is guaranteed by the Fifth

Amendment’s Due Process requirement, which prohibits the government from unjustifiably

treating similarly situated persons differently. Bolling v. Sharpe, 347 U.S. 497, 499 (1954) (“[A]s

this Court has recognized, discrimination may be so unjustifiable as to be violative of due

process.”). A classification that “neither burdens a fundamental right nor targets a suspect class”

will be upheld “so long as it bears a rational relation to the some legitimate end.” Romer v.

Evans, 517 U.S. 620, 631 (1996); Armour v. City of Indianapolis, 566 U.S. 673, 680 (2012) ([A]

classification neither involving fundamental rights nor proceeding along suspect lines . . . cannot

run afoul of the Equal Protection Clause if there is a rational relationship between the disparity of

treatment and some legitimate governmental purpose.” (citation omitted))

       84.     Plaintiff is in all relevant aspects similarly situated to U.S. importers who import

steel from countries other than Turkey and whose imports are subject to the 25% tariff set forth

in the First through Fourth Presidential Proclamations. The Steel Proclamation on Turkey

imposes a different, more burdensome treatment on U.S. importers of steel products from

Turkey. There is no legitimate governmental purpose achieved by differentiating between U.S.

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importers based solely on the country of origin of their steel imports and doubling the duty on

imports from Turkey entered by Plaintiff and similarly situated U.S. importers. There being no

legitimate governmental purpose for this discriminatory treatment, the Steel Proclamation on

Turkey violates the Equal Protection Doctrine and is unconstitutional.

                                           COUNT IV

       85.     Plaintiff incorporates by reference paragraphs 1-64 of this Complaint.

       86.     The Constitution's Due Process Clause provides that “[n]o person shall . . . be

deprived of life, liberty, or property, without due process of law.” U.S. Const. amend. V.

       87.     The Federal Circuit has stated that “an importer may be entitled to procedural due

process regarding the resolution of disputed facts involved in a case of foreign commerce when

the importer faces a deprivation of ‘life, liberty, or property’ by the Federal Government.” NEC

Corp. v. United States, 151 F.3d 1361, 1370 (Fed. Cir. 1998).

       88.     Plaintiff faces economic and competitive harm from the additional tariffs imposed

by the Steel Proclamation on Turkey that were imposed without benefit of due process prior to

the issuance of the Steel Proclamation on Turkey on August 10, 2018. They have in violation of

the Constitution been deprived of their property without due process of law.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court:


       (a)     Enter judgment in favor of Plaintiff and declare the Steel Proclamation on Turkey

               unconstitutional, null and void;

       (b)     Enjoin Defendants from implementing or enforcing the Steel Proclamation on

               Turkey against Plaintiff;


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       (c)     Order CBP to refund Plaintiff the difference between any tariffs collected by CBP

               on its imports of steel products pursuant to the Steel Proclamation on Turkey and

               the 25% ad valorem tariff that would otherwise apply on these imports; and

       (d)     Grant such additional relief as the Court may deem just and proper.


                                            /s/ Matthew Nolan
                                            Matthew Nolan
                                            Nancy A. Noonan
                                            Diana Dimitriuc Quaia
                                            Aman Kakar
                                            Andrew Jaxa-Debicki

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                                            Counsel to Transpacific Steel LLC

Dated: April 1, 2019




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                     EXHIBIT LIST TO AMENDED COMPLAINT


Exhibit                                      Description
1       Adjusting Imports of Steel Into the United States, Proclamation No. 9705, 83 Fed.
        Reg. 11625 (Mar. 15, 2018) (“First Steel Proclamation”)

2        Adjusting Imports of Steel Into the United States, Proclamation 9772 of August 10,
         2018, 83 Fed. Reg. 40429 (Aug. 15, 2018) (“Steel Proclamation on Turkey” or “Fifth
         Steel Proclamation”)

3        Transpacific Steel LLC (“Transpacific”) Declaration

4        Dep’t of Commerce, Bureau of Indus. & Sec. (BIS), The Effect of Imports of Steel on
         the National Security (Jan. 11, 2018) (“Steel Report”)

5        Dep’t of Commerce, Bureau of Export Admin., The Effect of Imports of Iron Ore and
         Semi-Finished Steel on the National Security (Oct. 2001)

6        Memorandum from Sec’y of Def. to Sec’y of Commerce, re: Response to Steel and
         Aluminum Policy Recommendations (Feb. 18, 2018)

7        Adjusting Imports of Steel Into the United States, Proclamation No. 9711 of Mar. 22,
         2018, 83 Fed. Reg. 13361 (para. 4) (Mar. 28, 2018) (“Second Steel Proclamation”).

8        Adjusting Imports of Steel Into the United States, Proclamation No. 9740 of April 30,
         2018, 83 Fed. Reg. 20683 (May 7, 2018) (“Third Steel Proclamation”)

9        Adjusting Imports of Steel Into the United States, Proclamation No. 9759 of May 31,
         2018, 83 Fed. Reg. 25857 (June 5, 2018) (“Fourth Steel Proclamation”)

10       Donald J. Trump Tweets of August 10, 2018

11       Adjusting Imports of Steel Into the United States, Proclamation No. 9777 of August
         29, 2018, 83 Fed. Reg. 45025 (Sept. 4, 2018) (the “Sixth Steel Proclamation”)

12       Turkish Import Volumes

13       Global Steel Trade Monitor, Steel Imports Report: United States (June 2018)

14       OECD, Recent developments in steelmaking capacity, DSTI/SC(2018)2/Final (2018)




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                         EXHIBIT 1
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                                                                                                      Presidential Documents



                                                                                                      Proclamation 9705 of March 8, 2018

                                                                                                      Adjusting Imports of Steel Into the United States


                                                                                                      By the President of the United States of America

                                                                                                      A Proclamation
                                                                                                      1. On January 11, 2018, the Secretary of Commerce (Secretary) transmitted
                                                                                                      to me a report on his investigation into the effect of imports of steel mill
                                                                                                      articles (steel articles) on the national security of the United States under
                                                                                                      section 232 of the Trade Expansion Act of 1962, as amended (19 U.S.C.
                                                                                                      1862).
                                                                                                      2. The Secretary found and advised me of his opinion that steel articles
                                                                                                      are being imported into the United States in such quantities and under
                                                                                                      such circumstances as to threaten to impair the national security of the
                                                                                                      United States. The Secretary found that the present quantities of steel articles
                                                                                                      imports and the circumstances of global excess capacity for producing steel
                                                                                                      are ‘‘weakening our internal economy,’’ resulting in the persistent threat
                                                                                                      of further closures of domestic steel production facilities and the ‘‘shrinking
                                                                                                      [of our] ability to meet national security production requirements in a na-
                                                                                                      tional emergency.’’ Because of these risks and the risk that the United
                                                                                                      States may be unable to ‘‘meet [steel] demands for national defense and
                                                                                                      critical industries in a national emergency,’’ and taking into account the
                                                                                                      close relation of the economic welfare of the Nation to our national security,
                                                                                                      see 19 U.S.C. 1862(d), the Secretary concluded that the present quantities
                                                                                                      and circumstances of steel articles imports threaten to impair the national
                                                                                                      security as defined in section 232 of the Trade Expansion Act of 1962,
                                                                                                      as amended.
                                                                                                      3. In reaching this conclusion, the Secretary considered the previous U.S.
                                                                                                      Government measures and actions on steel articles imports and excess capac-
                                                                                                      ity, including actions taken under Presidents Reagan, George H.W. Bush,
                                                                                                      Clinton, and George W. Bush. The Secretary also considered the Department
                                                                                                      of Commerce’s narrower investigation of iron ore and semi-finished steel
                                                                                                      imports in 2001, and found the recommendations in that report to be outdated
                                                                                                      given the dramatic changes in the steel industry since 2001, including the
                                                                                                      increased level of global excess capacity, the increased level of imports,
                                                                                                      the reduction in basic oxygen furnace facilities, the number of idled facilities
                                                                                                      despite increased demand for steel in critical industries, and the potential
                                                                                                      impact of further plant closures on capacity needed in a national emergency.
                                                                                                      4. In light of this conclusion, the Secretary recommended actions to adjust
                                                                                                      the imports of steel articles so that such imports will not threaten to impair
                                                                                                      the national security. Among those recommendations was a global tariff
                                                                                                      of 24 percent on imports of steel articles in order to reduce imports to
                                                                                                      a level that the Secretary assessed would enable domestic steel producers
                                                                                                      to use approximately 80 percent of existing domestic production capacity
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                                                                                                      and thereby achieve long-term economic viability through increased produc-
                                                                                                      tion. The Secretary has also recommended that I authorize him, in response
                                                                                                      to specific requests from affected domestic parties, to exclude from any
                                                                                                      adopted import restrictions those steel articles for which the Secretary deter-
                                                                                                      mines there is a lack of sufficient U.S. production capacity of comparable
                                                                                                      products, or to exclude steel articles from such restrictions for specific
                                                                                                      national security-based considerations.


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                                                                                                      5. I concur in the Secretary’s finding that steel articles are being imported
                                                                                                      into the United States in such quantities and under such circumstances
                                                                                                      as to threaten to impair the national security of the United States, and
                                                                                                      I have considered his recommendations.
                                                                                                      6. Section 232 of the Trade Expansion Act of 1962, as amended, authorizes
                                                                                                      the President to adjust the imports of an article and its derivatives that
                                                                                                      are being imported into the United States in such quantities or under such
                                                                                                      circumstances as to threaten to impair the national security.
                                                                                                      7. Section 604 of the Trade Act of 1974, as amended (19 U.S.C. 2483),
                                                                                                      authorizes the President to embody in the Harmonized Tariff Schedule of
                                                                                                      the United States (HTSUS) the substance of acts affecting import treatment,
                                                                                                      and actions thereunder, including the removal, modification, continuance,
                                                                                                      or imposition of any rate of duty or other import restriction.
                                                                                                      8. In the exercise of these authorities, I have decided to adjust the imports
                                                                                                      of steel articles by imposing a 25 percent ad valorem tariff on steel articles,
                                                                                                      as defined below, imported from all countries except Canada and Mexico.
                                                                                                      In my judgment, this tariff is necessary and appropriate in light of the
                                                                                                      many factors I have considered, including the Secretary’s report, updated
                                                                                                      import and production numbers for 2017, the failure of countries to agree
                                                                                                      on measures to reduce global excess capacity, the continued high level
                                                                                                      of imports since the beginning of the year, and special circumstances that
                                                                                                      exist with respect to Canada and Mexico. This relief will help our domestic
                                                                                                      steel industry to revive idled facilities, open closed mills, preserve necessary
                                                                                                      skills by hiring new steel workers, and maintain or increase production,
                                                                                                      which will reduce our Nation’s need to rely on foreign producers for steel
                                                                                                      and ensure that domestic producers can continue to supply all the steel
                                                                                                      necessary for critical industries and national defense. Under current cir-
                                                                                                      cumstances, this tariff is necessary and appropriate to address the threat
                                                                                                      that imports of steel articles pose to the national security.
                                                                                                      9. In adopting this tariff, I recognize that our Nation has important security
                                                                                                      relationships with some countries whose exports of steel articles to the
                                                                                                      United States weaken our internal economy and thereby threaten to impair
                                                                                                      the national security. I also recognize our shared concern about global excess
                                                                                                      capacity, a circumstance that is contributing to the threatened impairment
                                                                                                      of the national security. Any country with which we have a security relation-
                                                                                                      ship is welcome to discuss with the United States alternative ways to address
                                                                                                      the threatened impairment of the national security caused by imports from
                                                                                                      that country. Should the United States and any such country arrive at
                                                                                                      a satisfactory alternative means to address the threat to the national security
                                                                                                      such that I determine that imports from that country no longer threaten
                                                                                                      to impair the national security, I may remove or modify the restriction
                                                                                                      on steel articles imports from that country and, if necessary, make any
                                                                                                      corresponding adjustments to the tariff as it applies to other countries as
                                                                                                      our national security interests require.
                                                                                                      10. I conclude that Canada and Mexico present a special case. Given our
                                                                                                      shared commitment to supporting each other in addressing national security
                                                                                                      concerns, our shared commitment to addressing global excess capacity for
                                                                                                      producing steel, the physical proximity of our respective industrial bases,
                                                                                                      the robust economic integration between our countries, the export of steel
                                                                                                      articles produced in the United States to Canada and Mexico, and the
                                                                                                      close relation of the economic welfare of the United States to our national
                                                                                                      security, see 19 U.S.C. 1862(d), I have determined that the necessary and
                                                                                                      appropriate means to address the threat to the national security posed by
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                                                                                                      imports of steel articles from Canada and Mexico is to continue ongoing
                                                                                                      discussions with these countries and to exempt steel articles imports from
                                                                                                      these countries from the tariff, at least at this time. I expect that Canada
                                                                                                      and Mexico will take action to prevent transshipment of steel articles through
                                                                                                      Canada and Mexico to the United States.
                                                                                                      11. In the meantime, the tariff imposed by this proclamation is an important
                                                                                                      first step in ensuring the economic viability of our domestic steel industry.


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                                                                                                      Without this tariff and satisfactory outcomes in ongoing negotiations with
                                                                                                      Canada and Mexico, the industry will continue to decline, leaving the United
                                                                                                      States at risk of becoming reliant on foreign producers of steel to meet
                                                                                                      our national security needs—a situation that is fundamentally inconsistent
                                                                                                      with the safety and security of the American people. It is my judgment
                                                                                                      that the tariff imposed by this proclamation is necessary and appropriate
                                                                                                      to adjust imports of steel articles so that such imports will not threaten
                                                                                                      to impair the national security as defined in section 232 of the Trade
                                                                                                      Expansion Act of 1962, as amended.
                                                                                                      NOW, THEREFORE, I, DONALD J. TRUMP, President of the United States
                                                                                                      of America, by the authority vested in me by the Constitution and the
                                                                                                      laws of the United States of America, including section 301 of title 3,
                                                                                                      United States Code, section 604 of the Trade Act of 1974, as amended,
                                                                                                      and section 232 of the Trade Expansion Act of 1962, as amended, do
                                                                                                      hereby proclaim as follows:
                                                                                                      (1) For the purposes of this proclamation, ‘‘steel articles’’ are defined at
                                                                                                      the Harmonized Tariff Schedule (HTS) 6-digit level as: 7206.10 through
                                                                                                      7216.50, 7216.99 through 7301.10, 7302.10, 7302.40 through 7302.90, and
                                                                                                      7304.10 through 7306.90, including any subsequent revisions to these HTS
                                                                                                      classifications.
                                                                                                      (2) In order to establish increases in the duty rate on imports of steel
                                                                                                      articles, subchapter III of chapter 99 of the HTSUS is modified as provided
                                                                                                      in the Annex to this proclamation. Except as otherwise provided in this
                                                                                                      proclamation, or in notices published pursuant to clause 3 of this proclama-
                                                                                                      tion, all steel articles imports specified in the Annex shall be subject to
                                                                                                      an additional 25 percent ad valorem rate of duty with respect to goods
                                                                                                      entered, or withdrawn from warehouse for consumption, on or after 12:01
                                                                                                      a.m. eastern daylight time on March 23, 2018. This rate of duty, which
                                                                                                      is in addition to any other duties, fees, exactions, and charges applicable
                                                                                                      to such imported steel articles, shall apply to imports of steel articles from
                                                                                                      all countries except Canada and Mexico.
                                                                                                      (3) The Secretary, in consultation with the Secretary of State, the Secretary
                                                                                                      of the Treasury, the Secretary of Defense, the United States Trade Representa-
                                                                                                      tive (USTR), the Assistant to the President for National Security Affairs,
                                                                                                      the Assistant to the President for Economic Policy, and such other senior
                                                                                                      Executive Branch officials as the Secretary deems appropriate, is hereby
                                                                                                      authorized to provide relief from the additional duties set forth in clause
                                                                                                      2 of this proclamation for any steel article determined not to be produced
                                                                                                      in the United States in a sufficient and reasonably available amount or
                                                                                                      of a satisfactory quality and is also authorized to provide such relief based
                                                                                                      upon specific national security considerations. Such relief shall be provided
                                                                                                      for a steel article only after a request for exclusion is made by a directly
                                                                                                      affected party located in the United States. If the Secretary determines that
                                                                                                      a particular steel article should be excluded, the Secretary shall, upon pub-
                                                                                                      lishing a notice of such determination in the Federal Register, notify Customs
                                                                                                      and Border Protection (CBP) of the Department of Homeland Security con-
                                                                                                      cerning such article so that it will be excluded from the duties described
                                                                                                      in clause 2 of this proclamation. The Secretary shall consult with CBP
                                                                                                      to determine whether the HTSUS provisions created by the Annex to this
                                                                                                      proclamation should be modified in order to ensure the proper administration
                                                                                                      of such exclusion, and, if so, shall make such modification to the HTSUS
                                                                                                      through a notice in the Federal Register.
                                                                                                      (4) Within 10 days after the date of this proclamation, the Secretary shall
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                                                                                                      issue procedures for the requests for exclusion described in clause 3 of
                                                                                                      this proclamation. The issuance of such procedures is exempt from Executive
                                                                                                      Order 13771 of January 30, 2017 (Reducing Regulation and Controlling Regu-
                                                                                                      latory Costs).
                                                                                                      (5) (a) The modifications to the HTSUS made by the Annex to this proclama-
                                                                                                      tion shall be effective with respect to goods entered, or withdrawn from
                                                                                                      warehouse for consumption, on or after 12:01 a.m. eastern daylight time


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                                                                                                      on March 23, 2018, and shall continue in effect, unless such actions are
                                                                                                      expressly reduced, modified, or terminated.
                                                                                                        (b) The Secretary shall continue to monitor imports of steel articles and
                                                                                                      shall, from time to time, in consultation with the Secretary of State, the
                                                                                                      Secretary of the Treasury, the Secretary of Defense, the USTR, the Assistant
                                                                                                      to the President for National Security Affairs, the Assistant to the President
                                                                                                      for Economic Policy, the Director of the Office of Management and Budget,
                                                                                                      and such other senior Executive Branch officials as the Secretary deems
                                                                                                      appropriate, review the status of such imports with respect to the national
                                                                                                      security. The Secretary shall inform the President of any circumstances
                                                                                                      that in the Secretary’s opinion might indicate the need for further action
                                                                                                      by the President under section 232 of the Trade Expansion Act of 1962,
                                                                                                      as amended. The Secretary shall also inform the President of any cir-
                                                                                                      cumstance that in the Secretary’s opinion might indicate that the increase
                                                                                                      in duty rate provided for in this proclamation is no longer necessary.
                                                                                                      (6) Any provision of previous proclamations and Executive Orders that
                                                                                                      is inconsistent with the actions taken in this proclamation is superseded
                                                                                                      to the extent of such inconsistency.
                                                                                                      IN WITNESS WHEREOF, I have hereunto set my hand this eighth day
                                                                                                      of March, in the year of our Lord two thousand eighteen, and of the Independ-
                                                                                                      ence of the United States of America the two hundred and forty-second.




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                                                                                                                             ANNEX

                                                                                 TO MODIFY CHAPTER 99 OF THE HARMONIZED TARIFF
                                                                                         SCHEDULE OF THE UNITED STATES


                                                             Effective with respect to goods entered, or withdrawn from warehouse for consumption, on or
                                                             after 12:01 a.m. eastern daylight time on March 23, 2018, subchapter III of chapter 99 of the
                                                             Harmonized Tariff Schedule ofthe United States is modified by inserting in numerical sequence
                                                             the following new note and tariff provision, with the material in these provisions inserted in the
                                                             columns labeled ..Heading/Subheading", ..Article Description", ..Rates of Duty 1-General", and
                                                             ..Rates ofDuty 2", respectively:

                                                             .. 16. (a)       Heading 9903.80.01 sets forth the ordinary customs duty treatment applicable to all
                                                                              entries of iron or steel products from all countries, except products of Canada and of
                                                                              Mexico, classifiable in the headings or subheadings enumerated in this note. Such
                                                                              goods shall be subject to duty as provided herein. No special rates of duty shall be
                                                                              accorded to goods covered by heading 9903.80.01 under any tariff program
                                                                              enumerated in general note 3(c)(i) to the tariff schedule. All anti-dumping,
                                                                              countervailing, or other duties and charges applicable to such goods shall continue to
                                                                              be imposed.

                                                                      (b)     The rates of duty set forth in heading 9903.80.01 apply to all imported products of
                                                                              iron or steel classifiable in the provisions enumerated in this subdivision:

                                                                              (i)       flat-rolled products provided for in headings 7208, 7209, 7210, 7211, 7212,
                                                                                        7225 or 7226;

                                                                              (ii)      bars and rods provided for in headings 7213, 7214, 7215, 7227, or 7228,
                                                                                        angles, shapes and sections of7216 (except subheadings 7216.61.00,
                                                                                        7216.69.00 or 7216.91.00); wire provided for in headings 7217 or 7229; sheet
                                                                                        piling provided for in subheading 7301.1 0.00; rails provided for in subheading
                                                                                        7302.1 0; fish-plates and sole plates provided for in subheading 7302.40.00;
                                                                                        and other products of iron or steel provided for in subheading 7302.90.00;

                                                                              (iii) tubes, pipes and hollow profiles provided for in heading 7304, or 7306; tubes
                                                                                    and pipes provided for in heading 7305.

                                                                               (iv)     ingots, other primary forms and semi-finished products provided for in heading
                                                                                        7206, 7207 or 7224; and

                                                                               (v)      products of stainless steel provided for in heading 7218, 7219,7220, 7221,
                                                                                        7222 or 7223.

                                                                      (c)      The Secretary of Commerce may determine and announce any exclusions from
                                                                               heading 9903.80.01 that may be appropriate for individual iron or steel products
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                                                                        otherwise covered by subdivision (b) of this note or for individual shipments thereof,
                                                                        whether or not limited to particular quantities of any such goods or shipments, and
                                                                        shall immediately convey all such determinations to U.S. Customs and Border
                                                                        Protection ("CBP") for implementation by CBP at the earliest possible opportunity,
                                                                        but not later than five business days after the date on which CBP receives any such
                                                                        determination from Commerce.

                                                              (d)        Any importer entering the iron or steel products covered by this note under heading
                                                                         9903.80.01 shall provide any information that may be required, and in such form, as
                                                                         is deemed necessary by CBP in order to permit the administration of this
                                                                         subheading. Importers are likewise directed to report information concerning any
                                                                         applicable exclusion granted by Commerce in such form as CBP may require.


                                                                                                                                                                              Rates of Duty
                                                           Heading!                                                                                                           1                  2
                                                                                                            Article description
                                                          Subheading
                                                                                                                                                                   General       Special
                                                        9903.80.01              "Products of iron or steel provided for in the tariff headings
                                                                                or subheadings enumerated in note 16 to this subchapter,
                                                                                except products of Canada or of Mexico or any exclusions
                                                                                that may be determined and announced by the Department                           25%                          The duty
                                                                                of Commerce ..........................................................                                        provided
                                                                                                                                                                                              in the
                                                                                                                                                                                              applic-
                                                                                                                                                                                              able sub-
                                                                                                                                                                                              heading+
                                                                                                                                                                                              25%"
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                         EXHIBIT 2
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                                                 Title 3—                                            Proclamation 9772 of August 10, 2018

                                                 The President                                       Adjusting Imports of Steel Into the United States

                                                                                                     By the President of the United States of America

                                                                                                     A Proclamation
                                                                                                     1. On January 11, 2018, the Secretary of Commerce (Secretary) transmitted
                                                                                                     to me a report on his investigation into the effect of imports of steel articles
                                                                                                     on the national security of the United States under section 232 of the
                                                                                                     Trade Expansion Act of 1962, as amended (19 U.S.C. 1862). The Secretary
                                                                                                     found and advised me of his opinion that steel articles are being imported
                                                                                                     into the United States in such quantities and under such circumstances
                                                                                                     as to threaten to impair the national security of the United States.
                                                                                                     2. In Proclamation 9705 of March 8, 2018 (Adjusting Imports of Steel Into
                                                                                                     the United States), I concurred in the Secretary’s finding that steel articles,
                                                                                                     as defined in clause 1 of Proclamation 9705, as amended by clause 8 of
                                                                                                     Proclamation 9711 of March 22, 2018 (Adjusting Imports of Steel Into the
                                                                                                     United States), are being imported into the United States in such quantities
                                                                                                     and under such circumstances as to threaten to impair the national security
                                                                                                     of the United States, and decided to adjust the imports of these steel articles
                                                                                                     by imposing a 25 percent ad valorem tariff on such articles imported from
                                                                                                     most countries.
                                                                                                     3. In Proclamation 9705, I also directed the Secretary to monitor imports
                                                                                                     of steel articles and inform me of any circumstances that in the Secretary’s
                                                                                                     opinion might indicate the need for further action under section 232 with
                                                                                                     respect to such imports.
                                                                                                     4. The Secretary has informed me that while capacity utilization in the
                                                                                                     domestic steel industry has improved, it is still below the target capacity
                                                                                                     utilization level the Secretary recommended in his report. Although imports
                                                                                                     of steel articles have declined since the imposition of the tariff, I am advised
                                                                                                     that they are still several percentage points greater than the level of imports
                                                                                                     that would allow domestic capacity utilization to reach the target level.
                                                                                                     5. In light of the fact that imports have not declined as much as anticipated
                                                                                                     and capacity utilization has not increased to that target level, I have con-
                                                                                                     cluded that it is necessary and appropriate in light of our national security
                                                                                                     interests to adjust the tariff imposed by previous proclamations.
                                                                                                     6. In the Secretary’s January 2018 report, the Secretary recommended that
                                                                                                     I consider applying a higher tariff to a list of specific countries should
                                                                                                     I determine that all countries should not be subject to the same tariff.
                                                                                                     One of the countries on that list was the Republic of Turkey (Turkey).
                                                                                                     As the Secretary explained in that report, Turkey is among the major export-
                                                                                                     ers of steel to the United States for domestic consumption. To further reduce
                                                                                                     imports of steel articles and increase domestic capacity utilization, I have
                                                                                                     determined that it is necessary and appropriate to impose a 50 percent
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                                                                                                     ad valorem tariff on steel articles imported from Turkey, beginning on August
                                                                                                     13, 2018. The Secretary has advised me that this adjustment will be a
                                                                                                     significant step toward ensuring the viability of the domestic steel industry.
                                                                                                     7. Section 232 of the Trade Expansion Act of 1962, as amended, authorizes
                                                                                                     the President to adjust the imports of an article and its derivatives that
                                                                                                     are being imported into the United States in such quantities or under such
                                                                                                     circumstances as to threaten to impair the national security.


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                                                                                                     8. Section 604 of the Trade Act of 1974, as amended (19 U.S.C. 2483),
                                                                                                     authorizes the President to embody in the Harmonized Tariff Schedule of
                                                                                                     the United States (HTSUS) the substance of statutes affecting import treat-
                                                                                                     ment, and actions thereunder, including the removal, modification, continu-
                                                                                                     ance, or imposition of any rate of duty or other import restriction.
                                                                                                     NOW, THEREFORE, I, DONALD J. TRUMP, President of the United States
                                                                                                     of America, by the authority vested in me by the Constitution and the
                                                                                                     laws of the United States of America, including section 232 of the Trade
                                                                                                     Expansion Act of 1962, as amended, section 301 of title 3, United States
                                                                                                     Code, and section 604 of the Trade Act of 1974, as amended, do hereby
                                                                                                     proclaim as follows:
                                                                                                        (1) In order to establish increases in the duty rate on imports of steel
                                                                                                     articles from Turkey, subchapter III of chapter 99 of the HTSUS is modified
                                                                                                     as provided in the Annex to this proclamation. Clause 2 of Proclamation
                                                                                                     9705, as amended by clause 1 of Proclamation 9740 of April 30, 2018
                                                                                                     (Adjusting Imports of Steel Into the United States), is further amended
                                                                                                     by striking the last two sentences and inserting in lieu thereof the following
                                                                                                     three sentences: ‘‘Except as otherwise provided in this proclamation, or
                                                                                                     in notices published pursuant to clause 3 of this proclamation, all steel
                                                                                                     articles imports specified in the Annex shall be subject to an additional
                                                                                                     25 percent ad valorem rate of duty with respect to goods entered for consump-
                                                                                                     tion, or withdrawn from warehouse for consumption, as follows: (a) on
                                                                                                     or after 12:01 a.m. eastern daylight time on March 23, 2018, from all countries
                                                                                                     except Argentina, Australia, Brazil, Canada, Mexico, South Korea, and the
                                                                                                     member countries of the European Union; (b) on or after 12:01 a.m. eastern
                                                                                                     daylight time on June 1, 2018, from all countries except Argentina, Australia,
                                                                                                     Brazil, and South Korea; and (c) on or after 12:01 a.m. eastern daylight
                                                                                                     time on August 13, 2018, from all countries except Argentina, Australia,
                                                                                                     Brazil, South Korea, and Turkey. Further, except as otherwise provided
                                                                                                     in notices published pursuant to clause 3 of this proclamation, all steel
                                                                                                     articles imports from Turkey specified in the Annex shall be subject to
                                                                                                     a 50 percent ad valorem rate of duty with respect to goods entered for
                                                                                                     consumption, or withdrawn from warehouse for consumption, on or after
                                                                                                     12:01 a.m. eastern daylight time on August 13, 2018. These rates of duty,
                                                                                                     which are in addition to any other duties, fees, exactions, and charges
                                                                                                     applicable to such imported steel articles, shall apply to imports of steel
                                                                                                     articles from each country as specified in the preceding two sentences.’’.
                                                                                                       (2) The text of U.S. note 16(a)(i) to subchapter III of chapter 99 of the
                                                                                                     HTSUS is amended by deleting ‘‘Heading 9903.80.01 provides’’ and inserting
                                                                                                     the following in lieu thereof: ‘‘Except as provided in U.S. note 16(a)(ii),
                                                                                                     which applies to products of Turkey that are provided for in heading
                                                                                                     9903.80.02, heading 9903.80.01 provides’’.
                                                                                                       (3) U.S. note 16(a)(ii) to subchapter III of chapter 99 of the HTSUS is
                                                                                                     re-designated as U.S. note 16(a)(iii) to subchapter III of chapter 99 of the
                                                                                                     HTSUS.
                                                                                                       (4) The following new U.S. note 16(a)(ii) to subchapter III of chapter
                                                                                                     99 of the HTSUS is inserted in numerical order: ‘‘(ii) Heading 9903.80.02
                                                                                                     provides the ordinary customs duty treatment of iron or steel products
                                                                                                     of Turkey, pursuant to the article description of such heading. For any
                                                                                                     such products that are eligible for special tariff treatment under any of
                                                                                                     the free trade agreements or preference programs listed in general note
                                                                                                     3(c)(i) to the tariff schedule, the duty provided in this heading shall be
                                                                                                     collected in addition to any special rate of duty otherwise applicable under
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                                                                                                     the appropriate tariff subheading, except where prohibited by law. Goods
                                                                                                     for which entry is claimed under a provision of chapter 98 and which
                                                                                                     are subject to the additional duties prescribed herein shall be eligible for
                                                                                                     and subject to the terms of such provision and applicable U.S. Customs
                                                                                                     and Border Protection (‘‘CBP’’) regulations, except that duties under sub-
                                                                                                     heading 9802.00.60 shall be assessed based upon the full value of the im-
                                                                                                     ported article. No claim for entry or for any duty exemption or reduction


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                                                                                                     shall be allowed for the iron or steel products enumerated in subdivision
                                                                                                     (b) of this note under a provision of chapter 99 that may set forth a lower
                                                                                                     rate of duty or provide duty-free treatment, taking into account information
                                                                                                     supplied by CBP, but any additional duty prescribed in any provision of
                                                                                                     this subchapter or subchapter IV of chapter 99 shall be imposed in addition
                                                                                                     to the duty in heading 9903.80.02.’’.
                                                                                                       (5) Paragraphs (b), (c), and (d) of U.S. note 16 to subchapter III of chapter
                                                                                                     99 of the HTSUS are each amended by replacing ‘‘heading 9903.80.01’’
                                                                                                     with ‘‘headings 9903.80.01 and 9903.80.02’’.
                                                                                                       (6) The ‘‘Article description’’ for heading 9903.80.01 of the HTSUS is
                                                                                                     amended by replacing ‘‘of Brazil’’ with ‘‘of Brazil, of Turkey’’.
                                                                                                       (7) The modifications to the HTSUS made by clauses 2 through 6 of
                                                                                                     this proclamation and the Annex to this proclamation shall be effective
                                                                                                     with respect to goods entered for consumption, or withdrawn from warehouse
                                                                                                     for consumption, on or after 12:01 a.m. eastern daylight time on August
                                                                                                     13, 2018, and shall continue in effect, unless such actions are expressly
                                                                                                     reduced, modified, or terminated.
                                                                                                       (8) The Secretary, in consultation with U.S. Customs and Border Protection
                                                                                                     of the Department of Homeland Security and other relevant executive depart-
                                                                                                     ments and agencies, shall revise the HTSUS so that it conforms to the
                                                                                                     amendments directed by this proclamation. The Secretary shall publish any
                                                                                                     such modification to the HTSUS in the Federal Register.
                                                                                                       (9) Any provision of previous proclamations and Executive Orders that
                                                                                                     is inconsistent with the actions taken in this proclamation is superseded
                                                                                                     to the extent of such inconsistency.
                                                                                                     IN WITNESS WHEREOF, I have hereunto set my hand this tenth day of
                                                                                                     August, in the year of our Lord two thousand eighteen, and of the Independ-
                                                                                                     ence of the United States of America the two hundred and forty-third.




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                                                                                                                           ANNEX
                                                                          TO MODIFY CERTAIN PROVISIONS OF CHAPTER 99 OF
                                                                      THE HARMONIZED TARIFF SCHEDULE OF THE UNITED STATES

                                                         Effective with respect to goods entered for consumption, or withdrawn from warehouse for
                                                         consumption, on or after 12:01 a.m. eastern daylight time on August 13, 2018, subchapter III of
                                                         chapter 99 of the Harmonized Tariff Schedule of the United States is modified by inserting in
                                                         numerical sequence the following new tariff provision, with the material in the new tariff
                                                         provisions inserted in the columns labeled "Heading/Subheading", "Article Description", "Rates
                                                         of Duty 1-General", "Rates ofDuty 1-Special," and "Rates ofbuty 2", respectively:


                                                                                                                                                                             Rates of Duty

                                                              Heading/                                      Article description                                              1               2
                                                             Subheading
                                                                                                                                                                 General         Special

                                                            9903.80.02           Products of iron or steel that are the product ofTurkey and
                                                                                 provided for in the tariff headings or subheadings
                                                                                 enumerated in note 16(b} to this subchapter, except any
                                                                                 exclusions that may be determined and announced by the
                                                                                 Department of Commerce ......................................................   50%
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                                                 [FR Doc. 2018–17703

                                                 Filed 8–14–18; 8:45 a.m.]
                                                 Billing code 7020–02–C
                                                                                                                                                                                                     ED15AU18.013</GPH>




                                            VerDate Sep<11>2014   15:46 Aug 14, 2018   Jkt 244001   PO 00000   Frm 00004   Fmt 4705    Sfmt 4790   E:\FR\FM\15AUD0.SGM     15AUD0
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                         EXHIBIT 3
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                         EXHIBIT 4
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 THE EFFECT OF IMPORTS OF STEEL ON
      THE NATIONAL SECURITY


  AN INVESTIGATION CONDUCTED UNDER SECTION 232 OF THE
         TRADE EXPANSION ACT OF 1962, AS AMENDED




                   U.S. Department of Commerce
                  Bureau of Industry and Security
                  Office of Technology Evaluation




                      January 11, 2018
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 THE EFFECT OF IMPORTS OF STEEL ON THE NATIONAL SECURITY

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                           Prepared by Bureau of Industry and Security
                                     http://www.bis.doc.gov
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I.         EXECUTIVE SUMMARY
Overview

       This report summarizes the findings of an investigation conducted by the U.S.
Department of Commerce (the “Department”) pursuant to Section 232 of the Trade
Expansion Act of 1962, as amended (19 U.S.C. §1862 (“Section 232”)), into the
effect of imports of steel mill products (“steel”) on the national security of the United
States.

      In conducting this investigation, the Secretary of Commerce (the “Secretary”)
noted the Department’s prior investigations under Section 232. This report
incorporates the statutory analysis from the Department’s 2001 Report1 with respect
to applying the terms “national defense” and “national security” in a manner that is
consistent with the statute and legislative intent.2 As in the 2001 Report, the
Secretary in this investigation determined that “national security” for purposes of
Section 232 includes the “general security and welfare of certain industries, beyond
those necessary to satisfy national defense requirements, which are critical to
minimum operations of the economy and government.”3

       As required under Section 232, the Secretary examined the effect of imports
on national security requirements, including: domestic production needed for
projected national defense requirements; the capacity of domestic industries to meet
such requirements; existing and anticipated availabilities of the human resources,
products, raw materials, and other supplies and services essential to the national
defense; the requirements of growth of such industries and such supplies and
services including the investment, exploration, and development necessary to assure
such growth; and the importation of goods in terms of their quantities, availabilities,
character, and use as those affect such industries; and the capacity of the United
States to meet national security requirements.


1
     Department of ommerce, ureau of Export !dministration- The Effect of Imports of Iron Ore and Semi-Finished
     Steel on the National Security- Oct/ 2001 (͞2001 Report͟)/
2
     Id. at 5/
3
     Id.




                                                                                                               1
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      The Secretary also recognized the close relation of the economic welfare of
the United States to its national security; the impact of foreign competition on the
economic welfare of individual domestic industries; and any substantial
unemployment, decrease in revenues of government, loss of skills, or any other
serious effects resulting from the displacement of any domestic products by
excessive imports, without excluding other factors, in determining whether a
weakening of the U.S. economy by such imports may impair national security. In
particular, this report assesses whether steel is being imported “in such quantities”
and “under such circumstances” as to “threaten to impair the national security.”4

Findings

In conducting the investigation, the Secretary found:

      A. Steel is Important to U.S. National Security

          1.     National security includes projected national defense requirements for
                 the U.S. Department of Defense.

          2.     National security also encompasses U.S. critical infrastructure sectors
                 including transportation systems, the electric power grid, water systems,
                 and energy generation systems.

          3.     Domestic steel production is essential for national security applications.
                 Statutory provisions illustrate that Congress believes domestic
                 production capability is essential for defense requirements and critical
                 infrastructure needs, and ultimately to the national security of the United
                 States.5 U.S. Government actions on steel across earlier Administrations


4
     19 U/S// § 1862(b)(3)(!)/
5
     See, e/g/, 15 U/S// § 271(a)(1)(͞The future well-being of the United States economy depends on a strong
     manufacturing base0͟)- 50 U/S// § 4502(a)(͞ongress finds that – (1) the security of the United States is
     dependent on the ability of the domestic industrial base to supply materials and services0 (2)() to provide for
     the protection and restoration of domestic critical infrastructure operations under emergency conditions0͟- and
     !merican Recovery and Reinvestment !ct, P/L/ 111-5, §1605, 123 Stat/ 303 (Feb/ 17, 2009) (providing that none
     of the funds appropriated or made available by the act may be used for the construction, alteration, maintenance,
     or repair of a public building or public work unless the iron, steel, and manufactured goods are produced in the
     United States)/




                                                                                                                    2
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                 further demonstrate domestic steel production is vital to national
                 security.6

          4.     Domestic steel production depends on a healthy and competitive U.S.
                 industry. The principal types of mills that produce steel are integrated
                 mills with basic oxygen furnaces (BOFs); mini-mills using electric arc
                 furnaces (EAFs); re-roller/converter; and metal coater facilities. Basic
                 oxygen furnaces convert raw materials into steel, and remain critical for
                 continued innovation in steel technology. Covered in this report are five
                 categories of steel products that are used for national security
                 applications: flat, long, semi-finished, pipe and tube, and stainless.

          5.     The Department found that demand for steel in critical industries has
                 increased since the Department’s last investigation in 2001. The 2001
                 Report determined that there was 33.68 million tons of finished steel
                 consumed in critical industries per year in the United States based on
                 1997 data.7 The Department updated that analysis for this report using
                 2007 data (the latest available) and determined that domestic
                 consumption in critical industries has increased significantly, with 54
                 million metric tons of steel now being consumed annually in critical
                 industries.

      B. Imports in Such Quantities as are Presently Found Adversely Impact the
         Economic Welfare of the U.S. Steel Industry

           1. The United States is the world’s largest steel importer. In the first ten
              months of 2017 steel imports have increased at a double-digit rate over
              2016, accounting for more than 30 percent of U.S. consumption.
              Notwithstanding numerous anti-dumping and countervailing duty orders,
              which are limited in scope, imports of most types of steel continue to
              increase.


6
     See infra, section V(!)(3) and !ppendix J/
7
     2001 Report at 14/ The 2001 Report is not clear whether it used short tons or metric tons/ If short tons were
     used then the metric ton equivalent is 30/56 million metric tons/




                                                                                                                     3
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     2. Import penetration levels for flat, semi-finished, stainless, long, and pipe
        and tube products continue on an upward trend above 30 percent of
        domestic consumption.

     3. Imports are nearly four times U.S. exports.

     4. Imports are priced substantially lower than U.S. produced steel.

     5. Excessive steel imports have adversely impacted the steel industry.
        Numerous U.S. steel mill closures, a substantial decline in employment,
        lost domestic sales and market share, and marginal annual net income for
        U.S.-based steel companies illustrate the decline of the U.S. steel industry.

  C. Displacement of Domestic Steel by Excessive Quantities of Imports has the
     Serious Effect of Weakening our Internal Economy

     1. As steel imports have increased, U.S. steel production capacity has been
        stagnant and production has decreased.

     2. Since 2000, foreign competition and the displacement of domestic steel by
        excessive imports have resulted in the closure of six basic oxygen furnace
        facilities and the idling of four more (which is more than a 50 percent
        reduction in the number of such facilities), a 35 percent decrease in
        employment in the steel industry, and caused the domestic steel industry
        as a whole to operate on average with negative net income since 2009.

     3. The declining steel capacity utilization rate is not economically
        sustainable. Utilization rates of 80 percent or greater are necessary to
        sustain adequate profitability and continued capital investment, research
        and development, and workforce enhancement in the steel sector.

  D. Global Excess Steel Capacity is a Circumstance that Contributes to the
     Weakening of the Domestic Economy

     1. In the steel sector, free markets globally are adversely affected by
        substantial chronic global excess steel production led by China. The
        world’s nominal crude steelmaking capacity reached about 2.4 billion
        metric tons in 2016, an increase of 127 percent compared to the capacity




                                                                                   4
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               level in 2000, while steel demand grew at a much smaller rate. In 2016
               there was a 737 million metric ton global gap between steelmaking
               capacity and steel crude demand, which means there is unlikely to be any
               market-driven reduction in steel exports to the United States in the near
               future.8

          2. While U.S. steel production capacity has remained flat since 2001, other
             steel producing nations have increased their production capacity, with
             China alone able to produce as much steel as the rest of the world
             combined. This overhang of excess capacity means that U.S. steel
             producers, for the foreseeable future, will face increasing competition
             from imported steel as other countries export more steel to the United
             States to bolster their own economic objectives and offset loss of markets
             to Chinese steel exports.

Conclusion

        Based on these findings, the Secretary of Commerce concludes that the
present quantities and circumstance of steel imports are “weakening our internal
economy” and threaten to impair the national security as defined in Section 232. The
Secretary considered the Department’s narrower investigation of iron ore and semi-
finished steel imports in 2001, which recommended no action be taken, and finds
that several important factors – the broader scope of the investigation, the level of
global excess capacity, the level of imports, the reduction in basic oxygen furnace
facilities since 2001, and the potential impact of further plant closures on capacity
needed in a national emergency, support recommending action under Section 232.
In light of this conclusion, the Secretary has determined that the only effective means
of removing the threat of impairment is to reduce imports to a level that should, in
combination with good management, enable U.S. steel mills to operate at 80 percent
or more of their rated production capacity.




8
     Source. Global Forum report- http.//www/bmwi/de/Redaktion/EN/Downloads/global-forum-on-steel-excess-
     capacity-report/pdf




                                                                                                            5
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Recommendation

      Prior significant actions to address steel imports using quotas and/or tariffs
were taken under various statutory authorities by President George W. Bush,
President William J. Clinton (three times), President George H. W. Bush, President
Ronald W. Reagan (three times), President James E. Carter (twice), and President
Richard M. Nixon, all at lower levels of import penetration than the present level,
which is greater than 30 percent.

       Due to the threat, as defined in Section 232, to national security from steel
imports, the Secretary recommends that the President take immediate action by
adjusting the level of these imports through quotas or tariffs. The quotas or tariffs
imposed should be sufficient, even after any exceptions (if granted), to enable U.S.
steel producers to operate at an 80 percent or better average capacity utilization rate
based on available capacity in 2017 (see Figure 1).




                                                                                     6
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       Figure 1. Import Levels and U.S. Steel Mill Capacity Utilization Rates*
                                                                         2011-2016      2017
Steel Market Snapshot (millions of metric tons)
                                                                          Average     Annualized
Total Demand for Steel in U.S. (production + imports-exports)              105.5        107.3
U.S. Annual Capacity                                                       114.4        113.3
U.S. Annual Production (liquid)                                             84.6         81.9
Capacity Utilization Rate (percentage)                                      74.0         72.3
Imports and Exports (millions of metric tons)
Imports of Steel to U.S. (including semi-finished)                             31.8       36.0
Exports of Steel from the U.S.                                                 10.8       10.1
Percent Import Penetration                                                     30.1       33.8
Production at Various Utilization Rates (millions of metric tons)
Maximum Capacity                                                              114.4      113.3
Production at 75% Capacity Utilization                                         85.8       85.0
Production at 80% Capacity Utilization                                         91.5       90.6
Production at 85% Capacity Utilization                                         97.2       96.3
Import Levels and Domestic Production Targets Based on 80% Capacity Utilization
General Equilibrium (GTAP Model – Includes Reduction in Exports and Demand)
        Maximum Import Level (mmt)                                                  22.7
        Estimated Import Penetration                                                22%
        Estimated Production (mmt)                                                  90.6
        Alternative 1A: Quota Applied to 2017 Import Levels                         63%
        Alternative 1B: Tariff Rate Applied to All Imports                          24%
*Numbers may differ slightly due to rounding.
Sources: United States Department of Commerce, Bureau of the Census; American Iron and Steel
Institute. Calculations based on industry and trade data.



       The Secretary recommends that the President impose a quota or tariff on all
steel products covered in this investigation imported into the United States to remove
the threatened impairment to national security.

Alternative 1 – Global Quota or Tariff

       1A.     Global Quota

      Impose quotas on all imported steel products at a specified percent of the 2017
import level, applied on a country and steel product basis.




                                                                                                 7
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      According to the Global Trade Analysis Project (GTAP) Model9, produced by
Purdue University, a 63 percent quota would be expected to reduce steel imports by
about 37 percent (13.3 million metric tons) from 2017 levels. Based on imports from
January to October, import levels for 2017 are projected to reach 36.0 million metric
tons. This action would result in imports equaling about 22.7 million metric tons,
which will enable an 80 percent capacity utilization rate at 2017 demand levels
(including exports).

          1B.      Global Tariff

      Apply a tariff rate on all imported steel products, in addition to any
antidumping or countervailing duty collections applicable to any imported steel
product.

       According to the Global Trade Analysis Project (GTAP) Model, produced by
Purdue University, a 24 percent tariff on all steel imports would be expected to
reduce imports by 37 percent (i.e., a reduction of 13.3 million metric tons from 2017
levels of 36.0 million metric tons). This tariff rate would thus result in imports
equaling about 22.7 million metric tons, which will enable an 80 percent capacity
utilization rate at 2017 demand levels (including exports).

Alternative 2 – Tariffs on a Subset of Countries

      Apply a tariff rate on all imported steel products from Brazil, South Korea,
Russia, Turkey, India, Vietnam, China, Thailand, South Africa, Egypt, Malaysia and
Costa Rica, in addition to any antidumping or countervailing duty collections
applicable to any steel products from those countries. All other countries would be
limited to 100 percent of their 2017 import level.

      According to the Global Trade Analysis Project (GTAP) Model, produced by
Purdue University, a 53 percent tariff on all steel imports from this subset of
countries would be expected to reduce imports by 13.3 million metric tons from 2017

9
     The standard GT!P Model is a static multiregional, multisector, computable general equilibrium model, with
     perfect competition and constant returns to scale/ The model is based on optimizing behavior by economic
     agents/ The standard GT!P closure allows all prices and wages in the economy to adjust so as to ensure supply
     equals demand in all markets including the labor market/ The estimates in this report were made using the
     GT!P 10 model which has a 2014 base/




                                                                                                                     8
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import levels from the targeted countries. This action would enable an increase in
domestic production to achieve an 80 percent capacity utilization rate at 2017
demand levels (including exports). The countries identified are projected to account
for less than 4 percent of U.S. steel exports in 2017.

Exemptions

      In selecting an alternative, the President could determine that specific
countries should be exempted from the proposed 63 percent quota or 24 percent tariff
by granting those specific countries 100 percent of their prior imports in 2017, based
on an overriding economic or security interest of the United States. The Secretary
recommends that any such determination should be made at the outset and a
corresponding adjustment be made to the final quota or tariff imposed on the
remaining countries. This would ensure that overall imports of steel to the United
States remain at or below the level needed to enable the domestic steel industry to
operate as a whole at an 80 percent or greater capacity utilization rate. The limitation
to 100 percent of each exempted country’s 2017 imports is necessary to prevent
exempted countries from producing additional steel for export to the United States
or encouraging other countries to seek to trans-ship steel to the United States through
the exempted countries.

       It is possible to provide exemptions from either the quota or tariff and still
meet the necessary objective of increasing U.S. steel capacity utilization to a
financially viable target of 80 percent. However, to do so would require a reduction
in the quota or increase in the tariff applied to the remaining countries to offset the
effect of the exempted import tonnage.

Exclusions

      The Secretary recommends an appeal process by which affected U.S. parties
could seek an exclusion from the tariff or quota imposed. The Secretary would grant
exclusions based on a demonstrated: (1) lack of sufficient U.S. production capacity
of comparable products; or (2) specific national security based considerations. This
appeal process would include a public comment period on each exclusion request,




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and in general, would be completed within 90 days of a completed application being
filed with the Secretary.

       An exclusion may be granted for a period to be determined by the Secretary
and may be terminated if the conditions that gave rise to the exclusion change. The
U.S. Department of Commerce will lead the appeal process in coordination with the
Department of Defense and other agencies as appropriate. Should exclusions be
granted the Secretary would consider at the time whether the quota or tariff for the
remaining products needs to be adjusted to increase U.S. steel capacity utilization to
a financially viable target of 80 percent.




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II.     LEGAL FRAMEWORK
      I. Section 232 Requirements
       Section 232 provides the Secretary with the authority to conduct
investigations to determine the effect on the national security of the United States of
imports of any article. It authorizes the Secretary to conduct an investigation if
requested by the head of any department or agency, upon application of an interested
party, or upon his own motion. See 19 U.S.C. § 1862(b)(1)(A).

      Section 232 directs the Secretary to submit to the President a report with
recommendations for “action or inaction under this section” and requires the
Secretary to advise the President if any article “is being imported into the United
States in such quantities or under such circumstances as to threaten to impair the
national security.” See 19 U.S.C. § 1862(b)(3)(A).

      Section 232(d) directs the Secretary and the President to, in light of the
requirements of national security and without excluding other relevant factors, give
consideration to the domestic production needed for projected national defense
requirements and the capacity of the United States to meet national security
requirements. See 19 U.S.C. § 1862(d).

       Section 232(d) also directs the Secretary and the President to “recognize the
close relation of the economic welfare of the Nation to our national security, and
…take into consideration the impact of foreign competition on the economic welfare
of individual domestic industries” by examining whether any substantial
unemployment, decrease in revenues of government, loss of skills or investment, or
other serious effects resulting from the displacement of any domestic products by
excessive imports, or other factors, result in a “weakening of our internal economy”
that may impair the national security. See 19 U.S.C. § 1862(d).

      Once an investigation has been initiated, Section 232 mandates that the
Secretary provide notice to the Secretary of Defense that such an investigation has
been initiated. Section 232 also requires the Secretary to do the following:

        (1)   “Consult with the Secretary of Defense regarding the methodological
              and policy questions raised in [the] investigation;”



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         (2)      “Seek information and advice from, and consult with, appropriate
                  officers of the United States;” and

         (3)      “If it is appropriate and after reasonable notice, hold public hearings or
                  otherwise afford interested parties an opportunity to present
                  information and advice relevant to such investigation.”10 See 19 U.S.C.
                  § 1862(b)(2)(A)(i)-(iii).

       As detailed in Parts III and V of this report, each of the legal requirements set
forth above has been satisfied.

       In conducting the investigation, Section 232 permits the Secretary to request
that the Secretary of Defense provide an assessment of the defense requirements of
the article that is the subject of the investigation. See 19 U.S.C. § 1862(b)(2)(B).

      Upon completion of a Section 232 investigation, the Secretary is required to
submit a report to the President no later than 270 days after the date on which the
investigation was initiated. See 19 U.S.C. § 1862(b)(3)(A). The required report
must:

         (1)      Set forth “the findings of such investigation with respect to the effect
                  of the importation of such article in such quantities or under such
                  circumstances upon the national security;”

         (2)      Set forth, “based on such findings, the recommendations of the
                  Secretary for action or inaction under this section;” and

         (3)      “If the Secretary finds that such article is being imported into the United
                  States in such quantities or under such circumstances as to threaten to
                  impair the national security . . . so advise the President.” See 19 U.S.C.
                  § 1862(b)(3)(A).




10
     Department regulations (i) set forth additional authority and specific procedures for such input from interested
     parties, see 15 /F/R/ §§ 705/7 and 705/8, and (ii) provide that the Secretary may vary or dispense with those
     procedures ͞in emergency situations, or when in the judgment of the Department, national security interests
     require it/͟ Id/, § 705/9/




                                                                                                                  12
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      All unclassified and non-proprietary portions of the report submitted by the
Secretary to the President must be published.

       Within 90 days after receiving a report in which the Secretary finds that an
article is being imported into the United States in such quantities or under such
circumstances as to threaten to impair the national security, the President shall:

           (1)     “Determine whether the President concurs with the finding of the
                   Secretary;” and

           (2)     “If the President concurs, determine the nature and duration of the
                   action that, in the judgment of the President, must be taken to adjust the
                   imports of the article and its derivatives so that such imports will not
                   threaten to impair the national security.”           See 19 U.S.C. §
                   1862(c)(1)(A).

       II. Discussion
      While Section 232 does not contain a definition of “national security”, both
Section 232, and its implementing regulations at 15 C.F.R. Part 705, contain non-
exclusive lists of factors that Commerce must consider in evaluating the effect of
imports on the national security. Congress in Section 232 explicitly determined that
“national security” includes, but is not limited to, “national defense” requirements.
See 19 U.S.C. § 1862(d). The Department in 2001 determined that “national
defense” includes both defense of the United States directly and the “ability to
project military capabilities globally.”11

      The Department also concluded in 2001 that “in addition to the satisfaction of
national defense requirements, the term “national security” can be interpreted more
broadly to include the general security and welfare of certain industries, beyond
those necessary to satisfy national defense requirements that are critical to the
minimum operations of the economy and government.” The Department called
these “critical industries.”12 This report once again uses these reasonable

11
     Department of ommerce, ureau of Export !dministration- The Effect of Imports of Iron Ore and Semi-Finished
     Steel on the National Security- Oct/ 2001 (͞2001 Report͟)/
12
     Id.




                                                                                                              13
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interpretations of “national defense” and “national security.” However, this report
uses the more recent 16 critical infrastructure sectors identified in Presidential Policy
Directive 2113 instead of the 28 critical industry sectors used by the Bureau of Export
Administration in the 2001 Report.14

       Section 232 directs the Secretary to determine whether imports of any article
are being made “in such quantities or under such circumstances” that those imports
“threaten to impair the national security.” See 19 U.S.C. § 1862(b)(3)(A). The
statutory construction makes clear that either the quantities or the circumstances,
standing alone, may be sufficient to support an affirmative finding. They may also
be considered together, particularly where the circumstances act to prolong or
magnify the impact of the quantities being imported.

      The statute does not define a threshold for when “such quantities” of imports
are sufficient to threaten to impair the national security, nor does it define the
“circumstances” that might qualify.

      Likewise, the statute does not require a finding that the quantities or
circumstances are impairing the national security. Instead, the threshold question
under Section 232 is whether those quantities or circumstances “threaten to impair
the national security.” See 19 U.S.C. § 1862(b)(3)(A). This formulation strongly
suggests that Congress expected an affirmative finding under Section 232 would
occur before there is actual impairment of the national security.15

      Section 232(d) contains a considerable list of factors for the Secretary to
consider in determining if imports “threaten to impair the national security” 16 of the
United States, and this list is mirrored in the implementing regulations. See 19


13
     Presidential Policy Directive 21- ritical Infrastructure Security and Resilience- February 12, 2013 (͞PPD-21͟)/
14
     See Op/ it/ at 16/
15
     The 2001 Report used the phrase ͞fundamentally threaten to impair͟ when discussing how imports may
     threaten to impair national security/ See 2001 Report at 7 and 37/ ecause the term ͞fundamentally͟ is not
     included in the statutory text and could be perceived as establishing a higher threshold, the Secretary expressly
     does not use the qualifier in this report/ The statutory threshold in Section 232(b)(3)(!) is unambiguously
     ͞threaten to impair͟ and the Secretary adopts that threshold without qualification/ 19 U/S// § 1862(b)(3)(!)/
     The statute also uses the formulation ͞may impair͟ in Section 232(d)/ Id. at 1862(d)/
16
     19 U/S// § 1862(b)(3)(!)/




                                                                                                                        14
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U.S.C. § 1862(d) and 15 C.F.R. § 705.4. Congress was careful to note twice in
Section 232(d) that the list they provided, while mandatory, is not exclusive. 17
Congress’ illustrative list is focused on the ability of the United States to maintain
the domestic capacity to provide the articles in question as needed to maintain the
national security of the United States.18 Congress broke the list of factors into two
equal parts using two separate sentences. The first sentence focuses directly on
“national defense” requirements, thus making clear that “national defense” is a
subset of the broader term “national security.” The second sentence focuses on the
broader economy, and expressly directs that the Secretary and the President “shall
recognize the close relation of the economic welfare of the Nation to our national
security.”19 See 19 U.S.C. § 1862(d).

       Two of the factors listed in the second sentence of Section 232(d) are most
relevant in this investigation. Both are directed at how “such quantities” of imports
threaten to impair national security. See 19 U.S.C. § 1862(b)(3)(A). In
administering Section 232, the Secretary and the President are required to “take into
consideration the impact of foreign competition on the economic welfare of
individual domestic industries” and any “serious effects resulting from the
displacement of any domestic products by excessive imports” in “determining
whether such weakening of our internal economy may impair the national security.”


17
     See 19 U/S// § 1862(d) (͞the Secretary and the President shall, in light of the requirements of national security
     and without excluding other relevant factors0͟ and ͞serious effects resulting from the displacement of any
     domestic products by excessive imports shall be considered, without excluding other factors0 ͞)/
18
     This reading is supported by ongressional findings in other statutes/ See, e.g., 15 U/S// § 271(a)(1)(͞The
     future well-being of the United States economy depends on a strong manufacturing base0͟) and 50 U/S// §
     4502(a)(͞ongress finds that – (1) the security of the United States is dependent on the ability of the domestic
     industrial base to supply materials and services0 (2)() to provide for the protection and restoration of
     domestic critical infrastructure operations under emergency conditions0 (3)0 the national defense
     preparedness effort of the United States Government requires – () the development of domestic productive
     capacity to meet – (ii) unique technological requirements0 (7) much of the industrial capacity that is relied
     upon by the United States Government for military production and other national defense purposes is deeply
     and directly influenced by – (!) the overall competitiveness of the industrial economy of the United States- and
     () the ability of industries in the United States, in general, to produce internationally competitive products and
     operate profitably while maintaining adequate research and development to preserve competitiveness with
     respect to military and civilian production- and (8) the inability of industries in the United States, especially
     smaller subcontractors and suppliers, to provide vital parts and components and other materials would impair
     the ability to sustain the !rmed Forces of the United States in combat for longer than a short period/͟)/
19
     !ccord 50 U/S// § 4502(a)/




                                                                                                                     15
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See 19 U.S.C. § 1862(d). Since the 2001 investigation, foreign competition and the
displacement of domestic steel by excessive imports have resulted in the closure of
six basic oxygen furnace facilities and the idling of four more (which is more than a
50 percent reduction in the number of such facilities), a 35 percent decrease in
employment in the steel industry, and caused the domestic steel industry as a whole
to operate on average with negative net income since 2009.

       Another factor, not on the list, that the Secretary finds to be a relevant is the
presence of massive excess capacity for producing steel. This excess capacity results
in steel imports occurring “under such circumstances” that they threaten to impair
the national security. See 19 U.S.C. § 1862(b)(3)(A). The circumstance of excess
global steel production capacity is a factor because, while U.S. production capacity
has remained flat since 2001, other steel producing nations have increased their
production capacity, with China alone able to produce as much as the rest of the
world combined. This overhang of global excess capacity means that U.S. steel
producers, for the foreseeable future, will continue to lose market share to imported
steel as other countries export more steel to the United States to bolster their own
economic objectives and offset loss of markets to Chinese steel exports.

       It is these three factors – displacement of domestic steel by excessive imports
and the consequent adverse impact on the economic welfare of the domestic steel
industry, along with global excess capacity in steel – that the Secretary has concluded
create a persistent threat of further plant closures that could leave the United States
unable in a national emergency to produce sufficient steel to meet national defense
and critical industry needs. The Secretary finds this “weakening of our internal
economy may impair the national security” as defined in Section 232. See 19 U.S.C.
1862(d).

       The Secretary also considered whether the source of the imports affects the
analysis under Section 232. In the 2001 Report, “the Department found that iron ore
and semi-finished steel are imported from reliable foreign sources” and concluded
that “even if the United States were dependent on imports of iron ore and semi-
finished steel, imports would not threaten to impair national security.” 2001 Report
at 27. However, because Congress in Section 232 chose to explicitly direct the
Secretary to consider whether the “impact of foreign competition” and
“the



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displacement of any domestic products by excessive imports” are “weakening our
internal economy” but made no reference to an assessment of the sources of imports,
it appears likely that Congress recognized adverse impacts might be caused by
imports from allies or other reliable sources.20 As a result, the fact that some or all
of the imports causing the harm are from reliable sources does not compel a finding
that those imports do not threaten to impair national security. 21

       After careful examination of the facts in this investigation, the Secretary has
concluded that excessive imports of steel in the present circumstances do threaten to
impair national security under Section 232. Several important factors – the broader
scope of the investigation,22 the level of global excess capacity, the level of imports,
the reduction in basic oxygen furnace facilities since 2001, and the potential impact
of further plant closures on capacity needed in a national emergency – support a
recommendation different from the one adopted in the 2001 Report.




20
     When ongress adopted Section 232(d) in 1962 the immediately preceding section was Section 231, 19 U/S// §
     1861, which required the President, as soon as practicable, to suspend most-favored-nation tariff treatment for
     imports from communist countries/ Given the bipolar nature of the world at the time, the absence of a
     distinction between communist and non-communist countries in Section 232 suggests that ongress expected
     Section 232 would be applied to imports from all countries—including allies and other ͞reliable͟ sources/
21
     To the extent that the 2001 Report or other prior Department reports under Section 232 can be read to
     conclude that imports from reliable sources cannot impair the national security when the Secretary finds those
     imports are causing ͞substantial unemployment, decrease in revenues of government, loss of skills or
     investment, or other serious effects resulting from the displacement of any domestic products by excessive
     imports͟, the Secretary expressly rejects such a reading/
22
     This investigation examines the import of a broad range of steel products – flat, long, pipe and tube, semi-
     finished, and stainless – whereas the 2001 Report addressed only semi-finished steel products and iron ore,
     which is not part of this investigation/ !s the 2001 Report noted, at the time semi-finished imports accounted
     for ͞a small percentage (approximately 7 percent) of total U/S/ semi-finished steel consumption/͟ 2001 Report
     at 31/ The 2001 Report also stated that ͞whether imports have harmed or threaten to harm U/S/ producers writ
     large is beyond the scope of the Department͛s inquiry, and need not be resolved here/͟ Id. at 37/ This
     investigation is focused on the larger inquiry that the 2001 Report expressly did not reach/




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 III. INVESTIGATION PROCESS
     A.     Initiation of Investigation

      On April 19, 2017, U.S. Secretary of Commerce Wilbur Ross initiated an
investigation to determine the effect of imported steel on national security under
Section 232 of the Trade Expansion Act of 1962, as amended (19 U.S.C. § 1862).

      Pursuant to Section 232(b)(1)(B), the Department notified the U.S.
Department of Defense with an April 19, 2017 letter from Secretary Ross to
Secretary James Mattis.23

      On April 20, 2017, President Donald Trump signed a Presidential
Memorandum directing Secretary Ross to proceed expeditiously in conducting his
investigation and submit a report on his findings to the President.24

      On April 21, 2017, the Department published in the Federal Register a notice
about the initiation of this investigation to determine the effect of imports of steel on
the national security. The notice also announced the opening of the public comment
period as well as a public hearing to be held on May 24, 2017.25

     B.     Public Hearing
       The Department held a public hearing to elicit further information concerning
this investigation in Washington, DC, on May 24, 2017. The Department heard
testimony from 37 witnesses at the hearing. A full list of witnesses and copies of
their testimony are included in Appendices E and F.

     C.     Public Comments
    On April 21, 2017, the Department invited interested parties to submit written
comments, opinions, data, information, or advice relevant to the criteria listed in

23
     19 U/S// § 1862(b)(1)()/ See !ppendix !. Section 232 Investigation Notification Letter to Secretary of Defense
     James Mattis (!pril 19, 2017) - Department of Defense Response to Notification (May 8, 2017)
24
     See !ppendix . Presidential Memorandum for the Secretary of ommerce - Steel Imports and Threats to National
     Security (!pril 20, 2017)
25
     See !ppendices  and D for Federal Register Notice Federal Register, Vol/ 82, No/ 79, 19205-19207 and See Federal
     Register, Vol/ 82, No/ 98, 23529-23530/




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Section 705.4 of the National Security Industrial Base Regulations (15 C.F.R. §
705.4) as they affect the requirements of national security, including the following:
(a) Quantity of the articles subject to the investigation and other circumstances
related to the importation of such articles; (b) Domestic production capacity needed
for these articles to meet projected national defense requirements; (c) The capacity
of domestic industries to meet projected national defense requirements; (d) Existing
and anticipated availability of human resources, products, raw materials, production
equipment, facilities, and other supplies and services essential to the national
defense; (e) Growth requirements of domestic industries needed to meet national
defense requirements and the supplies and services including the investment,
exploration and development necessary to assure such growth; (f) The impact of
foreign competition on the economic welfare of any domestic industry essential to
our national security; (g) The displacement of any domestic products causing
substantial unemployment, decrease in the revenues of government, loss of
investment or specialized skills and productive capacity, or other serious effects; (h)
Relevant factors that are causing or will cause a weakening of our national economy;
and (i) Any other relevant factors. See Federal Register, Vol. 82, No. 79, 19205-
19207.

      The public comment period ended on May 31, 2017. The Department
received 201 written public comment submissions concerning this investigation. All
public comments were carefully reviewed and factored into the investigation
process. For a listing of all public comments, see Appendix G.

     D. Interagency Consultation
      In addition to the required notification provided by the April 19, 2017 letter
from Secretary Ross to Secretary Mattis, Department staff carried out the
consultations required under Section 232(b)(2).26 Staff consulted with their
counterparts in the Department of Defense regarding any methodological and policy
questions that arose during the investigation. Discussions were held with the U.S.
Army Materiel Command, the Defense Logistics Agency, the U.S. Navy/Naval Air


26
     19 U/S// § 1862(b)(2)




                                                                                    19
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Systems Command, and the Under Secretary of Defense for Acquisitions &
Logistics, Manufacturing and Industrial Base Policy.

       Discussions were also held with “appropriate officers of the United States,”
including the Department of State, Department of the Treasury, Department of the
Interior/U.S. Geological Survey, the Department of Homeland Security/U.S.
Customs and Border Protection, the International Trade Commission, and the Office
of the United States Trade Representative.27




27
     Id.




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IV. PRODUCT SCOPE OF THE INVESTIGATION28, 29
       For this report, the product scope covers steel mill products (“steel”) which
are defined at the Harmonized System (“HS”) 6-digit level as: 720610 through
721650, 721699 through 730110, 730210, 730240 through 730290, and 730410
through 730690, including any subsequent revisions to these HS codes. The
following discontinued HS codes have been included for purposes of reporting
historical data (prior to 2007): 722520, 722693, 722694, 722910, 730410, 730421,
730610, 730620, and 730660.

      These steel products are all produced by U.S. steel companies and support
various applications across the defense, critical infrastructure, and commercial
sectors. Generally, these products fall into one of the following five product
categories (including but not limited to):

   (1) Carbon and Alloy Flat Product (Flat Products): Produced by rolling semi-
      finished steel through varying sets of rolls. Includes sheets, strips, and plates.

      Flat products are covered under the following 6-digit HS codes: 720810,
      720825, 720826, 720827, 720836, 720837, 720838, 720839, 720840,
      720851, 720852, 720853, 720854, 720890, 720915, 720916, 720917,
      720918, 720925, 720926, 720927, 720928, 720990, 721011, 721012,
      721020, 721030, 721041, 721049, 721050, 721061, 721069, 721070,
      721090, 721113, 721114, 721119, 721123, 721129, 721190, 721210,
      721220, 721230, 721240, 721250, 721260, 722511, 722519, 722530,
      722540, 722550, 722591, 722592, 722599, 722611, 722619, 722691,
      722692, 722693, 722694, 722699

   (2) Carbon and Alloy Long Products (Long Products): Steel products that fall
      outside the flat products category. Includes bars, rails, rods, and beams.

      Long products are covered under the following 6-digit HS codes: 721310,
      721320, 721391, 721399, 721410, 721420, 721430, 721491, 721499,

      28
           The scope includes steel products/
      29
          Note that import data for steel products includes what are believed to be very small amounts of iron as
      well as steel, both of which are included in the HS codes covered in the scope/




                                                                                                              21
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     721510, 721550,721590, 721610, 721621, 721622, 721631, 721632,
     721633, 721640, 721650, 721699, 721710, 721720, 721730, 721790,
     722520, 722620,722710, 722720, 722790, 722810, 722820, 722830,
     722840, 722850, 722860, 722870, 722880, 722910,722920, 722990,
     730110, 730210, 730240, 730290

  (3) Carbon and Alloy Pipe and Tube Products (Pipe and Tube Products): Either
     seamless or welded pipe and tube products. Some of these products may
     include stainless as well as alloy other than stainless.

     Pipe and Tube products are covered under the following 6-digit HS codes:
     730410, 730419, 730421, 730423, 730429, 730431, 730439, 730451,
     730459, 730490, 730511, 730512, 730519, 730520, 730531, 730539,
     730590, 730610, 730619, 730620, 730629, 730630, 730650, 730660,
     730661, 730669, 730690

  (4) Carbon and Alloy Semi-finished Products (Semi-finished Products): The
     initial, intermediate solid forms of molten steel, to be re-heated and further
     forged, rolled, shaped, or otherwise worked into finished steel products.
     Includes blooms, billets, slabs, ingots, and steel for castings.

     Semi-finished products are covered under the following 6-digit HS codes:
     720610, 720690, 720711, 720712, 720719, 720720, 722410, 722490

  (5) Stainless Products: Steel products, in flat-rolled, long, pipe and tube, and
     semi-finished forms, containing at minimum 10.5 percent chromium and, by
     weight, 1.2 percent or less of carbon, offering better corrosion resistance than
     other steel.

     Stainless steel products are covered under the following 6-digit HS codes:
     721810, 721891, 721899, 721911, 721912, 721913, 721914, 721921,
     721922, 721923, 721924, 721931, 721932, 721933, 721934, 721935,
     721990, 722011, 722012, 722020, 722090, 722100, 722211, 722219,
     722220, 722230, 722240, 722300, 730411, 730422, 730424, 730441,
     730449, 730611, 730621, 730640




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V. FINDINGS
      A. Steel is Important to U.S. National Security
       As discussed in Part II, “national security” under Section 232 includes both
(1) national defense, and (2) critical infrastructure needs.

           1.       Steel is Needed for National Defense Requirements

       Steel articles are critical to the nation’s overall defense objectives.30 The U.S.
Department of Defense (DoD) has a large and ongoing need for a range of steel
products that are used in fabricating weapons and related systems for the nation’s
defense.31 DoD requirements – which currently require about three percent of U.S.
steel production – are met by steel companies that also support the requirements for
critical infrastructure and commercial industries.

      The free market system in the United States requires commercially viable steel
producers to meet defense needs. No company could afford to construct and operate
a modern steel mill solely to supply defense needs because those needs are too
diverse. In order to supply those diverse national defense needs, U.S. steel mills
must attract sufficient commercial (i.e., non-defense) business. The commercial
revenue supports construction, operation, and maintenance of production capacity
as well as the upgrades, research and development required to continue to supply
defense needs in the future. See Appendix H for examples.

           2.       Steel is Required for U.S. Critical Infrastructure

      Steel also is needed to satisfy requirements for “those industries that the U.S.
Government has determined are critical to minimum operations of the economy and
government.”32 In the 2001 Report the Department identified 28 “critical
industries.”33 The Critical Infrastructure Assurance Office that identified the
30
     !ccord, 2001 Report at 1, 12/
31
     !ISI 2017 public policy agenda, available from http.//www/steel/org/~/media/Files/!ISI/Reports/!ISI-2017-
     Public-Policy-!genda/pdf?la=en
32
     2001 Report at 14/ See also, 2001 Report at 16, Table 2, for a listing of the 28 critical industries.
33
     Id.




                                                                                                             23
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“critical industries” is no longer in existence, so for this investigation the Department
instead relied on the industries identified by the U.S. Government in the 2013
Presidential Policy Directive 21 (PPD-21).34 The Secretary believes that the range
of industries identified in PPD-21 is comparable to the range of critical industries
analyzed in the 2001 Report.

      Pursuant to PPD-21, there are 16 designated critical infrastructure sectors in
the United States, many of which use high volumes of steel (see Appendix I).35 The
16 sectors include chemical production, communications, dams, energy, food
production, nuclear reactors, transportation systems, water, and waste water systems.

      Increased quantities of steel will be needed for various critical infrastructure
applications in the coming years. The American Society of Civil Engineers
estimates that the United States needs to invest $4.5 trillion in infrastructure by 2025,
and a substantial portion of these projects require steel content.36

          3.       Domestic Steel Production is Essential for National Security
                   Applications

      Domestic steel production is essential for national security. Congress, in
Section 232(d), directed the Secretary of Commerce and the President to consider
domestic production and the economic welfare of the United States in determining
whether imports threaten to impair national security.

      In the case of steel, the history of U.S. Government actions to ensure the
continued viability of the U.S. steel industry demonstrates that, across decades and
Administrations, there has been consensus that domestic steel production is vital to
national security.



34
     PPD-21 can be viewed at https.//obamawhitehouse/archives/gov/the-press-office/2013/02/12/presidential-
     policy-directive-critical-infrastructure-security-and-resil
35
     Department of Homeland Security, ͞ritical Infrastructure Sectors,͟ https.//www/dhs/gov/critical-infrastructure-
     sectors#
36
     2017 Infrastructure Report ard, !merican Society of ivil Engineers,
     https.//www/infrastructurereportcard/org/wp-content/uploads/2016/10/2017-Infrastructure-Report-ard/pdf




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      Prior significant actions under various statutory authorities to address steel
imports using quotas or tariffs were taken by President George W. Bush, President
William J. Clinton (three times), President George H. W. Bush, President Ronald W.
Reagan (three times), President James E. Carter (twice), and President Richard M.
Nixon, all at lower levels of import penetration than at present. In the 1970s, action
was taken to limit import penetration to approximately 19 percent. In the 1980s,
import penetration had reached 21 percent and the U.S. Government enacted
correcting measures. In the 1990s and 2000s import penetration again reached up to
23 percent, which prompted the U.S. Government to take additional actions.37 In
2016, import penetration averaged 30 percent and for the first nine months of 2017
imports have consistently averaged over 30 percent of U.S. domestic demand.

          4.       Domestic Steel Production Depends on a Healthy and Competitive
                   U.S. Industry

       U.S. steel producers would be unable to survive purely on defense or critical
infrastructure steel needs. In the steel industry, it is commercial and industrial
customer sales that generate the relatively steady production needed for
manufacturing efficiency, and the revenue volume needed to sustain the business.
Sales for critical infrastructure and defense applications are often less predictable,
cyclical, and limited in volume.

      Steel manufacturers operating in the United States, however, have seen their
commercial and industrial business steadily eroded by a growing influx of lower-
priced imported product from countries where steel manufacturing often is
subsidized, directly or indirectly. The Department of Commerce currently has 164
antidumping and countervailing duty determinations in effect, and has 20 additional
cases under investigation, to address specific cases. See Appendix K.

          5.       Steel Consumed in Critical Industries

       In this investigation, the issue before the Department is whether steel imports
“threaten to impair” national security. See 19 U.S.C. § 1862. As discussed in Part
II, the Secretary has determined that in the present case the relevant factors are the
37
     See !ppendix J for additional detail on U/S/ Government actions on steel in the past/




                                                                                                    25
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“serious effects resulting from the displacement of … domestic [steel] products by
excessive imports” and the “impact of foreign competition on the economic welfare
of individual domestic [steel] industries” that, when combined with the circumstance
of massive global excess capacity, causes a “weakening of our internal economy”
that “may impair the national security.”38

      In a free market system, the ability of the domestic steel industry to continue
meeting national security needs depends on the continued capability of the U.S. steel
industry to compete fairly in the commercial marketplace and maintain a financially
viable domestic manufacturing capability. This includes the need to have an
adequately skilled workforce for manufacturing as well as to conduct research and
development for future products.39 A continued loss of viable commercial
production capabilities and related skilled workforce will jeopardize the U.S. steel
industry’s ability to meet the full spectrum of national security requirements.

       The Department in 2001 determined that the “critical industries” sector, which
is analogous to the more robust critical infrastructure sectors identified pursuant to
PPD-21, would require “no more than 33.68 million tons of finished steel per year,”40
based on 30.88 percent of domestic consumption being used in industries related to
critical infrastructure. The Department has now updated the “critical industries”
calculation from the 2001 Report41 using Census Bureau steel usage figures from
2007, which are the latest available. See Appendix I for more detailed information
on steel needs for critical infrastructure.



38
     19 U/S// § 1862(d)/
39
     See 50 U/S// § 4502(a)(͞ongress finds that – 0 (7) much of the industrial capacity that is relied upon by the
     United States Government for military production and other national defense purposes is deeply and directly
     influenced by – (!) the overall competitiveness of the industrial economy of the United States- and the ability of
     industries in the United States, in general, to produce internationally competitive products and operate
     profitably while maintaining adequate research and development to preserve competitiveness with respect to
     military and civilian production0͟)/
40
     2001 Report at 14/ The report is not clear whether it is referring to short tons or metric tons/ While not crucial
     to the analysis, if the figure is in short tons then the equivalent amount in metric tons would be 30/56 million
     metric tons/
41
     2001 Report at 16 (Table 2)/




                                                                                                            26
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       The updated analysis in Appendix I shows that 49.1 percent of domestic steel
consumption in 2007 was used in critical industries. Domestic production in 2007
was 110 million metric tons. The 49.1 percent of domestic consumption used in
critical industries equals 54 million metric tons, compared to 30.56 million metric
tons (or 33.68 million short tons) used in critical industries in 1997. Thus in 10 years
the demand for steel in critical industries increased by 63 percent.

   B. Imports in Such Quantities as are Presently Found Adversely Impact the
      Economic Welfare of the U.S. Steel Industry

       In the steel sector, foreign competition is characterized by substantial and
sustained global overcapacity and production in excess of foreign domestic demand.

        1.   Imports of Steel Products Continue to Increase

      The United States is the world’s largest steel importer. The top 20 sources of
U.S. imports of steel products accounted for approximately 91 percent of the roughly
36 million metric tons of steel the United States is expected to import in 2017 (see
Figure 2).

      Total U.S. imports rose from 25.9 million metric tons in 2011, peaking at 40.2
million metric tons in 2014 at the height of the shale hydrocarbon drilling boom. For
2017 (first ten months) imports are increasing at a double-digit rate over 2016,
pushing finished steel imports consistently over 30 percent of U.S. consumption.




                                                                                27
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                      Figure 2. Top U.S. Imports of All Steel Products

        Imports for Domestic Consumption, Quantity In Metric Tons, Ranked By 2017


       2017                                                          2017             % Change 2011 -
                            Country                 2011
       Rank                                                       (Annualized)       2017 (Annualized)


                            World               25,994,621         35,927,141                38%
         1                 Canada                5,539,448          5,800,008                5%
         2                   Brazil              2,820,927          4,678,530                66%
         3               South Korea             2,572,981          3,653,934                42%
         4                  Mexico               2,625,104          3,249,292                24%
         5                  Russia               1,269,717          3,123,691               146%
         6                  Turkey                665,303           2,249,456               238%
         7                   Japan               1,824,393          1,781,147                -2%
         8                Germany                 978,230           1,370,669                40%
         9                  Taiwan                588,036           1,251,767               113%
        10                   India                735,802            854,026                 16%
        11                   China               1,132,292           784,393                -31%
        12                 Vietnam                120,134            727,643                506%
        13               Netherlands              517,773            589,930                 14%
        14                    Italy               276,809            515,459                 86%
        15                 Thailand               72,183             417,389                478%
        16                   Spain                195,907            403,091                106%
        17             United Kingdom             400,244            354,389                -11%
        18               South Africa             123,001            350,425                185%
        19                 Sweden                 267,685            299,170                 12%
        20           United Arab Emirates         63,316             290,221                358%
                      Top 20 Total              22,789,285         32,744,630               44%
   Source: United States Department of Commerce, Bureau of the Census, Foreign Trade Division, IHS Global
   Trade Atlas Database: Revised Statistics for 2011 - 2017. 2017 data is annualized based on YTD 2017
   through October.


       As shown in Appendix K, antidumping and countervailing duty actions can
address specific instances of unfairly traded steel products. However, given the large
number of countries from which the United States imports steel and the myriad of
different products involved, it could take years to identify and investigate every
instance of unfairly traded steel, or attempts to transship or evade remedial duties.




                                                                                                    28
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      Moreover, U.S. industry has already spent hundreds of millions of dollars in
recent years on AD/CVD cases, with seemingly no end in sight to their outlays.
Smaller steel manufacturers are financially unable to afford these type of cases, or
are hesitant to file cases in light of possible market entry retaliation in foreign
markets for finished steel products.42

                     2.      High Import Penetration

        In contrast to the situation in the 2001 Report, where imports of semi-finished
steel represented approximately 7 percent of domestic consumption,43 imports of
finished steel products (i.e. not including semi-finished steel) currently represent
over 25 percent of U.S. consumption (see Figure 3).44 If imports of semi-finished
products are included, the import penetration level has been above 30 percent for the
first ten months of 2017. Import penetration of steel pipe and tube was 74 percent
in 2016 and further increased in 2017.

                            Figure 3. U.S. Import Penetration of Finished Steel Products
                    35%                       (Excludes Semi-Finished)
                    30%

                    25%
     Percentage




                    20%

                    15%

                    10%

                     5%

                     0%
                                                                                                                                               YTD YTD
                            1998 1999 2000 2001 2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012 2013 2014 2015 2016
                                                                                                                                               2016 2017
                  Imp. Pen. 26.4 21.6 22.3 20.4 20.4 15.9 21.6 20.9 26.7 21.9 23.9 21.7 20.9 21.8 23.9 23.1 28.1 28.9 25.5                     25.4 27.5

             Source: American Iron and Steel Institute. YTD data source is through October 2016 and October 2017. Excludes semi-finished imports.




42
       ongress has specifically expressed concern about the need to maintain small suppliers and the potential
       adverse impact on military readiness caused by the loss of small suppliers/ See 50 U/S// § 4502(a)(8)/
43
       2001 Report at 31/

44
       !ISI͛s statistical yearbook reports that about 8 percent of U/S/ shipments are made of imported substrate/




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                                  3.        High Import to Export Ratio

      U.S. imports of steel products, which displace demand for domestic steel and
lower production at U.S. plants, reached nearly four times the level of exports of
U.S. steel products in 2016 (see Figure 4). The expansion of steel production
capacity outside of the United States in the last decade (Asia, the Middle East, and
South America), much of it subsidized by national governments, continues to
depress world steel prices while making it increasingly difficult for U.S. companies
to export their steel products. While U.S. steel producers saw a mild increase in steel
exports from 2005 to 2013, more recently sales to foreign customers have been
declining. Exports fell to nine million metric tons in 2016 from a 20-year high of 12
million metric tons annually from 2011 to 2013. Most U.S. steel exports are auto
industry related and are sent to Canada (50 percent by weight in 2016) and Mexico
(39 percent by weight in 2016). Flat products represent the majority of these exports
– 57 percent of U.S. steel exports for Canada and 64 percent of steel exports for
Mexico.

                                          Figure 4. U.S. Imports and Exports of Steel Mill Products
                                 45
                                 40
Millions of Metric Tons




                                 35
                                 30
                                 25
                                 20
                                 15
                                 10
                                   5
                                   0
                                                                                                                                                       YTD YTD
                                          1998 1999 2000 2001 2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012 2013 2014 2015 2016
                                                                                                                                                       2016 2017
                                Imports 38.1 32.7 34.8 27.7 29.9 21.1 32.6 29.3 41.3 30.3 29.2 14.7 21.8             26   30.5 29.3 40.3 35.4    30     25   29.9
                                Exports   5.4   5.1   6.3   5.8   5.8   7.8   7.5   9.1   9.2   10.5 12.9   9   11.5 12.8 13.1 12.1 11.5   9.6   8.9   7.2   8.1


                          Sources: IHS Markit Global Trade Atlas
                          YTD through October 2016 & 2017.


       The same is true in the line pipe sector. The United States exports a minimal
amount of line pipe. Exports of line pipe reached a recent peak of 525 thousand
metric tons in 2013 before declining significantly. Exports totaled just 60 thousand
metric tons in 2016, a decrease of 89 percent from 2013, and were less than one-



                                                                                                                                                         30
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twentieth of the size of line pipe imports. Canada represents the largest destination
for U.S. line pipe exports, with 39 percent of 2016 exports going to Canada, followed
by Mexico with 13 percent.

               4.        Steel Prices

       Hot-rolled coil prices are a benchmark price indicator for a common type of
steel (see Figure 5). Hot rolled coil is considered a “benchmark” because it is a
commodity product with a fairly common definition globally.

            Figure 5. Hot Rolled- USA Domestic Hot Rolled Coil (FOB Midwest Mill) $/mt
               $1,200

               $1,000

                $800
US Dollar




                $600

                $400

                $200

                    $0
                         2006   2007    2008    2009   2010    2011   2012    2013    2014   2015    2016    2017
               US HRC 674.27 597.22 962.51 538.89 680.56 822.62 701.84 696.20 727.78 505.65 575.68 684.11

             Source: Platts (accessed from Bloomberg Financial) 2017 reflects the price through December (as of
             December 21, 2017.



       U.S. prices for hot-rolled steel coil have been higher than in other countries
since 2010. U.S. domestic benchmark prices for this product class dipped
especially low in 2015 at $505.65/metric ton before recovering in 2016 to
$575.68/metric ton. In 2016, the price of freight-on-board stowed China port steel
hot-rolled coil was 14 percent lower than U.S. domestic hot-rolled coil. In the case
of ASEAN nations, import prices for hot-rolled coil were 33 percent lower and
North Europe domestic hot-rolled coil was 21 percent lower. Each region saw a
price decline in 2015 (see Figure 6). U.S. prices remained higher than other
regions’ prices for this commodity level product throughout the period. Such
higher prices are attributable to higher taxes, healthcare, environmental standards,



                                                                                                              31
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and other regulatory expenses. Moreover, lower prices in steel producing regions
backed by state-subsidized enterprises adds pressure on U.S. competitors to export
their steel products to the U.S. Again in 2016, all categories of steel in all
countries continued to experience pressure to lower prices compared to what could
be charged in 2012.

  Figure 6. Regional Comparison of Hot Rolled Coil Bench Mark Prices (USD/MT)
                                    800.00


                                    700.00


                                    600.00


                                    500.00
                      USD/MT




                                    400.00


                                    300.00


                                    200.00


                                    100.00


                                      0.00
                                             2012     2013        2014        2015       2016          2017*
     USA Domestic Hot Rolled Coil            701.84   696.20     727.78      505.65      575.68        684.11
     Steel Hot Rolled Coil (FOB Stowed
                                             562.50   525.00     457.50      269.50      497.50        572.00
               China Port)
     Asean Import Hot Rolled Coil            605.66   570.43     519.89      336.55      386.81        534.75
     North Europe Domestic Hot Rolled Coil   659.54   614.41     568.41      420.19      455.29        604.90
     South Europe Domestic Steel Rebar       636.59   598.34     551.66      394.11      427.68        568.53

 Source: Bloomberg, Platts, Antaike. 2017 prices are through December 20, 2017.


      In 2015, steel prices fell globally. As the OECD noted, the combined effect
of weakening global steel demand, including in the United States, growing exports
in many economies, and decreases in steelmaking costs led to a very sharp decline



                                                                                                  32
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in steel prices in 2015. Notwithstanding these effects, prices for steel in the U.S.
remained substantially higher than in any other area. However, relative to prices
between 2010 and 2013, prices are still relatively depressed.

       Global excess steel production weakens the pricing power of U.S. steel
producers. U.S. steel producers’ costs are higher than the costs for producers in other
regions due to higher taxes, healthcare, environmental, and other regulatory
expenses. Higher U.S. steel prices incentivize importing lower-cost foreign steel.
Moreover, excess production and lower prices in regions proximate to state
subsidized enterprises displace purchases from market based steel exporters and add
pressure on those market based suppliers to export to the U.S. The effect of global
excess steel production on U.S. steel prices and import levels is discussed in greater
detail in Appendix L.

          5.      Steel Mill Closures

      U.S. steel mill closures continue eroding overall U.S. steel mill capacity and
employment. Many U.S. steel mills have been driven out of business due to
declining steel prices, global overcapacity, and unfairly traded steel. Since 2000, the
United States has lost over 25 percent of its basic oxygen furnace facilities with the
closure of six facilities: RG Steel in Sparrows Point, Maryland; RG Steel in
Steubenville, Ohio; RG Steel in Warren, Ohio; ArcelorMittal in East Chicago,
Indiana; ArcelorMittal in Weirton, West Virginia; and U.S. Steel in Fairfield,
Alabama.

      In addition, four electric arc furnace steel facilities have closed: Evraz in
Claymont, Delaware; ArcelorMittal in Georgetown, South Carolina; Gerdau in Sand
Springs, Oklahoma; and Republic Steel in Lorain, Ohio. Most recently,
ArcelorMittal has announced the closure of its plate rolling mill in Conshohocken,
Pennsylvania, because of sagging commercial sales attributed to surging imports of
low-cost steel product and flat defense demand.45

      The closures of these facilities have had a significant impact on the U.S.
industrial workforce and local economies. RG Steel suffered three closures:
45
     owden, M/ ͞!rcelor Mittal to Shut P! Plate Mill,͟ !merican Metal market, September 18, 2017/




                                                                                                     33
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Sparrows Point, Maryland; Steubenville, Ohio; and Warren, Ohio. After filing for
bankruptcy in 2012, more than 2,000 employees were displaced in Maryland alone
and another 2,000 in the Midwest. The company cited weak demand in the steel
industry as well as lack of financing as key contributors to the closure.46

       Closures of smaller steel mills have had equally devastating impacts on
employment. Gerdau Sand Springs in Oklahoma lost 300 employees after closing
in 2009 because of a long-term drop in demand for steel.47 Sand Springs was the
last remaining steel plant in Oklahoma and had been in production since the 1920s.

       In 2013, at least 345 employees were laid off in response to the closure of the
Claymont steel mill in Delaware. The Governor of Delaware, Jack Markell,
attributed the financial difficulties of the facility to “subdued market demand and the
high volume of imports.”48

      Similar difficulties were cited by the ArcelorMittal’s Georgetown, South
Carolina facility and U.S. Steel’s location in Fairfield, Alabama, both of which
closed in 2015. Layoffs for these two corporations totaled 226 and more than 1,100
employees, respectively. Both companies attributed the layoffs to financial losses
and ultimately, to facility closures due to the rise in competition from inexpensive
imports.49

       Even temporary idling of steel plants threatens the U.S. steel industry as there
are significant financial costs with re-opening a steel mill. Multiple U.S. facilities
remain idled: there are four idled basic oxygen furnace facilities, two each in
Kentucky and Illinois, representing almost one third of the remaining basic oxygen

46
     usiness Journal, ͚͞Unforeseen onditions͛ loses Warren Steel Holdings,͟ January 12, 2016,
     http.//businessjournaldaily/com/utilities-cut-to-warren-steel-holdings/- altimore rew, ͞Six reasons why the
     Sparrows Point steel mill collapsed,͟ May 25, 2012, https.//baltimorebrew/com/2012/05/25/six-reasons-why-
     the-sparrows-point-steel-mill-collapsed//
47
     News on 6, ͞Sand Springs Steel Plant May lose,͟ June 9, 2009, http.//www/newson6/com/story/10500785/sand-
     springs-steel-plant-may-close/
48
     usiness Insider, ͞Shutdown of Russian Steel Mill in Delaware ould Send a Message !bout US Trade,͟ October
     17, 2013, http.//www/businessinsider/com/evraz-closes-claymont-steel-2013-10/
49
     !L/com, ͞U/S/ Steel lays off 200 more workers in Fairfield,͟ March 18, 2016,
     http.//www/al/com/business/index/ssf/2016/03/us_steel_lays_off_200_more_wor/html/




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furnace facilities in United States.50 In addition, there are idled pipe and tube mills
in Texas, Ohio, and Alabama. Once production is halted at these facilities it is not
always possible to bring back the highly skilled workforce needed to operate them.
When steel mill restarts do occur, additional costs are often incurred for specialized
worker training and production ramp-up.

       In addition, when a steel mill closes at a given location, the workers find other
occupations, move to other steel mills, or remain indefinitely unemployed. After a
significant period of unemployment, much of the specialized skill required by steel
mill workers is forgotten. Furthermore, it is typically not easy to find and recruit
displaced workers who may live hundreds or thousands of miles away.

          6.          Declining Employment Trend Since 1998

       U.S. steel industry employment has declined 35 percent (216,400 in 1998 to
139,800 in January 2016 - December 2016), including 14,100 lost jobs between 2015
and 2016. While employment numbers increased slightly in certain years, the trend
is dramatically downward (see Figure 7). Layoffs defer formal plant closings but
are an indication of financial distress. Layoffs in the last two years have been
particularly acute in steel producers with pipe and tubular facilities. In addition to
layoffs, there are permanent closures and bankruptcies in the industry.51

       The loss of skilled workers is especially detrimental to the long-term health
and competitiveness of the industry. The unstable and declining employment
outlook for the industry also dissuades younger workers from wanting to participate
in the future U.S. steel industry. The inability to rapidly add skilled workers to the
industry negatively affects current manufacturing capabilities. This is especially
problematic in the event of a major production surge or mobilization.




50
     See Figure 13/

51
     See infra, section V()(1)/




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                                                                Figure 7. Combined Steel Industry Employment (Yearly Average)
 Annual Average of All Employees (Thousands)

                                           250.0



                                           200.0



                                           150.0



                                           100.0



                                               50.0



                                                0.0
                                                      1997 1998 1999 2000 2001 2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012 2013 2014 2015 2016 2017
                                                      218.2 216.4 211.0 208.2 189.4 170.4 163.0 156.5 156.9 157.0 161.3 160.2 135.2 138.6 148.7 152.4 149.4 151.2 147.9 139.8 142.2
                                  Source: Bureau of Labor Statistics, using the annual average of seasonally adjusted employees, NAICS Codes: 3311 and 3312, updated 11.22.2017



                                                      7.       Trade Actions – Antidumping and Countervailing Duties

       The number of U.S. antidumping and countervailing duty measures in effect
illustrates the scope of the problem confronting the U.S. steel industry. In 1998, at
the height of that periods steel crisis, there were just over 100 antidumping and
countervailing duty cases against finished steel products.52 Today there are 164
antidumping and countervailing duty orders in effect for steel, with another 20 steel
investigations currently ongoing and another waiting to take effect through
publication in the Federal Register (see Appendix K for a full listing of Steel
Antidumping and Countervailing Duty Orders in Effect). This represents a 60
percent increase in cases since the last time the Department investigated steel in
2001.

                                                8. Loss of Domestic Opportunities to Bidders Using Imported Steel

       Despite efforts to level the playing field through AD/CVD orders, there are
numerous examples of U.S. steel producers being unable to fairly compete with
foreign suppliers, including the lack of ability to bid on some critical U.S.
infrastructure projects. Due to unfair competition, particularly from foreign state-

52
                                               Global Steel Trade. Structural Problems and Future Solutions- Department of ommerce- July, 2000/




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owned enterprises, U.S. steel producers have lost out on U.S. business opportunities.
Some examples include Chinese companies providing steel for the eastern span of
the San Francisco-Oakland Bay Bridge as well as the Alexander Hamilton Bridge
over the Harlem River in New York.53

      The Alliance for American Manufacturing’s statement before the
Congressional Steel Caucus (March 2017) identified three other recent infrastructure
projects in New York that have used or will use heavily subsidized or possibly
dumped foreign steel: the Verrazano-Narrows Bridge, LaGuardia Airport, and the
Holland Tunnel. Two major U.S. cities – Boston and Chicago – have contracted
with Chinese companies to build new subway cars, primarily constructed with
imported steel, for their respective transportation systems.54

       9.     Financial Distress

      Rising levels of imports of steel continue to weaken the U.S. steel industry’s
financial health. Years of running on low-profit margins or at a loss have weakened
an industry that continues to face an ever-increasing wave of steel imports. The U.S.
industry, as a whole, has operated on average with negative net income from 2009-
2016. Net income for U.S.-owned steel companies has averaged only $162 million
annually since 2010, challenging the financial viability of this vital industry (see
Figure 8).




53
     New York Times, ͞ridge omes to San Francisco With a Made-in-hina Label,͟ June 25, 2011,
     http.//www/nytimes/com/2011/06/26/business/global/26bridge/html
54
     Reuters, ͞hina͛s RR lands $1/3 billion hina rail car project,͟ March 10, 2016,
     http.//www/reuters/com/article/us-crrc-usa-idUSKN0W17I




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       The Stern School of Business at New York University calculates that U.S. steel
industry participants in the last five years experienced negative net income of 17.8
percent. Compounded growth in revenue for the past five years in the steel industry
has been a negative 7 percent.55 The loss of revenue has caused U.S. steel
manufacturers, both large and small, to defer or eliminate production facility capital
investments and funding for research and development. Even though there was a
slight uptick in net income for the first quarter in 2017 over the fourth quarter of
2016 margins remain poor compared to historic levels.

     Not only have earnings before interest, taxes, depreciation, and amortization
(EBITDA) been shallow for steel producers in the United States, many of them are
burdened with high levels of debt, as much as 11.9 times of earnings for one major
producer (see Figure 9).56 While some companies are starting to pay down debt,

55
     Historical (ompounded !nnual) Growth Rates by Sector, !swath Damodaran, New York University Stern School
     of usiness, January 2017/ (see http.//pages/stern/nyu/edu/~adamodar/New_Home_Page/datafile /histgr/html)
56
   Nucor operates mini-mills that use electric arc furnaces to produce high demand steel products primarily with
   recycled steel scrap/ From a financial perspective, this business model allows Nucor to be highly price
   competitive, but the company produces a narrower range of flat steel products than integrated steel mills/ The
mini-mills can weather bad economic times because they have lower energy costs and can regulate production




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others have not been able to do so primarily because of slack demand for
domestically produced steel in the face of competition from imported products.
Absent increases in steel production volume and pricing, one leading law firm
specializing in insolvency, White & Case, observes that some steelmakers in the
United States may soon have to renegotiate loan agreements to extend maturities;
those that are not able to may have to consider Chapter 11 bankruptcy.57




      No capital intensive industry can survive with such poor margins over the
longer term. The extensive leverage in the industry shown in Figure 9 adds to the



     more easily/ asic oxygen furnace plants have higher fixed operating costs because they directly convert iron ore
     and other raw materials along with scrap into steel using more energy-intensive processes/
57
     Losing Strength. U/S/ Steel Industry !nalysis, Scott Griesman, White  ase, !pril 16, 2016 (see
     https.//www/whitecase/com/publications/article/losing-strength-us-steel-industry-analysis)/




                                                                                                           39
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 likelihood of further closures if the present high level of imports continues to force
 U.S. steel mills to operate well below profitable capacity utilization rates.

           10.       Capital Expenditures

        The ability of U.S. manufacturers of iron and steel products to fund capital
 expenditures for new production plants as well as facility modernization and
 advanced manufacturing equipment has been limited by falling revenue and reduced
 profits. As shown in Figure 10, annual capital expenditures for companies making
 iron and steel ingot, bars, rods, plate and other semi-finished products wavered from
 $5.7 billion to $5.1 billion for 2010-2012, before ramping to $7.1 billion in 2013.


                                 Figure 10. Annual Capital Expenditures
      Iron, Steel, and Ferroalloys
                                                                           Millions of Current Dollars
      Steel NAICS Codes 3311 and 3312 Combined
      Annual Capital Expenditures Survey                    2010    2011       2012      2013       2014        2015

A.    Structures [New & Used Structures Combined]           1,026   1,322      1,564     1,157      724         580

B.    Equipment [New & Used Equipment Combined]             4,634   4,572      3,592     5,954      3,139       2,531

C.    Total Capital Expenditures                            5,661   5,894      5,157     7,111      3,863       3,110

      (Unweighted) Payroll of Reporters /
D.                                                          86%     84%        80%       61%        86%         84%
      Total Payroll of Firms Classified in Industry group
Source: U.S. Census Bureau, Annual Capital Expenditures Survey, www.census.gov/programs-surveys/aces.html




        Confronted with receding orders for products and declines in income in 2013,
 iron and steel companies operating production facilities in the United States started
 curtailing capital investments. Total capital spending dropped to $3.87 billion in
 2014 and slid further to $3.11 billion in 2015 – 32 percent below 2010 levels of $5.66
 billion.

      The decline in capital expenditures reflected similar drops in net sales, which
 plummeted from $129.6 billion in 2014 to $102 billion in 2015. Income after taxes




                                                                                                           40
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for U.S. iron and steel manufacturers fell from $2.48 billion in the same two-year
period to a massive loss of $3.5 billion in 2015.

   C. Displacement of Domestic Steel by Excessive Quantities of Imports has the
      Serious Effect of Weakening Our Internal Economy

    1. Domestic Steel Production Capacity is Stagnant and Concentrated

        According to the OECD, U.S. steel production capacity has remained stagnant
at an average of approximately 114.3 million metric tons for more than a decade
from 2006-2016 (see Figure 11). For 2016, the rated maximum capacity was 113
million metric tons for existing basic oxygen furnace and electric arc furnace
facilities.

                                                 Figure 11. U.S. Annual Steel Production Capacity
                                120

                                115
     Millions of Metric Tons




                                110

                                105

                                100

                                  95

                                  90
                                          1995   2000   2001   2002   2003   2004   2005   2006   2007   2008   2009   2010   2011   2012   2013   2014   2015   2016 2017*
                               Capacity   102    116    112    102    109    110    113    115    113    113    115    115    117    118    114    114    111    113   112.8


    Source: Organization for Economic Cooperation and Development (OECD), 2017 capacity is a forecast




                                                                                                                                                           41
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                                                                     42
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       The present situation with respect to basic oxygen furnace production is
significantly worse than the situation assessed by the Department in the 2001 Report.
As shown in Figure 13 below, the number of basic oxygen furnace facilities and units
has declined precipitously since 1995. In 2000, there were 105 companies that
produced raw steel at 144 locations,59 while today there are only 38 companies
producing steel at 93 locations, a 64 percent and 36 percent reduction, respectively.

      Most importantly, in 2000 thirteen companies “operated integrated steel mills,
with an average of 35 blast furnaces in continuous operation during the year” 60 while
today there are only three companies operating 13 basic oxygen furnaces. These are
77 percent and 60 percent reductions, respectively. As a result, today only 26 percent
of domestic steel is produced from raw materials in the United States, as compared
to 53 percent in 2000.

      As noted earlier, since 2000 there has been over a 25 percent reduction in the
number of basic oxygen furnaces operating in the United States, and 33 percent of
the remaining basic oxygen furnaces are currently idled. In the Secretary’s view, a
further reduction in basic oxygen furnace capacity, which is especially important to
the ability of domestic industry to meet national security needs, is inevitable if the
present imports continue or increase.




                            This would be a serious “weakening of our internal
economy” and place the United States in a position where it is unable to be certain




59
     2001 Report at 21/
60
     Id.




                                                                              43
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it could meet demands for national defense and critical industries in a national
emergency.61

                Figure 13. Basic Oxygen and Electric Arc Facilities and Units
                         Located in the United States, 1975 - 2016
                           asic Oxygen               asic Oxygen              Electric !rc               Electric !rc
 Year
                           Furnace Facilities         Furnace Units             Furnace Facilities         Furnace Units
 1975                      38                         90                        --                         --
 1980                      33                         78                        --                         --
 1985                      27                         66                        --                         --
 1990                      24                         61                        127                        246
 1995                      22*                        56*                       116                        218
 2000                      19*                        50*                       122                        174
 2005                      17                         46                        115*                       169*
 2010                      16                         44                        108                        164
 2015                      13                         31                        98                         154
 2016                      13                         31                        98                         154
 Source: U.S. Department of Commerce/BIS, American Iron and Steel Institute, Association for Iron & Steel Technology, Steel
 Manufacturers Association, August 2017. *Estimated.
 Basic Oxygen Furnace: Basic Oxygen Furnaces (BOF) are the dominant steelmaking technology globally, accounting for 74% of
 the world͛s total output of crude steel in 2016/ OF share of production in the U/S/ was 33% in 2016 and has been slowly
 declining, due primarily to the advent of the ͞Greenfield͟ electric arc furnace (E!F) flat-rolled mills. The primary raw materials
 for the BOF are liquid hot metal (iron) from the blast furnace and steel scrap. [1] These are charged into the BOF vessel.
 Oxygen (>99/5% pure) is ͞blown͟ into the OF at supersonic velocities/ It oxidizes the carbon and silicon contained in the hot
 metal, liberating great quantities of heat, which melts the scrap. Source: Steel.org.

 Electric Arc Furnace: The Electric Arc Furnace (EAF) operates as a batch melting process, producing batches of molten steel
 known ͞heats͟/ The E!F process uses steel scrap and iron units, melting them using electricity to make new steel/ E!F output
 accounted for 66% of U.S. steel production in 2016. Source: Steel.org.
 [1\ The last Furnace chemically reduces and physically converts iron oxides into liquid iron called ͞hot metal͟/ The blast
 furnace is a huge steel stack lined with refractory brick, where iron ore, coke, and limestone are dumped into the top, and
 preheated air is blown into the bottom. The raw materials require six to eight hours to descend to the bottom of the furnace,
 where they become the final product of liquid slag and liquid iron. Source: Steel.org.



      In contrast to the situation in the United States, the leading global producers
of steel (Brazil, South Korea, Japan, Russia, Germany, and especially China)
primarily rely on basic oxygen furnace capacity rather than electric arc furnace
capacity (see Figure 14). Each of these economic competitors to the United States
possess critical research, development and production capabilities that the United

61
     See infra, sections 4 and 5, for a further discussion of the inability to meet surge requirements in an
     emergency/




                                                                                                                        44
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States is in danger of losing if imports continue to force U.S. steel producers to
operate at uneconomic capacity utilization levels.

       A further reduction in domestic basic oxygen furnace capacity would put the
United States at serious risk of becoming dependent on foreign steel to support its
critical industries and defense needs. Allowing this decline to continue represents a
“weakening of our internal economy that may impair national security” which the
Congress has directed the Secretary to advise the President of under the Section 232.
See 19 U.S.C. § 1862(d).

   Figure 14. The Top 20 Countries Exporting to the U.S. – BOF vs. EAF Capacity
                Top Import Sources                                                                !pprox. ountry’s !verage
                                               2015 OF        2015 E!F        2015 Other
   Rank         in 2016 in Tonnage                                                                apacity Utilization in 2016
                                                 Share          Share            Share
                       Terms                                                                                (OED)
                       World                    74.20%          25.20%            0.50%                      67%
      1               Canada                    53.80%          46.20%                                       62%
      2                 Brazil                  78.20%          20.20%                                       57%
      3             South Korea                 69.60%          30.40%                                       80%
      4               Mexico                    29.70%          70.30%                                       75%
      5                Turkey                   35.00%          65.00%                                       65%
      6                Japan                    77.10%          22.90%                                       80%
      7                Russia                   66.30%          30.50%            3.10%                      76%
      8              Germany                    70.40%          29.60%                                   72% (EU 28)
      9               Taiwan                    62.30%          37.70%                                       75%
     10               Vietnam                   25.00%          59.90%            15.20%                     32%
     11                China                    93.90%           6.10%                                       69%
     12             Netherlands                 98.60%           1.50%                                   72% (EU 28)
     13                  Italy                  21.30%          78.20%                                   72% (EU 28)
     14           United Kingdom                83.00%          17.00%                                   72% (EU 28)
     15                France                   65.60%          34.40%                                   72% (EU 28)
     16                 India                   42.90%          57.10%                                       75%
     17              Australia                  77.60%          22.40%                                       63%
     18                 Spain                   31.70%          68.30%                                   72% (EU 28)
     19               Sweden                    66.10%          33.90%                                   72% (EU 28)
     20             South Africa                56.50%          43.50%                                      58.5%
 Source. World Steel- Production Share Figures for 2015, US ensus ureau (!ccessed Via HIS) – Import Growth Rates, OED 2017 Q2 Market
 !ssessment – !pproximate apacity Utilization


       This is not a hypothetical situation. The Department of Defense already finds
itself without domestic suppliers for some particular types of steel used in defense




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products, including tire rod steel used in military vehicles and trucks.62 While the
United States has many allies that produce steel, relying on foreign owned facilities
located outside the United States introduces significant risk and potential delay for
the development of new steel technologies and production of needed steel products,
particularly in times of emergency. The Secretary notes that the authority for the
Department of Defense to place its order ahead of commercial orders on a mandatory
basis does not extend to foreign-owned facilities outside the United States.63

        In the case of critical infrastructure, the United States is down to only one
remaining producer of electrical steel in the United States (AK Steel – which is
highly leveraged). Electrical steel is necessary for power distribution transformers
for all types of energy – including solar, nuclear, wind, coal, and natural gas – across
the country. If domestic electrical steel production, as well as transformer and
generator production, is not maintained in the U.S., the U.S. will become entirely
dependent on foreign producers to supply these critical materials and products.64
Without an assured domestic supply of these products, the United States cannot be
certain that it can effectively respond to large power disruptions affecting civilian
populations, critical infrastructure, and U.S. defense industrial production
capabilities in a timely manner.

       2. Production is Well Below Demand

      Demand for steel products in the United States (see Figure 15), increased from
100.1 million metric tons in 2011 to 117.5 million metric tons in 2014, then declined
to 99.8 million metric tons in 2016. Demand in 2017 is projected to rebound to
107.7 million metric tons. During the 2011 to 2016 period, U.S. production of steel
products dropped from 86.4 million metric tons in 2011 to 78.6 million metric tons
in 2016, with a four percent increase expected in 2017.




62
     Letter from Defense Logistics !gency, olumbus, OH to IS/OTE, !ugust 1, 2017/
63
     See Defense Priorities and !llocations System Program (DP!S), www/dcma/mil/DP!S
64
     United States ongress, ongressional Steel aucus/ Statement of Roger Newport, EO, !K Steel orporation
     (on behalf of the !merican Iron and Steel Institute)/ March 29, 2017/




                                                                                                       46
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      For the six-year period, U.S. domestic steel production supplied only 70
percent of the average demand, even though available U.S. domestic steel production
capacity during that period could have, on average, supplied up to 100 percent of
demand (U.S. steel producers would be running at 92 percent capacity utilization for
this period) with approximately 13 million metric tons of additional capacity
remaining.

               Figure 15. U.S. Steel Market Snapshot (millions of metric tons)
                                                                                              2017          2017
                                        2011 2012 2013 2014 2015 2016
                                                                                              YTD         !nnualized
      Total Demand for Steel in U.S.
                                         100.1   106.6    104.6    117.5    104.9    99.8      80.7           107.3
     (Production + Imports - Exports)

          U.S. Annual Capacity           116.5   118.0    113.5    113.5    111.3   113.3       ---             ---


     U.S. Annual Production (Liquid)     86.4     88.7     86.9     88.2    78.8     78.6      61.5            81.9

 Sources. United States Department of ommerce, ureau of the ensus/ !merican Iron and Steel Institute/ alculations
 based on industry and trade data/



      3. Utilization Rates are Well Below Economically Viable Levels

      Overall, steel mill production capacity utilization has declined from 87 percent
in 1998, to 81.4 percent in 2008, to 69.4 percent in 2016 (see Figure 16). For the
most recent six-year period (2011- 2016), the average utilization rate was 74 percent.

       Industry analysts note that utilization of 80 percent or more is typically
necessary for sustained profitability, among other factors.65 For most capital and
energy-intensive U.S. steel producers, capacity levels of 80 percent or higher are
required to maintain facilities, carry out periodic modernization, service company
debt, and fund research and development.




65
     Market Realist, ͞Why steel investors are mindful of capacity utilization rates,͟ October 2, 2014,
     http.//marketrealist/com/2014/10/investors-mindful-capacity-utilization-rate// See also
     http.//marketrealist/com/2015/09/upstream-exposure-impact-steel-companies/




                                                                                                                47
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      When steel factory utilization falls, costs per unit of steel product rises,
reducing profit margins and product pricing flexibility. Higher capacity utilization
usually results in lower per-unit product costs and higher overall profit.66 Over 80
percent is a healthy capacity utilization rate and a rate at which most companies
would be profitable.

       The U.S. steel industry uses 80 percent as a benchmark for minimum
operational efficiency. Moreover, the steel industry is capable of reaching and
sustaining 80 percent capacity utilization or higher. During the 2002-2008 period,
U.S. steel companies operated at an average 87.4 percent level.67

      These industry assessments are consistent with a 1983 report on “Critical
Materials Requirements in the U.S. Steel Industry” in which the Department

66
     Houston hronical, ͞apacity Utilization and Effects on Product and Profit,͟
     http.//smallbusiness/chron/com/capacity-utilization-effects-product-profit-67046/html- steel industry sources/
67
     http.//marketrealist/com/2015/09/upstream-exposure-impact-steel-companies/html (͞It͛s important to note
     how changes in capacity utilization rates impact a company͛s earnings/ For example, we see a big jump in
     earnings when utilization rates improve from 80 percent to 85 percent/ However, incremental benefits are
     lower when utilization rates increase from 90 percent to 95 percent/͟)/




                                                                                                          48
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explained that “[c]apability utilization or capacity use, which in effect describes the
efficiency of an industry's use of capital, is a prime determinant of profitability.
Domestic steel producers were operating at about 55 percent capability for the first
half of 1982. The comparable rate for the first half of 1981 was 85 percent. This
current rate is probably well below a breakeven point for most producers, whereas
1981 was profitable for nearly all producers.”68

       4. Declining Steel Production Facilities Limits Capacity Available for a
          National Emergency

      The number of steel production facilities located in the U.S. continues to
decline. As shown earlier in Figure 13, from 1975 to 2016 the number of basic
oxygen furnace facilities decreased from 38 to 13. Similarly, from 1990 to 2016,
the number of electric arc furnace facilities decreased from 127 to 98.

       Due to this decline in facilities, domestic steel producers have a shrinking
ability to meet national security production requirements in a national emergency.
The U.S. Department of Commerce, Census Bureau regularly surveys plant capacity,
and has found that steel producers are quickly shedding production capacity that
could be used in a national emergency. The Census Bureau defines national
emergency production as the “greatest level of production an establishment can
expect to sustain for one year or more under national emergency conditions.”69 From
2011 to 2017, steel producers increased the utilization of the surge capacity they
would have during a national emergency from 54.2 percent to 68.2 percent (see
Figure 17). As steel producers use more of this emergency capacity, there is an
increasingly limited ability to ramp up steel production to meet national security
needs during a national emergency.




68
     Department of ommerce, ͞ritical Materials Requirements in the U/S/ Steel Industry͟, March 1983, at 16-17/
69
     U/S/ Dept/ of ommerce, ensus ureau, Survey of Plant apacity/ 2011-2017/




                                                                                                        49
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                      Figure 17. Steel Industry Utilization of Emergency Capacity
                                         (2011-2017, Quarter 1)
               80

               70

               60

               50
     Percent




               40

               30

               20

               10

               0
                      2011       2012        2013         2014         2015         2016         2017

               Source. U/S/ Department of ommerce, ensus ureau, Survey of Plant apacity




       The ability to increase steel production during a national emergency
continues to diminish as the number of steel production facilities continues to
decline. If the U.S. requires a similar increase in steel production as it did during
previous national emergencies, domestic steel production capacity may be
insufficient to satisfy national security needs. If a national emergency were to
occur at present utilization levels, domestic steel producers would be able to
increase production by 146 percent.

       For comparison, from 1938 through 1946 the U.S. increased the production
of pig iron and ferro-alloys by 217 percent and increased the production of steel
ingots and castings by 210 percent to meet the demands of fighting a global war.70
From 1960 through 1973, during the Vietnam era, the U.S. increased steel
production by 152 percent.71 Should the U.S. once again experience a conflict on
the scale of the Vietnam War, steel production capacity may be slightly insufficient
70
     U/S/ Dept/ of ommerce, ensus ureau/ Statistical !bstract of the United States, 1948/ Page 876/
71
     U/S/ Dept/ of ommerce, ensus ureau/ Statistical !bstract of the United States, 1978/ Page 830/




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to meet national security needs. But if the U.S. were to experience a conflict
requiring the production increase seen during the Second World War, the existing
domestic steel production capacity would be unable to meet national security
requirements.

       Increasing steel production capacity once a large-scale national emergency
has arisen would take a significant amount of time. According to the American Iron
and Steel Institute, the replacement of a basic oxygen furnace facility takes more
than a year to complete. Therefore, the lack of spare domestic steel production
capacity and the possible inability to sufficiently increase production during a
national emergency may impair the national security of the United States.

     D. Global Excess Steel Capacity is a Circumstance that Contributes to the
        Weakening of the Domestic Economy

     1. Free markets globally are adversely affected by substantial chronic
        global excess steel production led by China

    Numerous studies, reports, and investigations have documented the global excess
steel capacity, with China having the largest installed capability (see Figure
18).72,73,74 OECD analyses show that the world’s nominal crude steelmaking capacity
reached about 2.4 billion metric tons in 2016, an increase of 127 percent compared
to the 2000 level. Most of the capacity expansion was planned for construction and
manufacturing activities, and to help build the infrastructure necessary for economic
development – most in non-OECD countries. Furthermore, the OECD reports that
while steel capacity increased at a steady rate, world steel demand contracted sharply
in the aftermath of the global economic and financial crisis of 2008. Global demand
for steel recovered slowly in the years following 2008. However, since 2013, global
steel demand has flattened thereby widening the capacity/demand gap. By 2015, the
gap reached over 700 million metric tons.


72
     run, L/ (2016)/ Overcapacity in Steel, China’s Role in a Global Problem. Washington, D. !lliance for !merican
     Manufacturing/ http.//aamweb/s3/amazonaws/com/uploads/resources/OvercapacityReport2016_R3/pdf
73
     Price, !/, Weld, /, El-Sabaawi, L/,  Teslik, !/ (2016)/ apacity Runs Riot/ Washington, D. Wiley Rein LLP/
74
     OED Reports/ (2016)/ http.//www/oecd/org/industry/ind/82nd-session-of-the-steel-committee/htm




                                                                                                            51
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      The vast size of the capacity/demand gap means that steel demand alone
cannot increase enough to balance the global overcapacity problem, which is
particularly prevalent in China. Chinese excess capacity, estimated at more than 300
million metric tons, dwarfs total U.S. production capacity (see Figure 19).75

       The effect of global overcapacity and excess steel production on U.S. steel
prices and import levels is discussed in greater detail in Appendix L. While U.S.
steel production capacity has remained flat since 2001, other steel producing nations
have increased their production capacity, with China alone able to produce as much
steel as the rest of the world combined.




75
     OED, ͞High Level Meeting. Excess apacity and Structural !djustment in the Steel Sector,͟ !pril 2016,
     http.//www/oecd/org/sti/ind/ackground%20document%20No%202_FIN!L_Meeting/pdf




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                                                   Figure 19. Steelmaking Capacity
                                     2500

                                     2000
           Millions of Metric Tons




                                     1500

                                     1000

                                     500

                                       0
                                            2009   2010      2011       2012      2013    2014       2015   2016   2017*
                                                          World Total     China      United States
                    Source: OECD




      Several countries (India, Iran, and Indonesia) in addition to China continue to
add production capacity despite slack global demand. According to the OECD Steel
Committee Chair’s statement from March 2017, “New data suggest that nearly 40
million metric tons of gross capacity additions are currently underway and could
come on stream during the three-year period of 2017-19, while an additional 53.6
million metric tons of capacity additions are in the planning stages for possible start-
up during the same time period.”76 This additional global steel capacity coming
online represents over 80 percent of existing U.S. steelmaking production capacity,
demonstrating that the import challenge to U.S. industry is continuing to grow.

     2. Increasing global excess steel capacity will further weaken the internal
        economy as U.S. steel producers will face increasing import competition

       These additions to worldwide steelmaking capacity will only exacerbate the
situation because they will further lower global operating utilization rates, including
in the United States. Growth in foreign government-subsidized steel production is
progressively weakening the financial health of the U.S. steel industry as other steel

76
     OED, ͞82nd Session of the OED Steel ommittee – hair͛s Statement,͟ March 2017,
     http.//www/oecd/org/sti/ind/82-oecd-steel-chair-statement/htm




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producing countries export more steel to the U.S. to in part to offset the loss of
regional markets to Chinese steel (see Appendix L).

      The U.S. share of global production continues to steadily decline. In the year
2000, when President Clinton signed into a law a statute granting China permanent
normal trade relations status,77 the U.S. share of global steel production stood at 12
percent.78 Since that point in time, the U.S. share of global steel production continued
an inexorable decline as other countries, and especially China, began to increase
production. The U.S. share of global steel production fell to 8 percent in 2005,79 5
percent in 2009,80 and 4.8 percent in 2015.81 In contrast, China commanded a 49.7
percent share of global steel production in 2015.82

        If even half of the planned additional global capacity identified by the OECD
Steel Committee is built, and the related new production finds its way into the U.S.,
it will drive the operating rate of U.S. steel mills to less than 50 percent of capacity.
This will cause a substantial and unsustainable negative cash situation that will
ultimately result in multiple corporate bankruptcies due to heavy debt loads and
related declines in steel production capacity and employment levels.




77
      Public Law 106-286/ !n act to authorize extension of nondiscriminatory treatment (normal trade relations
      treatment) to the Peoples Republic of hina, and to establish a framework for relations between the United
      States and the Peoples Republic of hina/ October 10, 2000/ https.//www/gpo/gov/fdsys/pkg/PL!W-
      106publ286
78
     U/S/ Dept/ of ommerce, ensus ureau/ Statistical !bstract of the United States, 2012/ Page 574/
79
     Id.
80
     Id.
81
     Steel Statistical Yearbook, 2016/ World Steel !ssociation/ https.//www/worldsteel/org/en/dam/jcr.37ad1117-
     fefc-4df3-b84f-6295478ae460/Steel+Statistical+Yearbook+2016/pdf
82
     Steel Statistical Yearbook, 2017/ World Steel !ssociation/ https.//www/worldsteel/org/en/dam/jcr.3e275c73-
     6f11-4e7f-a5d8-23d9bc5c508f/Steel+Statistical+Yearbook+2017/pdf




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VI. CONCLUSION
      The Secretary has determined that the displacement of domestic steel by
excessive imports and the consequent adverse impact of those quantities of steel
imports on the economic welfare of the domestic steel industry, along with the
circumstance of global excess capacity in steel, are “weakening our internal
economy” and therefore “threaten to impair” the national security as defined in
Section 232.

      The continued rising levels of imports of foreign steel threaten to impair the
national security by placing the U.S. steel industry at substantial risk of displacing
the basic oxygen furnace and other steelmaking capacity, and the related supply
chain needed to produce steel for critical infrastructure and national defense.

      In considering “the impact of foreign competition on the economic welfare of
individual domestic [steel] industries” and other factors Congress expressly outlined
in Section 232, the Secretary has determined that the continued decline and
concentration in steel production capacity is “weakening of our internal economy
and may impair national security.” See 19 U.S.C. § 1862(d).

       Global excess steel capacity is a circumstance that contributes to the
“weakening of our internal economy” that “threaten[s] to impair” the national
security as defined in Section 232. Free markets globally are adversely affected by
substantial chronic global excess steel production led by China. While U.S. steel
production capacity has remained flat since 2001, other steel producing nations have
increased their production capacity, with China alone able to produce as much steel
as the rest of the world combined. This overhang of excess capacity means that U.S.
steel producers, for the foreseeable future, will face increasing competition from
imported steel as other countries export more steel to the United States to bolster
their own economic objectives.

      Since defense and critical infrastructure requirements alone are not sufficient
to support a robust steel industry, U.S. steel producers must be financially viable and
competitive in the commercial market to be available to produce the needed steel
output in a timely and cost efficient manner. In fact, it is the ability to quickly shift



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production capacity used for commercial products to defense and critical
infrastructure production that provides the United States a surge capability that is
vital to national security, especially in an unexpected or extended conflict or national
emergency. It is that capability which is now at serious risk; as imports continue to
take business away from domestic producers, these producers are in danger of falling
below minimum viable scale and are at risk of having to exit the market and
substantially close down production capacity, often permanently.

       Steel producers in the United States are facing widespread harm from
mounting imports. Growing global steel capacity, flat or declining world demand,
the openness of the U.S. steel market, and the price differential between U.S. market
prices and global market prices (often caused by foreign government steel
intervention) ensures that the U.S. will remain an attractive market for foreign steel
absent quotas or tariffs. Excessive imports of steel, now consistently above 30
percent of domestic demand, have displaced domestic steel production, the related
skilled workforce, and threaten the ability of this critical industry to maintain
economic viability.

      A U.S. steel industry that is not financially viable to invest in the latest
technologies, facilities, and long-term research and development, nor retain skilled
workers while attracting a next-generation workforce, will be unable to meet the
current and projected needs of the U.S. military and critical infrastructure sectors.
Moreover, the market environment for U.S. steel producers has deteriorated
dramatically since the 2001 Report, when the Department concluded that imports of
iron ore and semi-finished steel do not “fundamentally threaten” the ability of U.S.
industry to meet national security needs.83

        The Department’s investigation indicates that the domestic steel industry has
declined to a point where further closures and consolidation of basic oxygen furnace
facilities represents a “weakening of our internal economy” as defined in Section
232. The more than 50 percent reduction in the number of basic oxygen furnace

83
     2001 Report at 28 – 37/ !s noted, supra note 16, the 2001 Report added the qualifier ͞fundamentally͟ which
     is not found in the statutory text/ The Secretary in this report uses the statutory standard of ͞threatens to
     impair͟ without such qualification/




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facilities – either through closures or idling of facilities due to import competition –
increases the chance of further closures that place the United States at serious risk
of being unable to increase production to the levels needed in past national
emergencies. The displacement of domestic product by excessive imports is having
the serious effect of causing the domestic industry to operate at unsustainable levels,
reducing employment, diminishing research and development, inhibiting capital
expenditures, and causing a loss of vital skills and know-how. The present capacity
operating rates for those remaining plants continue to be below those needed for
financial sustainability. These conditions have been further exacerbated by the 22
percent surge in imports thus far in 2017 compared with 2016. Imports are now
consistently above 30 percent of U.S. domestic demand.

       It is evident that the U.S. steel industry is being substantially impacted by the
current levels of imported steel. The displacement of domestic steel by imports has
the serious effect of placing the United States at risk of being unable meet national
security requirements. The Secretary has determined that the “displacement of
domestic [steel] products by excessive imports” of steel is having the “serious effect”
of causing the “weakening of our internal economy.” See 19 U.S.C. § 1862(d).
Therefore, the Secretary recommends that the President take corrective action
pursuant to the authority granted by Section 232. See 19 U.S.C. § 1862(c).




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VII. RECOMMENDATION
      Prior significant actions to address steel imports (quotas and/or tariffs) were
taken under various statutory authorities by President George W. Bush, President
William J. Clinton (three times), President George H. W. Bush, President Ronald W.
Reagan (three times), President James E. Carter (twice), and President Richard M.
Nixon, all at lower levels of import penetration than the present level, which is above
30 percent.

       Due to the threat of steel imports to the national security, as defined in Section
232, the Secretary recommends that the President take immediate action by adjusting
the level of imports through quotas or tariffs on steel imported into the United States,
as well as direct additional actions to keep the U.S. steel industry financially viable
and able to meet U.S. national security needs. The quota or tariff imposed should be
sufficient, after accounting for any exclusions, to enable the U.S. steel producers to
be able to operate at about an 80 percent or better of the industry’s capacity
utilization rate based on available capacity in 2017.

       In 2016, U.S. steel production was 78.6 million metric tons and U.S. capacity
was 113.3 million metric tons, which represents a 69.4 percent capacity utilization
rate. If current import trends for 2017 continue, continued imports without any
action are projected to be 36.0 million metric tons, an increase over 2016 of 6.0
million metric tons. Even with U.S. demand projected to increase to 107.3 from
99.8 million metric tons, increased imports mean U.S. capacity utilization is forecast
to rise only to 72.3 percent, a non-financially viable and unsustainable level of
operation.

       By reducing import penetration rates to approximately 21 percent, U.S.
industry would be able to operate at 80 percent of their capacity utilization.
Achieving this level of capacity utilization based on the projected 2017 import levels
will require reducing imports from 36 million metric tons to about 23 million metric
tons. If a reduction in imports can be combined with an increase in domestic steel
demand, as can be reasonably expected rising economic growth rates combined with
the increased military spending and infrastructure proposals that the Trump
Administration has planned, then U.S. steel mills can be expected to reach a capacity



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utilization level of 80 percent or greater. This increase in U.S. capacity utilization
will enable U.S. steel mills to increase operations significantly in the short-term and
improve the financial viability of the industry over the long-term.

Recommendation to Ensure Sustainable Capacity Utilization and
Financial Health
Impose a Quota or Tariff on all steel products covered in this investigation
imported into the United States to remove the threatened impairment to
national security. The Secretary recommends adjusting the level of imports through
a quota or tariff on steel imported into the United States.

Alternative 1 – Global Quota or Tariff

      1A.    Global Quota

      Impose quotas on all imported steel products at a specified percent of the 2017
import level, applied on a country and steel product basis.

      According to the Global Trade Analysis Project (GTAP) Model, produced by
Purdue University, a 63 percent quota would be expected to reduce steel imports by
37 percent (13.3 million metric tons) from 2017 levels. Based on imports from
January to October, import levels for 2017 are projected to reach 36.0 million metric
tons. The quotas, adjusted as necessary, would result in imports equaling about 22.7
million metric tons, which will enable an 80 percent capacity utilization rate at 2017
demand levels (including exports). Application of an annual quota will reduce the
impact of the surge in steel imports that has occurred since the beginning of 2017.

      1B.    Global Tariff

      Apply a tariff rate on all imported steel products, in addition to any
antidumping or countervailing duty collections applicable to any imported steel
product.

      Similar to what is anticipated under a quota, according to the Global Trade
Analysis Project (GTAP) Model, produced by Purdue University, a 24 percent tariff
on all steel imports would be expected to reduce imports by 37 percent (i.e., a




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reduction of 13.3 million metric tons from 2017 levels of 36.0 million metric tons).84
This tariff rate would thus result in imports equaling about 22.7 million metric tons,
which will enable an 80 percent capacity utilization rate at 2017 demand levels
(including exports).85

Alternative 2 –Tariffs on a Subset of Countries

      Apply a tariff rate on all imported steel products from Brazil, South Korea,
Russia, Turkey, India, Vietnam, China, Thailand, South Africa, Egypt, Malaysia and
Costa Rica, in addition to any antidumping or countervailing duty collections
applicable to any steel products from those countries. All other countries would be
limited to 100 percent of their 2017 import level.

       According to the Global Trade Analysis Project (GTAP) Model, produced by
Purdue University, a 53 percent tariff on all steel imports from this subset of
countries would be expected to reduce imports by 13.3 million metric tons from 2017
import levels from the targeted countries. This action would enable an increase in
domestic production to achieve an 80 percent capacity utilization rate at 2017
demand levels (including exports). The countries identified are projected to account
for less than 4 percent of U.S. steel exports in 2017.

Exemptions

      In selecting an alternative, the President could determine that specific
countries should be exempted from the proposed 63 percent quota or 24 percent tariff
by granting those specific countries 100 percent of their prior imports in 2017, based
on an overriding economic or security interest of the United States. The Secretary
recommends that any such determination should be made at the outset and a
corresponding adjustment be made to the final quota or tariff imposed on the

84
     Due to general equilibrium effects, the overall import level would need to decrease by more than the
      corresponding increase in domestic production to offset the negative effects of price or exchange rate changes
      on export demand/
85
  The elasticity factor is an estimate, not a certainty/ ! variation of 0/1 in the elasticity factor would change the
tonnage reduction by about 375,000 tons/ For example, imports would fall by an additional 375,000 tons under a
demand elasticity of -1/7 instead of -1/6 and a 25 percent tariff/




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remaining countries. This would ensure that overall imports of steel to the United
States remain at or below the level needed to enable the domestic steel industry to
operate as a whole at an 80 percent or greater capacity utilization rate. The limitation
to 100 percent of each exempted country’s 2017 imports is necessary to prevent
exempted countries from producing additional steel for export to the United States
or encouraging other countries to seek to trans-ship steel to the United States through
the exempted countries.

       It is possible to provide exemptions from either the quota or tariff and still
meet the necessary objective of increasing U.S. steel capacity utilization to a
financially viable target of 80 percent. However, to do so would require a reduction
in the quota or increase in the tariff applied to the remaining countries to offset the
effect of the exempted import tonnage.

Exclusions

       The Secretary recommends an appeal process by which affected U.S. parties
could seek an exclusion from the tariff or quota imposed. The Secretary would grant
exclusions based on a demonstrated: (1) lack of sufficient U.S. production capacity
of comparable products; or (2) specific national security based considerations. This
appeal process would include a public comment period on each exclusion request,
and in general, would be completed within 90 days of a completed application being
filed with the Secretary.

       An exclusion may be granted for a period to be determined by the Secretary
and may be terminated if the conditions that gave rise to the exclusion change. The
U.S. Department of Commerce will lead the appeal process in coordination with the
Department of Defense and other agencies as appropriate. Should exclusions be
granted the Secretary would consider at the time whether the quota or tariff for the
remaining products needs to be adjusted to increase U.S. steel capacity utilization to
a financially viable target of 80 percent.




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  THE EFFECT OF IMPORTS OF STEEL
    ON THE NATIONAL SECURITY




                   U.S. Department of Commerce
                  Bureau of Industry and Security
                  Office of Technology Evaluation




                       APPENDICES



                          January 11, 2018
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                              OFFICE OF THE UNDER SECRETARY OF DEFENSE
                                                3000 DEFENSE PENTAGON
                                               WASHINGTON, DC 20301-3000




 ACQUISITION,
TECHNOLOGY,
                                                                                           MAY 082017
AND LOGISTICS



      The Honorable Wilbur Ross
      Secretary of Commerce
      Washington, DC 20230

      Dear Mr. Secretary:

                I am writing to acknowledge receipt of your notification to initiate an investigation to

      determine the effects of imports of steel on national security pursuant to section 232 of the Trade

      Expansion Act of 1962, as amended.

                The Office of the Under Secretary of Defense for Acquisition, Technology, and Logistics

      will assist your department in this endeavor. My point of contact is Robert Read, Director,

      Industrial Assessments, Office of Manufacturing and Industrial Base Policy, at 571-571-6263 or

      robert.m.read6.civ@mail.mil.


                                                          Sincerely,




                                                            hn G. McGinn, Ph.D.
                                                          Acting Deputy Assistant Secretary Qf Defense
                                                          Manufacturing and Industrial Basegolicy
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      cc:                                                                                     ,,'
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      Mr. Brad Botwin                                                                         C
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FOR IMMEDIATE RELEASE
Thursday, April 20, 2017

Office of Public Affairs

202-482-4883
publicaffairs@doc.gov

Today President Donald J. Trump signed a presidential memorandum calling on Secretary
Wilbur Ross to prioritize a Department of Commerce investigation initiated last night into the
effects of steel imports on US national security. The study will consider overcapacity, dumping,
illegal subsidies, and other factors, to determine whether steel imports threaten American
economic security and military preparedness.

“We are going to fight for American workers and American-made steel by conducting a
thorough investigation into steel imports,” said President Trump. “Thanks especially to Secretary
Wilbur Ross for helping lead this critical effort.”

After a thorough investigation, if any national security threats from steel imports are identified,
Secretary Ross will provide a report that includes recommendations for next steps. Under Section
232 of the Trade Expansion Act, the President has broad power to adjust imports—including
through the use of tariffs—if excessive foreign imports are found to be a threat to US national
security.

“We will conduct this investigation thoroughly and expeditiously so that, if necessary, we can
take actions to defend American national security, workers, and businesses against foreign
threats,” said Secretary Ross. “This investigation will help determine whether steel import issues
are making us less safe in a world that is increasingly fraught with geopolitical tensions.”

The United States is relatively unusual in that it has no tariffs on steel but has had to impose
antidumping or countervailing duties in over 150 cases, with 13 more currently pending.

Our military often needs specialty steel alloys that require unusual production skills and are used
for armor, vehicles, ships, aircraft, and infrastructure. As a result, a robust and healthy domestic
steel production industry may be deemed necessary to guarantee military supply chains in the
event of conflict.

While these defense concerns continue to loom, the US steel industry has struggled in recent
years. Industry employment has been declining, companies are highly leveraged, and businesses
remain both capital intensive and lacking strong cash flow. Imports now represent 26% of the
market and the US steel mills and foundries are operating at just 71% of capacity.

The investigation will include a formal request for public comment to be published in the Federal
Register, followed by a public hearing.

Please visit www.commerce.gov/steel for more information on this investigation.




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                                                                                                                       APPENDIX C - Page 1
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                                                  Agenda                                                     A limited number of seats will be                  interested in obtaining the public’s
                                                  I. Introductions                                        available during the public session of                views. It also sets forth the procedures
                                                  II. Committee Orientation                               the meeting. Reservations are not                     for public participation in the hearing.
                                                  III. Discussion on FY17 Civil Rights                    accepted. To the extent time permits,                 DATES: Comments may be submitted at
                                                        Project Ideas                                     members of the public may present oral                any time but must be received by May
                                                  IV. Public Comment                                      statements to the Committee. Written                  31, 2017.
                                                  V. Next Steps                                           statements may be submitted at any                      The hearing will be held on May 24,
                                                  VI. Adjournment                                         time before or after the meeting.                     2017 at the U.S. Department of
                                                    Dated: April 21, 2017.                                However, to facilitate distribution of                Commerce auditorium, 1401
                                                  David Mussatt,                                          public presentation materials to                      Constitution Avenue NW., Washington,
                                                  Supervisory Chief, Regional Programs Unit.              Committee members, the materials                      DC 20230. The hearing will begin at
                                                                                                          should be forwarded prior to the                      10:00 a.m. local time and conclude at
                                                  [FR Doc. 2017–08447 Filed 4–25–17; 8:45 am]
                                                                                                          meeting to Ms. Springer via email.                    1:00 p.m. local time.
                                                  BILLING CODE P
                                                                                                             The Assistant Secretary for
                                                                                                          Administration, with the concurrence of               ADDRESSES:
                                                                                                          the delegate of the General Counsel,                    Written comments: Send written
                                                  DEPARTMENT OF COMMERCE                                  formally determined on February 15,                   comments to Brad Botwin, Director,
                                                                                                          2017, pursuant to section 10(d) of the                Industrial Studies, Office of Technology
                                                  Bureau of Industry and Security                                                                               Evaluation, Bureau of Industry and
                                                                                                          Federal Advisory Committee Act, as
                                                                                                          amended (5 U.S.C. app. 2 sec. 10(d)),                 Security, U.S. Department of Commerce,
                                                  Materials Technical Advisory
                                                                                                          that the portion of the meeting dealing               1401 Constitution Avenue NW., Room
                                                  Committee; Notice of Partially Closed
                                                                                                          with pre-decisional changes to the                    1093, Washington, DC 20230 or by
                                                  Meeting
                                                                                                          Commerce Control List and the U.S.                    email to Steel232@bis.doc.gov.
                                                     The Materials Technical Advisory                     export control policies shall be exempt                 Public hearing: Send requests to speak
                                                  Committee will meet on May 11, 2017,                    from the provisions relating to public                and written summaries of the oral
                                                  10:00 a.m., Herbert C. Hoover Building,                 meetings found in 5 U.S.C. app. 2                     presentations to Brad Botwin, Director,
                                                  Room 3884, 14th Street between                          sections 10(a)(1) and 10(a)(3). The                   Industrial Studies, Office of Technology
                                                  Constitution & Pennsylvania Avenues                     remaining portions of the meeting will                Evaluation, Bureau of Industry and
                                                  NW., Washington, DC. The Committee                      be open to the public.                                Security, U.S. Department of Commerce,
                                                  advises the Office of the Assistant                        For more information, call Yvette                  Room 1093, 1401 Constitution Avenue
                                                  Secretary for Export Administration                     Springer at (202) 482–2813.                           NW., Washington, DC 20230 or by email
                                                  with respect to technical questions that                                                                      to Steel232@bis.doc.gov, by May 17,
                                                  affect the level of export controls                     Yvette Springer,
                                                                                                                                                                2017. Any person, whether presenting
                                                  applicable to materials and related                     Committee Liaison Officer.                            or not, may submit a written statement
                                                  technology.                                             [FR Doc. 2017–08387 Filed 4–25–17; 8:45 am]           through May 31, 2017—7 days after the
                                                  Agenda
                                                                                                          BILLING CODE 3510–JT–P                                hearing date.
                                                                                                                                                                FOR FURTHER INFORMATION CONTACT: Brad
                                                  Open Session                                                                                                  Botwin, Director, Industrial Studies,
                                                                                                          DEPARTMENT OF COMMERCE
                                                    1. Presentation: Twist Bioscience on                                                                        Office of Technology Evaluation, Bureau
                                                  Twist’s experience with export controls.                Bureau of Industry and Security                       of Industry and Security, U.S.
                                                    2. Presentation: Export Enforcement                                                                         Department of Commerce (202) 482–
                                                  Coordination Center (E2C2) and                          Notice Request for Public Comments                    4060, brad.botwin@bis.doc.gov. For
                                                  discussion on the FBI film ‘‘Made in                    and Public Hearing on Section 232                     more information about the section 232
                                                  America: Defending Our Technology.’’                    National Security Investigation of                    program, including the regulations and
                                                    3. A draft proposal to move a green                   Imports of Steel                                      the text of previous investigations, see
                                                  technology report forward, engaging the                                                                       www.bis.doc.gov/232.
                                                  Office of Technology and Evaluation                     AGENCY: Bureau of Industry and
                                                                                                          Security, Office of Technology                        SUPPLEMENTARY INFORMATION:
                                                  and the Renewable Energy and Energy
                                                  Efficiency Advisory Committee on the                    Evaluation, U.S. Department of                        Background
                                                  possibility of collaboration.                           Commerce.
                                                    4. Open session report by regime                      ACTION: Notice of request for public                     On April 19, 2017, the Secretary of
                                                  representatives.                                        comments and public hearing.                          Commerce (‘‘Secretary’’) initiated an
                                                    5. Report by working groups                                                                                 investigation under section 232 of the
                                                  (composite, pumps and valves, bio,                      SUMMARY: The Secretary of Commerce                    Trade Expansion Act of 1962, as
                                                  public domain, chemicals).                              initiated an investigation to determine               amended (19 U.S.C. 1862), to determine
                                                    6. Public Comments/New Business/                      the effects on the national security of               the effects on the national security of
                                                  Closed session.                                         imports of steel. This investigation has              imports of steel. On April 20, 2017, the
                                                                                                          been initiated under section 232 of the               President signed a memorandum
                                                  Closed Session                                          Trade Expansion Act of 1962, as                       directing the Secretary to proceed
                                                     7. Discussion of matters determined to               amended. Interested parties are invited               expeditiously in conducting his
                                                  be exempt from the provisions relating                  to submit written comments, data,                     investigation and submit a report on his
                                                  to public meetings found in 5 U.S.C.                    analyses, or other information pertinent              findings to the President. The President
mstockstill on DSK30JT082PROD with NOTICES




                                                  app. 2 sections 10(a)(1) and 10(a)(3).                  to the investigation to the Department of             further directed that if the Secretary
                                                     The open session will be accessible                  Commerce’s Bureau of Industry and                     finds that steel is being imported into
                                                  via teleconference to 20 participants on                Security. The Department of Commerce                  the United States in such quantities or
                                                  a first come, first serve basis. To join the            will also hold a public hearing on the                under such circumstances as to threaten
                                                  conference, submit inquiries to Ms.                     investigation on May 24, 2017 in                      to impair the national security, the
                                                  Yvette Springer at Yvette.Springer@                     Washington, DC. This notice identifies                Secretary shall recommend actions and
                                                  bis.doc.gov, no later than May 4, 2017.                 the issues on which the Department is                 steps that should be taken to adjust steel


                                             VerDate Sep<11>2014   18:43 Apr 25, 2017   Jkt 241001   PO 00000   Frm 00009   Fmt 4703   Sfmt 4703   E:\FR\FM\26APN1.SGM   26APN1
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                                                          Case 1:19-cv-00009-CRK-GSK-JAR Document 17                                                  Filed 04/01/19              Page 119 of 473
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                                                  imports so that they will not threaten to               hearing is separate from the request for              necessary to limit the number of persons
                                                  impair the national security.                           written comments.                                     making presentations, the written
                                                                                                             The Bureau of Industry and Security                request to participate in the public
                                                  Written Comments                                        does not maintain a separate public                   hearing should describe the individual’s
                                                     This investigation is being undertaken               inspection facility. Requesters should                interest in the hearing and, where
                                                  in accordance with part 705 of the                      first view the Bureau’s Web page, which               appropriate, explain why the individual
                                                  National Security Industrial Base                       can be found at https://                              is a proper representative of a group or
                                                  Regulations (15 CFR parts 700 to 709)                   efoia.bis.doc.gov/ (see ‘‘Electronic                  class of persons that has such an
                                                  (‘‘NSIBR’’). Interested parties are invited             FOIA’’ heading). If requesters cannot                 interest. If all interested parties cannot
                                                  to submit written comments, data,                       access the Web site, they may call 202–               be accommodated at the hearing, the
                                                  analyses, or information pertinent to                   482–0795 for assistance. The records                  summaries of the oral presentations will
                                                  this investigation to the Office of                     related to this assessment are made                   be used to allocate speaking time and to
                                                  Technology Evaluation, U.S.                             accessible in accordance with the                     ensure that a full range of comments is
                                                  Department of Commerce (‘‘the                           regulations published in part 4 of title              heard.
                                                  Department’’), no later than May 31,                    15 of the Code of Federal Regulations                    Each person selected to make a
                                                  2017.                                                   (15 CFR 4.1 et seq.).                                 presentation will be notified by the
                                                     The Department is particularly                                                                             Department of Commerce no later than
                                                  interested in comments and information                  Public Hearing
                                                                                                                                                                8:00 p.m. Eastern Daylight Time on
                                                  directed to the criteria listed in § 705.4                 Consistent with the interest of the                Friday, May 19, 2017. The Department
                                                  of the NSIBR as they affect national                    U.S. Department of Commerce in                        will arrange the presentation times for
                                                  security, including the following: (a)                  soliciting public comments on issues                  the speakers. Persons selected to be
                                                  Quantity of steel or other circumstances                affecting U.S. industry and national                  heard are requested to bring 20 copies
                                                  related to the importation of steel; (b)                security, the Department is holding a                 of their oral presentation and of all
                                                  Domestic production and productive                      public hearing as part of the                         exhibits to the hearing site on the day
                                                  capacity needed for steel to meet                       investigation. The hearing will assist the            of the hearing. All such material must
                                                  projected national defense                              Department in determining whether                     be of a size consistent with ease of
                                                  requirements; (c) Existing and                          imports of steel threaten to impair the               handling, transportation and filing.
                                                  anticipated availability of human                       national security and in recommending                 While large exhibits may be used during
                                                  resources, products, raw materials,                     remedies if such a threat is found to                 a hearing, copies of such exhibits in
                                                  production equipment, and facilities to                 exist. Public comments at the hearing                 reduced size must be provided to the
                                                  produce steel; (d) Growth requirements                  should address the criteria listed in                 panel. Written submissions by persons
                                                  of the steel industry to meet national                  § 705.4 of the NSIBR as they affect                   not selected to make presentations will
                                                  defense requirements and/or                             national security described above.                    be made part of the public record of the
                                                  requirements to assure such growth; (e)                    The hearing will be held on May 24,                proceeding. Any person, whether
                                                  The impact of foreign competition on                    2017 at the U.S. Department of                        presenting or not, may submit a written
                                                  the economic welfare of the steel                       Commerce auditorium, 1401                             statement through May 31, 2017—7
                                                  industry; (f) The displacement of any                   Constitution Avenue NW., Washington,                  days after the hearing date. Confidential
                                                  domestic steel causing substantial                      DC 20230. The hearing will begin at                   business information may not be
                                                  unemployment, decrease in the                           10:00 a.m. local time and conclude at                 submitted at a public hearing. In the
                                                  revenues of government, loss of                         1:00 p.m. local time.                                 event confidential business information
                                                  investment or specialized skills and                                                                          is submitted it will be handled
                                                  productive capacity, or other serious                   Procedure for Requesting Participation
                                                                                                                                                                according to the same procedures
                                                  effects; (g) The displacement of any                       The Department encourages interested               applicable to such information provided
                                                  domestic steel causing substantial                      public participants to present their                  in the course of an investigation. See 15
                                                  unemployment, decrease in the                           views orally at the hearing. Any person               CFR 705.6. The hearing will be
                                                  revenues of government, loss of                         wishing to make an oral presentation at               recorded.
                                                  investment or specialized skills and                    the hearing must submit a written                        Copies of the requests to participate in
                                                  productive capacity, or other serious                   request to the Department of Commerce                 the public hearing, and the transcript of
                                                  effects; (h) Relevant factors that are                  at the address indicated in the                       the hearing will be maintained on the
                                                  causing or will cause a weakening of our                ADDRESSES section of this notice. The                 Bureau of Industry and Security’s Web
                                                  national economy; and (i) Any other                     request to participate in the hearing                 page, which can be found at http://
                                                  relevant factors.                                       must be accompanied by a copy of a                    www.bis.doc.gov (see Freedom of
                                                     Material that is business confidential               summary of the oral presentation. The                 Information Act (FOIA) heading). If the
                                                  information will be exempted from                       written request and summary must be                   requesters cannot access the Web site,
                                                  public disclosure as provided for by                    received by the Department no later                   they may call (202) 482–0795 for
                                                  § 705.6 of the regulations. Anyone                      than Wednesday, May 17, 2017. In                      assistance. The records related to this
                                                  submitting business confidential                        addition, the request to speak should                 assessment are made accessible in
                                                  information should clearly identify the                 contain (1) the name and address of the               accordance with the regulations
                                                  business confidential portion of the                    person requesting to make a                           published in part 4 of title 15 of the
                                                  submission, then file a statement                       presentation; (2) a daytime phone                     Code of Federal Regulations (15 CFR 4.1
                                                  justifying nondisclosure and referring to               number where the person who would be                  et seq.).
                                                  the specific legal authority claimed, and               making the oral presentation may be
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                                                  provide a non-confidential submission                   contacted before the hearing; (3) the                 Conduct of the Hearing
                                                  which can be placed in the public file.                 organization or company they represent;                 The Department reserves the right to
                                                  Communications from agencies of the                     and (4) an email address.                             select the persons to be heard at the
                                                  United States Government will not be                       Please note that the submission of                 hearing, to schedule their respective
                                                  made available for public inspection.                   comments for presentation at the public               presentations, and to establish the
                                                  Please note that the submission of                      hearing is separate from the request for              procedures governing the conduct of the
                                                  comments for presentation at the public                 written comments. Since it may be                     hearing. Each speaker will be limited to


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                                                  10 minutes, and comments must be                        Federation (Russia)), Moses Song at                     normal value (NV) using constructed
                                                  directly related to the criteria listed in              (202) 482–5041 (South Africa), Chelsey                  value (CV).5
                                                  15 CFR 705.4 of the regulations.                        Simonovich at (202) 482–1979 (Spain),                     In accordance with section 732(b) of
                                                  Attendees will be seated on a first-come,               Ryan Mullen at (202) 482–5260 (the                      the Tariff Act of 1930, as amended (the
                                                  first-served basis.                                     Republic of Turkey (Turkey)), Julia                     Act), the petitioners allege that imports
                                                     A Department official will be                        Hancock at (202) 482–1394 (Ukraine),                    of wire rod from Belarus, Italy, Korea,
                                                  designated to preside at the hearing. The               Carrie Bethea at (202) 482–1491 (the                    Russia, South Africa, Spain, Turkey,
                                                  presiding officer shall determine all                   United Arab Emirates (UAE)), and Alice                  Ukraine, the UAE, and the United
                                                  procedural matters during the hearing.                  Maldonado at (202) 482–4682 (the                        Kingdom are being, or are likely to be,
                                                  Representatives from the Department,                    United Kingdom), AD/CVD Operations,                     sold in the United States at less than fair
                                                  and other U.S. Government agencies as                   Enforcement and Compliance, U.S.                        value within the meaning of section 731
                                                  appropriate, will make up the hearing                   Department of Commerce, 1401                            of the Act, and that such imports are
                                                  panel. This will be a fact-finding                      Constitution Avenue NW., Washington,                    materially injuring, or threatening
                                                  proceeding; it will not be a judicial or                DC 20230.                                               material injury to, an industry in the
                                                  evidentiary-type hearing. Only members                  SUPPLEMENTARY INFORMATION:                              United States. Also, consistent with
                                                  of the hearing panel may ask questions,                                                                         section 732(b)(1) of the Act, the
                                                                                               The Petitions
                                                  and there will be no cross-examination                                                                          Petitions are accompanied by
                                                  of persons presenting statements.               On March 28, 2017, the U.S.                                     information reasonably available to the
                                                  However, questions submitted to the          Department of Commerce (the                                        petitioners supporting their allegations.
                                                  presiding officer in writing may, at the     Department) received antidumping duty
                                                                                                                                                                    The Department finds that the
                                                  discretion of the presiding officer, be      (AD) petitions concerning imports of
                                                                                                                                                                  petitioners filed these Petitions on
                                                  posed to the presenter. No formal rules      carbon and alloy steel wire rod (wire
                                                                                                                                                                  behalf of the domestic industry because
                                                  of evidence will apply to the hearing.       rod) from Belarus, Italy, Korea, Russia,
                                                                                                                                                                  the petitioners are interested parties as
                                                     Any further procedural rules for the      South Africa, Spain, Turkey, Ukraine,
                                                                                               the UAE, and the United Kingdom, filed                             defined in section 771(9)(C) of the Act.
                                                  proper conduct of the hearing will be                                                                           The Department also finds that the
                                                  announced by the presiding officer.          in proper form on behalf of Charter
                                                                                               Steel, Gerdau Ameristeel US Inc.,                                  petitioners demonstrated sufficient
                                                  Special Accommodations                       Keystone Consolidated Industries, Inc.,                            industry support with respect to the
                                                                                               and Nucor Corporation (collectively, the                           initiation of the AD investigations that
                                                     This meeting is physically accessible                                                                        the petitioners are requesting.6
                                                  to people with disabilities. Requests for    petitioners).1 The AD petitions were
                                                  sign language interpretation or other        accompanied by countervailing duty                                 Periods of Investigation
                                                  auxiliary aids should be received by the (CVD) petitions on imports from Italy
                                                                                               and Turkey. The petitioners are                                      Because the Petitions were filed on
                                                  Department of Commerce no later than
                                                                                               domestic producers of wire rod.2                                   March 28, 2017, the period of
                                                  Thursday, May 11, 2017 at the address
                                                                                                  On March 31, 2017, and April 6, 2017,                           investigation (POI) for all investigations
                                                  indicated in the ADDRESSES section of
                                                                                               the Department requested additional                                except Belarus is January 1, 2016,
                                                  this notice.
                                                                                               information and clarification of certain                           through December 31, 2016. Because
                                                     Dated: April 21, 2017.                    areas of the Petitions.3 The petitioners                           Belarus is a non-market economy
                                                  Wilbur L. Ross,                              filed responses to these requests on                               country, the POI for that investigation is
                                                  Secretary of Commerce.                       April 4, 2017, and on April 7, 2017,                               July 1, 2016, through December 31,
                                                  [FR Doc. 2017–08499 Filed 4–24–17; 11:15 am] respectively.4 On April 5, the                                     2016.
                                                  BILLING CODE 3510–33–P                       petitioners filed a submission                                     Scope of the Investigations
                                                                                               demonstrating that, for certain
                                                                                               countries, the prices they obtained for                               The product covered by these
                                                  DEPARTMENT OF COMMERCE                       normal value were below the                                        investigations is wire rod from Belarus,
                                                                                               production costs. As a result, they                                Italy, Korea, Russia, South Africa,
                                                  International Trade Administration           compared export price (EP) or                                      Spain, Turkey, Ukraine, the UAE, and
                                                  [A–822–806, A–475–836, A–580–891, A–821– constructed export price (CEP) to                                      the United Kingdom. For a full
                                                  824, A–791–823, A–469–816, A–489–831, A–                                                                        description of the scope of these
                                                  823–816, A–520–808, A–412–826]                             1 See Letter to the Secretary of Commerce from       investigations, see the ‘‘Scope of the
                                                                                                          Petitioners ‘‘Carbon and Alloy Steel Wire Rod from      Investigations,’’ in Appendix I of this
                                                  Carbon and Alloy Steel Wire Rod From                    Belarus, Italy, the Republic of Korea, the Russian      notice.
                                                  Belarus, Italy, the Republic of Korea,                  Federation, South Africa, Spain, the Republic of
                                                                                                          Turkey, Ukraine, the United Arab Emirates, and          Comments on Scope of the
                                                  the Russian Federation, South Africa,                   United Kingdom—Petitions for the Imposition of
                                                  Spain, the Republic of Turkey, Ukraine,                 Antidumping and Countervailing Duties’’ (March
                                                                                                                                                                  Investigations
                                                  United Arab Emirates, and United                        28, 2017) (the Petitions).                                During our review of the Petitions, the
                                                                                                             2 See Volume I of the Petitions, at 2.
                                                  Kingdom: Initiation of Less-Than-Fair-                                                                          Department issued questions to, and
                                                                                                             3 See Country-specific letters to Petitioners from
                                                  Value Investigations                                                                                            received responses from, the petitioners
                                                                                                          the Department concerning supplemental questions
                                                  AGENCY: Enforcement and Compliance,                     on each of the country-specific records (March 31,      pertaining to the proposed scope to
                                                  International Trade Administration,
                                                                                                          2017); and Memorandum to the File ‘‘Phone Call          ensure that the scope language in the
                                                                                                          with Counsel to Petitioners’’ (April 10, 2017).         Petitions would be an accurate
                                                  Department of Commerce.                                    4 See Country-specific amendments to the
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                                                  DATES: Effective April 17, 2017.                        Petitions (first and second amendments for each
                                                                                                                                                                    5 See Country-specific amendments to the
                                                                                                          country); see also Letter to the Secretary of
                                                  FOR FURTHER INFORMATION CONTACT:                        Commerce from Petitioners ‘‘Carbon and Alloy            Petitions from the petitioners, ‘‘Re: Carbon and
                                                  Rebecca Janz at (202) 482–2972                          Steel Wire Rod from Belarus, Italy, the Republic of     Certain Alloy Steel Wire Rod from the Republic of
                                                  (Belarus), Tom Bellhouse at (202) 482–                  Korea, the Russian Federation, South Africa, Spain,     Korea, the Russian Federation, South Africa, and
                                                                                                          the Republic of Turkey, Ukraine, the United Arab        Ukraine—Existance of Below-Cost Sales’’ (April 5,
                                                  0257 (Italy), David Crespo at (202) 482–                Emirates, and United Kingdom—Petitioners’               2017).
                                                  3693 (Republic of Korea (Korea)), Terre                 Amendment to Volume I Relating to General                 6 See the ‘‘Determination of Industry Support for

                                                  Keaton at (202) 482–1280 (the Russian                   Issues’’ April 4, 2017 (General Issues Supplement).     the Petitions’’ section below.



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                                                  Members of the public are also                        April 26 notice specified that the                    recommending remedies, if such a
                                                entitled to submit written comments;                    Secretary of Commerce initiated an                    threat is found to exist.
                                                the comments must be received in the                    investigation to determine the effects on               The April 26 notice included the
                                                regional office within 30 days following                the national security of imports of steel.            following information: (a) Procedures
                                                the meeting. Written comments may be                    This investigation has been initiated                 for requesting participation in the
                                                mailed to the Midwestern Regional                       under section 232 of the Trade                        hearing, including procedures for
                                                Office, U.S. Commission on Civil Rights,                Expansion Act of 1962, as amended.                    submitting comments; (b) conduct of the
                                                55 W. Monroe St., Suite 410, Chicago,                   (See the April 26 notice for additional               hearing; and (c) special
                                                IL 60615. They may also be faxed to the                 details on the investigation and the                  accommodations for the hearing. (See
                                                Commission at (312) 353–8324, or                        request for public comments.)                         the April 26 notice for additional details
                                                emailed to Carolyn Allen at callen@                       The April 26 notice also announced                  on these aspects of the public hearing.)
                                                usccr.gov. Persons who desire                           that the Department of Commerce will                    Today’s notice provides additional
                                                additional information may contact the                  hold a public hearing on the                          details on the procedures for attending
                                                Midwestern Regional Office at (312)                     investigation on May 24, 2017 in                      the hearing and for viewing the hearing,
                                                353–8311.                                               Washington, DC. Today’s notice                        via webcast.
                                                  Records generated from this meeting                   provides additional details on the
                                                may be inspected and reproduced at the                  procedures for attending the hearing                  Procedure for Attending the Hearing, or
                                                Midwestern Regional Office, as they                     and for viewing the hearing, via                      Viewing the Hearing Via Webcast
                                                become available, both before and after                 webcast.                                                Registration: Individuals and entities
                                                the meeting. Records of the meeting will                DATES: The hearing will be held on May                who wish to attend the public hearing
                                                be available via www.facadatabase.gov                   24, 2017 at the U.S. Department of                    are required to pre-register for the
                                                under the Commission on Civil Rights,                   Commerce auditorium, 1401                             meeting on-line at www.bis.doc.gov/
                                                Louisiana Advisory Committee link                       Constitution Avenue NW., Washington,                  232SteelHearing (preferred) or by
                                                (https://database.faca.gov/committee/                   DC 20230. The hearing will begin at                   emailing Steel232@bis.doc.gov. Anyone
                                                committee.aspx?cid=251&aid=17).                         10:00 a.m. local time and conclude at                 wishing to attend this public hearing
                                                Persons interested in the work of this                  1:00 p.m. local time.                                 must register by 5:00 p.m. (EST),
                                                Committee are directed to the                           FOR FURTHER INFORMATION CONTACT: Brad                 Tuesday, May 23, 2017.
                                                Commission’s Web site, http://                          Botwin, Director, Industrial Studies,                   Webcast: The public hearing will be
                                                www.usccr.gov, or may contact the                       Office of Technology Evaluation, Bureau               available live via webcast. Please visit:
                                                Midwestern Regional Office at the above                 of Industry and Security, U.S.                        www.bis.doc.gov/232SteelHearing.
                                                email or street address.                                Department of Commerce (202) 482–                       Visitor Access Requirement: For
                                                Agenda                                                  4060, brad.botwin@bis.doc.gov. For                    participants attending in person, please
                                                                                                        more information about the section 232                note that federal agencies can only
                                                Welcome and Roll Call                                                                                         accept a state-issued driver’s license or
                                                Orientation                                             program, including the regulations and
                                                                                                        the text of previous investigations, see              identification card for access to federal
                                                Civil Rights Topics in Louisiana
                                                Next Steps                                              www.bis.doc.gov/232.                                  facilities if such license or identification
                                                Public Comment                                          SUPPLEMENTARY INFORMATION:                            card is issued by a state that is
                                                Adjournment                                                                                                   compliant with the REAL ID Act of 2005
                                                                                                        Background                                            (Pub. L. 109–13), or by a state that has
                                                  Dated: May 18, 2017.                                                                                        an extension for REAL ID compliance.
                                                                                                           On April 26, 2017 (82 FR 19205), the
                                                David Mussatt,                                                                                                The main entrance of the Department of
                                                                                                        Bureau of Industry and Security (BIS)
                                                Supervisory Chief, Regional Programs Unit.              published the Notice Request for Public               Commerce is on 14th Street NW.
                                                [FR Doc. 2017–10530 Filed 5–22–17; 8:45 am]             Comments and Public Hearing on                        between Pennsylvania Avenue and
                                                BILLING CODE P                                          Section 232 National Security                         Constitution Avenue, across from the
                                                                                                        Investigation of Imports of Steel. The                Ronald Reagan Building. Upon entering
                                                                                                        April 26 notice specified that on April               the building, please go through security
                                                DEPARTMENT OF COMMERCE                                  19, 2017, the Secretary of Commerce                   and check in at the guard’s desk. BIS
                                                                                                        (‘‘Secretary’’) initiated an investigation            staff will meet and escort visitors to the
                                                Bureau of Industry and Security                         under section 232 of the Trade                        auditorium.
                                                                                                        Expansion Act of 1962, as amended (19                   Non U.S. Citizens Please Note: All
                                                Notice on Procedures for Attending or                   U.S.C. 1862), to determine the effects on             foreign national visitors who do not
                                                Viewing Remotely the Public Hearing                     the national security of imports of steel.            have permanent resident status and who
                                                on Section 232 National Security                        (See the April 26 notice for additional               wish to register for the above meeting
                                                Investigation of Imports of Steel                       details on the investigation and the                  must fax a copy of their passport to
                                                AGENCY: Bureau of Industry and                          request for public comments.)                         (202) 482–5361. Please also bring a copy
                                                Security, Office of Technology                             The April 26 notice also announced                 of your passport on the day of the
                                                Evaluation, U.S. Department of                          that the Department of Commerce will                  hearing to serve as identification.
                                                Commerce.                                               hold a public hearing on the                          Failure to provide this information prior
                                                ACTION: Notice on procedures for                        investigation. The hearing will be held               to arrival will result, at a minimum, in
                                                attending or viewing remotely the                       on May 24, 2017 at the U.S. Department                significant delays in entering the
                                                                                                        of Commerce auditorium, 1401                          facility. Authority to gather this
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                                                public hearing.
                                                                                                        Constitution Avenue NW., Washington,                  information is derived from United
                                                SUMMARY: On April 26, 2017, the Bureau                  DC 20230. The hearing will begin at                   States Department of Commerce
                                                of Industry and Security (BIS),                         10:00 a.m. local time and conclude at                 Department Administrative Order
                                                published the Notice Request for Public                 1:00 p.m. local time. The hearing will                (DAO) number 207–12. Please visit
                                                Comments and Public Hearing on                          assist the Department in determining                  www.bis.doc.gov/232SteelHearing to
                                                Section 232 National Security                           whether imports of steel threaten to                  register and for more details regarding
                                                Investigation of Imports of Steel. The                  impair the national security and in                   this requirement.


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                                                  Dated: May 17, 2017.                                  with section 751(a)(1)(B) of the Tariff               during the POR.3 Accordingly, no
                                                Matthew S. Borman,                                      Act of 1930, as amended (the Act).                    decision memorandum accompanies
                                                Deputy Assistant Secretary for Export                                                                         this Federal Register notice. For further
                                                                                                        Scope of the Order
                                                Administration.                                                                                               details of the issues addressed in this
                                                [FR Doc. 2017–10444 Filed 5–22–17; 8:45 am]                The merchandise subject to this                    proceeding, see the Preliminary
                                                BILLING CODE 3510–33–P                                  antidumping duty order is polyethylene                Results.4
                                                                                                        retail carrier bags (PRCBs), which also               Assessment Rates
                                                                                                        may be referred to as t-shirt sacks,
                                                DEPARTMENT OF COMMERCE                                  merchandise bags, grocery bags, or                       The Department determined, and U.S.
                                                                                                                                                              Customs and Border Protection (CBP)
                                                                                                        checkout bags. The subject merchandise
                                                International Trade Administration                                                                            shall assess, antidumping duties on all
                                                                                                        is defined as non-sealable sacks and
                                                                                                                                                              appropriate entries of subject
                                                                                                        bags with handles (including
                                                [A–557–813]                                                                                                   merchandise, where applicable, in
                                                                                                        drawstrings), without zippers or integral
                                                                                                                                                              accordance with section 751(a)(2)(C) of
                                                                                                        extruded closures, with or without
                                                Polyethylene Retail Carrier Bags From                                                                         the Act and 19 CFR 351.212(b). For
                                                                                                        gussets, with or without printing, of
                                                Malaysia: Final Results of Antidumping                                                                        entries of subject merchandise during
                                                                                                        polyethylene film having a thickness no
                                                Duty Administrative Review; 2015–                                                                             the POR for which SME did not know
                                                                                                        greater than 0.035 inch (0.889 mm) and
                                                2016                                                                                                          its merchandise was destined for the
                                                                                                        no less than 0.00035 inch (0.00889 mm),
                                                                                                                                                              United States, we will instruct CBP to
                                                AGENCY: Enforcement and Compliance,                     and with no length or width shorter                   liquidate un-reviewed entries at the all-
                                                International Trade Administration,                     than 6 inches (15.24 cm) or longer than               others rate if there is no rate for the
                                                Department of Commerce.                                 40 inches (101.6 cm). The depth of the                intermediate company involved in the
                                                                                                        bag may be shorter than 6 inches (15.24               transaction.5 The Department intends to
                                                SUMMARY: On April 6, 2017, the
                                                                                                        cm) but not longer than 40 inches (101.6              issue assessment instructions to CBP 15
                                                Department of Commerce (Department)                     cm).
                                                published in the Federal Register the                                                                         days after the date of publication of the
                                                preliminary results of the administrative                  PRCBs are typically provided without               final results of this review.
                                                review of the antidumping duty order                    any consumer packaging and free of
                                                                                                        charge by retail establishments, e.g.,                Cash Deposit Requirements
                                                on polyethylene retail carrier bags from
                                                Malaysia covering the period August 1,                  grocery, drug, convenience, department,                  The following cash deposit
                                                2015 through July 31, 2016. The review                  specialty retail, discount stores, and                requirements will be effective for all
                                                                                                        restaurants to their customers to                     shipments of subject merchandise
                                                covers one producer/exporter of subject
                                                                                                        package and carry their purchased                     entered, or withdrawn from warehouse,
                                                merchandise, Euro SME Sdn Bhd (Euro
                                                                                                        products. The scope of this antidumping               for consumption on or after the
                                                SME). The Department preliminarily
                                                                                                        duty order excludes (1) PRCBs that are                publication date of this notice of final
                                                found that Euro SME did not have
                                                                                                        not printed with logos or store names                 results of the administrative review, as
                                                reviewable entries during the period of
                                                                                                        and that are closeable with drawstrings               provided by section 751(a)(2)(C) of the
                                                review (POR). The Department gave
                                                                                                        made of polyethylene film and (2)                     Act: (1) For Euro SME, which claimed
                                                interested parties an opportunity to
                                                                                                        PRCBs that are packed in consumer                     no shipments, the cash deposit rate will
                                                comment on the Preliminary Results,
                                                                                                        packaging with printing that refers to                remain unchanged from the rate
                                                but we received no comments. Hence,
                                                                                                        specific end-uses other than packaging                assigned to Euro SME in the most
                                                the final results are unchanged from the                                                                      recently completed review of the
                                                Preliminary Results, and we continue to                 and carrying merchandise from retail
                                                                                                        establishments, e.g., garbage bags, lawn              company; (2) for previously investigated
                                                find that Euro SME did not have                                                                               or reviewed companies not listed above,
                                                reviewable entries during the POR.                      bags, trash-can liners.
                                                                                                                                                              the cash deposit rate will continue to be
                                                DATES: Effective May 23, 2017.                             Imports of merchandise included                    the company-specific rate published for
                                                                                                        within the scope of this antidumping                  the most recent period; (3) if the
                                                FOR FURTHER INFORMATION CONTACT: Alex
                                                                                                        duty order are currently classifiable                 exporter is a firm not covered in this
                                                Rosen or Brendan Quinn, AD/CVD                          under statistical category 3923.21.0085
                                                Operations, Office III, Enforcement and                                                                       review, a prior review, or the less-than-
                                                                                                        of the Harmonized Tariff Schedule of                  fair-value investigation, but the
                                                Compliance, International Trade                         the United States (HTSUS). This
                                                Administration, U.S. Department of                                                                            manufacturer is, the cash deposit rate
                                                                                                        subheading may also cover products                    will be the rate established for the most
                                                Commerce, 1401 Constitution Avenue                      that are outside the scope of this
                                                NW., Washington, DC 20230; telephone:                                                                         recent period for the manufacturer of
                                                                                                        antidumping duty order. Although the                  the merchandise; and (4) the cash
                                                (202) 482–7814 or (202) 482–5848,                       HTSUS subheading is provided for
                                                respectively.                                                                                                 deposit rate for all other manufacturers
                                                                                                        convenience and customs purposes, the                 or exporters is 2.40 percent. These cash
                                                SUPPLEMENTARY INFORMATION:                              written description of the scope of this              deposit requirements, when imposed,
                                                                                                        antidumping duty order is dispositive.                shall remain in effect until further
                                                Background
                                                                                                        Final Determination of No Shipments                   notice.
                                                  On April 6, 2017, the Department
                                                published the Preliminary Results.1 We                     As noted above, the Department                     Notification to Importers
                                                invited interested parties to comment on                received no comments from interested                    This notice serves as a final reminder
                                                the Preliminary Results,2 but received                  parties concerning the Preliminary                    to importers of their responsibility
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                                                no comments. The Department                             Results on the record of this segment of              under 19 CFR 351.402(f)(2) to file a
                                                conducted this review in accordance                     the proceeding. As there are no changes               certificate regarding the reimbursement
                                                                                                        from, or comments on, the Preliminary
                                                                                                                                                                3 See   Preliminary Results, 82 FR at 16792–93.
                                                  1 See Polyethylene Retail Carrier Bags From
                                                                                                        Results, the Department finds that there
                                                Malaysia: Preliminary Results of Antidumping Duty       is no reason to modify its analysis.
                                                                                                                                                                4 Id.

                                                Administrative Review; 2015–2016, 82 FR 16792                                                                   5 See Antidumping and Countervailing Duty
                                                (April 6, 2017) (Preliminary Results).                  Thus, we continue to find that Euro                   Proceedings: Assessment of Antidumping Duties, 68
                                                  2 Id., 82 FR at 16793.                                SME had no reviewable transactions                    FR 23954 (May 6, 2003).



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Public Hearing Witnesses

1. U.S. Congresswoman Marcy Kaptur (Ohio)
2. David Rintoul, President U.S. Steel Tubular Products, United States Steel Corporation
3. John Ferriola, CEO/President, Nucor Corporation
4. Roger Newport, CEO, AK Steel Corporation
5. John Brett, CEO/President, ArcelorMittal USA
6. Barbara Smith, COO/President, Commercial Metals Company
7. Thomas Gibson, CEO/President, American Iron and Steel Institute
8. Ward Timken, CEO/President, Timken Steel Corporation
9. Barry Zekelman, CEO/Chairman, Zekelman Industries
10. Dennis M. Oates, Chairman, Specialty Steel Industry of North America
11. Terrence Hartford, Vice President, ATI Defense
12. Lourenco Goncalves, CEO/President, Cliffs Natural Resources Inc.
13. John Adams, President, Guardian Six LLC
14. John Phelps Stupp, CEO/President, Stupp Bros., Inc.
15. Ryan Chadwick, Vice President/General Counsel, Ipsco Tubulars, Inc. (TMK IPSCO)
16. Gu Yu, First Secretary, People's Republic of China, Ministry of Commerce
17. Alexander Zhmykhov, Deputy Head of Economic Section, Trade Representation of the
    Russian Federation in the USA
18. Karl Tachelet, Director of International Affairs, Eurofer
19. Vitalii Tarasiuk, Minister-Counsellor, Embassy of Ukraine
20. Tim Johns, Vice President of Manufacturing, Nippon Steel AND Sumikin Cold Heading
    Wire Indiana
21. Byeong Bae Lee, President, Hyundai Steel America
22. Gary Horlick, International Trade Counsel, American Institute for International Steel
23. Robert Budway, President, Can Manufacturers Institute
24. Tracey Norberg, Senior VP and General Counsel, Rubber Manufacturers Association
25. Suzi Agar, President, Air Distribution Institute (ADI)
26. John Cross, Steelscape LLC
27. Jim Tennant, CEO, Ohio Coatings Company
28. Leo Gerard, International President, United Steelworkers
29. David Zalesne, Vice Chairman, American Institute of Steel Construction (AISC) AND
    President, Owen Steel Company
30. Philip Bell, President, Steel Manufacturers Association
31. Bill Geary, Chairman, Cold Finished Steel Bar Institute
32. Ed Vore, Chairman/President, The Committee on Pipe and Tube Imports
33. Raymond Monroe, Executive Vice President, Steel Founders' Society of America
34. Mark Millett, President/CEO, Steel Dynamics
35. Alexander Maass, President, Maass Flange Corporation
36. Robert Landry, Vice President, Port of New Orleans
37. Joel Johnson, CEO, Borusan Mannesmann Pipe U.S. (BMP)
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            Commerce Dept. Hearing on National Security
                 Investigation on Steel imports

             Testimony as prepared for Congresswoman
                    Marcy Kaptur, May 24, 2017



          Today, rising and unprecedented global
          overcapacity and unfair trade practices threaten
          the viability of our United States steel industry.
          Coupled with declining domestic prices, which
          are exacerbated by currency manipulation – we
          sit here today faced with a national steel crisis
          like few times ever before.



          And who bears this burden? It is the working
          families in my region of the country—Ohio,
          Indiana, Michigan, Wisconsin, and Pennsylvania.



          For years, many of us who have fought unfair
          trade deals have seen our neighbors brought to
          their knees. For years, we were promised
          protections to stabilize local economies and open
          global markets.
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          For years, we have stood alongside the hard
          working men and women who built this country
          with their hands, only for their jobs to move
          elsewhere with little regard or afterthought.



          We have seen swift declines in the industrial
          Midwest decimate communities – leaving vacant
          factories and homes and hearts in the wake.



          For far too long, our working families have waited
          simply for the opportunity to compete and for
          fair treatment, only to be met with empty
          promises and pink slips.



          Last month, I wrote the Administration with
          Senators Rob Portman and Sherrod Brown, on
          behalf of the more than 700 idled U.S. Steel
          workers and their families in Lorain, Ohio. They
          were just notified that in less than two weeks,
          they will permanently lose their jobs.
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          Lorain is a town that once employed 12,000 hard
          working men and women in the steel industry.
          Yet it has witnessed hundreds more of the
          remaining steel jobs disappear in the last two
          years. For many decades, Lorain was one of
          America's premier steel towns. Its dear people
          and have been battered by the continuing job
          washout in steel due to unfair trade practices and
          closed markets abroad, particularly China, Russia,
          Vietnam, Korea.



          Take for example Thomas Kelling who is one of
          the many thousands of steelworkers to lose their
          jobs due to unfair trade practices and
          overproduction on the other side of the globe.



          Tom, like many of our steelworkers, began
          working in the mill at a young age. Where he had
          the opportunity to provide for his wife and three
          kids - his oldest, who is now looking at colleges,
          took a job to help support their family.



          After 22 years, and facing yet another lay off and
          unemployment, Tom was forced to reinvent
          himself and fight for his job and family.
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          While Mr. Kelling pursues every opportunity
          available, he and his colleagues are offered little
          retraining to find replacement work. This forces
          many to move their families out of Ohio. Sadly,
          Mr. Kelling's story is not unique. There are
          millions of Americans across this great land who
          can tell of the exact same tale.



          Not only has this harmed workers and their
          families, but entire communities suffer as small
          businesses lose customers and local governments
          lose revenue.



          It is my understanding that according to Section
          232 the Department of Commerce has 270 days
          to complete an investigation. I urge this
          Administration to work as quickly as possible.
          Many workers and businesses do not have that
          long.



          The time for action is now. And enforcing current
          rules is only the first step in correcting more than
          two decades of injustice.
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                                  Testimony of David J. Rintoul

                               President – U. S. Steel Tubular
                                            and
              Senior Vice President – Tubular – United States Steel Corporation

           For the Hearing on Section 232 National Security Investigation on Steel

                                            May 24, 2017



Good morning, and thank you for the opportunity to elaborate on the national security

consequences that significantly exacerbate the harm we suffer when the U.S. fails to act against

steel products imported in violation of U.S. law.



My name is David Rintoul. I am a proud 10-year veteran of U. S. Steel and a nearly 40-year

veteran of the steel industry. It is no small matter that I speak about today – I hope you will agree

that, in fact, it’s quite a big deal, not only for one of the nation’s foundational companies, but

also for the United States as a whole.



For more than a century, the iconic United States Steel Corporation, born during America’s

industrial ascendancy, represented the unique ingenuity, competitiveness, and boundless

aspirations of our country. As one of the leading pioneers of the American Century, U. S. Steel

literally helped to lay the foundation of our great cities, build the tools and transportation


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infrastructure that unified the continent, and heeded the call to arms when, as a nation at war, we

stood against the forces of those who would forever change our way of life.



Through it all, we helped to lead the defense of America – at home and abroad. We understood

our company and industry to be more than just businesses – we treasured our role as Americans.



For most of this time, the threats to our security were readily identifiable and the requirements of

our response were equally clear. Not so today. In 2017, the threats to America’s national defense

have multiplied and now present themselves in fundamentally different forms. We still need

tanks on the battlefield and airpower to control the skies, but now we also need to guard against

asymmetrical risks such as those we see, for example, in cyberspace.



And, make no mistake, we – U. S. Steel and other U.S. corporations – see these threats

ourselves: we have been the direct victim of trade secret thefts accomplished through

sophisticated hacking into our internal computer systems. The indirect victims, of course, are the

American people and the military that protects them and counts on us to provide better, stronger,

more effective steel products than those possessed by others.



Just as the global supply chain has created an infrastructure that is regularly beneficial for

consumer products from cars to smart phones to t-shirts, it is at the same time pernicious when it

prevents us as a nation from being able to domestically source and produce the materials needed

to ensure our energy independence and defense – whether on the battlefield, or in the superiority

of our energy supply, or the safeguarding of our vital corporate and government secrets.
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One aspect of our defense infrastructure that is dangerously threadbare involves our country’s

reliance on imported steel products known as oil country tubular goods (OCTG). A family of

products that makes it possible for energy companies to explore for, retrieve, and bring to market

the oil and gas America needs to guard its security through a reliable and dependable supply of

domestically-produced energy.



Today, imports make-up approximately 50 percent of the OCTG market. Driven by Chinese

manufacturers over the last several years and now overtaken by state of the art plants in South

Korea, foreign suppliers have made it their mission to steal this market from U.S. companies,

well aware of the danger such a loss of domestic capacity would pose to America’s national

security.



So, you might ask, how did we get here and how bad is it? Sadly, the answer is three-fold.



First, the governments in South Korea, China, and elsewhere have deemed dominance in this

market a matter of their national security. To accomplish this goal, they’ve plainly subsidized

their domestic industries, provided as much regulatory and other support as needed, and worked

steadily to undermine U.S. efforts.



And, for the record, the domestic market for OCTG goods in South Korea is non-existent and in

China is minimal, at best.




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Second, the result of this behavior by these countries in large swaths across America has been

predicable and painful in human terms and has left us with a long-term deficit when it comes to

this key manufacturing capability. In the tubular business at U. S. Steel alone, this unfair

competition has resulted in the closure of 50 percent of our mills since 2014 – and forced us to

lay off far too many of our friends and colleagues as a result.



In just the last few years, we have been forced to abandon more than 40 percent of the OCTG

products we previously made, as the tsunami of imports have driven down prices to levels where

it is impossible for us, and others who operate within the traditional rules and boundaries, to

successfully maintain our market presence.



And the harm is agonizingly real. In 2014, we had more than 3,000 people working as part of our

team focused on tubular products and production. At its low point six months ago, that number

had shrunk to 950 – a cut of more than two thirds. Even today as the energy market has begun a

modest turnaround, we’ve only been able to engage a total of 1,300 people on this business.



In the last two years alone, U. S. Steel’s tubular business has suffered severe financial losses.

Adding to this pain is the fact that these losses occurred while imports from South Korea,

Mexico, and Russia continued to cross our borders – including those from some competitors who

claim to be American but closed their American plants to bring pipe in from their foreign

operations.




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Moreover, the unfair trade attacks from government-subsidized foreign competitors undermines

our ability to have the resources necessary to sufficiently invest in the research and development

that is the life’s blood of a business that relies on continual innovation. We need our government

to stand by us and the rule of law – if it will not, we will all face the prospect of surrender in a

fight that was anything but fair.



Which brings me to point three. As a nation, we need to understand that the traditional remedies

used in trade-related matters, from increased import duties to more rigorous enforcement, simply

wither in the face of the audacity of these foreign companies and their government sponsors.

While these foreign companies and governments operate under the guise of competition and

fairness, their actions are driven by a no-holds barred, ruthless focus on winning control over the

markets that Americans need to defend the nation against near- and long-term threats.



And, to be candid, our traditional remedies are no longer the deterrent – much less the

punishment – that they once were. Despite the implementation of trade margins on certain

OCTG products, certain countries simply thumb their nose at these remedies, and see our country

as the answer to ensure their stability by continuing to export their unemployment to this

country. As a consequence, we need new, more effective tools to level the playing field,

especially when it comes to such direct threats to American national security.



Putting a stop to this foreign government-enabled encroachment into America’s critical energy

independence infrastructure is no less a matter of the nation’s security than is building new

generations of ships and aircraft and strengthening our cyber defenses. They are all crucial.



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Simply put, if we as a nation are hostage to other parts of the world for the development of key

pieces of our energy sector, then we can never lay claim to true energy independence – which

puts us at a tremendous, macro-level risk.



As 21st century security threats have multiplied, changed their shape, and their attack vectors –

so too must our vision of the most effective response. Today, protecting our homeland’s borders

is just as important as ensuring that we have the materials, tools, and political will to match these

expanded challenges with an equally broad definition of a threat to our collective national

security. At U. S. Steel, the only large, integrated American company that manufactures OCTG

goods, we proudly embrace our role as one of the nation’s core industries while at the same time

bringing a clear-eyed view of the market in the U.S. and globally as fundamentally distorted as

the result of large volumes of competing products driven by foreign government subsidies and

other unfair practices.



In conclusion, let me add that the challenges we face extend far beyond a single industry or

issue. As I mentioned earlier, the tubular products we produce are but a small subset of all that

U. S. Steel does. The trends that I have outlined with respect to OCTG have been replicated

many times over across all of our businesses. From the automotive sector to a broad range of

industrial production to the mining and consumer products arenas to tin products, the global

assault on U.S. steelmakers has been acute and left our entire industry wounded.



The plants we build and the blast furnaces that operate across the country don’t work like a light

switch. You can’t turn them off one day and then simply hit “on” and they are back in business.



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American companies have always thrived when the playing field is level and the rules are clear.

Honest competition is at the heart of our democracy and we look forward to a time in the near

future when that norm, once again, governs the marketplace.



Thank you again for the opportunity to share our views on the need to clarify what we on the

front lines of manufacturing know is the most effective approach to protecting America’s

national security.




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             Section 232 National Security Investigation of Steel Imports
                             Testimony of John Ferriola
              Chairman, CEO & President of Nucor Corporation
                                    May 24, 2017

      Good morning. I am John Ferriola, Chairman, CEO, and President of Nucor

Corporation. On behalf of Nucor and our nearly 24,000 teammates, I would like to

thank you for the opportunity to appear before you today. We welcome this

investigation as a means of addressing the unprecedented crisis facing the U.S. steel

industry, caused primarily by massive global overcapacity and historic import levels.

This crisis must be resolved if we are to continue supplying steel for U.S. national

defense and critical infrastructure applications.

      As the largest steel producer and recycler in the United States, Nucor is proud

to supply our armed forces with a wide variety of mission-critical steel products to

keep our soldiers and our nation safe. For example, Nucor bar products are used in

Humvee suspensions and track forgings for the Abrams tank and Bradley Fighting

Vehicle. Our structural steel goes into the Patriot missile system, and our armor

plate protects soldiers and sailors in armored vehicles, aircraft carriers, and

destroyers. In addition, Nucor steel supports critical transportation and energy

infrastructure that is vital to our entire economy.

      We agree with President Trump that “core industries such as steel . . . are

critical elements of our manufacturing and defense industrial bases.” That is why

Nucor has invested significantly to become a reliable supplier of these products.
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Playing a role in our nation’s defense requires a long-term financial commitment.

For example, Nucor is one of only two steel companies in the U.S. certified to

produce Navy-grade armor plate for aircraft carriers, destroyers, and submarines.

Entering this market required purchasing specialized equipment, hiring

knowledgeable personnel, developing advanced chemistries and processes, and

undertaking rigorous testing and certification procedures to meet Navy requirements.

This is the type of continual investment that is needed to satisfy the rapidly evolving

needs of our armed forces.

      Unfortunately, global overcapacity and unfairly traded imports threaten our

ability to invest. Production overcapacity in the steel industry has reached crisis

levels. There is more than 700 million metric tons of global steel overcapacity, more

than half of which is located in China. In fact, China’s state-supported steel industry

now exports more steel than is produced by all three NAFTA countries combined.

China is at the heart of the crisis, but governments in countries like Korea, Brazil,

Russia and Turkey also do their part to drive excess steel capacity.                These

governments continue to flood the world with artificially cheap steel, and much of

it finds its way to the United States, where markets are open and the government

doesn’t keep mills in business for political reasons.
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      A sustained surge of low-priced imports has eroded the U.S. steel industry.

Over the last decade, shipments have fallen by approximately 20%, and nearly

20,000 workers have lost their jobs. In 2015, the industry operated at a $1.7 billion

net loss, and despite improving demand in 2016, American mills only operated

around 70% of their total capacity. U.S. steelmakers can barely maintain what they

have, let alone continue to invest in developing new products. This threatens the

industry’s ability to supply the advanced steel products that our military relies on.

      Steel used in national defense applications may be a relatively small share of

our overall sales, but those products are made at the same facilities and by the same

workers who make other products. A commercially healthy industry is vital to

ensure a stable supply of products for national security and critical infrastructure

applications. This includes the entire production chain beginning at the melting

stage and continuing through finishing and fabrication. In a time of national crisis,

the U.S. cannot afford to rely on imported steel slabs from foreign suppliers like

China or Russia. National security begins with primary steelmaking.

      Broad-based action is the only way to target all imports and also address the

root cause of the current crisis – chronic overcapacity in countries that do not operate

on a market basis.
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      In closing, we urge you to find that steel imports threaten our national security,

and to take broad action that will ensure the long-term viability of our nation’s steel

industry.

      Thank you.
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                                 Testimony of Roger K. Newport
                                      Chief Executive Officer
                                      AK Steel Corporation


       Thank you Secretary Ross. My name is Roger Newport, and I am the CEO of AK Steel

Corporation. I want to thank you for the opportunity to testify on behalf of AK Steel and our

8,500 U.S.-based employees.

       AK Steel welcomes the Department of Commerce’s Section 232 investigation of the

serious threat posed by imported steel to our national security. For decades, the steel industry

has battled global overcapacity and the oversupply of U.S. imports, many of them dumped and

subsidized. Just since the beginning of 2015, over 14,000 steel workers have been laid off and

numerous production facilities have been idled, including AK Steel’s blast furnace and

steelmaking operations in Ashland, Kentucky. Unfortunately, unfairly traded imports remain a

severe threat to the long-term viability of the domestic steel industry.

       AK Steel is the only company in the United States that produces a combination of flat-

rolled carbon steel, stainless steel, and electrical steel products. While I can certainly speak to

the adverse impact of imports on each of these types of steel, I would like to focus my remarks

today on electrical steel. AK Steel is the sole domestic producer of grain-oriented electrical

steel, or GOES, which is used in cores and core assemblies for the production of electrical

transformers. Transformers are a key component of our nation’s electricity grid, from the large

step-up transformers that transmit power across the entire grid, to the smaller pole- and pad-

mounted transformers that deliver power to individual homes and businesses. AK Steel is also

the sole domestic producer of high-end non-oriented electrical steel, or NOES, products. NOES




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is also critical for the electrical grid, as it forms the heart of massive generators that actually

create electrical energy.

        About 2,000 highly-skilled workers melt and finish electrical steel products at our Butler

Works facility in Pennsylvania and finish electrical steel at our Zanesville Works facility in

Ohio. AK Steel also conducts extensive electrical steel research and development at our state-of-

the-art Research and Innovation Center in Middletown, Ohio.

        While we strongly believe that electrical steel plays a crucial role in our national security,

so do many others. Pursuant to policy directives issued by both President Obama and President

George W. Bush, the Department of Energy has identified electricity transmission systems as

infrastructure that is critical to our national security and that requires urgent attention. The

government has identified equipment failure and aging infrastructure in the U.S. as threats to our

national security. Because virtually all households and businesses rely on electricity, the security

and long-term viability of U.S. electrical infrastructure is a critical, national imperative.

        A secure, reliable supply of electrical steel is necessary to maintain the electrical grid.

Major blackouts, such as the one in San Francisco last month that shut down the financial center

of the city, demonstrate that the lack of reliable electrical grid infrastructure is a major threat to

our national economy. Major blackouts may occur as a result of grid obsolescence, severe

weather events like Hurricane Katrina or Superstorm Sandy, or cyber, terrorist or other attacks

on our electrical infrastructure. A secure, domestic source of electrical steel is more important

than ever before. Fortunately, AK Steel has sufficient production capacity to meet current and

future estimated demand within the United States.

        Due to competition from dumped and subsidized imports, the only other U.S. producer of

GOES, Allegheny Technologies, shuttered a plant and discontinued GOES production in 2016.



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High-end electrical steel is an incredibly difficult product to manufacture, as it requires a

significant amount of dedicated, capital equipment and a sophisticated, well-trained workforce.

Therefore, if AK Steel were to exit the market, there would be no operational electrical steel

manufacturing equipment in the United States, the specialized labor and related expertise in

operations would be lost, and many of AK Steel’s talented operators and researchers would

either re-locate to other businesses, industries and/or foreign countries, or become unemployed.

        AK Steel strongly supports Presidential action to stem the surge of imported electrical

steel. We are, however, very concerned that importers will simply side-step the relief that covers

steel by using foreign electrical steel to build cores and transformers abroad, then import those

cores and transformers into the United States. Therefore, to effectively address the vital national

security interests of the United States and to protect the domestic electrical grid for the long-run,

the Department of Commerce must include imported cores and transformers in any relief that

covers imports of electrical steel. Without addressing this supply chain issue, any remedy on

electrical steel will be easily circumvented. Keeping imports of electrical steel, cores, and

transformers at a reasonable level would balance the interests of protecting our national security

with allowing a reasonable level of imports to meet the ongoing needs of buyers of these

materials. Complete reliance on imports for these critical products, however, would ultimately

lead to dependency on foreign sources for the materials needed to maintain and modernize the

electrical grid.

        Thank you again for the opportunity to testify. I would be pleased to answer your

questions.

                                               [END]




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                              TESTIMONY OF JOHN BRETT

               Hearing on Section 232 National Security Investigation
                                   May 24, 2017


       Good morning. I am John Brett, President and CEO of ArcelorMittal USA. Thank

you for holding this hearing today on the impact of steel imports on national security. Our

country’s defense and industrial base depends on a strong and sustainable domestic

steel industry to supply our military and critical infrastructure needs.

       Mr. Secretary, our company has a long and rich history of supporting our nation’s

defense capabilities. We are also a major supplier to the U.S. energy industry which plays

a key role in moving the United States toward energy independence. Today I would like

to speak to the relationship between supplying our military customers and our broader

commercial business, our efforts to meet the demands of our energy customers, and our

view of the fundamental challenge facing U.S. and global steel producers.

       Serving the needs of our nation’s military has been a long-time, multi-generational

priority of ArcelorMittal USA and our predecessor companies; in particular, Lukens Steel

Company and Bethlehem Steel Corporation. Today this tradition continues as

ArcelorMittal USA supports our nation’s men and women in uniform by supplying steel for

a variety of military applications on land and at sea. Providing steel to the U.S. military,

whether the Navy, Army, Marine Corps, Coast Guard or Air Force, is a tremendous source

of pride for our company and our employees.

       We are currently the largest supplier of armor steel plate for the United States

Armed Forces. Our armor products find application in many fighting vehicles used by the

Army and Marine Corps, including the Abrams M1 main battle tank, the Bradley fighting
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vehicle, M88 recovery vehicles, the Stryker family of fighting vehicles, various MRAP

(Mine Resistant Ambush Protected) vehicles and the up-armored Humvee.

       The shipbuilding industry has also been one of the long-term staples of

ArcelorMittal’s business. We supply steel for a variety of United States Navy vessels,

including aircraft carriers, submarines, destroyers and other ships. The Navy’s most

recent force structure assessment concludes that addressing current and future threats

to U.S. national security will require a larger fleet of 350-360 ships, which would entail an

increase in naval shipbuilding over the coming years. The Navy, the shipbuilders and their

suppliers, including ArcelorMittal, are working together to ensure that the industrial supply

base can accommodate an accelerated shipbuilding schedule.

       Preserving the domestic steelmaking and finishing capacity to provide the highly

specialized steel for U.S. defense purposes is without a doubt a national security issue.

However, the steel tonnage directly used for defense applications is quite small compared

to that of the broader commercial market for steel products. As large a supplier as

ArcelorMittal USA is to the U.S. military, our sales into defense applications represent

only 1 percent of our total production, and less than 5 percent of our steel plate production.

       In other words, defense-related sales of steel alone are not the determining factor

in whether a steel mill is successful and sustainable. Instead, the commercial viability of

a steel operation is imperative for retention of that operation’s ability to serve the defense

needs of the nation both in times of peace and war.

       As the Department knows, ArcelorMittal USA has joined with other U.S. producers

to bring a number of trade remedy cases in response to a flood of unfairly traded imports

from China and other countries in recent years. Our operations which produce steel for
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military applications were not immune from the negative impact of these imports. Along

with other U.S. plate producers, we petitioned this Department and the International Trade

Commission for relief from unfairly traded imports of cut-to-length plate from 12 countries,

including China, after these imports increased by over 100 percent between 2013 and

2015. The ITC found that, as a result, the U.S. plate industry’s operating income had

dropped 75% over those three years.

       Here’s what the import surge meant for ArcelorMittal USA – we saw our steel plate

sales drop by a third in one year. By 2015, our plate operations were running at only 55%

of their capacity. Our plate prices fell to the lowest levels we had seen in more than ten

years. When we are forced to price at levels that do not cover our costs, then we also

are not generating the capital required to reinvest in our operations. And if we cannot

reinvest, we cannot remain on the cutting edge of new technology for the future, for our

commercial business or for our military business. In other words, the impact of the imports

is felt throughout our business, commercial and military.

       Staying on the cutting edge of new technology is equally important for our energy

customers. ArcelorMittal USA produces a full range of steel grades for the energy

transmission and distribution markets, including for the production of large diameter line

pipe. We’ve been a leader in developing wide API X-70 steel for U.S. pipeline projects.

We are committed to serving U.S. customers who need this advanced product and have

invested significantly in the production of both plate and hot-rolled steel for our line pipe

customers. Those investments include accelerated cooling, surface quality control, slab

processing and software for process control and statistical analysis to support our X-70

and other CTL plate production capabilities. But our ability to serve these markets is
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threatened when competition from low-priced, unfair imports precludes us from building

a sustainable business.

      The plate case is just one example of the impact that imports have had on our

business. It has been a similar story on hot-rolled, cold-rolled, and corrosion-resistant

steel. U.S. imports of flat rolled steel products increased 69 percent between 2013 and

2014. The impact on our business was devastating.

      Mr. Secretary, we very much appreciate the attention this Administration has

devoted to the state of the U.S. steel industry since it took office in January. It was my

honor to stand in the Oval Office when the President announced the initiation of this

Section 232 investigation. Nonetheless, the United States must address the problem of

global excess steelmaking capacity or every other action you, or we, take won't matter.

      This Department knows the numbers well – Chinese government industrial and

trade policies have driven Chinese steel production from 128 million metric tons in 2000

to over 808 million metric tons last year. In 2016, China exported 108 million metric tons.

Those exports have had direct negative effects on U.S. steel producers. They also have

an indirect impact when they displace steel in other countries whose producers then ship

to the U.S. market. And we have seen an increase in imports of downstream products

made from cheap Chinese steel.

      It is easy, and correct, to point to China as the main culprit. But it is not just China.

We face challenges from countries as diverse as Korea, Russia, Turkey, and others.

      The result – we sell less steel, receive less money for the steel we do sell, and

employ fewer workers. Over the long term, this situation is not sustainable for U.S.
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producers who operate without the kind of government support provided to the Chinese

steel industry.

       Mr. Secretary, we welcome this investigation because we need solutions to the

unfair import problem at the U.S. border. The antidumping and countervailing duty orders

have certainly been helpful but are being circumvented.

       But as you consider additional actions, please remember that we also need to find

a solution to the excess steel capacity that is impacting global markets. We need

governments throughout the steelmaking world to come together to make clear to China

that they need to reduce their excess capacity in steel making – the way a market-based

economy would – rather than exporting it. An objective of any actions should be to

increase global pressure on China to change the policies that led to the creation of non-

economic steel capacity and to discourage other governments from adopting similar

policies.   Those policies have distorted global trade flows and harmed our national

security.

       Thank you.
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                          TESTIMONY OF BARBARA SMITH

INVESTIGATION OF THE IMPACT OF STEEL IMPORTS ON THE NATIONAL SECURITY
                         OF THE UNITED STATES

                                    MAY 24, 2017

         Good morning. My name is Barbara Smith. I am the President and Chief

Operating Officer of Commercial Metals Company, a steel producer headquartered

in Irving, Texas. I appreciate the opportunity to appear before you to discuss why

high levels of imported steel threaten the national security of the United States.

         Commercial Metals Company is vertically integrated. We are active in all

aspects of the steel industry, from buying and selling scrap through steel

production to distribution. The scope of CMC’s global operations gives us a unique

perspective on the U.S. steel industry, and the forces affecting it.

         CMC is also one of the world’s most technologically advanced and efficient

steel producers. We have pioneered micromill technology, which enables us to

produce rebar in the most efficient and lowest cost manner possible. I would like to

stress the fact that the American steel industry is as modern and competitive as any

in the world. Our industry can provide the United States with nearly all the steel

products a modern industrial economy needs. However, steel imports are seriously

damaging our ability to produce the steel products the United States requires for




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national defense, critical infrastructure, and our general economic strength. If this

trend is not reversed, the consequences will be serious.

         As you have already heard, steel is essential to the national security of the

United States. The product CMC makes that is most obviously vital to our national

security is advanced armor plate, which is produced by one of our subsidiaries,

CMC Impact Metals. CMC Impact Metals makes three different grades of military

armor plate. These are used in a variety of applications, including tanks, mine

resistant ambush protected vehicles – MRAPS – and other military vehicles. In

fact, during the MRAP build-up in the early 2000s, we were the first new armor

plate supplier approved by the Defense Department in over two decades. The lives

of our soldiers literally depend upon this product. Among other projects for the

Defense Department, CMC was proud to supply the rebar used to repair the

Pentagon after the 9/11 terrorist attacks.

         In addition to armor plate for the military, CMC produces a variety of

specialized bar, rounds, angles, and shapes where high strength and abrasion

resistance are critical. These products are used by the transportation, energy,

construction, and mining sectors. Of course, these critical infrastructure sectors are

vital to our national security as well.

         Production of armor plate and these other specialized products requires

sophisticated equipment and, just as significantly, skill in steelmaking. To be able

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to make these products, CMC has invested millions of dollars in equipment,

technology and training.

         However, CMC’s most critical role in national security is our role as a major

producer of rebar, a product of major importance to this nation’s infrastructure.

National Security depends upon Economic Security. Economic Security depends

upon a broad-based vibrant and self-sufficient economy. Our economy depends

upon a world class system of infrastructure, connecting and supporting all

economic activity here at home and abroad.

         CMC’s main product, rebar, is an essential product for national security as

this product is used to support every aspect of our critical infrastructure. This

includes the roads, bridges, airports, power transmission lines, and all the other

facilities that we use every day, mostly without ever thinking about them. There is

a reason the official name of the interstate highway system is the National System

of Interstate and Defense Highways. To build and maintain this infrastructure, you

need rebar. God forbid that we are attacked again on our own soil, without the

capability to produce the necessary products like rebar to restore our country.

         Unfortunately, many of the world’s major producers, including Turkey,

China, Taiwan, Japan, and Mexico, make far more rebar than they need for the sole

purpose of export to other countries. These exporters have taken full advantage of

the open U.S. market, as rebar imports increased by nearly 50 percent from 2014 to

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2016. The U.S. International Trade Commission calculates that, before the recent

trade cases, rebar imports held a market share of more than 20 percent.

             One of the factors the Commerce Department considers in investigations

like this is the reliability of import supply. Rebar imports are generally sold by

opportunistic traders who have no loyalty to the U.S. market. It seems very

dangerous to me to depend on imports from questionable sources of a product so

essential to our national security and economic prosperity as rebar.

         These growing imports have had a significant effect on CMC’s profitability,

employment, and our ability to innovate and invest. To fund innovation and

investment, we have to generate a return on investments that satisfies our

shareholders. Imports have made it increasingly difficult to do that. In response to

the flood of imports over the past several years, CMC has been forced to close 30

U.S. locations since 2008, leading to a reduction in our workforce of 4,000 jobs.

Each job in the steel industry supports another seven jobs in upstream and

downstream industries, and we are painfully aware of the effect these reductions

have had on local communities across the United States.

         Imports have also adversely affected our ability to make the new

investments we need to remain competitive. CMC invested millions in our

technologically advanced micromill in Mesa, Arizona and in building the most

modern rebar mill in the world in Durant, Oklahoma. The technology in these mills

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reduces energy and material usage in steel production to even lower levels, and we

thought that these investments would increase our competitiveness significantly. In

fact, we were planning to commission a whole series of micromills, which would

have created thousands of high-paying jobs across the United States.

Unfortunately, competition from imports has been so fierce that we have been

forced to put our expansion plans on hold. The situation has gotten so bad that the

returns on a number of our investments aren’t even covering our cost of capital.

Our story is repeated throughout the domestic steel industry.

             Allowing our steel industry to shrink further will endanger our national

security. If CMC cannot continue to invest, it won’t be able to produce either the

armor plate we need for Army vehicles and other military applications, the

specialized plate and bar products required by the transportation, energy,

construction, and mining sectors, or the rebar needed for every kind of

infrastructure application. The United States is nearing the point where we will be

depending on other countries for the steel products that are essential to our national

security. I believe we all can agree that this is a very dangerous proposition. I urge

you to conclude that steel imports threaten the national security of the United

States, and to recommend to the President that he take prompt and comprehensive

action to address this crisis.

         Thank you.

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                              Testimony of Thomas J. Gibson
                                    President and CEO
                             American Iron and Steel Institute

         For the Hearing on Section 232 National Security Investigation on Steel

                                        May 24, 2017


       Good morning, I am Tom Gibson, President and CEO of the American Iron and

Steel Institute. AISI represents both integrated and electric furnace steelmakers

accounting for approximately 70 percent of U.S. steelmaking capacity, with facilities in

41 states. I appreciate the opportunity to testify at this hearing today.



       A strong and viable domestic steel industry is critical to America’s national

defense, national economic security and homeland security. Virtually every military

platform is dependent on U.S- produced steels and specialty metals, in applications

ranging from aircraft carriers and nuclear submarines to Patriot and Stinger missiles,

armor plate for tanks and field artillery pieces, as well as every major military aircraft in

production today. These critical applications require consistent, high quality domestic

supply sources.



       Steel’s importance to national security must also be looked at in a broader

context to include both direct and indirect steel shipments to the military infrastructure

that are needed to support our defense efforts, both at home and overseas -- e.g., all of

the steel that goes into the rails, rail cars, ground vehicles, support ships, military
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barracks, fences and bases, which are not classified as shipments to ordinance, aircraft,

shipbuilding or other military uses.



       On a broader scale, steel is also essential to our nation’s critical infrastructure, in

terms of transportation, public health and safety, and energy, to name a few key areas.

Our military and our broader economy depend on transportation infrastructure like

roads, bridges, railroads, transit systems and airports, all of which are built with steel

products such as rebar, plate, sheet and fabricated structural members. Public health

and safety require reliable and efficient water and sewage systems that are built with

steel components, including tubular goods, tanks and culverts.



       In addition, steel is critical to our energy security and infrastructure. Our

nation’s security depends on a reliable domestic energy supply and the domestic steel

and products made from steel that are necessary to develop and transport the energy.

Oil country tubular goods are essential to oil and gas production, and steel linepipe is

needed to move these energy supplies to market. A typical refinery contains miles of

specialty pipe, large sophisticated boilers and process pressure vessels, thousands of

custom made valves and fittings -- all made from steel designed expressly for critical

applications.



       Electric power generation is another critical national security need served by

steel. Grain-oriented electrical steels (GOES) are a principal raw material for power and
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distribution transformers, which are critical to the nation’s electrical grid and our

national security. Non-oriented electrical steels (NOES) are an important raw material

for use in critical infrastructure, including for large cores in electrical power generators

and industrial applications, such as for oil drilling and oil and gas pipelines. Steel is

also present in the structures and in the boilers, pressure vessels and pipe that is needed

to produce and deliver the steam or water to the generators. Transmission towers, made

entirely of steel, carry high voltage electric wires and provide support for our nation’s

microwave, cellular and other communications equipment.



       The U.S. steel industry’s ability to supply our defense establishment and our

nation’s critical infrastructure needs depends on the steel industry’s continued ability to

compete in its commercial markets and maintain a domestic manufacturing presence.

Repeated surges in imports of dumped and subsidized steel products from numerous

countries in recent years have injured the U.S. industry and threaten further injury,

putting our national security very much at risk.



       Finished steel imports took a record 29 percent of the U.S. market in 2015, while

domestic steel shipments declined by 12 percent, and capacity utilization averaged just

70 percent for the year. While total steel imports declined by 15 percent in 2016 as a

result of a number of trade cases brought by the domestic industry against dumped and

subsidized imports, foreign import market share still remained historically high at 25.4

percent for the year. And imports in 2017 are once again on the rise – with total imports
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up 19 percent in the first three months of the year compared to the same period in 2016,

and finished steel imports are now taking 26 percent of the market.



       These high levels of imports in recent years have been a critical factor forcing

several steel companies to temporarily close major steel-making facilities. Employment

in the steel industry declined by 14,000 jobs from January 2015 to December 2016, before

seeing a slight recovery in the first part of this year.



       Foreign government interventionist policies in the steel sector have fueled

massive, and growing, global overcapacity in steel, which the OECD has estimated to

be more than 700 million metric tons. We estimate that more than half of that

overcapacity – 425 million metric tons – is located in China, where government market-

distorting policies have produced a dramatic increase in the size of the Chinese steel

industry, to the point that today it represents about half of all global steel production.



       As a direct result of Chinese government policy direction and subsidies, Chinese

crude steel production soared from 128 million metric tons in 2000 to 823 million metric

tons in 2014, before declining slightly to 808 million MT in 2016. In the first three

months of 2017, however, Chinese crude steel production is once again up 4.6 percent

compared to the first quarter of 2016.
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       After many years of growth, Chinese steel demand appears to have peaked in

2013. The World Steel Association has reported that Chinese steel consumption

declined by 3.3 percent in 2014 and by 5.4 percent in 2015, before increasing slightly by

1.3 percent in 2016. Furthermore, the demand situation in China is expected to worsen

over the coming decade. The POSCO Research Institute forecasts that steel demand in

China will decrease steadily until 2025, due to the slowdown in the Chinese

construction and manufacturing industries.



       With China’s domestic steel demand declining, the Chinese steel industry has

increasingly relied on exports to consume its surplus steel production. China exported

a record 94 million metric tons of steel products in 2014, an increase of 52 percent from

2013. That trend accelerated in 2015 with Chinese steel exports rising to 112 million

metric tons, an amount big enough to meet all steel demand in Germany and Japan for

a year and leave almost 9 million metric tons to spare. In 2016, Chinese steel exports,

while down slightly from 2015, continued at historically high levels in excess of 108

million metric tons.



       This massive increase in Chinese exports to the world has resulted both in

increased imports of Chinese steel into the United States and in increased imports from

third countries that have themselves received increased Chinese steel imports. In the

case of direct steel exports to the United States, due to the imposition of trade relief by
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the Commerce Department in several antidumping and countervailing duty cases over

the past few years, Chinese direct shipments have declined since 2014.



      But while direct steel imports from China may be down, the high level of

Chinese exports to the world continue to put pressure on the global steel market, and

lead to increased imports from many third countries. Chinese exports to third countries

are being further processed into downstream steel products that are then exported to

the United States. For example, Chinese billets are being further processed in Turkey

into long products which are then exported to the United States, while Chinese flat-

rolled steel is being converted into pipe products in Korea which are then, according to

Commerce Department determinations, being dumped into the U.S. market. In

addition, Chinese cold-rolled and corrosion-resistant steel is being shipped to Vietnam

for minor further processing before being exported to the United States is a blatant

effort to circumvent AD and CVD orders on these products. As a result, the U.S.

industry continues to suffer from the injurious impact of Chinese overproduction of

steel that is exported to world markets.



      In addition, the Chinese model of government intervention in the steel industry

is being emulated in other countries as well, perpetuating the growing overcapacity

problem. Vietnam and India, for example, both have explicit government plans to

support the expansion of their steel industries and to increase their exports while
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restricting imports. As these plans are implemented, further injury will be suffered in

the United States from dumped steel products.



      As one of the most open markets in the world, the United States is often the

target of dumping by steel producers from countries around the world. In many cases,

these foreign producers are also subsidized by their governments.



      To date, the U.S. steel industry has relied on our trade laws to seek to address the

impact of unfairly traded steel imports in our market. While the antidumping and

countervailing duty laws have provided some relief, because the resulting orders are

necessarily country and product specific, they leave openings for steel products not

subject to orders to continue to surge into our market.



      Accordingly, AISI recommends that the Administration use the current section

232 investigation to fashion a more comprehensive and broad-based program of action

to safeguard America’s national security.



      Among the goals of this program should be to increase pressure on China and

other countries around the globe to reduce steelmaking capacity.



      Thank you for the opportunity to testify today. I would be happy to answer any

questions.
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  Ward Timken, Timken Steel Corporation


  Department of Commerce
  Section 232 National Security Investigation of Imports of Steel



  I’d like to thank Secretary Ross and the public officials here
  today for the opportunity to testify at this hearing.


  My great-grandfather H.H. Timken established steel production
  in Canton, Ohio in 1917. Generations of people built this
  company from a one-customer enterprise that made bearing
  steels / to a global company that creates high-performance
  steel for demanding applications in almost every market. As
  we celebrate our centennial this year, our 2,600 employees,
  like the generations before them, take pride in making the
  cleanest steel in the world.


  Our niche in the steel industry is special bar quality -- or SBQ --
  steel to serve customers across a wide variety of industries.
  Our customers share two things in common/
  First, their products endure a high degree of stress and operate
  in harsh conditions. They need consistently high-performing
  steel to be successful.
  And second: our customers are vital to the national security of
  the United States.
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   You find our steel in every kind of military equipment and
     military ordnance. !n example is the work we’ve done
     recently with the U.S. Air Force to improve the strength and
     toughness of its “bunker busting” bombs. We delivered
     higher-performing steel at a lower price, improving the
     effectiveness of weapons in eliminating their targets and
     limiting collateral damage, while also reducing the total
     cost to the American taxpayer. (pause)
     here’s a famous military quote that says “If you find
     yourself in a fair fight, you didn't plan your mission
     properly.” Well, one essential part of that planning is to
     ensure that the military has the best, most modern tools
     possible / and !merican companies like imkenteel are
     delivering the type of innovation that gives the men and
     women of the military an advantage in completing their
     missions and returning home safely.
   We also serve companies across a wide range of industries,
     many of which also have a vital role in preserving and
     enhancing national security. You’ll find our products:
         a mile under the Gulf of Mexico in an oil string;
         in millions of vehicle transmissions that move people
          and goods across the roadways of this country; and
         in the landing gear of tens of thousands of aircraft that
          touch down every day.
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         Our products are throughout energy, transportation
          and manufacturing and they enable customers to push
          the bounds of what’s possible in their products. Put
          simply, we like the tough stuff / the harder the better.
  Our ability to serve customers who preserve and enhance
  national security is dependent upon the domestic steel
  industry’s continued economic viability. The world has an
  overcapacity of steel and many foreign competitors export
  steel to our shores, depressing pricing and displacing our sales.


  We’re not afraid of fair competition. We have some of the best
  people and assets in the world. Our employees not only can
  compete, but they can out-innovate and out-work any in the
  world / and the work of our engineers sets the global standard
  for special bar quality steel.


  However, three numbers keep me up at night:
                              700 million
                              425 million
                              94 million
   The world has 700 million metric tons of steel overcapacity.
   425 million of that is in China alone.
   Demand in the U.S. is only 94 million.
  Imports are a real issue for the U.S. steel industry, particularly
  when foreign competitors don’t play by the rules.
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  !s a company, we’re using every competitive tool we have to
  combat imports. We ask that the Commerce Department
  evaluate the levers it can pull as well. There is no "one size fits
  all" remedy to this issue. With hundreds of steel products
  across multiple countries, the remedy must be flexible enough
  to address the complex nature of the global steel trade. We
  recommend accessing all of the tools in the remedy toolbox,
  including tariffs, quotas, VRAs and more / and in some
  instances, a combination of remedies may be necessary.


  We appreciate your leadership on this issue. All of us at
  TimkenSteel take great pride in our contribution to the
  security of this nation and share your belief that a strong steel
  industry is critical to our national interests. Thank you.
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                                  Testimony of Barry Zekelman
                         Executive Chairman and Chief Executive Officer
                                       Zekelman Industries

                                 Section 232 Investigation on Steel

                                           May 24, 2017


       Thank you very much Secretary Ross. My name is Barry Zekelman and I am the CEO

and Executive Chairman of Zekelman Industries. I appreciate the opportunity to appear here

today on behalf of my company and our employees. Zekelman is the largest pipe and tube

producer in North America. We produce over 2 million tons of tubes annually consuming almost

2.2 million tons of domestically produced steel. Our millions of miles of tubing provide the

thread that sews the security blanket that covers our great nation.

       Tubular products are critical to maintaining a strong defense and essential civilian sectors

of the U.S. economy, and is the backbone of our nation’s infrastructure. In 2008 we produced

125,000 tons of hollow steel structural tubing used for the border security fence, which protects

this country and its citizens from illegal border crossings and illicit drug trafficking. We produce

the fire suppression pipe that is routed through our buildings, schools, hospitals, power plants,

industrial plants, warehouses, and military bases. We produce the electrical conduit that provides

safe passage and routing to all of the wiring in all building we see, especially in our data centers,

mission critical military and space centers, power plants, and transportation systems. We make

the pipes that carry the water and waste throughout all of our buildings and civil infrastructure.

Our military bases, airports, transportation systems, and ports all rely on our pipes. We produce

the oil country tubular goods and line pipe that is vital to the exploration and extraction of oil and

gas that provide us with energy to run our economic and military machine. Our tube transports

fuel and gas to planes, trains and automobiles, to houses and buildings for heat, to fuel power


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generating turbines and to support solar panel and wind turbines to propel clean energy use. Our

structural tubing is used for the protective posts which you see throughout this city and many

others for vehicle barriers. It is used for buildings and agricultural equipment to farm our fields

and feed not only the U.S. population, but the rest of the world. Highway signage, guardrails,

bridges, electrical distribution towers, cell towers and rail cars are all made with our hollow steel

structurals. The foundation of One World Trade is set upon our pilings. Our drawn over mandrel

tubing is used for hydraulic cylinders that makes movement in all machinery possible, including

mining equipment, construction machinery, transportation, robots and automation. Ask any

military man if a hydraulic cylinder is critical to their success. There is not one piece of military

equipment that does not have a tube in it, from gun barrels to rocket launchers to helicopters and

naval ships, tanks, armored personnel carriers -- the list is infinite. Ask the people of Flint

Michigan if water pipes are vital to their security and survival!

       In sum, to ask if pipe and tube is vital to our national security is not the right question.

The question is really how our country could possibly be secure without it. Our economy and

our military would grind to a screeching halt without a vibrant domestic tube industry. We

employ tens of thousands of people, providing income levels far superior to the touted minimum

wage victories. In addition, our industry consumes over 20 million tons of the flat rolled steel

produced in the United States, the largest single category. So if we go out of business, the steel

producers are not far behind. Imports have decimated our industry, resulting in the closure of a

host of pipe and tube mills and throwing thousands out of work. In the first quarter of this year,

imports in all pipe and tube categories exceeded 60 percent of consumption, with some

categories reaching 70 percent and higher. It would be the epitome of folly to allow our nation

to continue to permit imports to grow, putting U.S. producers out of business, and making our


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country vulnerable due to its reliance on foreign producers in China, Korea, Vietnam, Turkey

and elsewhere.

       My company supports a strong response in the form of a combination of duties and

quotas. Trade remedy cases have not addressed the problem of unfairly traded imports and

massive foreign overcapacity. Third country dumping is rampant in our industry and a stronger

response is essential to ensure the ongoing viability of our industry. We have to break the cycle

of dependency on imported pipe and tube, and the only way to do that is by limiting imports to a

smaller share of the U.S. market. If we allow our domestic industry to disappear, we will only

have only ourselves to blame for placing our country in an extremely vulnerable position. We

have the best and most efficient steel producers in the world. We should make it here, and put

America first.




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               Statement of Dennis M. Oates
     Chairman, Specialty Steel Industry of North America
                          (SSINA)

       Chairman, President and Chief Executive Officer
          Universal Stainless & Alloy Products, Inc.

                      Public Hearing on
          Section 232 National Security Investigation
                  Regarding Imports of Steel

                            May 24, 2017
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       Good morning Mr. Secretary and members of the panel. I am Denny Oates, Chairman,

Specialty Steel Industry of North America (SSINA) and Chairman, President and Chief Executive

Officer, Universal Stainless & Alloy Products, Inc.

       SSINA is a Washington, DC-based trade association representing virtually all continental

specialty metals producers, which include high technology, high value stainless and other specialty

alloy products.

       SSINA membership includes virtually all North American manufacturers of stainless steel

and nickel based alloys, including superalloys. Other specialty metals such as titanium and

titanium alloys, zirconium and niobium alloys are also produced by SSINA member companies.

       There can be no doubt that the domestic specialty metals industry is critical to the national

defense. Attached to my testimony is a report entitled “Specialty Metals and the National

Defense,” which summarizes the contributions of the specialty metals industry to the national

defense. Also attached is a press release issued when the report was made public. The report

proves unequivocally that specialty metals are vitally important to virtually every U.S. military

platform. Without these specialty metals, the U.S. military and Homeland Security forces would

not have the ability to fight a war, defend our borders, and protect our citizens from terrorism. The

press release quotes then-Acting Deputy Under Secretary of Defense Gary A. Powell, who said,

“There is no question that specialty metals are critical to the national defense, and the U.S.

specialty metals industry is a very important supplier of these materials to various defense

contractors. And myriad defense programs would be negatively impacted by specialty metals

supply disruptions.” Furthermore, Department of Defense studies provide further evidence of the

critical importance of specialty metals to the national defense. A series of reports entitled,

“Defense Industrial Base Capabilities Studies” clearly show that applications which contain
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specialty metals are essential to meeting national defense requirements and are critical components

of technologies that focus on 21st century warfare.

       A key concern, however, is that the domestic specialty steel industry must be healthy and

profitable in order to supply the critical defense applications. Simply put, the survival of the

industry is dependent upon the core commodity products produced by our members. This includes

basic stainless steel in the form of sheet and strip, plate, bar, rod, ingot and billet. The specialty

steel industry cannot exist simply by producing materials for defense applications. While it is

difficult for the specialty metals industry to identify the percentage of our total production which

goes to specific defense applications because many of our sales go through service centers or

distributors before reaching end users, a reasonable estimate is 10 percent. If civilian applications

which play essential supporting roles for defense such as aircraft, highways, power plants, etc. are

considered the percentage is much larger, perhaps 50 percent. And let me be clear -- the specialty

steel industry could not abandon manufacturing in the United States and focus on technology

development.    It just does not work that way.         Technology development travels with the

manufacturing process.     Our steel mills are laboratories.      It would be naive to think that

manufacturing of these materials could be transferred abroad to countries like China while

technology development remained in the United States.

       Import competition has taken a serious toll on U.S. producers. In the 1970s there were

approximately twice as many specialty metals producers in the U.S. as today. We have battled

unfairly-traded imports for decades. We have filed and won many antidumping and countervailing

duty (subsidy) cases. The Commerce Department and the U.S. International Trade Commission

reached affirmative findings in an antidumping case last year against imports of stainless steel
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sheet and strip from China. We constantly monitor developments on other products to determine

whether additional trade cases should be filed.

       As you are well aware, there is tremendous overcapacity worldwide to make stainless steel.

China alone has excess production capacity equal to twice the size of the entire U.S. market. And

it remains to be seen whether China will cooperate with the rest of the world in the Global Steel

Forum simply to develop a database demonstrating current production capabilities. Global

overcapacity, endemic dumping and foreign government subsidies all pose direct threats to U.S.

producers and an associated threat to our ability to provide the critical materials essential to the

national defense. In conclusion, let me express our sincere appreciation for the efforts of this

Administration to recognize the threat to our national security and to undertake this investigation

to determine how to deal with this vital problem. Thank you.
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             Statement of Terrence L. Hartford
  Vice Chairman, Specialty Steel Industry of North America
                          (SSINA)

                  Vice President, ATI Defense
             Allegheny Technologies Incorporated


                      Public Hearing on
          Section 232 National Security Investigation
                  Regarding Imports of Steel

                            May 24, 2017
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       Good afternoon, Mr. Secretary, and members of the panel. I am Terry Hartford, Vice

Chairman, Specialty Steel Industry of North America (SSINA), and Vice President - Defense for

Allegheny Technologies Incorporated. ATI is a U.S.-based manufacturer of advanced specialty

materials, including nickel-based alloys, superalloys, titanium alloys, stainless steels and other

specialty materials, including zirconium, niobium and hafnium alloys. We’ve also made

significant investments in downstream capabilities to produce specialty components from these

materials. Many of these alloys have significant defense applications in our most advanced military

systems.

       ATI is one of the largest and most diverse specialty metals and components manufacturers

in the world. Our largest markets are in the aerospace and defense sectors, although we also have

a strong presence in the oil and gas, electrical energy, medical, automotive and other industrial and

commodity markets. Virtually every major military aerospace system contains an ATI specialty

steel or alloy.    Our materials are also utilized in the production of land-based vehicles; naval

systems; missiles and rockets; armor and munitions. The applications of these materials are wide-

reaching, and in many instances, these materials are sole-sourced and not substitutable. Let me

provide a few illustrative examples, beginning with the aerospace sector.

       1.         Our vacuum melted nickel alloy sheet, bar and finished forgings and our aerospace

quality titanium alloys provide the strength and thermal protection that enables our military jet

engines to operate at the highest temperatures with the necessary strength.        The Joint Strike

Fighter F-135 engines and the F-404 engines of the F/A-18-Hornetare aerospace platforms are

examples of programs that rely heavily on ATI specialty metals.
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       2.      Our premium quality titanium for dynamic rotor components and blades on many

military helicopters, including the Apache, Blackhawk and Chinook programs provide high

strength and light weight performance that is critical to the operation of these aircraft.

       3.      Our Precipitation Hardening stainless steel bars and finished forgings are used for

landing gears and other aircraft structural components of our military aircraft.

       Moving from aerospace into the realm of ground vehicles, our vacuum melted nickel alloy

sheets are used for recuperators on the M1-A2 Abrams tank engine, and our titanium alloys are

used to produce armor for the M1-A2 tank. Several years ago, ATI developed a new titanium

alloy for armor systems, and this new material is nearing final qualification from the US Army and

its prime contractors.

       On the sea, our nickel-based alloys are utilized in hull construction to increase the system

performance, durability and survivability of our naval vessels; while our special alloys for Navy

submarine and aircraft carriers’ nuclear propulsion systems ensure the corrosion resistance

necessary in high temperature and salt water environments. Similarly, our duplex stainless steel is

used for structural components on the Navy’s newest Zumwalt-class destroyer, providing cost

effective strength and corrosion resistance.

       This is a small sampling of the numerous applications served by ATI specialty steels and

specialty metals. Many of these applications involve the use of proprietary materials that we have

developed directly with the Departments of Navy, the Air Force and the Army. These metals are

high tech in nature and are in a constant state of advancement. They are not “off-the-shelf” items.

It is their superior performance, often under the most severe operating conditions, that enable our

defense systems to function at high levels of performance and to do so reliably.
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        ATI is committed to the defense market. We are investing heavily in the development of

new materials to navigate the transition to the next generation of advanced jet engines that will

power our commercial and military air fleets. These materials will help our engines operate at

higher temperatures to drive greater performance and improve fuel efficiency. Our efforts,

however, are not limited to mill products. We are a leader in the production of titanium-based and

nickel based alloy powders for use in next-generation jet engine forgings, as well as in the

production powder and wire for 3-D printed components.

        Mr. Secretary. We applaud the Administration’s willingness to study the relationship

between imports and national security in this investigation. To understand that relationship,

however, requires an understanding the operations of companies like ATI that are leaders in the

development of the specialty metals that will power our military into the future.

        ATI grew through investment, technology development and innovation into the diverse

specialty metals and components producer that it is today. A core business segment, however, is

stainless steel production. Like most U.S. specialty steel mills, the ability to sell stainless steels

into the commercial market requires us to be cost competitive to sustain our business. The

domestic specialty steel industry – including companies like ATI – cannot exist simply by

producing materials for leading edge defense applications. The production of materials for all

defense applications, represents, in our case, perhaps 10 percent of total production. The survival

of this industry, however, is dependent on the viability of all of its businesses, not just its defense-

related production. It is important to realize that the production equipment used to make materials

for defense applications is the same as the equipment used to produce materials like stainless steel

for large volume non-defense applications, including infrastructure projects.            Many of our

engineers and metallurgists are also the same. It is the efficiencies of these larger volume, non-
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defense related businesses that sustain the development and production of leading edge specialty

metals for defense applications. Thus, the economic welfare of our high volume stainless steel

operations directly impacts our ability to serve the needs of our military. For this reason, and

relevant to this investigation, I would like to address the current state of the stainless steel market

from the perspective of the stainless flat-rolled sector, which accounts for about two-thirds of U.S.

stainless production.

       For more than 40 years, the stainless steel flat-rolled market has been targeted by imports.

Nevertheless, the sector has persevered and invested billions in world class technologies to remain

globally competitive. We have also relied on the trade laws to respond to the challenges from

illegally traded imports. Most recently, ATI and the other stainless steel-flat-rolled producers were

forced to confront a Chinese state-owned juggernaut that increased its production of stainless steel

from 3.8 percent of global production in 2001 to 54.5 percent in 2016.

       China’s production capacity is nearly eight times the size of the U.S. market, and its excess

capacity alone is more than double the size of the entire U.S. market. These capacity imbalances,

not surprisingly, translate into an intent, through the use of aggressive pricing, to dominate and

potentially take over our market. Over the period 2013-2015, imports of stainless sheet and strip

products from China grew 133.1 percent from 63,114 to 147,143 tons. China’s share of the entire

U.S. stainless sheet and strip market doubled during that period. The recent import surge from

China, in fact, created market conditions that forced ATI to close our Midland Pennsylvania

facility in 2015, with the loss of hundreds of jobs. Through the use of the trade laws, we were able

over the period 2016-2017 to obtain antidumping and countervailing duty orders against China

that should restore temporarily some degree of fairness to the market place. The fundamental

structural problem of overcapacity, however, remains, and Chinese imports have been supplanted
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by imports from Taiwan and Vietnam, many of which originate from Chinese-produced upstream

material.

       ATI’s revenues come primarily from commercial markets, complemented by significant

positions in defense. ATI recently invested $1.2 billion to build the world’s most advanced hot-

rolling, and processing facility in Brackenridge Pennsylvania. We will be processing some of our

most sophisticated specialty alloys at that facility, many of which will be the foundation of our

future military platforms. The new mill, however, to operate profitably and efficiently needs to be

able to produce stainless steel in commercial volumes. This is true of many of our operations,

including our Forged Products business. If our commercial markets continue to be victimized by

unfair imports, we will not be able to operate our mills at a level of profitability and return on

investment that will permit us to invest in the research and development of the materials so critical

to our national defense. Many of these materials cannot be produced anywhere else. Indeed, this

is why the U.S. Department of Defense asked Congress in 1973 to impose a domestic sourcing

requirement on specialty metals. That requirement is a reason why companies in the specialty

steel industry, like ATI, have had the ability to develop the specialty alloys that power our military,

and why the U.S. leads the world in the technology development and production of these materials.

       A domestic sourcing requirement alone, however, will not preserve that US leadership

position, given the structural problems of excess capacity that plague the specialty steel industry.

This investigation must recognize the inextricable linkage between our national defense needs and

the ability of our specialty metals manufacturers to achieve the returns on investment in their

commercial markets that will support the research and development of the high technology

materials that are vital to our defense industrial base. This investigation must therefore address

the fundamental issues of overcapacity and unfair trade that have plagued our commercial markets,
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and it must fashion a remedy that will permanently address those issues. The remedy, however,

cannot undermine the antidumping and countervailing duty orders that have been effective in

restraining import surges, nor can it weaken the domestic sourcing requirement incorporated in the

Specialty Metals Amendment, which has ensured that the U.S. has the ability to produce the

specialty metals from which most of our military platforms are built. We look forward to working

with the Administration in helping shape that remedy.
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                             Testimony of

Lourenco Goncalves - Chairman, President and Chief Executive Officer

                     Cliffs Natural Resources Inc.

    U.S. Department of Commerce - Bureau of Industry and Security

Notice Request for Public Comments and Public Hearing on Section 232
          National Security Investigation of Imports of Steel

                              May 24, 2017


     Good morning, Secretary Ross and members of the panel.

My name is Lourenco Goncalves and I serve as Chairman,

President and Chief Executive Officer of Cliffs Natural Resources.

Thank you for the opportunity to speak here today.



     By way of background, Cliffs is the largest supplier of iron ore

to the steel mills in the United States. We own and operate four of

the seven active iron ore mines in the country, directly employing

approximately 3,000 Americans. In stark contrast to the Australian

iron ore miners BHP, Rio Tinto and Fortescue, which almost entirely

produce and sell iron ore sinter feed fines to China and other

countries, Cliffs’ operations in the United States exclusively produce
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iron ore pellets. While iron ore fines feed sinter operations that

contribute immensely to the well-known air pollution problem in

China, the pellets we sell to our domestic clients make the

American steel industry one of the most – if not the most

environmentally friendly in the entire world. Chinese non-

compliance with minimal environmental standards is the most

absurd, unfair and unacceptable advantage the Chinese have in

exporting their excess steel.



     I will speak today both in my capacity as Cliffs’ Chairman and

CEO and from decades of experience in the steel industry. Prior to

joining Cliffs, I served as CEO of two other American companies:

Metals USA Holdings, a leading national steel service center

company; and California Steel Industries, the biggest steel supplier

on the West Coast of the United States. In light of my ten years at

Metals USA and my active role in the previous cases under

Sections 201 and 232 back in 2001 when I was at California Steel, I

would like to confront a very important part of the problem that has

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never been properly addressed. That problem is the role played by

some domestic service centers and steel buyers as enablers of the

entire steel import crisis, by providing a home within the United

States for illegal steel imports.



     Dumped steel products do not find their way to this country

spontaneously, nor do these imports swim to U.S. shores. Every

steel product that enters this country is brought here because a

steel trader, distributor, service center or end user will buy – or

already bought - that steel. Some steel buyers, traders and service

centers, by design, acquire dumped and illegally subsidized steel

and, in many cases, intentionally circumvent duties and tariffs

assigned to steel products.



     These bad players know exactly what they are doing, but they

do it anyway, because they feel they are beyond reach. As

evidence, emails sent from traders to steel buyers in the U.S.,

offering to navigate around duties applied to steel from China and

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South Korea, have been submitted along with the written version of

my remarks.



     Let me be clear: any American company or individual who is

complicit in such a scheme must be held accountable. These

steel buyers are no different than recipients of stolen goods after a

robbery. While these recipients did not directly perpetrate the initial

crime, it is nonetheless an offense to, knowingly, acquire stolen

goods. Their only real concern is not to be caught; they do not care

that artificially cheap products negatively affect the health of the

domestic iron and steel industry and, by extension, the military

readiness of the United States.



     While not all service centers and steel buyers act as domestic

enablers of illegal trade, the ones providing dumped and

circumvented steel products a destination within the United States

must be punished. Any real solution to our imported steel

problem must include a commitment by the federal government to

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directly confront the American companies and individuals that

facilitate the trade of illegal steel imports by ensuring that these

products find a home in the United States.



      In closing, I would like to remind the panelists that the worst

enemy is the one that pretends to be a friend. Some of these

perpetrators use a speech very similar to ours, despite their actions.

If any of these individuals do have the courage to show up today,

please ask them if importing illegal steel is part of their business

model and, if so, why they break the law. I am sure they will not

accept accountability because their illegal short-term profits are

more important to them than the military readiness of the United

States.



     Thank you once again for the opportunity to speak today. I

would be happy to answer any questions you may have.




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           Testimony of John Adams, Brigadier General, U.S. Army (Retired)
                             President, Guardian Six LLC
    Hearing Regarding Section 232 National Security Investigation of Imports of Steel
                                    May 24, 2017

Thank you for the opportunity to share my views on the effects on the national security of
imports of steel.

I applaud the administration’s initiation of this Section 232 national security investigation of this
issue. As a thirty-year veteran of the U.S. Army, with a background in strategy and intelligence,
and as a lead author of the 2013 study of the U.S. defense industrial base, Remaking American
Security, my experience and research convince me that imports of cheap and subsidized steel
from our strategic competitors put our national security at risk by eroding the U.S. steel
industry’s position as a fundamental building block of our national security infrastructure. I
therefore advocate concerted action at all levels of government to preserve a strong domestic
steel industry.

Our nation’s security rests on a military equipped with the technology, weapons systems, and
platforms needed to protect our nation supplemented with logistical and critical infrastructure.
Despite technological advances in materials, notably composites and ceramics, steel remains
irreplaceable to the U.S. military. From nuclear-powered submarines to aircraft carriers, and
from main battle tanks to mine-resistant vehicles, steel shields our nation and the lives of our
warriors. A healthy domestic steel sector – including the many small and specialty
manufacturers that depend on steel – is critical to sustaining the quantity and quality of
capabilities needed to preserve our national security.

The glut of low-priced steel in the world market, resulting in large part from China’s and other
potentially hostile trading partners’ actions, undermines the ability of American-made steel to
fairly compete in the marketplace. Left unchecked, the current steel market situation will
continue to result in plant closures, mass layoffs, and the loss of key technology and
manufacturing know-how. In this insecure world, the need to build more defense platforms in a
hurry may very well come sooner than we would like. As China expands its global presence, a
situation in which China exercises market control over global steel is all-the-more alarming.

There is more to this issue than “lowest cost is best.” While low prices for steel can reduce
defense acquisition costs, irreparable damage to our domestic steel industry and loss of our
steelmaking capacity will increase defense industrial base dependency on China and other
potentially hostile foreign governments.

It is a myth that steel will always be available for U.S. defense requirements. Domestic
steelmakers’ health depends on the health of their commercial sectors. Conversely, the overall
health of domestic steelmakers is not contingent on defense production. If the commercial
market is severely disrupted or unprofitable, the defense production sector cannot survive.

Reliance on foreign sources of steel, especially from strategic competitors, results in uncertain
supply for critical national requirements, especially in a crisis. In 2004, on temporary duty in
Iraq, I witnessed our warriors apply jury-rigged armor plates – often sent by their families – to
their vehicles to protect against IEDs. When DoD asked foreign suppliers to “uparmor” American
vehicles, they put our requirements in their months’ long queue for orders. Only American steel
companies – subject to “rated orders” scheduled in weeks rather than months – supplied armor
plate for the uparmored vehicles that protected our warriors from IEDs.
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We must take urgent action to address these risks.

   -   Take aggressive action to safeguard America’s economic and national security by
       recommending remedies to the President that will yield a meaningful opportunity for U.S.
       producers to recapture lost market share and rebuild broken supply chains.

   -   Take a broad view of steel products that are necessary for our national security. While
       the first products that come to mind are ships and tanks, we must also consider and
       include steel used to construct America’s logistical and critical infrastructure – everything
       from our electrical grid and transformers to rail networks and underground water
       systems. A strong and readily-available supply of iron and steel products is vital to
       America’s economic and national security.

   -   Focus on the entire supply chain, including everything from iron to semi-finished steel
       products in your recommendations to the President. According to SteelOnTheNet.com, a
       semi-finished steel slab constitutes roughly 90 percent of the cost of a finished hot-rolled
       steel product. Thus, allowing for the importation of foreign slabs, despite a 232
       safeguard remedy, could undermine the goal of stabilizing and protecting steel
       production that is vital to our national security. The same goes for upstream raw
       materials production of iron. We must ensure that the entire supply chain of iron and
       steelmaking in the United States benefits from actions arising from this investigation.

   -   We must establish verifiable and enforceable mechanisms for the elimination of global
       overcapacity in the steel sector, and implement rules to counter anti-competitive
       behavior of state-owned entities, especially in China.

   -   We must proactively apply our trade enforcement laws to provide relief from market
       distortions before plants are forced to close and capacity is irreparably lost.

   -   We must rigorously apply domestic sourcing policies in government procurement of
       steel.

Our goal is to maximize domestic capabilities combined with supplies from unquestionably
reliable third parties. The one supplier in whom I have complete confidence is Canada. Not only
do we currently have a steel surplus with Canada, but we share a border and have synergistic
strategic, economic, and national security interests. However, treating Canada as a unique
partner under any Section 232 relief measures requires that Canada also strengthen and align
its trade enforcement efforts with ours. Circumvention and evasion of U.S. trade laws and
actions through Canada is unacceptable.

Again, I applaud the administration’s initiation of this Section 232 investigation of the effects of
imports of steel from a national security perspective, and as indicated, to recommend actions to
adjust steel imports so that they will not put our national security at risk. We need concerted
action to address the risks to our domestic steelmaking capacity before we lose it, especially to
our most dangerous long-term strategic competitors, and to ensure that the U.S. steel industry
remains a strong and ready foundation of our national security.
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             Section 232 National Security Investigation of Steel Imports
                              Testimony of John Stupp
                                    May 24, 2017

      Good morning. I am John Stupp, President and Chief Executive Officer of

Stupp Bros. and Chief Executive Officer of Stupp Corporation, our steel pipe

manufacturing division. I am also a representative of the American Line Pipe

Producers Association or ALPPA. I would like to thank you for this opportunity to

testify today and explain how imports of large diameter line pipe threaten U.S.

national security.

      Stupp was founded in 1856 and has been supplying products to the U.S.

military since the Civil War. Back then, it was iron classing for the monitor class

vessels that helped secure the lower Mississippi. During World War I, Stupp

provided fabricated steel sections for maritime vessels and during World War II,

Stupp built Bailey bridges, a portable, pre-fabricated, truss bridge that was used

extensively by the military during the war. We also began making bomb bodies for

the 500, 1000 and 2000 pound bombs used by the Air Force and Navy in the early

1970s and continue to manufacture those bomb bodies today.

      Stupp’s involvement in pipeline manufacturing dates back to the 1940s,

when it began providing financing and project management for the 898-mile

Michigan-Wisconsin Pipeline. In 1952, Stupp started manufacturing pipe in Baton

Rouge, Louisiana and added an integrated coating plant to its operations in 2004.


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In 2009, Stupp added a second pipe manufacturing facility to its campus. Stupp is

strongly committed to producing the highest quality line pipe in the United States

and has been for decades.

      Stupp, together with American Steel Pipe, Berg Pipe, and Dura-Bond, make

up the ALPPA, a domestic coalition of large diameter line pipe manufacturers.

Together, we account for the vast majority of large diameter line pipe domestic

production. ALPPA’s members produce line pipe for a number of U.S. national

security applications, including for oil, gas, chemical, water, sewage, and slurry

pipelines, all of which are critical U.S. infrastructure. ALPPA’s members also

produce specific products for the U.S. military, including steel bridges and

munitions. We are proud to produce steel products that protect our citizens and

infrastructure. However, unprecedented global steel overcapacity and the resultant

surge in steel imports into the U.S. market are threatening our ability to continue

doing so. That is why I am here today.

      This Section 232 investigation comes at a pivotal time. As you are likely

aware, the domestic steel industry is suffering from chronic overcapacity and a

growing import crisis, both of which have been largely driven by government-

sponsored capacity expansions. Over the past several years, governments in China,

Korea, Turkey, and elsewhere have provided their producers with massive




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subsidies to expand capacity and production far in excess of demand, which has

resulted in a severe supply glut.

      Estimates place current global excess capacity at more than 700 million

metric tons. This figure is staggering and represents a sharp increase from the

roughly 500 million tons of global excess steel capacity recorded in 2014. While

China accounts for the bulk of this excess capacity, there is also significant

overcapacity in Korea, Turkey, Japan, and other countries.

      In the United States, the effects of the global excess steel capacity crisis are

being felt most acutely in the form of record steel imports. The domestic large

diameter line pipe industry has experienced this firsthand. Despite Korean welded

line pipe being under order and a sizeable drop in U.S. demand in 2016, Korean

producers have continued to ship substantial volumes of large diameter line pipe to

the United States and now capture roughly 20 percent of the U.S. market, more

than any other import source. Japanese volumes almost doubled between 2014 and

2016. Turkish and Greek volumes of large diameter line pipe increased by 267

percent and 991 percent, respectively, between 2014 and 2015, and remained

significant in 2016, despite weakened U.S. demand.

      These elevated import levels have resulted in dramatic declines in the

domestic large diameter line pipe industry’s capacity, production, revenue,

investment, and employment.         In 2015, which was a peak demand year, the


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domestic industry was operating at a capacity utilization rate of only 37 percent.

Since then, conditions have worsened. The industry is now operating at a capacity

utilization rate of well under 30 percent – the lowest that it has been in years.

While some large diameter pipe operations have been forced to shut down in

response to the import surge, including U.S. Steel Tubular Products’ McKeesport

pipe mill, others have been idled. Just last May, American Pipe idled one of its

two mills and reduced its workforce to one shift because of the import surge. Berg

Pipe has also suffered a dramatic reduction in workforce – from 660 employees in

2015 to roughly 415 today – for this same reason.

      The U.S. national security implications of the domestic industry’s current

state are significant. The industry is gradually losing the ability to produce large

diameter line pipe to equip the U.S. military, respond to disasters, and modernize

increasingly aging infrastructure. ALPPA’s members supply a variety of different

line pipe for critical oil, gas, and other pipeline projects throughout the United

States as well as steel munitions, bridges, and other products for the U.S. military.

However, we cannot keep producing these products if the import crisis continues.

      The industry’s ability to develop new steel products to meet evolving

national security needs is also in jeopardy.             ALPPA’s members have made

significant investments in recent years to produce the highest performance

pipelines for the most demanding U.S. military and critical infrastructure


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applications. Stupp added a second mill to its operations in 2009, American Pipe

invested $80 million in a new facility to increase its capacity in 2012, Berg made

significant upgrades to its technology in 2013, and Dura-Bond purchased the

former McKeesport pipe mill in 2016. Such investments are necessary to keep our

industry strong and healthy.

      Yet, as President Trump recently acknowledged, if the present situation

persists, “it may place the American steel industry at risk by undermining the

ability of American steel producers to continue investment and research and

development, and by reducing or eliminating the jobs needed to maintain a pool

of skilled workers essential for the continued development of advanced steel

manufacturing.” The domestic large diameter line pipe industry could not agree

with the President more.

      For these reasons, the ALPPA and its workers ask that Commerce find that

steel imports are threatening U.S. national security and grant much needed trade

relief to domestic large diameter line pipe producers and the rest of the steel

industry. A failure to grant broad relief to the steel industry will result in further

harm to U.S. producers and workers, and continue to place our national security at

risk. The ALPPA will talk more about remedy in our written submission, but

strongly believes that there is a need for import tariffs covering the large diameter

line pipe industry.


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      Thank you for your time and attention on this critical issue.




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            Oral Presentation of Ryan Chadwick, VP and General Counsel of TMK IPSCO �
           Public Hearing on Section 232 National Security Investigation of Imports of Steel �
                                           May 24, 2017 �

Good morning Secretary Ross and distinguished members of the panel. Thank you for the opportunity to
speak at this hearing.

My name is Ryan Chadwick and I am the Vice President and General Counsel of TMK IPSCO, one of the
largest manufacturers of steel pipe for the energy industry in the United States. Our energy related products
include OCTG and line pipe up to 16”. TMK IPSCO also manufacturers standard pipe, industrial pipe, and
structural steel products. TMK IPSCO has 1.6 million tons of annual steel pipe manufacturing capacity at
our facilities in Pennsylvania, Kentucky, Ohio, Arkansas, Iowa, Oklahoma, Nebraska, and
Texas. Approximately 75% of our pipe production capacity is for welded pipe; the remainder is for seamless
pipe. TMK IPSCO currently employs 1,370 employees at these facilities and at its headquarters and R&D
facility in Houston, Texas. At full capacity utilization, TMK IPSCO would employ over 2,600 individuals in
the United States.

According to the US Energy Information Administration, net imports of petroleum products account for
25% of US consumption of petroleum and US natural gas production is equal to about 99% of US natural gas
consumption. Our country has made great strides on the path to energy independence. Dependence on
imports of steel pipe to support this critical energy infrastructure, however, leaves our country less able to
independently provide for its energy needs and less secure.

Our pipeline infrastructure is aging, with much of it installed prior to 1970. We must have a secure supply of
steel pipe to repair and maintain this pipeline infrastructure.

Over one third of electricity generation in the United States is powered with natural gas, increasing the need
to assure the security of steel pipe supplies to support the transmission of natural gas to these generation
facilities.

Total steel pipe production in the United States is approximately 10% of total steel production in the United
States by tonnage. A healthy domestic steel pipe industry helps insure a healthy domestic steel industry.

After final AD and CVD duties were implemented in 2010 against Chinese steel and steel pipe, Chinese steel
overcapacity was redirected to other countries, such as South Korea. After 2010, we saw a steady increase in
imported steel pipe manufactured by foreign companies able to take advantage of reduced steel prices caused
by steel overproduction at unprofitable Chinese companies. By 2013, producing welded OCTG and line pipe
became unprofitable for TMK IPSCO and other domestic producers.

The gap between US and Chinese steel coil prices expanded to as much as $340/ton last year and is $266/ton
as of May 11 of this year. The Chinese steel coil prices warp the world steel market outside the US, lowering
prices to well below the US coil price. It is very difficult and often impossible to compete with foreign steel
pipe producers that have such an advantage in lower input costs. In some instances, foreign steel pipe has
been priced close to the prices for domestic steel coil used in the production of US steel pipe. If the status
quo is maintained, many of the steel pipe production facilities in the United States, particularly for welded
pipe, will remain or become money-losing operations.

If the Administration takes action on imported steel under Section 232 and does not take action on imported
steel pipe, the resulting influx of cheap steel pipe imports is likely to drive many domestic producers out of
business because there will, at the same time, be a significant increase in US steel coil prices for domestic steel
pipe producers.
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In 2012, TMK IPSCO spent close to $100 million on capital projects to improve its manufacturing facilities
in the United States. In 2013 and 2014, TMK IPSCO reduced its capital spending to approximately $40
million annually as it responded to difficult market conditions created by low-priced imported pipe. In 2015
and 2016, TMK IPSCO reduced capital spending to $19 million and $6 million as it idled its welded pipe
facilities in response to low-priced imported pipe and the downturn in the oil and gas industry. In all, TMK
IPSCO has invested half of a billion dollars in its US operations since 2008. TMK IPSCO has also spent
approximately $10 million annually on research and development on improved metallurgies and advanced
connection technologies that make the types of oil and gas well drilling that now occur in the United States
possible. TMK IPSCO would like to return to a full workforce, return to spending on capital projects that
allow it to compete in a fair marketplace, and maintain its R&D programs.

Both TMK IPSCO and a strong consensus of the US steel pipe industry at the CPTI annual meeting last
week in Washington, D.C. agree that quotas, rather than tariffs, would be a better choice for relief under
Section 232. These quotas should be based on 2010 and 2011 levels, a period between relief from massive
Chinese imports and the onslaught of imports from many other countries.
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                     Position of the Ministry of Commerce of China:
                     U.S. Section 232 Investigation on Imported Steel

               Testimony Before the U.S. Bureau of Industry and Security
                                     May 24, 2017

                                  Gu Yu, First Secretary
                         Embassy of the People’s Republic of China
                                   in the United States



       Good morning.      My name is Gu Yu, and I am First Secretary at the Embassy of

   the People’s Republic of China here in Washington.         I welcome the opportunity to

   present the position of the Ministry of Commerce of China in this investigation on the

   effects, if any, of steel imports on the national security of the United States.


       The Ministry of Commerce believes there is no evidence that steel imports

   threaten to impair U.S. national security.   United States defense requirements are

   plainly not dependent on imports of foreign-made steel.       Nor does imported steel

   fundamentally threaten the ability of domestic producers to satisfy national security

   requirements, or threaten the security and welfare of industries that are critical to the

   minimum operations of the economy and government.            Simply put, United States

   national defense and other critical sectors’ need for steel can be, and are, readily

   satisfied by U.S. domestic production.


       First, your agency, as well as the U.S. Department of Defense, have previously

   determined that U.S. national defense requirements for finished steel are very low.

   Recent statistics of the American Iron and Steel Institute show that just 3% of total

   U.S. domestic steel shipments go to national defense and homeland security.        Clearly,
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   current and projected U.S. national defense demand for steel can be readily satisfied

   by domestic production.      Moreover, the U.S. Department of Defense has

   long-established domestic procurement requirements that apply to all steel used in

   critical national security systems.    None of these systems are dependent upon foreign

   steel.   Annual reports of U.S. domestic steel producers show that they cover the steel

   supply for national defense and national security applications, and the capacity and

   shipments of steel of these companies far exceed U.S. national defense and security

   requirements.    Thus, steel produced domestically in the United States remains in

   abundant supply relative to U.S. national defense requirements.


        Second, the United States imports its steel from a diverse array of more than 100

   countries and territories.   Steel pipe and tube imports, for example, are sourced from

   more than 50 different countries.     The United States is not dependent on steel

   imports from any particular source country.        The portion of imports from each

   individual country is relatively low compared to total imports.      Canada, for example,

   the largest source of imported steel, accounts for only 17% of steel imports.    And the

   vast majority of U.S. steel imports -- nearly 70 percent -- are from close U.S. allies.

   The top five suppliers are Canada, Brazil, South Korea, Mexico and Turkey.

   Furthermore, U.S. reliance on imported steel is declining.       Your Commerce

   Department found that steel imports have declined by more than 25 percent since

   2014.




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       Third, the U.S. steel industry is healthy and has the capacity to produce the steel

   needed to satisfy the country’s national security requirements.        In particular, U.S.

   producers have state-of-the-art technology to produce high-end, high-value steel

   products, and they maintain steady and competitive exports of such products in global

   markets.     The top domestic U.S. steel producers are actively making significant new

   investments, both domestically and abroad, that increase the efficiency of their

   domestic output and enhance their global strength and competitiveness.           These

   investments are reflected in relatively stable levels of U.S.-based steel workers, as

   well as in the overall expansion of employment by U.S. steel producers in their global

   operations.     Furthermore, given current capacity utilization rates around 70%, the

   U.S. steel industry has significant expansion potential to continue providing ample

   supply for national security needs.


       The U.S. government already provides domestic producers with adequate trade

   protections.    Over the last 40 years the U.S. initiated more than 200 trade remedy

   investigations on imported steel products.         U.S. steel producers are currently the

   beneficiaries of more than 150 separate antidumping and countervailing duty orders

   that your Commerce Department enforces on imported steel products from over 25

   countries.     These orders provide the U.S. industry with full protection from imports

   of steel, as well as generate revenue for the U.S. Treasury due to high rates of duties.


       Fourth, the volume of imports of steel from China has significantly declined in

   recent periods and represent a very minimal portion of U.S. steel imports.         Steel

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   imports from China, which are primarily low-end products sold to distributors and

   processing centers, are down 67.4 percent since September 2015.        Chinese steel

   imports plainly do not impact U.S. national security.


       Finally, in light of the lack of a unified definition of “national security” within the

   WTO framework, such action may trigger other Members to invoke similar national

   security interests to protect their own allegedly critical industries from imports, which

   would create unnecessary and harmful barriers to trade.      At the same time, any steel

   import restrictions imposed as a result of this investigation will do nothing to enhance

   U.S. national security, but would only harm downstream U.S. manufacturers and the

   broader domestic economy. We hope that the United States will carefully assess the

   impact of this section 232 investigation and play a positive role in the global order of

   international trade.


       The Ministry of Commerce plans to file a written submission further elaborating

   and documenting these points by May 31, 2017.         Thank you for the opportunity to

   share these views with you today.




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                                     WASUINGTON, DC 20008,
                                                USA
                                       www.rustradeusa.org
       Tel.: +I (202) 232-5988      E-mail: dc@rustradcusa.org          Fax: +I (202) 232-2917

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                                                    May 22,2017


Submitted Electronically

Mr. Brad Botwin                                                         Section 232 National Security
Director for Industrial Studies                                                 Investigation on Steel
Office of Technology Evaluation
Bureau of Industry and Security
U.S. Department of Commerce                                                   PUBLIC DOCUMENT
14th Street and Constitution Ave., N.W.
Washington, D.C. 20230


      Re: Section 232 National Security Investigation on Steel; Confirmation ofParticipation at
          Public Hearing and Copy of Testimony


Dear Mr.Botwin:
       We hereby confirm a participation of Alexander Zhmykhov, Deputy Head of Economic
Section, Trade Representation of the Russian Federation in the USA at the hearing on the above­
referenced investigation on May 24, 2017.
       Please, find attached a copy of a planned testimony.

      Respectfully submitted,

                                                                 Aleksander Y. Stadnik
                                                                Trade Representative of
                                                               Russian Federation in the USA.




      Encl.: 2 pages.
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                                          Summary of Hearing Statement of

                     the Trade Representation of the Russian Federation on behalf of
                    the Ministry of Economic Development of the Russian Federation
                                before the Office of Technology Evaluation,
                                     Bureau of Industry and Security
                           at a public hearing on Section 232 N a tiona! Security
                                           Investigation on Steel
                                              on May 24,2017


      Thank you for the opportunity to speak today on behalf of the Ministry of Economic
Development of the Russian Federation.
          Currently, exports of a broad range of steel products from Russia to the United States are
subject to substantial limitations imposed by an Agreement Suspending the Antidumping
Investigation on Cut-To-Length Carbon Steel Plate', and by antidumping duties against hot-rolled
flat-rolled carbon-quality steeJ2.
          These two remedies have had the effect of disciplining imports of steel products from Russia
to such an extent that Russian imports must be excluded from any remedy recommendation in the
current investigation. A contrary result would unfairly subject imports of Russian steel to duplicative
and severe limitations.
          Regarding cut-to-length carbon steel plates, in accordance with the Plate Suspension
Agreement that was put in effect in 2003, each signatory Russian producer/exporter agrees not to sell
its merchandise subject to this Agreement to any unaffiliated purchaser in the US at prices that are
less than the normal values of the merchandise, as determined by the Department on the basis of
information submitted to the Department.
          There      IS    only     one     Russian       producer      who      provides       necessary      information
to the Department and has the possibility to sell subject goods into the USA. The quantities
of shipments of the product from Russia to the USA plummeted by more than 25 times: from 252
thousand tons in 1996 to 10 thousand tons in 2016. The Department issues the normal values, which
exclude the risk of unfair trade practices by Russian import.




1
  See Suspension of Antidumping Duty Investigation: Certain Cut-to-Length Carbon Steel Plate From the Russian Federation, 68
FR 3859 (January 27, 2003). Plate Suspension Agreement is attached hereto as Exhibit I.
2 See Termination of the Suspension Agreement on Hot-Rolled Flat-Rolled Carbon-Quality Steel Products From the Russian
Federation, Rescission of2013-20I4 Administrative Review, and Issuance of Antidumping Duty Order, 79 FR 77455 (December
24, 2014).
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           The U.S. market of hot-rolled coils and sheets has been closed for the Russian exporters due
to the prohibited level of antidumping duties up to 184.56% since the end of 2014. Prior to that there
was the suspension agreement in force. Russian producers treated that agreement with duly respect
although it was designed for non-market economy country in 1999.
          Also, in September, 2016 (less than 3 quarters ago) the Department finished the antidumping
and countervailing investigations against certain cold-rolled steel flat products with no measures for
Russian-originated products due to negligible amount of import, proving that import of these goods
from Russia did not cause any injury to the US industry3 •
          In light of the array of limitations that already exist and have already severely reduced the
volume of imports of Russian flat-rolled carbon steel products into the United States,
we urge the Department to use great caution in the course of the current investigation, in order to
ensure that Russian merchandise is not subject to excessive, redundant and conflicting restrictions.
        The statute directs the President to provide relief "only to the extent the cumulative impact of
such action does not exceed the amount necessary to prevent or remedy the serious injury. "4 In the
current case, however, the Russian imports have already been so drastically limited by the measures
in force that further limitations would be excessive in terms of the "amount necessary to prevent or
remedy" the injury found by the Department. It would be unfair, therefore, for the Department to
recommend a remedy to the President that is not necessary to fulfill the statutory standard for the
imposition of relief.
          For the reasons outlined above, we respectfully reiterate that there is no need for the
imposition of additional import restraints on steel products from Russia. Additional remedies under
Section 232 would unfairly impose redundant and potentially conflicting remedies on imports from
Russia.
          We respectfully ask the Department to abstain from recommending any additional remedies
on imports of steel from Russia.




3
  See Cold-Rolled Steel Flat Products From Brazil, India, Korea, Russia, and the United Kingdom; Determinations, 81 FR 63806
(September 16, 2016).
4
  19 u.s. c.§ 2253(e)(2).
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May 22, 2017

                                                                          Total No. of Pages: 5
                                                                  Trade Expansion Act of 1962
                                                            §232 National Security Investigation
                                                                Bureau of Industry and Security
                                                                U.S. Department of Commerce


                                                                          PUBLIC DOCUMENT

BY EMAIL

Brad Botwin, Director
Industrial Studies, Office of Technology Evaluation
Bureau of Industry and Security
U.S. Department of Commerce
Room 1093
1401 Constitution Avenue, NW
Washington, DC 20230


Re:    Public Hearing on Section 232 National Security Investigation of Imports of Steel


Dear Director Botwin,

I plan to appear on behalf of EUROFER at the May 24, 2017 public hearing on the United
States’ Section 232 National Security Investigation of Imports of Steel. A copy of my planned
testimony is attached. Thank you for the opportunity to participate in the hearing.

Please do not hesitate to contact me if you have any questions.



Sincerely,




Karl Tachelet
EUROFER

Director, International Affairs
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     Public Hearing on Section 232 National Security Investigation of Imports of Steel:
               Written Statement of Karl Tachelet on behalf of EUROFER

                                         (May 24, 2017)


Director Botwin and members of the Panel, thank you for inviting me to participate in this

hearing. My name is Karl Tachelet. I am the Director of International Affairs for EUROFER. I

have worked in the European steel industry for over 20 years. EUROFER represents 100 percent

of steel production in the EU. Our members are steel companies and national steel federations.

We are longstanding, reliable suppliers of steel to the United States. Many of our members have

steel plants in the United States.


EUROFER shares the US government’s concerns regarding excess steel production, unfair

trading practices, and global steel overcapacity. We have worked with EU officials to address

the injurious effects of these problems through the enforcement of our trade remedy laws and

their root causes through international negotiations in fora like the OECD and the G-20 (Global

Forum on Steel Excess Capacity). Continued joint efforts between the EU, the US, and other

like-minded governments are the only effective avenue to address these problems and secure

balance in the global and US steel markets.


We do not believe that restrictive actions based on national security will allow for the lasting

solution the market needs. However, if the US pursues this investigation, EUROFER believes

the Bureau’s analysis of national security must be narrowly tailored to focus on direct threats to

national security.


First, the analysis should be focused on specific steel products needed for specific uses directly

tied to national security, in particular defense applications. As a rule, commercial and national
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interests do not rise to the level of security interests. For example, the following products clearly

do not affect national security:


   •   Rebar and heavy sections used in construction;

   •   Wire rod used to make tire cord, springs, and fasteners for autos;

   •   Wide flange beams and channels used in construction;

   •   Hot-rolled wide strip used in construction and autos;

   •   Cold-rolled sheet used to make household appliances and auto components;

   •   Metallic and organic coated sheet used in household appliances, building materials, autos,
       and for deep drawing and stamping; and

   •   Tin mill products used to make cans for food and beverages.


The Bureau must therefore focus its analysis only on steel products that have a strong, direct

national security nexus. In this regard, we note that many of the subsectors identified by the

Department of Homeland Security as “critical infrastructure applications” have little or no

relevance to national security and should be removed from the analysis.


Second, for each steel product with a strong, direct national-security nexus, the Bureau should

determine whether US producers have sufficient capacity to meet the needs of the Defense

Department and critical infrastructure applications.


Third, the Bureau should account for factors arguing against import adjustment. In particular,

the Bureau should consider whether adequate complementary imports are available from US

allies like the EU. If so, no action should be taken. Furthermore, any remedy proposed to adjust



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imports should differentiate based on the threat posed to US national security by specific foreign

steel suppliers.


Not all foreign sources of steel are the same with respect to national security. The US and EU

share a long history of collaboration on national security issues. Indeed, 22 EU Members are

members of the North Atlantic Treaty Organization (NATO) and are committed to defend US

security, including by providing assistance in times of crisis. Additionally, there are dozens of

bilateral agreements between the US and individual EU Members covering matters such as

defense cooperation and weapons production, and many EU Members are parties to reciprocal

defense procurement memoranda of understanding with the US under which each country agrees

to remove barriers to purchases of supplies and services of the other country.


Furthermore, EUROFER members are longstanding, reliable suppliers of high-quality steels that

are needed to maintain US national security. Indeed, many of our members have invested in US

plants to make steel products and employ American workers. Thus, EUROFER companies have

a manifest interest in a strong, prosperous, and secure United States.


If the Bureau does not have adequate information to perform this type of rigorous analysis, it

should issue questionnaires to US users in defense and critical infrastructure applications, US

producers of steel, and foreign producers of steel. The lack of detailed data regarding the

consumption of specific steels by these industries or US producers’ capacity to make the specific

steels is not a valid basis for conducting an overly broad analysis or imposing overly broad

measures. We note that the US International Trade Commission regularly solicits data of this

sort in trade remedy investigations, and the Bureau should do so here.




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EUROFER is available to contribute to the establishment of such an analytical framework, and

to provide data, to ensure that the Bureau produces a focused analysis and recommendations that

address national security concerns.


Thank you.




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                         TESTIMONY OF TIM JOHNS
  NIPPON STEEL & SUMIKIN COLD HEADING WIRE INDIANA INC.
                                   May 24, 2017



      Good morning/afternoon. I am Tim Johns, Vice President of Manufacturing

for Nippon Steel & Sumikin Cold Heading Wire Indiana Inc. (“NSCI”), a newly

established manufacturer of steel wire for automotive cold heading and forging

located in Shelbyville, Indiana. NSCI is scheduled to open in October 2017 and

begin production of steel wire starting in January 2018. When fully operational,

NSCI’s production facility will directly employ approximately 70 people in

Shelbyville.

      NSCI is unique in that it will not follow others by simply importing finished

steel wire from Japan. Rather, the company will import the raw material – that is,

high-quality wire rods – from Japan, and produce finished steel wire in the United

States. However, in order to do so, NSCI needs access to a reliable supply of high-

quality Japanese wire rod.

      If NSCI is not able to import these materials, the company will be forced to

shut down because the wire quality needed for the production of fasteners and

other safety-critical auto parts can be achieved only with the high-quality wire rod

available from Japanese manufacturers.
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      The quality of the wire rod produced by the Japanese manufacturers is

unavailable in the United States. In short, Japanese wire rod is superior to wire rod

produced elsewhere because only the Japanese manufacturers have demonstrated

the ability consistently to meet the precision and performance requirements of

fastener and other safety critical auto parts manufacturers. These downstream

manufacturers require wire rod that is both extremely durable but also light weight.

The Japanese wire rod manufacturers are uniquely able to meet these contradictory

requirements due to their advanced methods of controlling for surface defects,

inclusions, and size tolerances.

      NSCI intends to win business from its downstream U.S. customers based on

the quality and reliability of our products. Import duties on wire rod from Japan

will compromise the viability of our business and lead to the elimination of many

jobs in Shelbyville and the surrounding area. Further, such duties would also cause

serious damage to automobile and fastener supply chains in the United States,

potentially affecting the jobs of thousands of people throughout the country. To

block imports of Japanese wire rod will simply lead to export of U.S. jobs and

import of the finished products we make here. For these reasons, I urge you to find

that Japanese wire rod is integral to the U.S. economy and that such imports do not

compromise the national security of the United States.

      Thank you.


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           BEFORE THE U.S. DEPARTMENT OF COMMERCE
               BUREAU OF INDUSTRY AND SECURITY

                                                )
Section 232 Investigation on the Effect of      )
Imports of Steel on U.S. National Security      )
                                                )

   Oral Presentation of Byeong Bae Lee, President, Hyundai Steel America

      1.    Good morning. My name is Byeong Bae Lee. I am the President of

Hyundai Steel America, located in Greenville, Alabama.

      2.    Hyundai Motor Manufacturing Alabama, LLC or “HMMA” is a U.S.

automobile manufacturer located in Montgomery, Alabama. Kia Motors

Manufacturing Georgia or “KMMG” is a U.S. automobile manufacturer located in

West Point, Georgia. Hyundai Steel operates a steel processing center in

Greenville, Alabama that processes cold-rolled and corrosion-resistant steel for

HMMA, KMMG, and other Automobile Companies, as well as for the suppliers of

parts and components to those companies. All three companies are affiliated with

Hyundai Steel of Korea, a Korean producer of various steel products.

      3.     Hyundai has invested approximately $2.1 billion in the three

establishments, with a plan of future investment of approximately $3.1 billion.

The details are as follows: HMMA was established in 2005. The total investment

has been approximately $1.7 billion. HMMA employs approximately 3,500

American workers. In 2016, HMMA purchased approximately 170,000 tons of


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cold-rolled and corrosion-resistant steel -- 49,000 tons were purchased from

domestic steel producers, and 121,000 tons were imported from Korea and Japan.

      4.     KMMG was established in 2010. The total investment in KMMG has

been approximately $1.1 billion. KMMG employs approximately 3,000 American

workers. In 2016, KMMG purchased approximately 208,000 tons of cold-rolled

and corrosion-resistant steel -- 59,000 tons were purchased from domestic steel

producers, and 149,000 tons were imported from Korea and Japan.

      5.     Hyundai Steel America is a steel processing center for cold-rolled and

corrosion-resistant steel. Hyundai Steel was established in 2003 with a total

investment of approximately $82 million. Hyundai Steel employs approximately

140 employees. Going forward, Hyundai Steel plans to purchase approximately 40

percent of the cold-rolled and corrosion-resistant steel purchased from domestic

steel producers. The balance will be imported from Japan, Korea, and other

sources.

      6.   HMMA and KMMG have a plan to invest approximately $3.1 billion in

upgrading and expanding their domestic U.S. manufacturing operations. The

investment in these automobile facilities was based on the assumption that HMMA

and KMMG would be able to purchase high quality cold-rolled and corrosion-

resistant steel from domestic and imported sources. Roughly 10 percent of

Hyundai’s Steel requirements are not available from domestic steel manufacturers


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in the qualities and tolerances required. Hyundai’s access to steel is threatened by

this action and thus jeopardizes the investments already made as well as the

planned investments.

      7.     The volume of cold-rolled and corrosion-resistant steel required

directly for national defense needs is limited, and Hyundai believes that existing

domestic capacity is more than adequate to meet current and projected national

defense requirements.

      8.     For auto makers like HMMA and KMMG, by far the most important

factors in purchasing cold-rolled and corrosion-resistant steel are product quality

and product uniformity. Different auto parts require specific qualities, but flatness,

no wave, and low reject rates are always important. HMMA and KMMG are not

following a policy of purchasing from their Korean affiliates. To the contrary,

HMMA and KMMG prefer to purchase from U.S. suppliers where the steel is

available and meets these quality requirements.

      9.     With the emphasis on light weight vehicles to maximize fuel

efficiency, there is an emphasis on high tensile strength steel. Some U.S.

producers produce some grades and qualities required, but they do not produce

other grades and qualities. Both HMMA and KMMG require increased quantities

of Advanced High Strength Steel (“AHSS”) and Ultra High Strength Steel

(“UHSS”). These high strength steels are difficult to produce and not all domestic


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steel producers produce these qualities in the dimensions and to the tolerances

demanded by KMMG and HMMA.

      10.    The investment in KMMG, HMMA, and Hyundai Steel have

increased employment and provided jobs and economic activity in the

communities where they are located that previously did not exist. The companies

have increased domestic purchases of steel, providing customers and opportunities

that did not previously exist.

      11.    At the same time, these investments demand the ability to also access

high quality imports of cold-rolled and corrosion-resistant steel. As noted, some of

these grades and qualities are not available from U.S. producers. In addition,

because HMMA’s and KMMG’s research center for development of new models is

located in Korea, new models are often designed initially using Korean and

Japanese steel due to the ease of logistics.

      12.    Existing trade remedy laws already protect the domestic steel industry

against unfair subsidization and dumping. Further restrictions are not necessary.

      13.    Thank you and I am prepared to answer any questions you may have.




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                  Statement of the American Institute for International Steel

                                                At the

     Public Hearing for the Section 232 Investigation on the Effects of Steel Imports on

                                       U.S. National Security

                                 Bureau of Industry and Security

                                    U.S. Department of Commerce

                                           May 24, 2017

       I am Gary Horlick appearing on behalf of AIIS. We include 108 members, including

traders, freight forwarders, stevedores, shippers, importers, exporters, railroads, port authorities,

unions, and many other logistics companies. We account for approximately 80% of imported

basic steel products.

1.     The purpose of Section 232 is to ensure that the U.S. military can obtain the types of

       products it needs in the quantities it needs when it needs them. It was not intended to

       provide overall protection for U.S. industry for other purposes – there are lots of other

       statutes for that purpose.

       The Department of Commerce’s Federal Register notice requests information concerning

       a very broadly undefined industry of “steel.” That industry’s long-term prospects are

       sound, as shown by the start-up of new facilities such as Big River Steel. The major

       change in the industry was the emergence of entrepreneurial companies such as Nucor.

       The electric arc furnace sector grew from less than 10 percent to 57.9 million tons in

       CY2016 compared to 28.5 million tons for blast furnace production, and 26.5 million

       tons of imports. Individual companies making individual products may change their




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     product mix from time to time, but there is no sign that they cannot make the products

     our military requires as needed.

     Further, analysis under this statute requires looking at all the capacity that would be

     available to the U.S. military in times of need, and that would most certainly include

     Canada and Mexico, and probably other countries as well.

2.   The past history of this clause illustrates the extreme caution needed to avoid misuse for

     political reasons. It is frequently stated that the statute has only been used for import

     protection twice, both involving relatively minor uses involving crude oil in the 1970s.

     But this forgets the largest use of this statute, under a predecessor statute. From 1959 to

     1973, the U.S., for internal domestic political reasons, imposed quantitative restrictions

     on the import of crude oil. This had 3 very direct consequences:

     (a)    In the name of protecting our national security, the U.S. for those 12 years

            pumped out our own reserves, and in the end of the period, the U.S. for most of its

            history a major net oil exporter, had become a net importer of crude oil.

     (b)    During this period, U.S. downstream industry, as a direct result of the quotas, paid

            50-100% more for its oil (used both as an input and as energy) than its foreign

            competitors, effectively giving a huge cost advantage to competitors in the newly

            reconstructed industries in Japan and Europe. At the end of the quotas, the U.S.

            ran a trade deficit in goods.

     (c)    The U.S. granted an exemption to the quotas to its close ally and neighbor,

            Canada. In 1959, the minister of national patrimony of Venezuela, then a very

            close U.S. ally, flew to Washington to ask for a similar exemption. This was




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             refused and Minister Alonso instead of flying back to Caracas flew directly to

             Riyadh and founded OPEC.

     The important lesson that we can draw from this is that when contemplating using a

     statute like Section 232, we should treat it with extreme caution and concern for

     foreseeable and unforeseen consequences. This is especially true when the rationale for

     employing Section 232 appears to be entangled with political considerations for broad

     industrial policy goals.

3.   Logically, the national security “bottleneck” if there is one is the dwindling reserves of

     U.S. iron ore. According to the U.S. Geological Survey, the U.S. is not even in the top 10

     for iron ore reserves, while significant military competitors such as Russia and China

     have more than double our reserves. This is unsurprising, since we have been using up

     our iron ore at a substantial rate for more than 100 years. In addition, U.S. iron ore has

     relatively low iron content compared to those countries. Consequently, stimulating

     production of steel in the U.S., which currently relies heavily on U.S. iron ore, only

     makes us more dependent on imports of iron ore. Fortunately, Canada and Mexico have

     good reserves of iron ore, as do friendly countries such as Australia and Brazil. But if the

     concern is to have everything sourced in the U.S., it would be not only illogical but

     dangerous to use up our own iron ore first – as we did with crude oil.

4.   Finally, it is impossible to ignore the certainty that other countries will retaliate against

     U.S. exports. Let’s start with the obvious:

     •       The United States is the largest exporter of military equipment in the world,

             selling over $20 billion annually in recent years. But we have competitors for

             almost all our products—Russia is second, for example. This affects not only the




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          jobs that are dependent on exports, but the entire economics of our defense base.

          The economics of great airplanes like the F-35 or the F-22 do not work unless

          they are sold to some of the same countries whose steel this proceeding might

          limit from entering the U.S. It is hardly hypothetical that those steel exporting

          countries might want to stop buying our military equipment and switch to other

          sources, as they might easily do.

     •    And there is no reason to believe retaliation would be limited to military sales. A

          member of the Mexican Senate and a candidate in the 2018 presidential election

          recently introduced a bill to force Mexico to diversify its sources of corn away

          from the U.S. He states that the goal is to reduce Mexico’s imports of corn from

          the U.S. from $1.3 billion down to $500 million. While some may think that that

          is no problem for U.S. corn growers, as they can simply sell the corn elsewhere,

          that logic does not apply if many countries do the same thing. And in any event,

          agriculture today is not that simple. When more than 60 countries banned our beef

          exports in 2003 on spurious SPS grounds, we lost more than $3 billion in exports

          a year, and in fact we never fully recovered to this day (China, for example, the

          world’s largest potential market for beef, remains closed to the U.S. despite

          announcements from last year and this year that it would reopen, while it is open

          to our friendly competitors in Australia). When the prior administration imposed

          a safeguard on tires from China, China retaliated the same day by announcing

          antidumping and countervailing duty cases against imports of U.S. automobiles

          and chicken parts. There are reports that Jeep eventually had to ship production

          of Jeeps—and jobs--to be sold in China from Toledo, Ohio to China because of




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             those cases. Chicken was more impacted: $500 million of the $800 million that

             the U.S. industry sold to China annually before the cases was composed of

             chicken paws and tips for which there is no other market except rendering. We

             had been selling those parts at 80 cents a pound in China. When they were sold

             for rendering in the U.S., our chicken producers received only 4-5 cents a pound.

             In general, the underlying economics of agriculture is that a relatively small loss

             of foreign markets leads to very large and potentially catastrophic drop in prices

             in the U.S. market. Food security for Americans would seem a very immediate

             national security concern.

      5.     None of this is necessary, of course. For items for which there is a national

             security need – even according to the American Iron and Steel Institute, this

             amounts to approximately 3% of U.S. steel production; prior statistics set this

             amount originally at 0.3%, a number which is still used by reputable analysts-- the

             Government has full legal means to access what it needs. In addition, less trade

             restrictive means such as additional subsidies could be used to stimulate

             production of those items.

Thank you very much.




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                                     U.S. DEPARMENT OF COMMERCE
                                     PUBLIC HEARING ON SECTION 232
                                   NATIONAL SECURITY INVESTIGATION OF
                                            IMPROTS OF STEEL
                                              May 24, 2017

                                             ORAL TESTIMONY OF

                                            Tracey J. Norberg
                                Senior Vice President & General Counsel
                                  U.S. Tire Manufacturers Association
                            CONTACT: tnorberg@USTires.org or +1 202 682 4839

        On behalf of the member companies of the U.S. Tire Manufacturers Association (“USTMA”),1 I

appreciate the opportunity to submit testimony to the Section 232 National Security Investigation of

Imports of Steel. USTMA represents ten tire manufacturers with manufacturing operations in the United

States. USTMA’s membership includes: Bridgestone Americas, Inc.; Continental Tire the Americas, LLC;

Cooper Tire & Rubber Company; The Goodyear Tire & Rubber Company; Kumho Tire U.S.A., Inc.;

Michelin North America, Inc.; Pirelli Tire North America; Sumitomo Rubber Industries; Toyo Tire Holdings

of Americas Inc.; and Yokohama Tire Corporation. In the United States, USTMA members employ nearly

100,000 workers, operate 55 tire‐related manufacturing facilities in 19 states and generate over $27

billion in annual sales.


        Tire manufacturing is vital to the U.S. economy. Tires manufactured by USTMA members safely

transport millions of Americans and millions of tons of goods each day throughout the United States.

USTMA members have a direct interest in the Section 232 National Security Investigation of Imports of

Steel. Virtually all of the steel wire rod used to manufacture tire cord that is consumed in U.S. tire

manufacturing plants is sourced from foreign suppliers due to the stringent performance and quality

requirements of tire manufacturing, as well as quality and supply limitations of domestic steel wire rod



1
 Effective May 23, 2017, the Rubber Manufacturers Association, the national trade association for tire
manufacturers that produce tires in the United States, has officially changed its name to the U.S. Tire
Manufacturers Association (USTMA).
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suppliers. It is our understanding that electric arc furnace technology, used in domestic steel mills, is

unable to produce consistently the quality of tire cord‐quality wire rod necessary to make tire cord for

use in tire manufacturing. Tire cord‐quality wire rod is produced using basic oxygen furnace technology,

which is employed by foreign wire rod suppliers, and is a product that cannot be supplied in the volume

and under the quality necessary for military and civilian applications by domestic producers.


        Depending on the outcome of the Section 232 National Security Investigation of Imports of

Steel, potential remedies could have a significant negative impact on the U.S. tire manufacturing

industry. In particular, any action that curtails the availability of the supply of tire cord or tire cord‐

quality wire rod would affect U.S. tire production. Any such trade constraint could potentially have a

cascading negative impact on U.S. commerce, since the transportation industry and the military depend

on a reliable supply of tires to ship goods throughout the country. In addition, the U.S. military depends

on the tire manufacturing industry to supply tires to protect our national security.


        Tires contain a number of highly engineered components, including high carbon steel. The steel

wire in tires is manufactured using SAE 1080 or higher steel wire rods (often called “tire cord‐quality

wire rod”), which are drawn into steel wire to meet exact specifications (or “tire cord” and “bead wire”).

This steel wire is used both in a tire’s steel belts, providing strength, high load‐carrying capacity,

puncture resistance and durability, and in the bead, which holds the tire to the rim. SAE 1080 and higher

tire cord‐quality wire rod contains a minimum of 0.80 percent carbon content, a low manganese

content, between 5.0 mm and 6.5 mm in diameter and is generally free from defects. The high carbon

content and consistent surface quality are required to assure performance to stringent tire performance

requirements. All types of modern tires designed for highway use contain steel belts and steel beads,

including passenger, light truck and truck/bus tires. However, truck/bus tires contain a greater

percentage of steel, due to the more demanding load and durability requirements of heavier vehicles.
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Military and related vehicles have intrinsically demanding durability requirements, in light of the need to

operate such equipment in extreme conditions around the world.


        Tires sold in the United States are self‐certified by tire manufacturers to meet U.S. Federal

Motor Vehicle Safety Standards set by the National Highway Traffic Safety Administration. Federal

Motor Vehicle Safety Standard No. 139 applies to passenger and light truck tires made after September

1, 2009 for use on vehicles that have a gross vehicle weight rating (GVWR) of 10,000 pounds or less and

that were manufactured after 1975. Generally recognized as the most stringent tire performance

standard in the world, FMVSS No. 139 was promulgated in response to the Transportation Recall

Enhancement, Accountability and Documentation (or TREAD) Act enacted in October 2000. Among

other requirements, FMVSS No. 139 mandates that tires sold in the United States perform to meet the

specifications of the endurance low pressure test, which requires a tire to run for 34 hours at increasing

loads on a test wheel, then run for two additional hours on the test wheel after being significantly

deflated. Adherence with FMVSS No. 139 necessitates tire construction to be robust, puncture resistant

and resistant to the effects of load and heat, demanding high quality materials, including high carbon

steel. Similarly, truck and bus tires sold in the United States must meet FMVSS No. 119, which includes

tests for strength and high‐speed performance. Additionally, truck/bus tires must meet customer and

vehicle requirements for substantial load‐carrying capacity to meet the demand of a diverse array of

vehicles. As well, passenger/light truck and truck/bus tires are designed to contribute to vehicle fuel

economy by reducing vehicle weight and lowering the tire’s rolling resistance. Tire cord made from high

quality, high carbon steel is vital to maintaining tire safety and performance.


        Given the unique needs of tire manufacturers to have continuous, consistent supply of tire cord

made from tire cord‐quality rod (Grade SAE 1080 and higher steel), USTMA respectfully requests that

the U.S. Department of Commerce exclude from the Section 232 National Security Investigation of
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Imports of Steel the specific Harmonized Tariff System (HTS) codes corresponding to the steel products

necessary for the production of tires. In particular, USTMA asks that the following HTS codes be

excluded from the Section 232 National Security Investigation of Imports of Steel:


               7213.91.3011: Tire cord‐quality steel wire rod

               7312.10.1030: Tire cord

               7217.30.4530, 4560, 4590: Bead wire


        Tariffs or quotas on these products would significantly disrupt the production of tires in the

United States, have quality and supply limitations in producing SAE 1080 and higher steel wire rod to

replace imported products. A disruption in tire manufacturing in the U.S. would harm the U.S. economy,

since consistent tire supply is critical to the nation’s shipping and commerce needs, and threaten

national security, since the U.S. military relies on the tire industry to provide high performing and

durable tires to aid in our national defense.
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 May 22, 2017

 Presentation for Section 232 National Security Investigation of Imports of Steel:
 Honorable members of the panel, my name is Suzi Agar and I’m representing ADI (Air
 Distribution Institute). ADI is a non-profit association that was formed in 1947 to promote
 steel products and fittings for the heating, venting and air conditioning industry. Currently,
 there are sixteen members who are the owners or principals of over thirty-six manufacturing
 facilities located throughout the US. Together, we also proudly employ over 5,000 full time
 and 150 part-time workers within the U.S.

A key product used by ADI members is light-gauged corrosion-resistant steel, commonly
referred to as “CORE”. Specifically, we utilize: Hot Dipped Galvanized Sheet in coil form,
which conforms to ASTM A653; Grade CS, Type B, with a zinc coating known as G-30.

Please note that, first and foremost, the key products we import are not in any way tied to
the national defense industry. Our products are not used for armor, defense vehicles, ships,
aircrafts or infrastructure. The HVAC products we manufacture are predominantly utilized
for the housing industry and for the construction of light commercial buildings.

For decades, domestic mills have vacated the residential HVAC market by choice. Because
most domestic mills are governed by a ‘tons per hour’ pay scale, it’s simply not profitable
nor advantageous for them to produce light gauge steel or aluminum. Rightfully so, they
have focused their production on fabricating heavier gauged metals. These metals are used
for the appliance, automobile, heavy construction, tube and pipe industries. They are favored
not only because of the higher prices they can command, but also because they are less
taxing to produce. There is neither the demand nor the desire for them to produce light
gauged metals and aluminum.

The scarce availability of domestic light gauge metals coupled with the high prices they
charge, is directly reflected in the average yearly totals ADI members buy from domestic
mills: approximately 77,000 tons of galvanized metal and 960 tons of aluminum, all 0.010" ­
0.012". On a yearly average, ADI members purchase approximately 200,000 tons of these
same type light gauge metals from foreign sources.

ADI members also have a need for multiple widths of steel. There are some types of steel
we purchase that are currently available from only one U.S. mill. We would prefer to source
our metals from domestic mills, but due to restricted availability and pricing, we are basically
forced to find mills outside of the U.S. who are willing to work with us.
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Because of the tariffs already added from the 2015 Antidumping lawsuit, our members and
therefore our U.S. consumers are already feeling the effects of higher priced steel. Additional
tariffs and restrictions from a second action will continue to drive prices up. Domestically,
prices have increased around 16% between 2015-2016. And, on average, 2017 domestic
prices are even higher, by approximately 10% YTD.

We would anticipate a serious disruption and probable scarcity of metal if forced to buy
higher priced steel from either within or outside the U.S. This would escalate the probability
of the housing industry to seek alternatives to ducted HVAC systems. Additionally, we
believe jobs will be lost due to a lack of demand for our affordable products.

The members of ADI believe in and support President Trump's initiative to prepare America
for adequate readiness in the event of a national security event. We do not want our types
of light gauge metals to interfere with domestic mills being able to react quickly if there was
a crisis. We are sympathetic to the intent of this investigation, however, U.S. manufactures,
like ourselves, are truly in a unique niche: the production of light gauge HVAC ductwork and
fittings.

We need readily accessible as well as reasonably priced steel. We respectfully ask that you
exclude light gauge galvanized metals and aluminum (0.010"-0.012" thicknesses) from the
Section 232 National Security Investigation of Imports of Steel. We respectfully appeal
to the U.S. government to give our industry consideration by not imposing additional tariffs,
adding restrictions or prohibiting our ability to purchase light gauge metals and aluminum
from foreign markets. Thank you.
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                    Testimony of John Cross (Steelscape LLC)


        Good morning (afternoon). My name is John Cross, President of Steelscape

LLC, an American company that manufactures coated and painted steel for US

companies. Steelscape has facilities in Washington State and California, together

employing almost 400 men and women in productive, high-paying jobs. As I will

explain below, Steelscape is structured to import the raw material that we use to

produce our coated and painted steel, from Australia and Asia. This imported

substrate not only does not threaten the country’s national security, but actually

promotes it by permitting Steelscape, a US steelmaker, to participate productively

in the US economy. If the president were to institute broad-based restrictions on

steel imports, it would jeopardize the viability of Steelscape itself, and in the

process threaten the livelihood of our American employees.


        Steelscape has two facilities, one located on the Columbia River in Kalama,

Washington, and one located in Rancho Cucamonga, California. Both facilities

produce coated steel products, but not from liquid steel. Our Kalama facility

transforms hot rolled coils into cold rolled and galvanized coils, while our Rancho

facility purchases cold-rolled steel to produce galvalume coils. Both facilities also

paint most of the coated steel they produce. A large portion of Steelscape’s output

ships to ASC Profiles LLC, an affiliated company, which uses our steel to




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manufacture steel profiles and building components for commercial and residential

use in the western United States.


        Both Steelscape facilities need imported steel substrate to make their coated

products. The Kalama site is located literally along the side of the Columbia

River, a deep-water port facility which allows ocean-going vessels to discharge

steel directly from the dock to Steelscape’s storage yard. Shipping costs from

Australia or Asia range from $60 to $100 per ton LESS than rail rates from most

US mills.


        For US mills to get their steel to the West Coast, they have to ship steel by

rail across the Rocky Mountains, which is an expensive proposition. I know,

because one of Steelscape’s parents, BlueScope Steel, also owns a US steel mill,

North Star BlueScope Steel in Delta Ohio, producing hot-rolled steel. Steelscape

can purchase only a few hundred tons of steel a month from North Star due to the

added cost of freight.


        Sourcing steel from west coast producers is also problematic for us. There

are only two or three suppliers of hot-rolled steel in the West Coast, and they are

focused on supplying their own downstream needs and customers. Let me tell you

something else about the West Coast steel market – none of the major steel

producers in the West Coast melt and pour their own steel. California Steel

Industries, a joint-venture of JFE Steel of Japan and Vale of Brazil, hot-rolls and



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cold-rolls semi-finished slab that it buys from elsewhere, mostly from import

sources. UPI, the other major producer, cold-rolls its steel from hot-rolled steel

that it purchases from its two owners, US Steel and POSCO of Korea.

Historically, half or more of the hot-rolled steel that UPI uses to produce

downstream steel products it obtains from Korea. The dynamics of the West Coast

market are such that virtually all steel producers in the market have to import a

large portion of the raw material they use from abroad. Steelscape is no different.


        Steelscape is subject to another structural restriction that prevents it from

purchasing raw material from US mills: Any steel substrate that Kalama would

buy from domestic suppliers would have to arrive by rail, which Kalama cannot

accommodate due to space limitations. We are not in a position to absorb the

significant capital investment that would be required for additional land and heavy

equipment to support delivery by rail.


        Domestically produced steel does not compete with imported steel for

Steelscape’ substrate business. Steelscape requires imported steel to survive as an

American producer of coated steel products. The proof of that is this: last year,

when the Commerce Department imposed almost 30% dumping duties on hot-

rolled steel from Australia, Steelscape did not replace its Australian hot-rolled steel

with a single ton of domestically-produced hot-rolled steel. Instead, we imported

hot-rolled and cold-rolled substrate from other countries to meet its needs. By




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doing so, Steelscape was able to remain a going concern, saving 243 jobs in

Kalama and 131 in California.


        And it is not only Steelscape jobs that would potentially be at risk. As I

mentioned, much of Steelscape’s production goes to ASC Profiles, which uses the

coated steel to produce metal building components. If ASC could not buy reliable,

high-quality steel from Steelscape – made from imported substrate – its operations

could also be at risk.


        The steel substrate that Steelscape must import from Australia and other

countries does not threaten the security of at least this part of the United States’

steel industry; it helps the industry survive and prosper.


        I would like to point out, in addition, that a large portion of the steel

substrate that Steelscape imports is from BlueScope Steel Ltd. in Australia.

BlueScope Steel Limited is the only exporter of flat-rolled steel from Australia.

The steel substrate that Steelscape imports from Australia – or from any other

source – is not for any defense or national security use. It is simple, flat-rolled

steel that we coat and paint and ship for use in commercial and residential

buildings throughout North America. This kind of steel has no impact on the

United States’ national security requirements.


        Steelscape, in short, needs to import steel in order to produce steel in the

U.S. We ask the Department to consider the special situation of companies such as


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ours, companies that depend on imported steel to survive as American steel

producers. And we ask you to take the special relationship between Australia and

the United States into account.




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             BEFORE THE U.S. DEPARTMENT OF COMMERCE
                 BUREAU OF INDUSTRY AND SECURITY

                                                   )
Section 232 Investigation on the Effect of         )
Imports of Steel on U.S. National Security         )
                                                   )

  Oral Presentation of Jim Tennant, Chief Executive Officer, Ohio Coatings
                                Company

       1.     Good morning. My name is Jim Tennant. I am the Chief Executive

Officer of Ohio Coatings Company or “OCC”, located in Yorkville, Ohio, on the

Ohio/West Virginia border.

       2.     OCC is a domestic U.S. producer of tin plate. Tin plated products are

used in food and beverage cans, paint cans, aerosol cans, and similar products.

       3.     OCC operates a world-class, 130,000 square foot electrolytic tin plate

manufacturing facility with a capacity to produce 250,000 tons per year of the

highest quality tin plate available anywhere. When OCC’s plant opened in 1997, it

was the first tin plating mill to have been constructed in North America in over 30

years. OCC employs 66 American workers who live in Ohio and West Virginia.

Those jobs, and the very survival of OCC as a U.S. tin plate manufacturer, are

threatened if imports of tin-mill black plate, the steel substrate used to produce tin

plate, are restricted as the result of this investigation.

       4.     OCC is owned by TCC, a Korean producer of Tin Plate, and Esmark.

The total investment in OCC to date is $80,000,000. The investment in the mill,
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and its continued operation, was conditioned on the ability to import some of the

black plate substrate necessary to produce tin plate.

      5.     Black plate is a specialty steel that was developed and designed for

the production of tin plate. It has no other significant uses. Besides OCC, there are

three other domestic producers of tin plate products in the United States:

ArcelorMittal, U.S. Steel, and USS-POSCO Industries (“UPI”). The volume of tin

plate and black plate required directly for national defense needs is limited, and

OCC believes that existing domestic capacity is adequate to meet current and

projected national defense requirements.

      6.     Unlike our three competitors in the tin plate market, OCC does not

have its own captive supply of black plate. Rather, OCC is dependent upon

purchasing black plate in the merchant market. The only domestic producers of

black plate, however, are also our competitors in the tin plate market – primarily

ArcelorMittal and U.S. Steel. As a West Coast producer, UPI is not a viable

supplier of black plate for OCC. Sourcing 100 percent of our black plate

requirements from our competitors is not a viable option for OCC. Unless we are

able to continue to also purchase high-quality black plate from import sources,

OCC may have to close its doors.

      7.     In 2012, RG Steel, our former parent company and source of OCC’s

black plate, went through bankruptcy and was liquidated. Until the 3rd quarter of


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2016, OCC obtained its black plate from ArcelorMittal, POSCO, and from

Japanese suppliers. The only viable domestic supplier at this point is

ArcelorMittal.

      8.     OCC is no longer able to import black plate from Korea and Japan

and has not done so since the 3rd quarter of 2016 as a result of the antidumping

and countervailing duty actions against cold-rolled steel. As a result, OCC

continues to purchase black plate from ArcelorMittal and from some import

sources, but OCC lacks sufficient raw materials to maximize its efficiency. In

2015, OCC operated at 60 percent of capacity, declining to 50 percent in 2016 as a

result of the antidumping and countervailing duty orders. In the first quarter of

2017, OCC is operating at 40 percent of capacity because of shortages of black

plate substrate.

      9.     Moreover, despite U.S. Steel’s assurances before the International

Trade Commission that they could supply black plate, U.S. Steel has never even

offered competitively priced black plate to OCC, as compared to offers from

ArcelorMittal and other suppliers. U.S. Steel’s “offers” have been at prices that

were higher than the current market price for finished tin plate. Clearly, U.S. Steel

is not interested in supplying OCC due to the fact that we compete with them in the

tin plate market.




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      10.    OCC cannot survive with ArcelorMittal as its only supplier. If OCC

sourced all of its black plate from ArcelorMittal and that plant were to have any

kind of shutdown, fire, strike, etc., OCC would be shut down.

      11.    Second, ArcelorMittal is OCC’s direct competitor in the tin plate

market. They will always prioritize supplying their own operations first.

      12.    Any further import restrictions on black plate would be devastating to

OCC and would threaten its survival as a U.S. producer.

      13.    To the extent that this proceeding is designing an industrial policy

toward the steel industry and steel users, thought must be given to the costs of

shutting out imported steel needed to supplement domestic production and to

support downstream users of steel. Restrictions on imports of black plate have

weakened, not strengthened the U.S. industry.

      14.    Thank you and I am prepared to answer any questions you may have.




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                                  Testimony of
                                 Leo W. Gerard
                            International President
      United Steel, Paper and Forestry, Rubber, Manufacturing, Energy,
      Allied Industrial and Services Workers International Union (USW)
                                 regarding the
       Section 232 National Security Investigation of Imports of Steel
                                  May 24, 2017


       Mr. Chairman.

       On behalf of the United Steel, Paper and Forestry, Rubber, Manufacturing, Energy,
Allied Industrial and Service Workers International Union (USW), I appreciate the
opportunity to testify today on behalf of our membership in the iron and steel sector. Our
members are involved at every level of steelmaking, from the raw materials to finished
products in almost every North American Industry Classification System (NAICS)
category of steel product, which gives our union a very broad perspective of the critical
nature of steel manufacturing to our national security.

       The examination of this potential action occurs at a perilous time for the steel
industry. There is no doubt that the U.S. steel sector is essential to our nation’s national
security. From the materials utilized by our military, to the materials necessary to build,
maintain and repair our critical infrastructure, our national security is increasingly at risk
because of the relentless economic attacks on our steel industry.

       It's important to recognize that the steel sector is not monolithic. Indeed, as public
policy clearly identifies, there is a continuum of products from the basic materials through
iron and on to steel. When talking about Buy America, for example, the statute refers to
“iron and steel”. And, the industry’s preeminent trade association is named the American
Iron and Steel Institute.

       As this Section 232 investigation continues, I hope that the Administration will
evaluate the challenges facing the entire industry spectrum. From the basic material to
iron and steel products; to elements like silicon metal, manganese and chromium used in
making alloys, our national security interests are at risk. All of these products are
important to our national security. My testimony will use the term steel to reflect the entire
sector and all these products.
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       Steel is literally the backbone of this great country ensuring our military might and
our ability to respond to potential attacks. America’s steel producers and workers have
been called upon to support this nation in times of war and to build the capacity to deter
potential adversaries from initiating conflict. We need to revitalize the sector to meet
today’s growing needs and to ensure that we have the “surge” capacity, should it be
needed. That means having not only the productive capacity in our mills, but the skilled
workforce necessary to man the operations.

        Meeting national security needs in steel is not just about basic commodities. It’s
also about having the capacity to fabricate the products we need that are necessary for
the functioning of the U.S. economy. The criteria of the National Security Industrial Base
Regulation (NSIBR) provide broad guidance for the vital understanding of how steel can
affect national security. USW believes the Administration must focus in on the criteria
developed into law which incorporates an understanding that steel is not only necessary
to build a tank or a ship but to grow and build a strong nation. Criteria such as the impact
of foreign competition on the economic welfare of the steel industry must rise in
prominence as the 232 report is prepared.

        Others will likely testify about vulnerabilities related to a smaller, less diversified
domestic steel industry but I wish to highlight a few products which show the
interrelatedness to defense and non-defense applications. The plate mills at USW-
represented ArcelorMittal Burns Harbor produce not just steel for military applications but
have supplied steel for John Deere tractors which harvest the foodstuffs for our country.
Simply, an army marches on its stomach as much as it moves in USW-made Bradley
fighting vehicles. This is why we urge that this investigation approach national security in
steel from a holistic perspective. We as a country have to ask ourselves the question; if
we don’t have a domestic non-defense manufacturing base that provides steel goods,
how can domestic defense steel industries survive?

       The ability to fabricate and produce basic steel products like pipe and tube must
also be considered in this investigation. A lack of domestic capability has the potential of
undermining the country’s ability to deliver basic needs to communities.

        The United States uses 42 billion gallons of water a day to support daily life from
cooking and bathing in homes to use in factories and offices across the country. Drinking
water is delivered via one million miles of pipes across the country. Every day, nearly six
billion gallons of treated drinking water are lost due to leaking pipes. An estimated
240,000 water main breaks occur each year. That is why we as a union are dismayed
when we read about infrastructure projects like the Holland Tunnel using Turkish, Eastern
European, and Chinese steel for 5,700 tons of pipe. We are undermining domestic
producers’ ability to supply our citizens. As plants close, the decrease in revenue to
government from local property and business taxes creates a vicious downward cycle in
disinvestment. This in turn creates social and economic instability for millions of working
Americans.
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       Another example is Grain Oriented Electrical Steel (GOES) which is critical to
producing the transformers that help deliver power. Products made from GOES – power
transformers, switchgear, and distribution transformers – are all necessary to complete
the delivery of electricity to the entire country. The Department of Energy (DOE) has
highlighted that if our country’s electrical grid sustained substantial damage, it could take
months to obtain certain key parts. We must have the capacity not only to produce the
underlying product, but this nation must retain the ability to manufacture the final products
dependent on those commodities.

      We live in highly uncertain times with rising threats. Traditional nation states, like
North Korea, are not the only threats we face. As the 9/11 attacks made all-too-clear,
non-state actors have the capacity to inflict enormous damage.

        Europe is confronting terrorist actions on a regular basis and the threats here at
home are just as real. Cyber capabilities have the capacity not only to damage control
systems, but the very operations themselves as was reported in 2014 when hackers
attacked a German steel mill and inflicted “massive” physical damage. The ability to
strengthen our critical infrastructure and ensure its resiliency, should it be damaged, are
vital to protecting the country, its citizens and its interests.

        America’s steel mills are far from the smoke-belching “rust belt” images that many
still have in their minds. Here in the United States a combination of massive investments
in plant, equipment, technology and people have made our plants some of the most
efficient on earth. Labor productivity has seen a five-fold increase since the early 1980s,
going from an average of 10.1 man-hours per finished ton of steel to an average of 1.9
man-hours per finished ton in 2015.

       Traveling through a facility you will find few workers on the plant’s floor as most
man computers and high tech monitoring equipment. We must recognize that the modern
steel mill requires specialized skills. Our members spend hundreds of hours training and
specializing in making steel products. I fear that lack of action and continued decline of
U.S. steelmaking will reduce the basic skilled human resources necessary to produce
steel products in the country anymore, weakening our national security and economy.

        The decision to include all steel products spanning the gamut of the industry in this
investigation sends an important signal: The United States cannot simply try to isolate
one product or one technology and then rely on world markets to generously, and
immediately, support America’s needs in a crisis. If you travel through the holding yards
of a steel mill, you will see materials which appear common in appearance, but one that
may have vastly different metallurgical properties from its twin right next to it. From armor
plate, to high carbon steel, to fan blades for jet engine turbines, to Oil Country Tubular
Goods and countless other basic and finished products; steel supports our nation’s
security interests. And, product-after-product has been under attack by our trading
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partners – all important in some way to our national security. Other countries will first
worry about their own needs. We want to have the ability to meet our needs quickly,
without having to worry about supply lines and security.

        In a time of crisis it is quite possible that some countries may simply refuse to
supply us, depending on what the underlying cause of the conflict or problem is and who
is involved. Remember during the Gulf War how Switzerland refused to provide the U.S.
military with over-flight rights? Others could easily refuse to supply the United State with
materials in future confrontations. At the end of the day, only the United States can
guarantee the security interests of its people. We cannot simply hope for the best, we
must prepare for the worst.

       Our domestic industry has been, and is, under attack from foreign unfair, illegal,
predatory and protectionist policies. Heading up this list is China which, through a
network of non-market economic policies has dramatically expanded its steel production
capacity, fueling global overcapacity that has swamped world markets. China is engaged
in an attack on our entire manufacturing sector but it has been targeting steel longer than
any other product.

       Attached to this testimony is a paper we prepared on China’s “Broken Promises.”
Its leaders have repeatedly indicated that steel overcapacity is something the People’s
Republic of China intends to lower, and while the country makes promise after renewed
promise of their intent to dismantle the excess capacity it has created there has been no
net decrease in capacity, only increases.

       China, despite all its rhetoric on cutting its overcapacity, increased its operating
capacity by 36 million tons in 2016. China’s overall operating capacity is estimated to
have risen to 1 billion tons, from about 965 million tons the year before.

       Shortly after the last steel crisis in the late 1990s which decimated U.S. production
and employment, we were able to convince the Bush Administration to bring a Section
201 case on certain steel products. Let’s recognize that his Administration did not readily
embrace the effort: It was only after Senator Jay Rockefeller had cobbled together the
votes on the Senate Finance Committee to initiate action that the Administration used
their authority to self-initiate action.

        Quickly, the Administration began to issue waivers and reduce the scope of the
relief. But, after a lot of pain and suffering through bankruptcies, restructurings, layoffs
and benefit cuts, the industry stabilized. At roughly the same time, China became a
member of the World Trade Organization as a result of Congress’ grant of Permanent
Normal Trade Relations. China took that as the signal to begin a massive trade attack
on the U.S. and world markets.
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         China’s actions have been virtually unchallenged by the international community.
Indeed, here in the U.S., the bulk of the trade actions which have been taken were at the
initiation of the private sector – a substantial portion because of the Steelworkers. The
USW has participated in hundreds of antidumping and countervailing duty cases and
have initiated and brought a number of them on our own. We have launched Section 301
cases on green technology and efforts on China’s actions in the auto parts sector as well
as a Section 421 case on tires.

       All of these efforts could have been initiated by government with its existing
authority. We do not view filing trade cases as a sign of success. Yes, we are proud of
our fights on behalf of our members. But, to win a case, you have to lose: Winning a
case requires that you prove injury, or the threat of injury. At the International Trade
Commission, this generally requires employment reductions, lost profits, suppressed
wages, and diminished market share. When relief is obtained, if it’s authorized, we are
lucky to stabilize the industry as our competitors often take their unfairly-traded products
and ship them through third country markets.

       We are watching this slow creep of relief in the market this year because the steel
industry and the USW have been working cooperatively on several major trade cases.
Three of these cases, filed in 2015 and completed in 2016, impact approximately 8 million
tons of finished imports that entered the U.S. in 2015 alone. In fact between January 2016
and January 2017, duties (tariffs) against illegally dumped and subsidized steel increased
close to 20 percent.

         These cases are having an effect but they are muted by global overcapacity and
lack of sustained policy action by the U.S. government. The steel industry adjusted year-
to-date production through May 13, 2017 was 39,924,000 net tons, at a capability
utilization rate of 74.3 percent. That is up 3.2 percent from the 31,912,000 net tons during
the same period last year, when the capability utilization rate was 72.1 percent. To give
perspective, in 2007 through the summer of 2008, domestic steel capacity utilization was
at 87.6 percent.

       Winning relief has become the equivalent of Trade Whack-A-Mole.

        China’s massive subsidies and dumping, along with domestic policies to sustain
and build capacity, have flooded world markets destabilizing and undermining those
producers who must abide by free market rules. The market has been stabilized at a
lower level of production and capacity because of the injury that has already been inflicted
is not addressed by the orders as U.S. trade law does not address past harm.

      It is vital that any relief authorized as a result of this investigation leave in place,
and supplement the relief provided by existing AD/CVD orders.
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        Over the years, we have worked to get action on China’s overall policies, and
address the anticompetitive actions of certain other countries – Russia and others – as
well. The Steel Committee at the Organization for Economic Cooperation and
Development (OECD) has worked to identify the problem. Last year, President Obama
was able to get Chinese leadership to agree to participate in a Global Forum on Steel as
part of China’s leadership in the eleventh meeting of the G-20.

        China has refused to work to define the scope of the problem beyond pointing
fingers at others. Countries including China must come to the table for negotiations that
result in enforceable disciplines on steel capacity with measurable, and significant,
reductions in capacity and production. We should negotiate with an eye towards ensuring
our existing steel capabilities be maintained and grown to meet our basic security and
infrastructure needs. Our overall goal has never been to protect our market, but do that
we must, if our national security is at risk. We simply cannot wait any longer while our
steel sector and others gets downsized through repeated attacks.

        This Section 232 investigation has the potential not only to protect America’s
national security by imposing market restraints on imports from those countries causing
the problem, but also to create the impetus for serious negotiations. A negotiated solution
is the best approach – but not the only one.

        Mr. Chairman, the Steelworkers are a binational union with significant membership
on both sides of the US-Canadian border. As you move forward with your assessment
of the importance of steel to U.S. national security interests and what measures, if any,
to implement, I hope you will focus on where the problem lies. It is not to our north, but
to our east, west and south. Indeed, we have a trade surplus in steel with Canada.
Products flow back and forth across our borders – often multiple times – because of
integrated supply chains and finishing operations.

        And, from a national security perspective, Canada is one of the few countries that
has always been there for us with no question, in my mind or in the military or intelligence
expert’s views. Indeed, our national security and intelligence relationship with Canada
is truly unique. We share an uncontested border. We have an intelligence sharing
relationship known as Five Eyes (FVEY) that is limited to only five countries. We have
the North American Aerospace Defense Command – NORAD – that has existed for more
than sixty years that was the initial line of defense for North America during the Cold War.
Canada has been an ally, a friend and a trusted partner.

       Canada is the only country that should be exempted from any potential action in
the steel sector.

       But as we face increasing competitive challenges and threats to our steel sector
Canada must also ensure that they enforce the trade laws so that steel products don’t
use their market as a way-station to enter the U.S. market and circumvent and evade our
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laws and our interests. I am confident that the leaders of Canada will embrace those
efforts with the goal of sustaining and advancing our individual and joint national security
interests.

         This testimony is not a treatise on the domestic steel sector as the Commerce
Department’s experts have the experience and the data, to assist in your investigation.
But, we stand ready to provide whatever assistance is appropriate as you continue this
critical investigation and use the authority you have under the law to protect our nation’s
security.
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                         Philip K. Bell            Phone: (202) 296-1515
                         President

                                                                             21st Century Steelmakers




                         Statement of Philip K. Bell
         President, Steel Manufacturers Association (SMA)
                                      Before the
                     U.S. Department of Commerce
  Public Hearing in Conjunction with Section 232 Investigation
 Regarding the Effects on the National Security of Imports of Steel
                                   May 24, 2017




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       Good morning Secretary Ross and members of the panel. Thank you for the invitation to

appear before you today regarding the Department’s Section 232 investigation into the national

security effects of imported steel.


       My name is Philip Bell and I am President of the Steel Manufacturers Association

(“SMA”). The SMA is the voice of the U.S. steelmakers that rely on electric arc furnace (EAF)

steel manufacturing technology, which is the dominant steelmaking technology used in America.

SMA is our country’s largest steel industry trade association – based on the actual number of

steel producing members and the amount of steelmaking capacity represented. SMA’s

membership contains a variety of steel producers including some of the nation’s largest

steelmakers and employers.


       As “21st Century Steelmakers” our members utilize post-consumer recycled ferrous scrap

as their principal feedstock, turning this waste into world-class steel. SMA’s members account

for more than 75 percent of domestic steelmaking capacity, directly employing more than 60,000

workers across North America, and indirectly supporting over 420,000 additional jobs.


       It is imperative to our national security that the United States have a strong, viable

domestic steel industry with sufficient productive capacity to meet both defense and commercial

needs. We cannot rely on foreign steel producers to arm and protect our military forces and to

rebuild and maintain the nation’s critical infrastructure.


       Before discussing some of these threats to our industry, I want to briefly focus on the

importance of a broad definition of national security, and steel’s role therein.
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       Steel is critical to our national defense. But beyond direct defense applications, steel is

an engine of economic activity and employment that is of critical importance to the United

States. Steel connects our energy grid and utilities, powering our homes and businesses. Steel

in pipelines delivers our abundant natural resources to consumers, empowering our

competitiveness. Steel gives strength to the cars, trains and ships that carry our commerce to

market over the highways, bridges, rail and waterways that are built with steel. In short, steel is

a ubiquitous and indispensable component of the nation’s critical infrastructure and its economic

wellbeing.


       Imports of steel, quite simply, present an existential threat to the American steel industry.

The volumes of imported steel today have impaired demand for U.S.-produced steel, forced

reductions in domestic production and diminished returns on capital investments. U.S.

steelmaking production capacity utilization has hovered under 75 percent for many years. We

believe capacity utilization of 85% is necessary to allow steelmakers to:

       •       Ensure double digit return on capital employed;

       •       Operate at full employment levels;

       •       Make necessary capital investments;

       •       Invest in research and development; and

       •       Efficiently operate both the “hot end” (steelmaking) and “cold end” (steel
               finishing) of finished steel production.

Not since before the 2007 global economic downturn has SMA members’ capacity utilization

come close the 85 percent level.
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       The ability of SMA’s members to meet episodic national defense requirements, and to

improve and make necessary capital investments for tomorrow, depends entirely on today’s

demand for their U.S. produced steel.


       SMA members are the safest, most productive and most sustainable steelmakers in the

world. We can compete with anyone on a level playing field. The United States also has the

world’s most open markets, and SMA supports free and fair trade. The same openness, however,

should not be extended to illegally traded, dumped and subsidized steel.


       Over the last decade, global steelmaking capacity has grown at an unprecedented rate.

The world’s steel consumption, however, has not kept pace, contributing to a large and

increasing gap between global capacity and demand. Now estimated to be more than 800 million

tons, this excess capacity – much of it propped up by illegal subsidies by foreign governments –

strains the profitability of even the most efficient producers.


       The effect of global overcapacity has been, quite simply, to flood the U.S. market,

typically unlawfully, with imported steel. Over the course of 2014 and 2015, import penetration

reached historic levels, which it continues to approximate today.


       Import market penetration has come at a great price to the U.S. steel industry and the U.S.

economy. From January 2015 through the end of 2016, steel industry employment in the U.S.

declined by 14,400 workers. Multiple U.S. facilities remain idled or operate with significantly

reduced work forces. Because each steel industry job supports an additional seven jobs

throughout the supply chain, the impact is far greater.
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       As the domestic steel industry has been weakened, tax revenues have been lost and our

national security impaired. Using an estimated nationwide average annual steelworker income

of $61,465, SMA estimates that the U.S. Federal Government forgoes – on average - $13,207 in

federal income taxes for each steelworker lost to unfairly-traded imported foreign steel. For

each 1.5 million in tons of steel imported into the United States, the Federal Government will

forego an estimated $9,000,000 in personal income tax revenue. As applied to the 14,400

workers lost since 2015, the Federal government has lost an estimated $190,000,000 in personal

income tax revenues.


       With hundreds of millions of dollars in lost tax revenue the effects are being felt at the

local, state and national level – while foreign producers continue to dedicate vast government

resources to support their steel industries and promote exports to our market.


       SMA commends ongoing diplomatic efforts to rationally reduce global steel production

capacity. While the United States may need to act unilaterally to ensure its steel producers and

their workers and customers are not driven out of business by unfairly-traded imports, it is our

hope that other like-minded countries that believe in free and fair markets and the rule of law

will join us in these efforts to reduce over capacity. We also believe that the 232 process should

serve as a catalyst to explore creative and meaningful remedies that deal with underselling,

overcapacity and other market distortions that impact our entire supply chain.
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       Again, we commend the Administration for taking this important step and we stand ready

to work with you to find ways to address these illegal steel imports and the threats they pose to

our national security.

       Thank you.
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                      Statement of Bill Geary

          Chairman, Cold Finished Steel Bar Institute

                               (CFSBI)

                President, Nelsen Steel Company

                         Public Hearing on

          Section 232 National Security Investigation

                   Regarding Imports of Steel



                            May 24, 2017
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       Good morning Mr. Secretary and members of the panel. I am Bill Geary, Chairman,

Cold Finished Steel Bar Institute (CFSBI) and President, Nelsen Steel Company.

       The Cold Finished Steel Bar Institute is a Washington, DC based trade association

representing U.S. producers of cold finished steel bar. Cold finished steel bar is incorporated

into a wide range of consumer, industrial, aerospace, and military products. Essentially any

product that contains a motor or moving part contains one or more components made from cold

finished steel bar. The U.S. cold finished steel bar industry produces high-quality products on an

efficient and cost-competitive basis, using highly trained workers under environmentally sound

conditions.

       Critical Contributions to the U.S. National Defense Made by CFSBI Members

       The following is a summary of national defense-related materials and applications

provided by cold finished steel bar producers:

A-10 Warthog and Apache attack helicopters        Projectiles
Shell cases                                       Cold extruded armament shell cases
Armored vehicles                                  door hinge pins
Vehicles                                          Shafts
                                                  Gears
                                                  Engines
                                                  Suspension parts
                                                  Drive chains
                                                  Military lockers
                                                  Rocket fuel rods
                                                  Grab handles
                                                  Steering systems
                                                  Braking systems
                                                  Pallets/and bomb fin adaptors
Guns                                              Virtually every gun contains cold finished steel
                                                  bars
Smart bombs                                       Cold finished bar parts
Aircraft                                          Numerous applications
M-16 rounds                                       1060 steel for penetrator
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       Cold finished steel bar producers also provide materials for civilian applications which

provide critical supportive functions essential to the national defense and the fight against

terrorism:

Motor vehicles                                     Numerous auto parts
Transportation                                     Airline seat parts
                                                   Locomotive axles
                                                   Wire ductwork for jet ramps
Infrastructure                                     Bridge parts
                                                   Wire supports for concrete
                                                   Sewer pipe parts
                                                   Rebar tie wire
                                                   Nails
                                                   Wire for cement columns and barrier walls
Power generation                                   Bolts for wind turbines
                                                   Wire for electrical transmission towers
                                                   Oil & gas applications
                                                   Mining industry applications

       The Effects of Import Competition On U.S. Cold Finished Steel Bar Producers

       Like much of the steel industry, CFSBI member companies are facing extraordinary

challenges from foreign producers. We believe there is widespread dumping in the U.S. market.

China and other countries have built substantial excess production capacity, frequently with

government subsidies. We face competitors which never have to make a profit to survive, thanks

to government handouts.

       The U.S. market for cold finished steel bar has declined precipitously. We estimate that

within the last 45 years, the demand for cold finished steel bar in the United States has gone from

2.5 million tons per year to about 1 million tons per year today. This reflects the loss of much of

our U.S. customer base. Unless the underlying commercial production of cold finished steel bars

is healthy, competitive and profitable, CFSBI companies would be unable to survive and would

not be able to provide critical materials essential to the national defense. For this reason, we

respectfully urge that any remedy determined in this section 232 case apply not only to the cold
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finished steel bar we produce, but also to downstream component parts made by our customers

and are then incorporated into subassemblies.

       I will be pleased to respond to any questions you have. Thank you.
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                  ORAL TESTIMONY OF CHAIRMAN EDWARD VORE
                                 May 24, 2017

       Secretary Ross, my name is Edward Vore and I pleased to be here today in my capacity

as the Chairman of the Committee on Pipe and Tube Imports, which is known as CPTI. I also

serve as the CEO of ArcelorMittal Tubular Products North America, but today I am here to

speak on behalf of CPTI and the entire U.S. pipe and tube industry.

       CPTI is the leading trade association for the steel pipe and tube industry in the United

States. It was founded in 1984 in response to the damage being done to domestic producers by

imported products. Regrettably, notwithstanding our organization’s efforts over three decades,

the domestic pipe and tube industry has continued to decline as imports take more and more

market share.

       Today, the CPTI has 40 members with 123 facilities in 32 states. Our members employ

more than 35,000 workers across the United States. Thousands more workers are currently laid

off, awaiting better economic conditions that would allow their employers to recall them.

       Although 2016 provided some respite for the domestic pipe and tube industry in the sense

that imports declined from the highs of 2014 and 2015, imports still took more than half of the

U.S. market. 2017 is not looking good. Imports are up 55 percent so far, which portends badly

for domestic producers.

       Our industry is a critical supplier to a number of important sectors of the U.S. economy,

including agriculture, construction, infrastructure, and manufacturing. I am here today, however,

to underscore that a healthy pipe and tube industry is vital to the nation’s defense and security.
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       First, pipe and tube have direct military applications such as casings for munitions and

are also essential components of piping systems in jets, ships, military vehicles, weapons

systems, and prefabricated buildings.

       Second, pipe and tube are critical to our nation’s energy security. Oil wells, for example,

use pipe and tube products like drill pipe and oil country tubular goods, and both oil and natural

gas are transported through pipelines made of line pipe. Petroleum products like gasoline –

which is essential to virtually any military action – also are refined in facilities made almost

entirely of pipe and tube.

       Third, pipe and tube are important to national security because they are used in the

transmission of critical fluids and gases for fire protection, industrial production, heating and

cooling, and water gathering systems.

       Finally, pipe and tube are an integral part of the overall steel industry. Seamless pipe and

tube is made from steel billets, and welded pipe and tube is made from flat-rolled steel. Domestic

pipe and tube companies tend to buy these inputs from domestic sources; foreign pipe and tube

producers buy their steel from foreign suppliers. We estimate that domestic pipe and tube makers

account for as much as one-third of the consumption of U.S. made hot-rolled steel. If domestic

pipe and tube manufacturers were to go out of business, U.S. steel producers would be hard

pressed to fill the resulting void in demand.

       The Reagan Administration recognized the importance of including pipe and tube in its

voluntary restraint agreements, as did the second Bush Administration when crafting a safeguard

remedy. The Trump Administration should do the same.

       According to the publication STEELBENCHMARKER, Chinese export prices for hot

rolled steel in 2016 were $453/ton, whereas U.S. prices were $671/ton. China’s state-owned
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enterprises don’t care about profits and will continue producing at a loss in order to maintain

production and employment. If the Administration were to limit only imports of steel itself, and

not pipe and tube, domestic coil prices would likely increase – potentially making domestic pipe

and tube less competitive. CPTI therefore favors a remedy for all flat rolled steel and billets

extending to pipe and tube and associated components like couplings and nipples, as well as

fabricated products such as pipe spools and pipe modules.

       On behalf of the nation’s makers of pipe and tube, as well as their workers, I am grateful

for this opportunity to present you with testimony and would be pleased to answer any questions

either now or in a written submission.
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Testimony from the Steel Founders’ Society of America

Section 232 Investigation: The Effect of Steel Imports on National Security
Submitted by: Raymond Monroe, Executive Vice President, Steel Founders’ Society of
America, monroe@sfsa.org

On September 9th, 2003, Amite Foundry in Amite, Louisiana poured a seven ton casting made
with steel scrap from the World Trade Center to make the bow stem for the USS New York.
Amite Foundry is a part of the U.S. foundry industry that manufactures thousands of custom
designed, high performance castings ranging in size from 1 pound to 50 tons for critical sectors
of the U.S. economy.

On behalf of Steel Founders’ Society of America (SFSA), we appreciate this opportunity to
provide these comments for the U.S. Department of Commerce investigation to determine the
effects of the imports of steel on national security.

Steel Founders’ Society of America (SFSA) is a trade association for advancing the steel casting
industry. We are over 100 years old and since World War II have worked to develop the most
advanced technology in steel casting production and use.

The U.S. steel foundries have 200 plants that make over a million tons of castings each year. We
are a part of the casting industry that supplies about 10 million tons of steel, iron, titanium,
nickel, copper, magnesium and aluminum castings. Global competitors, primarily China, have
taken at least 25 percent of the U.S. steel casting market. More serious than direct imports are
the castings embedded in equipment imported from global sources.

Since 2000, 80 steel foundries have shut their doors. Over 8,000 foundry workers have lost good
paying jobs and these closures have reduced our capacity by 500,000 tons to 1,400,000 tons.

Amite Foundry is one of those steel foundries that is closed. They are part of a group that
includes Atchison Foundry in Atchison, Kansas that survived the manufacturing depression of
the 1980s by producing the turret ring for the M1 Abrams Tank. Now Atchison is working
with the Army to produce a cast steel armor capable of defeating IEDs but they are operating
at less than 50% of their capacity. Their sister plant in Tacoma, Washington makes critical
castings for the Virginia-class submarine program as the only qualified U.S. source. They are
also operating at less than half their capacity. These poor business conditions put their plants
at risk of closure and jeopardize their ability to supply these needed items for defense.

These examples highlight the critical yet specialized products we make for national security.
Around the buildings on Capitol Hill, Sivyer Steel of Bettendorf, Iowa makes the cast steel
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bollards for protection and Nova Precision of Auburn, Pennsylvania casts the artful custom
tops.

Working with the Defense Logistics Agency (DLA) since 1992, the metal casting industry has
identified suppliers and tools for castings needed by the U.S. Department of Defense (DOD).
Over 75 steel foundries provide more than 10,000 parts for the DOD. SFSA has worked with the
Army to develop an affordable armor cast underbody to protect the warfighter from IEDs. We
have also teamed up with the Air Force to make munition castings.

As suppliers of defense parts, U.S. steel foundries need to be successful commercially in the non-
defense market because defense procurement needs are volatile and sporadic. If the specialized
U.S. production capabilities are closed because of imports, they are not available when needed
for critical defense castings.

To remain capable and available for Defense needs, the steel foundry industry needs viable
commercial business.

Unfair trading practices, U.S. economic policies, the strength of the dollar, globalization,
regulatory burdens and foreign competition have made maintaining our businesses as reliable
suppliers for the military challenging. We are in an extremely competitive U.S. market and are
not afraid to compete but we cannot compete with global suppliers that are supported to gain
dominance in the global market to eliminate our production.

Our current system allows our global competitors to practice trade distorting behavior
with no remedy for us as U.S. suppliers.

Fluctuations in exchange rates have a dramatic effect on trade. The U.S. dollar is the reserve
currency of the world. Our global competitors exploit the value of the dollar to displace U.S.
suppliers from the market.

Exploiting the variations of currency valuations is not included in the trade distorting
behavior subject to our current set of rules.

The U.S. metalcasting industry continues to face intense global competition. China is now the
largest producer of all types of castings of any country in the world, with over 30,000 foundries.
Chinese imports now make-up 25 percent of the U.S. marketplace imports. Like the steel mill
industry globally, China has the capacity to make half the steel castings--five million tons--in a
world production of ten million tons.

Global sourcing strategies of our U.S. customers gain the benefit of a global supply chain at the
expense of reducing the U.S. supply chain. Before the move to globalization, the U.S. had at
least 2 qualified suppliers for every critical item. Globalization has reduced that to one. With the
reduction of U.S. suppliers, our global competitors seek to eliminate our U.S. supply and
establish a market dominant position that is monopolistic, especially in small specialty products.
This behavior violates our antitrust laws but is beyond the reach of our current rules-based
trading system. Also globalization has resulted in the acquisition of critical U.S. suppliers by
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foreign entities. This undermines our technical advantages by disseminating our technologies to
the global suppliers of foreign parent companies.

Globalization reduces cost by increasing the supply base but reduces the supply base in the
U.S. and makes it more vulnerable.

Another issue in trade is the inability to maintain and enforce the rules-based trading systems
envisioned in our trade agreements. There are two significant challenges in our use of rules-
based trading; the inability to prosecute smaller claims of unfair, rule violating behavior and the
inability to gain meaningful enforcement of current rules.

Our trade remedies envision only large volume commodity product violations. For advanced
manufacturing and high quality niche products of limited supply and market size, the U.S. trade
remedy structure is unworkable. There are no small claims courts, no alternative complaint
approaches, no relief for small market segments to access; no matter how egregious the
violations. The industry needs to use this cumbersome system that provides no direct relief for
violations even if they have spent the money to prosecute a case and were successful. Our
system provides no solution to the modern market of small custom products traded in small
dollar volumes in a global system.

Trade remedies in the U.S. cost too much, take too long and provide too little benefit to
allow our trading rules to work for niche or advanced manufactured products like steel
castings.

Enforcement is the other challenge. Since our trade system deals with discrete products, the
violating party can take steps to avoid it. They can move up or down the supply chain. The
ability to embed castings into a later product is an example. This damages not only the steel
casting producer but also his customer. They can mislabel the product or transship through
another country in violation of agreements. They can ship to another country and complete
enough work to evade restrictions on the country of origin. Our enforcement is too little and too
late to protect U.S. companies. It lacks the transparency to allow U.S. manufacturers to gain
confidence that their interests are being protected. It provides no relief to the injured industry.

Enforcement of our trade laws is ineffective to protect the interests of US manufacturers
that make small volumes of valuable products and lack transparency in their application.

Given the short time we have today and the nature of the hearing, we do not propose solutions to
these challenges. We are happy to engage and work with you to make progress to improve this
situation to ensure a capable and reliable supply chain for critical steel parts required for our
nation’s security.

Once again, thank you for the opportunity to provide comments on the significant challenges
facing the domestic steel foundry industry against the tide of imports and unfair trade practices.
We appreciate the administration and Commerce Department taking the time to investigate and
determine the effects of the imports of steel on national security. If you have any questions or
would like additional information, please do not hestiate to contact me.
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                        Testimony of Mark Millett, Steel Dynamics, Inc.
                      Section 232 Steel Investigation Hearing – May 24, 2017



         Secretary Ross and other distinguished members of the panel. For the record, my name is

Mark Millett, and I am the President and CEO of Steel Dynamics, Inc., known as SDI. I was one

of the three co-founders of the company in 1994.

         Our company produced 9.3 million tons of steel in 2016 with 7,400 associates. We have

an annual capacity of 11 million tons. Over the last five years we have made approximately two

billion dollars of capital investments, including a 1.65 billion dollar investment on a 3.5 million

ton plant in Mississippi, previously owned by Severstal of Russia. We are a major scrap

company. We are also now one of the largest galvanized sheet producers, the second largest

structurals producer, and the leading rail producer in the U.S.

         Our products are vital to our national and economic security. They go into national

defense, military installations, transportation infrastructure, building construction, and autos. Our

Mississippi plant is a major steel supplier to oil country tubular goods and line pipe mills in

Texas.

         The steel import problem stems from global overcapacity that must be addressed through

a global solution. For example, we filed antidumping and countervailing duty cases in 2015 on

corrosion resistant sheet and cold-rolled steel. Duties of over 100 percent eliminated direct

Chinese imports of each product by over 100,000 tons per month. However, just last month in

April 2017, 460,000 tons of corrosion resistant sheet and 230,000 tons of cold-rolled sheet were

imported, almost 50 percent more than before we filed the cases. In addition, more than 700,000

tons of steel pipe and tube were imported in just April alone.
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         We are playing a game of whack a mole: hit the Chinese with duties and Chinese steel

goes to 10 other countries to become cold-rolled steel, corrosion resistant sheet, or steel pipe and

tube. We are also seeing our market for structurals erode as massive quantities of fabricated

structurals are imported. Big international construction companies such as Bechtel and Fluor are

fabricating whole plants in China. Between 2013 and 2017, imports doubled from 850,000 to 1.7

million tons, and they keep growing.

         World Steel Dynamics released a study on April 13, 2017 on the international hot-rolled

market. I will attach it to our written comments. The study said that Chinese export prices were

about $400 a short ton, which it stated was $100 per ton below Chinese mills cost. The study said

that U.S. domestic prices were at $640 a ton, $240 or 60 percent higher than the Chinese export

price.

         This is why SDI favors quotas at the 2010 or 2011 volume of imports. The U.S. and the

rest of the world must cut off subsidized and dumped Chinese steel exports to stop this game of

whack a mole and to get China to truly shutter excess capacity now, not five or 10 years from

now.

         To do otherwise would truly jeopardize our national and economic security.
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             Section 232 National Security Investigation of Steel Imports
                           Testimony of Alexander Maass
                                    May 24, 2017

         Good morning.      I am Alexander Maass, President of Maass Flange

Corporation. I am here on behalf of the Coalition of American Flange Producers,

its members, and employees. Thank you for the opportunity to appear before each

of you here today. We fully support this Section 232 investigation on steel imports,

and urge the Secretary of Commerce to find that these imports are threatening to

impair our country’s national security, and that assertive action must be taken.

         Maass Flange Corporation is a U.S. manufacturer of stainless steel and alloy

flanges formed 35 years ago in 1982, and we are located in Houston, Texas. Our

products are used to strengthen and connect pipes, valves, pumps, and other

equipment for piping systems. Maass Flange is a fully integrated forging and

machining manufacturer, with the most diversified offering of stainless steel and

alloy products. We offer a complete line of both small and large diameter flanges,

in a full range of pressure classes and in various grades of material. Maass Flange,

together with Core Pipe Products, Inc., are the founding members of the Coalition

of American Flange Producers.            We are a domestic coalition of flange

manufacturers and produce steel flanges for numerous national security

applications.



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         Because our products are resistant to the harshest applications, they are used

in navy ships and submarines, warfare products, aviation jet refueling systems,

national fuel refining, chemical manufacturing plants, nuclear power reactors,

turbine power and coal gasification generation, liquid natural gas recovery,

aviation, aerospace, and in the submarine building industry.                 We also sell to

utilities companies who use our products for the national power grid, a critical

component of the infrastructure that protects the United States and its citizens. Our

flanges are also used to assemble pharmaceutical equipment vital to the production

and development of medicines that prevent and respond to epidemics. However,

imports of steel, including stainless steel and alloy flanges, into the U.S. market

threaten our ability to supply products for these and many other national security

applications.

         This is why we are here today to urge Commerce to find that imported steel

is threatening to impair the national security, and that actions such as a

comprehensive tariff or quota system on all steel products, are needed to

significantly restrain these imports. In our industry, imports have often entered the

market in disruptive, massive waves at a time, rather than predictably throughout

the year. For example, we have seen Indian producers ship substantial, year-and-a-

half supplies of stainless steel flanges to our customers over the period of a single



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quarter. But it is not just India; we see the same disruptive behavior from China,

the Philippines, Korea, and many others.

         As these imports surge into the U.S. market, our capacity to supply our

customers, invest, and our production, revenue, and employment numbers, suffer

greatly. Just last month in April, Ameriforge Group Inc., another U.S. producer of

stainless steel and alloy flanges, filed for Chapter 11 bankruptcy protection. That

decision, we are sure, was in no small part a result of imports coming into the

United States, and displacing American production and business.

         Moreover, the injury these imports cause our industry is confirmed by the

existence of past antidumping duty orders on imports of stainless steel flanges

from India and Taiwan, and by ongoing investigations. Currently, the International

Trade Commission is in the final phase of antidumping investigations on carbon

steel flanges from India, Italy, and Spain, and a countervailing duty investigation

on carbon steel flanges from India. Moreover, the Department of Commerce

recently calculated between 19 and 24.4 percent dumping margins on carbon steel

flanges from Spain. As these investigations show, unfairly traded imports of steel

flanges are irrationally entering the U.S. market, and have caused and are likely to

continue causing great injury to our industry. But this is about much more than

dumped flanges from one or two countries; imports of these products do indeed

threaten the national security of the United States.

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         The threat caused by imports is unsurprising given the global steel

overcapacity crisis, which has undoubtedly spurred foreign overproduction in a

range of steel products including flanges. Over the past years, it has become

particularly evident that the imports coming in from these other countries are not

only “second class” flange and other pipe connector products of questionable

quality and workmanship, but they are also being sold at price levels that are

unsustainable according to our business environment, which involves high quality

U.S. workmanship, business ethics, and national responsibilities. With each new

aggressive surge of imports, our ability to adequately supply flanges for national

security applications deteriorates. The flanges we supply to the armed forces go

into the assembly of military vessels, assisting to keep our warfighters and nation

safe. As I mentioned earlier, they go into equipment for wind, oil, coal, natural gas,

and nuclear energy plants. The power and energy that fuels our national security

efforts are transmitted through pipes that are strengthened and held together by

flanges. But steel imports competing with us in the U.S. market take opportunities

we would otherwise have, affecting our current numbers and hindering our ability

to innovate and invest in stronger, better products to remain competitive and

continue supplying the best to our customers. In addition, we believe these imports

do endanger, as President Trump said, “the jobs needed to maintain a pool of



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skilled workers essential for the continued development of advanced steel

manufacturing.”

         Our industry also needs the Secretary to broadly define steel imports to

include stainless steel and alloy flanges, and broadly define the scope of national

security requirements to include critical infrastructural applications in the energy

industry, national power grid, and pharmaceutical industry, in addition to military

applications.

         On behalf of the Coalition of American Flange Producers, I urge Commerce

to find that steel imports are threatening U.S. national security, and urge the

agency to recommend aggressive, comprehensive, and concrete actions to adjust

steel imports – including stainless steel and alloy flanges – and stop them from

impairing the national security.

         Thank you for your time, attention, and for all your efforts in this critical

investigation.




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           BEFORE THE U.S. DEPARTMENT OF COMMERCE
               BUREAU OF INDUSTRY AND SECURITY

                                           )
Section 232 Investigation on the Effect of )
Imports of Steel on U.S. National Security )
                                           )

     Oral Presentation of Joel Johnson, Chief Executive Officer, Borusan
                         Mannesmann Pipe U.S. Inc.

      1.    Good morning. My name is Joel Johnson. I am the Chief Executive

Officer of Borusan Mannesmann Pipe U.S. Inc. or “BMP.” BMP is a U.S. pipe

mill located in Baytown, Texas. We manufacture welded steel pipes, primarily

casing for oil and gas wells, known as Oil Country Tubular Goods, or OCTG.

      2.    Our pipe mill opened in 2014. The total invested capital by the

Borusan Group in this facility is $300 million, 50 percent of which represents fixed

assets. We intend to make further investments as long as market conditions

continue to be favorable and no additional import restrictions are imposed.

      3.    BMP employs 180 personnel in its U.S. operations. Our plan is to

produce over 200,000 tons of OCTG in 2017. However, our facility cannot

produce every size of OCTG used in the U.S. market. Just like most other U.S.

OCTG producers, we fill out our product line by importing selective sizes of pipe

that are produced by our parent in Turkey. As with other U.S. producers, these

imports allow us to be fully competitive in the U.S. market and thus enhance the



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volume of our domestic production. If we were suddenly unable to import these

products, jobs will be threatened.

      4.     While not used in national defense production, OCTG and oil and gas

line pipe are an important element of the basic manufacturing infrastructure needed

for domestic energy production and distribution. Expanding domestic energy

production and increasing America’s energy independence have obvious national

security implications. Thus, any import measures that would adversely affect these

sectors will threaten national security by undermining U.S. energy production and

energy independence.

      5.     I would also like to bring to your attention that domestic pipe and tube

manufacturers such as ours are consumers of flat-rolled steel. We add significant

value added through the pipe manufacturing process. Import restrictions on these

basic flat-rolled steel products pose the risk of undermining the domestic steel pipe

sector by increasing costs and reducing competitiveness. Higher costs for OCTG

and line pipe will discourage oil and gas drilling and the construction of new

pipelines.

      6.     A case in point is large-diameter line pipe. This is pipe used in large

oil and gas pipelines such as the recently approved Keystone pipeline. U.S. health

and safety regulations governing such pipelines require that the pipe be produced




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using high-quality, heavy gauge steel with very specific and demanding chemical

and mechanical properties.

      7.     As the U.S. pipeline operators commented in a recent proceeding

before the Commerce Department, the U.S. line pipe industry cannot produce

certain large diameter line pipe that is used in major pipeline projects. One reason

is that the flat-rolled steel that meets certain required specifications cannot be

sourced in the U.S. Furthermore, imported flat-rolled steel products that do meet

those specifications are subject to high antidumping and countervailing duties.

      8.     We have concerns about future U.S. investments in large diameter

pipe production despite our extensive technical expertise and experience with this

high value-added product. Any new trade barriers call into question the feasibility

of such investments. Moreover, if high tariffs or restrictive quotas are imposed on

imports of large diameter line pipes, critical energy infrastructure projects would

be threatened due to the inability to source the specific pipes required in the United

States.

      9.     We believe that the Borusan Group has proven its commitment to the

American economy. Before our investment in Texas, we imported pipe from our

Turkish facilities. Once our investment was established, we ramped up our

production in the U.S. and we now employ hundreds directly and indirectly by

focusing on domestic production and strategically importing as needed.


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      10.    We do not believe further import restrictions are necessary; however,

if the President imposes a trade restrictive measure, it should be designed to

carefully protect those companies that have already invested in the U.S. Every

effort should be taken to work directly with these companies to ensure that neither

their sources of raw material supply nor their supplemental imports are

endangered. The goal should be to encourage U.S. investment and protect the very

companies that have demonstrated their commitment to the U.S. market.

      11.    Thank you and I am prepared to answer any questions you may have.




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                              PUBLIC COMMENTS


On April 26, 2017, the Department of Commerce (“the Department”) published a
Notice Request for Public Comments and Public Hearing on Section 232 National
Security Investigation of Imports of Steel in the Federal Register. The public
comment period ended on May 31, 2017. The Department received 201 written
public comment submissions.
The public comment submissions were the following:
    1)    Acenta Steel Limited
    2)    Air Distribution Institute
    3)    AK Steel
    4)    Algoma
    5)    Alliance for American Manufacturing
    6)    Allied Machine & Engineering Corporation
    7)    Altos Hornos de Mexico
    8)    American Association of Exporters and Importers
    9)    American Automotive Policy Council
    10)   American Iron and Steel Institute
    11)   American Line Pipe Producers Association
    12)   American Nickeloid Company
    13)   American Wire Producers Association
    14)   Aperam SA
    15)   Apollo Metals Limted
    16)   ArcelorMittal USA
    17)   Arundel
    18)   Association of Equipment Manufacturers
    19)   Atlas Steel Products Corporation
    20)   Autoliv
    21)   Ball Corporation
    22)   BlueScope Steel Ltd
    23)   Boker's Inc
    24)   Boltex Manufacturing Corporation
    25)   BorgWarner
    26)   Borusan Mannesmann
    27)   Brazil Steel Institute
    28)   Bridgestone Metalpha U S A
    29)   BSH Home Appliances
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    30)   Business & Institutional Furniture Manufacturer's Association
    31)   Bway Corporation
    32)   California Steel Industries
    33)   Canadian Manufactureres & Exporters and Canadian Manufacturing Coalition
    34)   Canadian Steel Producers Association
    35)   Canam Group Inc
    36)   Carpenter Technology Corporation
    37)   Central Moloney Inc
    38)   Charter Steel
    39)   China Iron and Steel Association
    40)   Coalition of American Flange Producers
    41)   Coalition of Energy Equipment Manufacturers
    42)   Cogent Power Inc
    43)   Commercial Metals Company
    44)   Committee on Pipe and Tube Imports
    45)   Congressional Steel Caucus
    46)   Copperweld Bimetallics LLC
    47)   CPW America Co
    48)   Crown Cork & Seal
    49)   CSN LLC
    50)   Dana Incorporated
    51)   Daniel Pearson CATO
    52)   Daniel R Pearson CATO Institute
    53)   Dayton Rogers
    54)   DB&S Steel
    55)   Decra Roofing Systems
    56)   Delta Star Inc
    57)   Diamond Sawblades Manufacturers' Coalition
    58)   Downhole Pipe Equipment LP
    59)   Drill Rod & Tool Steels Inc
    60)   Drinker Biddle and Reath
    61)   DS Containers Inc
    62)   E&E Manufacturing Co
    63)   Eaton Corporation
    64)   Economic Policy Institute
    65)   Electrolux Home Products
    66)   Eurofer
    67)   Evraz North America
    68)   Finarvedi SpA
    69)   Finkl Steel
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    70)    Forging Industry Association
    71)    Freudenberg Sealing Technologies
    72)    G & L Manufacturing
    73)    Gerdau North America
    74)    German Steel Foundation
    75)    Grant Prideco and National Oilwell Varco
    76)    Greater Pittsburgh Chamber of Commerce
    77)    Greenbrier Companies
    78)    H&T Waterbury Inc
    79)    Hartree Partners LP Metallia Division
    80)    Hirsh Industries
    81)    Hitachi Metals
    82)    Hytrol Conveyor Company
    83)    IBEW Local 2150 Additional Signatory
    84)    IBEW Local 2150
    85)    Independent Pipe
    86)    Industrial Fastener's Institute
    87)    Institute of Scrap Recycling Industries
    88)    International Longshore Warehouse Union Local 13
    89)    International Longshore Warehouse Union Local 63
    90)    International Union, United Automobile, Aerospace & Agricultural Implement
           Workers of America
    91)    Japan Iron and Steel Federation
    92)    Jarvis Cutting Tools
    93)    JSW Steel
    94)    JTEKT North America Corporation
    95)    Kerr Pumps
    96)    Key Knife Inc
    97)    Kiewit Corporation
    98)    Knife Source
    99)    Komatsu Mining Corporation
    100)   Korea Iron & Steel Association and various member companies
    101)   Latin American Steel Association (Alacero)
    102)   Law Office of Lewis Leibowitz
    103)   Lyman Steel Company
    104)   M7 Metals
    105)   Magellan Corporation
    106)   MAGNA International
    107)   Maritime Exchange for the Delaware River and Bay Public
    108)   Markem Imaje Corporation
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   109)   Merfish Pipe & Supply
   110)   Metal Flow Corporation
   111)   Metal Partners International
   112)   Metals 2 Go
   113)   Metals Service Center Institute
   114)   Metglas Amorphous
   115)   Mexican Iron and Steel Industry
   116)   Ministry of Commerce of China
   117)   Mitsubishi Electric Power Products
   118)   Motor & Equipment Manufacturers Association
   119)   National Electrical Manufacturers Association
   120)   National Foreign Trade Council
   121)   Niagara Transformer Corporation
   122)   Nippon Steel & Sumikin Inc
   123)   Nippon Steel & Sumitomo Metal Corporation
   124)   Nippon Yakin Kogyo
   125)   NLMK USA
   126)   North American Die Casting Association
   127)   North American Tool
   128)   Nucor Corporation
   129)   Oil and Natural Gas Industry
   130)   Pasha Stevedoring & Terminals L P
   131)   Pentaflex Inc
   132)   Pentair
   133)   Port of Los Angeles
   134)   Port of Vancouver USA
   135)   Port Tampa Bay
   136)   Power Partners Inc
   137)   Precision Machined Products Association
   138)   Precision Marshall Steel Company
   139)   Precision Marshall Steel Company Belgium & France Division
   140)   Precision Metalforming Association and National Tooling and Machining
          Association
   141)   Rail Security Alliance
   142)   Russel Metals
   143)   Saha Thai Steel Pipe PCL
   144)   Samuel Son & Co Limited
   145)   Seilkop Industries Inc
   146)   Senator Al Franken
   147)   Senator Mitch McConnell and Senator Rand Paul
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   148)   Senator Murray Cantwell
   149)   Silgan Containers
   150)   Simonds International
   151)   Spectrum Brands Inc
   152)   SPX Transformer Solutions, Inc
   153)   SRG Global
   154)   SSAB Americas
   155)   SSINA
   156)   Stainless Steel Tube Trade Advancement Committee
   157)   Star Cutter
   158)   Star Pipe Products
   159)   Steel Dynamics Inc
   160)   Steel Europe AG
   161)   Steel Founders' Society of America
   162)   Steel Manufacturer's Association
   163)   Steel Tank Institute
   164)   Steel Users
   165)   Steel Warehouse Company
   166)   Steelcase Inc
   167)   Stewart and Stewart
   168)   Sumitomo Corporation of Americas
   169)   Ta Chen International Inc Aperam
   170)   Ta Chen International Inc ArcelorMittal
   171)   Tata Steel Europe
   172)   Tenaris
   173)   Titan Metal Service
   174)   TMK IS
   175)   Tool Manufacturers of New Hampshire and Wisconsin
   176)   Toyota Tsusho America
   177)   Transformer Manufacturers
   178)   Trinity Meyer Utility Structures
   179)   Truck and Engine Manufacturer's Association
   180)   Tubular Synergy Group
   181)   Turkish Steel Exporters' Association
   182)   U.S. Tire Manufacturers Association
   183)   U.S. Wheat Associates
   184)   UK Steel
   185)   United Association Labor Management Cooperation Committee
   186)   United States Cutting Tool Institute
   187)   Universal Steel Products
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   188)   Valbruna Slater Stainless Inc
   189)   Valeo North America
   190)   Vallourec Star
   191)   Vaugh Manufacturing
   192)   Vest Incorporated
   193)   Vietnam Steel Association
   194)   Villares Metals
   195)   Voestalpine AG Austria
   196)   Voestalpine AG Sweden
   197)   Volkswagen Group of America Chattanooga Operations, LLC
   198)   Weldbend Corporation
   199)   Wheeler Metals
   200)   Wind Tower Trade Coalition
   201)   ZF North America, Inc



   To view any of the public comments listed, please visit:
   https://www.bis.doc.gov/232steel
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Uses of Steel for National Defense

      The U.S. Department of Defense (DoD) has a large and ongoing need for a
range of steel products that are used in fabricating weapons and related systems for
the nation’s defense. DoD requirements are met by steel companies which also
support the requirements for critical infrastructure and commercial industries.

       Navy ships require hardened steel for their exterior armor, specialized alloys
for sensor and weapons housings, high-carbon forged steels for machinery
components, and rolled high-tensile strength steel for hull plates and frames.
Importantly, Navy ship hulls require steel produced from integrated steel mills. In
addition, Army vehicle armor plating requires hard, high-carbon steel laminate, and
vacuum melted nickel alloy sheet for recuperators on the Abrams Tank engine. Air
Force (F-35 Joint Strike Fighter) and Navy F-18 aircraft require exotic steel alloys
with high-strength and low weight. The Army’s Apache and other helicopters also
utilize steel alloys. Vacuum-melted nickel alloy sheet, bar and finished forgings are
used for engine shafts, landing gear, jet engine parts and components such as super
precision bearings and gears.

      The single largest use of steel is for production of ships and submarines, with
most modern submarines needing 10,000 net tons of steel. A single aircraft carrier
requires 60,000 net tons of structural steel (see Figure H1).1

       Although U.S. Navy and Coast Guard purchases of ships decreased in recent
years, ship procurements are expected to increase in the years ahead. According to
the Office of Budget and Management, the Administration is preparing to increase
the size of the military, especially the Navy (from 275 ships to an estimated 292
ships by the end of FY 2018). 2 Some Navy officials report that the demand for ships
could reach as high as 355, creating an increase in the demand for specialized steel
for military purposes.3



1
    2001 Report, note 20 (“DOD indicated that 60,000 net tons of finished steel was used in the multi-year
    construction of [the Navy aircraft carrier\ the USS Ronald Reagan”)/
2
    Office of Management and udget/ “2018 udget. Investing in Our National Defense”/ Fact Sheet/ The White
    House/
3
    U/S/ Naval Institute (USNI) News, “Moran. Navy Needs as Much !s $150 Extra to ‘Jump-Start’ Path to 355
    Ships- Would uy Mostly DDGs, SSNs, arriers,” March 22, 2017, https.//news/usni/org/2017/03/22/moran-
                                               APPENDIX H - Page 2
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                     Figure H1. Weapons Systems Steel Requirements*
                                                                              Steel Usage Per Unit
                                                Navy Vessels

 Aircraft Carriers (excluding propulsion and armaments)                       60,000 – 70,000 tons

 Amphibious Force Ships                                                           12,000 tons

 Submarines                                                                   4,000 – 10,000 tons

 Guided Missile Destroyers                                                   3,500 tons (steel plate)

                                              Ground Systems

 M-1 Abrams Tank                                                                62 tons (approx.)

 Light Armored Vehicles                                                              8 tons
 *Examples
 Source: American Iron and Steel Institute


        Thus, U.S. military platforms are dependent in varying degrees on U.S.-
produced steel and specialty metal. In many cases, the U.S. military relies on special
types of steel and the U.S. steel industry’s ability to support critical defense needs.
It is important to note, however, that this ability to meet defense requirements in turn
depends on the continued ability of the U.S. steel industry to compete fairly in the
commercial marketplace and maintain a financially viable domestic manufacturing
capability. This includes the ability to have an adequately skilled workforce for
manufacturing as well as to conduct research and development for future products.
A continued loss of viable commercial production capabilities and related skilled
workforce will jeopardize the U.S. steel industry’s ability to meet the full spectrum
of defense requirements.

       A recent U.S. Army aerospace specialty steel (including stainless) sector
report concluded that, “Maintaining a healthy domestic specialty metals industry is
vital to U.S. security interests. Domestic manufacturing of these critical interests is
needed in times of war. The ability of the United States to maintain leading edge




   navy-needs-additional-150b-over-next-7-years-to-get-on-355-ship-trajectory-would-buy-mostly-ddgs-ssns-
   carriers
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technology in specialty metals depends on the continued existence of a healthy
domestic manufacturing capability.”4

       The U.S. Department of Defense also has had to take specific actions to assist
portions of the U.S. steel industry that are important for national security needs in
part due to unique DoD requirements for which there is limited commercial demand.
Through the Defense Production Act Title III program, which funds projects to
“create assured, affordable and commercially viable production capabilities and
capacities for items essential for national defense” the Department of Defense
funded two steel programs.

       In 2008, the Defense Production Act Title III office funded a $59 million effort
to expand domestic production capacity for low-alloy Vacuum Induction
Melting/Vacuum Arc Re-melting steel. U.S. capacity for producing this type of steel
(high-purity, low-alloy iron based steel) was constrained, creating unacceptable lead
times for the Mine-Resistant Ambush-Protected (MRAP) vehicles. This steel is also
used in bearings for jet engines, rotor shafts and heads for helicopters, flap actuators
for fighter jets, gears in jet and helicopter transmissions, mounts and fasteners for jet
engines and jet tail hooks.

      In 2015, the Defense Production Act Title III office also funded a $23 million
project to enhance domestic, economically viable merchant supplier steel product
capabilities. The aim was to improve production capability for very wide, very thick
Navy-grade heavy alloy steel plate that is dimensionally uniform. Current
capabilities are not sufficient to meet existing and growing demands for this type of
steel. Steel plate is used in submarines, aircraft carriers, destroyers, helicopter
landing decks, Army combat vehicles and tanks. 5

       Providing the wide range of steel products needed for defense requires a strong
steel industry. As mentioned in the 2001 Report, military programs such as armored
vehicles, aircraft, and ships represent approximately 0.03 percent of U.S. steel
demand (peacetime requirements). These steels are not generally used in building

4
    U/S/ !rmy !erospace Specialty Steel Sector !nalysis - U/S/ !rmy !viation and Missile Research, Development
    and Engineering enter Engineering Directorate, page 52/ July 2015/

5
    U/S/ Department of Defense, “Defense Production !ct. Title III,” http.//www/dpatitle3/com/dpa_db/, accessed
    May 2017/
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construction or consumer goods. However, when steel needs for critical
infrastructure are included with defense needs, overall steel requirements are
significantly higher. All remaining U.S. steel companies supply commercial and
specialized steel for critical infrastructure and defense end-markets.6

       Steel used in defense-related products includes all five categories (flat, long,
pipe and tube, semi-finished, stainless). The Department in the 2001 Report
previously estimated that national defense needs for steel were 325,000 net tons of
steel per year.7 The Department in the present investigation has seen evidence of an
increase in national defense needs since the 2001 Report. In 2017, DoD estimates
for U.S. steel needs is now calculated to be three percent of U.S. steel production.

      The ability of U.S. production to supply national defense needs is entirely
dependent on the existence of commercially viable steel mills that are not dependent
on national defense demand alone. The free market system in the United States
requires commercially viable steel producers to meet defense needs. No company
could afford to construct and operate a modern steel mill solely to supply defense
needs because those needs are too diverse. To be available to supply those diverse
national defense needs, U.S. steel mills must attract sufficient commercial (i.e., non-
defense) business to support construction, operation and maintenance of production
capacity and to support the upgrades, research and development needed to continue
to supply defense needs in the future.

       This section summarizes briefly the depth and breadth of defense usage of
steel across the full spectrum of the five product categories (and the nearly 800
subcategories of steel that make up the five categories).

    1. Flat Products: Produced by rolling semi-finished steel through varying
       sets of rolls. Includes sheets, strips, and plates.

      Land-based vehicles such as the Bradley Fighting Vehicle, Abrams Tank, and
the family of Light Armored Vehicles use significant tonnage of steel plate per


6
    U/S/ Department of Defense requirements for steel would be prioritized over U/S/ civilian needs during a
    national emergency through existing authorities of the Defense Production !ct Title I and the Defense
    Prioritization and !llocation System (DP!S)/

7
    2001 Report at 13 and note 14/
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vehicle.8 In addition, steel plate is used in the bodies and propulsion systems of the
naval fleet. 9

       Conventional and high-permeability domain-refined grain-oriented electrical
steels (GOES) are used in cores and core assemblies for electrical transformers
(including power transformers, switchgear, step-up, step-down, and distribution
transformers) installed at military facilities across the United States.

      In addition, small transformers employing electrical steel are used in radar,
ships, and some weapons systems. The availability of electrical steel meeting
defense performance specifications is important to mission assurance and reliable
operations.

          2. Long Products: Steel products that fall outside the flat products category.
             Includes bars, rails, rods, and beams.

       These products have application in a range of military systems, including
personnel carriers, tanks, and weapons. They are instrumental in the creation of
mechanical parts. For example, the control cables on virtually all military aircraft,
including fighter jets and military transport planes, are produced from steel wire
rope.10

          3. Pipe and Tube Products: Seamless or welded pipe and tube products.

      Several companies supply tubular steel products for a variety of direct defense
needs. These military-related products include bomb shells, vehicle cylinders for
Humvees, axles for trailers that haul M-1 tanks, 500-pound bomb rings, and
cylinders on Patriot missile launchers.11




8
    Specialty Steel Industry of North !merica (SSIN!), www/ssina/com

9
    Id.

10   Id.

11   Multiple U/S/ steel manufacturers
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      Seamless tubes are suitable for demanding applications where maximum
corrosion resistance or mechanical integrity are required. Examples of defense
applications include military aircraft, submarines, ships, nuclear equipment and fuel
elements, and equipment used for the manufacture of special chemicals.12

      4. Semi-finished Products: The initial, intermediate solid forms of molten
         steel, to be re-heated and further forged, rolled, shaped, or otherwise
         worked into finished steel products. Includes blooms, billets, slabs, ingots,
         and steel for castings.

      The production of steel ingot is key to the manufacture of downstream
products used by the DoD. Ingot is used as the basis for fabricating heavy forged
products including ship drive shafts and pressure vessels for the defense market.
Also, interior fittings for naval vessels including ship galleys, machinery housings
and bulkheads, are made from steel ingot material.13

      5. Stainless Products: Steel products, in flat-rolled, long, pipe and tube, and
         semi-finished forms, containing at minimum 10.5 percent chromium and,
         by weight, 1.2 percent or less of carbon, offering better corrosion
         resistance than other steel.

       The U.S. carbon/alloy and specialty steel industries are vital partners to
American defense contractors and to the Defense Department. Domestic and
specialty metals are found in virtually every military platform, including missiles,
jet aircraft, submarines, helicopters, Humvees® and munitions. Fighter aircraft
engines, gears, bearings, and the fuselage also use high performance specialty steels
and super-alloys produced by U.S. specialty steel companies.14 15


12   The Stainless Steel Tube Trade !dvancement ommittee (SSTT!), www/ssttac/com

13
     http.//www/steel/org/the-new-steel/national-defense/aspx

14
     Specialty Steel Industry of North !merica (SSIN!), www/ssina/com

15
     For example, Valbruna is an approved stainless steel supplier for Halliburton, Schlumberger, ombardier,
     Johnson & Johnson, Delphi !utomotive, and several other companies with significant defense contracts/ !s a
     manufacturer of stainless steel bars comprised of high-performance grades, Valbruna's steel is used in key
     defense applications such the structural components and landing gear on aircraft, gun and rifle barrels, and
     munitions casings/ (Valbruna Slater Stainless, Inc/)
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Uses of Steel for Critical Infrastructure
      Pursuant to Presidential Policy Directive 21 (PPD-21), there are 16
designated critical infrastructure sectors in the United States, many of which use
high volumes of steel (see Figure I1).1


              Figure I1. DHS Critical Infrastructure Sectors – Use of Steel
                                    Sectors                                         Steel End-Uses
    1.      Chemical Production                                    Centrifuges, Conduit, Fire Suppression, Flange
                                                                   Heaters, Incubators, Piping, Stainless Steel
                                                                   Heaters, Storage Tanks, Safety Showers
    2.      Commercial Facilities                                  Structural Beams, Electrical Conduit, Kitchen
                                                                   Equipment, Elevators, Escalators, Waste Pipes,
                                                                   Metal Framing and Studs, Machinery, Valves,
                                                                   Manufacturing Plants, Chemical Processing
                                                                   Plants
    3.      Communications                                         Antennas, Radio/TV Antenna Masts, and
                                                                   Transmissions Towers, Tower Cables
    4.      Critical Manufacturing                                 Blast Furnaces, Rolling Mills, Extrusion, Casting,
                                                                   Forging Production Plants; Fabrication Facilities
                                                                   (i.e. Bend, Cut, Mold, and Stamp steel materials).
                                                                   Specialty Metals Production (i.e. Stainless Steel,
                                                                   Alloy Steel, Magnetic/Electronic, High Strength
                                                                   Alloy Steel, Carbon Steel), Plates, Hot Rolled
                                                                   Round Bar, Cold Finished Steel Bars, Steel Wire,
                                                                   Rebar
    5.      Dams                                                   Reinforced Dams and Reservoirs (Rebar, Piping,
                                                                   Structural Supports, Flood Gates, Water Release
                                                                   Gates and Valves, Turbine Supports)
    6.      Defense Industrial Base                                Armored Personnel Carriers, Heavy Weapons
                                                                   (i.e. Cannon, Machine Guns, Missiles), Humvees,
                                                                   Jet Aircraft, Submarines, Munitions, Aircraft
                                                                   Engines, Fighting Vehicles, Tanks, Ship Propulsion
                                                                   Systems
    7.      Emergency Services                                     Ambulances, Fire Trucks, Helicopters,
                                                                   Portable/Temporary Shelters
    8.      Energy                                                 Petroleum Refineries (i.e. Specialty Pipe, Valves,
                                                                   Fittings), Oil and Gas Pipelines (i.e. Steel Plate,
                                                                   Heavy Gauges), Storage Tanks, Electricity Power
                                                                   Generating Plants, Electric Power Transmission
                                                                   Towers, Power Distribution Grids and Stations,
                                                                   Transformers, Utility Distribution Poles,
                                                                   Transformer Cores, Wind Turbines


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         ρ͏́ϋήνρ (̳́́͏ρρ͏͋ ͵̳ϸ 2017)Ή
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    9.      Financial Services                                      Steel Safes, Bank Vaults, Lockers, Armored
                                                                    Trucks, Building Doors and Barriers
    10. Food and Agriculture                                        Canned Goods, Harvesters, Mechanical Planters,
                                                                    Balers, Tractors, Storage Silos, Partitions, Gates,
                                                                    Watering Systems, Fencing Systems (i.e. Gates,
                                                                    Barb Wire, Posts)
    11. Government Facilities                                       Structural Steel, Elevators/Escalators, Furniture,
                                                                    Piping, Vehicle, Barriers, Vault Doors, Barracks,
                                                                    Storage Buildings, Shelving, Records Storage,
                                                                    Fences
    12. Health Care/Public Health                                   Elevators/Escalators, Hospital Framing, Structural
                                                                    Supports, Roofing, Operating Tables, Furniture,
                                                                    Wheel Chairs, Bed Frames, Waste Pipes and Fire
                                                                    Suppression Pipe, Medical Devices (i.e. Drug
                                                                    Delivery Needles, Surgical Pins and Screws)
    13. Information Technology                                      Data Center Cooling Systems, Data Center
                                                                    Structural Supports, Electronic System Racks,
                                                                    Electrical Conduit, System Cabinets,
    14. Nuclear Reactors, Materials, and Waste Sector               Structural Steel, Pressurizers, Reactor Pressure
                                                                    Vessels, Safety Water Tanks, Containment
                                                                    Vessels, Primary Pumps and Steam Water Lines,
                                                                    Steam Generator Components, Cooling Towers,
                                                                    Overhead Cranes for Reactor Maintenance.
    15. Transportation Systems                                      Airports, Aircraft, Bridges, Highways, Railroads,
                                                                    Mass Transit Systems, Seaports, Navigation
                                                                    Systems, Shipbuilding, Trucks, Trailers, Boats,
                                                                    Ships
    16. Water and Waste                                             Water Distribution Pipes, Storage Tanks and
          Water Systems                                             Towers, Valves, Storm Water Distribution (i.e.
                                                                    Culverts, Flood Control Gates), Waste Water and
                                                                    Sewage Treatment Facilities
    Note: Presidential Policy Directive (PPD-21) on Critical Infrastructure Security and Resilience, issued in
    February 2013, identified 16 industrial sectors. See: https://www.dhs.gov/critical-infrastructure-sectors.
    Source: Bureau of Industry and Security, multiple industrial references,
    http://www.ssina.com/news/releases/pdf_releases/steel_and_national_defense_0107.pdf


      These 16 sectors require reliable supplies of steel for new construction as well
as maintenance and repairs.2



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         ρ΋ΎκΦ͏Χϋρ ΎΧ 2015Ά ϋ΋͏ Φ̳ΚήνΎϋϸ (2/3) ή͙ ΙΉΏΉ κνή͋Ϧ́͏͋ ρϋ͏͏Π ΦΎΠΠ κνή͋Ϧ́ϋρ ϲ͏ν͏ ρήΠ͋ ̀ϸ ρϋ͏͏Π ́ήΦκ̳ΧΎ͏ρ ͋Ύν͏́ϋΠϸ
         ϋή ͏Χ͋ Ϧρ͏ Φ̳νΝ͏ϋρΉ ήΧρϋνϦ́ϋΎήΧ ́ήΧρϦΦ͏͋ ̳κκνήϷΎΦ̳ϋ͏Πϸ 42 κ͏ν́͏Χϋ ή͙ ρϋ͏͏Π ρ̳Π͏ρΉ ͠Χ͙ν̳ρϋνϦ́ϋϦν͏ ̳Χ͋
         ́ήΦΦ͏ν́Ύ̳Π ́ήΧρϋνϦ́ϋΎήΧ κνήΚ͏́ϋρ ΎΧ́ν͏̳ρ͏ ϋ΋͏ ͋͏Φ̳Χ͋ ͙ήν ρϋνϦ́ϋϦν̳Π ρϋ͏͏Π ̳Χ͋ ́Ϧϋ Π͏Χ΁ϋ΋ κΠ̳ϋ͏ρΉ Ε΋͏
         ̳ϦϋήΦήϋΎϱ͏ Φ̳νΝ͏ϋ ́ήΦκνΎρ͏ρ 27 κ͏ν́͏Χϋ ή͙ ΙΉΏΉ ρ̳Π͏ρΉ !ϦϋήΦήϋΎϱ͏ Ύρ ϋ΋͏ Π̳ν΁͏ρϋ Φ̳νΝ͏ϋ ̳́ϋ͏΁ήνϸ ͙ήν ρ΋͏͏ϋ
         κνή͋Ϧ́ϋρ ̳Χ͋ Ύρ ̳Πρή ΎΧ́ν͏̳ρΎΧ΁Πϸ ϋ΋͏ Φ̳νΝ͏ϋ ͙ήν ΋Ύ΁΋ ρϋν͏Χ΁ϋ΋ ρϋ͏͏ΠρΉ ͼϋ΋͏ν Ν͏ϸ Φ̳νΝ͏ϋρ ΎΧ́ΠϦ͋͏ Φ̳́΋ΎΧ͏νϸ (9
         κ͏ν́͏Χϋ)Ά ́ήΧϋ̳ΎΧ͏νρ (4 κ͏ν́͏Χϋ)Ά ̳Χ͋ κΎκ͏ ̳Χ͋ ͏Χ͏ν΁ϸ (7 κ͏ν́͏Χϋ) ̀ϸ ϲ͏Ύ΁΋ϋ ͙ήν ρ̳Π͏ρΉ
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       The Department found that demand for steel in critical industries has increased
since the Department’s last investigation in 2001. The 2001 Report determined that
there were 33.68 million tons of finished steel consumed per year in critical
industries in the United States based on 1997 data. The Department updated that
analysis for this report using 2007 data (the latest available) and determined that 54
million metric tons of steel is being consumed in critical industries, an increase of
63 percent.3

      Potential disruptions in adequate supplies of needed steel products could
impair critical infrastructure sectors such as:

                    a. Transportation: bridges (over 600,000 bridges), tunnels, national
                       highway system, railcars and tracks, ports, airport runways and
                       facilities (19,000 U.S. airports)

                    b. Energy: petroleum and natural gas pipelines, offshore oil/gas
                       platforms, electric power generation (over 6,000 power plants),
                       refineries, and nuclear facilities (99 units)

                    c. Water treatment: community drinking water systems (155,000
                       public drinking water systems)4, wastewater treatment and
                       management facilities (16,000 publicly owned wastewater treatment
                       systems)5.

       There is a large and ongoing need for a range of steel products that are used
in supporting critical infrastructure in the United States. These products include all
five categories (flat, long, pipe and tube, semi-finished, and stainless steel) that are
produced by U.S. integrated and mini-mill steel companies. Uses include:




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    ΙΉΏΉ D͏κ̳νϋΦ͏Χϋ ή͙ H͏̳Πϋ΋ ̳Χ͋ HϦΦ̳Χ Ώ͏νϱΎ́͏ρΆ ͏Χϋ͏ν ͙ήν DΎρ͏̳ρ͏ ήΧϋνήΠ ̳Χ͋ Έν͏ϱ͏ΧϋΎήΧΆ DνΎΧΝΎΧ΁ Υ̳ϋ͏ν

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    ΙΉΏΉ EΧϱΎνήΧΦ͏Χϋ̳Π Ένήϋ͏́ϋΎήΧ !΁͏Χ́ϸΆ ͼ͙͙Ύ́͏ ή͙ Υ̳ρϋ͏ ̳Χ͋ ͵̳Χ̳΁͏Φ͏ΧϋΆ 1996Ή
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       1. Flat Products: Produced by rolling semi-finished steel through varying
          sets of rolls. Includes sheets, strips, and plates. Used most often in the
          automotive, tubing, appliance, and machinery manufacturing sectors.

      Similar to defense, flat steel products have a wide range of applications in
commercial and industrial systems. Plate products find application in a variety of
places, such as storage tanks, ships and railcars, and large diameter pipe and
machinery parts.

      In the commercial sector steel plate is used for offshore drilling rigs,
construction and mining equipment, bridges, tool and die production, and petro-
chemical applications.

      Pipelines, the mode by which petroleum and natural gas is most often
delivered to refineries and then on to consumers, are made from technically
demanding steel plate in wide and very heavy gauges.6

      The electrical grid of the United States relies on the availability specially
engineered conventional and high-permeability flat electrical steel. Domain-refined
grain-oriented electrical steels (GOES) is the key component of cores and core
assemblies in electrical transformers used to control the distribution of electricity.

      GOES is used in both the large step-up transformers that power the electrical
grid by enabling the transport of electricity over great distances and in smaller step-
down transformers that power individual neighborhoods and businesses.7

       Non-oriented electrical steel (NOES) is also critical for the electrical grid,
because it is the used to make the large cores for electrical power generators. In
addition, NOES is used in industrial applications and motors for hybrid and electric
automobiles. Importantly, there is today only one remaining domestic producer of
GOES and NOES in the United States: AK Steel. It is also the only producer of
these products in North America.8


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       2. Long Products: Steel products that fall outside the flat products category.
          Includes bars, rails, rods, and beams. Used in many sectors but most
          commonly in construction.

       Long products have application in a range of industries and are frequently
used in transportation, including commercial aircraft, automobiles, trucks, and
railroads. Special bar quality (SBQ) and cold-finished bars also are used to reinforce
concrete in roads and bridges. Another important application is oil and gas drilling,
production and transmission in the energy sector.9

       3. Pipe and Tube Products: Either seamless or welded pipe and tube
          products. Used in many sectors but most commonly in construction and
          energy sectors.

       The availability of high-performance steel pipe and tube is critical to oil well
drillers, pipeline operators and refineries. Steel pipe and tube is used to extract,
process, and transport petroleum products that are essential for the day-to-day
functioning of the U.S. economy.10 In fact, steel line pipe is required for pipeline
systems that require high pressure or operate in harsh environments (e.g., sub-sea
pipelines). The installation of deep water and ultra-deep water pipeline construction
carries greater risk in terms of pipeline failure, installation safety, environmental
impact and life cycle cost. Transmission pipelines, which are typically large
diameter, use low-carbon steels or low-alloy steels because of their strength,
toughness, ductility, and weldability. In construction, steel pipe is used for structural
support, fire suppression, waste-water handling, railings, and other applications.

       4. Semi-finished Products: The initial, intermediate solid forms of molten
          steel, which are re-heated and further forged, rolled, shaped, or otherwise
          worked into finished steel products. Includes blooms, billets, slabs, ingots,
          and steel for castings.



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       The supply of semi-finished steel products is essential to the operation of
many U.S. industrial sectors that require unique parts and systems fabricated from
steel. Steel slab is used in the fabrication of pressure vessels for the commercial
nuclear and petrochemical industries. In addition, it is used in commercial ship
building and construction. Likewise, fabricators also rely on a ready supply of
ingots that are needed for forging and casting operations.11

       5. Stainless Products: Steel products, in flat-rolled, long, pipe and tube, and
          semi-finished forms, containing at minimum 10.5 percent chromium and,
          by weight, 1.2 percent or less of carbon, offering better corrosion
          resistance than other steel.

       The stainless steel sector of the U.S. industry provides a significant portion of
the high technology, high value steel used for a variety of critical infrastructure end-
uses.

        Stainless steel tubing is used in a wide range of commercial settings and in
defense systems. Applications include: auto exhaust systems, industrial gas lines,
water systems, aircraft systems, heat exchangers, petrochemical facilities, hydraulic
lifts and other systems using hydraulic fluid.

       Pipe products fabricated from stainless steel are used across industry,
including for: breweries, dairies, oil and gas processing, pharmaceutical plants,
power plants, paper mills, synthetic fiber production, and ships. Stainless steel
products also are employed in nuclear power plants, including: sleeves for fuel rods,
heat transfer tubes, reactor vessel components, and other uses.




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 U.S. Government Steel Measures and Actions

                           U.S. Government Steel Measures and Actions
                                                                                                               U.S. Steel
 Year/       Measure/                                                                                          Finished
                               Coverage                    Characteristics                   End Date
Admin.       Initiative                                                                                         Import
                                                                                                              Penetration

1968      Voluntary            Japan and      Sought by European producers facing          Renegotiated      18%
          Restraint Agree-     the            antidumping (AD)/countervailing duty
Johnson   ments (VRAs)         European       (CVD) tariffs
                               Community
                               (EC)


1972      VRAs                 Japan and      Renegotiation of 1968 VRAs; ended with       1974              19.3%
                               the EC         1974 market recovery
Nixon

1978      Trigger Price        Japan and      Established minimum “fair” import price;     Revised           21.1%
          Mechanism            the EC         imports below this price subject to “fast
Carter    (TPR)                               track” trade remedy investigation, self-
                                              initiated by the USG

1980      TPR                  Japan and      Revised TPR which raised trigger price       1981              15.5%
                               the EC         and enhanced auditing and monitoring
Carter

1981      USG Self-            EU             Initiated pursuant to the existing trigger   Settled in 1982   19.9%
          Initiates 7                         price mechanism which allowed for self-      with the
Reagan    AD/CVD                              initiation if imports below fair price       voluntary
          investigations                                                                   restraint
                                                                                           agreements

1982      VRAs                 EC             Sought by European producers facing          Renegotiated      16.6%
                                              AD/CVD tariffs                               and expanded to
Reagan                                                                                     include more
                                                                                           countries

1984      VRAs                 19 countries   -Tailored to each country and involved       1992              26.4%
                               and the EC     market share agreements and quotas
Reagan
                                              -AD/CVD petitions withdrawn by industry

                                              -Tied to a steel industry commitment to
                                              modernize and provide retraining for
                                              workers

1989      Pursuit of a         Global         -Efforts launched to negotiate a global      N/A; agreement
          Multilateral Steel                  agreement to abolish subsidies in exchange   not reached
George    Agreement                           for an end to the VRAs
H.W.
Bush                                                                                                         15.8%
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 U.S. Government Steel Measures and Actions

                            U.S. Government Steel Measures and Actions (Continued)
                                                                                                            U.S. Steel
 Year/       Measure/                                                                                       Finished
                               Coverage                    Characteristics                     End Date
Admin.       Initiative                                                                                      Import
                                                                                                           Penetration

1999      Steel Action Plan   Global          -Enhanced engagement with trading              N/A          21.6%
                                              partners to cut steel imports
Clinton
                                              -Tax relief for steel companies and
                                              financial adjustment for out-of-work
                                              steelworkers

                                              -Vigorous enforcement of AD/CVD

                                              -DOC Global Steel Report

                                              -Improved steel monitoring

1999      Comprehensive
          Steel Agreement
Clinton   with Russia         Russia          Terms of the agreement reduced by 64           2004         21.6% (all steel
                                              percent overall imports of Russian steel                    imports; not
                                              from 1998 levels and established minimum                    specific to
                                              pricing                                                     Russia)




2000      Global Section      Global          -Based on a petition brought by the U.S.       2003         22.3% (all steel
          201 Safeguards                      industry, tariffs ranged from 10 to 19%,                    imports; not
Clinton   on Certain Wire                     phased out over 3 years.                                    specific to line
          Rod and Line                                                                                    pipe and wire
          Pipe                                -The duties affected only those imports that                rod)
                                              exceeded 1998 import levels.

2002      Global Section      Global, with    Tariffs on most producers and tariff rate      2004         20.4%
          201 Safeguards      exclusions      quotas on slab (along with a process for
George    on most steel       (e.g., FTA      exclusions)
W. Bush   products            partners,
                              short supply)   -Enhanced Import Monitoring

                                              -Multilateral efforts to address excess
                                              capacity and steel subsidies in the OECD
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                            Steel Antidumping and Countervailing Duty Orders in Effect as of January 11, 2018
                                                                                                                                           Steel Product
        Country                                             Product/Country                                        CaseNo   Order Date                         Grade
                                                                                                                                             Category
Australia         Certain HotͲRolled Steel Flat Products/Australia                                                A602807   10/3/2016    Flat              Carbon/Alloy
Austria           Certain Carbon & Alloy Steel CutͲtoͲLength Plate/Austria                                        A433812   5/25/2017    Flat              Carbon/Alloy
Belarus           Steel Concrete Reinforcing Bars/Belarus                                                         A822804   9/7/2001     Long              Carbon/Alloy
Belgium           Certain Carbon & Alloy Steel CutͲtoͲLength Plate/Belgium                                        A423812   5/25/2017    Flat              Carbon/Alloy
Belgium           Stainless Steel Plate In Coils/Belgium                                                          A423808   5/21/1999    Flat              Stainless
Brazil            Carbon & Alloy Steel Wire Rod/Brazil                                                            A351832   10/29/2002   Long              Carbon/Alloy
Brazil            Carbon & Alloy Steel Wire Rod/Brazil (CVD)                                                      C351833   10/22/2002   Long              Carbon/Alloy
Brazil            Certain Carbon and Alloy Steel CutͲtoͲLength Plate/Brazil                                       A351847   2/1/2017     Flat              Carbon/Alloy
Brazil            Certain ColdͲRolled Steel Flat Products/Brazil                                                  A351843   9/20/2016    Flat              Carbon/Alloy
Brazil            Certain ColdͲRolled Steel Flat Products/Brazil (CVD)                                            C351844   9/20/2016    Flat              Carbon/Alloy
Brazil            Certain HotͲRolled Steel Flat Products/Brazil                                                   A351845   10/3/2016    Flat              Carbon/Alloy
Brazil            Certain HotͲRolled Steel Flat Products/Brazil (CVD)                                             C351846   10/3/2016    Flat              Carbon/Alloy
Brazil            Circular Welded NonͲAlloy Steel Pipe/Brazil                                                     A351809   11/2/1992    Pipe and Tube     Carbon/Alloy
Brazil            Stainless Steel Bar/Brazil                                                                      A351825   2/21/1995    Long              Stainless
China             Carbon and Certain Alloy Steel Wire Rod/PRC                                                     A570012   1/8/2015     Long              Carbon/Alloy
China             Carbon and Certain Alloy Steel Wire Rod/PRC (CVD)                                               C570013   1/8/2015     Long              Carbon/Alloy
China             Certain Carbon & Alloy Steel CutͲtoͲLength Plate/PRC                                            A570047   3/20/2017    Flat              Carbon/Alloy
China             Certain Carbon & Alloy Steel CutͲtoͲLength Plate/PRC (CVD)                                      C570048   3/20/2017    Flat              Carbon/Alloy
China             Certain ColdͲRolled Steel Flat Products/PRC                                                     A570029   7/14/2016    Flat              Carbon/Alloy
China             Certain ColdͲRolled Steel Flat Products/PRC (CVD)                                               C570030   7/14/2016    Flat              Carbon/Alloy
China             Circular Welded Austenitic Stainless Pressure Pipe/PRC                                          A570930   3/17/2009    Pipe and Tube     Stainless
China             Circular Welded Austenitic Stainless Pressure Pipe/PRC (CVD)                                    C570931   3/19/2009    Pipe and Tube     Stainless
China             Circular Welded CarbonͲQuality Steel Line Pipe/PRC                                              A570935   5/13/2009    Pipe and Tube     Carbon/Alloy
China             Circular Welded CarbonͲQuality Steel Line Pipe/PRC (CVD)                                        C570936   1/23/2009    Pipe and Tube     Carbon/Alloy
China             Circular Welded CarbonͲQuality Steel Pipe/PRC                                                   A570910   7/22/2008    Pipe and Tube     Carbon/Alloy
China             Circular Welded CarbonͲQuality Steel Pipe/PRC (CVD)                                             C570911   7/22/2008    Pipe and Tube     Carbon/Alloy
China             CorrosionͲResistant Steel Products/PRC                                                          A570026   7/25/2016    Flat              Carbon/Alloy
China             CorrosionͲResistant Steel Products/PRC (CVD)                                                    C570027   7/25/2016    Flat              Carbon/Alloy
China             CutͲtoͲLength Carbon Steel Plate/PRC                                                            A570849   11/3/2003    Flat              Carbon/Alloy
China             HotͲRolled Carbon Steel Flat Products/PRC                                                       A570865   11/29/2001   Flat              Carbon/Alloy
China             LightͲWalled Rectangular Pipe & Tube/PRC                                                        A570914   8/5/2008     Pipe and Tube     Carbon/Alloy
China             LightͲWalled Rectangular Pipe & Tube/PRC (CVD)                                                  C570915   8/5/2008     Pipe and Tube     Carbon/Alloy
China             NonͲOriented Electrical Steel/PRC                                                               A570996   12/3/2014    Flat              Carbon/Alloy
China             NonͲOriented Electrical Steel/PRC (CVD)                                                         C570997   12/3/2014    Flat              Carbon/Alloy
China             Oil Country Tubular Goods/PRC                                                                   A570943   5/21/2010    Pipe and Tube     Carbon/Alloy
China             Oil Country Tubular Goods/PRC (CVD)                                                             C570944   1/20/2010    Pipe and Tube     Carbon/Alloy
China             Prestressed Concrete Steel Rail Tie Wire/PRC                                                    A570990   6/24/2014    Long              Carbon/Alloy
China             Seamless C&A Steel Standard, Line & Pressure Pipe/PRC                                           A570956   11/10/2010   Pipe and Tube     Carbon/Alloy
China             Seamless C&A Steel Standard, Line & Pressure Pipe/PRC (CVD)                                     C570957   11/10/2010   Pipe and Tube     Carbon/Alloy
China             Stainless Steel Sheet and Strip/PRC                                                             A570042   4/3/2017     Flat              Stainless
China             Stainless Steel Sheet and Strip/PRC (CVD)                                                       C570043   4/3/2017     Flat              Stainless
China             Steel Concrete Reinforcing Bars/PRC                                                             A570860   9/7/2001     Long              Carbon/Alloy
France            Certain Carbon & Alloy Steel CutͲtoͲLength Plate/France                                         A427828   5/25/2017    Flat              Carbon/Alloy
Germany           Certain Carbon & Alloy Steel CutͲtoͲLength Plate/Germany                                        A428844   5/25/2017    Flat              Carbon/Alloy
Germany           NonͲOriented Electrical Steel/Germany                                                           A428843   12/3/2014    Flat              Carbon/Alloy
Germany           Small Diameter Seamless Carbon and Alloy Steel Standard, Line, and Pressure Pipe/Germany        A428820   8/3/1995     Pipe and Tube     Carbon/Alloy
India             Certain ColdͲRolled Steel Flat Products/India                                                   A533865   9/20/2016    Flat              Carbon/Alloy
India             Certain ColdͲRolled Steel Flat Products/India (CVD)                                             C533866   9/20/2016    Flat              Carbon/Alloy
India             CorrosionͲResistant Steel Products/India                                                        A533863   7/25/2016    Flat              Carbon/Alloy
India             CorrosionͲResistant Steel Products/India (CVD)                                                  C533864   7/25/2016    Flat              Carbon/Alloy
India             CutͲtoͲLength CarbonͲQuality Steel Plate/India                                                  A533817   2/10/2000    Flat              Carbon/Alloy
India             CutͲtoͲLength CarbonͲQuality Steel Plate/India (CVD)                                            C533818   2/10/2000    Flat              Carbon/Alloy
India             HotͲRolled Carbon Steel Flat Products/India                                                     A533820   12/3/2001    Flat              Carbon/Alloy
India             HotͲRolled Carbon Steel Flat Products/India (CVD)                                               C533821   12/3/2001    Flat              Carbon/Alloy
India             Oil Country Tubular Goods/India                                                                 A533857   9/10/2014    Pipe and Tube     Carbon/Alloy
India             Oil Country Tubular Goods/India (CVD)                                                           C533858   9/10/2014    Pipe and Tube     Carbon/Alloy
India             Stainless Steel Bar/India                                                                       A533810   2/21/1995    Long              Stainless
India             Stainless Steel Wire Rod/India                                                                  A533808   12/1/1993    Long              Stainless
India             Welded Carbon Steel Pipe & Tube/India                                                           A533502   5/12/1986    Pipe and Tube     Carbon/Alloy
India             Welded Stainless Pressure Pipe/India                                                            A533867   11/17/2016   Pipe and Tube     Stainless
India             Welded Stainless Pressure Pipe/India (CVD)                                                      C533868   11/17/2016   Pipe and Tube     Stainless
Indonesia         Carbon & Alloy Steel Wire Rod/Indonesia                                                         A560815   10/29/2002   Long              Carbon/Alloy
Indonesia         CutͲtoͲLength CarbonͲQuality Steel Plate/Indonesia                                              A560805   2/10/2000    Flat              Carbon/Alloy
Indonesia         CutͲtoͲLength CarbonͲQuality Steel Plate/Indonesia (CVD)                                        C560806   2/10/2000    Flat              Carbon/Alloy
Indonesia         HotͲRolled Carbon Steel Flat Products/Indonesia                                                 A560812   12/3/2001    Flat              Carbon/Alloy
Indonesia         HotͲRolled Carbon Steel Flat Products/Indonesia (CVD)                                           C560813   12/3/2001    Flat              Carbon/Alloy
Indonesia         Steel Concrete Reinforcing Bars/Indonesia                                                       A560811   9/7/2001     Long              Carbon/Alloy
Italy             Certain Carbon & Alloy Steel CutͲtoͲLength Plate/Italy                                          A475834   5/25/2017    Flat              Carbon/Alloy
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                           Steel Antidumping and Countervailing Duty Orders in Effect as of January 11, 2018
                                                                                                                                   Steel Product
       Country                                            Product/Country                                  CaseNo   Order Date                         Grade
                                                                                                                                     Category
Italy            CorrosionͲResistant Steel Products/Italy                                                 A475832   7/25/2016    Flat              Carbon/Alloy
Italy            CorrosionͲResistant Steel Products/Italy (CVD)                                           C475833   7/25/2016    Flat              Carbon/Alloy
Japan            Carbon & Alloy Seamless Standard, Line & Pressure Pipe (Over 4.5 Inches)/Japan           A588850   6/26/2000    Pipe and Tube     Carbon/Alloy
Japan            Carbon & Alloy Seamless Standard, Line & Pressure Pipe (Under 4.5 Inches)/Japan          A588851   6/26/2000    Pipe and Tube     Carbon/Alloy
Japan            Certain Carbon & Alloy Steel CutͲtoͲLength Plate/Japan                                   A588875   5/25/2017    Flat              Carbon/Alloy
Japan            Certain ColdͲRolled Steel Flat Products/Japan                                            A588873   7/14/2016    Flat              Carbon/Alloy
Japan            Certain HotͲRolled Steel Flat Products/Japan                                             A588874   10/3/2016    Flat              Carbon/Alloy
Japan            Clad Steel Plate/Japan                                                                   A588838   7/2/1996     Flat              Carbon/Alloy
Japan            DiffusionͲAnnealed, NickelͲPlated, FlatͲRolled Steel Products/Japan                      A588869   5/29/2014    Flat              Carbon/Alloy
Japan            NonͲOriented Electrical Steel/Japan                                                      A588872   12/3/2014    Flat              Carbon/Alloy
Japan            Stainless Steel Bar/Japan                                                                A588833   2/21/1995    Long              Stainless
Japan            Stainless Steel Sheet & Strip In Coils/Japan                                             A588845   7/27/1999    Flat              Stainless
Japan            Stainless Steel Wire Rod/Japan                                                           A588843   9/15/1998    Long              Stainless
Japan            Steel Concrete Reinforcing Bar/Japan                                                     A588876   7/14/2017    Long              Carbon/Alloy
Japan            Tin Mill Products/Japan                                                                  A588854   8/28/2000    Flat              Carbon/Alloy
Japan            Welded Large Diameter Line Pipe/Japan                                                    A588857   12/6/2001    Pipe and Tube     Carbon/Alloy
Latvia           Steel Concrete Reinforcing Bars/Latvia                                                   A449804   9/7/2001     Long              Carbon/Alloy
Malaysia         Welded Stainless Pressure Pipe/Malaysia                                                  A557815   7/21/2014    Pipe and Tube     Stainless
Mexico           Carbon & Alloy Steel Wire Rod/Mexico                                                     A201830   10/29/2002   Long              Carbon/Alloy
Mexico           Circular Welded NonͲAlloy Steel Pipe/Mexico                                              A201805   11/2/1992    Pipe and Tube     Carbon/Alloy
Mexico           Heavy Walled Rectangular Welded Carbon Steel Pipes and Tubes/Mexico                      A201847   9/13/2016    Pipe and Tube     Carbon/Alloy
Mexico           LightͲWalled Rectangular Pipe & Tube/Mexico                                              A201836   8/5/2008     Pipe and Tube     Carbon/Alloy
Mexico           Prestressed Concrete Steel Rail Tie Wire/Mexico                                          A201843   6/24/2014    Long              Carbon/Alloy
Mexico           Steel Concrete Reinforcing Bar/Mexico                                                    A201844   11/6/2014    Long              Carbon/Alloy
Moldova          Carbon & Alloy Steel Wire Rod/Moldova                                                    A841805   10/29/2002   Long              Carbon/Alloy
Moldova          Steel Concrete Reinforcing Bars/Moldova                                                  A841804   9/7/2001     Long              Carbon/Alloy
Netherlands      Certain HotͲRolled Steel Flat Products/Netherlands                                       A421813   10/3/2016    Flat              Carbon/Alloy
Oman             Circular Welded CarbonͲQuality Steel Pipe/Oman                                           A523812   12/19/2016   Pipe and Tube     Carbon/Alloy
Pakistan         Circular Welded CarbonͲQuality Steel Pipe/Pakistan                                       A535903   12/19/2016   Pipe and Tube     Carbon/Alloy
Poland           Steel Concrete Reinforcing Bars/Poland                                                   A455803   9/7/2001     Long              Carbon/Alloy
Romania          Carbon & Alloy Seamless Standard, Line & Pressure Pipe (Under 4.5 Inches)/Romania        A485805   8/10/2000    Pipe and Tube     Carbon/Alloy
Russia           HotͲRolled FlatͲRolled CarbonͲQuality Steel Products/Russia                              A821809   12/24/2014   Flat              Carbon/Alloy
South Africa     Certain Carbon and Alloy Steel CutͲtoͲLength Plate/S Africa                              A791822   2/1/2017     Flat              Carbon/Alloy
South Africa     Stainless Steel Plate In Coils/S Africa                                                  A791805   5/21/1999    Flat              Stainless
South Africa     Stainless Steel Plate in Coils/S Africa (CVD)                                            C791806   5/11/1999    Flat              Stainless
South Korea      Certain Carbon & Alloy Steel CutͲtoͲLength Plate/Korea                                   A580887   5/25/2017    Flat              Carbon/Alloy
South Korea      Certain Carbon & Alloy Steel CutͲtoͲLength Plate/Korea (CVD)                             C580888   5/25/2017    Flat              Carbon/Alloy
South Korea      Certain ColdͲRolled Steel Flat Products/Korea                                            A580881   9/20/2016    Flat              Carbon/Alloy
South Korea      Certain ColdͲRolled Steel Flat Products/Korea (CVD)                                      C580882   9/20/2016    Flat              Carbon/Alloy
South Korea      Certain HotͲRolled Steel Flat Products/Korea                                             A580883   10/3/2016    Flat              Carbon/Alloy
South Korea      Certain HotͲRolled Steel Flat Products/Korea (CVD)                                       C580884   10/3/2016    Flat              Carbon/Alloy
South Korea      Circular Welded NonͲAlloy Steel Pipe/S Korea                                             A580809   11/2/1992    Pipe and Tube     Carbon/Alloy
South Korea      CorrosionͲResistant Steel Products/Korea                                                 A580878   7/25/2016    Flat              Carbon/Alloy
South Korea      CorrosionͲResistant Steel Products/Korea (CVD)                                           C580879   7/25/2016    Flat              Carbon/Alloy
South Korea      CutͲtoͲLength CarbonͲQuality Steel Plate/S Korea                                         A580836   2/10/2000    Flat              Carbon/Alloy
South Korea      CutͲtoͲLength CarbonͲQuality Steel Plate/S Korea (CVD)                                   C580837   2/10/2000    Flat              Carbon/Alloy
South Korea      Heavy Walled Rectangular Welded Carbon Steel Pipes and Tubes/Korea                       A580880   9/13/2016    Pipe and Tube     Carbon/Alloy
South Korea      LightͲWalled Rectangular Pipe & Tube/S Korea                                             A580859   8/5/2008     Pipe and Tube     Carbon/Alloy
South Korea      NonͲOriented Electrical Steel/S Korea                                                    A580872   12/3/2014    Flat              Carbon/Alloy
South Korea      Oil Country Tubular Goods/S Korea                                                        A580870   9/10/2014    Pipe and Tube     Carbon/Alloy
South Korea      Stainless Steel Sheet & Strip In Coils/S Korea                                           A580834   7/27/1999    Flat              Stainless
South Korea      Stainless Steel Sheet & Strip In Coils/S Korea (CVD)                                     C580835   8/6/1999     Flat              Stainless
South Korea      Stainless Steel Wire Rod/S Korea                                                         A580829   9/15/1998    Long              Stainless
South Korea      Welded Astm AͲ312 Stainless Steel Pipe/S Korea                                           A580810   12/30/1992   Pipe and Tube     Stainless
South Korea      Welded Line Pipe/S Korea                                                                 A580876   12/1/2015    Pipe and Tube     Carbon/Alloy
Spain            Stainless Steel Bar/Spain                                                                A469805   3/2/1995     Long              Stainless
Sweden           NonͲOriented Electrical Steel/Sweden                                                     A401809   12/3/2014    Flat              Carbon/Alloy
Taiwan           Certain Carbon & Alloy Steel CutͲtoͲLength Plate/Taiwan                                  A583858   5/25/2017    Flat              Carbon/Alloy
Taiwan           Circular Welded Carbon Steel Pipes & Tubes/Taiwan                                        A583008   5/7/1984     Pipe and Tube     Carbon/Alloy
Taiwan           Circular Welded NonͲAlloy Steel Pipe/Taiwan                                              A583814   11/2/1992    Pipe and Tube     Carbon/Alloy
Taiwan           CorrosionͲResistant Steel Products/Taiwan                                                A583856   7/25/2016    Flat              Carbon/Alloy
Taiwan           HotͲRolled Carbon Steel Flat Products/Taiwan                                             A583835   11/29/2001   Flat              Carbon/Alloy
Taiwan           LightͲWalled Rectangular Welded Carbon Steel Pipe & Tube/Taiwan                          A583803   3/27/1989    Pipe and Tube     Carbon/Alloy
Taiwan           NonͲOriented Electrical Steel/Taiwan                                                     A583851   12/3/2014    Flat              Carbon/Alloy
Taiwan           NonͲOriented Electrical Steel/Taiwan (CVD)                                               C583852   12/3/2014    Flat              Carbon/Alloy
Taiwan           Stainless Steel Plate In Coils/Taiwan                                                    A583830   5/21/1999    Flat              Stainless
Taiwan           Stainless Steel Sheet & Strip In Coils/Taiwan                                            A583831   7/27/1999    Flat              Stainless
Taiwan           Stainless Steel Wire Rod/Taiwan                                                          A583828   9/15/1998    Long              Stainless
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                                 Steel Antidumping and Countervailing Duty Orders in Effect as of January 11, 2018
                                                                                                                                 Steel Product
       Country                                                Product/Country                            CaseNo   Order Date                         Grade
                                                                                                                                   Category
Taiwan                 Steel Conrete Reinforcing Bar/Taiwan                                             A583859   10/2/2017    Long              Carbon/Alloy
Taiwan                 Welded Astm A-312 Stainless Steel Pipe/Taiwan                                    A583815   12/30/1992   Pipe and Tube     Stainless
Thailand               Hot-Rolled Carbon Steel Flat Products/Thailand                                   A549817   11/29/2001   Flat              Carbon/Alloy
Thailand               Hot-Rolled Carbon Steel Flat Products/Thailand (CVD)                             C549818   12/3/2001    Flat              Carbon/Alloy
Thailand               Welded Carbon Steel Pipe & Tube/Thailand                                         A549502   3/11/1986    Pipe and Tube     Carbon/Alloy
Thailand               Welded Stainless Pressure Pipe/Thailand                                          A549830   7/21/2014    Pipe and Tube     Stainless
Trinidad & Tobago      Carbon & Alloy Steel Wire Rod/Trinidad & Tobago                                  A274804   10/29/2002   Long              Carbon/Alloy
Turkey                 Certain Carbon and Alloy Steel Cut-to-Length Plate/Turkey                        A489828   2/1/2017     Flat              Carbon/Alloy
Turkey                 Certain Hot-Rolled Steel Flat Products/Turkey                                    A489826   10/3/2016    Flat              Carbon/Alloy
Turkey                 Heavy Walled Rectangular Welded Carbon Steel Pipes and Tubes/Turkey              A489824   9/13/2016    Pipe and Tube     Carbon/Alloy
Turkey                 Heavy Walled Rectangular Welded Carbon Steel Pipes and Tubes/Turkey (CVD)        C489825   9/13/2016    Pipe and Tube     Carbon/Alloy
Turkey                 Light-Walled Rectangular Pipe & Tube/Turkey                                      A489815   5/30/2008    Pipe and Tube     Carbon/Alloy
Turkey                 Oil Country Tubular Goods/Turkey                                                 A489816   9/10/2014    Pipe and Tube     Carbon/Alloy
Turkey                 Oil Country Tubular Goods/Turkey (CVD)                                           C489817   9/10/2014    Pipe and Tube     Carbon/Alloy
Turkey                 Steel Concrete Reinforcing Bar/Turkey                                            A489829   7/14/2017    Long              Carbon/Alloy
Turkey                 Steel Concrete Reinforcing Bar/Turkey (CVD)                                      C489819   11/6/2014    Long              Carbon/Alloy
Turkey                 Steel Concrete Reinforcing Bar/Turkey (CVD)                                      C489830   7/14/2017    Long              Carbon/Alloy
Turkey                 Welded Carbon Steel Pipe & Tube/Turkey                                           A489501   5/15/1986    Pipe and Tube     Carbon/Alloy
Turkey                 Welded Carbon Steel Pipe & Tube/Turkey (CVD)                                     C489502   3/7/1986     Pipe and Tube     Carbon/Alloy
Turkey                 Welded Line Pipe/Turkey                                                          A489822   12/1/2015    Pipe and Tube     Carbon/Alloy
Turkey                 Welded Line Pipe/Turkey (CVD)                                                    C489823   12/1/2015    Pipe and Tube     Carbon/Alloy
Ukraine                Hot-Rolled Carbon Steel Flat Products/Ukraine                                    A823811   11/29/2001   Flat              Carbon/Alloy
Ukraine                Steel Concrete Reinforcing Bars/Ukraine                                          A823809   9/7/2001     Long              Carbon/Alloy
United Arab Emirates   Circular Welded Carbon-Quality Steel Pipe/United Arab Emirates                   A520807   12/19/2016   Pipe and Tube     Carbon/Alloy
United Kingdom         Certain Cold-Rolled Steel Flat Products/United Kingdom                           A412824   9/20/2016    Flat              Carbon/Alloy
United Kingdom         Certain Hot-Rolled Steel Flat Products/United Kingdom                            A412825   10/3/2016    Flat              Carbon/Alloy
Vietnam                Oil Country Tubular Goods/Vietnam                                                A552817   9/10/2014    Pipe and Tube     Carbon/Alloy
Vietnam                Welded Stainless Pressure Pipe/Vietnam                                           A552816   7/21/2014    Pipe and Tube     Stainless

As of January 11, 2018, there are 164 AD/CVD orders in place on steel, with 28 against China.
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                                                    Ongoing Steel Investigations
         Country                                                            Product/Country
Belarus                      Carbon and Alloy Steel Wire Rod/Belarus
Italy                        Carbon and Alloy Steel Wire Rod/Italy
Italy                        Carbon and Alloy Steel Wire Rod/Italy (CVD)
South Korea                  Carbon and Alloy Steel Wire Rod/South Korea
Russia                       Carbon and Alloy Steel Wire Rod/Russia
South Africa                 Carbon and Alloy Steel Wire Rod/South Africa
Spain                        Carbon and Alloy Steel Wire Rod/Spain
Turkey                       Carbon and Alloy Steel Wire Rod/Turkey
Turkey                       Carbon and Alloy Steel Wire Rod/Turkey (CVD)
Ukraine                      Carbon and Alloy Steel Wire Rod/Ukraine
United Arab Emirates         Carbon and Alloy Steel Wire Rod/UAE
United Kingdom               Carbon and Alloy Steel Wire Rod/United Kingdom
China                        Cold-Drawn Mechanical Tubing/PRC
China                        Cold-Drawn Mechanical Tubing/PRC (CVD)
Germany                      Cold-Drawn Mechanical Tubing/Germany
India                        Cold-Drawn Mechanical Tubing/India
India                        Cold-Drawn Mechanical Tubing/India (CVD)
Italy                        Cold-Drawn Mechanical Tubing/Italy
South Korea                  Cold-Drawn Mechanical Tubing/South Korea
Switzerland                  Cold-Drawn Mechanical Tubing/Switzerland

As of January 11, 2018, there are 20 ongoing AD/CVD investigations on steel products.
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Global Excess Capacity in Steel Production

      The excess capacity situation for steel is a global problem, and steel-producing
nations have committed, in principle, to work together on possible solutions. In
December 2016, G20 economies and interested Organization for Economic
Cooperation and Development (OECD) members formally launched the Global
Forum on Steel Excess Capacity (Global Forum), a multilateral effort mandated by
G20 Leaders during the September 2016 Hangzhou Summit to enhance
communication and cooperation and to take effective steps to address the global
excess capacity challenge so as to enhance market function and encourage
adjustment. The Global Forum brings together more than 30 economies representing
more than 93 percent of the world’s steel production.

      Consistent with the G20 Leaders’ mandate for increased information sharing,
one of the first tasks of the Global Forum was to develop a mechanism to exchange
data on crude steel capacity, as well as subsidies and other government supports that
contribute to steel excess capacity. All 33 members of the Global Forum participated
to some degree in the information-sharing exercise, but much work remains,
including with respect to the completeness, review and analysis of information
provided.

       The Hangzhou mandate was highlighted at the G20 Hamburg Summit in July
2017 where Leaders called on members to rapidly develop concrete policy solutions
that reduce excess steel capacity and to produce a substantive report with such
solutions by November 2017.

      In response to both the Hangzhou and Hamburg mandates, the Global Forum
developed a set of six principles to serve as the basis for policy action by members
which include, among other measures, enhancing market function by refraining from
market-distorting subsidies and government support measures, fostering a level
playing field in the steel industry and ensuring market-based outcomes, as well as
encouraging adjustment. With these principles as guidance, the Global Forum
outlined a series of recommendations for concrete policy solutions to reduce excess
capacity and enhance market function in the steel sector. These voluntary policy
recommendations are contained in the report concluded at a November 30, 2017
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Ministerial meeting of the Global Forum and are intended to enhance market
function and encourage adjustment and include the removal of market-distorting
subsidies and other types of support by governments and government-related
entities, whether or not such measures are prohibited by WTO rules.

       While the report provides helpful policy prescriptions, it does not highlight
the lack of true market reforms in the steel sector1. China points to its targets to
reduce 100 – 150 MMT of crude steelmaking capacity from 2016 to 2020, and that
since 2016, it has reduced over 100 MMT of crude steel capacity, with 65 MMT
reduced in 2016 alone and more expected in 2017. The setting of capacity reduction
targets is not a long-term response to the crisis. Meaningful progress can only be
achieved by removing subsidies and other forms of government support so that
markets can function properly. In addition, state-owned enterprises and private
steelmakers should be treated equally.

       The Office of the U.S. Trade Representative Statement on Report of Global
Forum on Steel Excess Capacity highlighted concerns about the report. It stated,
“The Report issued today contains many helpful policy prescriptions, but it
fails to highlight the recurring failure of some countries to implement true
market-based reforms in the steel sector. In addition, the Report does not contain
       complete information regarding market-distorting measures in certain economies
     does
       and not set forth a clear pathway for filling such data gaps. The Report
erroneously suggests that simply setting capacity reduction targets has been an
effective response to the crisis, when in fact meaningful progress can only be
achieved by removing subsidies and other forms of state support and letting
markets do their work.”2

     Next steps for the Global Forum include additional information and data
exchange, as well as three meetings in 2018, with Argentina (the next G20 President)
1
  Global Forum on Steel Excess Capacity (GFSEC) report to leaders is available at:
http://www.bmwi.de/Redaktion/EN/Downloads/global‐forum‐on‐steel‐excess‐capacity‐
report.pdf?__blob=publicationFile

2
    The Office of the U.S. Trade Representative. (2017). USTR Statement on Report of Global Forum on Steel Excess
      Capacity [Press release]. Retrieved from https://ustr.gov/about‐us/policy‐offices/press‐office/press‐
      releases/2017/november/ustr‐statement‐report‐global‐forum
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as Chair, to further discuss, review and assess this information. To be successful,
this exercise will need to contain complete information regarding market-distorting
measures from all economies and a clear path forward for implementation of true
market-based reforms.

       China in particular has long recognized it has a growing overcapacity problem
and has announced many policy initiatives and bilateral commitments to reduce its
steel capacity. The massive growth in China’s steel production capacity illustrates
the lack of implementation of such policies. For example, as early as 2003, the
Chinese State Council issued a Circular aimed at stopping blind investment in steel
and other industries in an effort to address surplus capacity.3 Six years and several
policies later, China’s steel capacity had increased from 2003 levels of an
estimated 278 million metric tons (mmt) to over 488 mmt. By 2009, China’s
steel capacity had reached an estimated 717 mmt when China’s State Council
Notice on Suppressing Capacity sought to reduce the growth of China’s raw steel
output.4

       By 2011, China’s steel capacity had reached estimates exceeding 863
mmt. Then again, in 2013, China’s capacity increased to an estimated 1.106
billion metric tons (bmt), which was the same year that China released the State
Council Notice to Resolve Serious Overcapacity.5 In 2016, China’s steel capacity
increased again to estimates of more than 1.159 bmt when China introduced
another measure: its 2016 State Council Opinion on Resolving Excess Capacity.
In sum, China’s steel production capacity has grown from 278 mmt in 2003 to
1.12 bmt in 2016, more than 300 percent (see Figure L1).

      China’s bilateral commitments regarding excess capacity have likewise been
disappointing. For example, in the 2014 U.S. – China Strategic and
Economic Dialogue, China committed to establish mechanisms that strictly
prevent the
3
    Circular of the General Office of the State Council on Transmitting and Issuing Several Opinions of the National
    Development and Reform Commission and Other Authorities on Curbing Irrational Investment in Steel,
    Electrolytic Aluminum and Cement Industries (Guo Ban Fa [2003] No.103).

4
    Guo Fa [2009] No. 38

5
    Guo Fa [2013] No. 41.
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expansion of crude steelmaking capacity and that are designed to achieve major
progress in addressing excess steel production over the next five years. However,
three years into that timeframe, China’s steel capacity increased from estimates of
over 1.140 bmt to over 1.159 bmt. China exports 107 mmt into other markets
creating global overcapacity that results in other countries making concessionary
exports, including to the United States.


     Figure L1. Timeline: Major Chinese Government Policy Statements about
           Steel Expansion Concerns vs. Actual Growth in Steel Capacity




   Source: U.S. Department of Commerce, Enforcement and Compliance, using OECD steel capacity figures and estimates




       Excess steelmaking in China is a dire concern globally. Until recently, China’s
steel production grew at double-digit rates. China produced 808 mmt of steel in 2016
(up 1.2 percent from its production of 799 mmt in 2015). China’s share of world
production, at 50 percent, is larger than the combined production of the United
States, the European Union (EU), Russia, and Japan, which historically were the
largest producers of steel. Additionally, China’s exports of steel reached a record
peak in 2015, at 110 million metric tons, before declining slightly (-3.1 percent to
106 mmt) in 2016. China’s 2015 exports represented an increase of 20 percent over
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2014 and were 35 percent more than the total annual production of the United States
in 2015 (78.9 mmt).

       The financial situation of Chinese steel producers exacerbates the substantial
overcapacity caused by Chinese government investment. Half of China’s steel
producers reported losses totaling 64 billion yuan (approximately $9 billion) in 2014
with steel prices falling by 32 percent in 2015.6 The Chinese steel industry received
most of the stimulus funding and did well until about 2012.7 “Growth in steel
demand across China has been slowing since 2011, leading to pledges by officials to
cut capacity….Officials said that efforts last year to cut capacity had exceeded
targets set for the year. But the research by Custeel suggest that many of the cuts
were to plants that had already been idle. As a result, only 23 million metric tons of
capacity was actually closed, the report said.”8

       One large Chinese steel group has signed a debt-to-equity swap agreement
with China’s state-owned Industrial and Commercial Bank of China that covers 10
billion yuan ($1.45 billion) in total.9 Since China's policymakers re-launched the
debt-for-equity scheme at the end of last year for its struggling firms, the country's
banks have pledged to sign deals with state-owned enterprises to ease their burden.

       As Chinese exports flood the global market, the global steel industry has
become increasingly concerned about the resulting market distortions. As China
exports its excess capacity into other markets, it creates global overcapacity that
results in other countries making concessionary exports to the United States and
other countries. Over the past few years, the United States has experienced the
largest impact of the glut of excess capacity, including loss in domestic market share,
6
    “China’s Economic Slowdown: China’s Steel Sector Hit by Losses,” Christian Shepherd and Tom Mitchell, The
      Financial Times, February 1, 2016, https://www.ft.com/content/338b4394‐c8aa‐11e5‐be0b‐b7ece4e953a0

7
    Ruohong, Fan. "Slower Economy a Crucible for Nation's Steel Industry." CAIXIN. N.p., 15 Feb. 2016. Web.

8
    Greenpeace Links Beijing’s Air Pollution Surge to Steel Factories ‐ The New York Times;
      https://www.nytimes.com/2017/02/16/world/asia/beijing‐air‐pollution‐china‐steel‐
      production.html?smprod=nytcore‐iphone&smid=nytcore‐iphone‐share&_r=0

9
    Reuters, “China’s Angang Group in debt‐to‐equity swap with Industrial Bank ‐Xinhua,” April 2017,
      http://mobile.reuters.com/article/idUSL3N1HD26Y
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lower capacity utilization, closures, and lay-offs, which numbered more than 14,100
employees in the United States between 2015 and 2016. There is also excess capacity
elsewhere in Asia and in Europe, but China alone added roughly three-quarters of
the global increase in capacity from 2000-2015.

       Based on publicly available information about steel capacity additions
collected by the OECD, Asia has seen a 5.3 percent increase in capacity since 2014.
Commonwealth of Independent States (CIS) has seen a 2.8 percent increase, Latin
America increased 6.8 percent, Africa increased 5.9 percent, and the Middle East has
seen a 31.4 percent increase in capacity since 2014. There has been some general
analysis done showing that the EU, CIS, and Asia exporting regions have among the
highest levels of total excess steelmaking capacity. The definition used to measure
excess capacity in this case was the difference between capacity and demand for
each region.10

      Determining the precise level of capacity in each country is difficult for a
number of reasons, including industry concerns about proprietary data. One of the
objectives of the Global Forum is to capture capacity levels by both plant and
country to provide a basis for understanding the magnitude of this global problem.
Publicly-available sources identify new capacity developments globally, with Asia
leading the way by three or more orders of magnitude (see Figure L2).11




10
     OECD, “Capacity Developments in the World Steel Sector,” 2016, http://www.oecd.org/sti/ind/Capacity‐
      Developments‐Steel‐Industry.pdf

11
     http://www.oecd.org/industry/ind/82nd_OECD_Steel_Committee_Hokuto_Otsuka_Capacity.pdf p. 4
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                           Figure L2. Regional Capacity Developments
                                         Capacity Change 2000‐2016




      China’s exports alone exceed U.S. steel production, and China’s excess
capacity is several times larger than the U.S. market. In China, the increase in steel
capacity is occurring simultaneously with a major build up in military spending.
China’s steel exports have often been found to be unfairly traded, and the U.S.
industry has obtained relief for many unfairly traded products via antidumping and
countervailing duty investigations against China and other countries.12

       The partial success of trade cases is demonstrated by the fact that China’s
ranking in every product category of U.S. imports has declined from 2006 to 2016
but has been replaced by other sources. This means that China has had to ship more
to markets other than the United States, thereby depressing them. However,
antidumping and countervailing duty orders alone cannot address the broader
structural economic harm caused by global excess capacity, which is a major cause
of relentless import pressure.

12
     U.S. companies have 164 outstanding antidumping and countervailing duty orders on imported steel, 28 of
     which are against China. Chinese and other producers and exporters often find ways to evade the duties by
     transshipping through other countries and other techniques.
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      The largest share of China’s steel exports are sent to its neighbors in Asia.
Roughly 40 percent of those 2016 steel exports went to South Korea, Vietnam,
Philippines, India, and Thailand. An unknown portion of these are further processed
in those countries and eventually shipped to the United States. The peak year for
Chinese steel exports to the United States was in 2006 when over 10 percent were
exported to the United States. In 2015, China ranked 7th (after Canada, Brazil,
Korea, Turkey, Mexico, and Japan) as a source of U.S. steel imports. In 2016, China
slipped to 9th place behind Russia and Germany as a source of U.S. steel imports.

       While a small percentage of Chinese steel exports were shipped to the United
States, Chinese steel exports to other countries, such as Vietnam and Thailand,
expanded rapidly. At the same time that exports from those countries, and to a lesser
extent Malaysia and Indonesia, to the United States significantly increased.

      In 2006, China exported over 50 million metric tons of steel globally. The
United States received more than five million metric tons of steel from China in
2006, or 10 percent of China’s global steel exports. In 2016, China exported over
106 million metric tons of steel globally. China sent 835,637 metric tons of steel to
the United States in 2016, or 0.8 percent of China’s global steel exports. This
amounted to an 84 percent decline in U.S. imports from China from 2006 to 2016
(see Figures L3 and L4).

      In 2006, China exported more than three million metric tons of steel to
Vietnam, or 6.5 percent of China’s global steel exports. In 2016, China exported
more than 11 million metric tons of steel to Vietnam, or 10.9 percent of China’s
global steel imports. This amounted to a 250 percent increase in China’s exports to
Vietnam from 2006 to 2016.

       In 2006, China exported more than two million metric tons of steel to
Thailand, or 4.5 percent of China’s global steel exports. In 2016, China exported
over six million metric tons of steel to Thailand, or 5.8 percent of China’s global
steel exports. This amounted to a 171 percent increase in China’s exports Thailand
from 2006 to 2016.
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  Source: IHS Global Trade Atlas


             Figure L4. Top 10 Countries Receiving China's Steel Exports in 2016
                          Exports from China (Million Metric Tons)
10




        Pakistan                   2.90
       Singapore                   2.92
9




     Saudi Arabia                  3.06
8




        Malaysia                     3.27
7




            India                    3.31
6




       Indonesia                                      5.79
5




        Thailand                                          6.19
4




      Philippines                                            6.51
3




        Vietnam                                                                          11.64
2




     South Korea                                                                                      14.22
1




                    0     2               4          6              8          10        12      14           16

 Source: IHS Global Trade Atlas                          Millions of Metric Tons
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                         EXHIBIT 5
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   THE EFFECT OF IMPORTS OF IRON ORE AND SEMI-FINISHED

               STEEL ON THE NATIONAL SECURITY




           An Investigation Conducted Under Section 232 of the
                Trade Expansion Act of 1962, as amended




                     U.S. Department of Commerce
                    Bureau of Export Administration
                             October 2001
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I.     EXECUTIVE SUMMARY


        This report summarizes the findings of an investigation conducted by the Secretary of
Commerce (“Secretary”) pursuant to Section 232 of the Trade Expansion Act of 1962, as
amended, 19 U.S.C. §1862 (“Section 232”), into the effects of imports of iron ore and semi-
finished steel on the national security of the United States. The conclusions of this report are as
follows:


(1)    Iron ore and semi-finished steel are important to U.S. national security. Specifically, iron
       ore and semi-finished steel – as raw and semi-finished materials consumed by certain
       segments of the steel industry in the production of finished steel products – are needed to
       satisfy the requirements for finished steel products of (i) the U.S. Department of Defense
       (“DOD”), and (ii) certain industries that are critical to the minimum operations of the
       U.S. economy and government.


(2)    Imports of iron ore and semi-finished steel could threaten to impair U.S. national security
       in either of two ways: (i) through excessive domestic dependency on unreliable foreign
       suppliers, or (ii) if such imports fundamentally threaten to impair the capability of the
       U.S. iron ore and semi-finished steel industries to satisfy national security requirements.


(3)    In fact, however, there is no probative evidence that imports of iron ore or semi-finished
       steel threaten to impair U.S. national security. There is neither evidence showing that the
       United States is dependent on imports of iron ore or semi-finished steel, nor evidence
       showing that such imports fundamentally threaten the ability of domestic producers to
       satisfy national security requirements. Specific findings supporting this conclusion
       include the following:


       •   National defense requirements, as communicated to the Department of Commerce
           (“Department”) by DOD, for finished steel – and thus for iron ore and semi-finished
           steel as inputs – are very low and likely to remain flat over the next five years.
           DOD’s current and projected demand for iron ore and steel can be readily satisfied by
           domestic production. Moreover, DOD already has established domestic preferences
           that apply to essentially all of the steel used in weapons systems ; accordingly, no
           weapons system is dependent upon foreign steel. DOD has concluded that “imports
           of iron ore and semi-finished steel do not currently affect the national security when
           assessed in terms of the ability to meet defense demands.”


                                                     1
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       •   The demand of critical industries for iron ore and semi-finished steel can be readily
           satisfied by domestic production, even assuming that all such demand were necessary
           to preserve the national security (which is not the case).

       •   Consideration of other relevant factors, as dictated by Section 232, does not
           demonstrate that imports of iron ore or semi-finished steel threaten to impair U.S.
           national security. U.S. industry currently has, and anticipates continuing to have in
           the future, sufficient human resources, products, raw materials, and other supplies and
           services needed for the production of iron ore and semi-finished steel.

       •   Imports of iron ore and semi-finished steel are from diverse and “safe” foreign
           suppliers, with the largest suppliers of these products being U.S. allies in the Western
           Hemisphere (Canada, Mexico, and Brazil).

       •   Although domestic manufacturers of iron ore and semi-finished steel clearly are
           enduring substantial economic hardship, there is no evidence that imports of these
           items (which account for approximately 20 and 7 percent of U.S. iron ore and semi-
           finished steel consumption, respectively) fundamentally threaten to impair the
           capability of U.S. industry to produce the quantities of iron ore and semi-finished
           steel needed to satisfy national security requirements, a modest proportion of total
           U.S. consumption.

       •   These conclusions take into account the campaign against terrorism resulting from the
           events of September 11, 2001, and the requirements of related military operations.

        Accordingly, the Department is unable to conclude that imports of iron ore and semi-
finished steel threaten to impair the national security of the United States, or to recommend to
the President that he take action under Section 232 to adjust the level of imports.




                                            2
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II.      LEGAL FRAMEWORK

       This report is produced pursuant to, and in satisfaction of, the obligations of the Secretary
under Section 232.

         A.       SECTION 232 REQUIREMENTS AND PROCEDURES


       Section 232 provides the Secretary1 with the authority to conduct investigations to
determine the effects on the national security of the United States of imports of any article. It
authorizes the Secretary to conduct an investigation if requested by the head of any department
or agency, upon application of an interested party, or upon his own motion. See 19 U.S.C.
§ 1862(b)(1)(A)(2001).

        Once an investigation has been initiated, Section 232 mandates that the Secretary provide
notice to the Secretary of Defense that such an investigation has been initiated. Section 232 also
requires the Secretary to do the following:

         1.       “Consult with the Secretary of Defense regarding the methodological and policy
                  questions raised in [the] investigation;”

         2.       “Seek information and advice from, and consult with, appropriate officers
                  of the United States;” and

         3.       “If it is appropriate, hold public hearings or otherwise afford interested parties an
                   opportunity to present information and advice relevant to such investigation.”2

See 19 U.S.C. § 1862(b)(2)(A)(i)-(iii). In conducting the investigation, Section 232 permits the
Secretary to request that the Secretary of Defense provide an assessment of the defense
requirements of the article that is the subject of the investigation. See 19 U.S.C.
§ 1862(b)(2)(B).

         Upon completion of a Section 232 investigation, the Secretary is required to submit a
report to the President no later than 270 days after the date on which the investigation was
initiated. See 19 U.S.C. § 1862(b)(3)(A). The required report must:

         1.       Set forth “the findings of the investigation with respect to the effect of the
                  importation of the article in such quantities or under such circumstances upon the
                  national security;”

         1
           Until 1979, authority for conducting Section 232 investigations resided with the Secretary of the
Treasury. On December 3, 1979, this authority was transferred to the Secretary of Commerce where it remains
today. See Reorganization Plan No. 3 of 1979, 44 Fed. Reg. 69,273 (Dec. 3, 1979). Since the transfer (and
including the present investigation), the Department has initiated 13 investigations pursuant to Section 232. Only
two of these 13 investigations have resulted in the imposition of any import-adjusting measures.

         2
             Department regulations (i) set forth additional authority and specific procedures for such input from
interested parties, see 15 C.F.R. §§ 705.7 and 705.8, and (ii) provide that the Secretary may vary or dispense with
those procedures “in emergency situations, or when in the judgment of the Department, national security interests
require it.” Id., § 705.9.

                                                     3
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         2.       Set forth, “based on these findings, the recommendations of the Secretary for
                  action or inaction under this Section;” and

         3.       “If the Secretary finds that such article is being imported into the United States in
                  such quantities or under such circumstances as to threaten to impair the national
                  security, . . . so advise the President.”

See 19 U.S.C. § 1862(b)(3)(A).3 All unclassified and non-proprietary portions of the report
submitted by the Secretary to the President must be published.

        Within 90 days after receiving a report in which the Secretary finds that an article is
being imported into the United States in such quantities or under such circumstances as to
threaten to impair the national security, the President shall:

         1.       “Determine whether the President concurs with the finding of the Secretary”; and

         2.       “If the President concurs, determine the nature and duration of the action that, in
                  the judgment of the President, must be taken to adjust imports of the article and its
                  derivatives so that such imports will not threaten to impair the national security.”

See 19 U.S.C. § 1862(c)(1)(A).


         B.       DISCUSSION

        As set forth above, Section 232 authorizes the Secretary to investigate the effects of
imports of an item or items on the national security of the United States and determine whether
those imports threaten to impair the national security. Implicit in this mandate is the need to
resolve three issues: (i) what constitutes “national security”?; (ii) what “effects of imports”
should be considered?; and (iii) when do those imports “threaten to impair” the national
security?4

         3
            The specific duty to “advise” arises only if the Secretary makes a “positive” finding (i.e., that imports of
the item threaten to impair national security). See 19 U.S.C. § 1862(b)(3)(A). If the Secretary does not or cannot
make that finding, the Secretary is not required by Section 232 to “so advise the President.”

         4
            An additional issue on which Section 232 provides no specific direction is the meaning of the phrase
“under such circumstances.” (As noted above, the statute requires the Secretary to present “the findings of the
investigation with respect to the effect of the importation of the article in such quantities or under such
circumstances upon the national security” and to advise the President “[i]f the Secretary finds that the article is being
imported into the United States in such quantities or under such circumstances as to threaten to impair the national
security.” (Emphases added.)) Some guidance on the issue exists in a statement in the House Report for the Trade
Agreements Extension Act (a predecessor statute to the Trade Expansion Act of 1962) in 1958:

         The Committee Amendment states that the circumstances under which imports are entering, which include
         their character and use, should be also studied.

Trade Agreements Extension Act of 1958, H.R. Rep. No. 85-1761 at 15 (1958) (emphasis added). Further, the U.S.
Supreme Court noted additional legislative history in its decision in Federal Energy Administration v. Algonquin,
and cited the following statement concerning the term “under such circumstances”:

                                                      4
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        1. What constitutes “national security”? Neither Section 232 nor the relevant
Department regulations (15 C.F.R. Pt. 705) contain a definition of the term “national security.”
In the absence of such a definition, it is incumbent upon the Secretary to employ a definition that
is consistent with the statute and the intent of the drafters, and reasonable under the
circumstances.

        It is clear that, at a minimum, an assessment of the United States’ “national security”
requirements must include a military or “national defense” component. This could range from
the military defense of the U.S. homeland to, more expansively, the ability to project U.S.
military capabilities globally. For the purpose of this study, we have adopted a broad definition
of national defense. As set forth in Section V below, we have included DOD’s total projected
needs for finished steel, as communicated to the Department by DOD (and, based thereon for,
iron ore and semi-finished steel as inputs).

        In addition to the satisfaction of national defense requirements, the term “national
security” can be interpreted more broadly to include the general security and welfare of certain
industries, beyond those necessary to satisfy national defense requirements, that are critical to the
minimum operations of the economy and government (“critical industries”). To be sure, a
definition of national security that includes critical industries is not dictated by statute. Previous
Section 232 investigations have adopted a more limited definition of national security. See, e.g.,
U.S. Department of Commerce, The Effects on the National Security of Imports of Crude Oil
and Refined Petroleum Products (1999) (looking only at DOD requirements when assessing
national security needs). Moreover, as the Supreme Court has made clear, there are limits to
how broadly the term “national security” can be defined. See Fed. Energy Admin. v. Algonquin,
426 U.S. 548, 569 (1976) (stating that “national security” must be interpreted more narrowly
than “the national interest”).

        However, a broader interpretation of “national security” – one that encompasses the
needs of critical industries – is not without support. For example, Section 232 directs the
Secretary to “recognize the close relation of the economic welfare of the Nation to our national
security.” See 19 U.S.C. § 1862(d). Moreover, the legislative history of Section 232, including
the legislative history of predecessor provisions, indicates that some members of Congress
intended that “national security” should encompass certain domestic economic concerns, in
addition to national defense concerns. See e.g. S. Rep. No. 85-1838, at 12 (1958).

        Accordingly, as described in greater detail in Section V, for purposes of this
investigation, we have included in “national security” the requirements of certain critical
industries for finished steel and based thereon, for iron ore and semi-finished steel as inputs.

         [“Under such circumstances”] reflects Congress’ judgment that “not only the quantity of imports . . . but
         also the circumstances under which they are coming in: their use, their availability, their character” could
         endanger the national security and hence should be a potential basis for Presidential action.

426 U.S. 548, 561 (1976), citing 104 Cong. Rec. 10,542-10,543 (1958). By including such language in the Trade
Expansion Act of 1962, Congress apparently intended to permit the Secretary to consider not only the quantity of
imports of an article, but also its character, use, and availability, along with other relevant factors and any potential
effects on the national security.




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         2. What “effects of imports” should be considered? Section 232 requires the Secretary
to assess the “effects of imports” and to determine whether imports “threaten to impair” the
national security. Section 232 does not articulate precisely what “effects” must be considered
nor does it articulate when or how imports may “threaten to impair” the national security.
Accordingly, as with “national security,” it is incumbent upon the Secretary to employ
definitions that are consistent with the statute and the legislative intent, and that are reasonable
under the circumstances.

        Although Section 232 does not define what “effects” are relevant, it does instruct the
Secretary, “in light of the requirements of national security and without excluding other relevant
factors,” to “give consideration” to:

       •   “domestic production needed for projected national defense requirements;”

       •   “the capacity of domestic industries to meet such requirements;”

       •   “existing and anticipated availabilities of the human resources, products, raw
           materials, and other supplies and services essential to the national defense;”

       •   “the requirements of growth of such industries and such supplies and services
           including the investment, exploration, and development necessary to assure such
           growth;” and

       •   “the importation of goods in terms of their quantities, availabilities, character, and use
           as those affect such industries and the capacity of the United States to meet national
           security requirements.”

See 19 U.S.C. § 1862(d). Section 232 also directs the Secretary to recognize the “close relation
of the economic welfare of the Nation to our national security” and directs the Secretary to “take
into consideration”:

       •   “the impact of foreign competition on the economic welfare of individual domestic
           industries;” and

       •   “any substantial unemployment, decrease in revenues of government, loss of skills or
           investment, or other serious effects resulting from the displacement of any domestic
           products.”

See 19 U.S.C. § 1862(d). In assessing the “effects of imports” of iron ore and semi-finished steel
on national security, this investigation has considered all of the factors listed above. Findings
with respect to the factors listed above can be found in Section V.

        3. When do imports “threaten to impair” the national security? Given this list of
statutorily mandated “considerations” and the statute’s broad intent, imports can reasonably be
found to “threaten to impair” the national security in either of two ways. First, imports can
threaten to impair U.S. national security if the United States is excessively dependent on imports
from unreliable or unsafe sources, and thereby is vulnerable to a supply disruption. This concept

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of “threaten to impair” has been adopted in previous Section 232 cases, and has figured
especially prominently in those cases assessing the effect of imports of crude oil and refined
petroleum products. See, e.g., U.S. Department of Commerce, The Effect on the National
Security of Imports of Crude Oil and Refined Petroleum Products (1999); U.S. Department of
Commerce, The Effect of Imports of Crude Oil and Refined Petroleum Products on the National
Security (1994); U.S. Department of Commerce, The Effect of Crude Oil and Refined Petroleum
Product Imports on the National Security (1988).

        Second, imports can threaten to impair U.S. national security if they fundamentally
threaten the viability of U.S. industries and resources needed to produce domestically goods and
services necessary to ensure U.S. national security. This interpretation also is consistent with
previous Section 232 reports. See, e.g., U.S. Department of Commerce, The Effect of Imports of
Gears and Gearing Products on the National Security (1992). Accordingly, for purposes of this
analysis, we have investigated whether imports of iron ore and semi-finished steel threaten to
impair U.S. national security either: (i) by fostering U.S. dependence on unreliable or unsafe
imports; or (ii) by fundamentally threatening the ability of U.S. domestic industries to satisfy
national security needs.

        It should be noted that, on each of a series of issues related to the scope of the required
analysis, 5 the Department has interpreted the requirements of Section 232 in the manner most
likely to result in a positive finding. For example, we have adopted a broader definition of
national security than is compelled by statute; we have based our assessment of U.S. iron ore and
semi-finished steel requirements on DOD’s and critical industries’ total requirements
(nothwithstanding the fact that a substantial portion of these needs are likely not integral to
national security); and we have considered how imports might “threaten to impair” national
security in a very broad sense.


III.     INVESTIGATION PROCESS


         A.       REQUEST FOR INVESTIGATION

        On January 16, 2001, Representative James Oberstar (Minnesota) and Representative
Bart Stupak (Michigan) requested that the Secretary initiate an investigation pursuant to Section
232 to determine the effects on the national security of imports of iron ore and semi-finished
steel. Representatives Oberstar and Stupak stated in their request that imports of iron ore and
semi-finished steel threaten the U.S. iron ore mines and the integrated U.S. steel sector,
industries they view as critical to national security. A copy of their request is reproduced at
Annex 1.

         In their request, Representatives Oberstar and Stupak stated that U.S. iron ore producers
have been forced to reduce production dramatically due to record levels of semi-finished steel
imports. Representatives Oberstar and Stupak estimated that each ton of imported semi-finished
steel utilized in domestic steel production displaces 1.3 tons of iron ore pellet consumption.
Representatives Oberstar and Stupak also noted that the January 2001 closure of the LTV Steel

         5
            Given the nature of the products at issue in this investigation and this report’s conclusion, these
interpretations are appropriate in this case. However, they may not be appropriate (and, therefore, will not
necessarily be adopted) in future Section 232 investigations.
                                                      7
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Mining Company in Hoyt Lakes, Minnesota had resulted in the elimination of 1,400 jobs and
eight million tons of annual iron ore production, and that other U.S. iron ore mines had reduced
production.


       B.      INITIATION OF INVESTIGATION

        In response to the request of Representatives Oberstar and Stupak, on February 1, 2001,
the Secretary initiated an investigation under Section 232 to determine the effects on the national
security of imports of iron ore and semi-finished steel. This investigation was undertaken in
accordance with Part 705 of the National Security Industrial Base Regulations (15 C.F.R.
§§ 700-709).


       C.      REQUEST FOR PUBLIC COMMENTS

        On February 6, 2001, the Department invited interested parties to submit written
comments, opinions, data, information, or advice relevant to the criteria listed in Section 705.4 of
the National Security Industrial Base Regulations (15 C.F.R. § 705.4) as they affect the
requirements of national security, including the following: (1) quantity of the articles subject to
the investigation and other circumstances related to the importation of such articles; (2) domestic
production needed for projected national defense requirements; (3) the capacity of domestic
industries to meet projected national defense requirements; (4) the existing and anticipated
availabilities of human resources, products, raw materials, production equipment and facilities,
and other supplies and services essential to the national defense; (5) the growth requirements of
domestic industries to meet national defense requirements and the supplies and services
including the investment, exploration, and development necessary to assure such growth; (6) the
impact of foreign competition on the economic welfare of any domestic industry essential to our
national security; (7) the displacement of any domestic products causing substantial
unemployment, decrease in the revenues of government, loss of investment or specializes skills
and productive capacity, or other serious effects; and (8) any other relevant factors that are
causing or will cause a weakening of our national economy. See 66 Fed. Reg. 9,067 (Feb. 6,
2001).

        The public comment period ended on May 2, 2001. The Department received
approximately 3,000 written submissions concerning this investigation. The overwhelming
majority of these submissions were letters from residents of northeastern Minnesota or the Upper
Peninsula of Michigan, which are the primary iron ore-producing regions within the United
States. A summary of all public comments received is set forth in Annex 2.


       D.      PUBLIC HEARINGS

        The Department held two public hearings to elicit further information concerning this
investigation – one in Virginia, Minnesota on July 5, 2001, and one in Marquette, Michigan on
July 15, 2001. The Department heard testimony from 63 witnesses at these hearings. The
Department also accepted written submissions through August 17, 2001 from any person,
whether or not testifying, as part of the public record of these proceedings. A summary of the
comments received at the public hearings is included in Annex 2.
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        E.       INDUSTRY SURVEYS AND SITE VISITS

       The Department sent surveys to approximately 175 U.S. iron ore and semi-finished steel
producers and potential consumers. It received 140 responses; these responses are treated
confidentially. Department staff also conducted visits to sites in California, Michigan,
Minnesota, and Wisconsin associated with the production, shipment, and consumption of iron
ore and semi-finished steel.


        F.       INTERAGENCY CONSULTATION

         As required by Section 232, the Department consulted with DOD regarding the
methodological and policy questions raised in this investigation. DOD provided an assessment
of its projected national defense requirements for the articles under investigation. The
Department also sought information from other agencies. The Department of Labor provided an
assessment of the labor trends in the U.S. iron ore and steel industries. The Department of
Interior’s U.S. Geological Survey (“USGS”) provided information on trends in the U.S. iron ore
industry.

       In addition, the Department consulted with other U.S. Government departments and
agencies, including the Departments of State, Treasury, and Transportation, the Office of the
United States Trade Representative, and the United States International Trade Commission.


IV.     PRODUCT SCOPE OF THE INVESTIGATION

         Consistent with the initiating request, this investigation was focused on imports of two
articles: (i) iron ore, and (ii) semi-finished steel. These are, respectively, raw and semi-finished
materials consumed by segments of the steel industry as inputs in the production of finished
steel. It is important to note that imports of finished steel mill products, pig iron, coke, direct
reduced iron, and steel scrap were not included in the scope of this investigation.


        A.       IRON ORE

        Iron ore is a mineral substance that, when heated in the presence of a reductant, yields
metallic iron (Fe). Iron ore almost always consists of iron oxides, the primary forms of which
are magnetite (Fe3 O4 ) and hematite (Fe2 O3 ). Iron ore is the primary source of iron for the
world's iron and steel industries. Iron ore is produced through mining; today it is mined in
approximately 50 countries.

        Almost all iron ore (98 percent) mined is used in steelmaking.6 Specifically, iron ore is
the primary source of iron units for the blast furnaces operated by integrated steel mills. Iron ore


        6
        According to the USGS, the remaining 2 percent of iron ore is used in the manufacture of cement, heavy-
medium materials, pigments, ballast, agricultural products, or specialty chemicals.

                                                  9
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is mixed with coke and limestone and fired in a blast furnace to make molten iron, the first step
in the integrated steelmaking process.7

        Integrated steel mills are one of two sectors in the U.S. steel industry that produce semi-
finished steel. Integrated steel mills are those steel producers that have ironmaking and
steelmaking capabilities, as well as the capability to process steel into finished products. For the
most part, integrated steel mills produce raw steel in basic oxygen furnaces (“BOFs”) from steel
scrap and larger quantities of molten iron, the latter produced as described above.8 An integrated
steel producer also operates casting, rolling, and other equipment to make semi-finished and,
ultimately, finished steel products.

        The second sector of the U.S. steel industry that produces semi-finished steel is referred
to as “mini-mills.” The key characteristic of mini-mills is their use of electric arc furnaces
(“EAFs”) to melt scrap steel and, more recently, scrap substitutes such as direct reduced iron, to
produce raw steel. Mini-mills also operate casting, rolling, and other equipment to make semi-
finished and, ultimately, finished steel products. Mini-mills do not utilize iron ore as their
primary source of iron in the steelmaking process.

        According to the Office of Management and Budget’s industrial classification system,9
the U.S. iron ore industry is comprised of establishments primarily engaged in (i) developing
mine sites, mining, and/or beneficiating (i.e., preparing) iron ores and manganiferous ores valued
chiefly for their iron content, and/or (ii) producing sinter iron ore (except iron ore produced in
iron and steel mills) and other iron ore agglomerates.10

        The USGS indicated that iron ore mining in the United States has changed significantly
since the Second World War. At that time, natural ores were the mainstay of the domestic
mining industry. The natural ores, which consisted primarily of hematite and goethite, were
extracted from near-surface “zones of enrichment” in iron ore formations in Minnesota,
Michigan, and Wisconsin. These ores averaged 50-60 percent iron and could be shipped directly
to the steelworks without prior beneficiation. Demand for steel during the Second World War
and the Korean War accelerated the depletion of these reserves, and U.S. mining companies
became increasingly reliant on magnetic taconite. Most natural ore reserves in the United States
have now been depleted.


         7
              Molten iron is also called “hot metal” and, when cooled into a solid form, “pig iron.”
         8
            The American Iron and Steel Institute defines “raw steel” as steel in the first solid state after melting,
suitable for further processing or sale, which includes ingots, steel for foundry castings and strand or pressure cast
blooms, billets, slabs, or other product forms. See American Iron and Steel Institute, Annual Statistical Report
2000. In this report, the Department uses the terms “raw steel” and “semi-finished steel” interchangeably.

         9
           The North American Industry Classification System (“NAICS”), established in 1997, is the uniform
system of North American industry classifications. It replaced the Standard Industrial Classification (“SIC”) system
that had been used by the United States since the 1930s to present industrial statistical information. Under these
systems, the iron ore industry is classified respectively as NAICS 212210 and SIC 1101.
         10
              “Sintering” is a process that combines iron-bearing particles, once recovered from environmental control
filters in blast furnaces, into small pellets. The production of iron sinter made in steel mills is classified in NAICS
331111 and SIC 3312, Iron and Steel Mills.

                                                        10
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         Taconite, the principal iron ore mined in the United States today, is a hard flinty rock that
is far poorer in iron; it contains between 20-30 percent iron. It is mined using the open-pit
method, then crushed into a fine powder. The iron particles are separated, rolled into a marble-
sized pellets containing about 65 percent iron, then heat-hardened for shipment to integrated steel
mills.11

       Iron ore is classified in the Harmonized Tariff Schedules of the United States (“HTS”)
under HTS 2601.11.00, HTS 2601.12.00, and HTS 2601.20.00.


B.       SEMI-FINISHED STEEL

          Semi-finished steel is an intermediate steel product formed from (i) the molten steel
produced by basic oxygen furnaces operated by integrated steel mills, or (ii) the molten steel
produced by electric arc furnaces operated by mini-mills. Semi-finished steel products are then
rolled or shaped into finished steel mill products. Over 60 countries produce semi-finished
steel. 12

       Steel mills worldwide convert semi-finished steel into finished steel products. Of the
semi-finished steel that is produced in the United States, most is consumed within the integrated
or mini-mill producer’s facility for processing into finished steel products. As a result, very little
semi-finished steel is available on the U.S. merchant market.

        Under the NAICS system, the steel industry (NAICS 331111 (Iron and Steel Mills),
formerly SIC 3312, and SIC 3399) comprises establishments primarily engaged in one or more
of the following: (1) direct reduction of iron ore; (2) manufacturing pig iron in molten or solid
form; (3) converting pig iron into steel; (4) making steel; (5) making steel and manufacturing
shapes (e.g., bar, plate, rod, sheet, strip, wire); and (6) making steel and forming tube and pipe.

        The semi- finished steel products included in this investigation are ingots, slabs, blooms,
and billets of all grades (carbon, stainless, and alloy). The table below provides American Iron
and Steel Institute (“AISI”) and HTS codes for these products.




         11
            Most foreign iron ore deposits remain far richer than those in the United States. While most U.S.
(beneficiated) and imported (unbeneficated) iron ores are fungible, certain U.S. steel mills have stated that they rely
on imports of iron ore with certain chemical properties that is not available from U.S. iron ore mines to support their
production of certain types of semi-finished steel. For example, [Confidential business information - redacted]
indicated that certain of their sintering operations require iron ore with chemical properties not available in the
United States. [Confidential business information - redacted] also noted that certain of its blast furnaces require
that portions of their feedstock be a relatively high-titanium-bearing iron ore not found in the United States. Certain
U.S. steel mills have, accordingly, indicated to the Department that restricting iron ore imports could adversely
impact the ability of U.S. integrated steel mills to produce semi-finished steel.
         12
            The semi-finished steel produced by the BOF and EAF processes is largely, although not entirely,
interchangeable. For metallurgical and technical reasons, at this time, only steel produced by integrated steel mills
using iron ore is suitable for a few end-use applications (including certain applications in the automotive, food can,
and container fabrication sectors).
                                                     11
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                                        TABLE 1 –
                        SEMI-FINISHED STEEL PRODUCTS BY
                                  AISI AND HTS CODES
                                             AISI             HTS
                                                   7206.10.00   7218.10.00
       Ingots                                 1A
                                                   7224.10.00
                                                   7207.11.00   7207.12.00
                                                   7207.19.00   7207.20.00
       Slabs, Blooms, and Billets             1B
                                                   7218.91.00   7218.99.00
                                                   7224.90.00


       •    Ingot. An ingot is metal that is cast into a mold. Molten steel is poured from a ladle
            into an ingot mold. Once the steel is solid, the mold is stripped and the 25- to 30-ton
            ingot is then ready for subsequent rolling or forging into a slab, bloom, or billet.
            Only 3.6 percent of U.S. raw steel produced in 2000 was cast in ingot form, compared
            with 24.1 percent in 1991. Most semi-finished steel produced in the United States is
            continuously cast into a slab, bloom, or billet directly from its molten form.

       •    Slab. A slab is the most common type of semi-finished steel. Traditional slabs
            measure 10 inches thick, 30 to 85 inches wide, and average about 20 feet long. (The
            output of the recently developed “thin slab” casters is approximately two inches
            thick.) A slab is hot-rolled down from an ingot or strand cast. Slabs are used in the
            manufacture of sheet, strip, plate, and other flat-rolled steel products.

       •    Bloom. A bloom is a semi-finished steel product that has been rolled or forged from
            an ingot or strand cast. A bloom usually has a square cross-section exceeding 36
            inches. Blooms are further processed into “long products,” such as structural shapes.

       •    Billet. A billet is a semi-finished steel product that has been rolled or forged from an
            ingot or strand cast. Billets are smaller and longer than blooms. Billets usually have
            a square cross section less than 36 square inches. Billets are further processed into
            “long products,” including wire rod, bar, pipes, and wire products.

       As noted, the above articles are inputs into the steelmaking process that are used to
produce finished steel products. On average, iron and steel are by far the least expensive of the
world’s metals. Thousands of products having various chemical compositions, forms, and sizes
are made from iron and steel by casting, forging, and rolling processes.


V.     FINDINGS OF THE INVESTIGATION

       A.      IRON ORE AND SEMI-FINISHED STEEL ARE IMPORTANT TO U.S.
               NATIONAL SECURITY

         Iron ore and semi-finished steel are important to the national security as inputs used in
the production of finished steel products needed by (i) the Department of Defense, and (ii)
critical industries.

                                             12
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        1. National Defense Requirements. As provided in Section 232, the Department
requested that DOD provide an assessment of its requirements for the articles under
investigation. DOD does not purchase iron ore or semi-finished steel directly; rather, it procures
weapon systems, equipment, and material that contain finished steel components. DOD’s
primary use of steel in weapons systems is for shipbuilding, followed by ammunition, aircraft
parts, and aircraft engines.

        DOD’s need for finished steel items is based upon its national defense strategy. DOD’s
current national defense strategy is described in the Quadrennial Defense Review Report
(“QDR”) recently completed on September 30, 2001. The QDR identified necessary
adjustments for organizations and doctrines to ensure a U.S. advantage in such areas as space,
information systems, and power projection, and includes an emphasis on intelligence and
homeland defense, as well as defense against weapons of mass destruction. DOD indicated that
the QDR adopts a new force-sizing construct, moving away from the two major theater war (“2-
MTW”) scenario that previously had served as the basis for defense planning.13 DOD indicated
that the evolved strategy contained in the new QDR will not increase its requirement for steel.

         DOD reported:

    •    Continued access to steel is critical to sustaining the manufacture of weapons systems.
         Steel of all types is purchased for DOD by prime contractors to produce weapons
         systems. DOD also has miscellaneous needs for finished steel products similar to those
         used for civil applications (e.g., filing cabinets, automobiles, etc.).

    •    DOD’s steel requirements are satisfied by both integrated steel mills (consumers of iron
         ore) and mini-mills (consumers of scrap).

    •    DOD’s demands for iron ore and steel for weapons systems are a small portion of the
         domestic industries’ annual output. DOD’s annual steel requirements comprise less than
         0.3 percent of the industry’s output by weight (i.e., 325,000 net tons of finished steel per
         year).14

    •    DOD’s requirement for steel for weapons systems is projected to be flat over the next
         five years, after declining in recent years. DOD projected a slight increase in its need for
         steel associated with shipbuilding and aircraft parts over the next five years,
         counterbalanced by a slight decrease in the need for steel for ammunition and aircraft
         engines.

    •    Even after a 2-MTW conflict, the need to replenish the force would create a DOD
         demand for steel that would remain small relative to domestic output. DOD estimated

         13
            DOD reported that this approach has been used to determine requirements for the National Defense
Stockpile, as required by the Strategic and Critical Materials Stock Piling Act, as amended (50 U.S.C. § 98h-5).
DOD does not maintain stockpiles of iron ore or semi-finished steel.
         14
            In 2000, U.S. steel industry shipments of steel mill products totaled 109 million net tons according to
AISI data. For purposes of this investigation, we have estimated DOD annual peacetime requirements for steel as
0.3 percent of the industry’s 2000 shipments, i.e., 325,000 net tons of finished steel.

                                                     13
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        that the combination of peacetime and additional replenishment demand would be no
        more than twice its total peacetime demand (i.e., no more than 650,000 net tons of
        finished steel annually).

    •   DOD’s demands for steel for military uses are met by domestic industries already subject
        to procurement policies establishing preferences for domestic suppliers. DOD stated that
        these domestic preferences apply to essentially all of the steel used in weapons systems.
        DOD also indicated that the preference defines domestic steel by where it is melted, and
        as a result, imports of semi-finished steel are not used for DOD weapons systems.15

    •   Imports of iron ore and semi-finished steel do not currently affect the national security
        when assessed in terms of the ability to meet defense demands.

         2. Iron Ore and Semi-Finished Steel Requirements of Critical Industries. Historically, in
conducting Section 232 studies, the Department has focused principally on DOD needs for the
item at issue. Although this “narrow” definition of national security is defensible under the
statute, in this case, as explained in Section II above, the Department has adopted a broader
concept of national security, one that also embraces the needs of those industries that the U.S.
Government has determined are critical to minimum operations of the economy and government.

        For purposes of this investigation, we have consulted with the Department’s Critical
Infrastructure Assurance Office to identify those critical industries and have attempted to assess
their need for finished steel. Critical industries include, but are not limited to,
telecommunications, energy, banking and finance, transportation, water systems, and emergency
services – both government and private.

         The finished steel requirements of these industries was assessed on the basis of the 1997
annual input-output (“I-O”) accounts for the U.S. economy data published by the Department’s
Bureau of Economic Analysis (“BEA”) in December 2000, and statistical data published by
AISI.16 These data furnished estimates of consumption of iron and steel commodities by U.S.
industry. We identified the 28 industries related to supporting the U.S. national defense and
critical industry requirements. As noted in Table 2 below, these 28 industries accounted for 30.9
percent of the output of the primary iron and steel manufacturing sector.

        Applying this percentage to total U.S. output, we have estimated that these 28 industries
would require no more than 33.68 million tons of finished steel per year. For purposes of this
investigation, we have assumed that the entire consumption by these 28 industries of primary
iron and steel manufacturing output is related to supporting U.S. national defense and critical
industry requirements. Given that, as explained below, even this over-estimate of total
consumption can easily be satisfied by domestic production, we have not attempted to discount
consumption for non-national security purposes. In reality, however, a substantial portion of
consumption by these industries is likely not related to national security requirements.


        15
            An overview of the applicable DOD Defense Federal Acquisition Regulation Supplement (“DFARS”) is
attached as Annex 3.
        16
             Bureau of Economic Analysis, Annual Input-Output Accounts of the U.S. Economy ; American Iron and
Steel Institute, 2000 Annual Statistical Report.

                                                 14
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         For purposes of this investigation, we have converted the requirements for finished steel
of these 28 industries into requirements for semi-finished steel and iron ore. We have estimated
that the production of 36.04 million net tons of semi-finished steel is necessary to satisfy the
finished steel requirement described above.17 Assuming that this requirement for semi-finished
steel was supplied by mini-mills and integrated steel producers in proportion with current
ratios,18 U.S. integrated steel producers would require approximately 22.5 million metric tons of
iron ore to satisfy this requirement.19




         17
             For purposes of this investigation, the Department has assumed that the production of each net ton of
finished steel requires the production of 1.07 net tons of raw “semi-finished” steel. According to AISI, the yield
factor (ratio of shipments to production) is approximately 93 percent, and higher for some mini-mills.
         18
            As set forth in Section V(B)1(b) below, in 2000 approximately 53 percent of raw steel was produced by
integrated producers, with the remaining 47 percent produced by mini-mills.
         19
            Based on information obtained during the course of this investigation, the Department has calculated
that the production of 1.0 net ton of semi-finished steel by an integrated steel mill requires 1.3 net tons of iron ore.

                                                       15
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                                           TABLE 2 -
           THE USE OF PRIMARY IRON AND STEEL MANUFACTURING COMMODITIES
                   (INDUSTRY NUMBER 37) BY CRITICAL INDUSTRIES, 1997
                            [Million of Dollars at Producers’ Prices]

                    INDUSTRY                           MILLIONS         PERCENT OF PRIMARY
                                                          OF              IRON AND STEEL
                                                       DOLLARS         MANUFACTURING OUTPUT
Crude petroleum and natural gas (industry number 8)          1,956                   1.91 percent
New construction, including own-account                      5,046                   4.93 percent
construction (industry number 11)
Maintenance and repair construction, including own-            2,246                       2.19 percent
account construction (industry number 12)
Ordnance and accessories (industry number 13)                    193                       0.19 percent
Petroleum refining and related products                           13                       0.01 percent
(industry number 31)
Metal containers (industry number 39)                          2,419                       2.36 percent
Engines and turbines (industry number 43)                      3,600                       3.52 percent
Computer and office equipment (industry number 51)               142                       0.14 percent
Audio, video, and communication equipment                        419                       0.41 percent
(industry number 56)
Motor vehicles (passenger cars and trucks)                       393                       0.38 percent
(industry number 59A)
Truck and bus bodies, trailers, and motor vehicle parts       11,417                      11.15 percent
(industry number 59B)
Aircraft and parts (industry number 60)                          829                       0.81 percent
Other transportation equipment (industry number 61)            2,249                       2.20 percent
Railroads and related services, passenger ground                 441                       0.43 percent
transportation (industry number 65A)
Motor freight transportation and warehousing                       0                       0.00 percent
(industry number 65B)
Water transportation (industry number 65C)                         0                       0.00 percent
Air transportation (industry number 65D)                           3                       0.00 percent
Pipelines, freight forwarders, and related services                0                       0.00 percent
(industry number 65E)
Communications, except radio and TV                                0                       0.00 percent
(industry number 66)
Radio and TV broadcasting (industry number 67)                     0                       0.00 percent
Electric services (utilities) (industry number 68A)                0                       0.00 percent
Gas production and distribution (utilities)                        2                       0.00 percent
(industry number 68B)
Water and sanitary services (industry number 68C)                  0                       0.00 percent
Finance (industry number 70A)                                      3                       0.00 percent
Insurance (industry number 70B)                                    2                       0.00 percent
Computer and data processing services                              0                       0.00 percent
(industry number 73A)
Health services (industry number 77A)                              3                       0.00 percent
National defense: consumption expenditures                       259                       0.25 percent
(industry number 96C)
SUBTOTAL                                                      31,635                      30.88 percent
TOTAL PRIMARY IRON AND STEEL                                 102,368                     100.00 percent
MANUFACTURING OUTPUT
Source: Bureau of Export Administration analysis of Bureau of Economic Analysis, Annual Input-Output
Accounts of the U.S. Economy , 1997 data.


                                                 16
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        3. Effect of the Events of September 11, 2001. This investigation was, of course, well
underway prior to the campaign against terrorism resulting from the events of September 11,
2001, and the related military operations. Accordingly, we have reassessed our analysis in light
of those developments. We have affirmed that the events do not cause any material change in
the foregoing estimates.

         DOD indicated to the Department that it “does not anticipate any change in the DOD
assessment as a result of the September 11, 2001, events and the subsequent military efforts.”20
The Department has also found no evidence that there will be a spike in demand for steel by
critical industries resulting from the events of September 11, 2001. AISI reports that the
capacity utilization rate for the U.S. steel industry has remained relatively steady since
September 11, 2001, ranging from 72.2 percent to 73.8 percent during the weeks ending between
September 15 – October 13, 2001. As set forth in detail in Section V(B) below, the U.S. steel
industry has been experiencing a significant market downturn since the second half of 2000, and
it is apparent that both the U.S. iron ore and steel industries are operating at far less than normal
business capacity.

        4. Summary. Having reviewed the needs for finished steel by (i) the U.S. Department of
Defense, and (ii) critical industries that are essential to minimum operations of the economy and
government, we have determined that the national security requirement s for finished steel would
require the production of no more than 36.04 million net tons of semi-finished steel.
Assuming that this quantity of semi-finished steel were to be supplied by the integrated sector of
the U.S. steel industry in accordance with current production ratios, approximately 22.5 million
metric tons of iron ore would be required. Again, however, it is important to note that these
estimates are upper limits and include consumption not directly related to national security
requirements.




         20
             Even if entirely unforeseen events were to generate national defense-related demands for steel that were
greater than DOD forecasts, such demands would still consume only a very small percentage of total U.S. steel
output. To take just one example: DOD indicated that 60,000 net tons of finished steel was used in the multi-year
construction of the U.S. Navy’s newest aircraft carrier, the USS Ronald Reagan (CVN 76). Sixty thousand net tons
constitutes less than one-tenth of 1 percent of total U.S. annual steel output. Accordingly, DOD could double the
U.S. Navy’s entire fleet of aircraft carriers, and still not substantially vary the total percentage of U.S. domestic
output attributed to national security uses.
                                                     17
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         B.        U.S. NATIONAL SECURITY IS NOT DEPENDENT ON IMPORTS OF
                   IRON ORE OR SEMI-FINISHED STEEL

         1. U.S. Industry Produces Sufficient Iron Ore and Semi-Finished Steel to Satisfy
National Security Requirements. Based on the information and data obtained during the course
of this investigation, the Department has found that domestic production of iron ore and semi-
finished steel far exceeds the amounts necessary to satisfy U.S. national security requirements.

        As set forth above, satisfaction of U.S. national security requirements would require at
most 36.04 million net tons per year of semi-finished steel and 22.5 million metric tons per year
of iron ore. In each of the past ten years, as demonstrated below, the United States has produced
far in excess of these amounts. Further, U.S. production capacity also far exceeds these
amounts.21

        a. Production of Iron Ore. In 2000, the United States produced 63.1 million metric tons
of iron ore, far more than the maximum amount needed for national security requirements. The
63.1 million metric tons produced in 2000 constituted a 9.2 percent increase over 1999 levels.22
Altogether, iron ore production increased 11.4 percent (6.4 million metric tons) during the ten-
year period between 1991 and 2000, ranging from a high of 63.1 million metric tons in 2000, to a
low of 55.6 million metric tons in 1992.

         Moreover, information provided in response to the Department’s surveys indicated that
iron ore production could be increased further if needed. The eight operating mines indicated
that, in the event of a mobilization, maximum production could be increased 10 percent within
36 months.

       U.S. integrated steel producers are assured access to most of this domestic iron ore
production. In 2000, captive mines (i.e., mines producing for company-owned blast furnaces)
accounted for 79 percent of the iron ore produced in the United States. Moreover, U.S.
production is not fragmented. The USGS reported that in 2000, nine mines accounted for 99
percent of U.S. iron ore production. 23 Seven mines in Minnesota produced 76.1 percent of the
national output of usable iron ore in 2000, with two mines in Michigan accounting for 23.8
percent of the output of usable iron ore. In 2000, the United States produced 6 percent of the
world’s iron ore and consumed approximately 8 percent.

      To be sure, the U.S. iron ore industry is undergoing restructuring. On January 3, 2001,
LTV Steel Corporation ceased production at the LTV Steel Mining Company in Hoyt Lakes,
Minnesota, which represented approximately 15 percent of U.S. iron ore production capacity,


         21
           Indeed, the production capacity of the integrated sector of the U.S. steel industry alone could satisfy this
requirement if the necessity were to arise. Between 1991-2000, raw steel production by U.S. integrated producers
ranged from a low of 52.7 million net tons in 1991 to a high of 62.5 million net tons in 1995.
         22
              All iron ore statistics are published USGS data unless otherwise noted.
         23
            One mine closed in January 2001 (see discussion below), leaving eight operating mines. Most U.S. iron
ore mines are owned by U.S. integrated steel mills. Canadian steel mills have partial ownership in three U.S. mines.
One U.S. merchant iron ore company manages and holds interest in two mines in Minnesota, two mines in
Michigan, and one in Canada.
                                                      18
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stating that the quality of LTV Mining’s operations and ore reserves had deteriorated to
noncompetitive levels.24

       There is no evidence, however, that additional closures are expected, let alone sufficient
numbers of closures to preclude satisfaction of U.S. national security requirements. The
Department surveyed the U.S. iron ore industry as part of this investigation, and received
responses from the nine mines operating in 2000. [Confidential business information –
redacted

                                                                                                       ]. 25

         b. Production of Semi-Finished Steel. As discussed in Section IV above, semi-finished
steel is consumed by U.S. steel mills in the production of finished steel. In 2000, the United
States produced domestically 112.2 million net tons of semi-finished steel – far in excess of
36.04 million net tons, the maximum required for U.S. national security.

         Like iron ore, domestic production of semi-finished steel has increased over the past
decade. Between 1991 and 2000, total U.S. semi-finished steel production increased 27.7
percent.26 Since 1991, U.S. raw steel production ranged from a high of 112.2 million net tons in
2000, to a low of 87.9 million net tons in 1991. (See Chart 1). U.S. production of raw steel even
increased 4.5 percent in 2000 compared with 1999 levels, despite a significant market downturn
during the second half of 2000 when capacity utilization rates fell from 91.6 percent during the
first half of the year, to 79.9 percent during the second half of the year.27 This data clearly
demonstrates that total domestic semi-finished steel production far exceeds national security
requirements.




         24
             On October 10, 2001, LTV Corporation announced that it had entered into an agreement to sell its LTV
mine assets to subsidiaries of Cleveland-Cliffs, Inc., the largest iron ore supplier in North America, and Minnesota
Power, subject to regulatory and bankruptcy court approvals. Cleveland-Cliffs indicates that the mine assets will not
be operated to produce iron ore pellets, but may be used to provide transportation support services to other
Minnesota mining operations, or for non-ferrous metals development. In November 2000, Wheeling-Pittsburgh
Steel Corp., an integrated mill, sold its interest in a Michigan mine. Bethlehem Steel Corp. and National Steel
Corp., both integrated producers, are marketing their interests in Minnesota iron ore mines.
         25
             The Department has found that, once closed, an iron ore mine cannot be reconstituted quickly due to the
significant challenges associated with resuming the iron ore mining and processing operations, rebuilding the
infrastructure to support the mine, and acquiring workers with the required skills. Although relevant, the difficulties
of reconstitution only pose a threat to national security to the extent that mines are expected to close. Steel mills that
have closed have been reopened on occasion. California Steel Industries, Inc. and Duferco Farrell each produce
finished steel products on the sites of former integrated steel mills.
         26
              All steel statistics are published AISI data unless otherwise noted.
         27
            AISI defines raw steel capability as the tonnage capability to produce raw steel for a sustained full order
book. For the purpose of this investigation, the Department has used AISI’s capability utilization rate as the
industry’s capacity utilization rate.


                                                       19
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                              CHART 1 –
    U.S. RAW STEEL PRODUCTION AND IRON ORE CONSUMPTION - 1991-2000


                                               120,000                                                                           120,000




                                                                                                                                           Iron Ore Consumption Metric Tons (000s)
        Raw Steel Production Net Tons (000s)




                                               100,000                                                                           100,000


                                                80,000                                                                           80,000

                                                                                                                                                                                     Raw Steel Production
                                                60,000                                                                           60,000
                                                                                                                                                                                     Iron Ore Consumption


                                                40,000                                                                           40,000


                                                20,000                                                                           20,000


                                                    0                                                                            0
                                                         1991
                                                                1992
                                                                       1993
                                                                              1994
                                                                                      1995
                                                                                             1996
                                                                                                    1997
                                                                                                            1998
                                                                                                                   1999
                                                                                                                          2000




                                                                                     Sources: AISI and USGS data

        Significantly, the greatest growth in the production of raw steel has occurred in the mini-
mill sector – i.e., the sector that does not utilize iron ore. From 1991-2000, the amount of U.S.
raw steel produced by integrated producers utilizing basic oxygen furnaces ranged from a low of
52.7 million net tons in 1991, to a high of 62.5 million net tons in 1995. During the same period,
the amount of U.S. raw steel produced by mini-mills operating electric arc furnaces (for which
steel scrap, not iron ore, is the primary feedstock) steadily increased from a low of 33.8 million
net tons in 1991, to 52.8 million net tons in 2000. (See Chart 2). In short, over the past decade,
raw steel production by integrated producers increased 12.8 percent, while raw steel production
by mini-mills increased 56.2 percent. Altogether, approximately 53 percent of the raw steel
produced in the United States in 2000 was produced by U.S. integrated mills operating blast
furnaces and basic oxygen furnaces, down from sixty percent in 1991.28




               28
            In 2000, the remaining 47 percent of the raw steel produced in the United States came from mini-mills
operating electric arc furnaces.
                                                                                                           20
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                               CHART 2 –
         U.S. RAW STEEL PRODUCTION BY TYPE OF FURNACE - 1991-2000


                               120,000

                               100,000
             Net Tons (000s)



                                80,000
                                                                                                                  EAF
                                60,000
                                                                                                                  BOF
                                40,000

                                20,000

                                    0
                                         1991
                                                1992
                                                       1993
                                                              1994
                                                                     1995
                                                                            1996
                                                                                   1997
                                                                                            1998
                                                                                                   1999
                                                                                                          2000
                                                        Source: AISI data

        Domestic semi-finished steel production is not dependent on any one producer or small
group of producers. In 2000, the USGS reported that the U.S. steel industry consisted of about
105 companies that produced raw steel at approximately 144 locations, with a raw steel capacity
of 130 million net tons. Indiana accounted for 23 percent of total raw steel production, followed
by Ohio (16 percent), and Pennsylvania (7 percent). In 2000, 13 companies operated integrated
steel mills, with an average of 35 blast furnaces in continuous operation during the year.




                                                              21
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                                                     CHART 3 –
                                         U.S. RAW STEEL PRODUCTION AND
                                       CAPABILITY UTILIZATON RATE - 1991-2000


                           140,000                                                                          100


                           130,000
                                                                                                            90
         Net Tons (000s)




                           120,000




                                                                                                                  Percentage
                                                                                                            80                 Raw Steel Capability
                           110,000                                                                                             Raw Steel Production
                                                                                                            70                 % of Capability
                           100,000

                                                                                                            60
                            90,000


                            80,000                                                                          50
                                     1991
                                            1992
                                                   1993
                                                          1994
                                                                 1995
                                                                        1996
                                                                               1997
                                                                                       1998
                                                                                              1999
                                                                                                     2000




                                                                          Source: AISI data

        Not only has total U.S. semi-finished steel production – production far in excess of that
needed to ensure U.S. national security – increased over the past decade, but production capacity
also has increased. U.S. semi-finished steel production capacity has increased over 10 percent
during the past decade from 117.6 million net tons in 1991 to 130.3 million net tons in 2000.
(See Chart 3).

        Moreover, data reported in the Census Bureau’s Survey of Plant Capacity illustrate that,
during a national emergency, additional steel production capacity beyond that reported as full
production capacity under normal business operations could be made available to meet national
security requirements. The Census data demonstrate that the companies classified under SIC
3312 (Blast Furnaces and Steel Mills) were operating at 78 percent capacity in 1999, but were
operating at only 71 percent of the capacity that could be reached in a national emergency, based
on the Census Bureau’s criteria.29




        29
            See Census Bureau, Survey of Plant Capacity data. The Survey of Plant Capacity does not cover the
U.S. iron ore industry.
                                                                                      22
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         c. Prior Government Findings. The finding that U.S. domestic industry produces
sufficient iron ore and semi-finished steel to satisfy national security requirements is consistent
with earlier findings by the U.S. Government, specifically the decision to deactivate the
“Controlled Materials Program.”

        During the Second World War and the Korean War, the production and distribution of
certain critical metals – steel, copper, and aluminum – were managed under “Controlled
Materials Plans.” From 1953 to 1988, these materials (with nickel alloys added in 1958) were
subject to government allocations regulations under the Controlled Materials Program rules
promulgated by the Department.30

        By the 1980s, the importance of the controlled materials to defense production was
declining as the use of more exotic specialty materials increased.31 In addition, improved
technologies and production techniques meant that an increasingly smaller percentage of overall
production capacity was needed to meet defense requirements. A 1987 Department study of the
Controlled Materials Program found that the program had little relevance to defense
requirements for the controlled materials or to the ability of industry to supply the controlled
materials to meet these requirements. The 1987 study recommended that the controlled materials
procedures be deactivated.32

        An interagency committee comprised of the Department and three of the Delegate
Agencies under the Defense Priorities and Allocations System (“DPAS”) – the Federal
Emergency Management Agency, and the Departments of Defense and Energy – concurred with
this recommendation. Action was subsequently taken by these agencies to deactivate the
program, including action by the Department to discontinue the information collection burden
imposed upon controlled materials producers, distributors, and users. Subsequently, in 1998, the
Department officially revised its DPAS regulations, deleting all of the “Controlled Materials
Program” provisions.33

         Although the Controlled Materials Program provisions have been deleted from the
DPAS, in times of national crisis, the U.S. iron ore and steel industries could receive priority
“rated orders” to meet defense and other national security customer requirements. Upon receipt
of a rated order from a customer for a specified quantity of iron ore or steel product, the iron ore
or steel producer must (i) accept that order (except as otherwise provided in the DPAS rules),


         30
            Within several years of enactment of the Defense Production Act of 1950 (50 U.S.C. app. § 2061 et
seq.), the Department promulgated regulations to implement priorities and allocations. The purpose of these
regulations was to ensure the timely availability of industrial products and materials for the national defense. See
generally 15 C.F.R. § 700 et seq.

         31
            The program functioned on the basis of requirements information supplied by DOD and production and
plant capacity information collected by the Department from the major controlled materials producers. Under the
Controlled Materials Program, controlled material producers were required to reserve order book space for the
production and timely delivery of material against defense orders.

         32
              Department of Commerce, Evaluation of the Controlled Materials Program – Final Report (1987).
         33
              See 62 Fed. Reg. 51,389 (Oct. 1, 1997) and 63 Fed. Reg. 31,918 (Jun. 11, 1998).
                                                     23
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and (ii) ship the iron ore or steel product as necessary to meet the delivery requirement stated in
the order. If necessary, production and delivery preference must be given to the rated order over
any commercial (non-rated) orders that have been placed with the producer to ensure timely
delivery of items needed to meet approved national defense and civil emergency program
requirements.

        d. Summary. The U.S. iron ore and steel industries’ production levels and production
capacity far exceed the amounts needed to satisfy U.S. national security requirements. In
addition, the Department found that current capacity could be increased in the event of a national
emergency, and in times of a national crisis, national security-related needs could receive
preferential treatment through the Department’s DPAS program.

        2. There are Sufficient “Human Resources, Products, Raw Materials and Other Supplies
and Services” Necessary to the Domestic Production of Iron Ore and Semi-Finished Steel. As
set forth in Section II above, Section 232 requires the Department to consider – in addition to
national defense requirements, domestic production, and domestic capacity – “existing and
anticipated availabilities of the human resources, products, raw materials, and other supplies and
services essential to the national defense.” Based on the data and relevant information obtained
during the course of this investigation, the Department has found that, although the U.S. iron ore
and steel industries are undergoing restructuring, there are and will continue to be ample human
resources, products, raw materials, and other supplies and services essential for the domestic
production of iron ore and semi-finished steel in sufficient quantities to meet U.S. national
security requirements.

        a. Human resources. Although the number of people employed in the U.S. iron ore and
steel industries has declined over the past ten years, this development has not substantially
affected these industries’ production capacities, and does not threaten their ability to satisfy
national security requirements. In fact, production of iron ore and semi-finished steel has
increased over the same period.

                • Iron ore. Employment in the U.S. iron ore industry (SIC 1011) has declined as
the industry undergoes restructuring. The Department of Labor reported that employment in the
U.S. iron ore industry was 7,700 in 2000, a decrease of 13.5 percent in employment compared
with 1991 levels (8,900 employees). During the same period, U.S. iron ore production increased
11.4 percent. The Department of Labor estimates current employment in the industry at
approximately 6,000 employees after the closure of the LTV mine.

        Capital investment in the iron ore industry over the past decade has enabled production to
remain steady or to increase, perhaps contributing to the diminution in employment. For
example, iron ore mines have made investments to improve and modernize their operations,
including facilitating the labor intensive process of the movement of the crude iron ore to
grinding and processing facilities. Thus, the iron ore mines generally believe they will have
sufficient human resources to meet their needs.

        The Department’s survey of iron ore producers asked the nine U.S. iron ore mines
operating in 2000 to “assess the likelihood that a ready and qualified work force will remain
available … for the next five years.” Five mines responded “likely,” two mines [Confidential
business information - redacted] responded “unlikely,” and two mines responded “uncertain.”

                                            24
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                • Semi-Finished Steel. The Department of Labor reported that employment in
the U.S. steel industry (SIC 3312, Blast Furnaces and Steel Mills) was 151,200 in 2000, a
decrease of 24 percent compared with 1991 levels (198,800). During the same period, U.S. raw
steel production increased 27.7 percent.

       As the Department noted in its July 2000 report, Global Steel Trade: Structural Problems
and Future Solutions, two technology trends contributed to the increase in productivity
nothwithstanding the decline in employment in the U.S. steel industry. First, raw steel
production shifted away from relatively labor intensive and less efficient open-hearth furnaces.34
Second, the percentage of total U.S. raw steel production that was continuously cast increased
from 75.8 percent in 1991 to 96.4 percent in 2000.35 Recent developments in thin slab casting by
U.S. mini-mills have increased productivity even further.

        The Department’s Steel Mill Survey asked U.S. steel mills that consume iron ore or
consume, produce, or ship semi-finished steel to “assess the likelihood that a ready and qualified
work force will remain available … for the next five years.” Fifty- three respondents answered
this question. Sixty-two percent responded “likely,” 25 percent responded “possible,” 2 percent
responded “unlikely,” and 11 percent responded “uncertain.”

        We note that only a minority of the workers in the iron ore and semi-finished steel
industries that have petitioned for Trade Adjustment Assistance (“TAA”) have been certified as
eligible.36 The Department of Labor indicated that certification of a TAA petition is dependent
upon a determination that there are increased imports of products like or directly competitive
with those produced by the petitioning workers or, in the case of North American Free Trade
Agreement (“NAFTA”)-TAA only, a shift of production to Canada or Mexico.




         34
            Department of Commerce, Global Steel Trade: Structural Problems and Future Solutions, July 2000,
p. 12. At one time, open-hearths were the most abundant steelmaking furnaces operated by integrated steel mills.
These furnaces were characterized by a broad, shallow hearth to refine pig iron and scrap into steel. The last open-
hearth furnace operated in the United States was closed in 1991. Integrated steel mills now rely on basic oxygen
furnaces.
         35
             Continuous casting is a method of pouring steel from the basic oxygen or electric arc furnace into a
billet, bloom, or slab directly from its molten form. Continuous casting avoids the need to roll ingots into slabs, thus
increasing production efficiency.

         36
             The Department of Labor reported that workers in the iron ore industry (SIC 1011) have filed eight TAA
petitions since the beginning of fiscal year 1991. Three of these petitions, covering 1,456 workers, resulted in
certifications of eligibility to apply for adjustment assistance, and the other five, covering an estimated 1,533
workers, resulted in denials . Workers in SIC 1011 have filed two petitions for NAFTA-TAA since the program
began in January 1994. One of these petitions, covering 29 workers, resulted in a certification for eligibility to apply
for adjustment assistance, and the other, covering an estimated 676 workers, resulted in a denial.

          Similarly, U.S. steelworkers (SIC 3312) have filed 210 TAA petitions since the beginning of fiscal year
1991. Of these, 98 petitions, covering an estimated 17,354 workers, resulted in certifications of eligibility to apply
for adjustment assistance; 99 petitions, covering an estimated 11,611 workers, resulted in denials ; and 13 eligibility
investigations were terminated before completion. Workers in SIC 3312 have filed 41 petitions for NAFTA-TAA.
Of these, 13 petitions, covering an estimated 3,427 workers, resulted in a certification for adjustment assistance; 26
petitions, covering an estimated 4,106 workers, resulted in a denial; and two eligibility investigations were
terminated before completion.
                                                      25
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        b. Products, raw materials, supplies, and other services. In addition to the human
resources described above, the production of iron ore and semi-finished steel requires various
other “products, raw materials, supplies and other services.” Specifically, the inputs required for
the production of iron ore pellets include electricity, fuel, water, and bentonite.37 The inputs
required for the production of semi-finished steel can include iron ore, coal and coke, electricity,
natural gas, oxygen, limestone, and steel scrap.

       Based on the information obtained during the course of this investigation, we found no
evidence that these products, raw materials, supplies, or other services are in short supply.

        Although it does not change the ultimate conclusion of this Section, we would note that
there are a web of resources – transportation, utilities, and community infrastructure – relevant to
the production of iron ore and semi-finished steel, whose existence often is heavily dependent
upon the steel marketplace and that would not be easy to replace once lost or shuttered. For
example, the iron ore industry is supported by an infrastructure of railways and ships, utilities,
and power companies.38 The Department of Labor noted that, although the closure of a single
mine does not destroy the infrastructure, it does directly affect these support industries.

         In addition, the Department of Labor noted that the closing of a mine and the permanent
or temporary lay-off of workers also impacts local communities and businesses. This impact is
felt particularly strong in northeastern Minnesota and in Michigan’s Upper Peninsula, where iron
ore mining wages are nearly twice the average wages for other occupations. A mine’s closing
results in significant loss of income and taxes for these local communities.39

        3. Growth of the Iron Ore and Steel Industries is Not Necessary to Ensure National
Security. Section 232 also requires the Department to consider “the requirements of growth” of
the relevant industries. As a preliminary matter, it is important to recognize that growth in the
iron ore and steel industries is not necessary to satisfy the national security requirements set forth
above. Indeed, domestic production of iron ore and semi-finished steel could satisfy national
security requirements even if such production was at substantially lower levels than it is today.

        Growth in iron ore and semi-finished steel production is principally driven by
downstream demand. Semi-finished steel production is sensitive to consumer demand for
finished steel products, particularly demand for automobiles, construction, machinery, and
appliances. Similarly, iron ore production is directly related to the demand for semi-finished
steel. As set forth above, there is no evidence that there will be a spike in demand for these
products that would threaten the ability of the U.S. iron ore and semi-finished steel industries to
satisfy national security needs.

         37
           Bentonite is a form of clay. During iron ore processing, ground taconite is mixed with small amounts of
bentonite. Bentonite serves as a binder to the taconite as the mixture is processed into iron ore pellets that are then
heat-hardened for shipment to integrated steel mills.
         38
            No U.S. iron ore is consumed near where it is produced. Nearly all U.S. iron ore leaves the mine by rail,
after which much of it is transported by ship along the Great Lakes. The Lake Carriers’ Association reported that
domestically -mined iron ore is the largest commodity moved by the U.S.-flagged Great Lakes fleet.

         39
            On July 3, 2001, the Department’s Economic Development Administration announced a $525,000 grant
to the Arrowhead Regional Development Commission and the Northspan Group, Inc. of Duluth, Minnesota to assist
these organizations develop economic adjustment strategies to help limit the impact of the closure of the LTV mine.
                                                     26
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        In addition to downstream demand, a principal requirement for growth is access to
substantial amounts of capital. As the Department noted in its July 2000 report, construction of a
large integrated steel mill costs billions of dollars. Even for much smaller mini-mills,
construction and equipment costs can reach hundreds of millions of dollars.40

        The U.S. iron ore industry is exploring the development and commercialization of new
iron-bearing products and improvement of existing products that may provide growth
opportunities.41 To the extent that growth in the production of semi-finished steel occurs, it
would likely occur among mini-mills operating electric arc furnaces. As discussed above, a key
trend in the U.S. steel industry over the past decade has been the significant increase in the
amount of steel produced by U.S. mini-mills.

        4. Domestic Production of Finished Steel Necessary to Meet National Security
Requirements is Not Dependent Upon Imports of Iron Ore or Semi-Finished Steel, and in any
Event, Imports of Iron Ore and Semi-Finished Steel are from Safe and Diverse Suppliers. Based
on the information obtained during the course of this investigation, the Department found no
evidence that U.S. production of finished steel necessary to meet national security requirements
is dependent on imports of iron ore or semi-finished steel. To the contrary, as set forth above,
the United States is capable of producing and in fact produces sufficient iron ore and semi-
finished steel to satisfy national security requirements. This conclusion is further supported by
the fact that, as set forth in greater detail in Section V(B) below, imports of iron ore and semi-
finished steel account for only small percentages of total domestic consumption of these articles
– approximately 20 percent and 7 percent, respectively – with the overwhelming majority of U.S.
domestic demand being satisfied by domestic supply.

        Further, the Department found that iron ore and semi-finished steel are imported from
reliable foreign sources. Accordingly, even if the United States were dependent on imports of
iron ore and semi-finished steel, imports would not threaten to impair national security.

        As set forth in detail in Section V(C) below, imports of iron ore and semi-finished steel
come from diverse and reliable trading partners. More than a dozen countries exported iron ore
to the United States in 2000; many of these countries are in the Western Hemisphere. Over the
past ten years, Canada – with which the United States shares a 3,987-mile border – has been the
source of more than 50 percent of U.S. iron ore imports. Canada is a North Atlantic Treaty
Organization (“NATO”) ally, the United States’ largest trading partner, and also a party to
NAFTA. Moreover, two U.S. companies own interests in one of the principal Canadian iron ore
mines.42

        More than 30 countries exported semi-finished steel to the United States in 2000. Brazil
and Mexico alone accounted for over 50 percent of these imports. Both countries are safe and
reliable suppliers. Brazil is a participant in the Free Trade Area of the Americas initiative.

        40
             Global Steel Trade: Structural Problems and Future Solutions, p. 14.
        41
            For example, in July 2001 the State of Minnesota’s Iron Range Resources and Rehabilitation Board
announced it was providing funding to support the Mesabi Nugget project, which is seeking to develop an iron
product suitable for both integrated and mini-mill producers.
        42
             See discussion in Section V(C)1 infra.
                                                      27
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Mexico – with which the United States shares a 1,550-mile border – is a close ally and is a party
to NAFTA.


C.       IMPORTS OF IRON ORE AND SEMI-FINISHED STEEL DO NOT
         FUNDAMENTALLY THREATEN TO IMPAIR THE CAPABILITY OF THE U.S.
         IRON ORE AND SEMI-FINISHED STEEL INDUSTRIES TO SATISFY
         NATIONAL SECURITY REQUIREMENTS

        1. Overview of Imports of Iron Ore. Although imports of iron ore have increased over
the past decade, they still account for a relatively minor share (approximately 20 percent ) of total
domestic consumption.

                                                           CHART 4 –
                                              U.S. IMPORTS OF IRON ORE - 1991-2000


                                     19,000                         $600,000
                                     18,000
                                                                    $550,000
                                     17,000
                Metric Tons (000s)




                                                                               Dollars (000s)
                                     16,000                         $500,000                    Imports for
                                     15,000                                                     consumption
                                                                    $450,000
                                     14,000                                                     Value
                                     13,000                         $400,000
                                     12,000
                                                                    $350,000
                                     11,000
                                     10,000                         $300,000
                                              1991
                                              1992
                                              1993
                                              1994
                                              1995
                                              1996
                                              1997
                                              1998
                                              1999
                                              2000




                                         Source: U.S. Census Bureau data compiled by USGS

        In 2000, imports of iron ore totaled 15.7 million metric tons, a 10 percent increase
compared with 1999 levels. Iron ore imports have increased 17.7 percent (2.4 million metric
tons) between 1991 and 2000.43 Imports ranged from a high of 18.5 million metric tons in 1997
to a low of 12.5 million metric tons in 1992. (See Chart 4). During the first six months of 2001,
imports of iron ore totaled 4.9 million metric tons, a 37 percent decrease compared with the same
period in 2000.




         43
            Although not strictly relevant to this investigation, we would note that, by comparison, U.S. finished
steel imports have increased far more rapidly. Between 1991 and 2000, U.S. finished steel imports increased 116.4
percent. U.S. finished steel imports ranged from a high of 34.7 million net tons in 1998 to a low of 13.6 million net
tons in 1991.
                                                            28
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                                     CHART 5 –
                       SALIENT IRON ORE STATISTICS - 1991-2000
                                (Thousand Metric Tons)


      90,000                                                                            100%
      80,000
      70,000                                                                            80%
      60,000
                                                                                        60%
      50,000
      40,000
                                                                                        40%
      30,000
      20,000                                                                            20%
      10,000
           0                                                                            0%
               1991     1992   1993   1994   1995    1996   1997   1998   1999   2000

                      Consumption                       Production
                      Shipments                         Imports
                      Imports Share of Consumption

                                        Source: USGS data

         According to USGS data, imported iron ore accounted for 20.5 percent of U.S.
consumption in 2000. During the 1991-2000 period, imports accounted for less than one-quarter
of total U.S. consumption of iron ore, ranging from a high of 23.2 percent in 1997 to a low of
16.7 percent 1992. (See Chart 5).

        As noted above, two Canadian integrated steel mills own interests in three U.S. mines.
U.S. exports of iron ore totaled 6.2 million metric tons in 2000, and have increased 52 percent
(2.1 million metric tons) between 1991 and 2000. U.S. exports ranged from a high of 6.3 million
metric tons in 1997, to a low of 4.0 million metric tons in 1991.

        U.S. net imports of iron ore accounted for only 12.5 percent of U.S. iron ore consumption
in 2000. During the 1991-2000 period, net imports have accounted for less than 16 percent of
total U.S. consumption of iron ore, ranging from a high of 15.6 percent in 1994 to a low of 10.9
percent in 1999.




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                                                      CHART 6 –
                                   U.S. IMPORTS OF IRON ORE BY COUNTRY - 1996-2000


                                   20,000
                                   18,000
                                   16,000
              Metric Tons (000s)


                                   14,000                                                   Total
                                   12,000                                                   Canada
                                   10,000                                                   Brazil
                                    8,000                                                   Australia
                                    6,000                                                   All Other
                                    4,000
                                    2,000
                                        0
                                            1996   1997    1998    1999    2000

                                       Source: U.S. Census Bureau data compiled by USGS

        More than a dozen countries exported iron ore to the United States in 2000.44 In 2000, as
in the period 1996-2000, approximately 51 percent of U.S. iron ore imports (based on quantity)
originated in Canada, and 39 percent originated in Brazil. (See Chart 6). The principal reasons
for Canada’s leading position are ownership and proximity. Acme Metals Inc., a U.S. integrated
steel mill, and Cleveland-Cliffs, Inc., a U.S. merchant iron ore company, currently own a
combined 37.9 percent interest in one of the three Canadian iron ore producers. [Confidential
business information -redacted].45 The proximity of the producers and consumers of iron ore
in the two countries, in particular along the Great Lakes region, also results in lower
transportation costs for Canadian iron ore suppliers.

       No duties are levied on the importation of iron ore, and there are no anti-dumping or
countervailing duty orders in place.




        44
             The U.S. iron ore industry identified the Iron Ore Company of Canada (Canada), Quebec Cartier Mining
Co. (Canada), and Cia. Vale do Rio Doce (CVRD) (Brazil) as leading foreign competitors. CVRD is the world’s
largest iron ore producer.
        45
            Bethlehem Steel Corporation also owned an interest in one of Brazil’s iron ore producers, which it sold
to another Brazilian iron ore producer in September 2001.
                                                          30
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        2. Overview of Imports of Semi-Finished Steel. Semi-finished steel is imported by
segments of the U.S. steel industry to convert into finished steel. As the Department noted in its
July 2000 report, the U.S. steel industry utilizes semi-finished steel imports to supplement its
own production.46 Certain U.S. steel mills that do not produce raw steel, or whose steelmaking
capacity does not meet its rolling capacity, indicated that they are dependent on imported semi-
finished steel for some portion or all of their semi-finished steel needs.47

                                                      CHART 7 –
                                        U.S. IMPORTS OF SEMI-FINISHED STEEL
                                      AND U.S. RAW STEEL PRODUCTION - 1991-2000


                                  120,000

                                  100,000
                Net Tons (000s)




                                   80,000                                      U.S. Imports of
                                                                               Semi-Finished Steel
                                   60,000
                                                                               U.S. Raw Steel
                                   40,000                                      Production

                                   20,000

                                       0
                                            1991
                                            1992
                                            1993
                                            1994
                                            1995
                                            1996
                                            1997
                                            1998
                                            1999
                                            2000




                                                   Source: AISI data

        Although imports of semi-finished steel have increased significantly over the past decade,
they still account for a small percentage (approximately 7 percent) of total U.S. semi-finished
steel consumption. The majority of the increase in imports occurred between 1991 and 1994,
when imports rose 252 percent, from 2.26 million net tons in 1991 to 7.94 million net tons in
1994. Since 1994, imports have ranged from a high of 8.58 million net tons in 1999 to a low of
5.20 million net tons in 1995. In 2000, imports of semi-finished steel totaled 8.56 million net
tons, virtually the same level recorded in 1999. (See Chart 7). During the first six months of
2001, imports of semi-finished steel totaled 2.75 million net tons, a 43 percent decrease
compared to the same period in 2000. More than thirty countries exported semi-finished steel to
the United States in 2000.




         46
              Global Steel Trade: Structural Problems and Future Solutions, p. 12.
         47
              U.S. steel mills also use imported semi-finished steel to continue finished steel production when their
blast furnaces or basic oxygen furnaces are down for repairs or maintenance (e.g., relining). Further, some
producers, including mini-mills, import high-quality semi-finished steel in order to produce high quality, specialty
steels that they could not otherwise make.
                                                       31
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                                                    CHART 8 –
                                   U.S. SEMI-FINISHED STEEL IMPORTS - 1996-2000


                                 10,000
                                  9,000
                                                                                  Total Semi-Finished
                                  8,000                                           Imports
               Net Tons (000s)

                                  7,000
                                  6,000                                           Carbon Flat: Slabs
                                  5,000
                                  4,000
                                                                                  Carbon Long:
                                  3,000                                           Ingots, billets, and
                                  2,000                                           blooms

                                  1,000                                           Stainless and Tool
                                      0                                           Steel: Slabs, ingots,
                                                                                  billets, and blooms
                                           1996


                                                  1997


                                                         1998


                                                                1999


                                                                       2000
                                    Source: U.S. International Trade Commission Dataweb

         Approximately 85 percent (by quantity) of all semi-finished steel imported in 2000 was
in the form of carbon slabs (7.26 million net tons). Approximately 11 percent was in the form of
carbon ingots, billets, and blooms (0.95 million net tons). Four percent was in the form of
stainless slabs, ingots, billets, and blooms (0.34 million net tons). It is noteworthy that two U.S.
steel companies without the capability to produce semi-finished steel consumed over 31 percent
of total semi-finished steel imports in 2000.48




       48
            [Confidential business information – redacted].
                                                         32
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                                                  CHART 9 –
                                 U.S. SEMI-FINISHED STEEL IMPORTS - 1996-2000


                               $2,500,000

                               $2,000,000
                                                                                        Total Value
              Dollars (000s)



                               $1,500,000
                                                                                        Carbon Flat: Slabs
                               $1,000,000

                                $500,000                                                Carbon Long:
                                                                                        Ingots, billets, and
                                                                                        blooms
                                      $0
                                                                                        Stainless and Tool
                                             1996

                                                    1997

                                                                1998

                                                                       1999

                                                                              2000
                                                                                        Steel: Slabs, ingots,
                                                                                        billets, and blooms


                                  Source: U.S. International Trade Commission Dataweb

        Carbon slabs ($1.6 billion) accounted for approximately 69 percent of all semi-finished
steel imported in 2000 on a value basis. Stainless slabs, ingots, billets, and blooms ($450
million) accounted for 20 percent. Carbon ingots, billets, and blooms ($257 million) accounted
for 11 percent.49




        49
           The U.S. steel industry identified Companhia Siderúrgica de Tubarão S.A. (CST) (Brazil); Companhia
Siderúrgica Nacional (CSN) (Brazil); Companhia Siderúrgica Paulista (COSIPA) (Brazil); Ispat Mexicana S.A.
(Mexico); Severastahl (Russia); Magnitigorsk (MMK) (Russia); and Ilyich Iron and Steel Works (Ukraine) as
leading foreign exporters of semi-finished steel to the United States.
                                                           33
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                              CHART 10 –
           IMPORTS OF CARBON FLAT: SLABS BY COUNTRY - 1996-2000



                                 8,000                                                  Total Imports
                                 7,000                                                  Brazil
                                                                                        Mexico
               Net Tons (000s)

                                 6,000
                                                                                        Russia
                                 5,000
                                                                                        Ukraine
                                 4,000
                                                                                        Australia
                                 3,000
                                                                                        Japan
                                 2,000                                                  Canada
                                 1,000                                                  Venezuela
                                    0                                                   China
                                         1996    1997    1998   1999    2000            All Other


                                  Source: U.S. International Trade Commission Dataweb

        In 2000, the United States imported carbon slabs from twenty countries. Thirty-six
percent of U.S. carbon slab imports originated in Brazil, 23 percent originated in Mexico, 10
percent originated in Russia, and 9 percent originated in Ukraine. During the 1996-2000 period,
total imports of carbon slabs increased 15 percent; shipments from Brazil increased 41 percent
and shipments from Mexico increased 30 percent.




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                              CHART 11 –
          IMPORTS OF CARBON LONG: INGOTS, BILLETS, AND BLOOMS
                         BY COUNTRY - 1996-2000


                             1,400
                                                                                 Total Imports
                             1,200                                               Brazil
                                                                                 Germany
           Net Tons (000s)




                             1,000
                                                                                 Canada
                              800                                                Finland
                              600                                                Poland
                                                                                 Russia
                              400                                                Norway
                              200                                                Venezuela
                                                                                 Belgium
                                0                                                All Other
                                     1996   1997   1998    1999   2000

                                 Source: U.S. International Trade Commission Dataweb

        In 2000, the United States imported carbon ingots, billets, and blooms from 31 countries.
Twenty-four percent of these imports originated in Brazil, 18 percent originated in Germany, 10
percent originated in Canada, and 9 percent originated in Finland. During the 1996-2000 period,
total imports of carbon ingots, billets, and blooms decreased 15 percent; shipments from Brazil
increased 96 percent and shipments from Canada increased 9 percent, while shipments from
Germany decreased 35 percent.




                                                      35
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                                      CHART 12 –
                        IMPORTS OF STAINLESS AND TOOL STEEL:
              SLABS, INGOTS, BILLETS, AND BLOOMS BY COUNTRY - 1996-2000


                                   400
                                   350                                               Total Imports
                 Net Tons (000s)



                                   300                                               Spain
                                   250                                               United Kingdom
                                                                                     Canada
                                   200
                                                                                     Sweden
                                   150                                               South Africa
                                   100                                               Belgium
                                    50                                               All Other

                                     0
                                         1996 1997 1998 1999 2000

                                     Source: U.S. International Trade Commission Dataweb

       In 2000, the United States imported stainless slabs, ingots, billets, and blooms from 18
countries.50 Forty-two percent of these imports originated in Spain, 18 percent originated in the
United Kingdom, 13 percent originated in Canada, and 8 percent originated in Sweden. During
the 1996-2000 period, total imports of stainless slabs, ingots, billets, and blooms increased 206
percent.

        Duties levied on the importation of semi-finished steel vary by product and country of
origin. There are no anti-dumping or countervailing duty orders in place on the importation of
semi-finished steel. Only Russian semi-finished steel shipments are subject to quantitative
restraints under the U.S.-Russia July 1999 Agreement Concerning Trade in Certain Steel
Products from the Russian Federation.




         50
           The U.S. steel industry’s raw stainless steel production totaled 2.4 million net tons in 2000, all of which
was produced by steel mills operating electric arc furnaces, which rely on steel scrap, not iron ore, as their primary
feedstock.
                                                          36
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        3. Imports of Iron Ore and Semi-Finished Steel Do Not Fundamentally Threaten to
Impair the Capability of the U.S. Iron Ore and Semi-Finished Steel Industries to Satisfy National
Security Requirements. As the Administration noted in its June 22, 2001 request to the U.S.
International Trade Commission to initiate a broad investigation under Section 201 of the Trade
Act of 1974 on the effect of steel imports on the U.S. steel industry, the U.S. steel industry is
suffering financially, with marked declines in profits, returns on investment, and market share.
As a result, over 20 U.S. steel companies have sought bankruptcy protection since 1998.

       There can be no question that the U.S. steel industry generally – and their iron ore
suppliers – have endured and continue to endure substantial economic difficulties. However,
based on the information obtained during the course of this investigation, the Department is
unable to conclude that imports of iron ore and semi-finished steel fundamentally threaten the
capability of U.S. iron ore and semi-finished steel producers to satisfy national security
requirements.

        As set forth in Section V(B) above, the evidence presented to the Department shows that
U.S. industry currently produces sufficient quantities of iron ore and semi-finished steel to
satisfy current and projected national security requirements. The Department has been presented
with conflicting evidence as to whether imports threaten competing U.S. producers. There is
evidence – principally in the form of testimony and comments from domestic iron ore and steel
producers – that lower-priced imports have harmed, and threaten to continue to harm, domestic
producers. However, there also is evidence that it is the broader steel market downturn – not
imports of iron ore and semi-finished steel (which comprise only approximately 20 and 7 percent
of U.S. iron ore and semi-finished steel consumption respectively) – that is principally to blame
for the economic difficulties faced by U.S. iron ore and semi-finished steel producers.

        The issue whether imports have harmed or threaten to harm U.S. producers writ large is
beyond the scope of the Department’s inquiry, and need not be resolved here. Under Section
232, the Department is authorized only to determine whether imports fundamentally threaten the
ability of domestic producers to satisfy the United States’ national security requirements. The
evidence before the Department does not support such a finding. To the contrary, the evidence
suggests that U.S. national security requirements are easily satisfied by current domestic
production, and could continue to be satisfied domestically even if there were substantial further
diminution of U.S. production, whether caused by imports or otherwise. Responses to the
Department’s surveys confirm this conclusion, as does DOD’s own analysis. Accordingly,
while the Department makes no finding as to whether U.S. producers are being harmed by
imports, it finds that there is no evidence that imports threaten the viability of U.S. producers so
fundamentally as to threaten to impair U.S. national security.


VI.    RECOMMENDATION

       Based on the findings set forth above, the Department does not recommend that the
President take action under Section 232.




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                                  SECRETARY OF DEFENSE·
                                  1000 DEFENSE PENTAGON
                                 WASHINGTON, OC 20301-1000




  MEMORANDUM FOR SECRETARY OF COMMERCE

  SUBJECT: Response to Steel and Aluminum Policy Recommeudations

          This memo provides a consolidated position from the DoD on the investigation of the
  effect of steel mill imports and the effects ofimports ofaluminum on national security,
  conducted by the Department ofCommerce.under Section 232 ofthe Trade Expansion Act of
  1962 (hereinafter "Section 232 Report").

         Regarding the December 15, 2017 reports on steel and aluminum, DoD believes that
 the systematic use of unfair trade practices to intentionally erode our innovation and
 manufacturing industrial base poses a risk to our national security. As such, DoD concurs with
 the Department of Commerce's conclusion that imports offoreign steeJ and aluminum based
 on unfair trading practices impair the national security. As noted in both Section 232 reports,
 however, the U.S. military requirements for steel and alwninum each only represent about
 three percent ofU.S. prodnction. Therefore, DoD does not believe that the findings in the
 reports impact the ability ofDoD programs to acquire the steel·or aluminum necessary to meet
 national defense requirements.

         DoD continues to be concerned about ~e negative impact on our key allies regarding
 the recommended options within the reports. However, DoD recognizes that among these
 reports' alternatives, targeted tariffs are more preferable than a global quota or global tariff. In
 addition, we recommend an inter-agency group further refine the targeted tariffs, so as to create
 incentives for trade partners to work with the U.S. oµ addressing the underlying issue of
 Chinese transship.ment.

         If the Administration moves forward with targeted tariffs or quotas on steel; DoD
 recommends that the management and labor leaders of the respective industries be convened
 by the President, so that they may understand that these tariffs and quotas are conditional.
 Moreover, ifthe Administration talces action on steel, DoD recommends waiting before taking
 further steps on aluminum. The prospect of trade action on aJuminum may be sufficient to
 coerce improved behavior ofbad actors. In either case, it remains important for the President
 to continue to communicate the negative consequences of unfair trade practices.

        This is an opportunity to set clear expectations domestically regarding competitiveness
 and rebuild economic strength at home while preserving a fair and reciprocal international
 economic system as outlined in the National Security Strategy. It is critical that we reinforce to
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  our key allies that these actions are focused on correcting Chinese overproduction and
  countering their attempts to circumvent existing antidumping tariffs - not the bi1ateral U.S.
  relationship.




  cc:
  Secretary of the Treasury
  Secretary of State
  ChiefofStaff to the President
  Assistant to the President for National Security Affairs
  Chairman, National Economic Council
  United States Trade Representative




                                                  2
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                         EXHIBIT 7
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                                                                                                       Presidential Documents



                                                                                                       Proclamation 9711 of March 22, 2018

                                                                                                       Adjusting Imports of Steel Into the United States

                                                                                                       By the President of the United States of America

                                                                                                       A Proclamation
                                                                                                       1. On January 11, 2018, the Secretary of Commerce (Secretary) transmitted
                                                                                                       to me a report on his investigation into the effect of imports of steel mill
                                                                                                       articles on the national security of the United States under section 232
                                                                                                       of the Trade Expansion Act of 1962, as amended (19 U.S.C. 1862).
                                                                                                       2. In Proclamation 9705 of March 8, 2018 (Adjusting Imports of Steel Into
                                                                                                       the United States), I concurred in the Secretary’s finding that steel mill
                                                                                                       articles are being imported into the United States in such quantities and
                                                                                                       under such circumstances as to threaten to impair the national security
                                                                                                       of the United States, and decided to adjust the imports of steel mill articles,
                                                                                                       as defined in clause 1 of Proclamation 9705, as amended by clause 8 of
                                                                                                       this proclamation (steel articles), by imposing a 25 percent ad valorem
                                                                                                       tariff on such articles imported from all countries except Canada and Mexico.
                                                                                                       3. In proclaiming this tariff, I recognized that our Nation has important
                                                                                                       security relationships with some countries whose exports of steel articles
                                                                                                       to the United States weaken our internal economy and thereby threaten
                                                                                                       to impair the national security. I also recognized our shared concern about
                                                                                                       global excess capacity, a circumstance that is contributing to the threatened
                                                                                                       impairment of the national security. I further determined that any country
                                                                                                       with which we have a security relationship is welcome to discuss with
                                                                                                       the United States alternative ways to address the threatened impairment
                                                                                                       of the national security caused by imports from that country, and noted
                                                                                                       that, should the United States and any such country arrive at a satisfactory
                                                                                                       alternative means to address the threat to the national security such that
                                                                                                       I determine that imports from that country no longer threaten to impair
                                                                                                       the national security, I may remove or modify the restriction on steel articles
                                                                                                       imports from that country and, if necessary, adjust the tariff as it applies
                                                                                                       to other countries as the national security interests of the United States
                                                                                                       require.
                                                                                                       4. The United States is continuing discussions with Canada and Mexico,
                                                                                                       as well as the following countries, on satisfactory alternative means to address
                                                                                                       the threatened impairment to the national security by imports of steel articles
                                                                                                       from those countries: the Commonwealth of Australia (Australia), the Argen-
                                                                                                       tine Republic (Argentina), the Republic of Korea (South Korea), the Federative
                                                                                                       Republic of Brazil (Brazil), and the European Union (EU) on behalf of
                                                                                                       its member countries. Each of these countries has an important security
                                                                                                       relationship with the United States and I have determined that the necessary
                                                                                                       and appropriate means to address the threat to the national security posed
                                                                                                       by imports from steel articles from these countries is to continue these
                                                                                                       discussions and to exempt steel articles imports from these countries from
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                                                                                                       the tariff, at least at this time. Any country not listed in this proclamation
                                                                                                       with which we have a security relationship remains welcome to discuss
                                                                                                       with the United States alternative ways to address the threatened impairment
                                                                                                       of the national security caused by imports of steel articles from that country.
                                                                                                       5. The United States has an important security relationship with Australia,
                                                                                                       including our shared commitment to supporting each other in addressing
                                                                                                       national security concerns, particularly through our security, defense, and


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                                                                                                       intelligence partnership; the strong economic and strategic partnership be-
                                                                                                       tween our countries; our shared commitment to addressing global excess
                                                                                                       capacity in steel production; and the integration of Australian persons and
                                                                                                       organizations into the national technology and industrial base of the United
                                                                                                       States.
                                                                                                       6. The United States has an important security relationship with Argentina,
                                                                                                       including our shared commitment to supporting each other in addressing
                                                                                                       national security concerns in Latin America, particularly the threat posed
                                                                                                       by instability in Venezuela; our shared commitment to addressing global
                                                                                                       excess capacity in steel production; the reciprocal investment in our respec-
                                                                                                       tive industrial bases; and the strong economic integration between our coun-
                                                                                                       tries.
                                                                                                       7. The United States has an important security relationship with South
                                                                                                       Korea, including our shared commitment to eliminating the North Korean
                                                                                                       nuclear threat; our decades-old military alliance; our shared commitment
                                                                                                       to addressing global excess capacity in steel production; and our strong
                                                                                                       economic and strategic partnership.
                                                                                                       8. The United States has an important security relationship with Brazil,
                                                                                                       including our shared commitment to supporting each other in addressing
                                                                                                       national security concerns in Latin America; our shared commitment to
                                                                                                       addressing global excess capacity in steel production; the reciprocal invest-
                                                                                                       ment in our respective industrial bases; and the strong economic integration
                                                                                                       between our countries.
                                                                                                       9. The United States has an important security relationship with the EU
                                                                                                       and its constituent member countries, including our shared commitment
                                                                                                       to supporting each other in national security concerns; the strong economic
                                                                                                       and strategic partnership between the United States and the EU, and between
                                                                                                       the United States and EU member countries; and our shared commitment
                                                                                                       to addressing global excess capacity in steel production.
                                                                                                       10. In light of the foregoing, I have determined that the necessary and
                                                                                                       appropriate means to address the threat to the national security posed by
                                                                                                       imports of steel articles from these countries is to continue ongoing discus-
                                                                                                       sions and to increase strategic partnerships, including those with respect
                                                                                                       to reducing global excess capacity in steel production by addressing its
                                                                                                       root causes. In my judgment, discussions regarding measures to reduce excess
                                                                                                       steel production and excess steel capacity, measures that will increase domes-
                                                                                                       tic capacity utilization, and other satisfactory alternative means will be
                                                                                                       most productive if the tariff proclaimed in Proclamation 9705 on steel articles
                                                                                                       imports from these countries is removed at this time.
                                                                                                       11. However, the tariff imposed by Proclamation 9705 remains an important
                                                                                                       first step in ensuring the economic viability of our domestic steel industry
                                                                                                       and removing the threatened impairment of the national security. Without
                                                                                                       this tariff and the adoption of satisfactory alternative means addressing
                                                                                                       long-term solutions in ongoing discussions with the countries listed as ex-
                                                                                                       cepted in clause 1 of this proclamation, the industry will continue to decline,
                                                                                                       leaving the United States at risk of becoming reliant on foreign producers
                                                                                                       of steel to meet our national security needs—a situation that is fundamentally
                                                                                                       inconsistent with the safety and security of the American people. As a
                                                                                                       result, unless I determine by further proclamation that the United States
                                                                                                       has reached a satisfactory alternative means to remove the threatened impair-
                                                                                                       ment to the national security by imports of steel articles from a particular
                                                                                                       country listed as excepted in clause 1 of this proclamation, the tariff set
                                                                                                       forth in clause 2 of Proclamation 9705 shall be effective May 1, 2018,
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                                                                                                       for the countries listed as excepted in clause 1 of this proclamation. In
                                                                                                       the event that a satisfactory alternative means is reached such that I decide
                                                                                                       to exclude on a long-term basis a particular country from the tariff proclaimed
                                                                                                       in Proclamation 9705, I will also consider whether it is necessary and
                                                                                                       appropriate in light of our national security interests to make any cor-
                                                                                                       responding adjustments to the tariff set forth in clause 2 of Proclamation
                                                                                                       9705 as it applies to other countries. Because the current tariff exemptions


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                                                                                                       are temporary, however, I have determined that it is necessary and appro-
                                                                                                       priate to maintain the current tariff level at this time.
                                                                                                       12. In the meantime, to prevent transshipment, excess production, or other
                                                                                                       actions that would lead to increased exports of steel articles to the United
                                                                                                       States, the United States Trade Representative, in consultation with the
                                                                                                       Secretary and the Assistant to the President for Economic Policy, shall
                                                                                                       advise me on the appropriate means to ensure that imports from countries
                                                                                                       exempt from the tariff imposed in Proclamation 9705 do not undermine
                                                                                                       the national security objectives of such tariff. If necessary and appropriate,
                                                                                                       I will consider directing U.S. Customs and Border Protection (CBP) of the
                                                                                                       Department of Homeland Security to implement a quota as soon as prac-
                                                                                                       ticable, and will take into account all steel articles imports since January
                                                                                                       1, 2018, in setting the amount of such quota.
                                                                                                       13. Section 232 of the Trade Expansion Act of 1962, as amended, authorizes
                                                                                                       the President to adjust the imports of an article and its derivatives that
                                                                                                       are being imported into the United States in such quantities or under such
                                                                                                       circumstances as to threaten to impair the national security.
                                                                                                       14. Section 604 of the Trade Act of 1974, as amended (19 U.S.C. 2483),
                                                                                                       authorizes the President to embody in the Harmonized Tariff Schedule of
                                                                                                       the United States (HTSUS) the substance of statutes affecting import treat-
                                                                                                       ment, and actions thereunder, including the removal, modification, continu-
                                                                                                       ance, or imposition of any rate of duty or other import restriction.
                                                                                                       NOW, THEREFORE, I, DONALD J. TRUMP, President of the United States
                                                                                                       of America, by the authority vested in me by the Constitution and the
                                                                                                       laws of the United States of America, including section 232 of the Trade
                                                                                                       Expansion Act of 1962, as amended, section 301 of title 3, United States
                                                                                                       Code, and section 604 of the Trade Act of 1974, as amended, do hereby
                                                                                                       proclaim as follows:
                                                                                                          (1) Imports of all steel articles, as defined in clause 1 of Proclamation
                                                                                                       9705, as amended by clause 8 of this proclamation, from the countries
                                                                                                       listed in this clause shall be exempt from the duty established in clause
                                                                                                       2 of Proclamation 9705 until 12:01 a.m. eastern daylight time on May 1,
                                                                                                       2018. Further, clause 2 of Proclamation 9705 is amended by striking the
                                                                                                       last two sentences and inserting the following two sentences: ‘‘Except as
                                                                                                       otherwise provided in this proclamation, or in notices published pursuant
                                                                                                       to clause 3 of this proclamation, all steel articles imports specified in the
                                                                                                       Annex shall be subject to an additional 25 percent ad valorem rate of
                                                                                                       duty with respect to goods entered, or withdrawn from warehouse for con-
                                                                                                       sumption, as follows: (a) on or after 12:01 a.m. eastern daylight time on
                                                                                                       March 23, 2018, from all countries except Canada, Mexico, Australia, Argen-
                                                                                                       tina, South Korea, Brazil, and the member countries of the European Union,
                                                                                                       and (b) on or after 12:01 a.m. eastern daylight time on May 1, 2018, from
                                                                                                       all countries. This rate of duty, which is in addition to any other duties,
                                                                                                       fees, exactions, and charges applicable to such imported steel articles, shall
                                                                                                       apply to imports of steel articles from each country as specified in the
                                                                                                       preceding sentence.’’.
                                                                                                         (2) Paragraph (a) of U.S. note 16, added to subchapter III of chapter
                                                                                                       99 of the HTSUS by the Annex to Proclamation 9705, is amended by
                                                                                                       replacing ‘‘Canada and of Mexico’’ with ‘‘Canada, of Mexico, of Australia,
                                                                                                       of Argentina, of South Korea, of Brazil, and of the member countries of
                                                                                                       the European Union’’.
                                                                                                         (3) The ‘‘Article description’’ for heading 9903.80.01 of the HTSUS is
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                                                                                                       amended by replacing ‘‘Canada or of Mexico’’ with ‘‘Canada, of Mexico,
                                                                                                       of Australia, of Argentina, of South Korea, of Brazil, or of the member
                                                                                                       countries of the European Union’’.
                                                                                                         (4) The exemption afforded to steel articles from Canada, Mexico, Australia,
                                                                                                       Argentina, South Korea, Brazil, and the member countries of the EU shall
                                                                                                       apply only to steel articles of such countries entered, or withdrawn from
                                                                                                       warehouse for consumption, through the close of April 30, 2018, at which


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                                                                                                       time Canada, Mexico, Australia, Argentina, South Korea, Brazil, and the
                                                                                                       member countries of the EU shall be deleted from paragraph (a) of U.S.
                                                                                                       note 16 to subchapter III of chapter 99 of the HTSUS and from the article
                                                                                                       description of heading 9903.80.01 of the HTSUS.
                                                                                                          (5) Any steel article that is admitted into a U.S. foreign trade zone on
                                                                                                       or after 12:01 a.m. eastern daylight time on March 23, 2018, may only
                                                                                                       be admitted as ‘‘privileged foreign status’’ as defined in 19 CFR 146.41,
                                                                                                       and will be subject upon entry for consumption to any ad valorem rates
                                                                                                       of duty related to the classification under the applicable HTSUS subheading.
                                                                                                       Any steel article that was admitted into a U.S. foreign trade zone under
                                                                                                       ‘‘privileged foreign status’’ as defined in 19 CFR 146.41, prior to 12:01
                                                                                                       a.m. eastern daylight time on March 23, 2018, will likewise be subject
                                                                                                       upon entry for consumption to any ad valorem rates of duty related to
                                                                                                       the classification under applicable HTSUS subheadings imposed by Procla-
                                                                                                       mation 9705, as amended by this proclamation.
                                                                                                         (6) Clause 3 of Proclamation 9705 is amended by inserting a new third
                                                                                                       sentence reading as follows: ‘‘Such relief may be provided to directly affected
                                                                                                       parties on a party-by-party basis taking into account the regional availability
                                                                                                       of particular articles, the ability to transport articles within the United
                                                                                                       States, and any other factors as the Secretary deems appropriate.’’.
                                                                                                          (7) Clause 3 of Proclamation 9705, as amended by clause 6 of this proclama-
                                                                                                       tion, is further amended by inserting a new fifth sentence as follows: ‘‘For
                                                                                                       merchandise entered on or after the date the directly affected party submitted
                                                                                                       a request for exclusion, such relief shall be retroactive to the date the
                                                                                                       request for exclusion was posted for public comment.’’.
                                                                                                         (8) The reference to ‘‘7304.10’’ in clause 1 of Proclamation 9705, is amend-
                                                                                                       ed to read ‘‘7304.11’’.
                                                                                                         (9) The Secretary, in consultation with CBP and other relevant executive
                                                                                                       departments and agencies, shall revise the HTSUS so that it conforms to
                                                                                                       the amendments and effective dates directed in this proclamation. The Sec-
                                                                                                       retary shall publish any such modification to the HTSUS in the Federal
                                                                                                       Register.
                                                                                                         (10) Any provision of previous proclamations and Executive Orders that
                                                                                                       is inconsistent with the actions taken in this proclamation is superseded
                                                                                                       to the extent of such inconsistency.
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                                                                                                       IN WITNESS WHEREOF, I have hereunto set my hand this twenty-second
                                                                                                       day of March, in the year of our Lord two thousand eighteen, and of
                                                                                                       the Independence of the United States of America the two hundred and
                                                                                                       forty-second.




                                                   [FR Doc. 2018–06425
                                                   Filed 3–27–18; 11:15 am]
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                         EXHIBIT 8
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                                                                                                      Proclamation 9740 of April 30, 2018

                                                                                                      Adjusting Imports of Steel Into the United States


                                                                                                      By the President of the United States of America

                                                                                                      A Proclamation
                                                                                                      1. On January 11, 2018, the Secretary of Commerce (Secretary) transmitted
                                                                                                      to me a report on his investigation into the effect of imports of steel mill
                                                                                                      articles on the national security of the United States under section 232
                                                                                                      of the Trade Expansion Act of 1962, as amended (19 U.S.C. 1862).
                                                                                                      2. In Proclamation 9705 of March 8, 2018 (Adjusting Imports of Steel Into
                                                                                                      the United States), I concurred in the Secretary’s finding that steel mill
                                                                                                      articles are being imported into the United States in such quantities and
                                                                                                      under such circumstances as to threaten to impair the national security
                                                                                                      of the United States, and decided to adjust the imports of steel mill articles,
                                                                                                      as defined in clause 1 of Proclamation 9705, as amended by clause 8 of
                                                                                                      Proclamation 9711 of March 22, 2018 (Adjusting Imports of Steel Into the
                                                                                                      United States) (steel articles), by imposing a 25 percent ad valorem tariff
                                                                                                      on such articles imported from all countries except Canada and Mexico.
                                                                                                      I further stated that any country with which we have a security relationship
                                                                                                      is welcome to discuss with the United States alternative ways to address
                                                                                                      the threatened impairment of the national security caused by imports from
                                                                                                      that country, and noted that, should the United States and any such country
                                                                                                      arrive at a satisfactory alternative means to address the threat to the national
                                                                                                      security such that I determine that imports from that country no longer
                                                                                                      threaten to impair the national security, I may remove or modify the restric-
                                                                                                      tion on steel articles imports from that country and, if necessary, adjust
                                                                                                      the tariff as it applies to other countries, as the national security interests
                                                                                                      of the United States require.
                                                                                                      3. In Proclamation 9711, I noted the continuing discussions with the Argen-
                                                                                                      tine Republic (Argentina), the Commonwealth of Australia (Australia), the
                                                                                                      Federative Republic of Brazil (Brazil), Canada, Mexico, the Republic of Korea
                                                                                                      (South Korea), and the European Union (EU) on behalf of its member coun-
                                                                                                      tries, on satisfactory alternative means to address the threatened impairment
                                                                                                      to the national security by imports of steel articles from those countries.
                                                                                                      Recognizing that each of these countries and the EU has an important
                                                                                                      security relationship with the United States, I determined that the necessary
                                                                                                      and appropriate means to address the threat to national security posed
                                                                                                      by imports of steel articles from these countries was to continue the ongoing
                                                                                                      discussions and to exempt steel articles imports from these countries from
                                                                                                      the tariff proclaimed in Proclamation 9705 until May 1, 2018.
                                                                                                      4. The United States has successfully concluded discussions with South
                                                                                                      Korea on satisfactory alternative means to address the threatened impairment
                                                                                                      to our national security posed by steel articles imports from South Korea.
                                                                                                      The United States and South Korea have agreed on a range of measures,
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                                                                                                      including measures to reduce excess steel production and excess steel capac-
                                                                                                      ity, and measures that will contribute to increased capacity utilization in
                                                                                                      the United States, including a quota that restricts the quantity of steel
                                                                                                      articles imported into the United States from South Korea. In my judgment,
                                                                                                      these measures will provide an effective, long-term alternative means to
                                                                                                      address South Korea’s contribution to the threatened impairment to our
                                                                                                      national security by restraining steel articles exports to the United States


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                                                                                                      from South Korea, limiting transshipment, and discouraging excess capacity
                                                                                                      and excess steel production. In light of this agreement, I have determined
                                                                                                      that steel articles imports from South Korea will no longer threaten to
                                                                                                      impair the national security and have decided to exclude South Korea from
                                                                                                      the tariff proclaimed in Proclamation 9705. The United States will monitor
                                                                                                      the implementation and effectiveness of the quota and other measures agreed
                                                                                                      upon with South Korea in addressing our national security needs, and
                                                                                                      I may revisit this determination, as appropriate.
                                                                                                      5. The United States has agreed in principle with Argentina, Australia,
                                                                                                      and Brazil on satisfactory alternative means to address the threatened impair-
                                                                                                      ment to our national security posed by steel articles imported from these
                                                                                                      countries. I have determined that the necessary and appropriate means to
                                                                                                      address the threat to national security posed by imports of steel articles
                                                                                                      from Argentina, Australia, and Brazil is to extend the temporary exemption
                                                                                                      of these countries from the tariff proclaimed in Proclamation 9705, in order
                                                                                                      to finalize the details of these satisfactory alternative means to address
                                                                                                      the threatened impairment to our national security posed by steel articles
                                                                                                      imported from these countries. In my judgment, and for the reasons I stated
                                                                                                      in paragraph 10 of Proclamation 9711, these discussions will be most produc-
                                                                                                      tive if steel articles from Argentina, Australia, and Brazil remain exempt
                                                                                                      from the tariff proclaimed in Proclamation 9705, until the details can be
                                                                                                      finalized and implemented by proclamation. Because the United States has
                                                                                                      agreed in principle with these countries, in my judgment, it is unnecessary
                                                                                                      to set an expiration date for the exemptions. Nevertheless, if the satisfactory
                                                                                                      alternative means are not finalized shortly, I will consider re-imposing the
                                                                                                      tariff.
                                                                                                      6. The United States is continuing discussions with Canada, Mexico, and
                                                                                                      the EU. I have determined that the necessary and appropriate means to
                                                                                                      address the threat to the national security posed by imports of steel articles
                                                                                                      from these countries is to continue these discussions and to extend the
                                                                                                      temporary exemption of these countries from the tariff proclaimed in Procla-
                                                                                                      mation 9705, at least at this time. In my judgment, and for the reasons
                                                                                                      I stated in paragraph 10 of Proclamation 9711, these discussions will be
                                                                                                      most productive if steel articles from these countries remain exempt from
                                                                                                      the tariff proclaimed in Proclamation 9705.
                                                                                                      7. For the reasons I stated in paragraph 11 of Proclamation 9711, however,
                                                                                                      the tariff imposed by Proclamation 9705 remains an important first step
                                                                                                      in ensuring the economic stability of our domestic steel industry and remov-
                                                                                                      ing the threatened impairment of the national security. As a result, unless
                                                                                                      I determine by further proclamation that the United States has reached
                                                                                                      a satisfactory alternative means to remove the threatened impairment to
                                                                                                      the national security by imports of steel articles from Canada, Mexico, and
                                                                                                      the member countries of the EU, the tariff set forth in clause 2 of Proclamation
                                                                                                      9705 shall be effective June 1, 2018, for these countries.
                                                                                                      8. In light of my determination to exclude, on a long-term basis, South
                                                                                                      Korea from the tariff proclaimed in Proclamation 9705, I have considered
                                                                                                      whether it is necessary and appropriate in light of our national security
                                                                                                      interests to make any corresponding adjustments to the tariff set forth in
                                                                                                      clause 2 of Proclamation 9705 as it applies to other countries. I have deter-
                                                                                                      mined that, in light of the agreed-upon quota and other measures with
                                                                                                      South Korea, the measures being finalized with Argentina, Australia, and
                                                                                                      Brazil, and the ongoing discussions that may result in further long-term
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                                                                                                      exclusions from the tariff proclaimed in Proclamation 9705, it is necessary
                                                                                                      and appropriate, at this time, to maintain the current tariff level as it applies
                                                                                                      to other countries.
                                                                                                      9. Section 232 of the Trade Expansion Act of 1962, as amended, authorizes
                                                                                                      the President to adjust the imports of an article and its derivatives that
                                                                                                      are being imported into the United States in such quantities or under such
                                                                                                      circumstances as to threaten to impair the national security.


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                                                                                                      10. Section 604 of the Trade Act of 1974, as amended (19 U.S.C. 2483),
                                                                                                      authorizes the President to embody in the Harmonized Tariff Schedule of
                                                                                                      the United States (HTSUS) the substance of statutes affecting import treat-
                                                                                                      ment, and actions thereunder, including the removal, modification, continu-
                                                                                                      ance, or imposition of any rate of duty or other import restriction.
                                                                                                      NOW, THEREFORE, I, DONALD J. TRUMP, President of the United States
                                                                                                      of America, by the authority vested in me by the Constitution and the
                                                                                                      laws of the United States of America, including section 232 of the Trade
                                                                                                      Expansion Act of 1962, as amended, section 301 of title 3, United States
                                                                                                      Code, and section 604 of the Trade Act of 1974, as amended, do hereby
                                                                                                      proclaim as follows:
                                                                                                         (1) Imports of all steel articles from Argentina, Australia, Brazil, and
                                                                                                      South Korea shall be exempt from the duty established in clause 2 of
                                                                                                      Proclamation 9705, as amended by clause 1 of Proclamation 9711. Imports
                                                                                                      of all steel articles from Canada, Mexico, and the member countries of
                                                                                                      the EU shall be exempt from the duty established in clause 2 of Proclamation
                                                                                                      9705 until 12:01 a.m. eastern daylight time on June 1, 2018. Further, clause
                                                                                                      2 of Proclamation 9705, as amended by clause 1 of Proclamation 9711,
                                                                                                      is also amended by striking the last two sentences and inserting in lieu
                                                                                                      thereof the following two sentences: ‘‘Except as otherwise provided in this
                                                                                                      proclamation, or in notices published pursuant to clause 3 of this proclama-
                                                                                                      tion, all steel articles imports specified in the Annex shall be subject to
                                                                                                      an additional 25 percent ad valorem rate of duty with respect to goods
                                                                                                      entered for consumption, or withdrawn from warehouse for consumption,
                                                                                                      as follows: (a) on or after 12:01 a.m. eastern daylight time on March 23,
                                                                                                      2018, from all countries except Argentina, Australia, Brazil, Canada, Mexico,
                                                                                                      South Korea, and the member countries of the European Union, and (b)
                                                                                                      on or after 12:01 a.m. eastern daylight time on June 1, 2018, from all
                                                                                                      countries except Argentina, Australia, Brazil, and South Korea. This rate
                                                                                                      of duty, which is in addition to any other duties, fees, exactions, and
                                                                                                      charges applicable to such imported steel articles, shall apply to imports
                                                                                                      of steel articles from each country as specified in the preceding sentence.’’.
                                                                                                         (2) In order to provide the quota treatment referred to in paragraph 4
                                                                                                      of this proclamation to steel articles imports from South Korea, U.S. Note
                                                                                                      16 of subchapter III of chapter 99 of the HTSUS is amended as provided
                                                                                                      for in Part A of the Annex to this proclamation. U.S. Customs and Border
                                                                                                      Protection (CBP) of the Department of Homeland Security shall implement
                                                                                                      this quota as soon as practicable, taking into account all steel articles imports
                                                                                                      from South Korea since January 1, 2018.
                                                                                                        (3) The exemption afforded to steel articles from Canada, Mexico, and
                                                                                                      the member countries of the EU shall apply only to steel articles of such
                                                                                                      countries entered for consumption, or withdrawn from warehouse for con-
                                                                                                      sumption, through the close of May 31, 2018, at which time such countries
                                                                                                      shall be deleted from the article description of heading 9903.80.01 of the
                                                                                                      HTSUS.
                                                                                                         (4) Clause 5 of Proclamation 9711 is amended by inserting the phrase
                                                                                                      ‘‘, except those eligible for admission under ‘‘domestic status’’ as defined
                                                                                                      in 19 CFR 146.43, which is subject to the duty imposed pursuant to Proclama-
                                                                                                      tion 9705, as amended by Proclamation 9711,’’ after the words ‘‘Any steel
                                                                                                      article’’ in the first and second sentences.
                                                                                                        (5) Steel articles shall not be subject upon entry for consumption to
                                                                                                      the duty established in clause 2 of Proclamation 9705, as amended by
                                                                                                      clause 1 of this proclamation, merely by reason of manufacture in a U.S.
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                                                                                                      foreign trade zone. However, steel articles admitted to a U.S. foreign trade
                                                                                                      zone in ‘‘privileged foreign status’’ pursuant to clause 5 of Proclamation
                                                                                                      9711, as amended by clause 4 of this proclamation, shall retain that status
                                                                                                      consistent with 19 CFR 146.41(e).
                                                                                                        (6) No drawback shall be available with respect to the duties imposed
                                                                                                      on any steel article pursuant to Proclamation 9705, as amended by clause
                                                                                                      1 of this proclamation.


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                                                                                                        (7) The Secretary, in consultation with CBP and other relevant executive
                                                                                                      departments and agencies, shall revise the HTSUS so that it conforms to
                                                                                                      the amendments and effective dates directed in this proclamation. The Sec-
                                                                                                      retary shall publish any such modification to the HTSUS in the Federal
                                                                                                      Register.
                                                                                                        (8) Any provision of previous proclamations and Executive Orders that
                                                                                                      is inconsistent with the actions taken in this proclamation is superseded
                                                                                                      to the extent of such inconsistency.
                                                                                                      IN WITNESS WHEREOF, I have hereunto set my hand this thirtieth day
                                                                                                      of April, in the year of our Lord two thousand eighteen, and of the Independ-
                                                                                                      ence of the United States of America the two hundred and forty-second.




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                                                                                                                                 ANNEX

                                                                                    TO MODIFY CERTAIN PROVISIONS OF CHAPTER 99 OF
                                                                                THE HARMONIZED TARIFF SCHEDULE OF THE UNITED STATES


                                                                    A. Subchapter III of chapter 99 of the Harmonized Tariff Schedule of the United States (HTS) is
                                                                    modified below, with the material in the new tariff provisions inserted in the columns labeled
                                                                    "Heading/Subheading", "Article Description", "Rates of Duty 1-General", "Rates ofDuty 1-
                                                                    Special," and "Rates of Duty 2", respectively. Except as provided in the superior text to
                                                                    subheadings 9903.80.05 through 9903.80.58 in item 4, the modifications made in items 1, 3 and
                                                                    4 of this part shall be effective for goods entered for consumption, or withdrawn from warehouse
                                                                    for consumption, on or after 12:01 a.m. eastern daylight time on May 1, 2018; except that the
                                                                    modifications in item 1 to the opening paragraph of subdivision (a) and to subdivision (a)(i) of
                                                                    U.S. note 16, as well as the modifications made in item 2 of this part, shall be effective for goods
                                                                    entered for consumption, or withdrawn from warehouse for consumption, on or after 12:01 a.m.
                                                                    eastern daylight time on March 23,2018. Quota amounts are calculated beginning on January 1
                                                                    of each calendar year, including for calendar year 2018.

                                                                    1. The text of subdivision (a) ofU.S. note 16 to such subchapter is modified to read as follows:

                                                                             "This note and the tariff provisions referred to herein set forth the ordinary customs duty
                                                                             treatment applicable to all entries of the iron or steel products of all countries other than
                                                                             of the United States, when such iron or steel products are classifiable in the headings or
                                                                             subheadings enumerated in subdivision (b) of this note. All anti-dumping or
                                                                             countervailing duties, or other duties and charges applicable to such goods shall continue
                                                                             to be imposed, except as may be expressly provided herein.

                                                                             (i)          Heading 9903.80.01 provides the ordinary customs duty treatment of iron or steel
                                                                                          products of all countries other than products of the United States and other than of
                                                                                          countries expressly exempt therefrom, pursuant to the article description of such
                                                                                          heading and the terms of subdivision (e) of this note. For any such products that
                                                                                          are eligible for special tariff treatment under any ofthe free trade agreements or
                                                                                          preference programs listed in general note 3(c)(i) to the tariff schedule, the duty
                                                                                          provided in this heading shall be collected in addition to any special rate of duty
                                                                                          otherwise applicable under the appropriate tariff subheading, except where
                                                                                          prohibited by law. Goods for which entry is claimed under a provision of chapter
                                                                                          98 and which are subject to the additional duties prescribed herein shall be
                                                                                          eligible for and subject to the terms of such provision and applicable U.S.
                                                                                          Customs and Border Protection ("CBP") regulations, except that duties under
                                                                                          subheading 9802.00.60 shall be assessed based upon the full value of the imported
                                                                                          article. No claim for entry or for any duty exemption or reduction shall be
                                                                                          allowed for the iron or steel products enumerated in subdivision (b) of this note
                                                                                          under a provision of chapter 99 that may set forth a lower rate of duty or provide
                                                                                          duty-free treatment, taking into account information supplied by CBP, but any
                                                                                          additional duty prescribed in any provision of this subchapter or subchapter IV of
                                                                                          chapter 99 shall be imposed in addition to the duty in heading 9903.80.01.
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                                                                    (ii)      Subheadings 9903.80.05 through 9903.80.58, inclusive, provide the ordinary
                                                                              customs duty and quota treatment of such goods enumerated in subdivision (b) of
                                                                              this note when they are the product of any country enumerated in the superior text
                                                                              thereto and expressly exempt from the scope ofheading 9903.80.01, subject to the
                                                                              limitations in subdivision (e) of this note.

                                                        2. The text of subdivision (b) of such U.S. note 16 is modified by adding below clause (b)(v) the
                                                        sentence "Any reference above to iron or steel products classifiable in any heading or subheading
                                                        of chapter 72 or 73, as the case may be, shall mean that any good provided for in the article
                                                        description of such heading or subheading and of all its subordinate provisions (both legal and
                                                        statistical) is covered by the provisions of this note and related tariff provisions." The text of
                                                        subdivisions (b), (c) and (d) of such U.S. note 16 are each modified by deleting "heading
                                                        9903.80.01" and by inserting in lieu thereof"heading 9903.80.01 and subheadings 9903.80.05
                                                        through 9903.80.58, inclusive,".

                                                        3. The following new subdivision (e) is hereby ins€rted at the end of such U.S. note 16:

                                                                    "(e) Subheadings 9903.80.05 through 9903.80.58, inclusive, set forth the ordinary
                                                                    customs duty treatment for the iron or steel products (as enumerated in subdivision (b) of
                                                                    this note) of any country enumerated in the superior text to such subheadings, subject to
                                                                    the annual aggregate quantitative limitations proclaimed for these subheadings and as set
                                                                    forth on the Internet site ofCBP at the following link: https://www.cbp.gov/trade/quota.
                                                                    Imports from any such country in an aggregate quantity under any such subheading
                                                                    during any of the periods January through March, April through June, July through
                                                                    September, or October through December in any year that is in excess of 30 percent of
                                                                    the total aggregate quantity provided for a calendar year for such country, as set forth on
                                                                    the Internet site of CBP, shall not be allowed."
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                                                           4. The following new subheadings and superior text thereto are inserted in numerical sequence
                                                           in subchapter III:
                                                                                                                                                                                             Rates of Duty

                                                                Heading/                                          Article description                                                        1               2
                                                               Subheading
                                                                                                                                                                                   General       Special

                                                                                   Iron or steel products of South Korea enumerated in U.S.
                                                                                   note 16(b) to this subchapter, if entered in aggregate
                                                                                   quantities prescribed in subdivision (e) of such note for any
                                                                                   calendar year starting on January 1, 2018 and for any
                                                                                   portion thereof as prescribed in such subdivision {e):
                                                              9903.80.0S                  Hot-rolled sheet, provided for in subheading
                                                                                          7208.10.60, 7208.26.00, 7208.27.00, 7208.38.00,
                                                                                          7208.39.00, 7208.40.60, 7208.53.00, 7208.54.00,
                                                                                          n:o8.9o.oo, 7225.30.70 or 7225.40.70 ..........................                          Free

                                                              9903.80.06                   Hot-rolled strip, provided for in subheading
                                                                                           7211.19.15, 7211.19.20, 7211.19.30, 7211.19.45,
                                                                                           7211.19.60, 7211.19.75, 7226.91.70 or
                                                                                           7226.91.80 ..........................................................................   Free

                                                              9903.80.07                   Hot-rolled plate, in coils, provided for in subheading
                                                                                           7208.10.15, 7208.10.30, 7208.25.30, 7208.25.60,
                                                                                           7208.36.00, 7208.37.00, 7211.14.00 {except for
                                                                                           statistical reporting numbers 7211.14.0030 and
                                                                                           7211.14.0045) or 7225.30.30 ...........................................                 Free

                                                              9903.80.08                   Cold-rolled sheet and other products, provided for in
                                                                                           subheading 7209.15.00, 7209.16.00, 7209.17.00,
                                                                                           7209.18.15, 7209.18.60, 7209.25.00, 7209.26.00,
                                                                                           7209.27.00, 7209.28.00, 7209.90.00, 7210.70.30,
                                                                                           7225.50.70, 7225.50.80 or 7225.99.00 ........................                           Free

                                                              9903.80.09                   Cold-rolled strip and other products, provided for in
                                                                                           subheading 7211.23.15, 7211.23.20, 7211.23.30,
                                                                                           7211.23.45, 7211.23.60, 7211.29.20, 7211.29.45,
                                                                                           7211.29.60, 7211.90.00, 7212.40.10, 7212.40.50,
                                                                                           7226.92.50, 7226.92.70, 7226.92.80 or 7226.99.01
                                                                                           (except for statistical reporting numbers
                                                                                           7226.99.0110 and 7226.99.0130) ...................................                      Free

                                                              9903.80.10                   Cold-rolled black plate, provided for in subheading
                                                                                           7209.18.25 ..........................................................................   Free

                                                              9903.80.11                   Plate in cut lengths, provided for in subheading
                                                                                           7208.40.30, 7208.51.00, 7208.52.00, 7210.90.10,
                                                                                           7211.13.00, 7211.14.00 (except for statistical
                                                                                           reporting number 7211.14.0090), 7225.40.30,
                                                                                           7225.50.60 or 7226.91.50 ................................................               Free
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                                                                                                                                                                                                Rates of Duty

                                                                 Heading/                                           Article description                                                         1               2
                                                                Subheading
                                                                                                                                                                                     General        Special


                                                               9903.80.12                    Flat-rolled products, hot-dipped, provided for in
                                                                                             subheading 7210.41.00, 7210.49.00, 7210.70.60
                                                                                             (except for statistical reporting numbers
                                                                                             7210.70.6030 and 7210.70.6090), 7212.30.10,
                                                                                             7212.30.30, 7212.30.50, 7225.92.00 or 7226.99.01
                                                                                             (except for statistical reporting numbers
                                                                                             7226.99.0110 and 7226.99.0180) ...................................                      Free

                                                               9903.80.13                   Flat-rolled products, coated, provided for in
                                                                                            subheading 7210.20.00, 7210.61.00, 7210.69.00,
                                                                                            7210.70.60 (except for statistical reporting numbers
                                                                                            7210.70.6030 and 7210.70.6060), 7210.90.60,
                                                                                            7210.90.90, 7212.50.00 or 7212.60.00 ...........................                         Free

                                                               9903.80.14                    Tin-free steel, provided for in subheading
                                                                                             7210.50.00 ..........................................................................   Free

                                                               9903.80.15                    Tin plate, provided for in subheading 7210.11.00,
                                                                                             7210.12.00 or 7212.10.00 ................................................               Free

                                                               9903.80.16                    Silicon electrical steel sheets and strip, provided for
                                                                                             in subheading 7225.11.00, 7225.19.00, 7226.11.10,
                                                                                             7226.11.90, 7226.19.10 or 7226.19.90 ..........................                         Free

                                                               9903.80.17                    Sheets and strip electrolytically coated or plated with
                                                                                             zinc, provided for in subheading 7210.30.00,
                                                                                             7210.70.60 (except for statistical reporting numbers
                                                                                             7210.70.6060 and 7210.70.6090), 7212.20.00,
                                                                                             7225.91.00 or 7226.99.01 (except for statistical
                                                                                             reporting numbers 7226.99.0130 and
                                                                                             7226.99.0180) ....................................................................      Free

                                                               9903.80.18                    Oil country pipe and tube goods, provided for in
                                                                                             subheading 7304.23.30, 7304.23.60, 7304.29.10,
                                                                                             7304.29.20, 7304.29.31, 7304.29.41, 7304.29.50,
                                                                                             7304.29.61, 7305.20.20, 7305.20.40, 7305.20.60,
                                                                                             7305.20.80, 7306.29.10, 7306.29.20, 7306.29.31,
                                                                                             7306.29.41, 7306.29.60 or 7306.29.81.. .......................                          Free
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                                                                                                                                                                                               Rates of Duty

                                                                 Heading/                                          Article description                                                         1               2
                                                                Subheading
                                                                                                                                                                                    General        Special

                                                              9903.80.19                    line pipe exceeding 406.4 mm in outside diameter,
                                                                                            provided for in subheading 7304.19.10 (except for
                                                                                            statistical reporting numbers 7304.19.1020,
                                                                                            7304.19.1030, 7304.19.1045 and 7304.19.1060),
                                                                                            7304.19.50 (except for statistical reporting numbers
                                                                                            7304.19.5020 and 7304.19.5050), 7305.11.10,
                                                                                            7305.11.50, 7305.12.10, 7305.12.50, 7305.19.10 or
                                                                                            7305.19.50 ..........................................................................   Free

                                                              9903.80.20                    line pipe not exceeding 406.4 mm in outside
                                                                                            diameter, provided for in subheading 7304.19.10
                                                                                            (except for statistical reporting number
                                                                                            7304.19.1080), 7304.19.50 (except for statistical
                                                                                            reporting number 7304.19.5080), 7306.19.10 (except
                                                                                            for statistical reporting number 7306.19.1050) or
                                                                                            7306.19.51 (except for statistical reporting number
                                                                                            7306.19.5150) ....................................................................      Free

                                                              9903.80.21                    Other line pipe, provided for in subheading
                                                                                            7306.19.10 (except for statistical reporting number
                                                                                            7306.19.1010) or 7306.19.51 (except for statistical
                                                                                            reporting number 7306.19.5110) ...................................                      Free

                                                              9903.80.22                    Standard pipe, provided for in subheading
                                                                                            7304.39.00 (except for statistical reporting numbers
                                                                                            7304.39.0002, 7304.39.0004, 7304.39.0006,
                                                                                            7304.39.0008, 7304.39.0028, 7304.39.0032,
                                                                                            7304.39.0040, 7304.39.0044, 7304.39.0052,
                                                                                            7304.39.0056, 7304.39.0068 and 7304.39.0072),
                                                                                            7304.59.80 (except for statistical reporting numbers
                                                                                            7304.59.8020, 7304.59.8025, 7304.59.8035,
                                                                                            7304.59.8040, 7304.59.8050, 7304.59.8055,
                                                                                            7304.59.8065 and 7304.59.8070) or 7306.30.50
                                                                                            (except for statistical reporting numbers
                                                                                            7306.30.5010, 7306.30.5015, 7306.30.5020 and
                                                                                            7306.30.5035) ....................................................................      Free

                                                              9903.80.23                    Structural pipe and tube, provided for in subheading
                                                                                            7304.90.10, 7304.90.30, 7305.31.20, 7305.31.40,
                                                                                            7305.31.60 (except for statistical reporting number
                                                                                            7305.31.6010), 7306.30.30, 7306.50.30, 7306.61.10,
                                                                                            7306.61.30, 7306.69.10 or 7306.69.30 ..........................                         Free
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                                                                                                                                                                                            Rates of Duty

                                                                 Heading/                                         Article description                                                       1               2
                                                                Subheading
                                                                                                                                                                                 General        Special

                                                              9903.80.24                    Mechanical tubing and other products, provided for
                                                                                            in subheading 7304.31.30, 7304.31.60 (except for
                                                                                            statistical reporting number 7304.31.6010),
                                                                                            7304.39.00 (except for statistical reporting numbers
                                                                                            7304.39.0002, 7304.39.0004, 7304.39.0006,
                                                                                            7304.39.0008, 7304.39.0016, 7304.39.0020,
                                                                                            7304.39.0024, 7304.39.0036, 7304.39.0048,
                                                                                            7304.39.0062, 7304.39.0076 and 7304.39.0080),
                                                                                            7304.51.10, 7304.51.50 (except for statistical
                                                                                            reporting numbers 7304.51.5005, 7304.51.5015 and
                                                                                            7304.51.5045), 7304.59.10, 7304.59.60, 7304.59.80
                                                                                            (except for statistical reporting numbers
                                                                                            7304.59.8010, 7304.59.8015, 7304.59.8030,
                                                                                            7304.59.8045, 7304.59.8060 and 7304.59.8080),
                                                                                            7304.90.50, 7304.90.70, 7306.30.10, 7306.30.50
                                                                                            (except for statistical reporting numbers
                                                                                            7306.30.5010, 7306.30.5025, 7306.30.5028,
                                                                                            7306.30.5032, 7306.30.5040, 7306.30.5055,
                                                                                            7306.30.5085 and 7306.30.5090), 7306.50.10,
                                                                                            7306.50.50 (except for statistical reporting number
                                                                                            7306.50.5010), 7306.61.50, 7306.61.70 (except for
                                                                                            statistical reporting number 7306.61. 7030),
                                                                                            7306.69.50 or 7306.69.70 (except for statistical
                                                                                            reporting number 7306.69.7030) ...................................                   Free

                                                              9903.80.25                    Pressure tubing and other products, provided for in
                                                                                            subheading 7304.31.60 (except for statistical
                                                                                            reporting number 7304.31.6050), 7304.39.00 (except
                                                                                            for statistical reporting numbers 7304.39.0016,
                                                                                            7304.39.0020, 7304.39.0024, 7304.39.0028,
                                                                                            7304.39.0032, 7304.39.0036, 7304.39.0040,
                                                                                            7304.39.0044, 7304.39.0048, 7304.39.0052,
                                                                                            7304.39.0056, 7304.39.0062, 7304.39.0068,
                                                                                            7304.39.0072, 7304.39.0076 and 7304.39.0080),
                                                                                            7304.51.50 (except for statistical reporting numbers
                                                                                            7304.51.5005 and 7304.51.5060), 7304.59.20,
                                                                                            7306.30.50 (except for statistical reporting numbers
                                                                                            7306.30.5015, 7306.30.5020, 7306.30.5025,
                                                                                            7306.30.5028, 7306.30.5032, 7306.30.5035,
                                                                                            7306.30.5040, 7306.30.5055, 7306.30.5085 and
                                                                                            7306.30.5090) or 7306.50.50 (except for statistical
                                                                                            reporting numbers 7306.50.5030, 7306.50.5050 and
                                                                                            7306.50.5070) ....................................................................   Free

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                                                                                                                                                                                                  Rates of Duty

                                                                      Heading/                                         Article description                                                        1               2
                                                                     Subheading
                                                                                           -
                                                                                                                                                                                        General       Special

                                                                    9903.80.26                 Tubes or pipes for piling and other products,
                                                                                               provided for in subheading 7305.39.10 or
                                                                                               7305.39.50 ..........................................................................    Free

                                                                    9903.80.27                  Pipes and tubes, not specially provided for, provided
                                                                                                for in subheading 7304.51.50 (except for statistical
                                                                                                reporting numbers 7304.51.5015, 7304.51.5045 and
                                                                                                7304.51.5060}, 7305.90.10, 7305.90.50, 7306.90.10
                                                                                                or 7306.90.50 .....................................................................     Free

                                                                    9903.80.28                  Hot-rolled sheet of stainless steel, provided for in
                                                                                                subheading 7219.13.00, 7219.14.00, 7319.23.00 or
                                                                                                7219.24.00 ..........................................................................   Free

                                                                    9903.80.29                  Hot-rolled strip of stainless steel and other products,
                                                                                                provided for in subheading 7220.12.10 or
                                                                                                7220.12.50 ..........................................................................   Free

                                                                    9903.80.30                  Hot-rolled plate of stainless steel, in coils, and other
                                                                                                products, provided for in subheading 7219.11.00 or
                                                                                                7219.12.00 ..........................................................................   Free

                                                                    9903.80.31                  Cold-rolled sheet of stainless steel and other
                                                                                                products, provided for in subheading 7219.32.00,
                                                                                                7219.33.00, 7219.34.00, 7219.35.00 or 7219.90.00 ....                                   Free

                                                                    9903.80.32                  Cold-rolled strip of stainless steel, provided for in
                                                                                                subheading 7220.20.10, 7220.20.60, 7220.20.70,
                                                                                                7220.20.80, 7220.20.90 or 7220.90.00..........................                          Free

                                                                    9903.80.33                  Cold-rolled plate of stainless steel, in coils, provided
                                                                                                for in subheading 7219.31.00 (except for statistical
                                                                                                reporting number 7219.31.0050) ...................................                      Free

                                                                    9903.80.34                  Wire of stainless steel, drawn, provided for in
                                                                                                subheading 7223.00.10, 7223.00.50 or 7223.00.90 .....                                   Free

                                                                    9903.80.35                  Pipes and tubes of stainless steel, provided for in
                                                                                                subheading 7304.41.30, 7304.41.60, 7304.49.00,
                                                                                                7305.31.60 (except for statistical reporting number
                                                                                                7305.31.6090}, 7306.40.10, 7306.40.50, 7306.61.70
                                                                                                (except for statistical reporting number
                                                                                                7306.61.7060) or 7306.69.70 (except for statistical
                                                                                                reporting number 7306.69.7060} ...................................                      Free

                                                                    9903.80.36                  Line pipe of stainless steel, provided for in
                                                                                                subheading 7304.11.00 or 7306.11.00 ...........................                         Free
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                                                                                                                                                                                            Rates of Duty
                                                                                                                                                          -
                                                               Heading/                                          Article description                                                        1               2
                                                              Subheading
                                                                                                                                                                                  General       Special




                                                             9903.80.37                   Bars and rods of stainless steel, cold finished,
                                                                                          provided for in subheading 7222.20.00 or
                                                                                          7222.30.00 ..........................................................................   Free

                                                             9903.80.38                   Bars and rods of stainless steel, hot-rolled, provided
                                                                                          for in heading 7221.00.00 (except for statistical
                                                                                                                                                                           .
                                                                                          reporting numbers 7221.00.0017, 7221.00.0018 and
                                                                                          7221.00.0030) or subheading 7222.11.00,
                                                                                          7222.19.00 or 7222.40.30 (except for statistical
                                                                                          reporting numbers 7222.40.3025 and
                                                                                          7222.40.3045 )....................................................................      Free

                                                             9903.80.39                   Blooms, billets and slabs of stainless steel and other
                                                                                          products, provided for in subheading 7218.91.00 and
                                                                                          7218.99.00 ..........................................................................   Free

                                                             9903.80.40                   Oil country pipe and tube goods of stainless steel
                                                                                          and other products, provided for in subheading
                                                                                          7304.22.00, 7304.24.30, 7304.24.40, 7304.24.60,
                                                                                          7306.21.30, 7306.21.40 or 7306.21.80 ..........................                         Free

                                                             9903.80.41                   Ingot and other primary forms of stainless steel,
                                                                                          provided for in subheading 7218.10.00 .........................                         Free

                                                             9903.80.42                   Flat-rolled products of stainless steel, provided for in
                                                                                          subheading 7219.21.00, 7219.22.00, 7219.31.00
                                                                                          (except for statistical reporting number
                                                                                          7219.31.0010) or 7220.11.00 ..........................................                  Free

                                                             9903.80.43                   Bars and rods, hot-rolled, in irregularly wound coils,
                                                                                          of stainless steel, provided for in heading 7221.00.00
                                                                                          (except for statistical reporting numbers
                                                                                          7221.00.0005, 7221.00.0045 and 7221.00.0075) .........                                  Free

                                                             9903.80.44                   Angles, shapes and sections of stainless steel,
                                                                                          provided for in subheading 7222.40.30 (except for
                                                                                          statistical reporting numbers 7222.40.3065 and
                                                                                          7222.40.3085) or 7222.40.60 ..........................................                  Free

                                                             9903.80.45                   Angles, shapes and sections, provided for in
                                                                                          subheading 7216.31.00, 7216.32.00, 7216.33.00,
                                                                                          7216.40.00, 7216.50.00, 7216.99.00, 7228.70.30
                                                                                          (except for statistical reporting numbers
                                                                                          7228.70.3060 and 7228.70.3081) or 7228. 70.60 ..........                                Free
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                                                                                                                                                                                               Rates of Duty

                                                                 Heading/                                          Article description                                                         1               2
                                                                Subheading
                                                                                                                                                                                    General        Special




                                                              9903.80.46                    Bars and rods, hot-rolled, in irregularly wound coils,
                                                                                            provided for in subheading 7213.91.30, 9213.91.45,
                                                                                            7213.91.60, 7213.99.00 (except for statistical
                                                                                            reporting number 7213.99.0060), 7227.20.00 (except
                                                                                            for statistical reporting number 7227.20.0080) or
                                                                                            7227.90.60 (except for statistical reporting numbers
                                                                                            7227.90.6005, 7227.90.6010, 7227.90.6040 and
                                                                                            7227.90.6090) .................................................................         Free

                                                              9903.80.47                    Wire (other than of stainless steel), provided for in
                                                                                            subheading 7217.10.10, 7217.10.20, 7217.10.30,
                                                                                            7217.10.40, 7217.10.50, 7217.10.60, 7217.10.70,
                                                                                            7217.10.80, 7217.10.90, 7217.20.15, 7217.20.30,
                                                                                            7217.20.45, 7217.20.60, 7217.20.75, 7217.30.15,
                                                                                            7217.30.30, 7217.30.45, 7217.30.60, 7217.30.75,
                                                                                            7217.90.10, 7217.90.50, 7229.20.00, 7229.90.10,
                                                                                            7229.90.50 or 7229.90.90 ................................................               Free

                                                              9903.80.48                    Bars, hot-rolled, not of stainless steel, provided for in
                                                                                            subheading 7213.20.00, 7213.99.00 (except for
                                                                                            statistical reporting numbers 7213.99.0030 and
                                                                                            7213.99.0090), 7214.10.00, 7214.30.00, 7214.91.00,
                                                                                            7214.99.00, 7215.90.10, 7227.20.00 (except for
                                                                                            statistical reporting number 7227.20.0030),
                                                                                            7227.90.60 (except for statistical reporting numbers
                                                                                            7227.90.6020, 7227.90.6030 and 7227.90.6035),
                                                                                            7228.20.10, 7228.30.80 (except for statistical
                                                                                            reporting number 7228.30.8010), 7228.40.00,
                                                                                            7228.60.60 or 7228.80.00 ................................................               Free

                                                              9903.80.49                    Bars, cold-finished, not of stainless steel, provided
                                                                                            for in subheading 7215.10.00, 7215.50.00,
                                                                                            7215.90.30, 7215.90.50, 7228.20.50, 7228.50.50 or
                                                                                            7228.60.80 ..........................................................................   Free

                                                              9903.80.50                    Angles, shapes and sections of a type known as
                                                                                            "light-shaped bars" and other products, provided for
                                                                                            in subheading 7216.10.00, 7216.21.00, 7216.22.00 or
                                                                                            7228.70.30 (except for statistical reporting numbers
                                                                                            7228.70.3010, 7228.70.3020 and 7228.70.3041) .........                                  Free

                                                              9903.80.51                    Reinforcing bars, provided for in subheading
                                                                                            7213.10.00, 7214.20.00 or 7228.30.80 (except for
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                                                                                                                                                                                                Rates of Duty

                                                                 Heading!                                          Article description                                                          1               2
                                                                Subheading
                                                                                                                                                                                    General         Special

                                                                                            statistical reporting numbers 7228.30.8005,
                                                                                            7228.30.8015, 7228.30.8041, 7228.30.8045 and
                                                                                            7228.30.8070) ....................................................................      Free

                                                              9903.80.52                    Sheet piling, provided for in subheading
                                                                                            7301.10.00 ..........................................................................   Free

                                                              9903.80.53                    Nonumerated railroad goods, provided for in
                                                                                            subheading 7302.40.00, 7302.90.10 and
                                                                                            7302.90.90 ..........................................................................   Free

                                                              9903.80.54                    Rails other than those known as "standard rails,"
                                                                                            provided for in subheading 7302.10.10 (except for
                                                                                            statistical reporting numbers 7302.10.1010,
                                                                                            7302.10.1035, 7302.10.1065 and
                                                                                            7302.10.1075) ....................................................................      Free

                                                              9903.80.55                    Rails known as "standard rails," provided for in
                                                                                            subheading 7302.10.10 (except for statistical
                                                                                            reporting numbers 7302.10.1015, 7302.10.1025,
                                                                                            7302.10.1045 and 7302.10.1055) or
                                                                                            7302.10.50 ..........................................................................   Free

                                                              9903.80.56                    Products of tool steel and other products, provided
                                                                                            for in subheading 7224.10.00 (except for statistical
                                                                                            reporting numbers 7224.10.0005 and 7224.10.0075),
                                                                                            7224.90.00 (except for statistical reporting numbers
                                                                                            7224.90.0005, 7224.90.0045, 7224.90.0055,
                                                                                            7224.90.0065 and 7224.90.0075), 7225.30.11,
                                                                                            7225.30.51, 7225.40.11, 7225.40.51, 7225.50.11,
                                                                                            7226.20.00, 7226.91.05, 7226.91.15, 7226.91.25,
                                                                                            7226.92.10, 7226.92.30, 7227.10.00, 7227.90.10,
                                                                                            7227.90.20, 7228.10.00, 7228.30.20, 7228.30.40,
                                                                                            7228.30.60, 7228.50.10, 7228.60.10 or
                                                                                            7229.90.05 ..........................................................................   Free

                                                              9903.80.57                    Blooms, billets and slabs, semi-finished, provided for
                                                                                            in subheading 7207.11.00, 7207.12.00, 7207.19.00,
                                                                                            7207.20.00 or 7224.90.00 (except for statistical
                                                                                            reporting numbers 7224.90.0015, 7224.90.0025, and
                                                                                            7224.90.0035) .....................................................................     Free

                                                              9903.80.58                    Ingots, provided for in subheading 7206.10.00,
                                                                                            7206.90.00 or 7224.10.00 (except for statistical
                                                                                            reporting number 7224.10.0045) ....................................                     Free
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                                                              B. For the purposes of administering the quantitative limitations applicable to subheadings
                                                              9903.80.05 through 9903.80.58 (as created in part A of this annex), the following annual
                                                              aggregate limits shall apply for the period starting with calendar year 2018 and for subsequent
                                                              years, unless modified or terminated:



                                                                                                                                SOUTH KOREA




                                                                      Heading/
                                                                                                                         Article description
                                                                     Subheading                                                                                                                 Quantitative Limitation


                                                                                          Iron or steel products of South Korea enumerated in U.S.
                                                                                          note 16(b) to this subchapter, if entered in aggregate
                                                                                          quantities prescribed in subdivision (e) of such note for any
                                                                                          calendar year starting on January 1, 2018 and for any portion
                                                                                          thereof as prescribed in such subdivision (e):
                                                                    9903.80.05                   Hot-rolled sheet, provided for in subheading
                                                                                                 7208.10.60, 7208.26.00, 7208.27.00, 7208.38.00,
                                                                                                 7208.39.00, 7208.40.60, 7208.53.00, 7208.54.00,
                                                                                                 7208.90.00,7225.30.70 or 7225.40.70..............................                         404,694,045 kg

                                                                    9903.80.06                   Hot-rolled strip, provided for in subheading
                                                                                                 7211.19.15, 7211.19.20, 7211.19.30, 7211.19.45,
                                                                                                 7211.19.60, 7211.19.75, 7226.91.70 or
                                                                                                 7226.91.80.............................................................................   249,173 kg

                                                                    9903.80.07                   Hot-rolled plate, in coils, provided for in subheading
                                                                                                 7208.10.15, 7208.10.30, 7208.25.30, 7208.25.60,
                                                                                                 7208.36.00, 7208.37.00, 7211.14.00 (except for
                                                                                                 statistical reporting numbers 7211.14.0030 and
                                                                                                 7211.14.0045) or 7225.30.30..............................................                 125,346,920 kg

                                                                    9903.80.08                   Cold-rolled sheet, and other products, provided for in
                                                                                                 subheading 7209.15.00, 7209.16.00, 7209.17.00,
                                                                                                 7209.18.15, 7209.18.60, 7209.25.00, 7209.26.00,
                                                                                                 7209.27.00, 7209.28.00, 7209.90.00, 7210.70.30,
                                                                                                 7225.50.70, 7225.50.80 or 7225.99.00............................                          90,336,230 kg

                                                                    9903.80.09                   Cold-rolled strip, and other products, provided for in
                                                                                                 subheading 7211.23.15, 7211.23.20, 7211.23.30,
                                                                                                 7211.23.45, 7211.23.60, 7211.29.20, 7211.29.45,
                                                                                                 7211.29.60, 7211.90.00, 7212.40.10, 7212.40.50,
                                                                                                 7226.92.50, 7226.92.70, 7226.92.80 or 7226.99.01
                                                                                                 (except for statistical reporting numbers 7226.99.0110
                                                                                                 and 7226.99.0130)...............................................................          3,207,110 kg
daltland on DSKBBV9HB2PROD with PRES DOCS 2




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                                                                 Heading/                                           Article description
                                                                Subheading                                                                                                                  Quantitative Limitation



                                                              9903.80.10                    Cold-rolled black plate, provided for in subheading
                                                                                            7209.18.25 ............................................................................ .   34,385,821 kg

                                                              9903.80.11                    Plate in cut lengths, provided for in subheading
                                                                                            7208.40.30, 7208.51.00, 7208.52.00, 7210.90.10,
                                                                                            7211.13.00, 7211.14.00 (except for statistical reporting
                                                                                            number 7211.14.0090), 7225.40.30, 7225.50.60 or
                                                                                            7226.91.50.............................................................................     202,530,628 kg

                                                              9903.80.12                    Flat-rolled products, hot-dipped, provided for in
                                                                                            subheading 7210.41.00, 7210.49.00, 7210.70.60
                                                                                            (except for statistical reporting numbers 7210.70.6030
                                                                                            and 7210.70.6090), 7212.30.10, 7212.30.30,
                                                                                            7212.30.50, 7225.92.00 or 7226.99.01 (except for
                                                                                            statistical reporting numbers 7226.99.0110 and
                                                                                            7226.99.0180)........................................................................       166,310,597 kg

                                                              9903.80.13                    Flat-rolled products, coated, provided for in
                                                                                            subheading 7210.20.00, 7210.61.00, 7210.69.00,
                                                                                            7210.70.60 (except for statistical reporting numbers
                                                                                            7210.70.6030 and 7210.70.6060), 7210.90.60,
                                                                                            7210.90.90, 7212.50.00 or 7212.60.00..............................                          190,840,544 kg

                                                              9903.80.14                    Tin-free steel, provided for in subheading
                                                                                            7210.50.00.............................................................................     18,374,353 kg

                                                              9903.80.15                    Tin plate, provided for in subheading 7210.11.00,
                                                                                            7210.12.00 or 7212.10.00....................................................                54,749,093 kg

                                                              9903.80.16                    Silicon electrical steel sheets and strip, provided for in
                                                                                            subheading 7225.11.00, 7225.19.00, 7226.11.10,
                                                                                            7226.11.90, 7226.19.10 or 7226.19.90..............................                          7,505,976 kg

                                                              9903.80.17                    Sheets and strip electrolytically coated or plated with
                                                                                            zinc, provided for in subheading 7210.30.00,
                                                                                            7210.70.60 (except for statistical reporting numbers
                                                                                            7210.70.6060 and 7210.70.6090), 7212.20.00,
                                                                                            7225.91.00 or 7226.99.01 (except for statistical
                                                                                            reporting numbers 7226.99.0130 and 7226.99.0180)....                                        13,094,743 kg
daltland on DSKBBV9HB2PROD with PRES DOCS 2




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                                                                Heading/
                                                                                                                    Article description
                                                               Subheading                                                                                                                 Quantitative Limitation



                                                             9903.80.18                    Oil country pipe and tube goods, provided for in
                                                                                           subheading 7304.23.30, 7304.23.60, 7304.29.10,
                                                                                           7304.29.20, 7304.29.31, 7304.29.41, 7304.29.50,
                                                                                           7304.29.61, 7305.20.20, 7305.20.40, 7305.20.60,
                                                                                           7305.20.80, 7306.29.10, 7306.29.20, 7306.29.31,
                                                                                           7306.29.41, 7306.29.60 or 7306.29.81..............................                         460,867,818 kg

                                                             9903.80.19                    Line pipe exceeding 406.4 mm in outside diameter,
                                                                                           provided for in subheading 7304.19.10 (except for
                                                                                           statistical reporting numbers 7304.19.1020,
                                                                                           7304.19.1030, 7304.19.1045 and 7304.19.1060),
                                                                                           7304.19.50 (except for statistical reporting numbers
                                                                                           7304.19.5020 and 7304.19.5050), 7305.11.10,
                                                                                           7305.11.50, 7305.12.10, 7305.12.50, 7305.19.10 or
                                                                                           7305.19.50..............................................................................   125,646,499 kg

                                                             9903.80.20                    Line pipe not exceeding 406.4 mm in outside diameter,
                                                                                           provided for in subheading 7304.19.10 (except for
                                                                                           statistical reporting number 7304.19.1080),
                                                                                           7304.19.50 (except for statistical reporting number
                                                                                           7304.19.5080), 7306.19.10 (exceptfor statistical
                                                                                           reporting number 7306.19.1050) or 7306.19.51
                                                                                           (except for statistical reporting number
                                                                                           7306.19.5150)........................................................................      51,383,847 kg

                                                             9903.80.21                    Other line pipe, provided for in subheading 7306.19.10
                                                                                           (except for statistical reporting number 7306.19.1010)
                                                                                           or 7306.19.51 (except for statistical reporting number
                                                                                           7306.19.5110).......................................................................       250,007,048 kg

                                                             9903.80.22                    Standard pipe, provided for in subheading 7304.39.00
                                                                                           (except for statistical reporting numbers 7304.39.0002,
                                                                                           7304.39.0004, 7304.39.0006, 7304.39.0008,
                                                                                           7304.39.0028, 7304.39.003i, 7304.39.0040,
                                                                                           73Q4.39.0044, 7304.39.0052, 7304.39.0056,
                                                                                           7304.39.0068 and 7304.39.0072), 7304.59.80 (except
                                                                                           for statistical reporting numbers 7304.59.8020,
                                                                                           7304.59.8025, 7304.59.8035, 7304.59.8040,
                                                                                           7304.59.8050, 7304.59.8055, 7304.59.8065 and
                                                                                           7304.59.8070) or 7306.30.50 (except for statistical
                                                                                           reporting numbers 7306.30.5010, 7306.30.5015,
                                                                                           7306.30.5020 and 7306.30.5035).......................................                      69,469,685 kg
daltland on DSKBBV9HB2PROD with PRES DOCS 2




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                                                                     Heading/                                        Article description
                                                                    Subheading                                                                                                            Quantitative Limitation



                                                               9903.80.23                     Structural pipe and tube, provided for in subheading
                                                                                              7304.90.10, 7304.90.30, 7305.31.20, 7305.31.40,
                                                                                              7305.31.60 (except for statistical reporting number
                                                                                              7305.31.6010), 7306.30.30, 7306.50.30, 7306.61.10,
                                                                                              7306.61.30, 7306.69.10 or 7306.69.30 ........................... ,..                    54,003,708 kg

                                                               9903.80.24                     Mechanical tubing and other products, provided for in
                                                                                              subheading 7304.31.30, 7304.31.60 (except for
                                                                                              statistical reporting numbers 7304.31.6010),
                                                                                              7304.39.00 (except for statistical reporting numbers
                                                                                              7304.39.0002, 7304.39.0004, 7304.39.0006,
                                                                                              7304.39.0008, 7304.39.0016, 7304.39.0020,
                                                                                              7304.39.0024, 7304.39.0036, 7304.39.0048,
                                                                                              7304.39.0062, 7304.39.0076 and 7304.39.0080),
                                                                                              7304.51.10, 7304.51.50 (except for statistical reporting
                                                                                              numbers 7304.51.5005, 7304.51.5015 and
                                                                                              7304.51.5045), 7304.59.10, 7304.59.60, 7304.59.80
                                                                                              (except for statistical reporting numbers 7304.59.8010,
                                                                                              7304.59.8015, 7304.59.8030, 7304.59.8045,
                                                                                              7304.59.8060 and 7304.59.8080), 7304.90.50,
                                                                                              7304.90.70, 7306.30.10, 7306.30.50 (except for
                                                                                              statistical reporting numbers 7306.30.5010,
                                                                                              7306.30.5025, 7306.30.5028, 7306.30.5032,
                                                                                              7306.30.5040, 7306.30.5055, 7306.30.5085 and
                                                                                              7306.30.5090), 7306.50.10, 7306.50.50 (except for
                                                                                              statistical reporting number 7306.50.5010),
                                                                                              7306.61.50, 7306:61.70 (except for statistical reporting
                                                                                              number 7306.61.7030), 7306.69.50 or 7306.69.70
                                                                                              (except for statistical reporting number
                                                                                              7306.69.7030)........................................................................   8,438,050 kg
daltland on DSKBBV9HB2PROD with PRES DOCS 2




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                                                                     Heading/                                         Article description
                                                                    Subheading                                                                                                              Quantitative Limitation



                                                               9903.80.25                     Pressure tubing and other products, provided for in
                                                                                              subheading 7304.31.60 (except for statistical reporting
                                                                                              number 7304.31.6050), 7304.39.00 (except for
                                                                                              statistical reporting numbers 7304.39.0016,
                                                                                              7304.39.0020, 7304.39.0024, 7304.39.0028,
                                                                                              7304.39.0032, 7304.39.0036, 7304.39.0040,
                                                                                              7304.39.0044, 7304.39.0048, 7304.39.0052,
                                                                                              7304.39.0056, 7304.39.0062, 7304.39.0068,
                                                                                              7304.39.0072, 7304.39.0076 and 7304.39.0080),
                                                                                              7304.51.50 (except for statistical reporting numbers
                                                                                              7304.51.5005 and 7304.51.5060), 7304.59.20,
                                                                                              7306.30.50 (except for statistical reporting numbers
                                                                                              7306.30.5015, 7306.30.5020, 7306.30.5025,
                                                                                              7306.30.5028, 7306.30.5032, 7306.30.5035,
                                                                                              7306.30.5040, 7306.30.5055, 7306.30.5085 and
                                                                                              7306.30.5090) or 7306.50.50 (except for statistical
                                                                                              reporting numbers 7306.50.5030, 7306.50.5050 and
                                                                                              7306.50.5070)........................................................................     1,172,695 kg

                                                               9903.80.26                     Tubes or pipes for piling and other products, provided
                                                                                              for in subheading 7305.39.10 or 7305.39.50...................                             4,807,122 kg

                                                               9903.80.27                     Pipes and tubes, not specially provided for, provided
                                                                                              for in subheading 7304.51.50 (except for statistical
                                                                                              reporting numbers 7304.51.5015, 7304.51.5045 and
                                                                                              7304.51.5060), 7~05.90.10, 7305.90.50,7306.90.10 or
                                                                                              7306.90.50.............................................................................   449,740 kg

                                                               9903.80.28                     Hot-rolled sheet of stainless steel, provided for in
                                                                                              subheading 7219.13.00, 7219.14.00, 7319.23.00 or
                                                                                              7219.24.00.............................................................................   1,172,992 kg

                                                               9903.80.29                     Hot-rolled strip of stainless steel and other products,
                                                                                              provided for in subheading 7220.12.10 or 7220.12.50...                                    13,346 kg

                                                               9903.80.30                     Hot-rolled plate of stainless steel, in coils, and other
                                                                                              products, provided for in subheading 7219.11.00 or
                                                                                              7219.12.00............................................................................    218,649 kg

                                                               9903.80.31                     Cold-rolled sheet of stainless steel and other products,
                                                                                              provided for in subheading 7219.32.00, 7219.33.00,
                                                                                              7219.34.00, 7219.35.00 or
                                                                                              7219.90.00............................................................................    13,460,008 kg
daltland on DSKBBV9HB2PROD with PRES DOCS 2




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                                                                     Heading/
                                                                                                                       Article description
                                                                    Subheading                                                                                                               Quantitative Limitation




                                                                9903.80.32                     Cold-rolled strip of stainless steel, provided for in
                                                                                               subheading 7220.20.10, 7220.20.60, 7220.20.70,
                                                                                               7220.20.80, 7220.20.90 or 7220.90.00............................ ..                      1,649,722 kg

                                                                9903.80.33                     Cold-rolled plate of stainless steel, in coils, provided
                                                                                               for in subheading 7219.31.00 (except for statistical
                                                                                               reporting number 7219.31.0050} ...................................... .                  24,905 kg

                                                                9903.80.34                     Wire of stainless steel, drawn, provided for in
                                                                                               subheading 7223.00.10, 7223.00.50 or 7223.00.90 ........                                 5,338,007 kg

                                                                9903.80.35                    Pipes and tubes of stainless steel, provided for in
                                                                                              subheading 7304.41.30, 7304.41.60, 7304.49.00,
                                                                                              7305.31.60 (except for statistical reporting number
                                                                                              7305.31.6090}, 7306.40.10, 7306.40.50, 7306.61.70
                                                                                              (except 7306.61.7060} or 7306.69.70 (except for
                                                                                              statistical reporting number 7306.69.7060}......................                          12,602,387 kg

                                                                9903.80.36                    Line pipe of stainless steel, provided for in subheading
                                                                                              7304.11.00 or 7306.11.00....................................................              1,254,097 kg

                                                                9903.80.37                    Bars and rods of stainless steel, cold finished, provided
                                                                                              for in subheading 7222.20.00 or 7222.30.00.....................                           224,622 kg

                                                                9903.80.38                     Bars and rods of stainless steel, hot-rolled, provided
                                                                                               for in heading 7221.00.00 (except for statistical
                                                                                               reporting numbers 7221.00.0017, 7221.00.0018 and
                                                                                               7221.00.0030} or subheading 7222.11.00, 7222.19.00
                                                                                               or 7222.40.30 (except for statistical reporting numbers
                                                                                               7222.40.3025 and 7222.40.3045}.......................................                    45,391 kg

                                                                9903.80.39                     Blooms, billets and slabs of stainless steel and other
                                                                                               products, provided for in subheading 7218.91.00 and
                                                                                               7218.99.00............................................................................   110,360 kg

                                                                9903.80.40                     Oil country pipe and tube goods of stainless steel and
                                                                                               other products, provided for in subheading
                                                                                               7304.22.00, 7304.24.30, 7304.24.40, 7304.24.60,
                                                                                               7306.21.30, 7306.21.40 or 7306.21.80.............................                        3,500 kg

                                                                9903.80.41                     Ingot and other primary forms of stainless steel,
                                                                                               provided for in subheading 7218.10.00.............................                       215,467 kg
daltland on DSKBBV9HB2PROD with PRES DOCS 2




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                                                                     Heading/                                          Article description
                                                                    Subheading                                                                                                                    Quantitative Limitation




                                                               9903.80.42                     Flat-rolled products of stainless steel, provided for in
                                                                                              subheading 7219.21.00, 7219.22.00, 7219.31.00
                                                                                              (except for statistical reporting number 7219.31.0010)
                                                                                              or 7220.11.00 ....................................................................... .     2,329,416 kg

                                                               9903.80.43                     Bars and rods, hot-rolled, in irregularly wound coils, of
                                                                                              stainless steel, provided for in heading 7221.00.00
                                                                                              (except for statistical reporting numbers 7221.00.0005,
                                                                                              7221.00.0045 and 7221.00.0075) ...................................... .                     0 kg

                                                               9903.80.44                     Angles, shapes and sections of stainless steel, provided
                                                                                              for in subheading 7222.40.30 (except for statistical
                                                                                              reporting numbers 7222.40.3065 and 7222.40.3085) or
                                                                                              7222.40.60 ............................................................................ .   49 kg

                                                               9903.80.45                     Angles, shapes and sections, provided for in
                                                                                              subheading 7216.31.00, 7216.32.00, 7216.33.00,
                                                                                              7216.40.00, 7216.50.00, 7216.99.00, 7228.70.30
                                                                                              (except for statistical reporting numbers 7228.70.3060
                                                                                              and 7228.70.3081) or 7228.70.60......................................                       106,760,293 kg

                                                               9903.80.46                     Bars and rods, hot-rolled, in irregularly wound coils,
                                                                                              provided for in subheading 7213.91.30, 9213.91.45,
                                                                                              7213.91.60, 7213.99.00 (except for statistical reporting
                                                                                              number 7213.99.0060), 7227.20.00 (except for
                                                                                              statistical reporting number 7227.20.0080) or
                                                                                              7227.90.60 (except for statistical reporting numbers
                                                                                              7227.90.6005, 7227.90.6010, 7227.90.6040 and
                                                                                              7227.90.6090) .................... ;......................... ,.........................    56,474,925 kg

                                                               9903.80.47                     Wire (other than of stainless steel), provided for in
                                                                                              subheading 7217.10.10, 7217.10.20, 7217.10.30,
                                                                                              7217.10.40, 7217.10.50, 7217.10.60, 7217.10.70,
                                                                                              7217.10.80, 7217.10.90, 7217.20.15, 7217.20.30,
                                                                                              7217.20.45, 7217.20.60, 7217.20.75, 7217.30.15,
                                                                                              7217.30.30, 7217.30.45, 7217.30.60, 7217.30.75,
                                                                                              7217.90.10, 7217.90.50, 7229.20.00, 7229.90.10,
                                                                                              7229.90.50 or 7229.90.90....................................................                40,508,288 kg
daltland on DSKBBV9HB2PROD with PRES DOCS 2




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                                                                 Heading/
                                                                                                                    Article description
                                                                Subheading                                                                                                                   Quantitative Limitation




                                                              9903.80.48                    Bars, hot-rolled, not of stainless steel, provided for in
                                                                                            subheading 7213.20.00, 7213.99.00 (except for
                                                                                            statistical reporting numbers 7213.99.0030 and
                                                                                            7213.99.0090), 7214.10.00, 7214.30.00, 7214.91.00,
                                                                                            7214.99.00, 7215.90.10, 7227.20.00 (except for
                                                                                            statistical reporting number 7227.20.0030),
                                                                                            7227.90.60 (except for statistical reporting numbers
                                                                                            7227.90.6020, 7227.90.6030 and 7227.90.6035),
                                                                                            7228.20.10, 7228.30.80 (except for statistical reporting
                                                                                            number 7228.30.8010), 7228.40.00, 7228.60.60 or
                                                                                            7228.80.00.............................................................................   32,914,618 kg

                                                              9903.80.49                    Bars, cold-finished, not of stainless steel, provided for
                                                                                            in subheading 7215.10.00, 7215.50.00, 7215.90.30,
                                                                                            7215.90.50, 7228.20.50, 7228.50.50 or
                                                                                            7228.60.80.............................................................................   9,535,366 kg

                                                              9903.80.50                    Angles, shapes and sections of a type known as "light-
                                                                                            shaped bars" and other products, provided for in
                                                                                            subheading 7216.10.00, 7216.21.00, 7216.22.00 or
                                                                                            7228.70.30 (except for statistical reporting numbers
                                                                                            7228.70.3010, 7228.70.3020 and 7228.70.3041)............                                  1,150,356 kg

                                                              9903.80.51                    Reinforcing bars, provided for in subheading
                                                                                            7213.10.00, 7214.20.00 or 7228.30.80 (except for
                                                                                            statistical reporting numbers 7228.30.8005,
                                                                                            7228.30.8015, 7228.30.8041, 7228.30.8045 and
                                                                                            7228.30.8070)........................................................................     4,400,770 kg

                                                              9903.80.52                    Sheet piling, provided for in subheading
                                                                                            7301.10.00.............................................................................   0 kg

                                                              9903.80.53                    Nonumerated railroad goods, provided for in
                                                                                            subheading 7302.40.00, 7302.90.10 and
                                                                                            7302.90.90.............................................................................   109,715 kg

                                                              9903.80.54                    Rails other than those known as "standard rails,"
                                                                                            provided for in subheading 7302.10.10 (except for
                                                                                            statistical reporting numbers 7302.10.1010,
                                                                                            7302.10.1035, 7302.10.1065 and 7302.10.1075)............                                  467 kg
daltland on DSKBBV9HB2PROD with PRES DOCS 2




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                                                             Heading/
                                                                                                                Article description
                                                            Subheading                                                                                                               Quantitative Limitation




                                                         9903.80.55                      Rails known as "standard rails," provided for in
                                                                                         subheading 7302.10.10 (except for statistical reporting
                                                                                         numbers 7302.10.1015, 7302.10.1025, 7302.10.1045
                                                                                         and 7302.10.1055) or 7302.10.50 ......................................                  770 kg

                                                         9903.80.56                      Products of tool steel and other products, provided for
                                                                                         in subheading 7224.10.00 (except for statistical
                                                                                         reporting numbers 7224.10.0005 and 7224.10.0075),
                                                                                         7224.90.00 (except for statistical reporting numbers
                                                                                         7224.90.0005, 7224.90.0045, 7224.90.0055,
                                                                                         7224.90.0065 and 7224.90.0075), 7225.30.11,
                                                                                         7225.30.51, 7225.40.11, 7225.40.51, 7225.50.11,
                                                                                         7226.20.00, 7226.91.05, 7226.91.15, 7226.91.25,
                                                                                         7226.92.10, 7226.92.30, 7227.10.00, 7227.90.10,
                                                                                         7227.90.20, 7228.10.00, 7228.30.20, 7228.30.40,
                                                                                         7228.30.60, 7228.50.10, 7228.60.10 or
                                                                                         7229.90.05 ....................................................                         849,004 kg

                                                          9903.80.57                     Blooms, billets and slabs, semi-finished, provided for in
                                                                                         subheading 7207.11.00, 7207.12.00, 7207.19.00,
                                                                                         7207.20.00 or 7224.90.00 (except for statistical
                                                                                         reporting numbers 7224.90.0015, 7224.90.0025, and
                                                                                         7224.90.0035) .......................................................................   1,697,955 kg

                                                          9903.80.58                     Ingots, provided for in subheading 7206.10.00,
                                                                                         7206.90.00 or 7224.10.00 (except for statistical
                                                                                         reporting number 7224.10.0045) .......................................                  74,667 kg
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                                                   [FR Doc. 2018–09841

                                                   Filed 5–4–18; 11:15 a.m.]
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                         EXHIBIT 9
                                                      Case 1:19-cv-00009-CRK-GSK-JAR Document 17                                                  Filed 04/01/19              Page 386 of 473
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                                                                                                  Proclamation 9759 of May 31, 2018

                                                                                                  Adjusting Imports of Steel Into the United States

                                                                                                  By the President of the United States of America

                                                                                                  A Proclamation
                                                                                                  1. On January 11, 2018, the Secretary of Commerce (Secretary) transmitted
                                                                                                  to me a report on his investigation into the effect of imports of steel mill
                                                                                                  articles on the national security of the United States under section 232
                                                                                                  of the Trade Expansion Act of 1962, as amended (19 U.S.C. 1862).
                                                                                                  2. In Proclamation 9705 of March 8, 2018 (Adjusting Imports of Steel Into
                                                                                                  the United States), I concurred in the Secretary’s finding that steel mill
                                                                                                  articles are being imported into the United States in such quantities and
                                                                                                  under such circumstances as to threaten to impair the national security
                                                                                                  of the United States, and decided to adjust the imports of steel mill articles,
                                                                                                  as defined in clause 1 of Proclamation 9705, as amended (steel articles),
                                                                                                  by imposing a 25 percent ad valorem tariff on such articles imported from
                                                                                                  most countries, beginning March 23, 2018. I further stated that any country
                                                                                                  with which we have a security relationship is welcome to discuss with
                                                                                                  the United States alternative ways to address the threatened impairment
                                                                                                  of the national security caused by imports from that country, and noted
                                                                                                  that, should the United States and any such country arrive at a satisfactory
                                                                                                  alternative means to address the threat to the national security such that
                                                                                                  I determine that imports from that country no longer threaten to impair
                                                                                                  the national security, I may remove or modify the restriction on steel articles
                                                                                                  imports from that country and, if necessary, adjust the tariff as it applies
                                                                                                  to other countries, as the national security interests of the United States
                                                                                                  require.
                                                                                                  3. In Proclamation 9711 of March 22, 2018 (Adjusting Imports of Steel
                                                                                                  Into the United States), I noted the continuing discussions with the Argentine
                                                                                                  Republic (Argentina), the Commonwealth of Australia (Australia), the Federa-
                                                                                                  tive Republic of Brazil (Brazil), Canada, Mexico, the Republic of Korea
                                                                                                  (South Korea), and the European Union (EU) on behalf of its member coun-
                                                                                                  tries, on satisfactory alternative means to address the threatened impairment
                                                                                                  to the national security posed by imports of steel articles from those countries.
                                                                                                  Recognizing that each of these countries and the EU has an important
                                                                                                  security relationship with the United States, I determined that the necessary
                                                                                                  and appropriate means to address the threat to national security posed
                                                                                                  by imports of steel articles from these countries was to continue the ongoing
                                                                                                  discussions and to exempt steel articles imports from these countries from
                                                                                                  the tariff proclaimed in Proclamation 9705, as amended, until May 1, 2018.
                                                                                                  4. In Proclamation 9740 of April 30, 2018 (Adjusting Imports of Steel Into
                                                                                                  the United States), I noted that the United States had agreed in principle
                                                                                                  with Argentina, Australia, and Brazil on satisfactory alternative means to
                                                                                                  address the threatened impairment to our national security posed by steel
                                                                                                  articles imports from these countries and extended the temporary exemption
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                                                                                                  of these countries from the tariff proclaimed in Proclamation 9705, as amend-
                                                                                                  ed, in order to finalize the details.
                                                                                                  5. The United States has agreed on a range of measures with these countries,
                                                                                                  including measures to reduce excess steel production and excess steel capac-
                                                                                                  ity, measures that will contribute to increased capacity utilization in the
                                                                                                  United States, and measures to prevent the transshipment of steel articles


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                                                                                                  and avoid import surges. In my judgment, these measures will provide
                                                                                                  effective, long-term alternative means to address these countries’ contribution
                                                                                                  to the threatened impairment to our national security by restraining steel
                                                                                                  articles exports to the United States from each of them, limiting transshipment
                                                                                                  and surges, and discouraging excess steel capacity and excess steel produc-
                                                                                                  tion. In light of these agreements, I have determined that steel articles
                                                                                                  imports from these countries will no longer threaten to impair the national
                                                                                                  security and thus have decided to exclude these countries from the tariff
                                                                                                  proclaimed in Proclamation 9705, as amended. The United States will mon-
                                                                                                  itor the implementation and effectiveness of the measures agreed upon with
                                                                                                  these countries to address our national security needs, and I may revisit
                                                                                                  this determination, as appropriate.
                                                                                                  6. In light of my determination to exclude, on a long-term basis, these
                                                                                                  countries from the tariff proclaimed in Proclamation 9705, as amended,
                                                                                                  I have considered whether it is necessary and appropriate in light of our
                                                                                                  national security interests to make any corresponding adjustments to such
                                                                                                  tariff as it applies to other countries. I have determined that, in light of
                                                                                                  the agreed-upon measures with these countries, and the fact that the tariff
                                                                                                  will now apply to imports of steel articles from additional countries, it
                                                                                                  is necessary and appropriate, at this time, to maintain the current tariff
                                                                                                  level as it applies to other countries.
                                                                                                  7. Section 232 of the Trade Expansion Act of 1962, as amended, authorizes
                                                                                                  the President to adjust the imports of an article and its derivatives that
                                                                                                  are being imported into the United States in such quantities or under such
                                                                                                  circumstances as to threaten to impair the national security.
                                                                                                  8. Section 604 of the Trade Act of 1974, as amended (19 U.S.C. 2483),
                                                                                                  authorizes the President to embody in the Harmonized Tariff Schedule of
                                                                                                  the United States (HTSUS) the substance of statutes affecting import treat-
                                                                                                  ment, and actions thereunder, including the removal, modification, continu-
                                                                                                  ance, or imposition of any rate of duty or other import restriction.
                                                                                                  NOW, THEREFORE, I, DONALD J. TRUMP, President of the United States
                                                                                                  of America, by the authority vested in me by the Constitution and the
                                                                                                  laws of the United States of America, including section 232 of the Trade
                                                                                                  Expansion Act of 1962, as amended, section 301 of title 3, United States
                                                                                                  Code, and section 604 of the Trade Act of 1974, as amended, do hereby
                                                                                                  proclaim as follows:
                                                                                                    (1) The superior text to subheadings 9903.80.05 through 9903.80.58 of
                                                                                                  the HTSUS is amended by replacing ‘‘South Korea’’ with ‘‘Argentina, of
                                                                                                  Brazil, or of South Korea’’.
                                                                                                     (2) For the purposes of administering the quantitative limitations applicable
                                                                                                  to subheadings 9903.80.05 through 9903.80.58 for Argentina and Brazil,
                                                                                                  the annual aggregate limits for each country set out in the Annex to this
                                                                                                  proclamation shall apply for the period starting with calendar year 2018
                                                                                                  and for subsequent years, unless modified or terminated. The quantitative
                                                                                                  limitations applicable to subheadings 9903.80.05 through 9903.80.58 for these
                                                                                                  countries, which for calendar year 2018 shall take into account all steel
                                                                                                  articles imports from each respective country since January 1, 2018, shall
                                                                                                  be effective for steel articles entered for consumption, or withdrawn from
                                                                                                  warehouse for consumption, on or after June 1, 2018, and shall be imple-
                                                                                                  mented by U.S. Customs and Border Protection (CBP) of the Department
                                                                                                  of Homeland Security as soon as practicable, consistent with the superior
                                                                                                  text to subheadings 9903.80.05 through 9903.80.58. The Secretary of Com-
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                                                                                                  merce shall monitor the implementation of the quantitative limitations appli-
                                                                                                  cable to subheadings 9903.80.05 through 9903.80.58 and shall, in consultation
                                                                                                  with the Secretary of Defense, the United States Trade Representative, and
                                                                                                  such other senior Executive Branch officials as the Secretary deems appro-
                                                                                                  priate, inform the President of any circumstance that in the Secretary’s
                                                                                                  opinion might indicate that an adjustment of the quantitative limitations
                                                                                                  is necessary.


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                                                                                                     (3) The text of subdivision (e) of U.S. note 16 to subchapter III of chapter
                                                                                                  99 of the HTSUS is amended by striking the last sentence and inserting
                                                                                                  in lieu thereof the following sentence: ‘‘Beginning on July 1, 2018, imports
                                                                                                  from any such country in an aggregate quantity under any such subheading
                                                                                                  during any of the periods January through March, April through June, July
                                                                                                  through September, or October through December in any year that is in
                                                                                                  excess of 500,000 kg and 30 percent of the total aggregate quantity provided
                                                                                                  for a calendar year for such country, as set forth on the internet site of
                                                                                                  CBP, shall not be allowed.’’.
                                                                                                    (4) The Secretary of Commerce, in consultation with CBP and with other
                                                                                                  relevant executive departments and agencies, shall revise the HTSUS so
                                                                                                  that it conforms to the amendments and effective dates directed in this
                                                                                                  proclamation. The Secretary shall publish any such modification to the
                                                                                                  HTSUS in the Federal Register.
                                                                                                    (5) Clause 5 of Proclamation 9711, as amended, is amended by striking
                                                                                                  the phrase ‘‘as amended by Proclamation 9711,’’ in the first and second
                                                                                                  sentences and inserting in lieu thereof the following phrase: ‘‘as amended,
                                                                                                  or to the quantitative limitations established by proclamation,’’. Clause 5
                                                                                                  of Proclamation 9711, as amended, is further amended by inserting the
                                                                                                  phrase ‘‘or quantitative limitations’’ after the words ‘‘ad valorem rates of
                                                                                                  duty’’ in the first and second sentences.
                                                                                                     (6) Clause 5 of Proclamation 9740 is amended by striking the phrase
                                                                                                  ‘‘as amended by clause 1 of this proclamation,’’ and inserting in lieu thereof
                                                                                                  the following phrase: ‘‘as amended, or to the quantitative limitations estab-
                                                                                                  lished by proclamation,’’ in the first sentence. Clause 5 of Proclamation
                                                                                                  9740 is further amended by striking the words ‘‘by clause 4 of this proclama-
                                                                                                  tion’’ from the second sentence.
                                                                                                    (7) Any provision of previous proclamations and Executive Orders that
                                                                                                  is inconsistent with the actions taken in this proclamation is superseded
                                                                                                  to the extent of such inconsistency.
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                                                                                                  IN WITNESS WHEREOF, I have hereunto set my hand this thirty-first day
                                                                                                  of May, in the year of our Lord two thousand eighteen, and of the Independ-
                                                                                                  ence of the United States of America the two hundred and forty-second.




                                              Billing code 3295–F8–P
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                                                                                                                              ANNEX

                                                      For the purposes of administering the quantitative limitations applicable to subheadings
                                                      9903.80.05 through 9903.80.58 with respect to Argentina and Brazil, the following annual
                                                      aggregate limits shall apply for the period starting with calendar year 2018 and for subsequent
                                                      years, unless modified or terminated:



                                                                                                                        ARGENTINA




                                                            Heading/
                                                                                                               Article description                                                      Quantitative Limitation
                                                           Subheading


                                                                               Iron or steel products of Argentina enumerated in U.S. note
                                                                               16(b) to this subchapter, if entered in aggregate quantities
                                                                               prescribed in subdivision (e) of such note for any calendar
                                                                               year starting on January 1, 2018 and for any portion thereof
                                                                               as prescribed in such subdivision (e):
                                                         9903.80.05                   Hot-rolled sheet, provided for in subheading
                                                                                      7208.10.60, 7208.26.00, 7208.27.00, 7208.38.00,
                                                                                      7208.39.00, 7208.40.60, 7208.53.00, 7208.54.00,
                                                                                      7208.90.00, 7225.30.70 or 7225.40.70..............................                         6,475,837 kg

                                                         9903.80.06                    Hot-rolled strip, provided for in subheading
                                                                                       7211.19.15, 7211.19.20, 7211.19.30, 7211.19.45,
                                                                                       7211.19.60, 7211.19.75, 7226.91.70 or
                                                                                       7226.91.80.............................................................................   0 kg

                                                         9903.80.07                    Hot-rolled plate, in coils, provided for in subheading
                                                                                       7208.10.15, 7208.10.30, 7208.25.30, 7208.25.60,
                                                                                       7208.36.00, 7208.37.00, 7211.14.00 (except for
                                                                                       statistical reporting numbers 7211.14.0030 and
                                                                                       7211.14.0045) or 7225.30.30..............................................                 3,450,561 kg

                                                         9903.80.08                    Cold-rolled sheet and other products, provided for in
                                                                                       subheading 7209.15.00, 7209.16.00, 7209.17.00,
                                                                                       7209.18.15, 7209.18.60, 7209.25.00, 7209.26.00,
                                                                                       7209.27.00, 7209.28.00, 7209.90.00, 7210.70.30,
                                                                                       7225.50.70,7225.50.80 or 7225.99.00............................                           4,733,644 kg
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                                                                Heading/
                                                                                                                  Article description
                                                               Subheading                                                                                                                  Quantitative Limitation



                                                           9903.80.09                     Cold-rolled strip and other products, provided for in
                                                                                          subheading 7211.23.15, 7211.23.20, 7211.23.30,
                                                                                          7211.23.45, 7211.23.60, 7211.29.20, 7211.29.45,
                                                                                          7211.29.60, 7211.90.00, 7212.40.10, 7212.40.50,
                                                                                          7226.92.50, 7226.92.70, 7226.92.80 or 7226.99.01
                                                                                          (except for statistical reporting numbers 7226.99.0110
                                                                                                                                                                                    0 kg
                                                                                          and 7226.99.0130) .............................................................. .

                                                           9903.80.10                     Cold-rolled black plate, provided for in subheading
                                                                                          7209.18.25.............................................................................   0 kg

                                                           9903.80.11                     Plate in cut lengths, provided for in subheading
                                                                                          7208.40.30, 7208.51.00,-7208.52.00, 7210.90.10,
                                                                                          7211.13.00, 7211.14.00 (except for statistical reporting
                                                                                          number 7211.14.0090), 7225.40.30, 7225.50.60 or
                                                                                          7226.91.50.............................................................................   0 kg

                                                           9903.80.12                     Flat-rolled products, hot-dipped, provided for in
                                                                                          subheading 7210.41.00, 7210.49.00, 7210.70.60
                                                                                          (except for statistical reporting numbers 7210.70.6030
                                                                                          and 7210.70.6090), 7212.30.10, 7212.30.30,
                                                                                          7212.30.50, 7225.92.00 or 7226.99.01 (except for
                                                                                          statistical reporting numbers 7226.99.0110 and
                                                                                          7226.99.0180)........................................................................     701 kg

                                                           9903.80.13                     Flat-rolled products, coated, provided for in
                                                                                          subheading 7210.20.00, 7210.61.00, 7210.69.00,
                                                                                          7210.70.60 (except for statistical reporting numbers
                                                                                          7210.70.6030 and 7210.70.6060), 7210.90.60,
                                                                                          7210.90.90, 7212.50.00 or 7212.60.00..............................                        0 kg

                                                           9903.80.14                     Tin-free steel, provided for in subheading
                                                                                          7210.50.00.............................................................................   0 kg

                                                           9903.80.15                     Tin plate, provided for in subheading 7210.11.00,
                                                                                          7210.12.00 or 7212.10.00....................................................              0 kg

                                                           9903.80.16                     Silicon electrical steel sheets and strip, provided for in
                                                                                          subheading 7225.11.00, 7225.19.00, 7226.11.10,
                                                                                          7226.11.90, 7226.19.10 or 7226.19.90..............................                        0 kg
amozie on DSK3GDR082PROD with PRESDOC2




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                                                                 Heading/
                                                                                                                    Article description
                                                                Subheading                                                                                                                   Quantitative Limitation



                                                           9903.80.17                       Sheets and strip electrolytically coated or plated with
                                                                                            zinc, provided for in subheading 7210.30.00,
                                                                                            7210.70.60 (except for statistical reporting numbers
                                                                                            7210.70.6060 and 7210.70.6090), 7212.20.00,
                                                                                            7225.91.00 or 7226.99.01 (except for statistical
                                                                                            reporting numbers 7226.99.0130 and                                                        0 kg
                                                                                            7226.99.0180) ....................................................................... .

                                                           9903.80.18                       Oil country pipe and tube goods, provided for in
                                                                                            subheading 7304.23.30, 7304.23.60, 7304.29.10,
                                                                                            7304.29.20, 7304.29.31, 7304.29.41, 7304.29.50,
                                                                                            7304.29.61, 7305.20.20, 7305.20.40, 7305.20.60,
                                                                                            7305.20.80, 7306.29.10, 7306.29.20, 7306.29.31,
                                                                                            7306.29.41, 7306.29.60 or 7306.29.81..............................                        147,963,294 kg

                                                               9903.80.19                  Line pipe exceeding 406.4 mm in outside diameter,
                                                                                           provided for in subheading 7304.19.10 (except for
                                                                                           statistical reporting numbers 7304.19.1020,
                                                                                           7304.19.1030, 7304.19.1045 and 7304.19.1060),
                                                                                           7304.19.50 (except for statistical reporting numbers
                                                                                           7304.19.5020 and 7304.19.5050), 7305.11.10,
                                                                                           7305.11.50, 7305.12.10, 7305.12.50, 7305.19.10 or
                                                                                           7305.19.50..............................................................................   0 kg

                                                               9903.80.20                   Line pipe not exceeding 406.4 mm in outside diameter,
                                                                                            provided for in subheading 7304.19.10 (except for
                                                                                            statistical reporting number 7304.19.1080),
                                                                                            7304.19.50 (except for statistical reporting number
                                                                                            7304.19.5080), 7306.19.10 (except for statistical
                                                                                            reporting number 7306.19.1050) or 7306.19.51
                                                                                            (except for statistical reporting number
                                                                                            7306.19.5150)........................................................................     4,988,957 kg

                                                               9903.80.21                   Other line pipe, provided for in subheading 7306.19.10
                                                                                            (except for statistical reporting number 7306.19.1010)
                                                                                            or 7306.19.51 (except for statistical reporting number
                                                                                            7306.19.5110).......................................................................      0 kg
amozie on DSK3GDR082PROD with PRESDOC2




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                                                                 Heading!
                                                                                                                  Article description
                                                                Subheading                                                                                                            Quantitative Limitation



                                                               9903.80.22                  Standard pipe, provided for in subheading 7304.39.00
                                                                                           (except for statistical reporting numbers 7304.39.0002,
                                                                                           7304.39.0004, 7304.39.0006, 7304.39.0008,
                                                                                           7304.39.0028, 7304.39.0032, 7304.39.0040,
                                                                                           7304.39.0044, 7304.39.0052, 7304.39.0056,
                                                                                           7304.39.0068 and 7304.39.0072), 7304.59.80 (except
                                                                                           for statistical reporting numbers 7304.59.8020,
                                                                                           7304.59.8025, 7304.59.8035, 7304.59.8040,
                                                                                           7304.59.8050, 7304.59.8055, 7304.59.8065 and
                                                                                           7304.59.8070) or 7306.30.50 (except for statistical
                                                                                           reporting numbers 7306.30.5010, 7306.30.5015,
                                                                                                                                                                                  2,378,183 kg
                                                                                           7306.30.5020 and 7306.30.5035) ...................................... .

                                                               9903.80.23                  Structural pipe and tube, provided for in subheading
                                                                                           7304.90.10, 7304.90.30, 7305.31.20, 7305.31.40,
                                                                                           7305.31.60 (except for statistical reporting number
                                                                                           7305.31.6010), 7306.30.30, 7306.50.30, 7306.61.10,
                                                                                           7306.61.30, 7306.69.10 or 7306.69.30..............................                     2,374 kg

                                                               9903.80.24                  Mechanical tubing and other products, provided for in
                                                                                           subheading 7304.31.30, 7304.31.60 (except for
                                                                                           statistical reporting numbers 7304.31.6010),
                                                                                           7304.39.00 (except for statistical reporting numbers
                                                                                           7304.39.0002, 7304.39.0004, 7304.39.0006,
                                                                                           7304.39.0008, 7304.39.0016, 7304.39.0020,
                                                                                           7304.39.0024, 7304.39.0036, 7304.39.0048,
                                                                                           7304.39.0062, 7304.39.0076 and 7304.39.0080),
                                                                                           7304.51.10, 7304.51.50 (except for statistical reporting
                                                                                           numbers 7304.51.5005, 7304.51.5015 and
                                                                                           7304.51.5045), 7304.59.10, 7304.59.60, 7304.59.80
                                                                                           (except for statistical reporting numbers 7304.59.8010,
                                                                                           7304.59.8015, 7304.59.8030, 7304.59.8045,
                                                                                           7304.59.8060 and 7304.59.8080), 7304.90.50,
                                                                                           7304.90.70, 7306.30.10, 7306.30.50 (except for
                                                                                           statistical reporting numbers 7306.30.5010,
                                                                                           7306.30.5025, 7306.30.5028, 7306.30.5032,
                                                                                           7306.30.5040, 7306.30.5055, 7306.30.5085 and
                                                                                           7306.30.5090), 7306.50.10, 7306.50.50 (except for
                                                                                           statistical reporting number 7306.50.5010),
                                                                                           7306.61.50, 7306.61.70 (except for statistical reporting
                                                                                           number 7306.61.7030), 7306.69.50 or 7306.69.70
                                                                                           (except for statistical reporting number
                                                                                           7306.69.7030).......................................................................   8,758,712 kg
amozie on DSK3GDR082PROD with PRESDOC2




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                                                            Heading/
                                                                                                               Article description                                                      Quantitative Limitation
                                                           Subheading



                                                         9903.80.25                    Pressure tubing and other products, provided for in
                                                                                       subheading 7304.31.60 (except for statistical reporting
                                                                                       number 7304.31.6050), 7304.39.00 (except for
                                                                                       statistical reporting numbers 7304.39.0016,
                                                                                       7304.39.0020, 7304.39.0024, 7304.39.0028,
                                                                                       7304.39.0032, 7304.39.0036, 7304.39.0040,
                                                                                       7304.39.0044, 7304.39.0048, 7304.39.0052,
                                                                                       7304.39.0056, 7304.39.0062, 7304.39.0068,
                                                                                       7304.39.0072, 7304.39.0076 and 7304.39.0080),
                                                                                       7304.51.50 (except for statistical reporting numbers
                                                                                       7304.51.5005 and 7304.51.5060), 7304.59.20,
                                                                                       7306.30.50 (except for statistical reporting numbers
                                                                                       7306.30.5015, 7306.30.5020, 7306.30.5025,
                                                                                       7306.30.5028, 7306.30.5032, 7306.30.5035,
                                                                                       7306.30.5040, 7306.30.5055, 7306.30.5085 and
                                                                                       7306.30.5090) or 7306.50.50 (except for statistical
                                                                                       reporting numbers 7306.50.5030, 7306.50.5050 and
                                                                                       7306.50.5070)........................................................................     128,482 kg


                                                         9903.80.26                    Tubes or pipes for piling and other products, provided
                                                                                       for in subheading 7305.39.10 or 7305.39.50...................                             0 kg

                                                         9903.80.27                    Pipes and tubes, not specially provided for, provided
                                                                                       for in subheading 7304.51.50 (except for statistical
                                                                                       reporting numbers 7304.51.5015, 7304.51.5045 and
                                                                                       7304.51.5060), 7305.90.10, 7305.90.50, 7306.90.10 or
                                                                                       7306.90.50.............................................................................   3, 743 kg

                                                         9903.80.28                    Hot-rolled sheet of stainless steel, provided for in
                                                                                       subheading 7219.13.00, 7219.14.00, 7319.23.00 or
                                                                                       7219.24.00.............................................................................   0 kg

                                                         9903.80.29                    Hot-rolled strip of stainless steel and other products,
                                                                                       provided for in subheading 7220.12.10 or 7220.12.50...                                    0 kg

                                                         9903.80.30                    Hot-rolled plate of stainless steel, in coils, and other
                                                                                       products, provided for in subheading 7219.11.00 or
                                                                                       7219.12.00............................................................................    0 kg

                                                         9903.80.31                    Cold-rolled sheet of stainless steel and other products,
                                                                                       provided for in subheading 7219.32.00, 7219.33.00,
                                                                                       7219.34.00, 7219.35.00 or 7219.90.00..............................                        0 kg
amozie on DSK3GDR082PROD with PRESDOC2




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                                                                Heading/
                                                                                                                  Article description                                                      Quantitative Limitation
                                                               Subheading



                                                          9903.80.32                     Cold-rolled strip of stainless steel, provided for in
                                                                                         subheading 7220.20.10, 7220.20.60, 7220.20.70,
                                                                                         7220.20.80, 7220.20.90 or 7220.90.00 ..............................                        0 kg


                                                          9903.80.33                     Cold-rolled plate of stainless steel, in coils, provided
                                                                                         for in subheading 7219.31.00 (except for statistical
                                                                                         reporting number 7219.31.0050) .......................................                     0 kg


                                                          9903.80.34                      Wire of stainless steel, drawn, provided for in
                                                                                          subheading 7223.00.10, 7223.00.50 or 7223.00.90 ........                                  0 kg

                                                          9903.80.35                     Pipes and tubes of stainless steel, provided for in
                                                                                         subheading 7304.41.30, 7304.41.60, 7304.49.00,
                                                                                         7305.31.60 (except for statistical reporting number
                                                                                         7305.31.6090), 7306.40.10, 7306.40.50, 7306.61.70
                                                                                         (except 7306.61.7060) or 7306.69.70 (except for
                                                                                         statistical reporting number 7306.69. 7060) ......................                         0 kg


                                                          9903.80.36                     Line pipe of stainless steel, provided for in subheading
                                                                                         7304.11.00 or 7306.11.00 ....................................................              0 kg

                                                          9903.80.37                     Bars and rods of stainless steel, cold finished, provided
                                                                                         for in subheading 7222.20.00 or 7222.30.00 .....................                           0 kg


                                                          9903.80.38                      Bars and rods of stainless steel, hot-rolled, provided
                                                                                          for in heading 7221.00.00 (except for statistical
                                                                                          reporting numbers 7221.00.0017, 7221.00.0018 and
                                                                                          7221.00.0030) or subheading 7222.11.00, 7222.19.00
                                                                                          or 7222.40.30 (except for statistical reporting numbers
                                                                                          7222.40.3025 and 7222.40.3045) .......................................                    0 kg


                                                          9903.80.39                      Blooms, billets and slabs of stainless steel and other
                                                                                          products, provided for in subheading 7218.91.00 and
                                                                                          7218.99.00 ............................................................................   0 kg


                                                          9903.80.40                      Oil country pipe and tube goods of stainless steel and
                                                                                          other products, provided for in subheading
                                                                                          7304.22.00, 7304.24.30, 7304.24.40, 7304.24.60,
                                                                                          7306.21.30, 7306.21.40 or 7306.21.80 .............................                        34,298 kg


                                                          9903.80.41                      Ingot and other primary forms of stainless steel,
                                                                                          provided for in subheading 7218.10.00 .............................                       0 kg
amozie on DSK3GDR082PROD with PRESDOC2




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                                                           Heading/
                                                                                                              Article description
                                                          Subheading                                                                                                                     Quantitative Limitation



                                                        9903.80.42                    Flat-rolled products of stainless steel, provided for in
                                                                                      subheading 7219.21.00, 7219.22.00, 7219.31.00
                                                                                      (except for statistical reporting number 7219.31.0010)
                                                                                      or 7220.11.00....................................................................... .      Okg

                                                        9903.80.43                    Bars and rods, hot-rolled, in irregularly wound coils, of
                                                                                      stainless steel, provided for in heading 7221.00.00
                                                                                      (except for statistical reporting numbers 7221.00.0005,
                                                                                      7221.00.0045 and 7221.00.0075) ...................................... .                     0 kg

                                                        9903.80.44                    Angles, shapes and sections of stainless steel, provided
                                                                                      for in subheading 7222.40.30 (except for statistical
                                                                                      reporting numbers 7222.40.3065 and 7222.40.3085) or
                                                                                      7222.40.60 ............................................................................ .   209 kg

                                                        9903.80.45                    Angles, shapes and sections, provided for in
                                                                                      subheading 7216.31.00, 7216.32.00, 7216.33.00,
                                                                                      7216.40.00, 7216.50.00, 7216.99.00, 7228.70.30
                                                                                      (except for statistical reporting numbers 7228.70.3060
                                                                                      and 7228.70.3081) or 7228.70.60......................................                       0 kg

                                                        9903.80.46                    Bars and rods, hot-rolled, in irregularly wound coils,
                                                                                      provided for in subheading 7213.91.30, 9213.91.45,
                                                                                      7213.91.60, 7213.99.00 (except for statistical reporting
                                                                                      number 7213.99.0060), 7227.20.00 (except for
                                                                                      statistical reporting number 7227.20.0080) or
                                                                                      7227.90.60 (except for statistical reporting numbers
                                                                                      7227.90.6005, 7227.90.6010, 7227.90.6040 and
                                                                                      7227.90.6090)........................................................................       182,555 kg

                                                        9903.80.47                    Wire (other than of stainless steel), provided for in
                                                                                      subheading 7217.10.10, 7217.10.20, 7217.10.30,
                                                                                      7217.10.40, 7217.10.50, 7217.10.60, 7217.10.70,
                                                                                      7217.10.80, 7217.10.90, 7217.20.15, 7217.20.30,
                                                                                      7217.20.45, 7217.20.60, 7217.20.75, 7217.30.15,
                                                                                      7217.30.30, 7217.30.45, 7217.30.60, 7217.30.75,
                                                                                      7217.90.10, 7217.90.50, 7229.20.00, 7229.90.10,
                                                                                      7229.90.50 or 7229.90.90....................................................                2,076 kg
amozie on DSK3GDR082PROD with PRESDOC2




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                                                                Heading/                                          Article description
                                                               Subheading                                                                                                                    Quantitative Limitation



                                                          9903.80.48                      Bars, hot-rolled, not of stainless steel, provided for in
                                                                                          subheading 7213.20.00, 7213.99.00 (except for
                                                                                          statistical reporting numbers 7213.99.0030 and
                                                                                          7213.99.0090), 7214.10.00, 7214.30.00, 7214.91.00,
                                                                                          7214.99.00, 7215.90.10, 7227.20.00 (except for
                                                                                          statistical reporting number 7227.20.0030),
                                                                                          7227.90.60 (except for statistical reporting numbers
                                                                                          7227.90.6020, 7227.90.6030 and 7227.90.6035),
                                                                                          7228.20.10, 7228.30.80 (except for statistical reporting
                                                                                          number 7228.30.8010), 7228.40.00, 7228.60.60 or
                                                                                                                                                                                      896,377 kg
                                                                                          7228.80.00 ............................................................................ .

                                                           9903.80.49                     Bars, cold-finished, not of stainless steel, provided for
                                                                                          in subheading 7215.10.00, 7215.50.00, 7215.90.30,
                                                                                          7215.90.50, 7228.20.50, 7228.50.50 or
                                                                                          7228.60.80.............................................................................     0 kg

                                                           9903.80.50                     Angles, shapes and sections of a type known as "light-
                                                                                          shaped bars" and other products, provided for in
                                                                                          subheading 7216.10.00, 7216.21.00, 7216.22.00 or
                                                                                          7228.70.30 (except for statistical reporting numbers
                                                                                          7228.70.3010, 7228.70.3020 and 7228.70.3041)............                                    0 kg

                                                           9903.80.51                     Reinforcing bars, provided for in subheading
                                                                                          7213.10.00, 7214.20.00 or 7228.30.80 (except for
                                                                                          statistical reporting numbers 7228.30.8005,
                                                                                          7228.30.8015, 7228.30.8041, 7228.30.8045 and
                                                                                          7228.30.8070)........................................................................       0 kg

                                                           9903.80.52                     Sheet piling, provided for in subheading
                                                                                          7301.10.00.............................................................................     0 kg

                                                           9903.80.53                     Nonumerated railroad goods, provided for in
                                                                                          subheading 7302.40.00, 7302.90.10 and
                                                                                          7302.90.90.............................................................................     0 kg

                                                           9903.80.54                     Rails other than those known as "standard rails,"
                                                                                          provided for in subheading 7302.10.10 (except for
                                                                                          statistical reporting numbers 7302.10.1010,
                                                                                          7302.10.1035, 7302.10.1065 and 7302.10.1075)............                                    0 kg
amozie on DSK3GDR082PROD with PRESDOC2




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                                                         Heading/
                                                                                                              Article description
                                                        Subheading                                                                                                                   Quantitative Limitation



                                                      9903.80.55                      Rails known as "standard rails," provided for in
                                                                                      subheading 7302.10.10 (except for statistical reporting
                                                                                      numbers 7302.10.1015,7302.10.1025, 7302.10.1045                                         0 kg
                                                                                      and 7302.10.1055) or 7302.10.50 ......................................

                                                      9903.80.56                      Products of tool steel and other products, provided for
                                                                                      in subheading 7224.10.00 (except for statistical
                                                                                      reporting numbers 7224.10.0005 and 7224.10.0075),
                                                                                      7224.90.00 (except for statistical reporting numbers
                                                                                      7224.90.0005, 7224.90.0045, 7224.90.0055,
                                                                                      7224.90.0065 and 7224.90.0075), 7225.30.11,
                                                                                      7225.30.51, 7225.40.11, 7225.40.51, 7225.50.11,
                                                                                      7226.20.00, 7226.91.05, 7226.91.15, 7226.91.25,
                                                                                      7226.92.10, 7226.92.30, 7227.10.00, 7227.90.10,
                                                                                      7227.90.20, 7228.10.00, 7228.30.20, 7228.30.40,
                                                                                      7228.30.60, 7228.50.10, 7228.60.10 or
                                                                                      7229.90.05 ....................................................                         0 kg

                                                      9903.80.57                      Blooms, billets and slabs, semi-finished, provided for in
                                                                                      subheading 7207.11.00, 7207.12.00, 7207.19.00,
                                                                                      7207.20.00 or 7224.90.00 (except for statistical
                                                                                      reporting numbers 7224.90.0015, 7224.90.0025, and
                                                                                      7224.90.0035) .......................................................................   0 kg

                                                      9903.80.58                      Ingots, provided for in subheading 7206.10.00,
                                                                                      7206.90.00 or 7224.10.00 (except for statistical
                                                                                      reporting number 7224.10.0045) .......................................                  Okg
amozie on DSK3GDR082PROD with PRESDOC2




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                                                                                                                             BRAZIL




                                                           Heading/                                            Article description
                                                          Subheading                                                                                                                    Quantitative Limitation


                                                                              Iron or steel products of Brazil enumerated in U.S. note 16(b)
                                                                              to this subchapter, if entered in aggregate quantities
                                                                              prescribed in subdivision (e) of such note for any calendar
                                                                              year starting on January 1, 2018 and for any portion thereof
                                                                              as prescribed in such subdivision (e):
                                                        9903.80.05                    Hot-rolled sheet, provided for in subheading
                                                                                      7208.10.60, 7208.26.00, 7208.27.00, 7208.38.00,
                                                                                      7208.39.00, 7208.40.60, 7208.53.00, 7208.54.00,
                                                                                      7208.90.00, 7225.30.70 or 7225.40.70 ............ ,.................                       108,453,546 kg

                                                        9903.80.06                    Hot-rolled strip, provided for in subheading
                                                                                      7211.19.15, 7211.19.20, 7211.19.30, 7211.19.45,
                                                                                      7211.19.60, 7211.19.75, 7226.91.70 or
                                                                                      7226.91.80.............................................................................    5,730 kg

                                                        9903.80.07                    Hot-rolled plate, in coils, provided for in subheading
                                                                                      7208.10.15, 7208.10.30, 7208.25.30, 7208.25.60,
                                                                                      7208.36.00, 7208.37.00, 7211.14.00 (except for
                                                                                      statistical reporting numbers 7211.14.0030 and
                                                                                      7211.14.0045) or 7225.30.30..............................................                  21,645,653 kg

                                                        9903.80.08                    Cold-rolled sheet and other products, provided for in
                                                                                      subheading 7209.15.00, 7209.16.00, 7209.17.00,
                                                                                      7209.18.15, 7209.18.60, 7209.25.00, 7209.26.00,
                                                                                      7209.27.00, 7209.28.00, 7209.90.00, 7210.70.30,
                                                                                      7225.50.70, 7225.50.80 or 7225.99.00............................                           51,717,234 kg

                                                        9903.80.09                     Cold-rolled strip and other products, provided for in
                                                                                       subheading 7211.23.15, 7211.23.20, 7211.23.30,
                                                                                       7211.23.45, 7211.23.60, 7211.29.20, 7211.29.45,
                                                                                       7211.29.60, 7211.90.00, 7212.40.10, 7212.40.50,
                                                                                       7226.92.50, 7226.92.70, 7226.92.80 or 7226.99.01
                                                                                       (except for statistical reporting numbers 7226.99.0110
                                                                                       and 7226.99.0130)...............................................................          220,366 kg

                                                        9903.80.10                     Cold-rolled black plate, provided for in subheading
                                                                                       7209.18.25.............................................................................   0 kg

                                                        9903.80.11                     Plate in cut lengths, provided for in subheading
                                                                                       7208.40.30, 7208.51.00, 7208.52.00, 7210.90.10,
                                                                                       7211.13.00, 7211.14.00 (except for statistical reporting
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                                                                Heading/
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                                                               Subheading


                                                                                          number 7211.14.0090), 7225.40.30, 7225.50.60 or
                                                                                          7226.91.50.............................................................................   9,116,198 kg

                                                           9903.80.12                     Flat-rolled products, hot-dipped, provided for in
                                                                                          subheading 7210.41.00, 7210.49.00, 7210.70.60
                                                                                          (except for statistical reporting numbers 7210.70.6030
                                                                                          and 7210.70.6090), 7212.30.10, 7212.30.30,
                                                                                          7212.30.50, 7225.92.00 or 7226.99.01 (except for
                                                                                          statistical reporting numbers 7226.99.0110 and
                                                                                          7226.99.0180)........................................................................     179,284,354 kg

                                                           9903.80.13                     Flat-rolled products, coated, provided for in
                                                                                          subheading 7210.20.00, 7210.61.00, 7210.69.00,
                                                                                          7210.70.60 (except for statistical reporting numbers
                                                                                          7210.70.6030 and 7210.70.6060), 7210.90.60,
                                                                                          7210.90.90, 7212.50.00 or 7212.60.00..............................                        49,974,441 kg

                                                           9903.80.14                     Tin-free steel, provided for in subheading
                                                                                          7210.50.00.............................................................................   2,428,916 kg

                                                           9903.80.15                     Tin plate, provided for in subheading 7210.11.00,
                                                                                          7210.12.00 or 7212.10.00....................................................              11,315,455 kg

                                                           9903.80.16                    . Silicon electrical steel sheets and strip, provided for in
                                                                                           subheading 7225.11.00, 7225.19.00, 7226.11.10,
                                                                                           7226.11.90, 7226.19.10 or 7226.19.90..............................                       2,186,384 kg

                                                           9903.80.17                     Sheets and strip electrolytically coated or plated with
                                                                                          zinc, provided for in subheading 7210.30.00,
                                                                                          7210.70.60 (except for statistical reporting numbers
                                                                                          7210.70.6060 and 7210.70.6090), 7212.20.00,
                                                                                          7225.91.00 or 7226.99.01 (except for statistical
                                                                                          reporting numbers 7226.99.0130 and 7226.99.0180)....                                      687,693 kg

                                                           9903.80.18                     Oil country pipe and tube goods, provided for in
                                                                                          subheading 7304.23.30, 7304.23.60, 7304.29.10,
                                                                                          7304.29.20, 7304.29.31, 7304.29.41, 7304.29.50,
                                                                                          7304.29.61, 7305.20.20, 7305.20.40, 7305.20.60,
                                                                                          7305.20.80, 7306.29.10, 7306.29.20, 7306.29.31,
                                                                                          7306.29.41, 7306.29.60 or 7306.29.81..............................                        56,857,548 kg

                                                           9903.80.19                     Line pipe exceeding 406.4 mm in outside diameter,
                                                                                          provided for in subheading 7304.19.10 (except for
                                                                                          statistical reporting numbers 7304.19.1020,
                                                                                          7304.19.1030, 7304.19.1045 and 7304.19.1060),
amozie on DSK3GDR082PROD with PRESDOC2




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                                                                Heading!
                                                                                                                   Article description
                                                               Subheading                                                                                                                Quantitative Limitation


                                                                                          7304.19.50 (except for statistical reporting numbers
                                                                                          7304.19.5020 and 7304.19.5050}, 7305.11.10,
                                                                                          7305.11.50, 7305.12.10, 7305.12.50, 7305.19.10 or
                                                                                          7305.19.50..............................................................................   40,712 kg

                                                          9903.80.20                      Line pipe not exceeding 406.4 mm in outside diameter,
                                                                                          provided for in subheading 7304.19.10 (except for
                                                                                          statistical reporting number 7304.19.1080},
                                                                                          7304.19.50 (except for statistical reporting number
                                                                                          7304.19.5080}, 7306.19.10 (except for statistical
                                                                                          reporting number 7306.19.1050} or 7306.19.51
                                                                                          (except for statistical reporting number
                                                                                          7306.19.5150}........................................................................      21,382,360 kg

                                                          9903.80.21                      Other line pipe, provided for in subheading 7306.19.10
                                                                                          (except for statistical reporting number 7306.19.1010}
                                                                                          or 7306.19.51 (except for statistical reporting number
                                                                                          7306.19.5110}.......................................................................       57,319 kg

                                                          9903.80.22                      Standard pipe, provided for in subheading 7304.39.00
                                                                                          (except for statistical reporting numbers 7304.39.0002,
                                                                                          7304.39.0004, 7304.39.0006, 7304.39.0008,
                                                                                          7304.39.0028, 7304.39.0032, 7304.39.0040,
                                                                                          7304.39.0044, 7304.39.0052, 7304.39.0056,
                                                                                          7304.39.0068 and 7304.39.0072}, 7304.59.80 (except
                                                                                          for statistical reporting numbers 7304.59.8020,
                                                                                          7304.59.8025, 7304.59.8035, 7304.59.8040,
                                                                                          7304.59.8050, 7304.59.8055, 7304.59.8065 and
                                                                                          7304.59.8070} or 7306.30.50 (except for statistical
                                                                                          reporting numbers 7306.30.5010, 7306.30.5015,
                                                                                          7306.30.5020 and 7306.30.5035}.......................................                      987,756 kg

                                                          9903.80.23                      Structural pipe and tube, provided for in subheading
                                                                                          7304.90.10, 7304.90.30, 7305.31.20, 7305.31.40,
                                                                                          7305.31.60 (except for statistical reporting number
                                                                                          7305.31.6010}, 7306.30.30, 7306.50.30, 7306.61.10,
                                                                                          7306.61.30, 7306.69.10 or 7306.69.30..............................                         642,480 kg

                                                           9903.80.24                     Mechanical tubing and other products, provided for in
                                                                                          subheading 7304.31.30, 7304.31.60 (except for
                                                                                          statistical reporting numbers 7304.31.6010},
                                                                                          7304.39.00 (except for statistical reporting numbers
                                                                                          7304.39.0002, 7304.39.0004, 7304.39.0006,
                                                                                          7304.39.0008, 7304.39.0016, 7304.39.0020,
                                                                                          7304.39.0024, 7304.39.0036, 7304.39.0048,
amozie on DSK3GDR082PROD with PRESDOC2




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                                                                 Heading/
                                                                                                                  Article description                                                    Quantitative Limitation
                                                                Subheading


                                                                                           7304.39.0062, 7304.39.0076 and 7304.39.0080),
                                                                                           7304.51.10, 7304.51.50 (except for statistical reporting
                                                                                           numbers 7304.51.5005, 7304.51.5015 and
                                                                                           7304.51.5045), 7304.59.10, 7304.59.60, 7304.59.80
                                                                                           (except for statistical reporting numbers 7304.59.8010,
                                                                                           7304.59.8015, 7304.59.8030, 7304.59.8045,
                                                                                           7304.59.8060 and 7304.59.8080), 7304.90.50,
                                                                                           7304.90.70, 7306.30.10, 7306.30.50 (except for
                                                                                           statistical reporting numbers 7306.30.5010,
                                                                                           7306.30.5025, 7306.30.5028, 7306.30.5032,
                                                                                           7306.30.5040, 7306.30.5055, 7306.30.5085 and
                                                                                           7306.30.5090), 7306.50.10, 7306.50.50 (except for
                                                                                           statistical reporting number 7306.50.5010),
                                                                                           7306.61.50, 7306.61.70 (except for statistical reporting
                                                                                           number 7306.61.7030), 7306.69.50 or 7306.69.70
                                                                                           (except for statistical reporting number
                                                                                           7306.69.7030).......................................................................      1,611,145 kg

                                                               9903.80.25                  Pressure tubing and other products, provided for in
                                                                                           subheading 7304.31.60 (except for statistical reporting
                                                                                           number 7304.31.6050), 7304.39.00 (except for
                                                                                           statistical reporting numbers 7304.39.0016,
                                                                                           7304.39.0020, 7304.39.0024, 7304.39.0028,
                                                                                           7304.39.0032, 7304.39.0036, 7304.39.0040,
                                                                                           7304.39.0044, 7304.39.0048, 7304.39.0052,
                                                                                           7304.39.0056, 7304.39.0062, 7304.39.0068,
                                                                                           7304.39.0072, 7304.39.0076 and 7304.39.0080),
                                                                                           7304.51.50 (except for statistical reporting numbers
                                                                                           7304.51.5005 and 7304.51.5060), 7304.59.20,
                                                                                           7306.30.50 (except for statistical reporting numbers
                                                                                           7306.30.5015, 7306.30.5020, 7306.30.5025,
                                                                                           7306.30.5028, 7306.30.5032, 7306.30.5035,
                                                                                           7306.30.5040, 7306.30.5055, 7306.30.5085 and
                                                                                           7306.30.5090) or 7306.50.50 (except for statistical
                                                                                           reporting numbers 7306.50.5030, 7306.50.5050 and
                                                                                           7306.50.5070)........................................................................     1, 728,024 kg

                                                               9903.80.26                  Tubes or pipes for piling and other products, provided
                                                                                           for in subheading 7305.39.10 or 7305.39.50...................                             27 kg

                                                               9903.80.27                  Pipes and tubes, not specially provided for, provided
                                                                                           for in subheading 7304.51.50 (except for statistical
                                                                                           reporting numbers 7304.51.5015, 7304.51.5045 and
                                                                                           7304.51.5060), 7305.90.10, 7305.90.50, 7306.90.10 or
                                                                                           7306.90.50.............................................................................   1,231 kg
amozie on DSK3GDR082PROD with PRESDOC2




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                                                                Heading/                                           Article description
                                                               Subheading                                                                                                                    Quantitative Limitation



                                                          9903.80.28                      Hot-rolled sheet of stainless steel, provided for in
                                                                                          subheading 7219.13.00, 7219.14.00, 7319.23.00 or
                                                                                          7219.24.00 ............................................................................ .   1,051,455 kg

                                                          9903.80.29                      Hot-rolled strip of stainless steel and other products,
                                                                                          provided for in subheading 7220.12.10 or 7220.12.50 ...                                     0 kg

                                                          9903.80.30                      Hot-rolled plate of stainless steel, in coils, and other
                                                                                          products, provided for in subheading 7219.11.00 or
                                                                                          7219.12.00 ........................................................................... .    120,126 kg

                                                          9903.80.31                      Cold-rolled sheet of stainless steel and other products,
                                                                                          provided for in subheading 7219.32.00, 7219.33.00,
                                                                                          7219.34.00, 7219.35.00 or
                                                                                          7219.90.00............................................................................      9,982,549 kg

                                                          9903.80.32                      Cold-rolled strip of stainless steel, provided for in
                                                                                          subheading 7220.20.10, 7220.20.60, 7220.20.70,
                                                                                          7220.20.80, 7220.20.90 or 7220.90.00..............................                          14,629 kg

                                                          9903.80.33                      Cold-rolled plate of stainless steel, in coils, provided
                                                                                          for in subheading 7219.31.00 (except for statistical
                                                                                          reporting number 7219.31.0050).......................................                       0 kg

                                                          9903.80.34                      Wire of stainless steel, drawn, provided for in
                                                                                          subheading 7223.00.10, 7223.00.50 or 7223.00.90........                                     63,219 kg

                                                          9903.80.35                      Pipes and tubes of stainless steel, provided for in
                                                                                          subheading 7304.41.30, 7304.41.60, 7304.49.00,
                                                                                          7305.31.60 (except for statistical reporting number
                                                                                          7305.31.6090), 7306.40.10, 7306.40.50, 7306.61.70
                                                                                          (except 7306.61.7060) or 7306.69.70 (except for
                                                                                          statistical reporting number 7306.69.7060)......................                            352,216 kg

                                                          9903.80.36                      Line pipe of stainless steel, provided for in subheading
                                                                                          7304.11.00 or 7306.11.00....................................................                0 kg

                                                          9903.80.37                      Bars and rods of stainless steel, cold finished, provided
                                                                                          for in subheading 7222.20.00 or 7222.30.00.....................                             142,452 kg

                                                          9903.80.38                      Bars and rods of stainless steel, hot-rolled, provided
                                                                                          for in heading 7221.00.00 (except for statistical
                                                                                          reporting numbers 7221.00.0017, 7221.00.0018 and
amozie on DSK3GDR082PROD with PRESDOC2




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                                                           Heading/                                            Article description
                                                          Subheading                                                                                                                    Quantitative Limitation


                                                                                      7221.00.0030) or subheading 7222.11.00, 7222.19.00
                                                                                      or 7222.40.30 (except for statistical reporting numbers
                                                                                      7222.40.3025 and 7222.40.3045).......................................                      1,354,481 kg

                                                        9903.80.39                     Blooms, billets and slabs of stainless steel and other
                                                                                       products, provided for in subheading 7218.91.00 and
                                                                                       7218.99.00............................................................................    186 kg

                                                        9903.80.40                     Oil country pipe and tube goods of stainless steel and
                                                                                       other products, provided for in subheading
                                                                                       7304.22.00, 7304.24.30, 7304.24.40, 7304.24.60,
                                                                                       7306.21.30, 7306.21.40 or 7306.21.80 ... ,.........................                       11,284 kg

                                                        9903.80.41                     Ingot and other primary forms of stainless steel,
                                                                                       provided for in subheading 7218.10.00.............................                        0 kg

                                                        9903.80.42                     Flat-rolled products of stainless steel, provided for in
                                                                                       subheading 7219.21.00, 7219.22.00, 7219.31.00
                                                                                       (except for statistical reporting number 7219.31.0010)
                                                                                       or 7220.11.00........................................................................     522,098 kg

                                                        9903.80.43                     Bars and rods, hot-rolled, in irregularly wound coils, of
                                                                                       stainless steel, provided for in heading 7221.00.00
                                                                                       (except for statistical reporting numbers 7221.00.0005,
                                                                                       7221.00.0045 and 7221.00.0075).......................................                     0 kg

                                                        9903.80.44                     Angles, shapes and sections of stainless steel, provided
                                                                                       for in subheading 7222.40.30 (except for statistical
                                                                                       reporting numbers 7222.40.3065 and 7222.40.3085) or
                                                                                       7222.40.60.............................................................................   0 kg

                                                        9903.80.45                     Angles, shapes and sections, provided for in
                                                                                       subheading 7216.31.00, 7216.32.00, 7216.33.00,
                                                                                       7216.40.00, 7216.50.00, 7216.99.00, 7228.70.30
                                                                                       (except for statistical reporting numbers 7228.70.3060
                                                                                       and 7228.70.3081) or 7228.70.60......................................                     785,743 kg

                                                        9903.80.46                     Bars and rods, hot-rolled, in irregularly wound coils,
                                                                                       provided for in subheading 7213.91.30, 9213.91.45,
                                                                                       7213.91.60, 7213.99.00 (except for statistical reporting
                                                                                       number 7213.99.0060), 7227.20.00 (except for
                                                                                       statistical reporting number 7227.20.0080) or
                                                                                       7227.90.60 (except for statistical reporting numbers
                                                                                       7227.90.6005, 7227.90.6010, 7227.90.6040 and
amozie on DSK3GDR082PROD with PRESDOC2




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                                                                 Heading/
                                                                                                                    Article description                                                      Quantitative Limitation
                                                                Subheading


                                                                                           7227.90.6090)........................................................................      94,548,099 kg

                                                               9903.80.47                  Wire (other than of stainless steel), provided for in
                                                                                           subheading 7217.10.10, 7217.10.20, 7217.10.30,
                                                                                           7217.10.40, 7217.10.50, 7217.10.60, 7217.10.70,
                                                                                           7217.10.80, 7217.10.90, 7217.20.15, 7217.20.30,
                                                                                           7217.20.45, 7217.20.60, 7217.20.75, 7217.30.15,
                                                                                                   ~
                                                                                           7217.30.30, 7217.30.45, 7217.30.60, 7217.30.75,
                                                                                           7217.90.10, 7217.90.50, 7229.20.00, 7229.90.10,
                                                                                           7229.90.50 or 7229.90.90....................................................               5,683,988 kg

                                                               9903.80.48                  Bars, hot-rolled, not of stainless steel, provided for in
                                                                                           subheading 7213.20.00, 7213.99.00 (except for
                                                                                           statistical reporting numbers 7213.99.0030 and
                                                                                           7213.99.0090), 7214.10.00, 7214.30.00, 7214.91.00,
                                                                                           7214.99.00, 7215.90.10, 7227.20.00 (except for
                                                                                           statistical reporting number 7227.20.0030),
                                                                                           7227.90.60 (except for statistical reporting numbers
                                                                                           7227.90.6020, 7227.90.6030 and 7227.90.6035),
                                                                                           7228.20.10, 7228.30.80 (except for statistical reporting
                                                                                           number 7228.30.8010), 7228.40.00, 7228.60.60 or
                                                                                           7228.80.00.............................................................................    19,466,296 kg

                                                               9903.80.49                   Bars, cold-finished, not of stainless steel, provided for
                                                                                            in subheading 7215.10.00, 7215.50.00, 7215.90.30,
                                                                                            7215.90.50, 7228.20.50, 7228.50.50 or
                                                                                            7228.60.80.............................................................................   892,811 kg

                                                               9903.80.50                   Angles, shapes and sections of a type known as "light-
                                                                                            shaped bars" and other products, provided for in
                                                                                            subheading 7216.10.00, 7216.21.00, 7216.22.00 or
                                                                                            7228.70.30 (except for statistical reporting numbers
                                                                                            7228.70.3010, 7228.70.3020 and 7228.70.3041)............                                  160,604 kg

                                                               9903.80.51                   Reinforcing bars, provided for in subheading
                                                                                            7213.10.00, 7214.20.00 or 7228.30.80 (except for
                                                                                            statistical reporting numbers 7228.30.8005,
                                                                                            7228.30.8015, 7228.30.8041, 7228.30.8045 and
                                                                                            7228.30.8070)........................................................................     22,142,544 kg

                                                               9903.80.52                   Sheet piling, provided for in subheading
                                                                                            7301.10.00.............................................................................   0 kg

                                                               9903.80.53                   Nonumerated railroad goods, provided for in
                                                                                            subheading 7302.40.00, 7302.90.10 and
amozie on DSK3GDR082PROD with PRESDOC2




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                                                        Heading/                                              Article description
                                                       Subheading                                                                                                                    Quantitative Limitation


                                                                                      7302.90.90 .............................................................................   372,848 kg

                                                     9903.80.54                       Rails other than those known as "standard rails,"
                                                                                      provided for in subheading 7302.10.10 (except for
                                                                                      statistical reporting numbers 7302.10.1010,
                                                                                      7302.10.1035, 7302.10.1065 and 7302.10.1075) ............                                  1,089 kg

                                                     9903.80.55                       Rails known as "standard rails," provided for in
                                                                                      subheading 7302.10.10 (except for statistical reporting
                                                                                      numbers 7302.10.1015,7302.10.1025,7302.10.1045
                                                                                      and 7302.10.1055) or 7302.10.50 ......................................                     939 kg

                                                     9903.80.56                       Products of tool steel and other products, provided for
                                                                                      in subheading 7224.10.00 (except for statistical
                                                                                      reporting numbers n24.10.0005 and 7224.10.0075),
                                                                                      7224.90.00 (except for statistical reporting numbers
                                                                                      7224.90.0005, 7224.90.0045, 7224.90.0055,
                                                                                      7224.90.0065 and 7224.90.0075), 7225.30.11,
                                                                                      7225.30.51, 7225.40.11, 7225.40.51, 7225.50.11,
                                                                                      7226.20.00, 7226.91.05, 7226.91.15, 7226.91.25,
                                                                                      7226.92.10, 7226.92.30, 7227.10.00, 7227.90.10,
                                                                                      7227.90.20, 7228.10.00, 7228.30.20, 7228.30.40,
                                                                                      7228.30.60, 7228.50.10, 7228.60.10 or                                                      9,426,132 kg
                                                                                      7229.90.05 ....................................................

                                                      9903.80.57                      Blooms, billets and slabs, semi-finished, provided for in
                                                                                      subheading 7207.11.00, 7207.12.00, 7207.19.00,
                                                                                      7207.20.00 or 7224.90.00 (except for statistical
                                                                                      reporting numbers 7224.90.0015, 7224.90.0025, and
                                                                                      7224.90.0035) .......................................................................      3,505,707,831 kg

                                                      9903.80.58                      Ingots, provided for in subheading 7206.10.00,
                                                                                      7206.90.00 or 7224.10.00 (except for statistical
                                                                                      reporting number 7224.10.0045) .......................................                     8,719 kg
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                                              [FR Doc. 2018–12140

                                              Filed 6–4–18; 8:45 a.m.]
                                              Billing code 7020–02–C
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                                                                                                      Proclamation 9777 of August 29, 2018

                                                                                                      Adjusting Imports of Steel Into the United States


                                                                                                      By the President of the United States of America

                                                                                                      A Proclamation
                                                                                                      1. On January 11, 2018, the Secretary of Commerce (Secretary) transmitted
                                                                                                      to me a report on his investigation into the effect of imports of steel articles
                                                                                                      on the national security of the United States under section 232 of the
                                                                                                      Trade Expansion Act of 1962, as amended (19 U.S.C. 1862). The Secretary
                                                                                                      found and advised me of his opinion that steel articles are being imported
                                                                                                      into the United States in such quantities and under such circumstances
                                                                                                      as to threaten to impair the national security of the United States. In light
                                                                                                      of this conclusion, the Secretary recommended action to adjust the imports
                                                                                                      of steel articles so that such imports will not threaten to impair the national
                                                                                                      security. The Secretary also recommended that I authorize him, in response
                                                                                                      to specific requests from affected domestic parties, to exclude from any
                                                                                                      adopted import restrictions those steel articles for which the Secretary deter-
                                                                                                      mines there is a lack of sufficient domestic production capacity of comparable
                                                                                                      products, or to exclude steel articles from such restrictions for specific
                                                                                                      national security-based considerations.
                                                                                                      2. In Proclamation 9705 of March 8, 2018 (Adjusting Imports of Steel Into
                                                                                                      the United States), I concurred in the Secretary’s finding that steel articles,
                                                                                                      as defined in clause 1 of Proclamation 9705, as amended by clause 8 of
                                                                                                      Proclamation 9711 of March 22, 2018 (Adjusting Imports of Steel Into the
                                                                                                      United States), are being imported into the United States in such quantities
                                                                                                      and under such circumstances as to threaten to impair the national security
                                                                                                      of the United States, and decided to adjust the imports of these steel articles
                                                                                                      by imposing a 25 percent ad valorem tariff on such articles imported from
                                                                                                      most countries. I further authorized the Secretary to provide relief from
                                                                                                      these additional duties for any steel article determined not to be produced
                                                                                                      in the United States in a sufficient and reasonably available amount or
                                                                                                      of a satisfactory quality and also to provide such relief based on specific
                                                                                                      national security considerations.
                                                                                                      3. Consistent with the Secretary’s recommendation that I authorize him
                                                                                                      to exclude from any adopted import restrictions those steel articles for
                                                                                                      which the Secretary determines there is a lack of sufficient domestic produc-
                                                                                                      tion of comparable products, or for specific national security-based consider-
                                                                                                      ations, I have determined to authorize the Secretary to provide relief from
                                                                                                      quantitative limitations on steel articles adopted pursuant to section 232
                                                                                                      of the Trade Expansion Act of 1962, as amended, including those set forth
                                                                                                      in Proclamation 9740 of April 30, 2018 (Adjusting Imports of Steel Into
                                                                                                      the United States), and Proclamation 9759 of May 31, 2018 (Adjusting Imports
                                                                                                      of Steel Into the United States), on the same basis as the Secretary is
                                                                                                      currently authorized to provide relief from the duty established in clause
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                                                                                                      2 of Proclamation 9705.
                                                                                                      4. In addition, I have been informed that the quantitative limitations set
                                                                                                      forth in Proclamation 9740 and Proclamation 9759 have in some cases
                                                                                                      already filled for this year, and that projects in the United States employing
                                                                                                      thousands of workers may be significantly disrupted or delayed because
                                                                                                      imports of specific steel articles, which were contracted for purchase prior
                                                                                                      to my decision to adjust imports of these articles, cannot presently be


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                                                                                                      entered into the United States because the quantitative limits have already
                                                                                                      been reached. In light of these circumstances, and after considering the
                                                                                                      impact on the economy and the national security objectives of section 232
                                                                                                      of the Trade Expansion Act of 1962, as amended, I have determined to
                                                                                                      direct the Secretary to provide relief from the quantitative limitations set
                                                                                                      forth in Proclamation 9740 and Proclamation 9759 in limited circumstances.
                                                                                                      5. In light of my determinations, I have considered whether it is necessary
                                                                                                      and appropriate in light of our national security interests to make any
                                                                                                      corresponding adjustments to the tariff or quotas imposed by previous procla-
                                                                                                      mations. It is my judgment that it is necessary and appropriate, at this
                                                                                                      time, to maintain the current tariff and quota levels. As directed in Proclama-
                                                                                                      tion 9705, the Secretary shall continue to monitor imports of steel articles
                                                                                                      and inform me of any circumstances that, in his opinion, might indicate
                                                                                                      the need for further action under section 232 of the Trade Expansion Act
                                                                                                      of 1962, as amended.
                                                                                                      6. The United States continues to hold discussions with countries on satisfac-
                                                                                                      tory alternative means to address the threatened impairment to our national
                                                                                                      security posed by steel articles imports. Should these discussions result
                                                                                                      in an agreement concerning such alternative means, I will take further action
                                                                                                      as appropriate.
                                                                                                      7. Section 232 of the Trade Expansion Act of 1962, as amended, authorizes
                                                                                                      the President to adjust the imports of an article and its derivatives that
                                                                                                      are being imported into the United States in such quantities or under such
                                                                                                      circumstances as to threaten to impair the national security.
                                                                                                      8. Section 604 of the Trade Act of 1974, as amended (19 U.S.C. 2483),
                                                                                                      authorizes the President to embody in the Harmonized Tariff Schedule of
                                                                                                      the United States (HTSUS) the substance of statutes affecting import treat-
                                                                                                      ment, and actions thereunder, including the removal, modification, continu-
                                                                                                      ance, or imposition of any rate of duty or other import restriction.
                                                                                                      NOW, THEREFORE, I, DONALD J. TRUMP, President of the United States
                                                                                                      of America, by the authority vested in me by the Constitution and the
                                                                                                      laws of the United States of America, including section 232 of the Trade
                                                                                                      Expansion Act of 1962, as amended, section 301 of title 3, United States
                                                                                                      Code, and section 604 of the Trade Act of 1974, as amended, do hereby
                                                                                                      proclaim as follows:
                                                                                                         (1) The Secretary, in consultation with the Secretary of State, the Secretary
                                                                                                      of the Treasury, the Secretary of Defense, the United States Trade Representa-
                                                                                                      tive (USTR), the Assistant to the President for National Security Affairs,
                                                                                                      the Assistant to the President for Economic Policy, and such other senior
                                                                                                      Executive Branch officials as the Secretary deems appropriate, is hereby
                                                                                                      authorized to provide relief from the quantitative limitations applicable to
                                                                                                      steel articles described in subheadings 9903.80.05 through 9903.80.58 of
                                                                                                      subchapter III of chapter 99 of the HTSUS for any steel article determined
                                                                                                      not to be produced in the United States in a sufficient and reasonably
                                                                                                      available amount or of a satisfactory quality, and is also authorized to
                                                                                                      provide such relief based upon specific national security considerations.
                                                                                                      Such relief shall be provided for a steel article only after a request for
                                                                                                      relief is made by a directly affected party located in the United States.
                                                                                                      Such relief may be provided to directly affected parties on a party-by-
                                                                                                      party basis taking into account the regional availability of particular articles,
                                                                                                      the ability to transport articles within the United States, and any other
                                                                                                      factors as the Secretary deems appropriate. If the Secretary determines that
                                                                                                      relief should be granted to a requesting party for the importation of a
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                                                                                                      particular steel article, the Secretary shall publicly post such determination
                                                                                                      and notify U.S. Customs and Border Protection (CBP) of the Department
                                                                                                      of Homeland Security concerning such article so that it will be excluded
                                                                                                      from the applicable quantitative limitation. Relief granted under this clause
                                                                                                      shall apply only to an article entered for consumption, or withdrawn from
                                                                                                      warehouse for consumption, on or after the date on which the request
                                                                                                      for relief is granted by the Secretary. Until such time as any applicable


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                                                                                                      quantitative limitation for a particular article has been reached, CBP shall
                                                                                                      count any steel article for which relief is granted under this clause toward
                                                                                                      such quantitative limitation at the time when such steel article is entered
                                                                                                      for consumption or withdrawn from warehouse for consumption. Any steel
                                                                                                      article for which relief is granted under this clause shall not be subject
                                                                                                      to the additional rate of duty set forth in Proclamation 9705, as amended.
                                                                                                      Steel articles for which relief is granted under this clause shall be subject
                                                                                                      to the duty treatment provided in subheading 9903.80.60 of subchapter
                                                                                                      III of chapter 99 of the HTSUS, as established by the Annex to this proclama-
                                                                                                      tion.
                                                                                                         (2) The Secretary shall, on an expedited basis, grant relief from the quan-
                                                                                                      titative limitations set forth in Proclamation 9740 and Proclamation 9759
                                                                                                      and their accompanying annexes for any steel article where (i) the party
                                                                                                      requesting relief entered into a written contract for production and shipment
                                                                                                      of such steel article before March 8, 2018; (ii) such contract specifies the
                                                                                                      quantity of such steel article that is to be produced and shipped to the
                                                                                                      United States consistent with a schedule contained in such contract; (iii)
                                                                                                      such steel article is to be used to construct a facility in the United States
                                                                                                      and such steel article cannot be procured from a supplier in the United
                                                                                                      States to meet the delivery schedule and specifications contained in such
                                                                                                      contract; (iv) the payments made pursuant to such contract constitute 10
                                                                                                      percent or less of the cost of the facility under construction; and (v) lack
                                                                                                      of relief from the quantitative limitations on such steel article would signifi-
                                                                                                      cantly disrupt or delay completion of the facility being constructed in the
                                                                                                      United States with the steel article specified in such contract. Until such
                                                                                                      time as any applicable quantitative limitation for a particular article has
                                                                                                      been reached, CBP shall count any steel article for which relief is granted
                                                                                                      under this clause toward such quantitative limitation at the time when
                                                                                                      such steel article is entered for consumption or withdrawn from warehouse
                                                                                                      for consumption. Any steel article for which relief is granted under this
                                                                                                      clause shall be subject to the additional rate of duty set forth in clause
                                                                                                      2 of Proclamation 9705, as amended by this proclamation, when such steel
                                                                                                      article is entered for consumption or withdrawn from warehouse for con-
                                                                                                      sumption. This rate of duty is in addition to any other duties, fees, exactions,
                                                                                                      and charges applicable to such steel article. Any steel article provided relief
                                                                                                      under this clause must be entered for consumption, or withdrawn from
                                                                                                      warehouse for consumption, on or before March 31, 2019, and may not
                                                                                                      be granted further relief by the Secretary under clause 3 of Proclamation
                                                                                                      9705, as amended. Steel articles for which relief is granted under this
                                                                                                      clause shall be subject to the duty treatment provided in subheading
                                                                                                      9903.80.61 of subchapter III of chapter 99 of the HTSUS, as established
                                                                                                      by the Annex to this proclamation.
                                                                                                         (3) The Secretary shall grant relief under clause 2 of this proclamation
                                                                                                      only upon receipt of a sworn statement signed by the chief executive officer
                                                                                                      and the chief legal officer of the party requesting relief. Such statement
                                                                                                      shall attest that (i) the steel article for which relief is sought and the
                                                                                                      associated contract meet all of the criteria for relief set forth in clause
                                                                                                      2 of this proclamation; (ii) the party requesting relief will accurately report
                                                                                                      to CBP, in the manner that CBP prescribes, the quantity of steel articles
                                                                                                      entered for consumption, or withdrawn from warehouse for consumption,
                                                                                                      pursuant to any grant of relief; and (iii) the quantity of steel articles entered
                                                                                                      pursuant to a grant of relief will not exceed the quantity specified in such
                                                                                                      contract for delivery on or before March 31, 2019. Upon granting relief
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                                                                                                      under clause 2 of this proclamation, the Secretary shall notify CBP and
                                                                                                      publish a notice of relief for the quantity of steel articles specified in
                                                                                                      such contract that are scheduled for delivery on or before March 31, 2019.
                                                                                                      The Secretary shall revoke any grant of relief under clause 2 of this proclama-
                                                                                                      tion if the Secretary determines at any time after such grant that the criteria
                                                                                                      for relief have not been met and may, if the Secretary deems it appropriate,
                                                                                                      notify the Attorney General of the facts that led to such revocation.


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                                                                                                         (4) As soon as practicable, the Secretary shall issue procedures for the
                                                                                                      requests for exclusion described in clause 1 of this proclamation. The
                                                                                                      issuance of such procedures is exempt from Executive Order 13771 of January
                                                                                                      30, 2017 (Reducing Regulation and Controlling Regulatory Costs). CBP shall
                                                                                                      implement exclusions granted pursuant to clause 1 or relief provided under
                                                                                                      clause 2 of this proclamation as soon as practicable.
                                                                                                         (5) Clause 3 of Proclamation 9705, as amended by Proclamation 9711,
                                                                                                      is further amended by striking the fourth and fifth sentences and inserting
                                                                                                      in lieu thereof the following two sentences: ‘‘If the Secretary determines
                                                                                                      that a particular steel article should be excluded, the Secretary shall publicly
                                                                                                      post such determination and notify U.S. Customs and Border Protection
                                                                                                      (CBP) of the Department of Homeland Security concerning such article so
                                                                                                      that it will be excluded from the duties described in clause 2 of this
                                                                                                      proclamation. For merchandise entered for consumption, or withdrawn from
                                                                                                      warehouse for consumption, on or after the date the duty established under
                                                                                                      this proclamation is effective and with respect to which liquidation is not
                                                                                                      final, such relief shall be retroactive to the date the request for relief was
                                                                                                      accepted by the Department of Commerce.’’.
                                                                                                         (6) In order to establish the duty rate on imports of steel articles for
                                                                                                      which relief is granted under clause 2 of this proclamation, clause 2 of
                                                                                                      Proclamation 9705, as amended, is further amended by striking the last
                                                                                                      sentence and inserting in lieu thereof the following two sentences: ‘‘All
                                                                                                      steel articles imports covered by subheading 9903.80.61, in subchapter III
                                                                                                      of chapter 99 of the HTSUS, shall be subject to the additional 25 percent
                                                                                                      ad valorem rate of duty established herein with respect to goods entered
                                                                                                      for consumption, or withdrawn from warehouse for consumption, on or
                                                                                                      after 12:01 a.m. eastern daylight time on the date specified in a determination
                                                                                                      by the Secretary granting relief. These rates of duty, which are in addition
                                                                                                      to any other duties, fees, exactions, and charges applicable to such imported
                                                                                                      steel articles, shall apply to imports of steel articles from each country
                                                                                                      as specified in the preceding three sentences.’’.
                                                                                                         (7) Where the government of a country identified in the superior text
                                                                                                      to subheadings 9903.80.05 through 9903.80.58 of subchapter III of chapter
                                                                                                      99 of the HTSUS notifies the United States that it has established a mecha-
                                                                                                      nism for the certification of exports to the United States of products covered
                                                                                                      by the quantitative limitations applicable to these subheadings, and where
                                                                                                      such mechanism meets the operational requirements for participation in
                                                                                                      an export certification system administered by the United States, CBP, in
                                                                                                      consultation with the Secretary, USTR, and other relevant executive depart-
                                                                                                      ments and agencies, may require that importers of these products furnish
                                                                                                      relevant export certification information in order to qualify for the treatment
                                                                                                      set forth in subheadings 9903.80.05 through 9903.80.58. Where CBP adopts
                                                                                                      such a requirement, it shall publish in the Federal Register notice of the
                                                                                                      requirement and procedures for the submission of relevant export certification
                                                                                                      information. No article that is subject to the export certification requirement
                                                                                                      announced in such notice may be entered for consumption, or withdrawn
                                                                                                      from warehouse for consumption, on or after the effective date specified
                                                                                                      in such notice, except upon presentation of a valid and properly executed
                                                                                                      certification, in accordance with the procedures set forth in the notice.
                                                                                                         (8) Subdivision (c) of U.S. note 16 to subchapter III of chapter 99 of
                                                                                                      the HTSUS is amended by inserting at the end the following new sentence:
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                                                                                                      ‘‘Pursuant to subheadings 9903.80.60 and 9903.80.61 and superior text there-
                                                                                                      to, the Secretary may provide that any excluded product shall be granted
                                                                                                      entry into the customs territory of the United States when the applicable
                                                                                                      quantitative limitation has filled for the specified period for such good.’’.
                                                                                                        (9) Subdivision (d) of U.S. note 16 to subchapter III of chapter 99 of
                                                                                                      the HTSUS is amended by inserting after ‘‘9903.80.58’’ the phrase ‘‘and
                                                                                                      9903.80.60 and 9903.80.61’’.


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                                                                                                         (10) The rate of duty specified in the HTSUS in the general column
                                                                                                      for heading 9903.80.01 is amended by striking ‘‘25%’’ and inserting in
                                                                                                      lieu thereof: ‘‘The duty provided in the applicable subheading + 25%’’.
                                                                                                         (11) The rate of duty specified in the HTSUS in the general column
                                                                                                      for heading 9903.80.02 is amended by striking ‘‘50%’’ and inserting in
                                                                                                      lieu thereof: ‘‘The duty provided in the applicable subheading + 50%’’.
                                                                                                         (12) The superior text for subheadings 9903.80.05 through 9903.80.58
                                                                                                      of the HTSUS is amended by deleting ‘‘Iron’’ and inserting in lieu thereof:
                                                                                                      ‘‘Except as provided in subheadings 9903.80.60 and 9903.80.61, iron’’.
                                                                                                        (13) To implement clauses 1 and 2 of this proclamation, subchapter III
                                                                                                      of chapter 99 of the HTSUS is modified as provided in the Annex to
                                                                                                      this proclamation.
                                                                                                        (14) The modifications to the HTSUS made by clauses 8 through 13
                                                                                                      of this proclamation and the Annex to this proclamation shall be effective
                                                                                                      with respect to goods entered for consumption, or withdrawn from warehouse
                                                                                                      for consumption, on or after 12:01 a.m. eastern daylight time on August
                                                                                                      30, 2018, and shall continue in effect, unless such actions are expressly
                                                                                                      reduced, modified, or terminated.
                                                                                                         (15) Clause 5 of Proclamation 9705 is amended by inserting ‘‘for consump-
                                                                                                      tion’’ after ‘‘goods entered’’ in the first sentence. Clause 5 of Proclamation
                                                                                                      9711, as amended, is amended by striking ‘‘by this proclamation’’ from
                                                                                                      the end of the second sentence. Clause 6 of Proclamation 9740 is amended
                                                                                                      by striking ‘‘by clause 1 of this proclamation’’.
                                                                                                        (16) The Secretary, in consultation with CBP and other relevant executive
                                                                                                      departments and agencies, shall revise the HTSUS so that it conforms to
                                                                                                      the amendments directed by this proclamation. The Secretary shall publish
                                                                                                      any such modification to the HTSUS in the Federal Register.
                                                                                                        (17) Any provision of previous proclamations and Executive Orders that
                                                                                                      is inconsistent with the actions taken in this proclamation is superseded
                                                                                                      to the extent of such inconsistency.
                                                                                                      IN WITNESS WHEREOF, I have hereunto set my hand this twenty-ninth
                                                                                                      day of August, in the year of our Lord two thousand eighteen, and of
                                                                                                      the Independence of the United States of America the two hundred and
                                                                                                      forty-third.
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                                                                                                                                             ANNEX
                                                                                 TO MODIFY CERTAIN PROVISIONS OF CHAPTER 99 OF
                                                                             THE HARMONIZED TARIFF SCHEDULE OF THE UNITED STATES

                                                              Effective with respect to goods entered for consumption, or withdrawn from warehouse for
                                                              consumption, on or after 12:01 a.m. eastern daylight time on August 30, 2018, subchapter III of
                                                              chapter 99 ofthe Harmonized Tariff Schedule of the United States is modified by inserting in
                                                              numerical sequenee the following new tariff provision, with the material in the new tariff
                                                              provisions inserted in the columns labeled "Heading/Subheading", "Article Description", "Rates
                                                              of Duty 1-General", "Rates of Duty 1-Special," and "Rates ofDuty 2", respectively:


                                                                                                                                                                                                      Rates of Duty
                                                                    Heading/
                                                                   Subheading                                              Article description                                                            1             2

                                                                                                                                                                                               General        Special

                                                                                    "Iron or steel products of Argentina, of Brazil, or of South Korea
                                                                                    enumerated in U.S. note 16(b) to this subchapter, each covered
                                                                                    by an exclusion granted by the Secretary of Commerce under
                                                                                    note 16(c) to this subchapter:

                                                                   9903.80.60           Goods granted relief from the application of quantitative
                                                                                        limitation otherwise imposed in relation to subheadings
                                                                                        9903.80.05 through 9903.80.58, for any steel article
                                                                                        determined by the Secretary not to be produced in the United
                                                                                        States in a sufficient and reasonably available amount, or of a
                                                                                        satisfactory qualify, or for specific national security reasons,
                                                                                        provided that such goods shall be counted toward any
                                                                                        quantitative limitation proclaimed by the President until such
                                                                                        limitation has filled ...........................................................................   The duty
                                                                                                                                                                                            provided in
                                                                                                                                                                                            the
                                                                                                                                                                                            applicable
                                                                                                                                                                                            subheading
                                                                   9903.80.61       Goods subject to a qualifying contract for which relief has been
                                                                                    provided from the application of quantitative limitation
                                                                                    otherwise imposed in relation to .subheadings 9903.80.05
                                                                                    through 9903.80.58, provided that such goods shall be counted
                                                                                    toward any quantitative limitation proclaimed by the President
                                                                                    until such limitation has filled ............................................................           The duty
                                                                                                                                                                                            provided in
                                                                                                                                                                                            the
                                                                                                                                                                                            applicable
                                                                                                                                                                                            subheading +
                                                                                                                                                                                            25%"
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                                                  [FR Doc. 2018–19284

                                                  Filed 8–31–18; 11:15 am]
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                                                                      232 Steel: First Unit of Quantity by Customs Value
                                                                                           for Turkey

                                                                          U.S. Imports for Consumption in Metric Tons

                                                                           Annual + Year-To-Date Data from Jan - Jul
      HTS     TYPE     STEEL TYPE                       HTS Description                2012       2013       2014        2015       2016        2017        2017 YTD 2018 YTD     Percent
                      DESCRIPTION                                                                                                                                                  Change
                                                                                                                                                                                 YTD2017 -
                                                                                                                                                                                  YTD2018
                                           720711                                             0          0          0           0          0           68         68        0       -100.00%
                                           SEMIFINISHED PRODUCTS OF IRON OR
                   Carbon and Alloy        NONALLOY STEEL, UNDER 0.25% (WT.)
                   Semi-finished           CARBON, RECTANGULAR OR SQUARE CROSS
                   Products (Semi-         SECTION, WIDTH LESS THAN TWICE THE
     720711      4 finished Products)      THICKNESS
                                           720810                                        1,940     1,499       5,932            0          0           0           0        0           N/A
                                           FLAT-ROLLED PRODUCTS OF IRON OR
                                           NONALLOY STEEL, OF A WIDTH OF 600 MM
                   Carbon and Alloy Flat   OR MORE, IN COILS, NOT FURTHER WORKED
                   Product (Flat           THAN HOT-ROLLED, WITH PATTERNS IN
     720810      1 Products)               RELIEF
                                           720825                                             0          0          26    11,357           0           0           0        0           N/A
                                           FLAT-ROLLED PRODUCTS OF IRON OR
                                           NONALLOY STEEL, OF A WIDTH OF 600 MM
                   Carbon and Alloy Flat   OR MORE, COILS,HOT-ROLLED WORKED
                   Product (Flat           ONLY,PICKLED, THICKNESS 4.75 MM OR
     720825      1 Products)               MORE, NESOI
                                           720826                                             0          0     1,406       6,304           70          0           0        0           N/A
                                           FLAT-ROLLED PRODUCTS OF IRON OR
                                           NONALLOY STEEL, OF A WIDTH OF 600 MM
                   Carbon and Alloy Flat   OR MORE, COILS,HOT-ROLLED WORKED
                   Product (Flat           ONLY,PICKLED,3MM BUT < 4.75MM THICK,
     720826      1 Products)               N.E.S.O.I.
                                           720827                                             0      373       1,469       7,891       403             0           0        0           N/A
                                           FLAT-ROLLED PRODUCTS OF IRON OR
                                           NONALLOY STEEL, WIDTH OF 600 MM OR
                   Carbon and Alloy Flat   MORE,IN COILS,HOT-ROLLED WORKED ONLY,
                   Product (Flat           PICKLED, LESS THAN 3 MM THICK, N.E.S.O.I.
     720827      1 Products)
                                           720836                                          665     2,816      32,450      31,317     11,667      5,202         3,869     5,921       53.00%
                                           FLAT-ROLLED PRODUCTS OF IRON OR
                                           NONALLOY STEEL, WIDTH OF 600 MM OR
                   Carbon and Alloy Flat   MORE IN COILS, HOT-ROLLED WORKED ONLY,
                   Product (Flat           OF A THICKNESS EXCEEDING 10 MM,
     720836      1 Products)               N.E.S.O.I.
                                           720837                                        1,312    13,742      78,170     102,544     36,164     15,323        12,069    21,219       75.80%
                                           FLAT-ROLLED PRODUCTS OF IRN OR
                                           NONALLOY STEEL, WIDTH OF 600MM OR
                   Carbon and Alloy Flat   MORE, IN COILS, HOT-ROLLED WORKED ONLY,
                   Product (Flat           OF A THICKNESS 4.75MM BUT NOT OVER
     720837      1 Products)               10MM NESOI
                                           720838                                        1,752    11,695     102,019      94,169     33,621     49,313        46,415    25,412      -45.20%
                                           FLAT-ROLLED PRODUCTS OF IRON OR
                                           NONALLOY STEEL,WIDTH 600MM OR
                   Carbon and Alloy Flat   MORE,IN COILS,HOT-ROLLED WORKED ONLY,
                   Product (Flat           OF A THICKNESS 3MM OR MORE BUT UNDER
     720838      1 Products)               4.75MM, NESOI
                                           720839                                        3,515    11,141     141,339      85,847    112,699     25,212        18,491    31,413       69.90%
                                           FLAT-ROLLED PRODUCTS OF IRON OR
                                           NONALLOY STEEL,WIDTH 600MM OR
                   Carbon and Alloy Flat   MORE,IN COILS,HOT-ROLLED WORKED ONLY,
                   Product (Flat           OF A THICKNESS OF LESS THAN 3MM,
     720839      1 Products)               N.E.S.O.I.
                                           720840                                          140       363        111         157        126             0           0        0           N/A
                                           FLAT-ROLLED IRON OR NONALLOY STEEL, 600
                   Carbon and Alloy Flat   MM OR MORE WIDE, HOT-ROLLED, NOT
                   Product (Flat           CLAD, PLATED OR COILS, PATTERNS IN RELIEF
     720840      1 Products)




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      HTS     TYPE     STEEL TYPE                       HTS Description               2012       2013       2014        2015        2016        2017        2017 YTD 2018 YTD     Percent
                      DESCRIPTION                                                                                                                                                  Change
                                                                                                                                                                                 YTD2017 -
                                                                                                                                                                                  YTD2018
                                           720851                                     50,840     13,314     97,275      13,108      29,239             13          5        0       -100.00%
                                           FLAT-ROLLED PRODUCTS OF IRON OR
                                           NONALLOY STEEL,WIDTH 600MM OR MORE,
                   Carbon and Alloy Flat   NOT IN COILS, HOT-ROLLED WORKED ONLY,
                   Product (Flat           OF A THICKNESS EXCEEDING 10 MM,
     720851      1 Products)               N.E.S.O.I.
                                           720852                                      5,586      4,689      8,280       6,648       2,785             0           0       22           N/A
                                           FLAT-ROLLED IRON OR NONALLOY STEEL, 600
                   Carbon and Alloy Flat   MM OR MORE WIDE, HOT-ROLLED, NOT
                   Product (Flat           CLAD, PLATED, COATED OR COILS, 4.75 MM
     720852      1 Products)               TO 10 MM THICK
                                           720853                                        682        886      1,497       1,368       1,273             0           0        0           N/A
                                           FLAT-ROLLED IRON OR NONALLOY STEEL, 600
                   Carbon and Alloy Flat   MM OR MORE WIDE, HOT-ROLLED, NOT
                   Product (Flat           CLAD, PLATED, COATED OR COILS, 3 MM TO
     720853      1 Products)               UNDER 4.75 MM THICK
                                           720854                                        906        415        482         406         232             0           0        0           N/A
                                           FLAT-ROLLED IRON OR NONALLOY STEEL, 600
                   Carbon and Alloy Flat   MM OR MORE WIDE, HOT-ROLLED, NOT
                   Product (Flat           CLAD, PLATED, COATED OR COILS, LESS THAN
     720854      1 Products)               3 MM THICK
                                           720890                                            0          0          33          21          0           7           0        0           N/A
                                           FLAT-ROLLED IRON OR NONALLOY STEEL
                   Carbon and Alloy Flat   PRODUCTS, 600 MM OR MORE WIDE, HOT-
                   Product (Flat           ROLLED, NOT CLAD, PLATED OR COATED,
     720890      1 Products)               NESOI
                                           720915                                            0          0          0           0       404             0           0        0           N/A
                                           FLAT-ROLLED PRODUCTS OF IRON OR
                   Carbon and Alloy Flat   NONALLOY STEEL, WIDTH 600MM OR MORE,
                   Product (Flat           IN COILS, COLD-ROLLED WORKED ONLY, OF A
     720915      1 Products)               THICKNESS OF 3 MM OR MORE
                                           720916                                            0          0    4,698      17,574      99,574      180,698       95,505    34,115      -64.30%
                                           FLAT-ROLLED PRODUCTS OF IRON OR
                                           NONALLOY STEEL, WIDTH 600MM OR MORE,
                   Carbon and Alloy Flat   IN COILS,COLD-ROLLED WORKED ONLY, OF A
                   Product (Flat           THICKNESS OVER ONE MM BUT LESS THAN 3
     720916      1 Products)               MM
                                           720917                                            0          0      300       7,389      41,501      100,251       76,941    38,201      -50.40%
                                           FLAT-ROLLED PRODUCTS OF IRON OR
                                           NONALLOY STEEL, WIDTH 600MM OR MORE,
                   Carbon and Alloy Flat   IN COILS, COLD-ROLLED WORKED ONLY, OF A
                   Product (Flat           THICKNESS 0.5MM OR MORE BUT NOT OVER
     720917      1 Products)               1MM
                                           720918                                            0          0          0     1,298      13,009       42,630       31,622    19,341      -38.80%
                                           FLAT-ROLLED PRODUCTS OF IRON OR
                                           NONALLOY STEEL, WIDTH 600MM OR MORE,
                   Carbon and Alloy Flat   IN COILS, COLD-ROLLED WORKED ONLY, OF A
                   Product (Flat           THICKNESS OF LESS THAN 0.5 MM
     720918      1 Products)
                                         720926                                              0          0          0       269             20          60         60        0      -100.00%
                                         FLAT-ROLLED PRODUCTS OF IRON OR
                                         NONALLOY STEEL,WIDTH 600MM OR MORE,
                   Carbon and Alloy Flat NOT IN COILS,COLD-ROLLED WORKED ONLY,
                   Product (Flat         OF A THICKNESS OVER 1 MM BUT LESS THAN
     720926      1 Products)             3 MM
                                         720927                                              0          0          0           0           1           0           0        0           N/A
                                         FLAT-ROLLED PRODUCTS OF IRON OR
                                         NONALLOY STEEL,WIDTH 600MM OR MORE,
                   Carbon and Alloy Flat NOT IN COILS,COLD-ROLLED WORKED ONLY,
                   Product (Flat         OF A THICKNESS 0.5MM OR MORE BUT N/O
     720927      1 Products)             1MM
                                         720990                                              0          0          40          5           0           0           0        0           N/A
                                         FLAT-ROLLED IRON OR NONALLOY STEEL
                   Carbon and Alloy Flat PRODUCTS, 600 MM OR MORE WIDE, COLD-
                   Product (Flat         ROLLED, NOT CLAD, PLATED OR COATED,
     720990      1 Products)             NESOI




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      HTS     TYPE     STEEL TYPE                      HTS Description              2012       2013       2014        2015        2016        2017        2017 YTD 2018 YTD     Percent
                      DESCRIPTION                                                                                                                                                Change
                                                                                                                                                                               YTD2017 -
                                                                                                                                                                                YTD2018
                                         721011                                            6          0          0           0           16      107            78        0       -100.00%
                                         FLAT-ROLLED IRON OR NONALLOY STEEL
                   Carbon and Alloy Flat PRODUCTS, 600 MM OR MORE WIDE, PLATED
                   Product (Flat         OR COATED WITH TIN, 0.5 MM OR MORE
     721011      1 Products)             THICK
                                         721012                                            0          0      107             0           0       147             0       45           N/A
                                         FLAT-ROLLED IRON OR NONALLOY STEEL
                   Carbon and Alloy Flat PRODUCTS, 600 MM OR MORE WIDE, PLATED
                   Product (Flat         OR COATED WITH TIN, UNDER 0.5 MM THICK
     721012      1 Products)
                                           721030                                          0          0          0           20          0           0           0        0           N/A
                                           FLAT-ROLLED PRODUCTS OF IRON OR
                   Carbon and Alloy Flat   NONALLOY STEEL, WIDTH OF 600MM OR
                   Product (Flat           MORE, ELECTROLYTICALLY PLATED OR
     721030      1 Products)               COATED WITH ZINC
                                           721041                                          0          0          0           0           0           75         75        0      -100.00%
                                           FLAT-ROLLED IRON OR NONALLOY STEEL
                   Carbon and Alloy Flat   PRODUCTS, CORRUGATED, 600 MM OR MORE
                   Product (Flat           WIDE, PLATED OR COATED WITH ZINC OTHER
     721041      1 Products)               THAN ELECTROLYTICALLY
                                           721049                                          0          0      538      30,363      81,857      279,512      154,344    79,991      -48.20%
                                           FLAT-ROLLED IRON OR NONALLOY STEEL
                   Carbon and Alloy Flat   PRODUCTS, NOT CORRUGATED, 600 MM OR
                   Product (Flat           MORE WIDE, PLATED OR COATED WITH ZINC
     721049      1 Products)               OTHER THAN ELECTROLYTICALLY
                                           721050                                          0          0          0           0           0           7           7      658      9203.60%
                                           FLAT-ROLLED IRON OR NONALLOY STEEL
                                           PRODUCTS, 600 MM OR MORE WIDE, PLATED
                   Carbon and Alloy Flat   OR COATED WITH CHROMIUM OXIDES OR
                   Product (Flat           WITH CHROMIUM AND CHROMIUM OXIDES
     721050      1 Products)
                                           721061                                          0          0          0           0           0      3,536        3,536     3,419       -3.30%
                   Carbon and Alloy Flat FLAT-ROLLD IRON OR NONALLOY STEEL
                   Product (Flat         600MM OR MORE, PLATED OR COATED WITH
     721061      1 Products)             ALUMINUM-ZINC ALLOYS
                                           721069                                          0          0          0           0           0       142             0        0           N/A
                   Carbon and Alloy Flat FLAT-ROLLD IRON OR NONALLOY STEEL
                   Product (Flat         600MM OR MORE, PLATED OR COATED WITH
     721069      1 Products)             OTHER ALUMINUM
                                           721070                                          0          0          0           0       813       10,658        4,373     9,465      116.50%
                                           FLAT-ROLLED IRON OR NONALLOY STEEL
                   Carbon and Alloy Flat   PRODUCTS, 600 MM OR MORE WIDE,
                   Product (Flat           PAINTED, VARNISHED OR COATED WITH
     721070      1 Products)               PLASTICS
                                           721090                                          0          0          0           6       365             0           0        0           N/A
                   Carbon and Alloy Flat   FLAT-ROLLED IRON OR NONALLOY STEEL
                   Product (Flat           PRODUCTS, 600 MM OR MORE WIDE, CLAD,
     721090      1 Products)               PLATED OR COATED, NESOI
                                           721114                                          0          0          69    1,283         162         558           387       85       -78.10%
                                           FLAT-ROLLD HIGH-STRNGTH IRON OR
                   Carbon and Alloy Flat   NONALLOY STEEL UNDER 600MM WIDE HOT-
                   Product (Flat           ROLLD, NOT CLAD, COATED OR PLATED
     721114      1 Products)               4.75MM THICK OR MORE
                                           721119                                    2,754        653      1,536         842         296         411           272        6       -97.90%
                                           FLAT-ROLLED HIGH-STRENGTH NONALLLOY
                   Carbon and Alloy Flat   STEEL PRODUCTS NESOI, UNDER 600 MM
                   Product (Flat           WIDE, HOT-ROLLED, NOT CLAD, PLATED OR
     721119      1 Products)               COATED, UNDER 4.75 MM THICK
                                           721123                                          0          0          11      284             0           58         58        0      -100.00%
                                           FLAT-ROLLED PRODUCTS OF IRON OR
                   Carbon and Alloy Flat   NONALLOY STEEL, WIDTH LESS THAN 600
                   Product (Flat           MM, NOT FURTHER WORKED THAN COLD-
     721123      1 Products)               ROLLED, NOT CLAD, PLATED OR COATED,
                                           721210                                          0          0          0           34          0           0           0        0           N/A
                   Carbon and Alloy Flat   FLAT-ROLLED IRON OR NONALLOY STEEL
                   Product (Flat           PRODUCTS, UNDER 600 MM WIDE, PLATED
     721210      1 Products)               OR COATED WITH TIN




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      HTS     TYPE     STEEL TYPE                    HTS Description              2012        2013       2014        2015        2016        2017        2017 YTD 2018 YTD     Percent
                      DESCRIPTION                                                                                                                                               Change
                                                                                                                                                                              YTD2017 -
                                                                                                                                                                               YTD2018
                                         721220                                          0           0          12      449             38          24          0        0           N/A
                                         FLAT-ROLLED PRODUCTS OF IRON OR
                   Carbon and Alloy Flat NONALLOY STEEL, WIDTH OF LESS THAN 600
                   Product (Flat         MM, ELECTROLYTICALLY PLATED OR COATED
     721220      1 Products)             WITH ZINC
                                         721230                                          0           0          0       257         918        3,290        2,832     4,329       52.90%
                                         FLAT-ROLLED IRON OR NONALLOY STEEL
                   Carbon and Alloy Flat PRODUCTS, UNDER 600 MM WIDE, PLATED
                   Product (Flat         OR COATED WITH ZINC OTHER THAN
     721230      1 Products)             ELECTROLYTICALLY
                                         721240                                          0           0          93      135         322         795           544      298       -45.30%
                                         FLAT-ROLLED IRON OR NONALLOY STEEL
                   Carbon and Alloy Flat PRODUCTS, UNDER 600 MM WIDE, PAINTED,
                   Product (Flat         VARNISHED OR COATED WITH PLASTICS
     721240      1 Products)
                                         721250                                          0           0          0           3           2           2           2        0      -100.00%
                   Carbon and Alloy Flat FLAT-ROLLED IRON OR NONALLOY STEEL
                   Product (Flat         PRODUCTS, UNDER 600 MM WIDE, PLATED
     721250      1 Products)             OR COATED, NESOI
                                         721310                                    64,180      52,959     37,708      35,087     57,109        8,888        6,502     1,964      -69.80%
                   Carbon and Alloy    BARS AND RODS OF IRON OR NONALLOY
                   Long Products (Long STEEL, HOT-ROLLED, IN IRREGULLARLY
     721310      2 Products)           WOUND COILS, CONCRETE REINFORCING
                                         721391                                   148,315      27,479    172,113     211,679     81,705      100,688      100,040       23      -100.00%
                                         BARS AND RODS,HOT-ROLLED, IN
                                         IRREGULARLY WOUND COILS, OF IRON OR
                   Carbon and Alloy      NONALLOY STEEL, OF CIRCULAR CROSS-
                   Long Products (Long   SECTION MEASURING LESS THAN 14MM IN
     721391      2 Products)             DIAMETER, NESOI
                                         721399                                     2,114       1,584           0      7,576      2,439        2,110        2,110        0      -100.00%
                   Carbon and Alloy      BARS AND RODS, HOT-ROLLED, IN
                   Long Products (Long   IRREGULARLY WOUND COILS, OF IRON OR
     721399      2 Products)             NONALLOY STEEL, N.E.S.O.I.
                   Carbon and Alloy      721410                                          0           0          0           41          0      1,202            0        0          N/A
                   Long Products (Long   BARS AND RODS OF IRON OR NONALLOY
     721410      2 Products)             STEEL, FORGED
                                         721420                                   510,630     572,163    852,423 1,439,369 1,296,377         782,698      715,662   259,833      -63.70%
                   Carbon and Alloy      BARS AND RODS OF IRON OR NONALLOY
                   Long Products (Long   STEEL, HOT-WORKED NESOI, CONCRETE
     721420      2 Products)             REINFORCING
                   Carbon and Alloy      721430                                          0           0          0           41          0           0           0        0          N/A
                   Long Products (Long   BARS AND RODS OF FREE-CUTTING
     721430      2 Products)             NONALLOY STEEL, HOT-WORKED NESOI
                                         721491                                    21,503      13,171     12,645      12,010      7,905        9,599        6,619     2,597      -60.80%
                                         BARS AND RODS OF IRON OR NONALLOY
                                         STEEL, NOT FURTHER WORKED THAN HOT-
                   Carbon and Alloy      ROLLED, HOT-DRAWN OR HOT-EXTRUDED
                   Long Products (Long   BUT INCL TWISTED,RECTANULAR CROSS
     721491      2 Products)             SECTN, NESOI
                                         721499                                    13,638       6,580     13,358      12,345     16,472       12,178        8,851      992       -88.80%
                                         BARS AND RODS OF IRON OR NONALLOY
                                         STEEL, NOT FURTHER WORKED THAN HOT-
                   Carbon and Alloy      ROLLED, HOT-DRAWN OR HOT-EXTRUDED,
                   Long Products (Long   BUT INCLUDING TWISTED AFTER ROLLING,
     721499      2 Products)             N.E.S.O.I
                                         721550                                      256        1,726      1,302       2,290      2,829        4,048        2,531     2,503       -1.10%
                   Carbon and Alloy      BARS AND RODS OF IRON OR NONALLOY
                   Long Products (Long   STEEL, NOT FURTHER WORKED THAN COLD-
     721550      2 Products)             FORMED OR COLD-FINISHED, N.E.S.O.I.
                   Carbon and Alloy      721590                                          10          0          18          22      177             95          0        0          N/A
                   Long Products (Long   BARS AND RODS OF IRON OR NONALLOY
     721590      2 Products)             STEEL, NESOI
                                         721610                                     2,383       1,601      3,157       4,804        723         261           126      196        55.80%
                   Carbon and Alloy      U, I OR H SECTIONS OF IRON OR NONALLOY
                   Long Products (Long   STEEL, HOT-WORKED, LESS THAN 80 MM
     721610      2 Products)             HIGH
                   Carbon and Alloy      721621                                    26,237       8,624     17,767      18,162      9,411        9,909        7,752     3,912      -49.50%
                   Long Products (Long   L SECTIONS OF IRON OR NONALLOY STEEL,
     721621      2 Products)             HOT-WORKED, LESS THAN 80 MM HIGH



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      HTS     TYPE     STEEL TYPE                    HTS Description                2012        2013        2014       2015        2016        2017        2017 YTD 2018 YTD     Percent
                      DESCRIPTION                                                                                                                                                 Change
                                                                                                                                                                                YTD2017 -
                                                                                                                                                                                 YTD2018
                   Carbon and Alloy    721622                                          981         854         845        706         936       1,082           792      839          6.00%
                   Long Products (Long T SECTIONS OF IRON OR NONALLOY STEEL,
     721622      2 Products)           HOT-WORKED, LESS THAN 80 MM HIGH
                   Carbon and Alloy    721631                                          125         212       2,504      2,461         427         522           485      171       -64.90%
                   Long Products (Long U SECTIONS OF IRON OR NONALLOY STEEL,
     721631      2 Products)           HOT-WORKED, 80 MM OR MORE HIGH
                                        721632                                             0           0           0      112             20          0           0        0           N/A
                   Carbon and Alloy    I SECTIONS OF IRON OR NONALLOY STEEL,
                   Long Products (Long HOT-WORKED, 80 MM OR MORE HIGH
     721632      2 Products)           (STANDARD BEAMS)
                   Carbon and Alloy    721633                                              0           68          0          3           0           0           0       12           N/A
                   Long Products (Long H SECTIONS OF IRON OR NONALLOY STEEL,
     721633      2 Products)           HOT-WORKED, 80 MM OR MORE HIGH
                                        721640                                      12,845       5,982       8,744      5,745       5,036         820           788      926        17.40%
                   Carbon and Alloy    L OR T SECTIONS OF IRON OR NONALLOY
                   Long Products (Long STEEL, HOT-WORKED, 80 MM OR MORE HIGH
     721640      2 Products)
                   Carbon and Alloy    721650                                       19,872       4,799       3,483      8,449      11,994       5,508         5,022     2,742      -45.40%
                   Long Products (Long ANGLES, SHAPES AND SECTIONS NESOI OF
     721650      2 Products)           IRON OR NONALLOY STEEL, HOT-WORKED
                   Carbon and Alloy    721699                                              95          51      232            75      285         298            63       36       -43.10%
                   Long Products (Long ANGLES, SHAPES AND SECTIONS IRON OR
     721699      2 Products)           NONALLOY STEEL NESOI
                                        721710                                         368       1,055       2,174        348         388             44         44        0      -100.00%
                   Carbon and Alloy    WIRE OF IRON OR NONALLLOY STEEL, NOT
                   Long Products (Long PLATED OR COATED, WHETHER OR NOT
     721710      2 Products)           POLISHED
                   Carbon and Alloy    721720                                        4,059       5,074       3,435      3,882       2,064       1,435           892      549       -38.50%
                   Long Products (Long WIRE OF IRON OR NONALLOY STEEL, PLATED
     721720      2 Products)           OR COATED WITH ZINC
                                        721730                                             0           0           0          18          0           0           0       98           N/A
                   Carbon and Alloy    WIRE OF IRON OR NONALLOY STEEL, PLATED
                   Long Products (Long OR COATED WITH BASE METAL OTHER THAN
     721730      2 Products)           ZINC
                   Carbon and Alloy    721790                                              59          0           9          0           23          0           0        0           N/A
                   Long Products (Long WIRE OF IRON OR NONALLOY STEEL LESS
     721790      2 Products)           THAN 0.25 PERCENT CARBON, NESOI
                                        721810                                             0           0           0          0           1           0           0        0           N/A
                                        STAINLESS STEEL INGOTS AND OTHER
     721810      5 Stainless Products   PRIMARY FORMS
                                        721899                                             0           0           0          17          0           2           2        0      -100.00%
                                        OTHER SEMIFINISHED PRODUCTS OF
     721899      5 Stainless Products   STAINLESS STEEL
                                        721911                                             0           0           0          0           39          0           0        0           N/A
                                        FLAT-ROLLED STAINLESS STEEL IN COILS, 600
                                        MM OR MORE WIDE, HOT-ROLLED, OVER 10
     721911      5 Stainless Products   MM THICK
                                        721913                                             0           0           0          0           19          0           0        0           N/A
                                        FLAT-ROLLED STAINLESS STEEL IN COILS, 600
                                        MM OR MORE WIDE, HOT-ROLLED, 3 MM
     721913      5 Stainless Products   BUT UNDER 4.75 MM THICK
                                        721924                                             0           0           0          0           13          0           0        0           N/A
                                        FLAT-ROLLED STAINLESS STEEL NOT IN COILS,
                                        600 MM OR MORE WIDE, HOT-ROLLED,
     721924      5 Stainless Products   UNDER 3 MM THICK
                                        721931                                             0           0           0          0       999             0           0        0           N/A
                                        FLAT-ROLLED STAINLESS STEEL PRODUCTS,
                                        600 MM OR MORE WIDE, COLD-ROLLED, 4.75
     721931      5 Stainless Products   MM OR MORE THICK
                                        721932                                             0           0           0      145             0           0           0        0           N/A
                                        FLAT-ROLLED STAINLESS STEEL PRODUCTS,
                                        600 MM OR MORE WIDE, COLD-ROLLED, 3
     721932      5 Stainless Products   MM BUT UNDER 4.75 MM THICK
                                        721933                                             55          0       360      1,383         861         603           492       34       -93.00%
                                        FLAT-ROLLED STAINLESS STEEL PRODUCTS,
                                        600 MM OR MORE WIDE, COLD-ROLLED,
     721933      5 Stainless Products   OVER 1 MM BUT UNDER 3 MM THICK




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      HTS     TYPE     STEEL TYPE                     HTS Description              2012        2013       2014        2015        2016        2017        2017 YTD 2018 YTD     Percent
                      DESCRIPTION                                                                                                                                                Change
                                                                                                                                                                               YTD2017 -
                                                                                                                                                                                YTD2018
                                         721934                                           38          0      639         190         523       1,054           445      129        -71.00%
                                         FLAT-ROLLED STAINLESS STEEL PRODUCTS,
                                         600 MM OR MORE WIDE, COLD-ROLLED, 0.5
     721934      5 Stainless Products    MM BUT NOT OVER 1 MM THICK
                                         721935                                           0           0          35          52      659         360           200      192        -4.00%
                                         FLAT-ROLLED STAINLESS STEEL PRODUCTS,
                                         600 MM OR MORE WIDE, COLD-ROLLED,
     721935      5 Stainless Products    UNDER 0.5 MM THICK
                                         722100                                           0           0          0           0           0           0           0        0           N/A
                                         BARS AND RODS OF STAINLESS STEEL, HOT-
     722100      5 Stainless Products    ROLLED, IN IRREGULARLY WOUND COILS
                                         722240                                           0           0          0           1           6           1           1        7       442.30%
                                         ANGLES, SHAPES AND SECTIONS OF
     722240      5 Stainless Products    STAINLESS STEEL
                                         722300                                           0           0          0           40          0           20         20        0      -100.00%
     722300      5 Stainless Products    WIRE OF STAINLESS STEEL
                   Carbon and Alloy      722490                                           0           0          0           0           0           4           0        0           N/A
                   Semi-finished         SEMIFINISHED PRODUCTS OF ALLOY STEEL
                   Products (Semi-       (OTHER THAN STAINLESS) NESOI
     722490      4 finished Products)
                                         722540                                           0           0          0           7           0           0           0        0           N/A
                   Carbon and Alloy Flat FLAT-ROLLED ALLOY STEEL (OTHER THAN
                   Product (Flat         STAINLESS) NOT IN COILS, 600 MM OR MORE
     722540      1 Products)             WIDE, HOT-ROLLED, NESOI
                                         722550                                           0           0    3,017       5,773      10,880      21,798        14,420    12,588      -12.70%
                   Carbon and Alloy Flat FLAT-ROLLED ALLOY STEEL (OTHER THAN
                   Product (Flat         STAINLESS) PRODUCTS, 600 MM OR MORE
     722550      1 Products)             WIDE, COLD-ROLLED, NESOI
                                         722592                                           6           0          0           0           0           0           0        0           N/A
                   Carbon and Alloy Flat FLAT-ROLLED ALLOY STEEL NESOI 600 MM OR
                   Product (Flat         MORE WIDE PLATED OR COATED WITH ZINC,
     722592      1 Products)             NOT ELECTROLYTICALLY
                                         722691                                           6           0          0           4           49          0           0        0           N/A
                   Carbon and Alloy Flat FLAT-ROLLED ALLOY STEEL (OTHER THAN
                   Product (Flat         STAINLESS) PRODUCTS, UNDER 600 MM
     722691      1 Products)             WIDE, HOT-ROLLED, NESOI
                                         722790                                           0     1,048     18,483      18,329       4,544         414           414        0      -100.00%
                   Carbon and Alloy    BARS AND RODS OF ALLOY STEEL (OTHER
                   Long Products (Long THAN STAINLESS), HOT-ROLLED, IN
     722790      2 Products)           IRREGULARLY WOUND COILS, NESOI
                   Carbon and Alloy    722830                                      19,836      29,863     23,155      10,546       1,348      81,259        73,074    13,010      -82.20%
                   Long Products (Long BARS AND RODS OF ALLOY STEEL (OTHER
     722830      2 Products)           THAN STAINLESS), HOT-WORKED, NESOI
                   Carbon and Alloy    722840                                             42          9    1,209             0           0           0           0     1,803          N/A
                   Long Products (Long BARS AND RODS OF ALLOY STEEL (OTHER
     722840      2 Products)           THAN STAINLESS), FORGED, NESOI
                                         722850                                           0           0          0           35          43          0           0        0           N/A
                   Carbon and Alloy    BARS AND RODS OF ALLOY STEEL (OTHER
                   Long Products (Long THAN STAINLESS), COLD-FORMED OR COLD-
     722850      2 Products)           FINISHED, NESOI
                   Carbon and Alloy    722860                                       4,284         387            32          27          59          0           0        0           N/A
                   Long Products (Long BARS AND RODS OF ALLOY STEEL (OTHER
     722860      2 Products)           THAN STAINLESS), NESOI
                   Carbon and Alloy    722870                                             0           0    4,064       2,901         271       1,265         1,265        0      -100.00%
                   Long Products (Long ANGLES, SHAPES AND SECTIONS OF ALLOY
     722870      2 Products)           STEEL (OTHER THAN STAINLESS), NESOI
                   Carbon and Alloy      722880                                           0           0          2           0           0           0           0        0           N/A
                   Long Products (Long   HOLLOW DRILL BARS AND RODS OF ALLOY OR
     722880      2 Products)             NONALLOY STEEL
                   Carbon and Alloy      722920                                       212         113        131         161         140         549           409      353       -13.70%
                   Long Products (Long   WIRE OF SILICO-MANGANESE STEEL
     722920      2 Products)
                   Carbon and Alloy      722990                                       513         418        851         356         185         285           285        0      -100.00%
                   Long Products (Long   WIRE OF ALLOY STEEL NESOI
     722990      2 Products)
                                         730110                                           0           0          0           0           0           0           0        2           N/A
                   Carbon and Alloy    SHEET PILING OF IRON OR STEEL, WHETHER
                   Long Products (Long OR NOT DRILLED, PUNCHED OR MADE FROM
     730110      2 Products)           ASSEMBLED ELEMENTS




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      HTS     TYPE     STEEL TYPE                    HTS Description               2012        2013        2014        2015        2016        2017        2017 YTD 2018 YTD     Percent
                      DESCRIPTION                                                                                                                                                 Change
                                                                                                                                                                                YTD2017 -
                                                                                                                                                                                 YTD2018
                   Carbon and Alloy    730210                                             0           0           0       328         707         425           245      381         55.40%
                   Long Products (Long RAILWAY OR TRAMWAY RAILS OF IRON OR
     730210      2 Products)           STEEL
                                        730290                                            0           0           17      219             0           58         58        0      -100.00%
                   Carbon and Alloy    RAILWAY OR TRAMWAY TRACK
                   Long Products (Long CONSTRUCTION MATERIAL OF IRON OR STEEL
     730290      2 Products)           NESOI
                                        730411                                            0       170       1,537         780       1,156         500           492        8       -98.30%
                                        LINE PIPE FOR OIL AND GAS PIPELINES, OF
     730411      5 Stainless Products   STAINLESS STEEL
                   Carbon and Alloy     730419                                            0     3,750       7,500       4,007       3,301       1,135         1,127      102       -91.00%
                   Pipe and Tube        LINE PIPE FOR OIL AND GAS PIPELINES, OF
                   Products (Pipe and   SEAMLESS IRON (OTHER THAN CAST IRON) OR
     730419      3 Tube Products)       STEEL, NES
                                        730424                                        787             0           0           0           0           0           0        0           N/A
                                        CASING & TUBING USED IN DRILLING FOR OIL
     730424      5 Stainless Products   OR GAS, OTHER OF STAINLESS STEEL
                   Carbon and Alloy     730429                                            0           0           0           0           49          0           0        0           N/A
                   Pipe and Tube        CASING AND TUBING OF A KIND USED IN
                   Products (Pipe and   DRILLING FOR OIL OR GAS, OF IRON (EXCEPT
     730429      3 Tube Products)       CAST IRON) OR STEEL
                                        730431                                            20          17      161         203             32          28          0       28           N/A
                   Carbon and Alloy     TUBES, PIPES AND HOLLOW PROFILES,
                   Pipe and Tube        SEAMLESS NESOI, OF CIRCULAR CROSS
                   Products (Pipe and   SECTION OF IRON OR NONALLOY STEEL, COLD-
     730431      3 Tube Products)       DRAWN OR COLD-ROLLED
                                        730439                                        424             7           3           2           12          0           0       64           N/A
                   Carbon and Alloy     TUBES, PIPES AND HOLLOW PROFILES,
                   Pipe and Tube        SEAMLESS NESOI, OF CIRCULAR CROSS
                   Products (Pipe and   SECTION OF IRON OR NONALLOY STEEL, NOT
     730439      3 Tube Products)       COLD-DRAWN OR COLD-ROLLED
                                        730441                                            0           0           0           0           0           5           0        0           N/A
                                        TUBES, PIPES AND HOLLOW PROFILES,
                                        SEAMLESS NESOI, OF CIRCULAR CROSS
                                        SECTION OF STAINLESS STEEL, COLD-DRAWN
     730441      5 Stainless Products   OR COLD-ROLLED
                                        730449                                            0       101             9           0           0           0           0        0           N/A
                                        TUBES, PIPES AND HOLLOW PROFILES,
                                        SEAMLESS NESOI, OF CIRCULAR CROSS
                                        SECTION OF STAINLESS STEEL, NOT COLD-
     730449      5 Stainless Products   DRAWN OR COLD-ROLLED
                                        730451                                            0           0           2           0           0           31          0       17           N/A
                                        TUBES, PIPES AND HOLLOW PROFILES,
                   Carbon and Alloy     SEAMLESS NESOI, OF CIRCULAR CROSS
                   Pipe and Tube        SECTION OF ALLOY STEEL (OTHER THAN
                   Products (Pipe and   STAINLESS), COLD-DRAWN OR COLD-ROLLED
     730451      3 Tube Products)
                                        730459                                            0           4           5     1,088             14          0           0        0           N/A
                                        TUBES, PIPES AND HOLLOW PROFILES,
                   Carbon and Alloy     SEAMLESS NESOI, OF CIRCULAR CROSS
                   Pipe and Tube        SECTION OF ALLOY STEEL (OTHER THAN
                   Products (Pipe and   STAINLESS), NOT COLD-DRAWN OR COLD-
     730459      3 Tube Products)       ROLLED
                   Carbon and Alloy     730490                                            0           0           0           23          12          7           3        2        -9.50%
                   Pipe and Tube        TUBES, PIPES AND HOLLOW PROFILES,
                   Products (Pipe and   SEAMLESS NESOI, OF IRON (OTHER THAN
     730490      3 Tube Products)       CAST IRON) OR STEEL
                                        730511                                        392             0     4,808       2,251         919             61         61     1,004     1534.20%
                   Carbon and Alloy     LINE PIPE FOR OIL OR GAS PIPELINES,
                   Pipe and Tube        EXTERNAL DIAMETER OVER 406.4 MM (16
                   Products (Pipe and   IN.), OF IRON OR STEEL, LONGITUDINALLY
     730511      3 Tube Products)       SUBMERGED ARC WELDED
                                        730512                                            0           0     3,127       1,318         589             0           0        0           N/A
                   Carbon and Alloy     LINE PIPE FOR OIL OR GAS PIPELINES,
                   Pipe and Tube        EXTERNAL DIAMETER OVER 406.4 MM (16
                   Products (Pipe and   IN.), OF IRON OR STEEL, LONGITUDINALLY
     730512      3 Tube Products)       WELDED NESOI




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      HTS     TYPE     STEEL TYPE                        HTS Description                          2012          2013         2014          2015          2016         2017        2017 YTD 2018 YTD             Percent
                      DESCRIPTION                                                                                                                                                                                Change
                                                                                                                                                                                                               YTD2017 -
                                                                                                                                                                                                                YTD2018
                                        730519                                                       2,097       14,650        23,247      110,897      104,082        41,415        40,078               0       -100.00%
                   Carbon and Alloy     LINE PIPE FOR OIL OR GAS PIPELINES,
                   Pipe and Tube        EXTERNAL DIAMETER OVER 406.4 MM (16
                   Products (Pipe and   IN.), OF IRON OR STEEL, RIVETED OR
     730519      3 Tube Products)       SIMILARLY CLOSED NESOI
                   Carbon and Alloy     730520                                                            0             0            0             0            7             0            0              0           N/A
                   Pipe and Tube        CASING FOR OIL OR GAS DRILLING, EXTERNAL
                   Products (Pipe and   DIAMETER OVER 406.4 MM (16 IN.), OF IRON
     730520      3 Tube Products)       OR STEEL
                   Carbon and Alloy     730531                                                            0        2,033          205           255             48         937           937              0      -100.00%
                   Pipe and Tube        PIPES AND TUBES NESOI, EXTERNAL
                   Products (Pipe and   DIAMETER OVER 406.4 MM (16 IN.), OF IRON
     730531      3 Tube Products)       OR STEEL, LONGITUDINALLY WELDED
                   Carbon and Alloy     730539                                                           29             0            0          908        2,909       14,276         5,651           3,729       -34.00%
                   Pipe and Tube        PIPES AND TUBES NESOI, EXTERNAL
                   Products (Pipe and   DIAMETER OVER 406.4 MM (16 IN.), OF IRON
     730539      3 Tube Products)       OR STEEL, WELDED NESOI
                                        730590                                                            0          133             0             0            2             0            0              0           N/A
                   Carbon and Alloy     PIPES AND TUBES NESOI, EXTERNAL
                   Pipe and Tube        DIAMETER OVER 406.4 MM (16 IN.), OF IRON
                   Products (Pipe and   OR STEEL, RIVETED OR SIMILARLY CLOSED
     730590      3 Tube Products)       NESOI
                                        730611                                                            0             0       5,152         1,444        2,221           860           856             58       -93.30%
                                        LINE PIPE FOR OIL OR GAS PIPELINES,
     730611      5 Stainless Products   WELDED, OF STAINLESS STEEL, NESOI
                   Carbon and Alloy     730619                                                      60,302       59,897        71,254       26,568         2,204           123           123            537       335.30%
                   Pipe and Tube        LINE PIPE FOR OIL OR GAS PIPELINES, OF
                   Products (Pipe and   IRON OR STEEL, NESOI
     730619      3 Tube Products)
                   Carbon and Alloy     730629                                                    137,508       121,357        87,770       51,033        25,710       61,517        43,490          29,933       -31.20%
                   Pipe and Tube        CASING OR TUBING FOR OIL OR GAS
                   Products (Pipe and   DRILLING, OF IRON OR STEEL, NESOI
     730629      3 Tube Products)
                   Carbon and Alloy     730630                                                      61,043       46,914        56,077      118,595        45,625       72,227        59,196          24,854       -58.00%
                   Pipe and Tube        PIPES, TUBES AND HOLLOW PROFILES NESOI,
                   Products (Pipe and   WELDED, OF CIRCULAR CROSS SECTION, OF
     730630      3 Tube Products)       IRON OR NONALLOY STEEL
                                        730640                                                            4             0           90          414          794           394           393             22       -94.30%
                                        PIPES, TUBES AND HOLLOW PROFILES NESOI,
                                        WELDED, OF CIRCULAR CROSS SECTION, OF
     730640      5 Stainless Products   STAINLESS STEEL
                                        730650                                                           19            13            0             0            9          133           133             14       -89.40%
                   Carbon and Alloy     PIPES, TUBES AND HOLLOW PROFILES NESOI,
                   Pipe and Tube        WELDED, OF CIRCULAR CROSS SECTION, OF
                   Products (Pipe and   ALLOY STEEL (OTHER THAN STAINLESS) NESOI
     730650      3 Tube Products)
                   Carbon and Alloy     730661                                                      36,299       45,383        62,471       41,166        15,815       29,086        14,943          14,135        -5.40%
                   Pipe and Tube        TUBES, PIPES AND HOLLOW PROFILES, OF
                   Products (Pipe and   IRON OR STEEL, WELDED, OF A SQUARE OR
     730661      3 Tube Products)       RECTANGULAR CROSS-SECTION, NESOI
                   Carbon and Alloy     730690                                                            0             0           23             0            0             0            0              0      -100.00%
                   Pipe and Tube        PIPES, TUBES AND HOLLOW PROFILES NESOI,
                   Products (Pipe and   OF IRON OR STEEL, RIVETED OR SIMILARLY
     730690      3 Tube Products)       CLOSED

    Total                                                                                        1,221,681    1,091,837     1,985,243    2,588,036     2,190,748     1,990,317    1,568,645          654,339
                                        Sources: Data on this site have been compiled from tariff and trade data from the U.S. Department of Commerce and the U.S. International Trade Commission.




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                                                                                                         232 Steel: First Unit of Quantity for Turkey by HTS Number
                                                                                                                U.S. Imports for Consumption in Metric Tons

                                                                                                                 Monthly data for January 2017 - July 2018
       HTS        TY    STEEL TYPE   HTS Number                              JAN '17   FEB '17 MAR '17 APR '17 MAY '17 JUN '17    JUL '17 AUG '17   SEP'17       OCT '17 NOV '17 DEC '17   2017         JAN '18   FEB '18 MAR '18 APR '18 MAY '18 JUN '18    JUL '18   2018
                  PE   DESCRIPTION                                                                                                                                                         Total                                                                     JAN-JUN
                                                                                                                                                                                                                                                                       Total
                                        720711                                     0        0       0        0       0        0       68        0            0         0       0       0           68         0        0       0        0       0       0          0         0
                                        SEMIFINISHED PRODUCTS OF IRON OR
                     Carbon and Alloy NONALLOY STEEL, UNDER 0.25% (WT.)
                     Semi-finished      CARBON, RECTANGULAR OR SQUARE
                     Products (Semi-    CROSS SECTION, WIDTH LESS THAN
         720711    4 finished Products) TWICE THE THICKNESS
                                        720836                                     0        0      61    2,112       0    1,696        0        0            0         0       0   1,333     5,202          969        0    1,358       0       0    1,547     2,046    5,921
                                        FLAT-ROLLED PRODUCTS OF IRON OR
                                        NONALLOY STEEL, WIDTH OF 600 MM
                     Carbon and Alloy OR MORE IN COILS, HOT-ROLLED
                     Flat Product (Flat WORKED ONLY, OF A THICKNESS
         720836    1 Products)          EXCEEDING 10 MM, N.E.S.O.I.
                                        720837                                     0        0    1,268   5,359     165    5,277        0        0            0         0       0   3,254    15,323        5,949        0    4,480       0       0    2,656     8,134   21,219
                                        FLAT-ROLLED PRODUCTS OF IRN OR
                                        NONALLOY STEEL, WIDTH OF 600MM
                     Carbon and Alloy OR MORE, IN COILS, HOT-ROLLED
                     Flat Product (Flat WORKED ONLY, OF A THICKNESS
         720837    1 Products)          4.75MM BUT NOT OVER 10MM NESOI
                                        720838                                 4,182        0    3,925   6,384     783    6,817    24,323       0            0         0       0   2,899    49,313        6,160        0    6,664       0       0    1,922    10,667   25,412
                                        FLAT-ROLLED PRODUCTS OF IRON OR
                                        NONALLOY STEEL,WIDTH 600MM OR
                     Carbon and Alloy MORE,IN COILS,HOT-ROLLED WORKED
                     Flat Product (Flat ONLY, OF A THICKNESS 3MM OR MORE
         720838    1 Products)          BUT UNDER 4.75MM, NESOI
                                        720839                                   734        0     985    7,679     447    6,186     2,459       0            0         0       0   6,721    25,212        9,013        0   10,117       0       0    1,793    10,490   31,413
                                        FLAT-ROLLED PRODUCTS OF IRON OR
                                        NONALLOY STEEL,WIDTH 600MM OR
                     Carbon and Alloy MORE,IN COILS,HOT-ROLLED WORKED
                     Flat Product (Flat ONLY, OF A THICKNESS OF LESS THAN
         720839    1 Products)          3MM, N.E.S.O.I.
                                        720851                                     0        0       0        0       5        0        0        0            0         8       0       0           13         0        0       0        0       0       0          0        0
                                        FLAT-ROLLED PRODUCTS OF IRON OR
                                        NONALLOY STEEL,WIDTH 600MM OR
                     Carbon and Alloy MORE, NOT IN COILS, HOT-ROLLED
                     Flat Product (Flat WORKED ONLY, OF A THICKNESS
         720851    1 Products)          EXCEEDING 10 MM, N.E.S.O.I.
                                        720852                                     0        0       0        0       0        0        0        0            0         0       0       0           0          0        0       0        0       3      19          0       22
                                        FLAT-ROLLED IRON OR NONALLOY
                     Carbon and Alloy STEEL, 600 MM OR MORE WIDE, HOT-
                     Flat Product (Flat ROLLED, NOT CLAD, PLATED, COATED
         720852    1 Products)          OR COILS, 4.75 MM TO 10 MM THICK
                                        720890                                     0        0       0        0       0        0        0        0            7         0       0       0           7          0        0       0        0       0       0          0        0
                                        FLAT-ROLLED IRON OR NONALLOY STEEL
                     Carbon and Alloy PRODUCTS, 600 MM OR MORE WIDE,
                     Flat Product (Flat HOT-ROLLED, NOT CLAD, PLATED OR
         720890    1 Products)          COATED, NESOI




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       HTS        TY    STEEL TYPE        HTS Number                           JAN '17   FEB '17 MAR '17 APR '17 MAY '17 JUN '17      JUL '17 AUG '17    SEP'17       OCT '17 NOV '17 DEC '17     2017         JAN '18   FEB '18 MAR '18 APR '18 MAY '18 JUN '18      JUL '18  2018
                  PE   DESCRIPTION                                                                                                                                                                Total                                                                      JAN-JUN
                                                                                                                                                                                                                                                                               Total
                                          720916                                15,099     9,756   7,200    6,206   15,040   29,227    12,978   23,352    11,721       28,676    4,169   17,275   180,698        6,539     3,459      0     7,654    5,640    5,845     4,977 34,115
                                          FLAT-ROLLED PRODUCTS OF IRON OR
                                          NONALLOY STEEL, WIDTH 600MM OR
                     Carbon and Alloy     MORE, IN COILS,COLD-ROLLED WORKED
                     Flat Product (Flat   ONLY, OF A THICKNESS OVER ONE MM
         720916    1 Products)            BUT LESS THAN 3 MM
                                          720917                                 8,667    20,680   5,647    3,576    7,780    7,902    22,690    6,669     5,997        6,492    1,353    2,798   100,251        4,908     6,263      0     7,015    3,195   14,763     2,057   38,201
                                          FLAT-ROLLED PRODUCTS OF IRON OR
                                          NONALLOY STEEL, WIDTH 600MM OR
                                          MORE, IN COILS, COLD-ROLLED WORKED
                     Carbon and Alloy     ONLY, OF A THICKNESS 0.5MM OR
                     Flat Product (Flat   MORE BUT NOT OVER 1MM
         720917    1 Products)
                                          720918                                 6,575     5,500   2,828    2,463    5,156    7,375     1,725    2,079     1,080          679    7,000     170     42,630        4,851      548    6,889    1,040     760     4,939       314   19,340
                                          FLAT-ROLLED PRODUCTS OF IRON OR
                                          NONALLOY STEEL, WIDTH 600MM OR
                     Carbon and Alloy     MORE, IN COILS, COLD-ROLLED WORKED
                     Flat Product (Flat   ONLY, OF A THICKNESS OF LESS THAN
         720918    1 Products)            0.5 MM
                                          720926                                     0        0       0        0        0       60         0        0             0         0       0        0            60         0        0       0        0        0        0          0        0
                                          FLAT-ROLLED PRODUCTS OF IRON OR
                                          NONALLOY STEEL,WIDTH 600MM OR
                     Carbon and Alloy     MORE, NOT IN COILS,COLD-ROLLED
                     Flat Product (Flat   WORKED ONLY, OF A THICKNESS OVER 1
         720926    1 Products)            MM BUT LESS THAN 3 MM
                                          721011                                    78        0       0        0        0        0         0       29             0         0       0        0        107            0        0       0        0        0        0          0        0
                                          FLAT-ROLLED IRON OR NONALLOY STEEL
                     Carbon and Alloy     PRODUCTS, 600 MM OR MORE WIDE,
                     Flat Product (Flat   PLATED OR COATED WITH TIN, 0.5 MM
         721011    1 Products)            OR MORE THICK
                                          721012                                     0        0       0        0        0        0         0        0             0         0       0      147        147            0        0       0        0        0        0         45       45
                                          FLAT-ROLLED IRON OR NONALLOY STEEL
                     Carbon and Alloy     PRODUCTS, 600 MM OR MORE WIDE,
                     Flat Product (Flat   PLATED OR COATED WITH TIN, UNDER
         721012    1 Products)            0.5 MM THICK
                                          721041                                     0        0       0        0        0        0        75        0             0         0       0        0            75         0        0       0        0        0        0          0        0
                                          FLAT-ROLLED IRON OR NONALLOY STEEL
                                          PRODUCTS, CORRUGATED, 600 MM OR
                     Carbon and Alloy     MORE WIDE, PLATED OR COATED WITH
                     Flat Product (Flat   ZINC OTHER THAN ELECTROLYTICALLY
         721041    1 Products)
                                          721049                                21,609     4,327   8,179   32,497   18,457   23,314    45,961   37,843    26,492       20,063   32,808    7,961   279,512       21,106     2,799   4,736   24,359   13,559    9,871     3,560   79,991
                                          FLAT-ROLLED IRON OR NONALLOY STEEL
                                          PRODUCTS, NOT CORRUGATED, 600 MM
                     Carbon and Alloy     OR MORE WIDE, PLATED OR COATED
                     Flat Product (Flat   WITH ZINC OTHER THAN
         721049    1 Products)            ELECTROLYTICALLY
                                          721050                                     0        0       0        7        0        0         0        0             0         0       0        0            7          0        0       0      658        0        0          0     658
                                          FLAT-ROLLED IRON OR NONALLOY STEEL
                                          PRODUCTS, 600 MM OR MORE WIDE,
                     Carbon and Alloy     PLATED OR COATED WITH CHROMIUM
                     Flat Product (Flat   OXIDES OR WITH CHROMIUM AND
         721050    1 Products)            CHROMIUM OXIDES




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       HTS        TY    STEEL TYPE        HTS Number                           JAN '17   FEB '17 MAR '17 APR '17 MAY '17 JUN '17    JUL '17 AUG '17   SEP'17       OCT '17 NOV '17 DEC '17   2017         JAN '18   FEB '18 MAR '18 APR '18 MAY '18 JUN '18    JUL '18   2018
                  PE   DESCRIPTION                                                                                                                                                           Total                                                                     JAN-JUN
                                                                                                                                                                                                                                                                         Total
                                          721061                                   282      400     426      629     492    1,307        0        0            0         0       0       0     3,536           61        0     399    1,490     907     562          0    3,419
                                          FLAT-ROLLD IRON OR NONALLOY STEEL
                     Carbon and Alloy     600MM OR MORE, PLATED OR COATED
                     Flat Product (Flat   WITH ALUMINUM-ZINC ALLOYS
         721061    1 Products)
                                          721069                                     0        0       0        0       0       0         0        0            0       142       0       0       142            0        0       0        0       0       0          0        0
                     Carbon and Alloy     FLAT-ROLLD IRON OR NONALLOY STEEL
                     Flat Product (Flat   600MM OR MORE, PLATED OR COATED
         721069    1 Products)            WITH OTHER ALUMINUM
                                          721070                                     0      374     247    2,385       0     328      1,038     278      982           435   2,928   1,662    10,658        1,016      952     678    2,931   2,658      25      1,205    9,466
                                          FLAT-ROLLED IRON OR NONALLOY STEEL
                     Carbon and Alloy     PRODUCTS, 600 MM OR MORE WIDE,
                     Flat Product (Flat   PAINTED, VARNISHED OR COATED WITH
         721070    1 Products)            PLASTICS
                                          721114                                    18       89     189        0      54      34         4        0            0         0       0     171       558           65       20       0        0       0       0          0       85
                                          FLAT-ROLLD HIGH-STRNGTH IRON OR
                                          NONALLOY STEEL UNDER 600MM WIDE
                     Carbon and Alloy     HOT-ROLLD, NOT CLAD, COATED OR
                     Flat Product (Flat   PLATED 4.75MM THICK OR MORE
         721114    1 Products)
                                          721119                                    54       66      30        0     122       0         0      101            0        38       0       0       411            0        6       0        0       0       0          0        6
                                          FLAT-ROLLED HIGH-STRENGTH
                                          NONALLLOY STEEL PRODUCTS NESOI,
                     Carbon and Alloy     UNDER 600 MM WIDE, HOT-ROLLED,
                     Flat Product (Flat   NOT CLAD, PLATED OR COATED, UNDER
         721119    1 Products)            4.75 MM THICK
                                          721123                                     0        0       0        0       0       0        58        0            0         0       0       0           58         0        0       0        0       0       0          0        0
                                          FLAT-ROLLED PRODUCTS OF IRON OR
                                          NONALLOY STEEL, WIDTH LESS THAN
                     Carbon and Alloy     600 MM, NOT FURTHER WORKED THAN
                     Flat Product (Flat   COLD-ROLLED, NOT CLAD, PLATED OR
         721123    1 Products)            COATED,
                                          721220                                     0        0       0        0       0       0         0        0            0         0      24       0           24         0        0       0        0       0       0          0        0
                                          FLAT-ROLLED PRODUCTS OF IRON OR
                     Carbon and Alloy     NONALLOY STEEL, WIDTH OF LESS THAN
                     Flat Product (Flat   600 MM, ELECTROLYTICALLY PLATED OR
         721220    1 Products)            COATED WITH ZINC
                                          721230                                     0      426     910      188     172     496       639      234       50           173       0       0     3,290            0      700     421      817     556    1,357       478    4,328
                                          FLAT-ROLLED IRON OR NONALLOY STEEL
                     Carbon and Alloy     PRODUCTS, UNDER 600 MM WIDE,
                     Flat Product (Flat   PLATED OR COATED WITH ZINC OTHER
         721230    1 Products)            THAN ELECTROLYTICALLY
                                          721240                                    38      172      59       19     116       0       139       19       39            37      77      77       795           57      123      39       19      19      40          0     298
                                          FLAT-ROLLED IRON OR NONALLOY STEEL
                     Carbon and Alloy     PRODUCTS, UNDER 600 MM WIDE,
                     Flat Product (Flat   PAINTED, VARNISHED OR COATED WITH
         721240    1 Products)            PLASTICS
                                          721250                                     0        0       0        0       0       2         0        0            0         0       0       0           2          0        0       0        0       0       0          0        0
                     Carbon and Alloy     FLAT-ROLLED IRON OR NONALLOY STEEL
                     Flat Product (Flat   PRODUCTS, UNDER 600 MM WIDE,
         721250    1 Products)            PLATED OR COATED, NESOI




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       HTS        TY    STEEL TYPE      HTS Number                           JAN '17   FEB '17 MAR '17 APR '17 MAY '17 JUN '17       JUL '17 AUG '17   SEP'17       OCT '17 NOV '17 DEC '17   2017         JAN '18   FEB '18 MAR '18 APR '18 MAY '18 JUN '18       JUL '18   2018
                  PE   DESCRIPTION                                                                                                                                                            Total                                                                        JAN-JUN
                                                                                                                                                                                                                                                                             Total
                                        721310                                 1,010     2,177    1,856    1,027       0      433         0      560      554         1,272       0       0     8,888            0        0     1,120     844        0        0          0    1,964
                                        BARS AND RODS OF IRON OR NONALLOY
                     Carbon and Alloy   STEEL, HOT-ROLLED, IN IRREGULLARLY
                     Long Products      WOUND COILS, CONCRETE
         721310    2 (Long Products)    REINFORCING
                                        721391                                 8,615     2,863   25,319   13,741    3,394   46,108        0        0      648             0       0       0   100,688            0        0       23        0        0        0          0       23
                                        BARS AND RODS,HOT-ROLLED, IN
                                        IRREGULARLY WOUND COILS, OF IRON
                                        OR NONALLOY STEEL, OF CIRCULAR
                     Carbon and Alloy   CROSS-SECTION MEASURING LESS THAN
                     Long Products      14MM IN DIAMETER, NESOI
         721391    2 (Long Products)
                                        721399                                603       0       0           533        0      973         0        0            0         0       0       0     2,110            0        0        0        0        0        0          0        0
                     Carbon and Alloy   BARS AND RODS, HOT-ROLLED, IN
                     Long Products      IRREGULARLY WOUND COILS, OF IRON
         721399    2 (Long Products)    OR NONALLOY STEEL, N.E.S.O.I.
                     Carbon and Alloy   721410                                  0       0       0             0        0        0         0        0     1,195            0       6       0     1,202            0        0        0        0        0        0          0        0
                     Long Products      BARS AND RODS OF IRON OR NONALLOY
         721410    2 (Long Products)    STEEL, FORGED
                                        721420                            178,837 101,223 184,872         61,813   59,569 101,268     28,079   9,405    25,200       32,431       0       0   782,698       55,410    18,117   65,890   60,408   38,080   13,358     8,570 259,833
                     Carbon and Alloy   BARS AND RODS OF IRON OR NONALLOY
                     Long Products      STEEL, HOT-WORKED NESOI, CONCRETE
         721420    2 (Long Products)    REINFORCING
                                        721491                              1,616   1,038     842           198     1,240    1,043      643    1,248      216           866      69     580     9,599          101      332       39     1,136       0      342        647    2,597
                                        BARS AND RODS OF IRON OR NONALLOY
                                        STEEL, NOT FURTHER WORKED THAN
                                        HOT-ROLLED, HOT-DRAWN OR HOT-
                     Carbon and Alloy   EXTRUDED BUT INCL
                     Long Products      TWISTED,RECTANULAR CROSS SECTN,
         721491    2 (Long Products)    NESOI
                                        721499                              2,153     399   3,343           250     1,107    1,132      468      696     1,216          394       8   1,014    12,178          208      166       19      368        5       10        216     992
                                        BARS AND RODS OF IRON OR NONALLOY
                                        STEEL, NOT FURTHER WORKED THAN
                                        HOT-ROLLED, HOT-DRAWN OR HOT-
                     Carbon and Alloy   EXTRUDED, BUT INCLUDING TWISTED
                     Long Products      AFTER ROLLING, N.E.S.O.I
         721499    2 (Long Products)
                                        721550                                    54      518      220       52      648      461       578      461      651           130     150     125     4,048          487      559      233      512      151      490         71    2,504
                                        BARS AND RODS OF IRON OR NONALLOY
                     Carbon and Alloy   STEEL, NOT FURTHER WORKED THAN
                     Long Products      COLD-FORMED OR COLD-FINISHED,
         721550    2 (Long Products)    N.E.S.O.I.
                     Carbon and Alloy   721590                                     0        0        0        0        0        0         0        0       15             0      28      52           95         0        0        0        0        0        0          0        0
                     Long Products      BARS AND RODS OF IRON OR NONALLOY
         721590    2 (Long Products)    STEEL, NESOI
                                        721610                                    41       10        0       40       27        0         7       35            0       100       0       0       261           78        0       95        0       22        0          0     196
                     Carbon and Alloy   U, I OR H SECTIONS OF IRON OR
                     Long Products      NONALLOY STEEL, HOT-WORKED, LESS
         721610    2 (Long Products)    THAN 80 MM HIGH
                                        721621                                 1,969      727      559      392     1,547    1,579      979      746      626           415     218     153     9,909          316      164     2,564     489       22        0        357    3,912
                     Carbon and Alloy   L SECTIONS OF IRON OR NONALLOY
                     Long Products      STEEL, HOT-WORKED, LESS THAN 80
         721621    2 (Long Products)    MM HIGH




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                  PE   DESCRIPTION                                                                                                                                                          Total                                                                    JAN-JUN
                                                                                                                                                                                                                                                                       Total
                                          721622                                   179       99     139        9      72     146      148        0       98           117      75       0     1,082          151       63     241        0      75     262        48      840
                     Carbon and Alloy     T SECTIONS OF IRON OR NONALLOY
                     Long Products        STEEL, HOT-WORKED, LESS THAN 80
         721622    2 (Long Products)      MM HIGH
                                          721631                                    16      195      87        0      60      60       67       20            0        17       0       0       522           52        0      62       57       0       0         0     171
                     Carbon and Alloy     U SECTIONS OF IRON OR NONALLOY
                     Long Products        STEEL, HOT-WORKED, 80 MM OR MORE
         721631    2 (Long Products)      HIGH
                                          721633                                     0        0       0        0       0       0        0        0            0         0       0       0           0          0        0       0        0      12       0         0       12
                     Carbon and Alloy     H SECTIONS OF IRON OR NONALLOY
                     Long Products        STEEL, HOT-WORKED, 80 MM OR MORE
         721633    2 (Long Products)      HIGH
                                          721640                                   192       76      10      185      67     144      112       16            0         0       0      16       820           17      149       2      413     344       0         0     926
                     Carbon and Alloy     L OR T SECTIONS OF IRON OR
                     Long Products        NONALLOY STEEL, HOT-WORKED, 80
         721640    2 (Long Products)      MM OR MORE HIGH
                                          721650                                   326      591     213    1,832     631     971      458      104       96           192      93       0     5,508        1,181      739     120      446      79       0       176    2,741
                     Carbon and Alloy     ANGLES, SHAPES AND SECTIONS NESOI
                     Long Products        OF IRON OR NONALLOY STEEL, HOT-
         721650    2 (Long Products)      WORKED
                     Carbon and Alloy     721699                                     0        2      18        0       0       0       43        0       99             0      88      48       298            0       18       0       18       0       0         0       36
                     Long Products        ANGLES, SHAPES AND SECTIONS IRON
         721699    2 (Long Products)      OR NONALLOY STEEL NESOI
                                          721710                                     0       22       0        0       0      22        0        0            0         0       0       0           44         0        0       0        0       0       0         0        0
                     Carbon and Alloy     WIRE OF IRON OR NONALLLOY STEEL,
                     Long Products        NOT PLATED OR COATED, WHETHER OR
         721710    2 (Long Products)      NOT POLISHED
                     Carbon and Alloy     721720                                   269       84     102       37      99     179      121      327       58           158       0       0     1,435            0      434       0       92      20       3         0     549
                     Long Products        WIRE OF IRON OR NONALLOY STEEL,
         721720    2 (Long Products)      PLATED OR COATED WITH ZINC
                                          721730                                     0        0       0        0       0       0        0        0            0         0       0       0           0          0        0       0        0       0      98         0       98
                     Carbon and Alloy     WIRE OF IRON OR NONALLOY STEEL,
                     Long Products        PLATED OR COATED WITH BASE METAL
         721730    2 (Long Products)      OTHER THAN ZINC
                                          721899                                     1        0       0        0       1       0        0        0            0         0       0       0           2          0        0       0        0       0       0         0        0
                                          OTHER SEMIFINISHED PRODUCTS OF
         721899    5 Stainless Products   STAINLESS STEEL
                                          721933                                    76      128     127       54      78       0       29        0       86             0      25       0       603           16        0       0        0      18       0         0       34
                                          FLAT-ROLLED STAINLESS STEEL
                                          PRODUCTS, 600 MM OR MORE WIDE,
                                          COLD-ROLLED, OVER 1 MM BUT UNDER
         721933    5 Stainless Products   3 MM THICK
                                          721934                                   122       11      35        0     178      34       65      156      157            97     200       0     1,054          110       19       0        0       0       0         0     129
                                          FLAT-ROLLED STAINLESS STEEL
                                          PRODUCTS, 600 MM OR MORE WIDE,
                                          COLD-ROLLED, 0.5 MM BUT NOT OVER 1
         721934    5 Stainless Products   MM THICK
                                          721935                                    56       84      15        2       0       0       43       94            0        19      47       0       360           17       19       0       40       0     116         0     192
                                          FLAT-ROLLED STAINLESS STEEL
                                          PRODUCTS, 600 MM OR MORE WIDE,
         721935    5 Stainless Products   COLD-ROLLED, UNDER 0.5 MM THICK
                                          722240                                     0        0       0        0       0       0        1        0            0         0       0       0           1          6        1       0        0       0       0         0        7
                                          ANGLES, SHAPES AND SECTIONS OF
         722240    5 Stainless Products   STAINLESS STEEL




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                  PE   DESCRIPTION                                                                                                                                                             Total                                                                     JAN-JUN
                                                                                                                                                                                                                                                                           Total
                                          722300                                      0        0       0       20       0        0         0        0            0         0       0       0           20         0        0       0        0       0       0          0         0
         722300    5 Stainless Products WIRE OF STAINLESS STEEL
                     Carbon and Alloy 722490                                          0        0       0        0       0        0         0        4            0         0       0       0           4          0        0       0        0       0       0          0        0
                     Semi-finished      SEMIFINISHED PRODUCTS OF ALLOY
                     Products (Semi-    STEEL (OTHER THAN STAINLESS) NESOI
         722490    4 finished Products)
                                          722550                                      0        0    2,288   2,525     363     2,088     7,157   1,272     2,573          875   1,042   1,615    21,798            0      911     892    3,254   1,358    2,825     3,347   12,587
                                          FLAT-ROLLED ALLOY STEEL (OTHER
                     Carbon and Alloy     THAN STAINLESS) PRODUCTS, 600 MM
                     Flat Product (Flat   OR MORE WIDE, COLD-ROLLED, NESOI
         722550    1 Products)
                                          722790                                      0        0       0      217     197        0         0        0            0         0       0       0       414            0        0       0        0       0       0          0        0
                                          BARS AND RODS OF ALLOY STEEL
                     Carbon and Alloy     (OTHER THAN STAINLESS), HOT-ROLLED,
                     Long Products        IN IRREGULARLY WOUND COILS, NESOI
         722790    2 (Long Products)
                                          722830                                      0      856       0    1,234   14,939   22,663    33,382   1,584     3,574          394   1,099   1,534    81,259        1,333     1,745    519    3,785   1,724       0      3,903   13,010
                     Carbon and Alloy     BARS AND RODS OF ALLOY STEEL
                     Long Products        (OTHER THAN STAINLESS), HOT-
         722830    2 (Long Products)      WORKED, NESOI
                                          722840                                      0        0       0        0       0        0         0        0            0         0       0       0           0          0        0       0    1,803       0       0          0    1,803
                     Carbon and Alloy     BARS AND RODS OF ALLOY STEEL
                     Long Products        (OTHER THAN STAINLESS), FORGED,
         722840    2 (Long Products)      NESOI
                                          722870                                      0        0       0    1,265       0        0         0        0            0         0       0       0     1,265            0        0       0        0       0       0          0        0
                     Carbon and Alloy     ANGLES, SHAPES AND SECTIONS OF
                     Long Products        ALLOY STEEL (OTHER THAN STAINLESS),
         722870    2 (Long Products)      NESOI
                     Carbon and Alloy     722920                                    110       42      46       74      17      119         0        8       37            31      54       9       549           86        0      89       54       6      93         26      353
                     Long Products        WIRE OF SILICO-MANGANESE STEEL
         722920    2 (Long Products)
                     Carbon and Alloy     722990                                      2        6     111       76      46       35         9        0            0         0       0       0       285            0        0       0        0       0       0          0        0
                     Long Products        WIRE OF ALLOY STEEL NESOI
         722990    2 (Long Products)
                                          730110                                      0        0       0        0       0        0         0        0            0         0       0       0           0          0        0       2        0       0       0          0        2
                                          SHEET PILING OF IRON OR STEEL,
                     Carbon and Alloy     WHETHER OR NOT DRILLED, PUNCHED
                     Long Products        OR MADE FROM ASSEMBLED ELEMENTS
         730110    2 (Long Products)
                     Carbon and Alloy   730210                                        0        0       0       19     115       55        57        0       36            18      35      91       425           19       72      91       73      37      55         34      381
                     Long Products      RAILWAY OR TRAMWAY RAILS OF IRON
         730210    2 (Long Products)    OR STEEL
                                        730290                                        0        0       0        0       0        0        58        0            0         0       0       0           58         0        0       0        0       0       0          0        0
                     Carbon and Alloy RAILWAY OR TRAMWAY TRACK
                     Long Products      CONSTRUCTION MATERIAL OF IRON OR
         730290    2 (Long Products)    STEEL NESOI
                                        730411                                      145       49      99       17      88       94         2        0            0         0       8       0       500            0        0       0        0       0       4          5        9
                                        LINE PIPE FOR OIL AND GAS PIPELINES,
         730411    5 Stainless Products OF STAINLESS STEEL
                                        730419                                      228      226     237       94     224      110         9        0            0         0       8       0     1,135            0        0       0        0      31      39         32      102
                     Carbon and Alloy LINE PIPE FOR OIL AND GAS PIPELINES,
                     Pipe and Tube      OF SEAMLESS IRON (OTHER THAN CAST
                     Products (Pipe and IRON) OR STEEL, NES
         730419    3 Tube Products)




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                  PE    DESCRIPTION                                                                                                                                                              Total                                                                    JAN-JUN
                                                                                                                                                                                                                                                                            Total
                                          730431                                         0        0       0        0       0       0         0        9            0        10       0       9           28         0        9       9        0       9       0         0       28
                                          TUBES, PIPES AND HOLLOW PROFILES,
                       Carbon and Alloy SEAMLESS NESOI, OF CIRCULAR CROSS
                       Pipe and Tube      SECTION OF IRON OR NONALLOY STEEL,
                       Products (Pipe and COLD-DRAWN OR COLD-ROLLED
         730431    3 Tube Products)
                                          730439                                         0        0       0        0       0       0         0        0            0         0       0       0           0          0        0       0        0       0      32        32       64
                                          TUBES, PIPES AND HOLLOW PROFILES,
                       Carbon and Alloy SEAMLESS NESOI, OF CIRCULAR CROSS
                       Pipe and Tube      SECTION OF IRON OR NONALLOY STEEL,
                       Products (Pipe and NOT COLD-DRAWN OR COLD-ROLLED
         730439    3 Tube Products)
                                          730441                                         0        0       0        0       0       0         0        0            0         5       0       0           5          0        0       0        0       0       0         0        0
                                          TUBES, PIPES AND HOLLOW PROFILES,
                                          SEAMLESS NESOI, OF CIRCULAR CROSS
                                          SECTION OF STAINLESS STEEL, COLD-
         730441    5 Stainless Products   DRAWN OR COLD-ROLLED
                                          730449                                         0        0       0        0       0       0         0        0            0         0       0       0           0          0        0       0        0       0       0         0        0
                                          TUBES, PIPES AND HOLLOW PROFILES,
                                          SEAMLESS NESOI, OF CIRCULAR CROSS
                                          SECTION OF STAINLESS STEEL, NOT
         730449    5 Stainless Products   COLD-DRAWN OR COLD-ROLLED
                                          730451                                         0        0       0        0       0       0         0        0            0         0      18      13           31         0        0       0        0       0      17         0       17
                                          TUBES, PIPES AND HOLLOW PROFILES,
                     Carbon and Alloy     SEAMLESS NESOI, OF CIRCULAR CROSS
                     Pipe and Tube        SECTION OF ALLOY STEEL (OTHER THAN
                     Products (Pipe and   STAINLESS), COLD-DRAWN OR COLD-
         730451    3 Tube Products)       ROLLED
                                          730459                                         0        0       0        0       0       0         0        0            0         0       0       0           0          0        0       0        0       0       0         0        0
                                          TUBES, PIPES AND HOLLOW PROFILES,
                     Carbon and Alloy     SEAMLESS NESOI, OF CIRCULAR CROSS
                     Pipe and Tube        SECTION OF ALLOY STEEL (OTHER THAN
                     Products (Pipe and   STAINLESS), NOT COLD-DRAWN OR
         730459    3 Tube Products)       COLD-ROLLED
                     Carbon and Alloy     730490                                         1        0       0        0       1       0         0        0            0         1       0       3           7          0        0       2        0       0       0         0        2
                     Pipe and Tube        TUBES, PIPES AND HOLLOW PROFILES,
                     Products (Pipe and   SEAMLESS NESOI, OF IRON (OTHER
         730490    3 Tube Products)       THAN CAST IRON) OR STEEL
                                          730511                                        54        7       0        0       0       0         0        0            0         0       0       0           61         0        0       0        0     244     548       212    1,005
                                          LINE PIPE FOR OIL OR GAS PIPELINES,
                     Carbon and Alloy     EXTERNAL DIAMETER OVER 406.4 MM
                     Pipe and Tube        (16 IN.), OF IRON OR STEEL,
                     Products (Pipe and   LONGITUDINALLY SUBMERGED ARC
         730511    3 Tube Products)       WELDED
                                          730519                                    12,917        0    4,265       0       0   11,062    11,834       0            0         0   1,337       0    41,415            0        0       0        0       0       0         0        0
                     Carbon and Alloy     LINE PIPE FOR OIL OR GAS PIPELINES,
                     Pipe and Tube        EXTERNAL DIAMETER OVER 406.4 MM
                     Products (Pipe and   (16 IN.), OF IRON OR STEEL, RIVETED OR
         730519    3 Tube Products)       SIMILARLY CLOSED NESOI
                                          730531                                         0        0       0        0     937       0         0        0            0         0       0       0       937            0        0       0        0       0       0         0        0
                     Carbon and Alloy     PIPES AND TUBES NESOI, EXTERNAL
                     Pipe and Tube        DIAMETER OVER 406.4 MM (16 IN.), OF
                     Products (Pipe and   IRON OR STEEL, LONGITUDINALLY
         730531    3 Tube Products)       WELDED




Turkey 232 2017-2018 Imports                                                                                                                                                                                                                                                Page 7 of 8
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       HTS        TY    STEEL TYPE        HTS Number                                       JAN '17     FEB '17 MAR '17 APR '17 MAY '17 JUN '17                    JUL '17 AUG '17         SEP'17       OCT '17 NOV '17 DEC '17     2017        JAN '18   FEB '18 MAR '18 APR '18 MAY '18 JUN '18         JUL '18   2018
                  PE   DESCRIPTION                                                                                                                                                                                                 Total                                                                         JAN-JUN
                                                                                                                                                                                                                                                                                                                   Total
                     Carbon and Alloy   730539                                                1,081       3,199            0           0          0           0      1,370            0     3,186            0   5,440        0      14,276          0        0     3,729         0        0        0          0    3,729
                     Pipe and Tube      PIPES AND TUBES NESOI, EXTERNAL
                     Products (Pipe and DIAMETER OVER 406.4 MM (16 IN.), OF
         730539    3 Tube Products)     IRON OR STEEL, WELDED NESOI
                                        730611                                                   201        131         208          66         181          65           3           0            0         0       4        0         860          0        0         0         0        0        7         51        58
                                        LINE PIPE FOR OIL OR GAS PIPELINES,
         730611    5 Stainless Products WELDED, OF STAINLESS STEEL, NESOI
                     Carbon and Alloy 730619                                                     112           2           5           3          1           0           0           0            0         0       0        0         123          0        0         0         0      314      158         65      537
                     Pipe and Tube      LINE PIPE FOR OIL OR GAS PIPELINES, OF
                     Products (Pipe and IRON OR STEEL, NESOI
         730619    3 Tube Products)
                     Carbon and Alloy 730629                                                  3,304       8,571       6,138       5,154           0      6,729      13,595       5,324     11,443            0       0    1,260      61,517          0     7,027    5,286     5,691    6,181    2,454      3,295   29,933
                     Pipe and Tube      CASING OR TUBING FOR OIL OR GAS
                     Products (Pipe and DRILLING, OF IRON OR STEEL, NESOI
         730629    3 Tube Products)
                                          730630                                              7,274      12,328       6,582       8,706      4,131       3,521      16,654       2,979      4,566        1,824   2,059    1,604      72,227      4,602     4,475    3,704     4,838    3,528    2,262      1,444   24,854
                     Carbon and Alloy PIPES, TUBES AND HOLLOW PROFILES
                     Pipe and Tube      NESOI, WELDED, OF CIRCULAR CROSS
                     Products (Pipe and SECTION, OF IRON OR NONALLOY STEEL
         730630    3 Tube Products)
                                          730640                                                  75          76         49          40         104          12          37           0            0         0       1        0         394          0       10         0         0        0        0         13        23
                                          PIPES, TUBES AND HOLLOW PROFILES
                                          NESOI, WELDED, OF CIRCULAR CROSS
         730640    5 Stainless Products   SECTION, OF STAINLESS STEEL
                                          730650                                                   0           0           0           0        133           0           0           0            0         0       0        0         133          0        0        14         0        0        0          0        14
                     Carbon and Alloy     PIPES, TUBES AND HOLLOW PROFILES
                     Pipe and Tube        NESOI, WELDED, OF CIRCULAR CROSS
                     Products (Pipe and   SECTION, OF ALLOY STEEL (OTHER THAN
         730650    3 Tube Products)       STAINLESS) NESOI
                                          730661                                                 348        676         313       1,719      1,158       7,067       3,662         777      6,741        6,602       0       23      29,086      1,680     1,130      919     2,073    3,607    4,307        418   14,135
                     Carbon and Alloy     TUBES, PIPES AND HOLLOW PROFILES,
                     Pipe and Tube        OF IRON OR STEEL, WELDED, OF A
                     Products (Pipe and   SQUARE OR RECTANGULAR CROSS-
         730661    3 Tube Products)       SECTION, NESOI
                 Carbon and Alloy         730690                                                   0           0           0           0          0           0           0           0            0         0       0        0            0         0        0         0         0        0        0          0         0
                 Pipe and Tube            PIPES, TUBES AND HOLLOW PROFILES
                 Products (Pipe and       NESOI, OF IRON OR STEEL, RIVETED OR
       730690 3 Tube Products)            SIMILARLY CLOSED
   AGGREGATE ALL ALL                      AGGREGATE                                         279,322     178,207     270,053     170,896    140,144     298,194     231,830      96,431    109,442      102,710   60,472   52,616   1,990,317   126,566    51,028   121,447   132,377   83,166   72,820    66,935   654,339

                                          Sources: Data on this site have been compiled from tariff and trade data from the U.S. Department of Commerce and the U.S. International Trade Commission.




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Steel Imports Report: United States
                                                                                           June 2018
Background
The United States is the world’s largest steel importer. In year-to-date
2018 (through March), further referred to at YTD 2018, the U.S.              Quick Facts:
imported 7.9 million metric tons of steel, a decrease from 8.1 million
                                                                             ● World’s largest steel
metric tons in YTD 2017. U.S. imports in 2017 represented about 9
                                                                              importer: 7.9 million
percent of all steel imported globally, based on available data. The
                                                                              metric tons (YTD 2018)
volume of U.S. steel imports in 2017 was more than 25 percent larger
than that of the world’s second-largest importer, Germany. In value          ● 176% steel import growth
terms, steel represented just 1.2 percent of the total goods imported into    since Q2 2009
the United States in 2017.
                                                                             ● YTD import volume down
The United States imported steel from 85 countries and territories in         3% while import value up
2017. The 9 countries highlighted in the map below represent the top          17%
sources for U.S. imports of steel, with the U.S. receiving more than 1
million metric tons from each and together accounting for 75 percent of      ● Import penetration down
U.S. steel imports in 2017.                                                   from 31.3% in YTD 2017
                                                                              to 30.0% in YTD 2018
                  U.S. Imports of Steel Mill Products - 2017
                                                                             ● Top three import
                                                                              sources: Canada, Brazil,
                                                                              South Korea

                                                                             ● Largest producers:
                                                                              Nucor, ArcelorMittal USA,
                                                                              U.S. Steel

                                                                             ● 167 trade remedies in
                                                                              effect against imports of
                                                                              steel mill products




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Steel Imports Report: United States
Steel Trade Balance
The      United     States     has
maintained a persistent trade
deficit in steel products for over
a decade. Since 2009, imports
have returned to average levels
seen prior to the 2008 global
recession while exports have
remained relatively flat in
comparison, and the trade deficit
has widened accordingly. Since
their most recent low point,
imports have grown by 176
percent between Q2 2009 and
Q1 2018, while exports have increased by 26 percent. In YTD 2018, the U.S. steel trade deficit
amounted to –5.5 million metric tons.


Import Volume, Value, and Product
In 2014, U.S. imports of steel products reached a near-record high of 40.3 million metric tons, only
topped by the 41.3 million metric tons imported in 2006. Import levels fell from 2014 by 12 percent
in 2015 and by 15 percent in 2016, before rising 15 percent in 2017 to 34.6 million metric tons. In
YTD 2018, imports have decreased 3 percent compared to YTD 2017 to a total of 7.9 million metric
tons. The value of imports in YTD 2018 has increased — up 17 percent to $7.4 billion from $6.3
billion in YTD 2017.
In YTD 2018, flat products accounted for the largest share of U.S. steel imports at 35 percent, or 2.8
million metric tons. Pipe and tube products accounted for 23 percent, or 1.8 million metric tons,
followed by semi-finished products at 20 percent (1.6 million metric tons), long products at 17
percent (1.4 million metric tons), and stainless products at 3 percent (273 thousand metric tons).




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Steel Imports Report: United States
Imports by Top Source
The top 10 source countries for
U.S. steel imports represented
79 percent of the total steel
import volume in YTD 2018 at
6.3 million metrics tons (mmt).
Canada accounted for the largest
share of U.S. imports by source
country at 20 percent (1.6 mmt),
followed by Brazil at 13 percent
(1.0 mmt), South Korea at 11
percent (0.9 mmt), Mexico at 11
percent (0.9 mmt), and Russia
at 7 percent (0.5 mmt).
While the rankings of the top 10
source countries for U.S.
imports have fluctuated over
time, Canada has retained the top spot.
Trends in Imports from Top Sources
Between YTD 2017 and YTD 2018, imports increased from five of the United States’ top 10 import
source countries. Imports from Germany showed the largest volume increase in YTD 2018, up 29
percent, followed by Mexico (14%), Canada (7%), South Korea (6%), and China (5%). Some of the
countries which the United States had decreases in imports from were Turkey (-59%), Russia ( -
10%), and Taiwan (-10%).
The overall value of U.S.
imports increased from nine of
the top 10 sources. Imports
from Germany, South Korea,
and Russia showed the largest
increases in value in YTD
2018, up 39 percent, 33
percent, and 28 percent,
respectively. Turkey was the
only top import source country
that had a decrease in value,
down 49 percent in YTD 2018.
Outside the top 10 sources,
other notable volume changes
included U.S. imports from
11th-ranked Vietnam (-32%), 17th-ranked Romania (444%), 26th-ranked Greece (2879%), and
32nd-ranked Indonesia (304%).


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Steel Imports Report: United States
Top Sources by Steel Product Category
The top source countries for U.S. imports by volume vary across types of steel products. The
United States. imported the largest share of flat products from Canada in YTD 2018 at 34 percent
(950 thousand metric tons). Canada was also the largest source for long product imports at 23
percent (313 thousand metric tons).
The United States imported 26 percent of pipe and tube products from South Korea (474 thousand
metric tons). Nearly half of the United States’ imports of semi-finished steel came from Brazil in
YTD 2018 — a total of 796 thousand metric tons, or 49 percent.
Taiwan was the largest source of imported stainless products at 12 percent (32 thousand metric
tons), followed closely by Italy at 11 percent (29 thousand metric tons).




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Steel Imports Report: United States
U.S. Export Market Share from Top Source Countries
In 2017, the share of steel exports
sent to the United States from its
top import sources decreased in
the majority of the U.S. top 10
sources.     Mexico’s share of
exports to the U.S. showed the
largest decrease between 2016
and 2017, down 7.9 percentage
points. Other notable decreases
included Turkey’s share of
exports to the U.S. (down 4.3
percentage points from 2016),
followed by Brazil (down 1.2
percentage points). The share of
exports to the U.S. in Japan and
South Korea both decreased by less than one percentage point.
Countries with increases in their share of steel exports to the U.S. included Canada (up 2.3
percentage points), Taiwan (up 0.4 percentage points), and China (up 0.3 percentage points).
Among the U.S. top import sources, Canada and Mexico sent more than half of their total steel
exports to the United States. In 2017, flat products accounted for the largest share of steel exports to
the U.S. in both Canada at 56 percent (3.3 million metric tons) and Mexico at 28 percent (913
thousand metric tons).


                        Steel Export Composition of Top Market-Share Countries - 2017
         Canada                        Flat

                                      Long

                               Pipe & Tube

                              Semi-finished

                                  Stainless




                                       Flat

                              Semi-finished
         Mexico
                               Pipe & Tube

                                      Long

                                  Stainless

                                              0                        1                2             3                      4
                                                                                                     Millions of Metric Tons
       Source: IHS Global Trade Atlas, based on import data per reporting country


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Steel Imports Report: United States
Overall Production and Import Penetration




U.S. crude steel production increased 4 percent between 2015 and 2017, from 78.8 million metric
tons in 2015 to 81.6 million metric tons in 2017. Production in YTD 2018 has increased 2 percent to
20.7 million metric tons from 20.3 million metric tons in YTD 2017. Since 2009, apparent
consumption (a measure of steel demand) has increasingly exceeded production. The gap between
demand and production decreased to 5.5 million metric tons in YTD 2018. Imports have captured an
increasing share of demand, as shown by the relatively high levels of import penetration in 2015,
2016, and 2017 at 33.8, 30.1, and 32.6 percent, respectively. In YTD 2018, import penetration stood
at 30.0 percent, down from 31.3 percent in YTD 2017.
Top Producers                             United States Top Steel Producers in 2017
The top seven steel                                                       Production
                               Rank Company                                                   Main Products
producers in the United                                                   (mmt)
States are a mix of foreign    1       Nucor Corporation                  24.39               Bars, beams, sheets, plate
and domestically-owned                                                                        Hot-rolled, cold-rolled, plate,
                               2       ArcelorMittal USA                  15
companies and a mix of                                                                        coated products, rails
                                                                                              Hot-rolled, cold-rolled, coated
electric arc furnace mills     3       United States Steel Corp. 14.43
                                                                                              sheets, tubular products
and blast furnace mills.
                                                                          12.4 (N. Amer. Beams, pilings, billets, rebar,
The top three companies        4       Gerdau North America
                                                                          capacity)      wire rod
alone accounted for the
                                                                                         Flat-rolled, structural, bars,
majority of U.S. crude steel   5       Steel Dynamics Inc.                8.27
                                                                                         rails
production in 2017 at 66
                                                                                         Hot-rolled, cold-rolled,
percent.                       6       AK Steel Corporation               5.6
                                                                                         galvanized, stainless, electrical
                               7       Commercial Metals Co.              3 (capacity)        Rebar, bars, sections, billets
                               Source: World Steel Association; Metal Bulletin, Iron and Steelworks of the World Directory 2017;
                               Company websites

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Steel Imports Report: United States
Trade Remedies in the Steel Sector
Antidumping duties (AD), countervailing duties (CVD), associated suspension agreements, and
safeguards are often referred to collectively as trade remedies. These are internationally agreed upon
mechanisms to address the market-distorting effects of unfair trade, or serious injury or threat of serious
injury caused by a surge in imports. Unlike anti-dumping and countervailing measures, safeguards do
not require a finding of an “unfair” practice. Before applying these duties or measures, countries
investigate allegations and can remedy or provide relief for the injury caused to a domestic industry. The
table below provides statistics on the current number of trade remedies the United States has against
imports of steel mill products from various countries. The U.S. has no steel mill safeguards in effect.

U.S. Trade Remedies in Effect Against Steel Mill Imports
                                                               Suspension Agreements and
Country                            AD                   CVD          Undertakings              Total
Australia                           1                                                            1
Austria                             1                                                            1
Belarus                             1                                                            1
Belgium                             2                                                            2
Brazil                              6                    3                                       9
China                              16                    12                                     28
France                              1                                                            1
Germany                             3                                                            3
India                               9                     6                                     15
Indonesia                           4                     2                                      6
Italy                               2                     1                                      3
Japan                              14                                                           14
Latvia                              1                                                            1
Malaysia                            1                                                            1
Mexico                              6                                                            6
Moldova                             2                                                            2
Netherlands                         1                                                            1
Oman                                1                                                            1
Pakistan                            1                                                            1
Poland                              1                                                            1
Romania                             1                                                            1
Russia                              1                                     1                      2
South Africa                        2                     1                                      3
South Korea                        14                     6                                     20
Spain                               1                                                            1
Sweden                              1                                                            1
Taiwan                             12                     1                                     13
Thailand                            3                     1                                      4
Trinidad &Tobago                    1                                                            1
Turkey                              8                     6                                     13
Ukraine                             2                                     2                      4
United Arab Emirates                1                                                            1
United Kingdom                      2                                                            2
Vietnam                             2                                                            2
TOTAL                              125                   397              3                     167
Source: World Trade Organization, through December 31, 2017
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Steel Imports Report: Glossary
Apparent Consumption: Domestic crude steel production plus steel imports minus steel exports. Shipment data are not
available for all countries, therefore crude steel production is used as a proxy.
Export Market: Destination of a country’s exports.
Flat Products: Produced by rolling semi-finished steel through varying sets of rolls. Includes sheets, strips, and plates. Used
most often in the automotive, tubing, appliance, and machinery manufacturing sectors.
Import Penetration: Ratio of imports to apparent consumption.
Import Source: Source of a country’s imports.
Long Products: Steel products that fall outside the flat products category. Includes bars, rails, rods, and beams. Used in
many sectors but most commonly in construction.
Pipe and Tube Products: Either seamless or welded pipe and tube products. Used in many sectors but most commonly in
construction and energy sectors.
Semi-finished Products: The initial, intermediate solid forms of molten steel, to be re-heated and further forged, rolled,
shaped, or otherwise worked into finished steel products. Includes blooms, billets, slabs, ingots, and steel for castings.
Stainless Products: Steel products containing at minimum 10.5% chromium (Cr) offering better corrosion resistance than
regular steel.
Steel Mill Products: Carbon, alloy, or stainless steel produced by either a basic oxygen furnace or an electric arc furnace.
Includes semi-finished steel products and finished steel products. For trade data purposes, steel mill products are defined at
the Harmonized System (HS) 6-digit level as: 720610 through 721650, 721699 through 730110, 730210, 730240 through
730290, and 730410 through 730690. The following discontinued HS codes have been included for purposes of reporting
historical data (prior to 2007): 722520, 722693, 722694, 722910, 730410, 730421, 730610, 730620, and 730660.



Special Note on U.S. Import Data: Import data for the United States used in this report are general imports, rather than imports
for consumption, so as to be consistent across countries. Therefore, U.S. import data in this report may not match similar data used in
our other U.S. import data products.


Global Steel Trade Monitor: The monitor provides global import and export trends for the top countries trading in steel
products. The current reports expand upon the early release information already provided by the Steel Import Monitoring and
Analysis (SIMA) system that collects and publishes data on U.S. imports of steel mill products. Complementing the SIMA data, these
reports provide objective and current global steel industry information about the top countries that play an essential role in the global
steel trade. Information in these reports includes global exports and import trends, production and consumption data and, where
available, information regarding trade remedy actions taken on steel products. The reports will be updated quarterly.
Steel Import Monitoring and Analysis (SIMA) System: The Department of Commerce uses a steel import licensing program
to collect and publish aggregate data on near real-time steel mill imports into the United States. SIMA incorporates information
collected from steel license applications with publicly released data from the U.S. Census Bureau. By design, this information provides
stakeholders with valuable information on the steel trade with the United States. For more information about SIMA, please go to
http://enforcement.trade.gov/steel/license/.




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                        EXHIBIT 14
                                                                                                                                  DSTI/SC(2018)2 /FINAL




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      Organisation for Economic Co-operation and Development
                                                                                                         DSTI/SC(2018)2/FINAL

      Unclassified                                                                                         English - Or. English
                                                                                                                   1 January 1990




      Recent developments in steelmaking capacity




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2│   RECENT DEVELOPMENTS IN STEELMAKING CAPACITY




The OECD Steel Committee delegates discussed a draft of the report at the Steel Committee meeting
on 5-6 March 2018 and have approved it for declassification following comments from delegates
which are reflected in this document. The report and the underlying data on steelmaking capacity for
all steel producing economies will be made available on the Steel Committee website:
oe.cd/steelcapacity and on O.N.E. under the reference code: DSTI/SC(2018)2/FINAL.




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                                             RECENT DEVELOPMENTS IN STEELMAKING CAPACITY         │3


               Recent developments in steelmaking capacity


                                         Daichi Mabashi


                                           OECD Paris




                                          ABSTRACT


     The Secretariat of the OECD Steel Committee provides monitoring reports on crude
     steelmaking capacity developments on a regular basis, using a wide range of publicly
     available and commercial data sources. This paper presents an updated overview of
     regional capacity trends, including an assessment of gross capacity additions in the
     period until 2020. Global steelmaking capacity (in nominal crude terms) has decreased
     for the second consecutive year to a level of 2 251.2 million tonnes in 2017. The decline
     in global steelmaking capacity in 2017 follows a deceleration in capacity growth since
     2013 and results from capacity reductions and slower capacity growth in OECD/EU
     economies and non OECD/EU economies. However the modest reduction in 2017
     (-1.3%) still falls short of alleviating global excess capacity. Moreover, the updated
     information on announced investment projects suggests that nearly 52 million tonnes of
     gross capacity additions are currently underway and could come on stream during the
     three-year period of 2018-20. An additional 39 million tonnes of capacity additions are
     currently in the planning stages for possible start-up during the same time period. The
     Middle East region is expected to experience a considerable increase in steelmaking
     capacity over the next few years, while many capacity additions are also planned in Asia.
     The information on announced investment projects also suggests that the CIS region,
     Latin America and Africa are regions where steel-making capacity could increase
     somewhat in the coming years.
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4│     RECENT DEVELOPMENTS IN STEELMAKING CAPACITY



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                                                   RECENT DEVELOPMENTS IN STEELMAKING CAPACITY                 │5

         1. Summary of the latest steelmaking capacity developments1

      The Secretariat of the OECD Steel Committee provides monitoring reports on crude
      steelmaking capacity development to members of the Committee on a regular basis. This
      paper presents an updated overview of recent steelmaking capacity developments taking
      place around the world and provides an assessment of gross capacity additions that could
      come on stream during the three-year period of 2018-20. The document also includes a
      brief summary, by region, identifying closures of capacity and investment projects,
      including any postponements and cancellations of announced projects where applicable.
      The latest available data suggest that global steelmaking capacity has decreased for the
      second consecutive year in 2017. However this modest adjustment (-1.3%) still falls
      short of alleviating global excess capacity. Moreover, a number of new investment
      projects continue to take place around the world and global steelmaking capacity could
      increase by +2.3% between 2018 and 2020 in the absence of any further closures. Global
      excess capacity is expected to continue to be a major challenge for the global steel
      industry.
      Conditions in steel markets are changing rapidly with several developments in
      steelmaking capacity, on both the investment and closure side. The Secretariat monitors
      capacity developments on an ongoing basis and updates capacity numbers with
      incoming publicly available information on capacity closures and new information on
      the status of investment projects. The information used to assess capacity developments
      has been obtained from a wide range of publicly available and commercial data sources.
      The figures presented in this document are based on data available until December 2017.

                           Box 1. OECD Steelmaking Capacity database
    The OECD Steelmaking Capacity database contains data on crude steelmaking capacity by economy
    and provides researchers and policymakers with an important tool for analysing steel capacity
    developments. The database will be updated to reflect newer information provided in this paper,
    extending until December 2017.
    The OECD Secretariat compiles steelmaking capacity data using a wide range of publicly available and
    commercial data sources. These data sources include government sources, commercial capacity
    databases, specialised media reports, and company information. The data are reviewed periodically by
    the OECD Steel Committee. Capacity figures are in terms of nominal crude steelmaking capacity. The
    data refer to maximum theoretical equipment capacity. This definition does not take into account yield
    losses, maintenance and other factors affecting the productivity of installed steelmaking equipment.
    Therefore, these steelmaking capacity figures provided should neither be regarded as effective capacity
    nor as production. The annual capacity figures reflect all existing steelmaking capacity at the end of a
    calendar year.
    The OECD Steelmaking Capacity database as well as recent reports on steelmaking capacity
    developments are available at the OECD Steelmaking Capacity portal at: oe.cd/steelcapacity
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                     2. Latest developments of global steelmaking capacity

         2.1. Global summary of steelmaking capacity

          The latest available information (as of December 2017) suggests that global steelmaking
          capacity (in nominal crude terms) has decreased for the second consecutive year in 2017
          (Figure 1). The OECD has revised down its 2016 and 2017 figures for world
          steelmaking capacity from 2 369.7 million metric tonnes (mmt) and 2 356.5 mmt to
          2 280.7 mmt and 2 251.2 mmt, respectively for 2016 and 2017, to incorporate closures
          and investments that were not taken into account previously. 2 The decline in global
          steelmaking capacity in 2017 follows a deceleration in capacity growth since 2013 and
          results from capacity reductions and slower capacity growth in both OECD/EU
          economies and non OECD/EU economies (Figure 1. B).3

               Figure 1. Evolution of crude steelmaking capacity in OECD/EU economies and non
                                              OECD/EU economies

                       A. in levels (mmt)                                               B. in changes
 mmt     non OECD/EU economies   OECD/EU economies   World Total         OECD/EU economies   non OECD/EU economies   World Total
2 500                                                              25%


                                                                   20%
2 000

                                                                   15%
1 500

                                                                   10%
1 000
                                                                   5%

 500
                                                                   0%


   0                                                               -5%




          Note: Capacity data reflects all information on changes up to December 2017. The European Union (EU) is
          a member of the Steel Committee and accordingly this data includes all EU Member States.
          Source: OECD

         2.2. Regional capacity developments

          2.2.1. Latest developments
          Table 1 provides OECD data on existing nominal crude steelmaking capacity in 2016
          and 2017, taking into account new information on capacity additions and closures
          available up to December 2017. The largest capacity additions have been in the Middle
          East region, where an additional 2.8 mmt of capacity (+4.6%) was deployed in 2017.
          The updated capacity estimates suggest a 2.1% net reduction in Asia, and 0.5% net
          reduction in Europe in 2017. In 2017, steelmaking capacity increased by 2.3% in Africa,
          0.9% in Latin America and 0.2% in the North American Free Trade Agreement
          (NAFTA) region. In the Commonwealth of Independent States (CIS) and Oceania
          regions, there were no new investments underway, nor were permanent closures
          observed during 2017 from the publicly available sources used to update the OECD’s
          capacity monitoring databases.
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            Table 1. Current nominal capacity and potential gross capacity additions by region

                                                     Potential gross capacity
                    Existing nominal     % change                                  Capacity in 2020        % change expected
                                                      additions in 2018-20
                     capacity(mmt)       expected                                      (mmt)                 (2017 vs 2020)
                                                              (mmt)
                   2016         2017       2017-     Underway       Planned       Low          High        Low        High
                                  (A)       2016         (B)           (C)      (A)+(B)     (A)+(B)+(C)
Asia              1 521.6      1 488.9     -2.1%        18.7          23.7      1 507.6       1 531.3      1.3%       2.9%
CIS                145.7        145.7       0.0%        2.1            0.6       147.8         148.4       1.4%       1.9%
Latin America       75.3         75.9       0.9%        1.6            1.4        77.5          78.9       2.0%       3.9%
Middle East         60.9         63.7       4.6%        23.0           8.5        86.7          95.2      36.1%      49.5%
Africa              35.7         36.6       2.3%        5.9            2.6        42.4          45.0      16.0%      23.1%
Europe             276.6        275.2      -0.5%        0.0            2.0       275.2         277.2       0.0%       0.7%
NAFTA              158.5        158.9       0.2%        0.6            0.0       159.5         159.5       0.4%       0.4%
Oceania             6.4          6.4        0.0%        0.0            0.0        6.4           6.4        0.0%       0.0%
OECD/EU            644.7        642.3      -0.4%        0.6            2.0       642.9         644.9       0.1%       0.4%
Economies Total
Non OECD/EU       1 635.9      1 608.9     -1.7%        51.3          36.8      1 660.2       1 697.0      3.2%      5.5%
Economies Total
World Total       2 280.7      2 251.2     -1.3%       51.87         38.83      2 303.1       2 341.9      2.3%      4.0%

        Note: Capacity data reflects all information on changes up to December 2017 as well as input provided by
        OECD Steel Committee delegates following the discussion of a draft version of this report presented at the
        Steel Committee meeting on 5-6 March 2018. In the table, "Europe" includes both OECD/EU economies
        and non OECD/EU economies in Europe, as well as Turkey. Please see Annex C for the detailed capacity
        data by economy. The European Union (EU) is a member of the Steel Committee and accordingly this data
        includes all EU Member States.
        Source: OECD.

        2.2.2. Gross capacity additions for 2018-2020
        Even though the global steel industry is currently facing significant excess capacity,
        gross capacity additions are taking place in various regions of the world. Information
        on announced investment projects suggests that nearly 52 mmt of gross capacity
        additions are currently underway and could come on stream during the three-year period
        of 2018-20, while an additional 39 mmt of capacity additions are currently in the
        planning stages for possible start-up during the same time period (Table 1).
        The Middle East region is expected to experience a considerable increase in steelmaking
        capacity over the next few years, with around 31.5 mmt of gross capacity additions
        currently underway or planned for start-up during 2018-20. Many capacity additions are
        also planned in Asia (almost 24 mmt), with around 19 mmt currently underway for
        completion in the next three years. The CIS region, Latin America and Africa could also
        see increases in capacity, with around 2.1 mmt, 1.6 mmt, and 5.9 mmt of gross additions
        currently underway in each region, respectively, for the 2018-20 period. In NAFTA
        region, a 0.6 mmt capacity increase is underway. No capacity additions are currently
        underway in Europe and Oceania.

      2.3. The global excess capacity situation

        The reduction in global crude steelmaking capacity in 2017 (- 1.3 %) has contributed to
        narrowing the gap between global capacity and production, which is now estimated at
        around 561 mmt (Figure 2 A). The global steelmaking capacity utilisation rate,
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          measured as production divided by capacity has increased from 71.3% in 2016 to 75.1%
          in 2017.

                         Figure 2. Global crude steelmaking capacity and crude steel production

             A. Capacity-Production gap (mmt)                                              B. Capacity utilisation rate

 mmt      Capacity-Production Gap (RHS)   Capacity (LHS)   Production (LHS)   mmt                    Capacity Utilisation Rate (%)
2 500                                                                         1 200 90%

                                                                                     80%
2 000                                                                         1 000 70%

                                                                                     60%
1 500                                                                          800
                                                                                     50%

                                                                                     40%
1 000                                                                          600
                                                                                     30%

                                                                                     20%
 500                                                                           400
                                                                                     10%

   0                                                                           200   0%



          Source: OECD for crude steelmaking capacity and World Steel Association for production.
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  3. A review of regional capacity developments, closures, postponement
                             and cancellations

    3.1. Middle East

     Steelmaking capacity has increased rapidly over the last few years in the Middle East
     region, from around 24 mmt in 2007 to almost 63.7 mmt in 2017. Most of the newly
     installed steelmaking equipment in the region uses electric arc furnace (EAF)
     technology, reflecting natural endowments of natural gas used to produce direct reduced
     iron (DRI). Growth is expected to continue over the next few years and steelmaking
     capacity in the region could increase from 63.7 mmt in 2017 to 86.7 mmt in 2020
     (+36.1%), with Iran likely to be the largest contributor to the steel industry's expansion.
     The Iranian government has announced plans to increase national steelmaking capacity
     to 55 mmt by 2025, and there are a number of investment projects, either underway or
     in the planning stages, taking place in Iran's steel industry (IMIDRO, 2016[1]). If all the
     projects that are currently underway are completed as scheduled, Iran's nominal crude
     steelmaking capacity would reach 52.8 mmt by 2020, up from 28.2 mmt in 2016.
     Although steel demand prospects have been interesting for some foreign investors —
     e.g. the Chinese Metallurgical Group Corporation (MCC) has announced to finance
     some of the capacity projects — Iran has been experiencing difficulties in attracting the
     necessary investment to achieve the target of 55 mmt of steel production capacity by
     2025. Elsewhere in the region, Moon Iron & Steel (MISCO) of Oman is building a 1.2
     mmt EAF plant, which is expected to be operational in 2018.

    3.2. Asia and Oceania

     Steelmaking capacity in Asia has decreased from 1 521.6 mmt in 2016 to 1 488.9 mmt
     in 2017 (-2.1%). However, in the absence of additional closures, steelmaking capacity
     in the region could increase again to 1 507.6 mmt between 2018 and 2020 (+1.3 %). In
     Oceania, there are no new investments underway, nor were permanent closures observed
     during 2017 from the publicly available sources used to update the OECD’s monitoring
     databases.
     Between 2006 and 2015, Chinese steelmaking capacity more than doubled, from
     488 mmt to 1 150.1 mmt. However, capacity has started to decline more recently, falling
     by around 60 mmt in 2016 from the previous year. Moreover, a target was set for
     reducing steelmaking capacity by an additional 50 mmt in 2017 as part of the
     100-150 mmt closure target set for the period until 2020 by National Development and
     Reform Commission (NDRC) (NDRC, 2017[2]) (MIIT, 2016[3]). 4 According to the
     Ministry of Industry and Information Technology (MIIT), the People’s Republic of
     China (hereafter “China”) steel capacity closures in 2017 actually exceeded 50 mmt
     (MIIT, 2018[4]).
     China has also started closing down outdated induction furnaces (IF). MIIT reported that
     140 mmt of induction furnace (IF) capacities were eliminated in 2017 (MIIT, 2018[4])
     (Platts, 2017[5]).5 It is important to note that IF is not captured in official statistics and
     the closure of IF is additional to the 100-150 mmt closure target for the period through
     to 2020.6
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        There are some new capacity investments projects in China. Shandong Iron & Steel is
        building an 8.5 mmt plant in Rizhao, Shandong province. In the context of Shougang
        Jingtang's investment project in Caofeidian port, Hebei province, the company has
        started a second phase that entails an additional 5 mmt of steelmaking capacity. These
        new mills are designed to produce high value-added products to meet demand for flat
        products in the automotive and home appliance industries in China.
        Steelmaking capacity in India has been expanding at a fast rate in recent years and there
        are several new investment projects underway. Capacity is estimated to have increased
        to almost 122 mmt in 2016, more than double the level of 56 mmt in 2006. Further
        growth is expected over the short and longer term. For example, in late 2017, Jindal
        Steel and Power Ltd. (JSPL) completed the commissioning of a new basic oxygen
        furnace (BOF) at its Angul plant in the state of Odisha. The National Mineral
        Development Corporation (NMDC) is constructing a greenfield steelworks in the state
        of Chhattisgarh, while Steel Authority of India Ltd. (SAIL) is expanding steelmaking
        capacity at its Bhilai plant, both projects of which are expected to be operational in 2018.
        In addition, Shree Uttam Steel and Power Ltd. is constructing a greenfield plant in
        Maharashtra, which is expected to start operations in 2019. As a result of its rapid
        capacity expansion, India could become the world’s second largest steel producer over
        the next few years.
        On 8 May 2017, the Ministry of Steel of India published the “National Steel Policy
        2017” (hereafter the NSP 2017) (Ministry of Steel of India, 2017[6]). According to the
        NSP 2017, India’s authorities expect that 300 mmt of domestic crude steelmaking
        capacity would be required in the economy by 2030-31, based on its demand projections.
        These expectations assume that most of the projected additional demand for steel would
        need to be satisfied by domestic steel production. However, attaining such a level of
        production capacity would entail an additional 175.2 mmt from the 124.8 mmt level in
        2017 (+140%) and the NSP notes that this would require an extensive mobilisation of
        natural resources, finances, manpower and infrastructure (including land).
        Steelmaking capacity has expanded rapidly in the Association of South East Asian
        Nations (ASEAN) over the past decade and there are many steel projects being planned,
        particularly in Viet Nam. Steelmaking capacity in the ASEAN region has increased from
        48.7 mmt to 55.7 mmt between 2016 and 2017 (+14.4 %).
        Formosa Ha Tinh Steel has started operating a new BOF with a capacity of 7.0 mmt in
        Ha Tinh province, Viet Nam in 2017 (Formosa Ha Tinh Steel, 2017[7]). Other projects
        include the Gunung Steel Group's installation of a 0.5 mmt EAF in North Sumatra,
        Indonesia, and SteelAsia Manufacturing Corporation's 0.8 mmt EAF in Bulacan,
        Philippines, which are expected to become operational in 2018. In addition, solid steel
        demand growth has attracted many foreign investors to the South East Asian region and
        there are several new investment plans supported by Chinese companies. For example,
        Alliance Steel, which is funded by Chinese companies, is building a greenfield
        integrated steel mill with a capacity of 3.5 mmt in Kuantan Industrial Park, Malaysia,
        with commissioning expected for 2018. The construction of several large BOF plants
        are also being planned in Viet Nam, which would support capacity growth in the region
        in the coming few years.
        Elsewhere in Asia, Bangladesh and Pakistan have enjoyed strong steel demand growth
        in recent years, and several projects to build new steel mills are underway. In
        Bangladesh, GPH Ispat Ltd. and Kabir Group of Industries are constructing new EAF
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     mills, with a total of 1.3 mmt of capacity expected to become operational in 2018. In
     Pakistan, Amreli Steels Ltd. has commissioned a 0.2 mmt IF in Dhabeji and Agha Steel
     Industries is installing a 0.08 mmt IF in Karachi, which are expected to become
     operational in 2018.
     There are no capacity investments underway in Japan or Korea, but several closures
     have recently taken place as part of within-firm resource reallocation plans. For
     example, Japan's Kyoei Steel and Osaka Steel shut down two EAFs (with a capacity of
     0.48 mmt each) in 2016, to reduce production costs and increase efficiency by
     reallocating all crude steelmaking production to other more efficient plants (Kyoei Steel,
     2015[8]) (Osaka Steel, 2015[9]). In addition, Kobe Steel has shut down upstream
     equipment, also resulting in the permanent closure of a BOF with 1.38 mmt of capacity
     at Kobe Works at the end of October 2017 (Kobe Steel, 2017[10]). The upstream
     processes were moved to Kakogawa Works to compensate for the reduction at Kobe
     Works, but without any corresponding increase in crude steelmaking capacity this is
     likely to result in higher steelmaking capacity utilisation rates and potentially scale-
     driven efficiency gains at the Kakogawa Works (Kobe Steel, 2013[11]) (Platts, 2017[12]).7

    3.3. CIS

     In the Commonwealth of Independent States (CIS) region, several projects to build EAF
     and BOF facilities are currently underway. However, most of the capacity developments
     in this region relate to the modernisation of steel manufacturing facilities, while outdated
     open hearth furnaces (OHF) are shut down. For example, Russian steelmaker OMK is
     planning to withdraw an OHF in 2018, while Ukraine's Metinvest has plans to replace
     its OHF with a capacity of 4.7 mmt with new BOF capacity of 3.2 mmt in 2020.
     Amongst other projects, Russian steelmaker Tulachermet is installing a 1.8 mmt per year
     BOF in the Central Federal District, which is expected to be operational in 2018. The
     steelmaker NLMK has also announced a BOF capacity expansion at its Lipetsk site, of
     1.5 mmt by 2020.
     In addition, several Russian steel manufacturers are installing EAFs. Torex and Kirov
     Metallurgical Zavod are constructing new EAF furnaces with a capacity of 0.24 mmt
     and 0.37 mmt, respectively, which are expected to be operational in 2018. Don-Metal‘s
     new EAF with a capacity of 0.16 mmt is also underway with commissioning expected
     in 2019.
     A total of 2.7 mmt of gross capacity additions are either underway or planned for
     completion in the 2018-20 period in the CIS region. Taking only underway projects into
     account, steelmaking capacity in the CIS region is expected to increase from 145.7 mmt
     to 147.8 mmt between 2018 and 2020 (+1.4%).

    3.4. Africa

     In Africa, there are investment projects planned or already underway, aimed at
     increasing domestically-produced steel for use in developing the region's infrastructure.
     Overall, a total of 8.5 mmt of gross capacity additions are either underway or planned
     for completion in the 2018-20 period in Africa, with new investments foreseen mainly
     in North African economies, and the region's steelmaking capacity is expected to grow
     from a level of 35 mmt in 2017.
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         For example, in Algeria Tosyaly is investing in a new EAF plant with the capacity to
         produce 2.3 mmt, with a view to starting operations by 2018. Algeria's Qatari Solb
         Company has started to construct a new steel plant with a capacity of 2.1 mmt, with
         operations expected to begin in 2018. In Egypt, the Egyptian Steel Group started
         operation of an EAF mill with a capacity to produce 0.83 mmt of steel in Ain Al Sokhna
         in 2017, while Ezz Steel's new EAF mill with a capacity of 0.85 mmt is expected to
         become operational in 2019.

       3.5. Latin America

         In Latin America, most of the capacity expansion projects in the recent past have
         occurred in Brazil, such as the 3 mmt expansion by Companhia Siderúrgica do Pecém
         (CSP) in 2016 and Grupo Ferroeste's 0.6 mmt expansion in 2015. However, some
         capacity expansion plans have been postponed recently due to weak conditions in the
         steel market. For instance, Arcelor Mittal Brazil’s plan to install an EAF with 0.2 mmt
         of capacity at the Monlevade steel works, which initially was scheduled for
         commissioning in 2017, has been put on hold. In addition, Siderúrgica Latino Americana
         (Silat) has postponed its construction of a 1.2 mmt plant in Primavera, Ceará.
         However, some EAF projects are underway, or have recently come on stream, in other
         parts of the region. For example, Gerdau S.A started operations at a 0.65 mmt EAF plant
         in Perez, Argentina in 2017 and Siderurgica Nacional is installing an EAF plant with
         1.55 mmt of capacity in Ciudad Piar, Bolivar, Venezuela, which is expected to become
         operational in 2018. Overall, the level of steelmaking capacity in Latin America could
         increase by 2.0% to 77.5 mmt by 2020 if all the underway projects come on stream.

       3.6. NAFTA

         Crude steelmaking capacity in the NAFTA region was around 159 mmt in 2017.
         Changes during 2018-20 are expected to be relatively small. An addition of 0.6 mmt of
         EAF steelmaking capacity is expected to be deployed in Mexico's Tlaxcala region in
         2018, as a result of an investment project by Industrias CH, Grupo Simec (DANIELI,
         2018[13]) (Metal Expert, 2018[14]). In the United States, Commercial Metals Company
         (CMC) in Oklahoma, started operation of new EAF with capacities of 0.35 mmt in 2017
         (CMC, 2018[15]).
         A number of closures have taken place in recent years. For example, Warren Steel
         Holdings shut down an EAF plant in Ohio in 2016 (Platts, 2016[16]). In the absence of
         additional closures, steelmaking capacity in the region could increase by 0.6 mmt to
         reach nearly 160 mmt by 2020.

       3.7. Europe

         Steelmaking capacity in Europe decreased from 278.3 mmt to 276.9 mmt in 2017
         (-0.5%) and could remain stable between 2018 and 2020, according to the publicly
         available sources used to update the OECD’s monitoring databases.
         There are no capacity investments underway in the European Union. Closures have,
         however, occurred, mainly in downstream and upstream facilities. In Italy, Aferpi
         started closing its BOF in Piombino in 2017, which had a capacity of 2.9 mmt (Aferpi,
         2017[17]). On the other hand, as part of their business plan for revival of Piombino plant,
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     Aferpi announced that it was ordering two new EAFs with a capacity of about 1.0 mmt
     each, during the 2018-2019 period (Aferpi, 2016[18])8.
     In the region “Other Europe” (i.e. Norway, Switzerland and Turkey), there are no
     steelmaking capacity investment projects underway, except for Turkish Habas’s project
     which started operation of an EAF with 1.5 mmt in Izmir in 2017. A previously foreseen
     EAF project that was underway, amounting to 0.5 mmt per year, in Turkey (Corbus
     Celik's plant in Hatay province), has been suspended since 2015.
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                                            Annex A. AVAILABLE EVIDENCE OF PLANT LEVEL INVESTMENTS


             Table A2 summarises the plant level database providing the developments in underway or planned steelmaking capacity investment
             projects up to 2020, according to publicly available information.

                                                                                                  Table A1. Investment data
                                                                                                                                         NUMBER OF
    REGION         ECONOMIES                LOCATION                                             COMPANY                   EQUIPMENT                 CAPACITY        STATUS     START             SOURCES
                                                                                                                                         EQUIPMENT
Africa         Algeria          El Hadjar, Annaba                    IMETAL                                               BOF           x1              350      underway       2018    World Steel Capacities
Africa         Algeria          Bethioua                             Tosyali                                              EAF           x1             2 300     underway       2018    World Steel Capacities
Africa         Algeria          Bellara, Jijel                       Algerian Qatari Solb Company                         EAF           x2             2 100     underway       2018    World Steel Capacities
Africa         Algeria          El Hadjar, Annaba                    Gulf National Steel                                  EAF           x1              600      postponement   2018    World Steel Capacities
Africa         Algeria          El Hadjar, Annaba                    IMETAL                                               EAF           x1              600      plan           2018    World Steel Capacities
Africa         Algeria          Bellara, Jijel                       Algerian Qatari Solb Company                         EAF           x1             2 000     plan           2019    Metal Expert
Africa         Algeria          Annaba                               Emarat Dzayer Steel Company                          EAF           x1              n/a      plan            n/a    World Steel Capacities
Africa         Algeria          n/a                                  Lamino Group Attia                                   EAF           x1              600      plan            n/a    World Steel Capacities
Africa         Egypt            Al Ain Al Sokhna                     Egyptian Steel Group                                 EAF           x1              830      operating      2017    Metal Expert
Africa         Egypt            Sokhna, Suez                         Ezz Steel                                            EAF           x1              850      underway       2019    Metal Expert
Africa         Kenya            Mwavumbo                             Top Steel Kenya                                      Steelmkg      n/a             157      plan            n/a    Platts
Africa         Kenya            Sinosteel                            Sinosteel                                            Steelmkg      n/a            1 000     plan            n/a    Metal Expert
Africa         Mozambique       Revuboe Industrial Zone              Capitol Iron & Steel Ltd                             Steelmkg      n/a             500      plan            n/a    Metal Expert
Africa         Nigeria          Lagos                                Standard Metallurgical Company                       EAF           x1              260      underway       2018    World Steel Capacities
Africa         South Africa     Hebei Iron & Steel (Hegang)          Hebei Iron & Steel (Hegang)                          Steelmkg      n/a            5 000     postponement   2020    Metal Expert / Platts
Africa         Tanzania         Liganga                              Tanzania China International Mineral Resources Ltd   Steelmkg      n/a            1 000     plan            n/a    Metal Expert
                                Masjiddah, Kumira, Sitakunda,
Asia           Bangladesh                                            GPH Ispat Ltd                                        EAF           x1              815      underway       2018    World Steel Capacities
                                Chittagong
                                Ghoramora, Bara Kumira, Sitakunda,
Asia           Bangladesh                                            Kabir Group of Industries                            EAF           n/a             500      underway       2018    World Steel Capacities
                                Chittagong
Asia           China            Rizhao, Shandong                     Shandong Iron & Steel Rizhao                         BOF           x4            8 500      operating      2017    Metal Expert, Wood Machenzie
Asia           China            Caofeidian port, Hebei               Shougang Jingtang                                    BOF           x4            5 000      underway       2018    Platts
Asia           China            Fangchenggang, Guangxi               Liuzhou Iron & Steel                                 BOF           x7            14 700     plan            n/a    Platts
Asia           China            Hebei, Laoting                       Hebei Iron & Steel (Hegang)                          Steelmkg      n/a           7 100      plan            n/a    Platts
Asia           China            Ningde, Fujian                       Angang Iron & Steel Group                            Steelmkg      n/a           10 000     plan            n/a    Platts
Asia           China            Tangshan                             Tangshan Bohai Iron & Steel                          Steelmkg      n/a           8 000      plan            n/a    Platts
Asia           China            n/a                                  HBIS Tangyin (河北钢铁集团唐银钢铁有限公司)                        BOF           n/a             500      operating      2016    Wood Machenzie
Asia           China            n/a                                  Jixin (内蒙古吉鑫钢铁)                                      BOF           n/a           2 100      operating      2016    Wood Machenzie
Asia           China            n/a                                  Qingquan (清泉钢铁有限公司)                                  BOF           n/a             500      operating      2016    Wood Machenzie
Asia           China            n/a                                  Sanming Fuxin (福建三明钢铁集团福建福鑫钢铁有限公司)                   BOF           n/a             500      operating      2016    Wood Machenzie
Asia           China            n/a                                  Suzhou (江苏苏钢集团有限公司)                                  BOF           n/a             500      operating      2016    Wood Machenzie
Asia           China            n/a                                  Xinxing Kingtec (新兴铸管有限公司金特)                         BOF           n/a           1 000      operating      2016    Wood Machenzie
Asia           China            n/a                                  NHIC (内蒙古北方重工)                                       EAF           n/a           2 800      operating      2016    Wood Machenzie
Asia           China            Zhanjiang, Guangdong                 Guangdong Steel Group Corp                           BOF           x1            2 976      operating      2016    Platts
Asia           India            Angul, Odisha                        Jindal Steel and Power Limited (JSPL)                BOF           x1            3 000      operating      2017    Platts
Asia           India            Dilmili, Chhattisgarh                NMDC                                                 BOF           x2            3 000      underway       2018    World Steel Capacities
Asia           India            Bhilai, Chhattisgarh                 Steel Authority of India Ltd (SAIL)                  BOF           x3            3 000      underway       2018    World Steel Capacities
Asia           India            Sindhudurg, Maharashtra              Shree Uttam Steel and Power Ltd                      BOF           x1            1 550      underway       2019    World Steel Capacities
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                                                                                                                        RECENT DEVELOPMENTS IN STEELMAKING CAPACITY                                   │ 15

                                                                                                                       NUMBER OF
   REGION       ECONOMIES               LOCATION                                      COMPANY             EQUIPMENT                CAPACITY       STATUS     START              SOURCES
                                                                                                                       EQUIPMENT
                            Chhattisgarh (Bastar Greenfield
Asia        India                                             Tata Steel                                 Steelmkg      n/a           5 000    postponement    n/a    Metal Expert
                            Project)
Asia        India           Paradip, Odisha                   Essar Steel                                BOF           x1           6 000     plan           2018    World Steel Capacities
Asia        India           Kalinganagar, Odisha              Mideast Integrated Steel (Mesco Steel)     BOF           n/a          1 200     plan           2019    World Steel Capacities
Asia        India           Kalinganagar, Odisha              Mideast Integrated Steel (Mesco Steel)     BOF           n/a          2 300     plan           2019    World Steel Capacities
Asia        India           Anjar, Gujarat                    Welspun Group                              BOF           x2           3 000     plan           2020    World Steel Capacities
Asia        India           Dolvi, Maharashtra                JSW Ispat Steel Ltd.                       BOF           x2           5 000     plan           2020    Platts, World Steel Capacities
Asia        India           Patratu, Jharkhand                Jindal Steel and Power Limited (JSPL)      BOF           x1           3 200     plan            n/a    World Steel Capacities
Asia        India           Ballari                           Sesa Sterlite                              n/a           n/a          4 000     plan            n/a    Metal Expert
Asia        India           Dilmili, Chhattisgarh             NMDC & SAIL JV                             Steelmkg      n/a          6 000     plan            n/a    Platts
Asia        India           Jajpur, Odisha                    Neelachal Ispat Nigam (NINL)               BOF           x1           1 000     plan            n/a    World Steel Capacities
Asia        India           Panjim                            Shree Uttam Steel and Power Ltd            BOF           x1           1 550     plan            n/a    World Steel Capacities
Asia        India           Wardha, Maharashtra               Uttam Galva Steels Ltd                     Steelmkg      n/a          1 000     plan            n/a    Metal Expert
Asia        India           Jamshedpur, Jharkhand             Tata Steel                                 EAF           n/a          1 500     plan            n/a    Platts
Asia        India           Jharkhand                         Tata Steel                                 Steelmkg      n/a          12 000    plan            n/a    Metal Expert
Asia        India           Kalinganagar, Odisha              Mideast Integrated Steel (Mesco Steel)     EAF           n/a            400     plan            n/a    Metal Expert
Asia        India           Kalinganagar, Odisha              Tata Steel                                 BOF           n/a          5 000     plan            n/a    World Steel Capacities, Platts
Asia        India           Keonjhar, Odisha                  NMDC & OMC JV                              Steelmkg      n/a          12 000    plan            n/a    Metal Expert
Asia        India           Marakuta                          MSP Metallics Ltd                          IF            x4             240     plan            n/a    World Steel Capacities
Asia        India           Odisha                            POSCO India Limited                        Steelmkg      n/a          12 000    plan            n/a    Platts
Asia        India           Salboni, West Bengal              JSW Steel                                  BOF           x2           3 000     plan            n/a    Platts, Metal Expert
Asia        India           Salboni, West Bengal              JSW Steel                                  Steelmkg      n/a          7 000     plan            n/a    Platts, Metal Expert
Asia        India           Jharkhand                         JSW Steel                                  Steelmkg      n/a          10 000    plan            n/a    Metal Expert
Asia        India           Odisha                            JSW Steel                                  Steelmkg      n/a          10 000    plan            n/a    Metal Expert
Asia        India           Vijayanagar, Karnataka            JSW Steel                                  BOF           x1           2 000     operating      2016    Metal Expert
Asia        India           Visakhapatnam, Andhra-Pradesh     Rashtriya Ispat Nigam Ltd (RINL)           BOF           x1           1 000     operating      2016    Metal Expert
Asia        India           Jharkhand                         ArcelorMittal                              Steelmkg      n/a          3 000     cancelled       n/a    Metal Expert
Asia        India           Karnataka                         ArcelorMittal                              Steelmkg      n/a          6 000     cancelled       n/a    Metal Expert
Asia        Indonesia       North Sumatra                     Gunung Gahapi Sakti (GGS)                  EAF           x1             500     underway       2018    Metal Expert
Asia        Indonesia       North Sumatra                     Gunung Gahapi Sakti (GGS)                  EAF           x1             500     plan            n/a    Metal Expert
Asia        Indonesia       Central Sulawesi                  Anshan Iron & Steel Group Corporation      Steelmkg      n/a          5 000     plan            n/a    Platts
Asia        Indonesia       China Minsheng Investment Co      China Minsheng Investment Co               Steelmkg      n/a          3 000     plan            n/a    Metal Expert
Asia        Indonesia       Cilegon, West Java                Krakatau POSCO                             Steelmkg      n/a          3 000     plan            n/a    Metal Expert
Asia        Indonesia       East Java                         Wuhan Iron & Steel (Wugang)                EAF           x1           5 000     plan            n/a    Platts
Asia        Malaysia        Kuantan Industrial Park           Alliance Steel                             BOF           x2           3 500     underway       2018    Platts, World Steel Capacities
Asia        Malaysia        Kemaman,Terengganu                Eastern Steel Sdn Bhd                      Steelmkg      n/a          2 000     plan            n/a    Metal Expert
Asia        Malaysia        Sarawak State                     Hebei Xinwuan Steel Group                  BOF           x1           5 000     plan            n/a    Metal Expert
Asia        Malaysia        Selangor Darul Ehsan              The Lion Group                             BOF           x1           1 600     plan            n/a    World Steel Capacities
Asia        Mongolia        Sainshand                         DRI plant and steelworks project           Steelmkg      n/a          3 500     plan            n/a    Platts
Asia        Pakistan        Karachi                           Faizan Steel Mills                         IF            x2             80      underway       2018    World Steel Capacities
Asia        Pakistan        Dhabeji                           Amreli Steels / Dhabeji plant              IF            x1             200     plan           2018    World Steel Capacities
Asia        Pakistan        Port Qasim, Karachi               Agha Steel Industries                      EAF           x1             300     plan           2018    World Steel Capacities
Asia        Pakistan        Faisalabad                        Faisalabad Works                           IF            x2             600     plan           2019    World Steel Capacities
Asia        Pakistan        n/a                               Taybah Steel Group                         EAF           x1             500     plan           2020    World Steel Capacities
Asia        Pakistan        n/a                               Taybah Steel Group                         EAF           x1             500     plan            n/a    World Steel Capacities
Asia        Pakistan        n/a                               Indus Consortium Mining & Steel Industry   BOF           x1             500     plan            n/a    World Steel Capacities
Asia        Pakistan        n/a                               Indus Consortium Mining & Steel Industry   BOF           x1             500     plan            n/a    World Steel Capacities
Asia        Pakistan        Dhabeji                           Amreli Steels / Dhabeji plant              IF            x1             200     operating      2017    World Steel Capacities
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16 │      RECENT DEVELOPMENTS IN STEELMAKING CAPACITY


                                                                                                                                        NUMBER OF
      REGION       ECONOMIES                      LOCATION                                       COMPANY                  EQUIPMENT                 CAPACITY           STATUS   START               SOURCES
                                                                                                                                        EQUIPMENT
Asia           Philippines          Bulacan                               SteelAsia Manufacturing Corporation            EAF           n/a             800      underway        2018    World Steel Capacities
Asia           Philippines          Bulacan                               SteelAsia Manufacturing Corporation            EAF           n/a             600      plan            2018    World Steel Capacities
Asia           Philippines          Davao                                 SteelAsia Manufacturing Corporation            EAF           n/a             n/a      plan             n/a    World Steel Capacities
Asia           Viet Nam             Haiphong                              Australia Steel Billet Co                      EAF           n/a             750      postponement     n/a    Metal Expert
Asia           Viet Nam             Ninh Binh                             Kyoei Steel Vietnam Company                    EAF           x1              300      postponement     n/a    Platts
Asia           Viet Nam             Hai Phong                             Vietnam-Japan Steel (Vija)                     EAF           x1              350      plan             n/a    World Steel Capacities
Asia           Viet Nam             Dung Quat Industrial Park, Quang Ngai Hoa Phat Group                                 BOF           x2             2 000     plan            2018    Metal Expert
Asia           Viet Nam             Dung Quat Industrial Park, Quang Ngai Hoa Phat Group                                 BOF           x2             2 000     plan            2019    World Steel Capacities
Asia           Viet Nam             Lao Cai                               Vietnam Steel Corporation (VSC)                BOF           x1              500      plan             n/a    Metal Expert
Asia           Viet Nam             Thai Nguyen                           Thai Nguyen Iron & Steel Corporation (TISCO)   BOF           x1              500      plan             n/a    World Steel Capacities
                                    Tang Loong Industrial Zone in Bao
Asia           Viet Nam                                                   Viet - Trung Metallurgy Company                BOF           x1              500      plan             n/a    World Steel Capacities
                                    Thang district, Lao Cai province
Asia           Viet Nam             Phu My, Ba Ria Vung Tau               Hoa Sen Group                                  EAF           n/a             800      plan             n/a    World Steel Capacities
Asia           Viet Nam             Phu My, Ba Ria Vung Tau               Hoa Sen Group                                  EAF           n/a             500      plan             n/a    World Steel Capacities
Asia           Viet Nam             Vung Ang, Ha Tinh                     Formosa Ha Tinh Steel Corp                     BOF           x3             7 000     operating       2017    World Steel Capacities, Company HP
Asia           Viet Nam             Vung Ang, Ha Tinh                     Formosa Ha Tinh Steel Corp                     BOF           n/a            3 000     plan             n/a    World Steel Capacities
CIS            Azerbaijan           The Azerbaijani Government            The Azerbaijani Government                     Steelmkg      n/a             n/a      plan             n/a    Platts
CIS            Georgia              Rustavi                               Georgian Steel                                 EAF           x1              180      postponement     n/a    Platts
CIS            Georgia              Rustavi                               Georgian Steel                                 EAF           x1              180      plan             n/a    Platts
CIS            Kazakhstan           Aktau                                 Caspian Stal                                   EAF           x1               80      plan             n/a    World Steel Capacities
CIS            Kazakhstan           Aktau                                 Aksuskiy Electrical Steel Works                EAF           x1              600      plan             n/a    World Steel Capacities
CIS            Kazakhstan           Aktobe                                SBS Group                                      EAF           x1              300      plan             n/a    World Steel Capacities
CIS            Kazakhstan           Shymkent                              Ferrum-Vtor                                    EAF           n/a             350      plan             n/a    World Steel Capacities
CIS            Kyrgyztan            Chuyskya region                       Kyrgyz Metall                                  EAF           x1              120      plan            2018    World Steel Capacities
CIS            Russian Federation   Khabarovsk                            Torex / Khabarovsk Steel Mill                  EAF           x1              240      underway        2018    World Steel Capacities
CIS            Russian Federation   Kirov                                 Kirov Metallurgical Zavod                      EAF           x1              372      underway        2018    World Steel Capacities
CIS            Russian Federation   Tula, Central Federal District        Tulachermet                                    BOF           x1             1 800     underway        2018    Metal Expert
CIS            Russian Federation   Rostov, Southern Federal District     Don-Metall                                     EAF           x1              160      underway        2019    Metal Expert
CIS            Russian Federation   Lipetsk site                          NLMK                                           BOF           x2             1 500     underway        2020    Company HP, Platts
CIS            Russian Federation   Nizhny Tagil                          Evraz NTMK                                     BOF           x1             2 000     postponement    2017    World Steel Capacities
CIS            Russian Federation   Nizhny Tagil                          Evraz NTMK                                     BOF           x1             1 500     postponement    2017    World Steel Capacities
CIS            Russian Federation   Murmansk                              Monchegorsk Mechanical Engineering Plant       EAF           n/a             135      postponement    2017    Metal Expert
                                    Kolpino, Northwestern Federal
CIS            Russian Federation                                         Mera-Stal                                      EAF           x1              350      postponement    2017    Metal Expert
                                    District
CIS            Russian Federation   Kineshma                              Kineshma Electrometallurgical Works            IF            x1              240      postponement    2017    World Steel Capacities
CIS            Russian Federation   Bratsk, Siberian Federal District     East Siberian Metallurgical Co                 EAF           x1              270      postponement    2018    Metal Expert
                                                                                                                                                                                        Ministry of Industry and Trade of
CIS            Russian Federation   Chusovoy, Volga Federal District     United Metallurgical (OMK)                      EAF           x1              800      postponement    2018
                                                                                                                                                                                        the Russian Federation
CIS            Russian Federation   Leningradskaya region                Metal and Innovations                           EAF           x1              350      postponement    2019    World Steel Capacities
CIS            Russian Federation   Rostov, Southern Federal District    DonElectroStal                                  EAF           x1              285      postponement    2022    World Steel Capacities
CIS            Russian Federation   Volgotsemmash                        Volgotsemmash                                   EAF           n/a             500      postponement     n/a    Metal Expert
CIS            Russian Federation   Mtsensk, Orel                        StalKron                                        Steelmkg      n/a             500      postponement     n/a    Metal Expert
CIS            Russian Federation   Krasnoyarsk                          Krasny Yar AO                                   EAF           n/a             200      postponement     n/a    Metal Expert
CIS            Russian Federation   Volgotsemmash                        Volgotsemmash                                   EAF           n/a             500      postponement     n/a    Metal Expert
CIS            Russian Federation   Magnitogorsk                         Magnitogorsk Iron & Steel Works                 BOF           x1             3 200     plan             n/a    World Steel Capacities
CIS            Russian Federation   Beloretsk                            Belstal                                         BOF           x1              500      plan            2018    World Steel Capacities
CIS            Russian Federation                                        Khabarovsk                                      BOF           x1              n/a      plan             n/a    World Steel Capacities
                                                                                                                                                                                        Ministry of Industry and Trade of
CIS            Russian Federation   Chelyabinsk                          Zlatoust Steel Plant                            EAF           x1              700      plan             n/a
                                                                                                                                                                                        the Russian Federation
CIS            Russian Federation   Novotroitsk                          Metalloinvest                                   BOF           x1             3 000     plan             n/a    World Steel Capacities
                                                                                                                                                                                        Ministry of Industry and Trade of
CIS            Russian Federation   Irkutsk, Siberian Federal District   Basic Element and En+ Group                     Steelmkg      n/a             260      plan             n/a
                                                                                                                                                                                        the Russian Federation
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                                                                                                                                                  RECENT DEVELOPMENTS IN STEELMAKING CAPACITY                                 │ 17

                                                                                                                                                  NUMBER OF
    REGION             ECONOMIES                 LOCATION                                         COMPANY                           EQUIPMENT                 CAPACITY       STATUS      START              SOURCES
                                                                                                                                                  EQUIPMENT
CIS             Russian Federation   Tula, Central Federal District       Tulachermet                                              BOF           x1             1 870     plan            n/a    Metal Expert
CIS             Russian Federation   Leninogorsk                          TatStal                                                  EAF           x1             1 200     cancelled      2017    World Steel Capacities
CIS             Russian Federation   Tatarstan                            Maxi-Invest investment company                           EAF           x1             1 200     cancelled       n/a    Metal Expert
CIS             Ukraine              Zaporizhzhya                         Metinvest                                                BOF           x2             3 200     underway       2020    World Steel Capacities
CIS             Ukraine              Mariupol                             Ilyich Iron and Steel Works                              BOF           x2             5 000     postponement   2017    World Steel Capacities
CIS             Ukraine              Donetsk                              Donetsk Iron & Steel Works (DMZ)                         EAF           x1             1 500     postponement    n/a    Platts
Europe          Germany              Badische Stahlwerke GmbH             Badische Stahlwerke GmbH                                 EAF           x2              400      plan            n/a    World Steel Capacities
Europe          Italy                n/a                                  Aferpi                                                   EAF           x1             1 000     plan           2018    World Steel Capacities
Europe          Italy                n/a                                  Aferpi                                                   EAF           x1             1 000     plan           2019    World Steel Capacities
Latin America   Argentina            Perez                                Gerdau S.A.                                              EAF           x1              650      operating      2017    World Steel Capacities
Latin America   Bolivia              El Mutún, Santa Cruz                 Empresa Siderurgica del Mutun                            EAF           x1              150      plan           2019    World Steel Capacities
Latin America   Bolivia              Buena Vista, Santa Cruz province     Las Lomas                                                EAF           n/a             200      plan           2019    Platts
Latin America   Brazil               Monlevade                            ArcelorMittal Brazil                                     BOF           x1             1 200     postponement   2017    Metal Expert
Latin America   Brazil               Primavera, Ceará                     Siderúrgica Latino Americana (Silat)                     EAF           x1             1 200     postponement    n/a    Metal Expert
Latin America   Brazil               Juiz de Fora                         ArcelorMittal Acos Longos                                EAF           x1              200      plan            n/a    World Steel Capacities
Latin America   Brazil               Ceara                                Companhia Siderúrgica do Pecém (CSP)                     Steelmkg      n/a            3 000     plan            n/a    Metal Expert
Latin America   Brazil               Espírito Santo                       Companhia Siderúrgica Ubu (CSU)                          Steelmkg      n/a            5 000     plan            n/a    Metal Expert
Latin America   Brazil               Pará                                 Aços Laminados do Pará (ALPA)                            Steelmkg      n/a            2 500     plan            n/a    Metal Expert
Latin America   Ecuador              Jv with Sinosteel                    State-owned flat steel mill                              n/a           n/a             n/a      plan            n/a    Platts
Latin America   Ecuador              Porsorja                             EP Petroecuador                                          EAF           x1             1 000     plan            n/a    World Steel Capacities
Latin America   Peru                 Pisco                                Aceros Arequipa                                          EAF           x1              650      plan           2018    Platts
Latin America   Peru                 Pisco                                Aceros Arequipa                                          EAF           x1              400      plan           2019    World Steel Capacities
Latin America   Venezuela            Ciudad Piar, Bolivar                 Siderurgica Nacional                                     EAF           x1             1 550     underway       2018    World Steel Capacities
Latin America   Venezuela            Ciudad Ojeda, Zulia                  Gerdau Sizuca                                            EAF           x1               60      plan            n/a    Metal Expert
Middle East     Afghanistan          Hajigak                              Afghan Iron & Steel Consortium (Afisco)                  Steelmkg      n/a            1 200     plan            n/a    Platts
Middle East     Iran                 Bandar Abbas                         Kish South Kaveh Steel                                   EAF           x1             1 200     underway       2018    World Steel Capacities
Middle East     Iran                 C. KHORASAN, Torbat Heydariyeh       National Iranian Steel Company                           EAF           x1              800      underway       2018    World Steel Capacities
Middle East     Iran                 Esfahan                              Natanz Steel Industries                                  EAF           x1              850      underway       2018    World Steel Capacities
Middle East     Iran                 Shiraz                               Fasa Steel Complex Co (Fasco)                            EAF           x1             1 500     underway       2018    World Steel Capacities
Middle East     Iran                 Kermanshah                           Bistoun Steel                                            IF            x1              400      underway       2018    World Steel Capacities
Middle East     Iran                 Sadrfoulad                           Sadrfoulad Complex                                       EAF           x1              400      underway       2018    World Steel Capacities
Middle East     Iran                 Saeb Steel Complex                   Saeb Steel Complex                                       EAF           x1              550      underway       2018    World Steel Capacities
                                                                          MIDHCO / Bardsir Sponge Iron and Steel Plant - Bardsir
Middle East     Iran                 Bardsir                                                                                       EAF           x1             1 000     underway       2018    World Steel Capacities
                                                                          Steel Making Plant
                                     Zarand Iron & Steel Company
Middle East     Iran                                                      Zarand Iron & Steel Company (ZISCO)                      BOF           x1             1 700     underway       2018    World Steel Capacities
                                     (ZISCO)
                                     Urmia 2nd Industrial Zone, Western
Middle East     Iran                                                      Orumieh Steel Group                                      EAF           n/a            1 200     underway       2018    World Steel Capacities
                                     Azerbaijan
                                                                          Mobarakeh Steel / Sefid Dasht Steel Complex (Chaharmahal
Middle East     Iran                 Charmahal-va-Bakhtiyari                                                                       EAF           x1             1 000     underway       2018    World Steel Capacities
                                                                          Bakhtiari)
Middle East     Iran                 Fars                                 Eghlid Steel                                             EAF           x   1          1 500     underway       2018    irsteel.com
Middle East     Iran                 Khorasan                             IMIDRO (Sabzevar Steel)                                  EAF           x   1           800      underway       2018    Platts, World Steel Capacities
Middle East     Iran                 Shadegan, Khuzestan                  Khouzestan / Shadegan Steel Complex                      EAF           x   1          1 000     underway       2018    World Steel Capacities
Middle East     Iran                 Khuzestan                            Arvand Jahanara Steel Company                            EAF           x   1          1 200     underway       2018    World Steel Capacities
Middle East     Iran                 Yazd                                 Iran Alloy Steel Company                                 EAF           x   1           700      underway       2018    World Steel Capacities
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18 │     RECENT DEVELOPMENTS IN STEELMAKING CAPACITY


                                                                                                                                             NUMBER OF
    REGION           ECONOMIES                LOCATION                                   COMPANY                                 EQUIPMENT               CAPACITY           STATUS   START             SOURCES
                                                                                                                                             EQUIPMENT
Middle East   Iran               Eshtehard, Alborz               Aria Zob Steel Complex                                         EAF          x1             500      underway        2018    World Steel Capacities
                                                                 Golgohar Mining & Industrial Co. / Jahan Foolad Sirjan Steel
Middle East   Iran               Sirjan, Kerman                                                                                 EAF          x1            1 300     underway        2018    World Steel Capacities
                                                                 Complex
Middle East   Iran               Chatroud, Kerman Province       Butia Steel Company                                            EAF          x1            1 500     underway        2019    Metal Expert
Middle East   Iran               Abarkooh, Yazd                  Abar Kouh Steel & Rolling                                      EAF          x1             600      underway        2019    World Steel Capacities
Middle East   Iran               Abarkuh, Yazd, Sarmad Abarkuh   Sarmad Iron and Steel Company                                  EAF          n/a            600      underway        2020    World Steel Capacities
Middle East   Iran               Hormozgan, Hormozgan            Mobarakeh Steel                                                EAF          x1            1 500     underway        2020    World Steel Capacities
Middle East   Iran               Bonab                           Bonab Steel Complex                                            EAF          x1            1 500     cancelled        n/a    World Steel Capacities
Middle East   Iran               Sadr                            Shahrood Steel Co                                              EAF          x1             400      underway         n/a    World Steel Capacities
Middle East   Iran               n/a                             Azna Steel                                                     EAF          x1             700      underway         n/a    World Steel Capacities
                                 Sirjan Iranian Steel Company
Middle East   Iran                                               MIDHCO / Sirjan Iranian Steel Company (SISCO)                  EAF          n/a           1 000     underway         n/a    Company HP
                                 (SISCO)
Middle East   Iran               Sadr                            Shahrood Steel Co                                              EAF          x1             300      underway         n/a    World Steel Capacities
                                 Chabahar city, Sistan and
Middle East   Iran                                               Pars Kohan Diar Parsian Steel (PKP)                            EAF          x1            1 600     plan            2018    World Steel Capacities
                                 Baluchestan
Middle East   Iran               Malekan, Eastern Azerbaijan     Malekan Steel                                             EAF               x1             400      plan            2018    World Steel Capacities
Middle East   Iran               Azerbaijan                      Eight mini steelworks (Mianeh Steel)                      EAF               x1             800      plan            2018    Platts
                                                                 Bafgh Mineral Complex Iron and Steel Industry Company (B-
Middle East   Iran               n/a                                                                                       EAF               x1             800      plan            2018    World Steel Capacities
                                                                 MISCO)
                                 Sefid dasht Industrial Park,
Middle East   Iran                                               Saba Foulad Zagros                                             EAF          x1             460      plan            2018    World Steel Capacities
                                 Chaharmahal and Bakhtiari
Middle East   Iran               Golgohar                        Golgohar Mining & Industrial Co.                               EAF          x   1         1 500     plan            2018    World Steel Capacities
Middle East   Iran               Dezful, Khorasan province       Dezful Steel                                                   IF           x   1          450      plan            2018    World Steel Capacities
Middle East   Iran               Ahwaz                           Khouzestan Steel Company (KSC)                                 EAF          x   6         1 400     plan            2019    Metal Expert
Middle East   Iran               Qeshm Free Zone                 Qeshm Steel Development Co.(QE.S.D.Co)                         EAF          x   1         1 500     plan            2021    World Steel Capacities
Middle East   Iran               Qeshm Free Zone                 Qeshm Steel Development Co.(QE.S.D.Co)                         EAF          x   1         1 500     plan            2023    World Steel Capacities
Middle East   Iran               Khouzestan                      Eight mini steelworks (Shadegan Steel)                         EAF          x   1         1 000     plan             n/a    Metal Expert
Middle East   Iran               Macran Steel Complex            IMIDRO                                                         EAF          x   1         3 200     plan             n/a    World Steel Capacities
Middle East   Iran               Bandar Abbas, Hormozgan         Persian Gulf Saba Steel                                        EAF          x   1         1 500     plan             n/a    World Steel Capacities
Middle East   Iran               Bandar Abbas, Hormozgan         Persian Gulf Saba Steel                                        EAF          x   1         1 500     plan             n/a    World Steel Capacities
Middle East   Iran               Bandar Abbas, Hormozgan         Persian Gulf Saba Steel                                        EAF          x   1         1 500     plan             n/a    World Steel Capacities
Middle East   Iran               Bakhtiari                       Mobarakeh Steel                                                EAF          x   1         1 000     plan             n/a    World Steel Capacities
Middle East   Iran               Torbat Heydariyeh               Torbat Heydariyeh Steel                                        EAF          x   1         1 450     plan             n/a    World Steel Capacities
Middle East   Iran               Torbat Heydariyeh               Torbat Heydariyeh Steel                                        EAF          x   1         1 450     plan             n/a    World Steel Capacities
Middle East   Iran               Chaharmahal Bakhtiari           Eight mini steelworks (Sefid Dasht Steel)                      EAF          x   1          800      plan             n/a    Metal Expert
Middle East   Iran               Esfahan                         Esfahan Steel                                                  BOF          x   2         2 280     plan             n/a    World Steel Capacities
Middle East   Iran               Esfahan                         Esfahan Steel                                                  EAF          x   1         1 650     plan             n/a    World Steel Capacities
Middle East   Iran               Fars                            Eight mini steelworks (Neyriz Steel)                           EAF          x   1          800      plan             n/a    Metal Bulletin
Middle East   Iran               Kerman                          Eight mini steelworks (Baft Steel)                             EAF          x   1          800      plan             n/a    Platts
Middle East   Iran               Shadegan Steel Complex          Khouzestan                                                     EAF          x   1         1 300     plan             n/a    World Steel Capacities
Middle East   Iran               Khorramshahr Steel              Khouzestan                                                     EAF          x   1         1 250     plan             n/a    World Steel Capacities
Middle East   Iran               Khorramshahr Steel              Khouzestan                                                     EAF          x   1         1 250     plan             n/a    World Steel Capacities
Middle East   Iran               Khorramshahr Steel              Khouzestan                                                     EAF          x   1         1 250     plan             n/a    World Steel Capacities
Middle East   Iran               Khorramshahr Steel              Khouzestan                                                     EAF          x   1         1 250     plan             n/a    World Steel Capacities
Middle East   Iran               Khuzestan                       Arvand Jahanara Steel Company                                  EAF          x   1         1 200     plan             n/a    World Steel Capacities
Middle East   Iran               n/a                             North West Steel Industries (NWSI)                             EAF          x   1          800      plan             n/a    World Steel Capacities
Middle East   Iran               Samangan Steel Industries       Samangan Steel Industries                                      EAF          x   1          750      plan             n/a    Metal Expert
Middle East   Iran               Samangan Steel Industries       Samangan Steel Industries                                      EAF          x   1          750      plan             n/a    Metal Expert
Middle East   Iran               Golgohar                        Golgohar Mining & Industrial Co.                               EAF          x   1         1 500     plan             n/a    World Steel Capacities
Middle East   Iran               Golgohar                        Golgohar Mining & Industrial Co.                               EAF          x   1         1 000     plan             n/a    World Steel Capacities
Middle East   Iran               Sistan and Baluchestan          IMIDRO                                                         EAF          x   1         3 200     plan             n/a    Metal Expert
Middle East   Iran               n/a                             Foolad Kavir                                                   EAF          x   1          500      plan             n/a    World Steel Capacities
Middle East   Iran               Tehran                          West Alborz Steel Co.                                          EAF          x   1         1 000     plan             n/a    World Steel Capacities
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                                                                                                                                       RECENT DEVELOPMENTS IN STEELMAKING CAPACITY                                  │ 19

                                                                                                                                      NUMBER OF
    REGION               ECONOMIES                   LOCATION                                  COMPANY                   EQUIPMENT                CAPACITY           STATUS    START              SOURCES
                                                                                                                                      EQUIPMENT
Middle East       Iran                   Yazd                         Chadormalu Mining & Industrial Co / Samen Steel   EAF           x1            1 300     operating         2017    World Steel Capacities
Middle East       Iran                   Khorasan                     Khorasan Steel Complex                            EAF           x1             650      operating         2017    World Steel Capacities
Middle East       Iran                   Shahrekord                   Mobarakeh Steel / Saba Steel Complex              EAF           x1             850      operating         2017    World Steel Capacities
Middle East       Iraq                   Erbil                        WorldBridge Steel                                 EAF           x1             500      postponement      2017    Metal Expert
                                         Zonouz (Shams Iron & Steel
Middle East       Iran                                                Daric Investment Group                            EAF           x1            1 500     plan               n/a    World Steel Capacities
                                         Complex)
Middle East       Iran                   South Khorasan               IMIDRO / Ghaenat Steel Complex                    EAF           x1             800      plan               n/a    World Steel Capacities
Middle East       Iraq                   Basra                        Al Moussawi Trading                               EAF           n/a            500      plan               n/a    Platts
Middle East       Iraq                   Sulaymaniyah, Kurdistan      Mass Group Holding                                EAF           x1             250      plan               n/a    Metal Expert
Middle East       Iraq                   Taji                         Al-Sumood Company for Steel Industries            EAF           x2             150      plan               n/a    Platts
Middle East       Jordan                 Zarqa                        National Steel Industry                           IF            x1             100      postponement      2018    Metal Expert
Middle East       Oman                   Sohar                        Moon Iron & Steel (MISCO)                         EAF           x1            1 200     underway          2018    Metal Expert
Middle East       Oman                   Sur                          Sun Metals                                        EAF           x2            2 400     postponement      2018    Metal Expert
Middle East       Oman                   Muscat Steel                 Muscat Steel                                      EAF           x1             200      plan               n/a    Metal Expert
Middle East       Saudi Arabia           Jeddah                       Arkan Steel                                       EAF           x1             600      plan               n/a    World Steel Capacities
Middle East       Saudi Arabia           Rabigh                       Al-Raki for Trading & Industry                    EAF           x1             400      postponement      2017    World Steel Capacities
Middle East       Saudi Arabia           Yanbu, Medina                Atoun Steel Industry                              EAF           x1             910      postponement      2017    Metal Expert
Middle East       Saudi Arabia           Jizan                        Al-Yamamah Steel Industries                       EAF           x1            1 000     postponement       n/a    Platts
Middle East       Saudi Arabia           Rabigh                       Factory Rabigh Steel Industry                     EAF           x1             n/a      plan               n/a    World Steel Capacities
Middle East       Saudi Arabia           Ras Al-Khair                 Gulf Tubing Co                                    EAF           x1             600      plan              2019    Metal Expert
Middle East       Saudi Arabia           Al-Jubail                    Saudi Iron & Steel Co (Hadeed)                    Steelmkg      n/a           3 500     plan              2025    Metal Expert
Middle East       Saudi Arabia           Dammam                       Al-Qaryan Steel Company                           EAF           x1             300      plan               n/a    Metal Expert
Middle East       Saudi Arabia           Watani Steel II, Riyadh      Taybah Steel                                      EAF           x1            1 500     plan               n/a    Metal Expert
Middle East       Saudi Arabia           Riyadh                       Rajhi Steel Industries                            EAF           x1            2 000     cancelled         2017    World Steel Capacities
Middle East       United Arab Emirates   Abu Dhabi                    BILDCO                                            Steelmkg      n/a           1 000     postponement       n/a    Metal Expert
Middle East       United Arab Emirates   Jebel Ali, Dubai             Gulf National Steel                               EAF           n/a            500      plan              2019    World Steel Capacities
                                                                                                                                                                                        World Steel Capacities, Company
NAFTA             Mexico                 Apizaco, Tlaxcala            Grupo SIMEC / Industrias CH                       EAF           x1             600      underway          2018
                                                                                                                                                                                        HP
NAFTA             Mexico                 Pesqueria, Nuevo Leon        Ternium Mexico                                    EAF           x2            3 000     plan               n/a    MBR
NAFTA             Mexico                 Nuevo León                   Frisa                                             EAF           x1             350      operating         2016    Platts
                                                                                                                                                                                        World Steel Capacities, Company
NAFTA             United States          Durant, Oklahoma             CMC Steel Oklahoma (Durant)                       EAF           x1             350      operating         2017
                                                                                                                                                                                        HP
NAFTA             United States          San Patricio                 Tianjin Pipe Group (TPCO)                         EAF           x1             500      postponement       n/a    World Steel Capacities
NAFTA             United States          Louisiana                    Benteler Steel/Tube                               EAF           x1             n/a      plan              2018    World Steel Capacities
NAFTA             United States          Montpelier, Iowa             SSAB North American Division                      EAF           x1            1 200     plan               n/a    Metal Expert
NAFTA             United States          Texas                        E Unitd Group                                     EAF           x2            2 500     plan               n/a    Metal Expert
NAFTA             United States          US Steel                     Fairfield, Alabama                                EAF           n/a           1 600     plan               n/a    World Steel Capacities
Other Europe      Turkey                 n/a                          Platinum Demir Celik                              IF            x2             100      postponement      2017    Metal Expert
Other Europe      Turkey                 Payas, Hatay                 Corbus Celik                                      EAF           n/a            500      postponement       n/a    Platts
Other Europe      Turkey                 Bartin                       Mescier Steel Industry & Trade L.C.               EAF           x1            1 000     postponement       n/a    World Steel Capacities
Other Europe      Turkey                 Osmaniye                     Yolbulan Bastug                                   EAF           x1            2 000     plan            cancelled Platts
Other Europe      Turkey                 Canakkale, Biga              Icdas                                             BOF           n/a           2 000     plan            cancelled Metal Expert
Other Europe      Turkey                 Filyos, Zonguldak            Kardemir                                          BOF           n/a           6 000     plan            cancelled Platts
Other Europe      Turkey                 Orhangazi, Bursa             Asil Celik                                        EAF           x1             500      plan               n/a    Metal Expert
Other Europe      Turkey                 Aliaga, Izmir                Ege Celik                                         EAF           x1            1 200     plan               n/a    World Steel Capacities
Other Europe      Turkey                 Izmir                        Habas                                             EAF           x1            1 500     operating         2017    Metal Expert

               Source: Media sources listed in the table.
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                                 Annex B. AVAILABLE EVIDENCE OF PLANT LEVEL CLOSURES


          The closure information collected in this table is based on plant-level data originally obtained from public and commercial sources,
          in particular from media reports, but does not represent an exhaustive list of closures. These sources are listed in Table A3.

                                                                   Table A2. Closure data

                                                                                              NUMBER OF
REGION    ECONOMIES   LOCATION   COMPANY                                      EQUIPMENT                 DETAIL   TYPE OF CLOSURE   CAPACITY   Year   SOURCES
                                                                                              EQUIPMENT
Asia      China       n/a        Anhui Fuxin (安徽富鑫钢铁公司)                       BOF                n/a       n/a   Permanent           1 000    2016   Wood Machenzie
Asia      China       n/a        Anhui Jin'an (安徽金安钢铁)                        BOF                n/a       n/a   Permanent           1 000    2016   Wood Machenzie
Asia      China       n/a        Antai Hebei (河北安泰实业有限公司)                     BOF                n/a       n/a   Permanent            970     2016   Wood Machenzie
Asia      China       n/a        Bajiao (德阳八角钢铁)                              BOF                n/a       n/a   Permanent            200     2016   Wood Machenzie
Asia      China       n/a        Baode (鞍山宝得钢铁有限公司)                           BOF                n/a       n/a   Permanent            600     2016   Wood Machenzie
Asia      China       n/a        Baogang (包钢集团有限责任公司)                         BOF                n/a       n/a   Permanent            450     2016   Wood Machenzie
Asia      China       n/a        Baowu Kungang (宝武集团昆明钢铁集团)                   BOF                n/a       n/a   Permanent           1 170    2016   Wood Machenzie
Asia      China       n/a        Baowu Wuhan (宝武集团武汉总公司)                      BOF                n/a       n/a   Permanent           2 120    2016   Wood Machenzie
Asia      China       n/a        Baoxin Special (包头市宝鑫特钢有限责任公司)               BOF                n/a       n/a   Permanent             70     2016   Wood Machenzie
Asia      China       n/a        Changping (山西常平集团有限公司)                       BOF                n/a       n/a   Permanent           1 200    2016   Wood Machenzie
Asia      China       n/a        Chongqing Yuxi (重庆渝西钢铁集团)                    BOF                n/a       n/a   Permanent            100     2016   Wood Machenzie
Asia      China       n/a        Chuanwei (四川川威集团有限公司)                        BOF                n/a       n/a   Permanent            600     2016   Wood Machenzie
Asia      China       n/a        Dazhou (四川省达州钢铁集团有限公司)                       BOF                n/a       n/a   Permanent            200     2016   Wood Machenzie
Asia      China       n/a        Delong Aoyu (德龙涞源奥宇钢铁)                       BOF                n/a       n/a   Permanent            600     2016   Wood Machenzie
Asia      China       n/a        Donghai (唐山东海钢铁有限公司)                         BOF                n/a       n/a   Permanent            500     2016   Wood Machenzie
Asia      China       n/a        Dongshan (河北新武安钢铁集团东山冶金工业有限公司)               BOF                n/a       n/a   Permanent            500     2016   Wood Machenzie
Asia      China       n/a        Fushun Fuxin (安徽铜陵市富鑫钢铁公司)                   BOF                n/a       n/a   Permanent           1 200    2016   Wood Machenzie
Asia      China       n/a        Guangyuan Metal Products (廊坊市洸远金属制品有限公司)     BOF                n/a       n/a   Permanent           2 400    2016   Wood Machenzie
Asia      China       n/a        Guofeng (唐山国丰钢铁有限公司)                         BOF                n/a       n/a   Permanent           1 700    2016   Wood Machenzie
Asia      China       n/a        Hangzhou (杭州钢铁集团公司)                          BOF                n/a       n/a   Permanent            600     2016   Wood Machenzie
Asia      China       n/a        Hanzhong (陕钢集团汉中钢铁有限责任公司)                    BOF                n/a       n/a   Permanent            350     2016   Wood Machenzie
Asia      China       n/a        HBIS Shijiazhuang (河北钢铁集团石家庄钢铁公司)            BOF                n/a       n/a   Permanent            720     2016   Wood Machenzie
Asia      China       n/a        HBIS Tangshan (河北钢铁集团唐山公司)                   BOF                n/a       n/a   Permanent           1 100    2016   Wood Machenzie
Asia      China       n/a        Hebei Xinjin (河北新武安钢铁集团新金钢铁有限公司)             BOF                n/a       n/a   Permanent            450     2016   Wood Machenzie
Asia      China       n/a        Henglong (重庆万州恒隆钢铁公司)                        BOF                n/a       n/a   Permanent            150     2016   Wood Machenzie
Asia      China       n/a        Huale Alloy (连云港华乐合金有限公司)                    BOF                n/a       n/a   Permanent           1 150    2016   Wood Machenzie
Asia      China       n/a        Jiangxin (山东临沂江鑫钢铁有限公司)                      BOF                n/a       n/a   Permanent           1 050    2016   Wood Machenzie
Asia      China       n/a        Jiaxin (唐山佳鑫钢铁有限公司)                          BOF                n/a       n/a   Permanent            500     2016   Wood Machenzie
Asia      China       n/a        Jinxi Iron and Steel (河北唐山津西钢铁)              BOF                n/a       n/a   Permanent            550     2016   Wood Machenzie
Asia      China       n/a        Jiugang Hongxing (酒泉钢铁集团宏兴钢铁股份有限公司（嘉峪关）)     BOF                n/a       n/a   Permanent            500     2016   Wood Machenzie
Asia      China       n/a        Jiugang Yicheng (酒泉钢铁集团山西翼城)                 BOF                n/a       n/a   Permanent            300     2016   Wood Machenzie
Asia      China       n/a        Jiugang Yuzhong (酒泉钢铁集团甘肃榆中分公司)              BOF                n/a       n/a   Permanent           1 000    2016   Wood Machenzie
Asia      China       n/a        Jiujiang Wire (九江线材钢铁有限公司)                   BOF                n/a       n/a   Permanent            450     2016   Wood Machenzie
Asia      China       n/a        Liangang Ruifeng (唐山瑞丰钢铁有限公司)                BOF                n/a       n/a   Permanent           1 000    2016   Wood Machenzie
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                                                                                            RECENT DEVELOPMENTS IN STEELMAKING CAPACITY                           │ 21

                                                                                          NUMBER OF
REGION   ECONOMIES   LOCATION   COMPANY                                     EQUIPMENT               DETAIL   TYPE OF CLOSURE   CAPACITY   Year   SOURCES
                                                                                          EQUIPMENT
Asia     China       n/a        Lueyang (陕西略阳钢铁)                            BOF              n/a       n/a   Permanent            800     2016   Wood Machenzie
Asia     China       n/a        Ma'anshan (马钢集团马鞍山钢铁股份有限公司)                 BOF              n/a       n/a   Permanent            300     2016   Wood Machenzie
Asia     China       n/a        Masteel Hefei (马钢集团合肥钢铁集团有限公司)              BOF              n/a       n/a   Permanent           1 700    2016   Wood Machenzie
Asia     China       n/a        Nanchang (江西南昌钢铁有限责任公司)                     BOF              n/a       n/a   Permanent           1 000    2016   Wood Machenzie
Asia     China       n/a        Nanfang (河南驻马店南方钢铁有限公司)                     BOF              n/a       n/a   Permanent            750     2016   Wood Machenzie
Asia     China       n/a        Pangang Chengdu (鞍钢集团攀钢集团成都钢钒公司)            BOF              n/a       n/a   Permanent           1 000    2016   Wood Machenzie
Asia     China       n/a        Pangang Panzhihua (鞍钢集团攀枝花钢铁（集团）有限责任公司)     BOF              n/a       n/a   Permanent           1 250    2016   Wood Machenzie
Asia     China       n/a        Pangang Xichang (鞍钢集团攀钢集团西昌钢钒有限公司)          BOF              n/a       n/a   Permanent            500     2016   Wood Machenzie
Asia     China       n/a        Pinggang (方大集团江西萍乡钢铁公司)                     BOF              n/a       n/a   Permanent            770     2016   Wood Machenzie
Asia     China       n/a        Pinggang Special Steel (方大集团萍乡萍钢特钢有限公司)     BOF              n/a       n/a   Permanent            300     2016   Wood Machenzie
Asia     China       n/a        Puyang (河北新武安钢铁集团普阳钢铁有限公司)                  BOF              n/a       n/a   Permanent            430     2016   Wood Machenzie
Asia     China       n/a        Qian'an Jin'an (津安钢铁有限公司)                   BOF              n/a       n/a   Permanent            500     2016   Wood Machenzie
Asia     China       n/a        Qianjin (河北霸州前进钢铁)                          BOF              n/a       n/a   Permanent            660     2016   Wood Machenzie
Asia     China       n/a        Qinyou (扬州市秦邮特种金属材料有限公司)                    BOF              n/a       n/a   Permanent            500     2016   Wood Machenzie
Asia     China       n/a        Quanfu (山西泉福钢铁厂)                            BOF              n/a       n/a   Permanent            200     2016   Wood Machenzie
Asia     China       n/a        Rongxin (荣信钢铁有限公司)                          BOF              n/a       n/a   Permanent            580     2016   Wood Machenzie
Asia     China       n/a        Sande (临沂三德钢铁有限公司)                          BOF              n/a       n/a   Permanent           1 400    2016   Wood Machenzie
Asia     China       n/a        Shagang Xixing (沙钢集团江苏锡兴钢铁有限公司)             BOF              n/a       n/a   Permanent            800     2016   Wood Machenzie
Asia     China       n/a        Shanghai Stainless Steel (宝武集团上海第一钢铁有限公司)   BOF              n/a       n/a   Permanent           1 240    2016   Wood Machenzie
Asia     China       n/a        Shanxi Huanhai (山西环海钢铁)                     BOF              n/a       n/a   Permanent            150     2016   Wood Machenzie
Asia     China       n/a        Shengbao Pipe (河北胜宝制管有限公司)                  BOF              n/a       n/a   Permanent            600     2016   Wood Machenzie
Asia     China       n/a        Shougang Changzhi (首钢长治钢铁有限公司)              BOF              n/a       n/a   Permanent            500     2016   Wood Machenzie
Asia     China       n/a        Shougang Shuicheng (首钢集团贵州水城钢铁（集团）有限责任公司)   BOF              n/a       n/a   Permanent            750     2016   Wood Machenzie
Asia     China       n/a        Shougang Tonghua (首钢通化钢铁集团有限责任公司)           BOF              n/a       n/a   Permanent            400     2016   Wood Machenzie
Asia     China       n/a        Shunxin (湖南顺鑫钢铁有限公司)                        BOF              n/a       n/a   Permanent            150     2016   Wood Machenzie
Asia     China       n/a        Siping Modern (吉林四平现代钢铁有限公司)                BOF              n/a       n/a   Permanent           1 000    2016   Wood Machenzie
Asia     China       n/a        Taigang (太原钢铁集团有限公司)                        BOF              n/a       n/a   Permanent            400     2016   Wood Machenzie
Asia     China       n/a        Taigang New Lingang (太原钢铁集团新临钢钢铁有限公司)       BOF              n/a       n/a   Permanent           1 100    2016   Wood Machenzie
Asia     China       n/a        Tangshan Xingye (唐山兴业工贸有限公司)                BOF              n/a       n/a   Permanent            150     2016   Wood Machenzie
Asia     China       n/a        Tiangang (天钢集团有限公司)                         BOF              n/a       n/a   Permanent            900     2016   Wood Machenzie
Asia     China       n/a        Tianzhu (天柱钢铁集团有限公司)                        BOF              n/a       n/a   Permanent           1 000    2016   Wood Machenzie
Asia     China       n/a        Wen'an (河北新武安钢铁集团文安钢铁有限公司)                  BOF              n/a       n/a   Permanent            440     2016   Wood Machenzie
Asia     China       n/a        Wenfeng (河北文丰钢铁有限公司)                        BOF              n/a       n/a   Permanent            290     2016   Wood Machenzie
Asia     China       n/a        Xilin (黑龙江西林钢铁集团)                           BOF              n/a       n/a   Permanent            700     2016   Wood Machenzie
Asia     China       n/a        Xinda (鑫达钢铁有限公司)                            BOF              n/a       n/a   Permanent            870     2016   Wood Machenzie
Asia     China       n/a        Xingtai (河北邢台钢铁有限公司)                        BOF              n/a       n/a   Permanent            300     2016   Wood Machenzie
Asia     China       n/a        Xingyuan Iron and Steel (襄汾县星原钢铁集团有限公司)     BOF              n/a       n/a   Permanent            800     2016   Wood Machenzie
Asia     China       n/a        Yaxin Zhongsheng (山西中升钢铁有限公司)               BOF              n/a       n/a   Permanent            900     2016   Wood Machenzie
Asia     China       n/a        Yutian Jianbang (玉田建邦实业有限公司)                BOF              n/a       n/a   Permanent            150     2016   Wood Machenzie
Asia     China       n/a        Zhayi Liancheng (天津轧一联成钢铁有限公司)              BOF              n/a       n/a   Permanent           1 820    2016   Wood Machenzie
Asia     China       n/a        Zongheng Cangzhou (河北沧州纵横钢铁集团有限公司)          BOF              n/a       n/a   Permanent           1 100    2016   Wood Machenzie
Asia     China       n/a        Zongheng Handan (河北邯郸纵横钢铁集团有限公司)            BOF              n/a       n/a   Permanent            500     2016   Wood Machenzie
Asia     China       n/a        Chengdu Metallurgy (成都冶金实验厂有限公司)            BOF              n/a       n/a   Permanent            600     2016   Wood Machenzie
Asia     China       n/a        Handing (内蒙古汉鼎钢铁)                           BOF              n/a       n/a   Permanent            200     2016   Wood Machenzie
Asia     China       n/a        Jiangyin Huarun (江阴华润制钢有限公司)                BOF              n/a       n/a   Permanent            400     2016   Wood Machenzie
Asia     China       n/a        Shizi Metal (重庆璧山县狮子金属加工有限责任公司)             BOF              n/a       n/a   Permanent            150     2016   Wood Machenzie
Asia     China       n/a        Tsingshan Jinhui (青山控股河南金汇特钢)               BOF              n/a       n/a   Permanent            150     2016   Wood Machenzie
Asia     China       n/a        Valin Xigang (江苏华菱锡钢特钢有限公司)                 BOF              n/a       n/a   Permanent            400     2016   Wood Machenzie
Asia     China       n/a        Xi'an (陕西龙钢集团西安钢铁有限公司)                      BOF              n/a       n/a   Permanent            300     2016   Wood Machenzie
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                                                                                                                        NUMBER OF
REGION    ECONOMIES       LOCATION            COMPANY                                     EQUIPMENT                               DETAIL          TYPE OF CLOSURE         CAPACITY   Year   SOURCES
                                                                                                                        EQUIPMENT
Asia      China           n/a                 Xilin (黑龙江西林钢铁集团)                           BOF                              n/a         n/a        Permanent                  650     2016   Wood Machenzie
Asia      China           n/a                 Xindongfang (苏州新东方特钢)                       BOF                              n/a         n/a        Permanent                  200     2016   Wood Machenzie
Asia      China           n/a                 Xinjiang Minxin (新疆闽新钢铁（集团）有限责任公司)          BOF                              n/a         n/a        Permanent                  500     2016   Wood Machenzie
Asia      China           n/a                 Dazhan (湖北大展钢铁有限公司)                         BOF                              n/a         n/a        Permanent                  300     2016   Wood Machenzie
Asia      China           n/a                 Baowu Baotong (宝武集团南通宝通钢铁公司)                BOF                              n/a         n/a        Permanent                  350     2016   Wood Machenzie
Asia      China           n/a                 Shengtelong (湖州盛特隆金属制品有限公司)                 BOF                              n/a         n/a        Permanent                  270     2016   Wood Machenzie
Asia      China           n/a                 Shougang Guiyang (首钢集团贵阳特殊钢有限公司)            BOF                              n/a         n/a        Permanent                  300     2016   Wood Machenzie
Asia      China           n/a                 Shuangyou (南平市双友金属制品有限公司)                   BOF                              n/a         n/a        Permanent                  400     2016   Wood Machenzie
Asia      China           n/a                 Baowu Shaoguan (宝武集团广东韶关钢铁集团有限公司)           BOF                              n/a         n/a        Permanent                  400     2016   Wood Machenzie
Asia      China           n/a                 Xilin Acheng (西林钢铁集团阿城钢铁有限公司)               BOF                              n/a         n/a        Permanent                  550     2016   Wood Machenzie
Asia      China           n/a                 Huaxin Metallurgy (广水华鑫冶金工业有限公司)            BOF                              n/a         n/a        Permanent                  300     2016   Wood Machenzie
Asia      China           n/a                 Wucheng (湖北吴城钢铁集团有限公司)                      BOF                              n/a         n/a        Permanent                  500     2016   Wood Machenzie
Asia      China           n/a                 Xuzhou Dongnan (江苏徐州东南钢铁有限公司)               BOF                              n/a         n/a        Permanent                  200     2016   Wood Machenzie
Asia      China           n/a                 Shagang Xinrui (沙钢集团鑫瑞特钢有限公司)               BOF                              n/a         n/a        Permanent                  600     2016   Wood Machenzie
Asia      China           n/a                 Shunle (武汉顺乐不锈钢有限公司)                        BOF                              n/a         n/a        Permanent                  600     2016   Wood Machenzie
Asia      China           n/a                 Yuebei (广东粤北钢铁有限公司)                         BOF                              n/a         n/a        Permanent                  700     2016   Wood Machenzie
Asia      China           n/a                 Qilu Special Steel (齐鲁特钢)                   BOF                              n/a         n/a        Permanent                  300     2016   Wood Machenzie
Asia      China           n/a                 Shanghai Stainless Steel (宝武集团上海第一钢铁有限公司)   BOF                              n/a         n/a        Permanent                  550     2016   Wood Machenzie
Asia      China           n/a                 Fushun (东北特殊钢集团抚顺特殊钢股份有限公司)                 BOF                              n/a         n/a        Permanent                  300     2016   Wood Machenzie
Asia      China           n/a                 Xiwang Special (西王特钢)                       BOF                              n/a         n/a        Permanent                  120     2016   Wood Machenzie
Asia      China           n/a                 Southwest Stainless (四川西南不锈钢公司)             BOF                              n/a         n/a        Permanent                 1 100    2016   Wood Machenzie
Asia      China           n/a                 Dingxin Nickel (福建鼎信镍业有限公司)                 BOF                              n/a         n/a        Permanent                 1 000    2016   Wood Machenzie
Asia      China           n/a                 Xuefeng (江苏无锡雪丰钢铁有限公司)                      BOF                              n/a         n/a        Permanent                  600     2016   Wood Machenzie
Asia      China           n/a                 Shanghai Special Steel (宝武集团上海特钢公司)         BOF                              n/a         n/a        Permanent                  400     2016   Wood Machenzie
Asia      China           n/a                 Taigang (太原钢铁集团有限公司)                        BOF                              n/a         n/a        Permanent                  270     2016   Wood Machenzie
Asia      China           n/a                 Hangzhou (杭州钢铁集团公司)                         BOF                              n/a         n/a        Permanent                  500     2016   Wood Machenzie
Asia      China           n/a                 Lijin (湖北立晋钢铁集团有限公司（原立晋冶金）)                 BOF                              n/a         n/a        Permanent                  500     2016   Wood Machenzie
Asia      China           n/a                 Shagang Xixing (沙钢集团江苏锡兴钢铁有限公司)             BOF                              n/a         n/a        Permanent                  800     2016   Wood Machenzie
                                                                                                                                                                                            Ministry of Industry and
Asia      China           n/a                 n/a (aggregate)                             Steelmkg (not including IF)      n/a         n/a        Permanent                50 000    2017
                                                                                                                                                                                            Information Technology (MIIT)
                                                                                                                                                                                            Ministry of Industry and
Asia      China           n/a                 n/a (aggregate)                             IF                               n/a         n/a        Permanent                140 000   2017
                                                                                                                                                                                            Information Technology (MIIT)
Asia      Japan           Osaka               Kyoei Steel Ltd                             EAF                              x   1       40t        Permanent                  480     2016   Company HP, World Steel Capacities
Asia      Japan           Okajima             Osaka Steel Co., Ltd.                       EAF                              x   1       40t        Permanent                  480     2016   Company HP, World Steel Capacities
Asia      Japan           Kobe Works          Kobe Steel                                  BOF                              x   2      90t         Permanent                 1 380    2017   Company HP, World Steel Capacities
CIS       Russia          Vyksa               OMK                                         OHF                              x   2   250 t, 251 t   Permanent                  460     2018   World Steel Capacities
CIS       Ukraine         Zaporizhzhya        Metinvest                                   OHF                              x   9       n/a        Permanent                 4 700    2020   World Steel Capacities
Europe    Italy           Piombino            Aferpi                                      BOF                              x   3       n/a        Permanent                 2 900    2017   Company HP, Metal Expert
Europe    Poland          Dabrowa Gornicza    AlcelorMittal                               BOF                              x   1       n/a        Others (unidentified)      n/a     2016   World Steel Capacities
Europe    Spain           Asturias (Aviles)   AlcelorMittal                               BOF                              x   1       n/a        Others (unidentified)      n/a     2016   World Steel Capacities
NAFTA     United States   Ohio                Warren Steel Holdings                       EAF                              x   1       n/a        Permanent                  500     2016   Metal Expert


          Note: In column “Type of closure”, the term "Others" refers to a closure that is not necessarily permanent, e.g. the idling or temporary stoppage of the steel
          facility. The data on nominal crude steelmaking capacity provided for China do not include the production capacity of “illegal” (“违法 Wéifǎ”) induction
          furnaces, nor does it reflect any changes in steelmaking capacity associated with those furnaces.

          Source: Media sources listed in the table.
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                                                       RECENT DEVELOPMENTS IN STEELMAKING CAPACITY                    │ 23




         Annex C. STEELMAKING CAPACITY DATA BY ECONOMY

                         Table A3. Crude steelmaking capacity developments (in mmt)




                                                                Nominal crude steelmaking capacity
                                         2007            2013           2014          2015           2016          2017
Asia                                        899.0          1 514.3        1 554.9      1 575.4        1 521.6       1 488.9
Non-OECD Asia                               712.2          1 297.0        1 337.9      1 359.4        1 306.6       1 275.3
Non-OECD Asia (excl.China, India)               63.7            86.8           89.9          94.8           95.3      102.5
Japan                                       129.6           131.2          131.1         130.5          129.6         128.2
Korea                                           57.2            86.0           85.9          85.5           85.5          85.5
China (People’s Republic of)                588.5          1 106.2        1 140.0      1 150.1        1 089.4       1 047.9
Chinese Taipei                                  21.8            29.4           29.4          29.4           29.4          29.4
India                                           60.0        104.0          108.0         114.5          121.8         124.8
Pakistan                                         4.0             5.5            5.6           5.9            5.9           6.1
Indonesia                                        5.9             9.7            9.7          10.9           10.9          10.9
Malaysia                                         9.0            10.0           10.7          10.7           10.7          10.7
Philippines                                      1.8             2.1            2.1           2.1            2.1           2.1
Thailand                                         6.5             9.4            9.9           9.9            9.9           9.9
Viet Nam                                         4.7            10.7           11.2          13.8           14.3          21.3
Others_Asia                                      9.9            10.1           11.3          12.2           12.2          12.2
Bangladesh                                       2.5             2.5            3.7           4.6            4.6           4.6
Cambodia                                         0.0             0.0            0.0           0.0            0.0           0.0
Hong Kong (China)                                0.0             0.0            0.0           0.0            0.0           0.0
Lao People’s Democratic Republic                 0.0             0.0            0.0           0.0            0.0           0.0
Mongolia                                         0.1             0.1            0.1           0.1            0.1           0.1
Myanmar                                          0.1             0.3            0.3           0.3            0.3           0.3
Nepal                                            0.3             0.3            0.3           0.3            0.3           0.3
Democratic People’s Republic of Korea            6.0             6.0            6.0           6.0            6.0           6.0
Singapore                                        0.8             0.8            0.8           0.8            0.8           0.8
Sri Lanka                                        0.2             0.2            0.2           0.2            0.2           0.2
Developed Asia                              208.7           246.6          246.4         245.4          244.4         243.0
ASEAN-6                                         28.8            42.6           44.4          48.2           48.7          55.7


CIS                                         135.0           143.8          144.7         144.7          145.7         145.7
Kazakhstan                                       6.0             8.2            8.2           8.2            8.2           8.2
Russia                                          77.0            86.6           87.0          87.0           88.0          88.0
Ukraine                                         45.5            42.5           42.5          42.5           42.5          42.5
Others                                           6.5             6.5            7.1           7.1            7.1           7.1
Azerbaijan                                       1.0             1.0            1.3           1.3            1.3           1.3
Belarus                                          2.8             2.8            3.0           3.0            3.0           3.0
Georgia                                          0.6             0.6            0.6           0.6            0.6           0.6
Moldova                                          1.0             1.0            1.0           1.0            1.0           1.0
Turkmenistan                                     0.2             0.2            0.2           0.2            0.2           0.2
Uzbekistan                                       1.0             1.0            1.0           1.0            1.0           1.0
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24 │      RECENT DEVELOPMENTS IN STEELMAKING CAPACITY




                                                          Nominal crude steelmaking capacity
                                     2007          2013           2014          2015           2016          2017
South America                               56.7          68.1           68.1          69.0           72.6          73.2
Latin America                               59.2          70.8           70.8          71.7           75.3          75.9
Non OECD Latin America                      57.2          68.8           68.8          69.7           73.3          74.0
Argentina                                    6.1           6.7            6.7           6.7            6.7           7.3
Brazil                                      39.0          48.0           48.0          48.5           52.1          52.1
Chile                                        2.0           2.0            2.0           2.0            2.0           2.0
Colombia                                     1.4           2.4            2.4           2.4            2.4           2.4
Peru                                         1.6           1.6            1.6           2.0            2.0           2.0
Venezuela                                    6.1           6.2            6.2           6.2            6.2           6.2
Others                                       3.1           4.0            4.0           4.0            4.0           4.0
Bolivia                                      0.0           0.0            0.0           0.0            0.0           0.0
Costa Rica                                   0.0           0.0            0.0           0.0            0.0           0.0
Cuba                                         0.5           0.7            0.7           0.7            0.7           0.7
Dominican Republic                           0.4           0.4            0.4           0.4            0.4           0.4
Ecuador                                      0.3           0.9            0.9           0.9            0.9           0.9
El salvador                                  0.2           0.3            0.3           0.3            0.3           0.3
Guatemala                                    0.5           0.5            0.5           0.5            0.5           0.5
Panama                                       0.0           0.0            0.0           0.0            0.0           0.0
Paraguay                                     0.2           0.2            0.2           0.2            0.2           0.2
Puerto rico                                  0.1           0.1            0.1           0.1            0.1           0.1
Trinidad and Tobago                          1.0           1.0            1.0           1.0            1.0           1.0
Uruguay                                      0.1           0.1            0.1           0.1            0.1           0.1


Middle East                                 24.5          54.3           59.1          60.9           60.9          63.7
Non OECD Middle East                        24.0          53.8           58.6          60.4           60.4          63.2
Iran                                        12.0          27.0           27.0          28.2           28.2          31.0
Iraq                                         0.4           1.7            1.7           1.7            1.7           1.7
Israel                                       0.5           0.5            0.5           0.5            0.5           0.5
Jordan                                       0.4           0.9            1.1           1.1            1.1           1.1
Qatar                                        2.8           2.9            3.9           3.2            3.2           3.2
Saudi Arabia                                 7.4          12.5           12.5          13.7           13.7          13.7
Syrian Arab Republic                         0.1           2.7            2.7           2.7            2.7           2.7
United Arab Emirates                         0.2           3.0            3.7           3.7            3.7           3.7
Others                                       0.8           3.2            6.1           6.1            6.1           6.1
Afghanistan                                  0.0           0.0            0.0           0.0            0.0           0.0
Bahrain                                      0.0           1.0            1.0           1.0            1.0           1.0
Kuwait                                       0.0           1.4            1.4           1.4            1.4           1.4
Lebanon                                      0.1           0.1            0.3           0.3            0.3           0.3
Oman                                         0.5           0.5            3.2           3.2            3.2           3.2
Yemen                                        0.1           0.3            0.3           0.3            0.3           0.3
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                                                      RECENT DEVELOPMENTS IN STEELMAKING CAPACITY                    │ 25



                                                               Nominal crude steelmaking capacity
                                        2007            2013           2014          2015           2016          2017
Africa                                         30.5            33.9           34.6          35.7           35.7          36.6
Algeria                                         2.5             3.7            3.7           3.7            3.7           3.7
Egypt                                           8.0            10.5           11.2          12.3           12.3          13.2
Libya                                           1.6             1.6            1.6           1.6            1.6           1.6
Morocco                                         0.8             2.7            2.7           2.7            2.7           2.7
Nigeria                                         2.7             2.9            2.9           2.9            2.9           2.9
South Africa                                   13.0            10.3           10.3          10.3           10.3          10.3
Zimbabwe                                        1.0             1.1            1.1           1.1            1.1           1.1
Others                                          0.9             1.1            1.1           1.1            1.1           1.1
Congo                                           0.1             0.1            0.1           0.1            0.1           0.1
Côte d'Ivoire                                   0.0             0.0            0.0           0.0            0.0           0.0
Ethiopia                                        0.2             0.2            0.2           0.2            0.2           0.2
Ghana                                           0.2             0.2            0.2           0.2            0.2           0.2
Kenya                                           0.1             0.1            0.1           0.1            0.1           0.1
Mauritius                                       0.0             0.0            0.0           0.0            0.0           0.0
Mozambique                                      0.0             0.0            0.0           0.0            0.0           0.0
Sudan                                           0.1             0.1            0.1           0.1            0.1           0.1
Tanzania                                        0.0             0.0            0.0           0.0            0.0           0.0
Togo                                            0.0             0.0            0.0           0.0            0.0           0.0
Tunisia                                         0.1             0.2            0.2           0.2            0.2           0.2
Uganda                                          0.2             0.2            0.2           0.2            0.2           0.2
Zambia                                          0.0             0.1            0.1           0.1            0.1           0.1


Europe                                     276.6           289.4          287.6         281.6          276.6         275.2
OECD Europe                                258.6           275.1          273.3         267.3          262.3         260.9
Non-OECD Europe                             18.0            14.3           14.3          14.3           14.3          14.3
Other Europe                                   39.9            57.8           58.0          56.0           56.0          57.5
EU-28                                      236.7           231.6          229.6         225.6          220.6         217.7
Turkey                                         32.0            49.2           49.4          47.4           47.4          48.9
Norway                                          0.8             0.8            0.8           0.8            0.8           0.8
Switzerland                                     1.4             1.4            1.4           1.4            1.4           1.4
Bosnia and Herzegovina                          2.0             2.0            2.0           2.0            2.0           2.0
Bulgaria                                        3.2             1.2            1.2           1.2            1.2           1.2
Croatia                                         0.2             0.5            0.5           0.5            0.5           0.5
Montenegro                                      0.4             0.4            0.4           0.4            0.4           0.4
Romania                                         9.0             6.2            6.2           6.2            6.2           6.2
Serbia                                          2.2             2.7            2.7           2.7            2.7           2.7
Others                                          1.2             1.4            1.4           1.4            1.4           1.4
Albania                                         0.7             0.9            0.9           0.9            0.9           0.9
Cyprus                                          0.0             0.0            0.0           0.0            0.0           0.0
Latvia                                          0.8             0.9            0.9           0.9            0.9           0.9
Former Yugoslav Republic of Macedonia           0.5             0.5            0.5           0.5            0.5           0.5
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26 │    RECENT DEVELOPMENTS IN STEELMAKING CAPACITY


                                                                       Nominal crude steelmaking capacity
                                                  2007          2013           2014           2015           2016           2017
NAFTA                                                 153.9         158.0          158.2          157.2          158.5          158.9
United States                                         113.4         113.5          113.5          111.3          112.3          112.6
Canada                                                   19.0          20.5           20.7           20.7           20.7           20.7
Mexico                                                   21.5          24.0           24.0           25.2           25.6           25.6


Oceania                                                   9.1           6.4            6.4            6.4            6.4            6.4
Australia                                                 8.1           5.4            5.4            5.4            5.4            5.4
New Zealand                                               1.0           1.0            1.0            1.0            1.0            1.0


OECD/EU economies TOTAL                               610.9         659.2          657.4          649.4          644.7          642.3
Non OECD/EU economies TOTAL                           976.9        1 611.6       1 658.8        1 684.2        1 635.9        1 608.9


WORLD TOTAL                                         1 587.7        2 270.8       2 316.2        2 333.6        2 280.7        2 251.2


Note on China: The data on nominal crude steelmaking capacity provided for China does not include production capacity by
“illegal” (“违法 Wéifǎ”) induction furnace, nor does it reflect any changes in steelmaking capacity associated with “illegal” (“违法
Wéifǎ”) induction furnaces.

The statistical data for Israel are supplied by and under the responsibility of the relevant Israeli authorities. The use of such data
by the OECD is without prejudice to the status of the Golan Heights, East Jerusalem and Israeli settlements in the West Bank
under the terms of international law.

Note by Turkey:
The information in this document with reference to “Cyprus” relates to the southern part of the Island. There is no single authority
representing both Turkish and Greek Cypriot people on the Island. Turkey recognizes the Turkish Republic of Northern Cyprus
(TRNC). Until a lasting and equitable solution is found within the context of United Nations, Turkey shall preserve its position
concerning the “Cyprus” issue.

Note by all the European Union Member States of the OECD and the European Union:
The Republic of Cyprus is recognized by all members of the United Nations with the exception of Turkey. The information in this
document relates to the area under the effective control of the Government of the Republic of Cyprus.

The European Union is a member of the Steel Committee and accordingly this data includes all EU Member States.

Source: OECD Secretariat
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                                            RECENT DEVELOPMENTS IN STEELMAKING CAPACITY         │ 27




                   Annex D. WORKING DEFINITION USED


Steelmaking capacity

      The OECD Secretariat employs a definition of nominal crude steelmaking capacity
      based on maximum theoretical equipment capacity.9 This definition does not take into
      account yield losses, maintenance and other factors affecting the productivity of
      installed steelmaking equipment. Therefore, steelmaking capacity figures provided by
      the OECD should not be regarded as effective capacity.
      Capacity is defined in volume (tonnes) and annual capacity data figures reflect all
      existing steelmaking capacity at the end of a calendar year.
Steelmaking equipment

      The OECD Secretariat considers as steelmaking equipment any equipment used to produce
      crude steel. The definition excludes iron-making equipment considered here as upstream,
      as well as casting, rolling or finishing equipment considered here as downstream. More
      specifically, the following equipment types are considered as crude steelmaking:
                       Type                                     Code
                       Electric arc furnace                     EAF
                       Energy Optimising Furnace                EOF
                       Induction furnace                        IF
                       LD Basic Oxygen furnace                  BOF
                       Open hearth furnace                      OHF
                       Steelmaking - not specified              STEELMKG


Assessing capacity developments

      The three databases described in this paper are used to assess capacity developments.
      Changes in capacity are derived by taking into account new capacity additions and
      permanent closures in a given economy. In order to assess potential gross capacity
      additions in the future, investment projects are classified as “underway” or “planned”.
      A project classified as “underway” is one which is under construction or for which
      contracts for equipment have been awarded and a major financial or state commitment
      has been made. “Planned” projects are more uncertain because they are either at the
      feasibility or early planning stage, yet to receive financial or state backing, or not
      scheduled for completion at a specified time. The classification of projects and
      comments on their progress do not in any way represent a judgement or imply a view
      on the advisability or feasibility of the projects.
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28 │   RECENT DEVELOPMENTS IN STEELMAKING CAPACITY


        Because closures cannot be forecast, the tables in this document provide only potential
        gross capacity additions and do not provide projections of net changes in capacity. It
        should be noted that planned or underway investments are sometimes altered due to
        changes in market conditions. Postponements refer to projects that were put on hold for
        a definite or indefinite period, while cancellations are previously announced projects
        that will no longer be implemented.
Steelmaking capacity closures

        The OECD Secretariat distinguishes between "permanent" and "temporary" steelmaking
        capacity closures. Permanent closures of capacity are considered to involve dismantling
        and scrapping of the equipment used for producing crude steel, or otherwise rendering
        such equipment permanently unusable for manufacturing crude steel. Temporary
        closures entail measures other than permanent closures as defined above, whereby
        production can be resumed in the future. Temporary closures include, for example, the
        idling of a plant's furnace. Only permanent closures are used for the purpose of
        calculating existing capacity. In practice, when compiling the database, it is
        unfortunately not always possible to understand from media sources if a closure is only
        temporary or permanent. This explains why the field value of “Type of closures” is
        sometimes set to “Others (unidentified)” in the OECD database on closures.
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                                             RECENT DEVELOPMENTS IN STEELMAKING CAPACITY         │ 29


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                                                   Endnotes


  1
      This document, as well as any data and any map included herein are without prejudice to the status
      of or sovereignty over any territory, to the delimitation of international frontiers and boundaries and
      to the name of any territory, city or area.
  2
      The previous figure was based on information available up until the end of June 2017. The new
      estimate for capacity in 2016 and 2017 is based on information made available up to December 2017
      and reflects comments and modifications from OECD Steel Committee delegates after discussion
      on a draft of this report at the Steel Committee meeting in March 2018.
  3
      The European Union (EU) is a member of the Steel Committee and accordingly this data includes
      all EU Member States.
  4
      National Development and Reform Commission (NDRC) has announced the closure target of 2017
      on 17 April 2017 at their website (NDRC, 2017[2]), however this website is not available as of 10
      August 2018.
  5
      According to the report by the China Iron & Steel Association (CISA), over 500 IF steel producers had
      been identified nationwide. Vice chairman of CISA, Mr. Chi Jingdong, said at a press conference of CISA
      in Beijing on April 26 2017 (Platts, 2017[5]).
  6
      According to the NDRC’s announcement on 17 April 2017, “Capacity of IFs shall be completely out
      until end of June 2017 in accordance with the law” is specified as one of “Target requirements”,
      apart from the closure target of 50 mmt in 2017 (NDRC, 2017[2]).
  7
      Kobe Steel has strengthened production capacities at Kakogawa works, by the relining of its blast
      furnace and adding a new continuous bloom caster (Platts, 2017[12]).
  8
      According to World Steel Capacities Database (compiled by Metal Expert) on 22 December 2017,
      installation of two EAFs (with each 1.0 mmt) by Aferpi are described as being planned and expected
      to be commissioned in 2018 and 2019 (Metal Expert, 2017[19]).
  9
      This definition is also commonly referred to as nominal, rated or nameplate capacity.
